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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                              x
    In re:                                                    :       Chapter 11
                                                              :
    MALLINCKRODT PLC, et al.,1                                :       Case No. 20-12522 (JTD)
                                                              :
                              Debtors.                        :       (Jointly Administered)
                                                              :
                                                              :       Ref. Docket Nos. 6378 & 6510
                                                              X

             FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER
       CONFIRMING FOURTH AMENDED JOINT PLAN OF REORGANIZATION
         (WITH TECHNICAL MODIFICATIONS) OF MALLINCKRODT PLC AND
     ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)

having:

             a.    commenced, on October 12, 2020 (the “Petition Date”), these chapter 11 cases
                   (collectively, the “Chapter 11 Cases”) by filing voluntary petitions in the United
                   States Bankruptcy Court for the District of Delaware (the “Court”) for relief under
                   chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

             b.    continued to operate their businesses and manage their properties as debtors in
                   possession pursuant to section 1107(a) and 1108 of the Bankruptcy Code;

             c.    filed, on April 20, 2021, the Joint Plan of Reorganization of Mallinckrodt Plc and
                   Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 2074]
                   (including all exhibits and supplements thereto, and as modified or amended from
                   time to time, including as reflected at [Docket Nos. 2767, 2863, 2903, 2916, 4508,
                   5636, 6006, 6066, and 6510, the “Plan”)2 and the Disclosure Statement for Joint


1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
      and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
      McDonnell Blvd., Hazelwood, Missouri 63042.
2
      Unless otherwise specified, capitalized terms and phrases used herein have the meanings assigned to them in the
      Plan or Disclosure Statement, as applicable. The rules of interpretation set forth in Section I.B of the Plan shall
      apply to these Findings of Fact, Conclusions of Law, and Order Confirming Fourth Amended Joint Plan of
      Reorganization (With Technical Modifications) of Mallinckrodt Plc and its Debtor Affiliates Under Chapter 11
      of the Bankruptcy Code (this “Confirmation Order”). In addition, in accordance with Section I.B of the Plan,
      any term used in the Plan or this Confirmation Order that is not defined in the Plan or this Confirmation Order,
      but that is used in the Bankruptcy Code or the Bankruptcy Rules (each as hereinafter defined), shall have the


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                 Chapter 11 Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates
                 Under Chapter 11 of the Bankruptcy Code [Docket No. 2075] (as may be amended,
                 supplemented, or modified from time to time, and including all exhibits and
                 supplements thereto, including as reflected at [Docket Nos. 2285, 2769, 2864, 2904,
                 and 2917] the “Disclosure Statement”);

        d.       filed, on May 5, 2021, the Motion Of Debtors For Entry Of Order (I) Approving
                 The Disclosure Statement And Form And Manner Of Notice Of Hearing Thereon,
                 (II) Establishing Solicitation Procedures, (III) Approving The Form And Manner
                 Of Notice To Attorneys And Solicitation Directive, (IV) Approving The Form Of
                 Ballots, (V) Approving Form, Manner, And Scope Of Confirmation Notices, (VI)
                 Establishing Certain Deadlines In Connection With Approval Of Disclosure
                 Statement, And Confirmation Of Plan, And (VII) Granting Related Relief [Docket
                 No. 2200] (the “Disclosure Statement Motion”);

        e.       filed, on May 13, 2021, the Notice Of Filing Exhibits To Disclosure Statement
                 [Docket No. 2285], which included the Debtors’ Financial Projections, Liquidation
                 Analysis, and Valuation Analysis exhibits to the Disclosure Statement;

        f.       filed, on June 8, 2021, a revised Plan [Docket No. 2767], on June 9, 2021, a revised
                 Disclosure Statement [Docket No. 2769], on June 15, 2021, further revised versions
                 of the Plan and Disclosure Statement filed at [Docket Nos. 2863 and 2864],
                 respectively, and on June 17, further revised versions of the Plan and Disclosure
                 Statement filed at [Docket Nos. 2903 and 2904];

        g.       filed, on June 15, 2021, the Declaration Of Jeanne C. Finegan, APR (as amended,
                 supplemented, or modified from time to time, and including all exhibits and
                 supplements thereto, the “Finegan Declaration”)3, which, among other things,
                 detailed the Debtors’ Additional Opioid Notice Plan (as defined below);

        h.       obtained, on June 17, 2021, entry of the Order (I) Approving The Disclosure
                 Statement And Form And Manner Of Notice Of Hearing Thereon, (II) Establishing
                 Solicitation Procedures, (III) Approving The Form And Manner Of Notice To
                 Attorneys And Solicitation Directive, (IV) Approving The Form Of Ballots, (V)
                 Approving The Form, Manner, And Scope Of Confirmation Notices, (VI)
                 Establishing Certain Deadlines In Connection With Approval Of Disclosure
                 Statement And Confirmation Of Plan, And (VII) Granting Related Relief [Docket
                 No. 2911] (the “Disclosure Statement Order”), that (a) approved, among other
                 things, the Disclosure Statement as having adequate information, as required under



    meaning given to that term in the Bankruptcy Code or the Bankruptcy Rules, as applicable. Unless otherwise
    provided in this Confirmation Order, if there is any direct conflict between the terms of the Plan and the terms of
    this Confirmation Order, the terms of this Confirmation Order shall control. A copy of the Plan is attached hereto
    as Exhibit A and incorporated herein by reference.
3
    On June 16, 2021, the Debtors filed the Notice Of Filing Of Revised Declaration Of Jeanne C. Finegan, APR
    [Docket No. 2889].

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           section 1125(a) of the Bankruptcy Code, (b) authorized the Debtors to solicit votes
           with regard to the acceptance or rejection of the Plan, (c) approved the Debtors’
           disclosures and related notices, forms, cover letters, and ballots to be submitted to
           parties in interest as set forth in the Disclosure Statement (collectively, the
           “Solicitation Packages”) and the Debtors’ solicitation procedures (the
           “Solicitation Procedures”), (d) approved the procedures for the assumption of
           Executory Contracts and Unexpired Leases, and (e) approved the Debtors’ opioid
           noticing plan for serving opioid related claimants with notice of the Confirmation
           Hearing and instructions on how to obtain a Solicitation Package and cast a vote on
           the Plan;

     i.    filed, on June 18, 2021, the solicitation versions of the Joint Plan of Reorganization
           of Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
           Code [Docket No. 2916] and Disclosure Statement for Joint Chapter 11 Plan of
           Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of
           the Bankruptcy Code [Docket No. 2917];

     j.    filed, on September 3, 2021, the Notice Of Filing Of Settlement Term Sheets In
           Connection With The Joint Plan Of Reorganization Of Mallinckrodt Plc And Its
           Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code [Docket No. 4121]
           (as may be amended, supplemented, or modified from time to time, and including
           all exhibits and supplements thereto, the “UCC/OCC/2L Settlement Notice”)
           providing notice of the UCC Settlement, OCC Settlement, and the Second Lien
           Notes Settlement, and causing the related Affidavit Of Service [Docket No. 4225]
           filed by Prime Clerk on September 9, 2021 (the “UCC/OCC/2L Settlement
           Affidavit”);

     k.    filed, on September 29, 2021, the First Amended Joint Plan of Reorganization of
           Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
           Code [Docket No. 4508];

     l.    filed, on December 2, 2021, the Second Amended Joint Plan of Reorganization of
           Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
           Code [Docket No. 5636];

     m.    filed, on December 29, 2021, the Third Amended Joint Plan of Reorganization of
           Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
           Code [Docket No. 6006];

     n.    filed, on January 6, 2022, the Fourth Amended Joint Plan of Reorganization of
           Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
           Code [Docket No. 6066];

     o.    filed, on February 18, 2022, the Fourth Amended Joint Plan of Reorganization
           (With Technical Modifications) of Mallinckrodt Plc and Its Debtor Affiliates Under
           Chapter 11 of the Bankruptcy Code [Docket No. 6510], a copy of which is attached
           hereto as Exhibit A;


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        p.       timely and properly filed and served notices of filing of Plan Supplement
                 documents on August 6, 2021 [Docket Nos. 3596-3602, 3604-06, 3610], on August
                 7, 2021 [Docket Nos. 3613-15], on September 3, 2021 [Docket No. 4147], on
                 September 4, 2021 [Docket No. 4149], on October 8, 2021 [Docket Nos. 4639-41],
                 on October 11, 2021 [Docket No. 4664], on October 29, 2021 [Docket Nos. 5075-
                 76], on October 31, 2021 [Docket No. 5088], on December 3, 2021 [Docket No.
                 5665], on December 10, 2021 [Docket No. 5750], on December 29, 2021 [Docket
                 No. 6002], and on January 6, 2022 [Docket Nos. 6068, 6075, and 6078] (such Plan
                 Supplement documents, collectively, as may be amended or supplemented from
                 time to time in accordance with the Plan and this Confirmation Order, the “Plan
                 Supplement”);

        q.       filed, as part of the Plan Supplement filing on August 6, 2021 [Docket No. 3601],
                 the Opioid Operating Injunction, a copy of which is attached hereto as Exhibit B;4

        r.       set, pursuant to the First Amendment To The Order Establishing Confirmation
                 Schedule And Protocols [Docket No. 4864] (as may be amended, supplemented, or
                 modified from time to time, and including all exhibits and supplements thereto, the
                 “Scheduling Order”), among others, November 1, 2021 at 10:00 a.m. (Eastern
                 Daylight Time) as the date and time for the commencement of the Phase I hearing
                 to consider Confirmation of the Plan (the “Confirmation Hearing”) and
                 November 8, 2021 at 10:00 a.m. (Eastern Daylight Time) as the date and time for
                 the commencement of the Acthar Administrative Claims Hearing (as defined in the
                 Scheduling Order);

        s.       obtained, on November 23, 2021, entry of the Final Pretrial Order For Phase I Of
                 The Plan Confirmation Hearing [Docket No. 5510] that addressed the issues to be
                 presented and the witnesses to be called by the Debtors and other confirmation
                 parties during “Phase I” of the Confirmation Hearing;

        t.       obtained, on November 23, 2021, entry of the Final Pretrial Order For Phase II Of
                 The Plan Confirmation Hearing [Docket No. 5511] (as may be amended,
                 supplemented, or modified from time to time, and including all exhibits and
                 supplements thereto) (the “Phase II Pretrial Order”),5 which, among others, set
                 December 6, 2021 as the date for the commencement of Phase II of the
                 Confirmation Hearing and addressed issues to be presented and the witnesses to be
                 called by the Debtors and other parties during Phase II of the Confirmation Hearing;




4
    The Opioid Operating Injunction was entered by the Court on January 8, 2021 and originally filed at Docket No.
    196 before being filed as a Plan Supplement document.
5
    On November 29, 2021, the Court entered the Corrected Third Amended Proposed Final Pretrial Order For
    Phase II Of The Plan Confirmation Hearing [Docket No. 5555].

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        u.       obtained, on December 3, 2021, entry of the Final Pretrial Order [Docket No.
                 5649] with respect to the Acthar Administrative Claims Hearing (as defined in the
                 Scheduling Order) that addressed issues with respect thereto; and

        v.       obtained, on December 21, 2021, entry of the Court’s Opinion and Final Order
                 [Docket No. 5886] denying the Motion Of Attestor Limited And Humana Inc. For
                 Entry Of An Order Allowing And Compelling Payment Of Administrative Claims
                 Pursuant To Section 503(B) Of The Bankruptcy Code [Docket No. 2159] and
                 sustaining the Debtors’ Objection to Certain Acthar-Related Administrative Claims
                 [Docket No. 3529].

        The Debtors further having:

        w.       obtained, on March 16, 2021, entry of the Order Provisionally Appointing Roger
                 Frankel as Legal Representative for Future Claimants [Docket No. 1747] and, on
                 June 11, 2021, entry of the Order Appointing Roger Frankel, as Legal
                 Representative for Future Opioid Personal Injury Claimants, Effective as of the
                 Petition Date entered by the Bankruptcy Court [Docket No. 2813], as each may be
                 amended, supplemented, or modified from time to time, and including all exhibits
                 and supplements thereto;

        x.       on or around June 22, 2021 and as reasonably practicable thereafter (the
                 “Solicitation Date”), timely and properly solicited the Solicitation Packages,
                 including the Plan and Disclosure Statement, the applicable ballots, the applicable
                 notice of non-voting status, and provided due notice of the Confirmation Hearing
                 and notice of the deadline for objecting to confirmation of the Plan, all in
                 compliance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure
                 (the “Bankruptcy Rules”), the Local Rules of the United States Bankruptcy Court
                 for the District of Delaware (the “Local Rules”), and the Disclosure Statement
                 Order, as evidenced by, among other things, the Affidavit Of Service [Docket No.
                 3129] filed by Prime Clerk LLC (“Prime Clerk”), the Debtors’ Court-approved
                 Notice and Claims Agent, on July 6, 2021, the Affidavit Of Service Of Solicitation
                 Materials [Docket No. 3210] filed by Prime Clerk on July 13, 2021, the
                 Supplemental Affidavit Of Service Of Solicitation Materials [Docket No. 4098]
                 filed by Prime Clerk on September 1, 2021, the Supplemental Affidavit Of Service
                 Of Solicitation Materials [Docket No. 4211] filed by Prime Clerk on September 8,
                 2021, and the Supplemental Affidavit Of Service Of Solicitation Materials [Docket
                 No. 4319] filed by Prime Clerk on September 16, 2021 (collectively, the
                 “Solicitation Affidavits”);6




6
    As provided for herein, at the time of the Solicitation Date, no creditors or Holders of Claims were classified
    under Class 13 (Subordinated Claims) and any claimants not otherwise classified under Class 13 (Subordinated
    Claims) were treated as a Holder of a Claim under Class 6(f) (Other General Unsecured Claims) for solicitation
    purposes.


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        y.       on or around June 22, 2021, timely and properly commenced the Additional Opioid
                 Notice Plan (as defined below) as evidenced in the Finegan Declaration and
                 Supplemental Finegan Declaration (as defined below);

        z.       caused notice of the Confirmation Hearing (the “Confirmation Hearing Notice”)
                 to be published in the national edition of the New York Times, USA Today, and
                 The Wall Street Journal on June 25, 2021, as evidenced by, among other things, the
                 Certificate of Publication [Docket No. 3072] (the “Publication Affidavit”) filed
                 by Prime Clerk on June 30, 2021;

        aa.      caused, on June 30, 2021, the mailing of a separate notice for various community
                 organizations (the “Community Outreach Notice”) to over 207,000 third-party
                 organizations7 to expand awareness of the Plan, Voting Deadline, Solicitation
                 Procedures, and how to cast a vote on the Plan, as evidenced by the mailing detail
                 filed at [Docket No. 4586];

        bb.      caused, on July 28, 2021, the mailing of the Community Outreach Notice to 26,035
                 public school districts with an explanatory cover letter, as evidenced by the affidavit
                 of service filed at [Docket No. 3561];

        cc.      caused, on or prior to July 30, 2021, the Notice Of Cure Amounts In Connection
                 With Contracts And Leases [Docket No. 3495] (as amended, supplemented, or
                 modified from time to time, and including all exhibits and supplements thereto, the
                 “Cure Notice”) to be distributed to counterparties to the Debtors’ Executory
                 Contracts and Unexpired Leases, as evidenced by, among other things, the Affidavit
                 Of Service [Docket No. 3640] filed by Prime Clerk on August 9, 2021 and the
                 Supplemental Affidavit Of Service [Docket No. 4087] filed on September 1, 2021
                 (together, the “Cure Notice Affidavit”);

        dd.      filed, on July 30, 2021, the Debtors’ Objection to Funded Debt Claims Pursuant
                 to Article VII.J of the Debtors’ Joint Plan of Reorganization [Docket No. 3504] and
                 the Declaration of Michael H. Cassel in Support of Debtors’ Objection to Funded
                 Debt Claims Pursuant to Article VII of the Debtors’ Joint Plan of Reorganization
                 [Docket No. 3506] (together, the “Funded Debt Claim Objection”);

        ee.      caused, on or prior to August 6, 2021, the Notice Of Filing Of Exhibit V (Assumed
                 Executory Contract/Unexpired Lease List) Of Plan Supplement For The Joint Plan
                 Of Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11
                 Of The Bankruptcy Code [Docket No. 3597] (as amended, supplemented, or
                 modified from time to time, and including all exhibits and supplements thereto, the
                 “Assumption Notice”) to be distributed to counterparties to the Debtors’ Executory
                 Contracts and Unexpired Leases, as evidenced by, among other things, the Affidavit



7
    The Supplemental Finegan Declaration includes a list of the categories of the organization outreach institutions
    that received the Community Outreach Notice.


                                                         6
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                Of Service [Docket No. 3734] filed by Prime Clerk on August 16, 2021 (the “Initial
                Assumption Notice Affidavit”);

        ff.     caused subsequent versions of the Assumption Notice [Docket Nos. 3722, 4641,
                5076, and 6004] to be distributed to counterparties to the Debtors’ Executory
                Contracts and Unexpired Leases on or prior to August 13, 2021, October 8, 2021,
                October 29, 2021, and January 19, 2022 (collectively, and together with the Cure
                Notice, the “Contract/Lease Notices”) as evidenced by, among other things, the
                Affidavit Of Service [Docket No. 3825], the Affidavit Of Service [Docket No. 4743],
                the Affidavit Of Service [Docket No. 5257], and the Supplemental Affidavit Of
                Service [Docket No. 6281] (collectively, and together with the Cure Notice
                Affidavit and the Initial Assumption Notice Affidavit, the “Contract/Lease
                Affidavits”) filed by Prime Clerk on August 18, 2021, October 14, 2021,
                November 10, 2021, and January 24, 2022, respectively;

        gg.     filed, on September 29, 2021, the Notice Of Fifth Extension Of Confirmation
                Objection Deadline And Voting Deadline With Respect To The First Amended Joint
                Plan Of Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under
                Chapter 11 Of The Bankruptcy Code extending the Voting Deadline in accordance
                with the Disclosure Statement Order to October 13, 2021 at 4:00 p.m. (prevailing
                Eastern Time);

        hh.     caused, on September 30, 2021, the mailing of certain notice materials and
                explanatory letters to 31,495 opioid-related creditors not represented by a lawyer
                who filed a Proof of Claim related to opioid products in the chapter 11 cases for In
                re Purdue Pharma L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.) (the
                “Purdue Chapter 11 Cases”), as evidenced by the mailing detail filed at [Docket
                No. 4587]8;

        ii.     caused the Simplified Print Notice to be published in Canadian consumer
                magazines and Canadian newspapers as evidenced by the proofs of publication
                contained in the Supplemental Finegan Declaration;

        jj.     filed, on October 13, 2021, the Notice Of Further Extension Of Voting Deadline,
                Solely With Respect To Class 8 (Governmental Opioid Claims) And Class 9
                (Nongovernmental Opioid Claims), Relating To The First Amended Joint Plan Of
                Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of
                The Bankruptcy Code further extending the Voting Deadline in accordance with the
                Disclosure Statement Order solely with respect to Class 8 (Governmental Opioid




8
    Pursuant to the Additional Opioid Notice Plan approved under the Disclosure Statement Order, the Court
    authorized the Debtors to serve these pro se opioid-related creditors in the Purdue Chapter 11 Cases.


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                Claims) and Class 9 (Non-Governmental Opioid Claims) and all related voting
                subclasses to October 20, 2021 at 4:00 p.m. (prevailing Eastern Time);9

        kk.     filed, on October 22, 2021, the Preliminary Declaration Of James Daloia Of Prime
                Clerk LLC Regarding The Solicitation Of Votes And Tabulation Of Ballots Cast On
                Joint Plan Of Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under
                Chapter 11 Of The Bankruptcy Code [Docket No. 4955] (the “Preliminary Voting
                Report”), describing the methodology used for the tabulation of votes and the
                preliminary results of voting with respect to the Plan;

        ll.     filed, on October 26, 2021, the Declaration Of James Daloia Of Prime Clerk LLC
                In Support Of Confirmation Of The First Amended Joint Plan Of Reorganization
                Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
                Code [Docket No. 4999] (the “Daloia Declaration”);

        mm.     filed, on October 26, 2021, the Declaration of Brendan Hayes [Docket No. 5001]
                (as amended, supplemented, or modified from time to time, and including all
                exhibits and supplements thereto, the “Hayes Declaration”);

        nn.     filed, on October 26, 2021, the Debtors' (A) Memorandum of Law in Support of
                Reinstatement or Alternative Treatment of First Lien Notes and (B) Reply in
                Further Support of Objection to First Lien Notes Makewhole Claim [Docket No.
                5015] (as amended, supplemented, or modified from time to time, and including all
                exhibits and supplements thereto, the “Claim Objection Reply”);

        oo.     filed, on October 26, 2021, the Declaration Of Marc J. Brown In Support Of
                Confirmation Of The Joint Plan Of Reorganization Of Mallinckrodt Plc And Its
                Affiliate Debtors Under Chapter 11 Of The Bankruptcy Code [Docket No. 4998]
                (the “Brown Declaration”);

        pp.     filed, on October 26, 2021, the Declaration Of Punit Mehta In Support Of
                Confirmation Of The First Amended Joint Plan Of Reorganization Of Mallinckrodt
                Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code [Docket
                No. 5000] (the “Mehta Declaration”);

        qq.     filed, on October 27, 2021, the Debtors’ (A) Memorandum Of Law In Support Of
                Confirmation Of The First Amended Joint Plan Of Reorganization Of Mallinckrodt
                Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code And (B)
                Omnibus Reply To Objections To Confirmation [Docket No. 5016] (the
                “Confirmation Brief’);

        rr.     filed, on October 27, 2021, the Declaration of Michael H. Cassel in Support of
                Debtors' (A) Memorandum of Law in Support of Reinstatement or Alternative


9
    The voting deadline was extended by formal notice filed on the Bankruptcy Court’s docket on August 30, 2021
    [Docket No. 4040], September 7, 2021 [Docket No. 4183], September 14, 2021 [Docket No. 4271], September
    21, 2021 [Docket No. 4435], September 29, 2021 [Docket No. 4510], and October 13, 2021 [Docket No. 4696].

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            Treatment of First Lien Notes and (B) Reply in Further Support of Objection to
            First Lien Note Makewhole Claims [Docket No. 5017] (as amended, supplemented,
            or modified from time to time, and including all exhibits and supplements thereto,
            the “Cassel Declaration”, and together with the Funded Debt Claim Objection, the
            Hayes Declaration, and the Claim Objection Reply, the “Claim Objection
            Filings”);

     ss.    filed, on October 31, 2021, the Final Declaration Of James Daloia Of Prime Clerk
            LLC Regarding The Solicitation Of Votes And Tabulation Of Ballots Cast On Joint
            Plan Of Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under
            Chapter 11 Of The Bankruptcy Code [Docket No. 5087] (the “Final Voting
            Report” and together with the Preliminary Voting Report, collectively, the “Voting
            Reports”), describing the methodology used for the tabulation of votes and the
            final results of voting with respect to the Plan;

     tt.    filed, on November 11, 2021, the Supplemental Declaration of Jeanne C. Finegan,
            APR [Docket No. 5274] (the “Supplemental Finegan Declaration”, and together
            with the Finegan Declaration, the “Finegan Declarations”), describing the results
            of the Debtors’ opioid related noticing program (the “Additional Opioid Notice
            Plan”);

     uu.    filed, on November 16, 2021, the Declaration Of Frederic W. Selck In Support Of
            Confirmation Of The First Amended Joint Plan Of Reorganization Of Mallinckrodt
            Plc And Its Affiliate Debtors Under Chapter 11 Of The Bankruptcy Code [Docket
            No. 5355] (the “Selck Declaration”);

     vv.    filed, on November 17, 2021, the Declaration Of Randall S. Eisenberg In Support
            Of Confirmation Of The First Amended Joint Plan Of Reorganization Of
            Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
            Code [Docket No. 5368] (the “Eisenberg Declaration”, and together with the
            Daloia Declaration, Finegan Declarations, Selck Declaration, Brown Declaration,
            and Mehta Declaration, the “Confirmation Declarations”);

     ww.    filed, on December 3, 2021, Debtors’ Omnibus Reply To Supplemental Plan
            Objections [Docket No. 5660] (the “Debtors’ Supplemental Reply”); and

     xx.    filed, on December 31, 2021, the Debtors’ Reply To The Supplemental Post
            Hearing Memorandum Of Law Of The Canadian Elevator Industry Pension Fund
            In Further Opposition To The Amended Joint Plan Of Reorganization Of
            Mallinckrodt Plc And Its Debtor Affiliates [Docket No. 6013] (the “Strougo
            Reply”).

     The following parties (including, among others, the Supporting Parties, the Official
     Committee of Unsecured Creditors, the Official Committee of Opioid-Related Claimants,
     and other parties’ filings in support of the Plan) further having, respectively:

     yy.    filed, on October 1, 2021, the Notice Of Filing Of Letter Of The Official Committee
            Of Opioid-Related Claimants In Support Of First Amended Joint Plan Of

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             Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of
             The Bankruptcy Code [Docket No. 4535, Ex. A];

      zz.    filed, on October 1, 2021, the Notice Of Filing Of Letter Of The Official Committee
             Of Unsecured Creditors In Support Of First Amended Joint Plan Of Reorganization
             Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
             Code [Docket No. 4540];

      aaa.   filed, on October 8, 2021, the Declaration Of Mark Greenberg In Support Of UCC
             Settlements In Connection With The First Amended Joint Plan Of Reorganization
             Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
             Code [Docket No. 4986] (the “Greenberg Declaration”);

      bbb.   filed, on October 26, 2021, the Response Of The Future Claimants’ Representative
             To Objection To Confirmation Of The First Amended Joint Plan Of Reorganization
             Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
             Code [Docket No. 4986];

      ccc.   filed, on October 26, 2021, The Future Claimants’ Representative’s Statement In
             Support Of The First Amended Joint Plan Of Reorganization Of Mallinckrodt Plc
             And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code [Docket No.
             4989];

      ddd.   filed, on October 26, 2021, the Statement Of Deerfield Private Design Fund IV,
             L.P., Deerfield Special Situations Fund, L.P., And Deerfield Partners L.P. In
             Support Of Confirmation Of Debtors’ First Amended Joint Plan Of Reorganization
             Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
             Code [Docket No. 4992];

      eee.   filed, on October 26, 2021, BOKF, N.A.’S (1) Statement In Support Of
             Confirmation Of Debtors’ First Amended Joint Plan Of Reorganization; (2)
             Joinder To Statement Of Deerfield Private Design Fund IV, L.P., Deerfield Special
             Situations Fund, L.P., And Deerfield Partners L.P. In Support Of Confirmation Of
             Debtors’ First Amended Joint Plan Of Reorganization; And (3) Reservation Of
             Rights [Docket No. 5002];

      fff.   filed, on October 26, 2021, The Ad Hoc Group Of Personal Injury Victims’ Limited
             Reply In Support Of Confirmation Of The First Amended Joint Plan Of
             Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
             Code And Joinder In The Responses Of The Future Claimants Representative And
             The Official Committee Of Opioid-Related Claimants [Docket No. 5003];

      ggg.   filed, on October 26, 2021, the Governmental Plaintiff Ad Hoc Committee’s Reply
             To Plan Objections [Docket No. 5006];

      hhh.   filed, on October 26, 2021, the Guaranteed Unsecured Notes Trustee’s
             Memorandum In Support Of Plan Confirmation And In Response To Confirmation
             Objections Based On 11 U.S.C. §§ 503(B)(3)(D), (4) Or (5) [Docket No. 5007];

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      iii.   filed, on October 26, 2021, The Ad Hoc First Lien Term Lender Group’s (I)
             Statement In Support Of Confirmation Of The First Amended Joint Plan Of
             Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of
             The Bankruptcy Code And (II) Reply To The First Lien Notes Objections [Docket
             No. 5008];

      jjj.   filed, on October 26, 2021, The Multi-State Governmental Entities Group’s Reply
             In Support Of The First Amended Joint Plan Of Reorganization Of Mallinckrodt
             Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code And
             Response To Certain Objections Thereto [Docket No. 5009];

      kkk.   filed, on October 26, 2021, the Statement of the Official Committee of Opioid
             Related Claimants in Support of Confirmation of the First Amended Joint Plan of
             Reorganization of Mallinckrodt plc and Its Debtor Affiliates Under Chapter 11 of
             the Bankruptcy Code [Docket No. 5010];

      lll.   filed, on October 26, 2021, The Unsecured Notes Ad Hoc Group’s (A) Statement In
             Support Of The Plan And (B) Reservation Of Rights [Docket No. 5014];

      mmm. filed, on October 26, 2021 and November 15, 2021, the Declaration Of Michael
           Atkinson In Support Of The Statement Of The Official Committee Of Opioid Related
           Claimants In Support Of Confirmation Of The First Amended Joint Plan Of
           Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of
           The Bankruptcy Code [Docket No. 5011] and Declaration Of Michael Atkinson In
           Support Of Confirmation Of The First Amended Joint Plan Of Reorganization Of
           Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy
           Code [Docket No. 5319], respectively (collectively, the “Atkinson Declaration”);

      nnn.   filed, on November 15, 2021, the Declaration Of Jayne Conroy In Support Of Plan
             Confirmation [Docket No. 5314] (the “Conroy Declaration”), submitted in lieu of
             direct testimony, on behalf of the Governmental Plaintiff Ad Hoc Committee in
             support of confirmation of the Plan;

      ooo.   filed, on November 15, 2021, the Declaration Of Gary A. Gotto In Support Of
             Governmental Plaintiff Ad Hoc Committee’s Reply To Plan Objections And In
             Support Of Plan Confirmation [Docket No. 5316] (the “Gotto Declaration”)
             submitted in lieu of direct testimony, on behalf of the Governmental Plaintiff Ad
             Hoc Committee in support of confirmation of the Plan;

      ppp.   filed, on November 15, 2021, the Declaration Of John M. Guard In Support Of
             Governmental Plaintiff Ad Hoc Committee’s Reply To Plan Objections And In
             Support Of Plan Confirmation [Docket No. 5318] (the “Guard Declaration”)
             submitted in lieu of direct testimony, on behalf of the Governmental Plaintiff Ad
             Hoc Committee in support of confirmation of the Plan;

      qqq.   filed, on November 16, 2021, the Declaration Of J. Gerard Stranch IV In Support
             Of Confirmation Of The Debtors’ Plan Of Reorganization [Docket No. 5352] (the


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              “Stranch Declaration”), submitted in lieu of direct testimony, on behalf of the
              MSGE Group in support of confirmation of the Plan;

       rrr.   filed, on December 3, 2021, the Memorandum of Law of Official Committee of
              Unsecured Creditors in Support of the UCC Settlement, Allocation, and the
              Debtors’ Second Amended Joint Plan of Reorganization [Docket No. 5666] (as
              amended, supplemented, or modified from time to time, and including all exhibits
              and supplements thereto, the “UCC Brief”); and

       sss.   filed, on December 3, 2021, the Joinder Of The Unsecured Notes Trustee To The
              Memorandum Of Law Of Official Committee Of Unsecured Creditors In Support
              Of The UCC Settlement, Allocation, And The Debtors’ Second Amended Joint Plan
              Of Reorganization [Docket No. 5671].

(collectively, the “Supporting Filings”).

       This Court having:

       ttt.   entered the Disclosure Statement Order on June 17, 2021;

       uuu.   set November 1, 2021 at 10:00 a.m. (Eastern Daylight Time), as the date and time
              for the commencement of the Confirmation Hearing pursuant to Bankruptcy Rules
              3017 and 3018 and sections 1126, 1128, and 1129 of the Bankruptcy Code;

       vvv.   reviewed the Plan, the Disclosure Statement, the Confirmation Declarations, the
              Confirmation Brief, the Voting Reports, the Supplemental Reply, the Strougo
              Reply, and all pleadings, exhibits, statements, responses, and comments regarding
              confirmation of the Plan (“Confirmation”), including all objections, statements,
              and reservations of rights filed by parties in interest on the docket of the Chapter
              11 Cases;

       www. held the Confirmation Hearing and heard the statements, arguments, and objections
            made by counsel in respect of Confirmation;

       xxx.   considered all oral representations, documents, filings, and evidence regarding
              Confirmation;

       yyy.   on February 3, 2022, issued and entered the Opinion [Docket No. 6347] confirming
              the Plan and finding that, subject to certain modifications to the Plan’s exculpation
              provisions, the Plan satisfies the statutory requirements of the Bankruptcy Code,
              and on February 8, 2022 entered the Revised Opinion [Docket No. 6378]
              (collectively, the “Confirmation Opinion”);

       zzz.   overruled all objections to the Plan and to Confirmation and all statements and
              reservations of rights not consensually resolved or withdrawn, except as expressly
              provided herein and in the Confirmation Opinion; and



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       aaaa. taken judicial notice of all papers and pleadings filed in the Chapter 11 Cases, all
             evidence proffered or adduced, and all arguments made at the hearings held before
             the Court during the pendency of the Chapter 11 Cases.

       NOW, THEREFORE, the Court having found that notice of the Confirmation Hearing and

the opportunity for any party in interest to object to Confirmation having been adequate and

appropriate, in accordance with Bankruptcy Rules 2002(b) and 3017(d), Rules 2002-1 and 3017-

2 of the Local Rules, as to all parties affected or to be affected by the Plan and the transactions

contemplated thereby; and the record of the Chapter 11 Cases established through the testimony

set forth at the Confirmation Hearing, and the legal and factual bases set forth in the documents

filed in support of Confirmation and presented at the Confirmation Hearing including, but not

limited to, the Confirmation Brief, the Claim Objection Filings, the Preliminary Voting Report,

the Final Voting Report, the Supporting Filings, the Supplemental Reply, the Strougo Reply, and

each of the Confirmation Declarations, each of which was admitted into evidence at the

Confirmation Hearing, establish just cause for the relief granted in this Confirmation Order; and

after due deliberation thereon and good cause appearing therefor, the Court hereby makes and

issues the following findings of fact, conclusions of law, and order:

I.     FINDINGS OF FACT AND CONCLUSIONS OF LAW.

       A.      FINDINGS AND CONCLUSIONS

       1.      The findings and conclusions set forth herein, in the record of the Confirmation

Hearing, and in the Confirmation Opinion constitute the Court’s findings of fact and conclusions

of law under Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by

Bankruptcy Rules 7052 and 9014. To the extent any of the following conclusions of law constitute

findings of fact, or vice versa, they are adopted as such.

       2.      Notwithstanding any findings of fact and conclusions of law to the contrary herein,

if there is any direct conflict between the findings of fact and conclusions of law in this

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Confirmation Order and the Confirmation Opinion, the terms of the Confirmation Opinion shall

control.

       B.      JURISDICTION, CORE PROCEEDING, APPLICABLE LAW

       3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)

and the Court may enter a final order in connection with this proceeding in accordance with Article

III of the United States Constitution. The Debtors were and are qualified to be debtors in chapter

11 cases under section 109(a) and (d) of the Bankruptcy Code.

       C.      VENUE

       4.      Venue in the District of Delaware of the Chapter 11 Cases was proper as of the

Petition Date and continues to be proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       D.      COMMENCEMENT AND JOINT ADMINISTRATION OF THE
               CHAPTER 11 CASES

       5.      On the Petition Date, the Debtors commenced the Chapter 11 Cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. On October 14, 2020, the

Court entered an order [Docket No. 210] authorizing the joint administration and procedural

consolidation of the Chapter 11 Cases in accordance with Bankruptcy Rule 1015(b). Since the

Petition Date, the Debtors have operated their businesses and managed their properties as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On December 22,

2020, the Court entered an order [Docket No. 916] appointing a fee examiner in the Chapter 11

Cases. On February 8, 2021, the Court entered an order appointing a monitor for a voluntary

injunction with respect to the VI-Specific Debtors [Docket No. 1306]. Otherwise, neither a trustee

nor an examiner has been appointed in the Chapter 11 Cases.


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       E.      JUDICIAL NOTICE

       6.      The Court takes judicial notice of (and deems admitted into evidence for purposes

of Confirmation) the docket of the Chapter 11 Cases maintained by the Clerk of the Court or its

duly appointed agent, including all pleadings and other documents on file, all orders entered, all

hearing transcripts, and all evidence and arguments made, proffered, or adduced at the hearings

held before the Court during the Chapter 11 Cases.

       F.      PLAN SUPPLEMENT

       7.      The Plan Supplement complies and is consistent with the Bankruptcy Code and the

terms of the Plan, and the filing and notice of such documents were good and proper and in

accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Disclosure

Statement Order, and the facts and circumstances of the Chapter 11 Cases. No other or further

notice is or will be required with respect to the Plan Supplement. All documents included in the

Plan Supplement are integral to, part of, and incorporated by reference into the Plan. All Holders

of Claims who voted to accept the Plan and who are conclusively presumed to have accepted the

Plan are deemed to have accepted the Plan as modified and supplemented by the Plan Supplement.

Subject to the terms of the Plan, the Debtors reserve the right to alter, amend, update, or modify

the Plan Supplement before the Effective Date subject to compliance with the Bankruptcy Code

and the Bankruptcy Rules, provided that no such alteration, amendment, update, or modification

shall be inconsistent with the terms of this Confirmation Order or the terms of the Plan. In

particular, the Exit Financing Documents remain subject to ongoing negotiation and,

notwithstanding anything to the contrary in the Plan, final forms thereof shall not be filed as part

of the Plan Supplement prior to the date of this Order.




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       G.      DISCLOSURE STATEMENT ORDER AND SCHEDULING ORDER

       8.      On June 17, 2021, the Court entered the Disclosure Statement Order, which, among

other things: (a) approved the Disclosure Statement as containing “adequate information” (as such

term is defined in section 1125(a)(1) and used in section 1126(b)(2) of the Bankruptcy Code) with

respect to the Debtors, the Plan, the Restructuring Support Agreement, the Confirmation Hearing

Notice, and the transactions contemplated therein; (b) approved the Voting Procedures; (c)

approved the Solicitation Procedures (including the Non-Notes Master Ballot Procedures and the

Solicitation Directive Notice and Solicitation Directive), Solicitation Packages, and the form of

Ballots; (d) set September 3, 2021 at 4:00 p.m. (prevailing Eastern time), as the initial deadlines

for voting to accept or reject the Plan and for objecting to the Plan; (e) approved the Debtors’

Additional Opioid Noticing Plan (as defined in the Disclosure Statement Motion); and (f) set an

initial confirmation hearing date as September 21, 2021, at 10:00 a.m. (prevailing Eastern time).

The Disclosure Statement Order further approved the procedures for establishing Claim amounts

for voting purposes and the temporary allowance and disallowance of Claims for vote tabulation

purposes, the establishment of the Voting Record Date, and the procedures for soliciting and

tabulating votes.

       9.      On October 21, 2021, the Court entered the Scheduling Order, which, among other

things: (a) affirmed October 13, 2021 at 4:00 p.m. (prevailing Eastern time) as the new deadline

for voting to accept or reject the Plan (the “Voting Deadline”); (b) set October 13, 2021 at 4:00

p.m. (prevailing Eastern time) as the new deadline for objecting to the Plan (the “Plan Objection

Deadline”); (c) affirmed October 20, 2021 at 4:00 p.m. (prevailing Eastern time) as the new

deadline for voting to accept or reject the Plan solely with respect to Class 8 (Governmental Opioid

Claims) and Class 9 (Non-Governmental Opioid Claims) and all related voting subclasses (the

“Opioid Voting Deadline”); and (d) set November 1, 2021, at 10:00 a.m. (prevailing Eastern time)

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as the new date and time for the commencement of the Confirmation Hearing. The Phase II Pretrial

Order established, among other things, (x) November 24, 2021 at 6:00 p.m. (prevailing Eastern

time) as the deadline for filing supplemental plan objections regarding the UCC Settlement and

(y) December 6, 2021, as the new date for the commencement of Phase II of the Confirmation

Hearing.

       H.      TRANSMITTAL AND MAILING OF MATERIALS; NOTICE

       10.     As evidenced by the Solicitation Affidavits, the Publication Affidavit, the

Contract/Lease Affidavits, the Daloia Declaration, the Preliminary Voting Report, and the Final

Voting Report, due, adequate, and sufficient notice of entry of the Disclosure Statement Order, the

Plan, and notice of the assumptions of Executory Contracts and Unexpired Leases to be assumed

by the Debtors (such Executory Contracts and Unexpired Leases, the “Assumed Contracts”) and

related cure amounts and the procedures for objecting thereto and resolution of disputes by the

Court thereof has been given to, as applicable: (a) all Holders of Claims (including, for the

avoidance of doubt, known and unknown Holders of Opioid Claims and Opioid Demands) or

Interests; (b) parties that requested notice in accordance with Bankruptcy Rule 2002; (c) all non-

Debtor counterparties to Executory Contracts and Unexpired Leases; and (d) all taxing and

governmental authorities listed on the Debtors’ Schedules of Assets and Liabilities or the Claims

Register in the Chapter 11 Cases; each in substantial compliance with the Disclosure Statement

Order and Bankruptcy Rules 2002(b), 3017, 3019, and 3020(b), and no other or further notice is

or shall be required. Due, adequate, and sufficient notice of the Voting Deadline, the Opioid

Voting Deadline, the Cure Objection Deadline, the Plan Objection Deadline, the Confirmation

Hearing (as may be continued from time to time), and any other applicable dates and hearings

described in the Disclosure Statement Order was given in compliance with the Bankruptcy Code,



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the Bankruptcy Rules, and the Disclosure Statement Order, and no other or further notice is or

shall be required.

       11.     The Disclosure Statement (including all applicable exhibits thereto and the notices

provided for therein) provided Holders of Claims, holders of Interests, and all Persons that have

held or asserted or that hold or assert any Opioid Claims or Opioid Demands with sufficient notice

of the releases, exculpatory provisions, and injunctions, (including the Opioid Permanent

Channeling Injunction) set forth in sections IX.B-K of the Plan, in satisfaction of the requirements

of Bankruptcy Rule 3016(c).

       12.     The UCC/OCC/2L Settlement Notice provided Holders of Claims, holders of

Interests, and all Persons that have held or asserted or that hold or assert any Opioid Claims or

Opioid Demands with sufficient notice of the UCC Settlement, OCC Settlement, and the Second

Lien Notes Settlement incorporated into the Plan. As evidenced by the UCC/OCC/2L Settlement

Affidavit, service of the UCC/OCC/2L Settlement Notice was (a) adequate and sufficient under

the circumstances of the Chapter 11 Cases, and adequate and sufficient notice of the UCC/OCC/2L

Settlement Notice was timely and properly provided in compliance with the Bankruptcy Code, the

Bankruptcy Rules, and the Local Rules and (b) provided due process, and an opportunity to appear

and to be heard, to all parties in interest, all holders of Claims, all holders of Interests, and all

Persons that have held or asserted or that hold or assert any Opioid Claim or Opioid Demand. The

UCC Settlement, OCC Settlement, and Second Lien Notes Settlement were incorporated into the

Second Amended Joint Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under

Chapter 11 of the Bankruptcy Code [Docket No. 5636] prior to the Plan Objection Deadline and

the Debtors provided due process, and an opportunity to appear and to be heard, to all parties in




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interest, all holders of Claims, all holders of Interests, and all Persons that have held or asserted or

that hold or assert any Opioid Claim or Opioid Demand.

       I.      SOLICITATION

       13.     The Debtors solicited votes for acceptance and rejection of the Plan in good faith

and in compliance with the Bankruptcy Code, and pursuant to sections 1125, 1126, and all other

applicable sections of the Bankruptcy Code, Bankruptcy Rules 3017, 3018, and 3019, the

Disclosure Statement Order, and all other applicable rules, laws, and regulations. All procedures

used to distribute Ballots to the applicable Holders of Claims and to tabulate the Ballots were fair

and reasonable and conducted in good faith and in accordance with the Disclosure Statement Order

and the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and

all other applicable rules, laws, and regulations.

       14.     Promptly following entry of the Disclosure Statement Order, in compliance with

the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the Disclosure Statement Order,

and as evidenced by the Solicitation Affidavits, Prime Clerk effectuated service of the appropriate

Solicitation Packages on: (a) each Holder of Claims entitled to vote on the Plan (i.e., Class 2(b)

(2024 First Lien Term Loan Claims), Class 2(c) (2025 First Lien Term Loan Clams), Class 3 (First

Lien Notes Claims), Class 4 (Second Lien Notes Claims), Class 5 (Guaranteed Unsecured Notes

Claims), Class 6(a) (Acthar Claims), Class 6(b) (Generics Price Fixing Claims), Class 6(c)

(Asbestos Claims), Class 6(d) (Legacy Unsecured Notes Claims), Class 6(e) (Environmental

Claims), Class 6(f) (Other General Unsecured Claims), Class 6(g) (4.75% Unsecured Notes

Claims), Class 7 (Trade Claims), Class 8(a) (State Opioid Claims), Class 8(b) (Municipal Opioid

Claims), Class 8(c) (Tribe Opioid Claims), Class 8(d) (U.S. Government Opioid Claims), Class

9(a) (Third-Party Payor Opioid Claims), Class 9(b) (PI Opioid Claims), Class 9(c) (NAS PI Opioid

Claims), Class 9(d) (Hospital Opioid Claims), Class 9(e) (Ratepayer Opioid Claims), Class 9(f)

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(NAS Monitoring Opioid Claims), Class 9(g) (Emergency Room Physicians Opioid Claims), Class

9(h) (Other Opioid Claims), and Class 10 (Settled Federal/State Acthar Claims) (the Classes of

Claims entitled to vote to accept or reject the Plan, the “Voting Classes”), and (b) each Holder of

Claims or Interests in a Class not entitled to vote on the Plan (i.e., Class 1 (Other Secured Claims),

Class 2(a) (First Lien Revolving Credit Facility Claims), Class 9(i) (No Recovery Opioid Claims),

Class 9(j) (Released Co-Defendant Claims), Class 11 (Intercompany Claims), Class 12

(Intercompany Interests), and Class 14 (Equity Interests).

       15.     At the time Prime Clerk effectuated service of the Solicitation Packages, no

creditors or Holders of Claims were classified under Class 13 (Subordinated Claims) and any

claimants not otherwise classified under Class 13 (Subordinated Claims) were treated as a Holder

of a Claim under Class 6(f) (Other General Unsecured Claims) for solicitation purposes.

       16.     Further, although the Plan provides for potential treatment which would render

Claims in Classes 2(b), 2(c), and 3 Unimpaired, in which case such Claims would be conclusively

presumed to accept the Plan and would not be entitled to vote, the Debtors served such Classes of

Claims with Solicitation Packages.

       17.     The Debtors and Prime Clerk effectuated the Additional Opioid Notice Plan,

including providing supplemental notice by means of (a) direct mailings to certain additional

individuals and entities that hold or could assert any Opioid Claims or Opioid Demands, (b) print

media, (c) online display, (d) internet search terms, (e) social media campaigns, and (f) television

and radio advertisements, which collectively served over 1.1 billion impressions in the U.S. and

the U.S. Territories and 324 million impressions in Canada. In the U.S. and the U.S. Territories,

print media served approximately 4 million impressions, television and radio advertisements

served over 218 million impressions, and the digital campaign served over 943 million



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impressions. In Canada, print media served approximately 15 million impressions, and the digital

campaign served over 309 million impressions.

       18.     As described in the Disclosure Statement Order and as evidenced by the Solicitation

Affidavits, service of the Solicitation Packages was adequate and sufficient under the

circumstances of the Chapter 11 Cases, and adequate and sufficient notice of the Confirmation

Hearing and other requirements, deadlines, hearings, and matters described in the Disclosure

Statement Order (a) was timely and properly provided in compliance with the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules, and the Disclosure Statement Order and (b) provided due

process, and an opportunity to appear and to be heard, to all parties in interest, all holders of

Claims, all holders of Interests, and all Persons that have held or asserted or that hold or assert any

Opioid Claim or Opioid Demand.

       19.     Because the foregoing transmittals, notices, and service set forth above were

adequate and sufficient, no other or further notice is necessary or shall be required. All parties in

interest, including, without limitation, the Debtors’ insurers, had notice of the Chapter 11 Cases

and an opportunity to participate in them and were on notice that the Debtors’ opioid-related

liabilities were being mediated, negotiated, and resolved.

       20.     Votes on the Plan were solicited, including, where applicable, pursuant to certain

Non-Notes Master Ballot Solicitation Procedures (which included a Master Ballot Solicitation

Method and a Direct Solicitation Method) and Notes Master Ballot Solicitation Procedures (each

as defined in the Disclosure Statement Motion), after disclosure of “adequate information” as

defined in section 1125 of the Bankruptcy Code. None of the postings, press releases or statements

of various parties, including letters of support and/or recommendations or other communications




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from any official and unofficial committees, constituted improper solicitations of the Plan under

section 1125 of the Bankruptcy Code.

        21.     Each of the Debtors and other Released Parties, as applicable, acted in “good faith”

within the meaning of section 1125(e) of the Bankruptcy Code and in compliance with the

applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with all of their

respective conduct relating to the solicitation of acceptances of the Plan and the other activities

described in section 1125 of the Bankruptcy Code. Accordingly, the Released Parties are entitled

to the protections afforded by section 1125(e) of the Bankruptcy Code and the exculpation

provisions set forth in Article IX of the Plan.

        J.      THE VOTING REPORTS

        22.     Prior to the Confirmation Hearing, the Debtors filed the Preliminary Voting Report.

Shortly after commencement of the Confirmation Hearing, the Debtors filed the Final Voting

Report. As set forth in the Voting Reports, the procedures used to tabulate the ballots were fair

and conducted in accordance with the Disclosure Statement Order, the Bankruptcy Code, the

Bankruptcy Rules, and all other applicable rules, laws, and regulations.

        23.     As set forth in the Plan, Holders of Claims in the Voting Classes for each of the

Debtors were eligible to vote on the Plan pursuant to the Disclosure Statement Order and the

Solicitation Procedures therein. In addition, Holders of Claims and Interests in Classes 1 and 2(a)

are Unimpaired and conclusively presumed to have accepted the Plan and, therefore, are not

entitled to vote to accept or reject the Plan.

        24.     Holders of Claims and Interests in Classes 11 and 12 either are Unimpaired, in

which case they are conclusively deemed to have accepted the Plan, or Impaired, in which case

they are conclusively deemed to have rejected the Plan, and therefore, are not entitled to vote to

accept or reject the Plan.

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         25.      Holders of Claims and Equity Interests in Classes 9(i), 9(j), and 13-14 (together

with Holders of Claims and Interests in Classes 11 and 12, to the extent Impaired under the Plan,

collectively, the “Deemed Rejecting Classes”) are Impaired under the Plan, are entitled to no

recovery under the Plan, and are therefore conclusively deemed to have rejected the Plan.

         26.      As evidenced by the Final Voting Report, Classes 2(b), 2(c), 4, 5, 6(c) (solely as to

Debtors Mallinckrodt APAP LLC, Mallinckrodt LLC, Mallinckrodt plc, Mallinckrodt US

Holdings LLC, and Mallinckrodt US Pool LLC), 6(d) (solely as to Debtor Ludlow LLC), 6(e)

(solely as to Debtors Mallinckrodt International Finance SA, Mallinckrodt Veterinary, Inc., and

SpecGx LLC), 6(f) (solely as to certain Debtors entities),10 6(g) (solely as to Debtors Mallinckrodt

International Finance SA and Mallinckrodt plc), 7, 8(a)-8(d),11 9(a)-9(g), and 10 each voted to

accept the Plan (collectively, the “Accepting Voting Classes”).

         27.      As evidenced by the Final Voting Report, Class 6(a) (solely as to Debtors

Mallinckrodt ARD LLC, Mallinckrodt LLC, and Mallinckrodt plc), Class 6(b) (solely as to




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     Pursuant to Article III.G of the Plan, Holders of Claims in Class 6(f) (if any) were deemed to accept the Plan
     solely for the following Debtor entities: Acthar IP Unlimited Company, IMC Exploration Company, Infacare
     Pharmaceutical Corporation, INO Therapeutics LLC, Ludlow LLC, MAK LLC, Mallinckrodt APAP LLC,
     Mallinckrodt ARD Finance LLC, Mallinckrodt ARD Holdings Inc., Mallinckrodt ARD Holdings Limited,
     Mallinckrodt ARD IP Unlimited Company, Mallinckrodt Brand Pharmaceuticals LLC, Mallinckrodt Buckingham
     Unlimited Company, Mallinckrodt Canada ULC, Mallinckrodt CB LLC, Mallinckrodt Critical Care Finance
     LLC, Mallinckrodt Enterprises Holdings, Inc., Mallinckrodt Enterprises LLC, Mallinckrodt Enterprises UK
     Limited, Mallinckrodt Equinox Finance LLC, Mallinckrodt Group S.a.r.l., Mallinckrodt Holdings GmbH,
     Mallinckrodt Hospital Products IP Unlimited Company, Mallinckrodt International Finance SA, Mallinckrodt
     International Holdings S.a.r.l., Mallinckrodt IP Unlimited Company, Mallinckrodt Lux IP S.a.r.l., Mallinckrodt
     Manufacturing LLC, Mallinckrodt Pharma IP Trading Unlimited Company, Mallinckrodt Quincy S.a.r.l.,
     Mallinckrodt UK Finance LLP, Mallinckrodt UK Ltd, Mallinckrodt US Holdings LLC, Mallinckrodt US Pool
     LLC, Mallinckrodt Veterinary, Inc., Mallinckrodt Windsor Ireland Finance Unlimited Company, Mallinckrodt
     Windsor S.a.r.l., MCCH LLC, MEH, Inc., MHP Finance LLC, MKG Medical UK Ltd, MNK 2011 LLC, MUSHI
     UK Holdings Limited, Ocera Therapeutics, Inc., Petten Holdings Inc., SpecGx Holdings LLC, SpecGx LLC, ST
     Operations LLC, ST US Holdings LLC, ST US Pool LLC, Stratatech Corporation, Sucampo Holdings Inc.,
     Sucampo Pharma Americas LLC, Sucampo Pharmaceuticals, Inc., Therakos, Inc., Vtesse LLC, and WebsterGx
     Holdco LLC.
11
     Pursuant to Article III.G of the Plan, Holders of Claims in Class 8(d) (if any) were deemed to accept the Plan.


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Debtors Mallinckrodt APAP LLC, Mallinckrodt LLC, Mallinckrodt Pharmaceuticals Ireland

Limited, Mallinckrodt Pharmaceuticals Limited, Mallinckrodt plc, and SpecGx LLC), Class 6(e)

(solely as to Debtors Mallinckrodt Brand Pharmaceuticals LLC, Mallinckrodt LLC, Mallinckrodt

plc, Mallinckrodt US Holdings LLC, and MNK 2011 LLC), Class 6(f) (solely as to Debtors

Mallinckrodt ARD LLC, Mallinckrodt Hospital Products Inc., Mallinckrodt LLC, Mallinckrodt

Pharmaceuticals Ireland Limited, Mallinckrodt Pharmaceuticals Limited, Mallinckrodt plc, and

ST Shared Services LLC), and Class 9(h) voted to reject the Plan (collectively, the “Rejecting

Voting Classes”).

         28.   As evidenced by the Solicitation Affidavits and the Final Voting Report, votes to

accept the Plan have been solicited and tabulated fairly, in good faith, and in a manner consistent

with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, and the Local

Rules.

         K.    BANKRUPTCY RULE 3016

         29.   The Plan is dated and identifies the Debtors as the Entities submitting it, thereby

satisfying Bankruptcy Rule 3016(a). The Debtors appropriately filed the Disclosure Statement

and the Plan with the Court, thereby satisfying Bankruptcy Rule 3016(b).

         L.    BURDEN OF PROOF

         30.   The Debtors, as proponents of the Plan, have met their burden of proving the

elements of sections 1129(a) and 1129(b) of the Bankruptcy Code by a preponderance of the

evidence, the applicable evidentiary standard for Confirmation.

         M.    OBJECTIONS OVERRULED

         31.   Any resolution or disposition of objections to Confirmation of the Plan explained

or otherwise ruled upon by the Court on the record at the Confirmation Hearing is hereby



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incorporated by reference. All unresolved objections, statements, and reservations of rights with

respect to Confirmation are hereby overruled on the merits.

       N.      MODIFICATIONS TO THE PLAN

       32.     The modifications made to the Plan between solicitation and the Confirmation Date

(collectively, the “Modifications”) comply in all respects with section 1127 of the Bankruptcy

Code. Specifically, the Modifications with respect to the Plan related to the UCC Settlement, OCC

Settlement, and the Second Lien Notes Settlement incorporated into the Second Amended Joint

Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the

Bankruptcy Code [Docket No. 5636] and set forth in this Confirmation Order do not materially

and adversely affect the treatment of any Claims against, or Interests in, the Debtors. The Debtors’

key constituents, including the Supporting Parties, the Official Committee of Opioid-Related

Claimants, the Official Committee of Unsecured Creditors, and the Ad Hoc Second Lien Notes

Group, affected by or whose clients representing parties affected by such Modifications negotiated

those Modifications and support, or otherwise have not objected to, such Modifications. Other

parties in interest affected by such Modifications, including Covidien Limited (f/k/a Covidien plc)

(to the extent applicable), negotiated certain of those Modifications with the Debtors, the

Governmental Plaintiff Ad Hoc Committee and the Official Committee of Opioid-Related

Claimants, and support, or otherwise have not objected to, such Modifications.                Such

Modifications were filed with the Court before the Plan Objection Deadline and all parties in

interest had an opportunity to object to such Modifications.

       33.     The Modifications in the Third Amended Joint Plan of Reorganization of

Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No.

6006] comply with section 1127 of the Bankruptcy Code. Specifically, the parties in interest

affected by such Modifications, specifically, the Co-Defendants, Supporting Parties, and the

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Insurers, negotiated those Modifications and support, or otherwise have not objected to, such

Modifications contained in the Third Amended Joint Plan of Reorganization of Mallinckrodt Plc

and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code, and such Modifications do

not adversely affect the treatment of any Claims against, or Interests in, the Debtors.

        34.     The Modifications in the Fourth Amended Joint Plan of Reorganization of

Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No.

6066] comply with section 1127 of the Bankruptcy Code. Specifically, the parties in interest

affected by such Modifications, including the Insurers and Covidien Limited (f/k/a Covidien plc)

(to the extent applicable), negotiated those Modifications with the Debtors, the Governmental

Plaintiff Ad Hoc Committee and the Official Committee of Opioid-Related Claimants, and

support, or otherwise have not objected to, such Modifications contained in the Fourth Amended

Joint Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of

the Bankruptcy Code, and such Modifications do not adversely affect the treatment of any Claims

against, or Interests in, the Debtors.

        35.     Accordingly, pursuant to Bankruptcy Rule 3019, (a) no other or further disclosure

with respect to the Modifications is required under section 1125 of the Bankruptcy Code and (b)

neither resolicitation of votes on the Plan nor affording Holders of Claims and Interests in the

Voting Classes the opportunity to change a previously cast Ballot is required under section 1126

of the Bankruptcy Code.

        O.      CONFIRMATION HEARING

        36.     The Court held the Confirmation Hearing on November 1-2, 2021, November 4-5,

2021, December 6-10, 2021, December 13-17, 2021, January 3-4, 2022, and January 6, 2022. The

Court issued its Confirmation Opinion confirming the Plan on February 3, 2022.



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         P.       COMPLIANCE WITH THE REQUIREMENTS OF SECTION 1129 OF
                  THE BANKRUPTCY CODE

         37.      The Plan complies with all applicable provisions of the Bankruptcy Code, as

required by section 1129(a)(l) of the Bankruptcy Code, including sections 1122 and 1123 of the

Bankruptcy Code.

         1.       Section 1129(a)(1) – Compliance of the Plan with Applicable Provisions of
                  the Bankruptcy Code.

         38.      The Plan complies with all applicable provisions of the Bankruptcy Code, as

required by section 1129(a)(l) of the Bankruptcy Code, including sections 1122 and 1123 of the

Bankruptcy Code.

         2.       Sections 1122 and 1123(a)(1)-(4) - Classification and Treatment of Claims
                  and Interests.

         39.      Pursuant to sections 1122(a) and 1123(a)(l) of the Bankruptcy Code, Article III of

the Plan designates Classes of Claims and Interests, other than for Administrative Claims, Priority

Tax Claims, and Other Priority Claims.12 As required by section 1122(a), each Class of Claims

and Interests contains only Claims or Interests that are substantially similar to the other Claims or

Interests within that Class. The Plan contains thirty-four (34) Classes of Claims and Interests,

designated as Classes 1, 2(a)-2(c), 3-5, 6(a)-(g), 7, 8(a)-(d), 9(a)-(j), and 10 through 14. Such

classification is proper under section 1122(a) of the Bankruptcy Code, because such Classes of

Claims and Interests have differing rights among each other and against the Debtors’ assets or

differing interests in the Debtors.




12
     Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority Tax Claims, and Other
     Priority Claims are not required to be classified. Articles II.A, II.B, and II.C of the Plan describe the treatment
     under the Plan of Administrative Claims, Priority Tax Claims, and Other Priority Claims, respectively.


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       40.     Pursuant to section 1123(a)(2) of the Bankruptcy Code, Article III of the Plan

specifies all Classes of Claims and Interests that are not Impaired under the Plan. The Plan

specifies that Class 1 (Other Secured Claims) and Class 2(a) (First Lien Revolving Credit Facility

Claims) are Unimpaired.

       41.     Pursuant to section 1123(a)(3) of the Bankruptcy Code, Article III of the Plan

specifies all Classes of Claims and Interests that are Impaired under the Plan. The Plan specifies

that Class 2(b) (2024 First Lien Term Loan Claims) (to the extent Impaired), Class 2(c) (2025 First

Lien Term Loan Clams) (to the extent Impaired), Class 3 (First Lien Notes Claims) (to the extent

Impaired), Class 11 (Intercompany Claims) (to the extent Impaired), and Class 12 (Intercompany

Interests) (to the extent Impaired) are potentially Impaired Classes under the Plan.

       42.     It further specifies that Class 4 (Second Lien Notes Claims), Class 5 (Guaranteed

Unsecured Notes Claims), Class 6(a) (Acthar Claims), Class 6(b) (Generics Price Fixing Claims),

Class 6(c) (Asbestos Claims), Class 6(d) (Legacy Unsecured Notes Claims), Class 6(e)

(Environmental Claims), Class 6(f) (Other General Unsecured Claims), Class 6(g) (4.75%

Unsecured Notes Claims), Class 7 (Trade Claims), Class 8(a) (State Opioid Claims), Class 8(b)

(Municipal Opioid Claims), Class 8(c) (Tribe Opioid Claims), Class 8(d) (U.S. Government

Opioid Claims), Class 9(a) (Third-Party Payor Opioid Claims), Class 9(b) (PI Opioid Claims),

Class 9(c) (NAS PI Opioid Claims), Class 9(d) (Hospital Opioid Claims), Class 9(e) (Ratepayer

Opioid Claims), Class 9(f) (NAS Monitoring Opioid Claims), Class 9(g) (Emergency Room

Physicians Opioid Claims), Class 9(h) (Other Opioid Claims), Class 9(i) (No Recovery Opioid

Claims), Class 9(j) (Released Co-Defendant Claims), Class 10 (Settled Federal/State Acthar

Claims), Class 13 (Subordinated Claims), and Class 14 (Equity Interests) are Impaired Classes

under the Plan, each within the meaning of section 1124 of the Bankruptcy Code. The Plan



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specifies the treatment of each of the aforementioned Classes, thereby satisfying section 1123(a)(3)

of the Bankruptcy Code.

       43.     Pursuant to section 1123(a)(4) of the Bankruptcy Code, Article III of the Plan also

provides the same treatment for each Claim or Interest within a particular Class, unless the Holder

of a Claim or Interest agrees to less favorable treatment of its Claim or Interest. Valid business,

legal, and factual reasons exist for separately classifying the various Classes of Claims and

Interests under the Plan. The Plan therefore complies with sections 1122 and 1123(a)(1)-(4) of the

Bankruptcy Code.

       3.      Section 1123(a)(5) - Adequate Means for Implementation of the Plan.

       44.     Article IV and various other provisions of the Plan provide adequate means for the

Plan’s implementation. Those provisions relate to, among other things: (a) the good faith and

integrated compromise and settlement of Claims, Interests, Causes of Action, and controversies

relating to the Plan, including, without limitation, any settlements included in the Restructuring

Support Agreement (including the Opioid Settlement (as defined in the Restructuring Support

Agreement)), the Federal/State Acthar Settlement, the UCC Settlement, the OCC Settlement, and

the Second Lien Notes Settlement; (b) authority to effectuate the Restructuring Transactions

(subject to the terms of the Restructuring Support Agreement); (c) sources of consideration for

distributions under the Plan; (d) execution of and entry into the New Credit Facilities, New

Takeback Term Loans, Takeback Second Lien Notes, and New Second Lien Notes; (e) execution

of and entry into the New Opioid Warrant Agreement; (f) treatment of Equity Interests in

subsidiary Debtors; (g) issuance of the New Mallinckrodt Ordinary Shares and New Opioid

Warrants; (h) cancellation of notes, instruments and Equity Interests; (i) execution of and entry

into the Registration Rights Agreement; (j) payment of certain fees and expenses including,

without limitation, the Noteholder Consent Fee and the Term Loan Exit Payment pursuant to the

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terms of the Restructuring Support Agreement and, in the case of the Term Loan Exit Payment, as

authorized by the Order (I) Modifying Cash Collateral Order with Respect to Adequate Protection

Terms, (II) Permitting the Debtors to Pay Certain Amounts, and (III) Granting Related Relief

[Docket No. 2021], the Restructuring Expenses, and the Post Effective Date Implementation

Expenses; (k) authority to undertake corporate actions necessary to effectuate the Plan, including

without limitation the New Governance Documents; (l) appointment of officers and directors of

the Reorganized Debtors; (m) adoption of the Management Incentive Plan by the Reorganized

Board; (n) continuation of the Debtors’ D&O Liability Insurance Policies (including any “tail

policy” and all agreements, documents, or instruments related thereto); (o) rejection, assumption,

or assumption and assignment of Executory Contracts and Unexpired Leases, including without

limitation the deemed assumption all of the Debtors’ D&O Liability Insurance Policies (including

any “tail policy” and all agreements, documents, or instruments related thereto) in effect prior to

the Effective Date; (p) execution of and entry into the Opioid MDT II Documents, the Opioid

Creditor Trust Documents (as applicable), the General Unsecured Claims Trust Documents, and

the Asbestos Trust Documents; and (q) the listing of the New Mallinckrodt Ordinary Shares for

trading on the NASDAQ Capital Market, the NASDAQ Global Market, or the New York Stock

Exchange.13 Further, the Bankruptcy Code authorizes the transfer and vesting of the Opioid MDT

II Consideration (including any and all litigation rights and transfer of documents and other rights),

notwithstanding any terms of any Insurance Contracts related to the Assigned Insurance Rights or

provisions of non-bankruptcy law that any Insurer may otherwise argue prohibits such transfer and




13
     Pursuant to Article VIII.A.11 of the Plan, the occurrence of the Effective Date is conditioned on the High Court
     of Ireland having made the Irish Confirmation Order and the Scheme of Arrangement effective in accordance
     with its terms (or shall become effective concurrently with effectiveness of the Plan).


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vesting. Moreover, the Debtors will have, on the Effective Date, sufficient Cash to make all

payments required under the Plan on the Effective Date. The Plan therefore complies with section

1123(a)(5) of the Bankruptcy Code.

       4.      Section 1123(a)(6) - Prohibition Against the Issuance of Nonvoting Equity
               Securities and Adequate Provisions for Voting Power of Classes of Securities.

       45.     The Plan provides that the New Governance Documents, among other things,

prohibit the issuance of nonvoting equity securities to the extent required under section 1123(a)(6)

of the Bankruptcy Code. The aforementioned New Governance Documents (other than with

respect to Reorganized Debtor Mallinckrodt Holdings GmbH incorporated under or otherwise

governed by Switzerland corporate law) filed with the Plan Supplement, reflect this prohibition.

Specifically, Reorganized Debtor, Mallinckrodt Holdings GmbH, is subject to Swiss law, which

requires that articles of association for Swiss corporations provide for the voting power of equity

securities, and such Reorganized Debtor shall be governed by the applicable New Governance

Documents despite the absence of a prohibition of the issuance of nonvoting equity securities in

such applicable Swiss New Governance Documents.              Accordingly, the Plan satisfies the

requirements of section 1123(a)(6) of the Bankruptcy Code.

       5.      Section 1123(a)(7) - Selection of Directors and Officers in a Manner
               Consistent with the Interest of Creditors and Equity Security Holders and
               Public Policy.

       46.     The selection of the Reorganized Board, as set forth in Article IV.M of the Plan and

in the New Governance Documents, is consistent with the interests of Holders of Claims and

Interests and public policy. Further, the selection of the Opioid MDT II Trustee(s) (Article

IV.U.1), Opioid Creditor Trustees (Article IV.X.2), the General Unsecured Claims Trustee (Article

IV.HH.2), and the Asbestos Trustee (Article IV.II.2), as set forth in the aforementioned Articles

of the Plan and in the Plan Supplement, is consistent with the interests of Holders of Claims and


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Interests and public policy. Accordingly, the Plan satisfies the requirements of section 1123(a)(7)

of the Bankruptcy Code.

       6.      Section 1123(a)(8) – Individual Debtors.

       47.     Section 1123(a)(8) of the Bankruptcy Code is inapplicable to the Chapter 11 Cases.

None of the Debtors is an individual, as such term is used in the Bankruptcy Code.

       7.      Section 1123(b)(1)-(2) - Impairment of Claims and Interests and Assumption,
               Assumption and Assignment or Rejection of Executory Contracts and
               Unexpired Leases.

       48.     In accordance with section 1123(b)(l) of the Bankruptcy Code, Article III of the

Plan impairs or leaves unimpaired, as the case may be, each Class of Claims and Interests. In

accordance with section 1123(b)(2) of the Bankruptcy Code, Article V of the Plan provides that,

on the Effective Date, except as otherwise provided in the Plan, each of the Executory Contracts

and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an

order of the Bankruptcy Court will be deemed assumed as of the Effective Date pursuant to

sections 365 and 1123 of the Bankruptcy Code except any Executory Contract or Unexpired Lease

(a) identified on the Rejected Executory Contract/Unexpired Lease List (which shall initially be

filed with the Bankruptcy Court on the Plan Supplement Filing Date) as an Executory Contract or

Unexpired Lease to be rejected, (b) that is the subject of a separate motion or notice to reject

pending as of the Effective Date, or (c) that previously expired or terminated pursuant to its own

terms (disregarding any terms the effect of which is invalidated by the Bankruptcy Code).

       49.     The Debtors have provided notice to each non-Debtor counterparty to each

Executory Contract and Unexpired Lease of the treatment of such non-Debtor counterparty’s

contract(s) pursuant to the Plan and, with respect to Executory Contracts and Unexpired Leases

being assumed under the Plan, the proposed Cure Cost for such contracts and leases. The Debtors,

in assuming the Assumed Contracts under the Plan, (a) utilized their sound business judgment, (b)

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provided adequate assurance of future performance (within the meaning of section 365 of the

Bankruptcy Code) and no further adequate assurance is or shall be required, and (c) complied with

section 365 of the Bankruptcy Code, as contemplated by section 1123(b)(2) of the Bankruptcy

Code. The Plan is, therefore, consistent with section 1123(b)(1)-(2) of the Bankruptcy Code.

       8.      Section 1123(b)(3) - Settlement, Releases, Exculpation, Injunction, and
               Preservation of Claims and Causes of Action.

       50.     Compromises and Settlements. In accordance with section 1123(b)(3)(A) of the

Bankruptcy Code and Bankruptcy Rule 9019, and consideration for (a) the distributions, releases,

injunctions, and other benefits provided under the Plan and (b) the support of the Supporting

Parties, the Future Claimants’ Representative, the Official Committee of Opioid-Related

Claimants, the Official Committee of Unsecured Creditors, and the Ad Hoc Second Lien Notes

Group, upon the Effective Date, and subject to the provisions of Article III.C of the Plan, the

provisions of the Plan shall constitute a good faith and integrated compromise and settlement of

all Claims, Interests, and controversies relating to any Allowed Claim or Interest or any

distribution to be made on account thereof or otherwise resolved under the Plan. Such integrated

compromise and settlement is the product of extensive arm’s-length, good faith negotiations that,

in addition to the Plan, resulted in the execution of the Restructuring Support Agreement and the

various other settlements, including, without limitation, the UCC Settlement, the OCC Settlement,

and the Second Lien Notes Settlement, that are incorporated in the Plan. Such integrated

compromise and settlement is fair, equitable, and reasonable, represents a sound exercise of the

Debtors’ business judgment, and is in the best interests of the Debtors and their Estates.

       51.     In accordance with the provisions of the Plan, including, without limitation,

Articles IV.O, IV.HH, and IV.II of the Plan, on and after the Effective Date, the Reorganized

Debtors shall retain and may enforce, sue on, settle, compromise, otherwise resolve, discontinue,


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abandon, or dismiss all retained Causes of Actions other than the Assigned Third-Party Claims,

the Assigned Insurance Rights, the Share Repurchase Claims, Causes of Actions transferred to and

assumed by the General Unsecured Claims Trust, the Asbestos Trust, and the Opioid MDT II

without any further notice to or action, order, or approval of the Court.

       52.     Pursuant to the Bankruptcy Code, including section 1123 of the Bankruptcy Code,

and Bankruptcy Rule 9019, the Debtors have authority to propose and negotiate a resolution of

their opioid-related liabilities and, with approval of the Court, enter into a resolution of their

opioid-related liabilities through the Plan. The settlements reached between, and among, the

Debtors and the opioid-related claimants, as embodied in the Plan, are fair, equitable and

reasonable and were entered into in good faith based on arm’s-length negotiations.

       53.     Subordinated Claims. The classification and manner of satisfying all Claims and

Interests under the Plan takes into consideration all subordination rights, whether arising by

contract or under general principles of equitable subordination, section 510 of the Bankruptcy

Code, or otherwise; provided that, notwithstanding the foregoing, such Allowed Claims or

Interests and their respective treatments set forth in the Plan shall not be subject to setoff, demand,

recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery asserted

by any Person. On notice to a Party so affected, the Debtors reserve the right under section 510 of

the Bankruptcy Code, except where otherwise provided in the Plan, to apply for an order

reclassifying any Allowed Claim or Interest in accordance with any contractual, legal, or equitable

subordination rights relating thereto.

       54.     All subordination and related turnover rights that a Holder of a Claim or Interest

may have with respect to any distribution to be made under the Plan, shall be discharged and

terminated, and all actions related to the enforcement of such subordination and related turnover



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rights shall be enjoined permanently. Accordingly, distributions under the Plan to Holders of

Allowed Claims shall not be subject to payment of a beneficiary of such terminated subordination

and related turnover rights, or to levy, garnishment, attachment, or other legal process by a

beneficiary of such terminated subordination and related turnover rights.

       55.     Releases by the Debtors. The releases set forth in Article IX.B of the Plan

(collectively, the “Debtor Release”) constitute an essential and critical provision of the Plan and

formed an integral part of the agreement among all parties in interest embodied in the Plan, as

demonstrated by, among other things, the terms of the Restructuring Support Agreement. The

Debtor Release, which includes by reference each of the related provisions and definitions

contained in the Plan, is: (a) within the jurisdiction of the Bankruptcy Court pursuant to 28 U.S.C.

§ 1334; (b) in exchange for the good and valuable consideration provided by the Released Parties;

(c) a good faith and integrated settlement and compromise of the Claims released by the Debtor

Release; (d) in the best interests of the Debtors, their Estates and all Holders of Claims and Equity

Interests; (e) fair, equitable, and reasonable; (f) given and made after due notice and opportunity

for hearing; (g) appropriately narrow in scope given that it expressly excludes (i) all Assigned

Third-Party Claims and Assigned Insurance Rights, (ii) Claims or Causes of Action against

Released Co-Defendants (which, for the avoidance of doubt, does not include Covidien plc or any

of their affiliates) that (x) are commercial in nature, and (y) are unrelated to the Chapter 11 Cases

or the subject matter of a Pending Opioid Action, (iii) Claims or Causes of Action arising from

acts actual fraud, gross negligence, or willful misconduct, (iv) any post-Effective Date obligations

of any party or Entity under the Plan, and any restructuring, any document, instrument, or

agreement (including those set forth in the Plan Supplement) executed to implement the Plan, or




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(v) any Claims which are reinstated pursuant to the Plan; and (h) a bar to any Entity or person

asserting any Claim or Cause of Action released by Article IX.B of the Plan.

           56.   The Debtor Release appropriately offers protection to parties that constructively

participated in the Debtors’ restructuring efforts. Such protections from liability facilitated the

participation of many of the Debtors’ stakeholders in the negotiations and compromises that led to

the Plan.

           57.   The Debtors, through independent board members and counsel, conducted separate

diligence processes—one for Specialty Generics and one for all of the other Debtors—to evaluate

whether the Debtor Release is consistent with the Debtors’ fiduciary duties. The board members

and counsel that conducted these diligence processes were well qualified, independent, and acted

independently and not under the direction or influence of the Debtors. The aforementioned

independent board members and counsel conducted a comprehensive and thorough investigation

into potential claims the Estates may have against the Released Parties. The Debtors have exercised

reasonable business judgment in determining to grant the Debtor Release against the Released

Parties.

           58.   The scope of the Debtor Release is appropriately tailored under the facts and

circumstances of the Chapter 11 Cases.         In light of, among other things, the significant

contributions made by, or on behalf of, the Released Parties to the Debtors’ Estates and the critical

nature of the Debtor Release to the Plan, the Debtor Release is approved.

           59.   Third-Party Release.     The releases set forth in Article IX.C of the Plan

(collectively, the “Third-Party Release”) are found to be consensual on the part of the Releasing

Parties and within the jurisdiction of the Bankruptcy Court pursuant to 28 U.S.C. § 1334. The

Third-Party Release is appropriately narrow in scope given that it expressly excludes any Claims



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or Causes of Action arising from acts of actual fraud, gross negligence, or willful misconduct, and

it excludes any post-Effective Date obligations of any party or Entity under the Plan, any

restructuring, any document, instrument, or agreement (including those set forth in the Plan

Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to the

Plan. The Third-Party Release is essential to the formulation, confirmation, and implementation

of the Plan, as required by section 1123 of the Bankruptcy Code and a bar to any Entity or person

asserting any Claim or Cause of Action released by Article IX.C of the Plan.

       60.     The scope of the Third-Party Release in the Plan is appropriately tailored to the

facts and circumstances of the Chapter 11 Cases, and parties received due and adequate notice of

the Third-Party Release and the opportunity to opt out of or object to the Third-Party Release. As

set forth in the Confirmation Opinion, and notwithstanding anything to the contrary in this

Confirmation Order, any creditor that claims they did not receive notice of their right to opt out

will have the opportunity to seek relief from the Court to exercise their rights.

       61.     Release by Holders of Opioid Claims. The releases by Holders of Opioid Claims

of the Protected Parties set forth in Article IX.D of the Plan constitute an essential and critical

provision of the Plan and formed an integral part of the agreement among all parties in interest

embodied in the Plan, as demonstrated by, among other things, the terms of the Restructuring

Support Agreement, the Opioid Settlement (as defined in the Restructuring Support Agreement),

and the OCC Settlement. The release by Opioid Claimants is: (a) within the jurisdiction of the

Bankruptcy Court pursuant to 28 U.S.C. § 1334; (b) given in exchange for the good and valuable

consideration provided by, or on behalf of, the Protected Parties; (c) a good-faith settlement and

compromise of the Claims released by Article IX.D of the Plan; (d) in the best interests of the

Debtors, their Estates, and all Opioid Claimants; (e) fair, equitable, and reasonable; (f) given and



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made after due notice and opportunity for hearing; (g) appropriately narrow in scope given that it

(i) expressly excludes (w) any post-Effective Date obligations of any party or Entity under the

Plan, any post-Effective Date transaction contemplated by the restructuring, or any document,

instrument, or agreement (including those set forth in the Plan Supplement) executed to implement

the Plan, or any claims or causes of actions against any co-defendant of the Debtors (other than

any Protected Party) in any opioid-related litigation, (x) Claims or Causes of Action arising out of,

or related to, any act or omission of a Protected Party prior to the Effective Date that is determined

by Final Order of the Bankruptcy Court or any other court of competent jurisdiction to have

constituted actual fraud, gross negligence, or willful misconduct, including findings after the

Effective Date, (y) any post-Effective Date obligations of any party or Entity under the Plan, any

restructuring, any document, instrument, or agreement (including those set forth in the Plan

Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to the

Plan, and (z) any release or discharge of a consultant or expert having been retained to provide

strategic advice for sales and marketing of opioid products who has received a civil investigative

demand or other subpoena related to sales and marketing of opioid products from any state attorney

general on or after January 1, 2019 through the Petition Date, and (ii) with respect to Co-

Defendants and their Co-Defendant Related Parties, does not affect or alter (x) any treatment

expressly set forth in Article III or Article V.G. of the Plan, (y) the preservation of Co-Defendant

Defensive Rights as set forth in the Plan, including, without limitation, in Article IX.N of the Plan,

or (z) any related substantive language set forth in the defined terms applicable to the foregoing

clauses (x) or (y), as set forth in Article I of the Plan; (h) essential to the confirmation of the Plan;

(i) consistent with sections 105, 1123, and 1129 of the Bankruptcy Code, other provisions of the




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Bankruptcy Code, and other applicable law; and (j) a bar to any Opioid Claimant asserting any

Claim or Cause of Action released pursuant to Article IX.D of the Plan.

       62.     Similar to the Debtor Release, the releases by the Opioid Claimants and its

protections were necessary inducements to the participation of many of the Debtors’ stakeholders

in the negotiations and compromises that led to the Plan and the structure for the Debtors’

reorganization. Specifically, the Protected Parties, individually and collectively, made significant

contributions, or had significant contributions made on their behalf, to the Chapter 11 Cases,

including negotiating and entering into the Restructuring Support Agreement and the Opioid

Settlement (as defined in the Restructuring Support Agreement), the Debtors’ and Reorganized

Debtors’ funding the Opioid MDT II Consideration, facilitating the creation of the Opioid MDT

II and the Opioid Creditor Trusts, entering into and funding the OCC Settlement, and otherwise

actively supporting the Debtors’ reorganization. The release by the Opioid Claimants in favor of

the Protected Parties therefore appropriately offers protection to the Protected Parties, including

those that actively and constructively participated in and contributed to the Debtors’ restructuring

and without whom the proposed restructuring contemplated by the Plan could not have been

achieved.

       63.     The litigation of the released claims against the Protected Parties by Holders of

Opioid Claims would have conceivable effects on the res of the Estates. Litigation of such claims

could deplete the value of certain insurance policies being retained by the Debtors, could lead to

the assertion of indemnification and contribution claims against the Estates and the Reorganized

Debtors, could distract the Reorganized Debtors’ management and employees, could adversely

affect the Reorganized Debtors’ ability to attract, and maintain relationships with, skilled and

qualified employees, managers, and consultants, and could otherwise prejudice the Estates or the



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Opioid MDT II (and therefore reduce the value available for distribution to creditors and the

Opioid Creditor Trusts).

       64.     The scope of the release by the Opioid Claimants in the Plan is appropriately

tailored to the facts and circumstances of the Chapter 11 Cases, and parties received due and

adequate notice of the release by the Opioid Claimants. In light of, among other things, the

significant contributions by, or on behalf of, the Protected Parties to the Debtors’ Estates, the

largely consensual nature of the release by the Opioid Claimants as evidenced by substantially all

of the classes of Opioid Claimants that voted to accept the Plan, and the critical nature of the

release to the Plan, the release by Holders of Opioid Claims is approved.

       65.     Release of Opioid Claimants and Released Co-Defendants and each of their

Co-Defendant Related Parties. The releases by the Protected Parties of Holders of Opioid

Claims and Released Co-Defendants and each of their Co-Defendant Related Parties set forth in

Article IX.E of the Plan constitute an essential and critical provision of the Plan and formed an

integral part of the agreement among all parties in interest embodied in the Plan, as demonstrated

by the terms of the OCC Settlement and the settlements embodied in the Plan with respect to the

Released Co-Defendants and each of their Co-Defendant Related Parties. The release by the

Protected Parties of the Holders of Opioid Claims and Released Co-Defendants and each of their

Co-Defendant Related Parties is: (a) within the jurisdiction of the Bankruptcy Court pursuant to

28 U.S.C. § 1334; (b) in exchange for the good and valuable consideration provided by the Holders

of Opioid Claims and Released Co-Defendants and each of their Co-Defendant Related Parties;

(c) a good faith settlement and compromise of the Claims against the Holders of Opioid Claims

and Released Co-Defendants and each of their Co-Defendant Related Parties released by the

Protected Parties; (d) in the best interests of the Debtors, their Estates and all Holders of Claims



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and Equity Interests; (e) fair, equitable, and reasonable; (f) given and made after due notice and

opportunity for hearing; (g) appropriately narrow in scope given that it expressly excludes (i) all

Assigned Third-Party Claims, Assigned Insurance Rights, and Share Repurchase Claims, (ii) any

Claims or Causes of Action against a Holder of an Opioid Claim, Released Co-Defendant, or Co-

Defendant Related Party arising from acts of actual fraud, gross negligence, or willful misconduct,

(iii) any Cause of Action the Protected Parties are entitled to assert that is both (x) contractual or

commercial in nature and (y) unrelated to the subject matter of Pending Opioid Actions, (iv) any

Cause of Action the Debtors are entitled to assert, to the extent such Cause of Action is necessary

for the administration and resolution of a Claim against a Debtor solely in accordance with the

Plan, (v) any claim or right of the Debtors or the Reorganized Debtors arising in the ordinary

course of the Debtors’ or Reorganized Debtors’ business, including, without limitation, any such

claim with respect to taxes, (vi) the Effective Date or post-Effective Date rights and obligations of

any Person under the Plan, the Definitive Documents, this Confirmation Order or the Restructuring

Transactions, and (vii) any post-Effective Date obligations of any party or Entity under the Plan,

any restructuring, any document, instrument, or agreement (including those set forth in the Plan

Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to the

Plan; (h) essential to the confirmation of the Plan; and (i) a bar to any Entity or person asserting

any Claim or Cause of Action released by Article IX.E of the Plan.

       66.     Similar to the above releases, the releases by the Protected Parties of Holders of

Opioid Claims and Released Co-Defendants and each of their Co-Defendant Related Parties and

its protections were necessary inducements to the participation of many of the Debtors’

stakeholders in the negotiations and compromises that led to the Plan, the OCC Settlement, the

settlements embodied in the Plan with respect to the Released Co-Defendants and each of their



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Co-Defendant Related Parties, and the structure for the Debtors’ reorganization. Specifically, the

Holders of Opioid Claims, individually and collectively, and the Official Committee of Opioid-

Related Claimants made significant contributions to the Chapter 11 Cases, including negotiating

and entering into the OCC Settlement and otherwise actively supporting the Debtors’

reorganization. Further, Released Co-Defendants and each of their Co-Defendant Related Parties,

individually and collectively, contributed to the Chapter 11 Cases by negotiating and entering into

the settlements embodied in the Plan with respect to the Released Co-Defendants and each of their

Co-Defendant Related Parties. The release by the Protected Parties of the Holders of Opioid

Claims appropriately offers protection to parties who actively and constructively participated in

and contributed to the Debtors’ restructuring and without whom the proposed restructuring

contemplated by the Plan could not have been achieved.

       67.     The scope of the release by the Protected Parties of Holders of Opioid Claims and

Released Co-Defendants and each of their Co-Defendant Related Parties in the Plan is

appropriately tailored to the facts and circumstances of the Chapter 11 Cases, and parties received

due and adequate notice of the release by the Protected Parties. In light of, among other things,

the value provided by the Opioid Claimants and the Official Committee of Opioid-Related

Claimants, the contributions of the Released Co-Defendants and each of their Co-Defendant

Related Parties, the consensual nature of the release by the Protected Parties, and the critical nature

of the release to the Plan, the release by the Protected Parties of the Holders of Opioid Claims and

Released Co-Defendants and each of their Co-Defendant Related Parties is approved.

       68.     Exculpation. The exculpation provisions set forth in Article IX.F of the Plan (the

“Exculpation”) are approved. The Exculpation is appropriate under applicable law because it was

proposed in good faith, was formulated following extensive good faith, arm’s length negotiations



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with key constituents, is a key element of the Restructuring Support Agreement, the Second Lien

Notes Settlement, the Opioid Settlement (as defined in the Restructuring Support Agreement), the

OCC Settlement, the UCC Settlement, and the Plan, and is appropriately limited in scope, as it will

have no effect on the liability of any Exculpated Party that results from any such act or omission

that is determined by a Final Order to have constituted actual fraud, gross negligence, or willful

misconduct. The Exculpated Parties have, and upon consummation of the Plan shall be deemed

to have, participated in good faith and in compliance with the applicable laws with regard to the

solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not,

and on account of such distributions shall not be, liable at any time for the violation of any

applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the

Plan or such distributions made pursuant to the Plan.

       69.     The Exculpated Parties made significant contributions, or had significant

contributions made on their behalf, to the Chapter 11 Cases and played an integral role in working

towards the resolution of the Chapter 11 Cases. Accordingly, the exculpations contemplated by

Article IX.F of the Plan are part of a fair and valid exercise of the Debtors’ business judgment and

are fair, reasonable, and appropriate under the circumstances of the Chapter 11 Cases.

       70.     Injunctions. The injunction provisions set forth in Articles IX.G-K of the Plan,

including, without limitation, the Opioid Permanent Channeling Injunction, the Opioid Insurer

Injunction, and the Settling Opioid Insurer Injunction: (a) are essential to the Plan; (b) are

necessary to preserve and enforce the discharge and releases set forth in Articles IX.A and IX.B-

E, respectively, of the Plan, the exculpation provisions in Article IX.F of the Plan, and the

compromises and settlements implemented under the Plan; (c) are appropriately tailored to achieve

that purpose; (d) are within the jurisdiction of this Court under 28 U.S.C. §§ 1334(a), 1334(b), and



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1334(d); (e) are an essential means of implementing the Plan pursuant to section 1123(a)(5) of the

Bankruptcy Code; (f) are an integral element of the Restructuring Transactions incorporated into

the Plan; (g) confer material benefits on, and are in the best interests of, the Debtors and their

Estates, creditors, and other stakeholders; (h) are critical to the overall objectives of the Plan; and

(i) are consistent with sections 105, 1123, and 1129 of the Bankruptcy Code, other provisions of

the Bankruptcy Code, and other applicable law. The injunction provisions set forth in Articles

IX.G-K of the Plan, including, without limitation, the Opioid Permanent Channeling Injunction,

the Opioid Insurer Injunction, and the Settling Opioid Insurer Injunction, were adequately

disclosed and explained on the relevant Ballots, in the Disclosure Statement, and in the Plan. The

record of the Confirmation Hearing and the Chapter 11 Cases is sufficient to support the injunction

provisions set forth in Articles IX.G-K of the Plan.

       71.     The injunctions, releases, and exculpations set forth in Article IX of the Plan were

adequately disclosed and explained in the Disclosure Statement, on the Ballots, through the

Additional Opioid Notice Plan, in the Notices of Non-Voting Status, and in the Plan.

       72.     Further, the Supporting Parties, the Official Committee of Opioid-Related

Claimants, the Official Committee of Unsecured Creditors, the Future Claimants’ Representative,

and the Ad Hoc Second Lien Notes Group affirmatively support the Plan, which includes the

release and injunction provisions in favor of the Released Parties, the Protected Parties, and the

Opioid Claimants (as applicable).

       73.     The record of the Confirmation Hearing and the Chapter 11 Cases is sufficient to

support the injunctions, releases, and exculpations set forth in Article IX of the Plan. Based on the

record of the Chapter 11 Cases, the representations of the parties, and the evidence proffered,

adduced, and presented at the Confirmation Hearing, this Court finds that the injunctions, releases,



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and exculpations set forth in Article IX of the Plan are consistent with the Bankruptcy Code and

applicable law. The failure to implement such provisions would render the Debtors unable to

confirm and consummate the Plan.

       74.     Retained Causes of Action. The provisions regarding the retention of Causes of

Action in the Plan (other than the Assigned Third-Party Claims, the Assigned Insurance Rights,

the Share Repurchase Claims, and Causes of Actions transferred to and assumed by the General

Unsecured Claims Trust, the Asbestos Trust, and the Opioid MDT II), including, among others,

Articles IV.O, IV.HH, and VI.II of the Plan, are appropriate and are in the best interests of the

Debtors, their respective Estates, and their creditors. The list of retained Causes of Actions filed

as part of the Plan Supplement adequately specifies the retained Causes of Actions under the Plan.

In light of the foregoing, the Plan is consistent with section 1123(b)(3) of the Bankruptcy Code.

       9.      Section 1123(b)(4) – Sale of all or Substantially all of the Property of the
               Estate.

       75.     Section 1123(b)(4) of the Bankruptcy Code is inapplicable to the Chapter 11 Cases.

The Plan proposes no sale of all or substantially all of the property of the Estate.

       10.     Section 1123(b)(5) - Modification of the Rights of Holders of Claims.

       76.     Article III of the Plan modifies or leaves unaffected, as the case may be, the rights

of Holders of each Class of Claims, and therefore, the Plan is consistent with section 1123(b)(5)

of the Bankruptcy Code.

       11.     Section 1123(b)(6) - Other Provisions Not Inconsistent with Applicable
               Provisions of the Bankruptcy Code.

       77.     The Plan includes additional appropriate provisions that are not inconsistent with

applicable provisions of the Bankruptcy Code, including: (a) the provisions of Article IV of the

Plan regarding the means for executing and implementing the Plan; (b) the provisions of Article V

of the Plan governing the treatment of Executory Contracts and Unexpired Leases, certain

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contractual claims with respect to Co-Defendant Claims, and certain Compensation and Benefits

Programs; (c) the provisions of Article VI of the Plan governing distributions on account of,

among others, Allowed Claims (other than Opioid Claims), particularly as to the timing and

calculation of amounts to be distributed; (d) the provisions of Article VII of the Plan governing

resolution procedures and distributions on account of, among others, Disputed Claims (other than

Opioid Claims); (e) the provisions of Articles IX.C and IX.D of the Plan regarding the Third-Party

Release and the Release of Opioid Claimants; and (f) the provisions of Article X of the Plan

regarding retention of jurisdiction by the Bankruptcy Court over certain matters after the Effective

Date. The Plan is therefore consistent with section 1123(b)(6) of the Bankruptcy Code.

       12.     Section 1129(a)(2) - Compliance with Applicable Provisions of the
               Bankruptcy Code.

       78.     The Debtors have complied with all applicable provisions of the Bankruptcy Code,

as required by section 1129(a)(2) of the Bankruptcy Code, including sections 1122, 1123, 1124,

1125, 1126, and 1128 of the Bankruptcy Code and Bankruptcy Rules 3017 and 3018. The

Disclosure Statement and the procedures by which the Ballots for acceptance or rejection of the

Plan were solicited and tabulated were fair, properly conducted, and in accordance with sections

1125 and 1126 of the Bankruptcy Code, Bankruptcy Rules 3017 and 3018, and the Disclosure

Statement Order. Consistent with Article XII.O of the Plan, the Debtors, the Reorganized Debtors,

the Supporting Parties, the Future Claimants’ Representative, the Official Committee of Unsecured

Creditors, the Official Committee of Opioid-Related Claimants, and each of their respective

current and former officers, directors, members (including ex officio members and any legal or

financial advisors of any individual members), managers, employees, partners, advisors, attorneys,

professionals, accountants, investment bankers, investment advisors, actuaries, Affiliates,

financial advisors, consultants, agents, and other representatives of each of the foregoing Entities


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(whether current or former, in each case in his, her or its capacity as such), have acted in “good

faith” under section 1125(e) of the Bankruptcy Code. The Plan therefore complies with section

1129(a)(2) of the Bankruptcy Code.

       13.     Section 1129(a)(3) - Proposal of the Plan in Good Faith.

       79.     The Debtors proposed the Plan (including the Plan Supplement and all other

documents necessary or appropriate to effectuate the Plan) in good faith and not by any means

forbidden by law. In determining that the Plan has been proposed in good faith, the Bankruptcy

Court has examined the totality of the circumstances surrounding the formulation of the Plan. The

Debtors’ good faith is evident from the facts and record of the Chapter 11 Cases, the Disclosure

Statement, and the record of the Confirmation Hearing. Based on the Disclosure Statement and

the evidence presented at the Confirmation Hearing, the Bankruptcy Court finds and concludes

that the Plan has been proposed with the legitimate and honest purpose of restructuring the

Debtors’ funded indebtedness, resolving their opioid-related liabilities, resolving other contingent

liabilities, including without limitation, litigation liabilities, recapitalizing their businesses, and

maximizing the value of the Debtors and the distributions available to their creditors. Moreover,

the Plan itself and the arms’ length negotiations amongst the Debtors, the Supporting Parties, the

Future Claimants’ Representative, the Official Committee of Unsecured Creditors, the Official

Committee of Opioid-Related Claimants, the Ad Hoc Second Lien Notes Group, and other

constituencies leading to the Plan’s formulation, as well as the overwhelming support of creditors

for the Plan, provide independent evidence of the Debtors’ good faith in proposing the Plan.

Further, the Plan’s classification, indemnification, settlement, discharge, exculpation, release, and

injunction provisions have been negotiated in good faith and at arm’s length, are consistent with

sections 105, 1122, 1123(b)(6), 1129, and 1142 of the Bankruptcy Code, and are each necessary



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for the Debtors’ successful reorganization. Accordingly, the requirements of section 1129(a)(3)

of the Bankruptcy Code are satisfied.

         80.   The Plan gives effect to many of the Debtors’ restructuring initiatives, including

implementing the value maximizing Restructuring Transactions. Therefore, the Plan has been

proposed in good faith to achieve a result consistent with the objectives and purposes of the

Bankruptcy Code and the Debtors (and all of their respective officers, managers, directors, agents,

independent contractors, financial advisors, consultants, attorneys, employees, partners, Affiliates,

and representatives) have been, are, and will continue to act in good faith within the meaning of

sections 1125(e) and 1126(e) the Bankruptcy Code if they proceed to: (a) consummate the Plan

and the Restructuring Transactions and the agreements, settlements, transactions, and transfers

contemplated thereby; and (b) take the actions authorized or contemplated by this Confirmation

Order.

         14.   Section 1129(a)(4) - Bankruptcy Court Approval of Certain Professional Fee
               Payments as Reasonable.

         81.   Article II.A.2 of the Plan provides that all final requests for payment of Professional

Fee Claims for services rendered and reimbursement of expenses incurred prior to the Effective

Date must be Filed no later than 45 days after the Effective Date and that the Bankruptcy Court

shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing

in accordance with the procedures established by the Bankruptcy Code, Bankruptcy Rules, and

prior Bankruptcy Court orders.

         82.   All other payments made to or to be made by the Debtors for services or for costs

and expenses in or in connection with the Chapter 11 Cases, or in connection with the Plan and

incident to the Chapter 11 Cases, have been authorized by, approved by, or are subject to the

approval of the Court as reasonable, thereby satisfying section 1129(a)(4) of the Bankruptcy Code.


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With respect to payments being made under Article IV.X.8-9 of the Plan and otherwise to (a)

stakeholder professionals out of distributions to creditors under the Private Opioid Creditor Trusts

and (b) to the State Opioid Attorneys’ Fee Fund and the Municipal and Tribe Opioid Attorneys’

Fee Fund, such payments are hereby approved and are not within the scope of section 1129(a)(4);

alternatively, to the extent any such payments are within the scope of section 1129(a)(4), based

upon the record, the Court finds that such fees and costs are reasonable and are hereby approved.

       83.     Accordingly, subject to any other applicable order of the Bankruptcy Court, the

Bankruptcy Court has reviewed or will review the reasonableness of the final fee applications

under sections 328 and 330 of the Bankruptcy Code and any applicable case law. Thus, the Plan

complies with section 1129(a)(4) of the Bankruptcy Code.

       15.     Section 1129(a)(5) - Disclosure of Identity of Proposed Management,
               Compensation of Insiders and Consistency of Management Proposals with the
               Interests of Creditors and Public Policy.

       84.     The Plan satisfies the requirements of section 1129(a)(5) of the Bankruptcy Code

because the Debtors have or will have disclosed solely to the extent such Persons are known and

determined: (a) the identity of the members of the Reorganized Board; and (b) the nature and

compensation for any insider who will be employed or retained by the Reorganized Debtors under

section 101(31) of the Bankruptcy Code. The method of appointment of members of the

Reorganized Board was consistent with the interests of Holders of Claims and Interests and public

policy. The proposed officers and directors for the Reorganized Debtors are qualified, and their

appointment to, or continuance in, such roles is consistent with the interests of Holders of Claims

and Interests and with public policy.

       85.     Further, the Debtors will also have disclosed solely to the extent such Persons are

known and determined the identity of the initial Opioid MDT II Trustee(s), the Opioid Creditor

Trustees, the General Unsecured Claims Trustee, and the Asbestos Trustee. To the extent not

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disclosed in the Plan Supplement, the identities and affiliations of the Opioid MDT II Trustee(s)

and the Opioid Creditor Trustees shall be determined in accordance with Articles IV.U.1 and

IV.X.2, respectively, of the Plan. Further, to the extent not disclosed in the Plan Supplement, the

identities and affiliations of the General Unsecured Claims Trustee and the Asbestos Trustee shall

be determined in accordance with Articles IV.HH.2 and IV.II.2, respectively, of the Plan. The

appointment of such individuals to such positions, or the process by which such individuals have

or will be identified or appointed, is consistent with the interests of Holders of Claims and public

policy. Accordingly, the Plan satisfies the requirements of section 1129(a)(5) of the Bankruptcy

Code.

        16.    Section 1129(a)(6) - Approval of Rate Changes.

        86.    Section 1129(a)(6) of the Bankruptcy Code is inapplicable to the Chapter 11 Cases.

The Plan proposes no rate change subject to the jurisdiction of any governmental regulatory

commission.

        17.    Section 1129(a)(7) - Best Interests of Holders of Claims and Interests.

        87.    The Plan satisfies the requirements of section 1129(a)(7) of the Bankruptcy Code.

The evidence in support of the Plan that was proffered or adduced before and at the Confirmation

Hearing, including the Eisenberg Declaration, the liquidation analysis attached to the Disclosure

Statement as Exhibit E, and the facts and circumstances of the Chapter 11 Cases: (a) is reasonable,

persuasive, credible, and accurate as of the dates such evidence was prepared, presented, or

proffered; (b) utilizes reasonable and appropriate methodologies and assumptions; (c) has not been

controverted by other evidence; and (d) establishes that Holders of Allowed Claims or Interests in

each Class will recover at least as much under the Plan on account of such Claim or Interest, as of

the Effective Date, as such Holder would receive if the Debtors were liquidated, on the Effective

Date, under chapter 7 of the Bankruptcy Code.

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        88.    The Plan provides for recoveries that are no less than, and in all cases greater than,

what creditors might receive in a hypothetical chapter 7 liquidation with specific regard to creditors

in classes 5 through 10. The testimony of the Debtors’ expert witnesses, specifically, Mr. Randall

S. Eisenberg (see generally the Eisenberg Declaration), evidenced that no creditor would receive

or retain an amount under the Plan on account of its Claim that is less than the amount that such

holder would receive or retain if the Debtors were liquidated under Chapter 7 of the Bankruptcy

Code.    Specifically, on an aggregate basis, Class 5 Guaranteed Unsecured Notes Claims’

recoveries under the Liquidation Analysis would be reduced to between fifteen percent (15%) and

fifty-eight percent (58%) as compared to the Plan mid-point recovery of seventy-two percent

(72%). See Eisenberg Declaration at ¶¶ 22-24. Furthermore, the Plan proposes providing the

General Unsecured Claims Trust Consideration to Class 6 General Unsecured Claims pursuant to

the Plan which is comprised of (a) Cash in the amount of $135,000,000 ($18,000,000 of which

will go directly from the Reorganized Debtors to the Asbestos Trust), paid on the Effective Date;

(b) the GUC Assigned Preference Claims; (c) the GUC Terlivaz CVR; (d) the GUC Assigned

Sucampo Avoidance Claims; (e) the GUC Share Repurchase Proceeds; (f) the GUC VTS PRV

Share; and (e) the GUC StrataGraft PRV Share, which is significantly more than the aggregate

recoveries estimated under the Liquidation Analysis for Class 6 General Unsecured Claims of

approximately $1 million to $6 million. Id. at ¶ 61. Distributions under the Plan are subject to

ensuring Class 6 General Unsecured Claims receive no less than they are entitled to under the

Debtors’ Liquidation Analysis. Id. Similarly, Class 7 Trade Claims will receive a cash distribution

of up to $50 million under the Plan which is significantly higher than the aggregate recoveries

under the Liquidation Analysis of $0.1 million to $1 million. Id. With respect to individual




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recoveries at every Debtor, each class of creditors will receive equal to or more under the Plan

than what they would receive in a Chapter 7 liquidation. Id. at ¶¶ 22-24.

       89.     Under the Plan, the Opioid MDT II Consideration and General Unsecured Claims

Trust Consideration will be distributed on account of contingent liability claims, including for

Opioid Claims and General Unsecured Claims. The evidence at the Confirmation Hearing

established that the value of certain Litigation Claims (as defined in the Liquidation Analysis),

Opioid Claims against the Debtors, and the value of other litigation claims against related third-

parties (e.g., the Debtors’ directors and officers) that any individual creditor would retain or

recover in a hypothetical chapter 7 liquidation is speculative and not capable of estimation, and in

any case, is less than what any individual creditor is entitled to under the Plan.

       90.     As provided in the Liquidation Analysis, the Debtors face various Litigation Claims

(as defined in the Liquidation Analysis) including the Opioid Claims and certain Acthar related

Claims. Various litigation related creditors have asserted Claims against the Debtors in amounts

totaling billions of dollars, and in some instances trillions of dollars, and such Claims are asserted

against several or all of the Debtors in many instances. The Litigation Claims (as defined in the

Liquidation Analysis) and Opioid Claims remain unliquidated, contingent, or disputed, and the

aggregate amounts of such Claims are unknown. The allowance of these unliquidated, contingent,

or disputed Claims could meaningfully reduce recoveries to other Holders of General Unsecured

Claims. As further provided in the Liquidation Analysis, under chapter 7, the Litigation Claims

(as defined in the Liquidation Analysis) and Opioid Claims, or any portion of such Claims, would

need to be resolved through litigation and a trustee would need to engage litigation counsel to

defend and liquidate those Claims. This differs significantly from the Plan, which (a) establishes

the Opioid MDT II and various Opioid Creditor Trusts to resolve and distribute recovery to the



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Opioid Claimants through the relevant trust distribution procedures from the Opioid MDT II

Consideration (which includes the Initial Opioid MDT II Payment, the New Opioid Warrants, the

Opioid Deferred Cash Payments, the Assigned Third-Party Claims, the Assigned Insurance Rights,

and the Opioid MDT II Share Repurchase Proceeds) provided by the Debtors, and (b) resolves

Litigation Claims (as defined in the Liquidation Analysis) through the distribution of recoveries

out of the General Unsecured Claims Trust Consideration.

       91.     Litigation in a chapter 7 liquidation is likely to be meaningfully more costly and

time-consuming than resolving all Opioid Claims through the Opioid MDT II and Litigation

Claims (as defined in the Liquidation Analysis) through the General Unsecured Claims Trust

Consideration that are established under the Plan. The outcome of such litigation is not certain

and could result in significant costs that would further dilute recoveries in a chapter 7 liquidation.

All such litigation expenses would be paid in full ahead of any recovery to general unsecured

creditors in a chapter 7 liquidation. An overwhelming majority of the voting creditors, including

forty-nine (49) U.S. States and territories, and substantially all of the classes of Opioid Claimants

voted to accept the Plan. The Plan provides for the release of such creditors’ potential third party

claims against the Released Parties and Protected Parties (as applicable). This level of support

further indicates their belief that recoveries under the Plan are not less than the recoveries they

would obtain in hypothetical chapter 7 liquidation, including recoveries on account of such third-

party claims. The Plan therefore complies with section 1129(a)(7) of the Bankruptcy Code.

       18.     Section 1129(a)(8) - Acceptance of Plan by Impaired Classes.

       92.     Classes 1 and 2(a) (and 11-12 to the extent Unimpaired under the Plan) are each

Classes of Unimpaired Claims or Interests that are conclusively presumed to have accepted the

Plan under section 1126(f) of the Bankruptcy Code. As set forth in the Final Voting Report, the

Accepting Voting Classes have voted to accept the Plan in accordance with section 1126(c) of the

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Bankruptcy Code. The Deemed Rejecting Classes are deemed to have rejected the Plan pursuant

to section 1126(g) of the Bankruptcy Code. The Rejecting Voting Classes have voted to reject the

Plan. Although section 1129(a)(8) of the Bankruptcy Code is not satisfied with respect to the

Deemed Rejecting Classes and the Rejecting Voting Classes, the Plan may nevertheless be

confirmed because the Plan satisfies section 1129(b) of the Bankruptcy Code with respect to each

such Class.

        19.    Section 1129(a)(9) - Treatment of Claims Entitled to Priority Pursuant to
               Section 507(a) of the Bankruptcy Code.

        93.    Article II of the Plan provides for treatment of Administrative Claims, Priority Tax

Claims, and Other Priority Claims, subject to certain bar date provisions consistent with

Bankruptcy Rules 3002 and 3003, in the manner required by section 1129(a)(9) of the Bankruptcy

Code.

        20.    Section 1129(a)(10) - Acceptance by at Least One Impaired Non-Insider Class.

        94.    As indicated in the Final Voting Report and as reflected in the record of the

Confirmation Hearing, at least one Class of Claims or Interests that is Impaired under the Plan has

voted to accept the Plan, disregarding any votes by insiders. Each of Classes 2(b)-(c) (to the extent

Impaired under the Plan), Classes 4-9(g), and Class 10 are Impaired and have voted to accept the

Plan, determined without including any acceptance of the Plan by an insider. The Plan therefore

complies with section 1129(a)(10) of the Bankruptcy Code.

        21.    Section 1129(a)(11) - Feasibility of the Plan.

        95.    The Plan satisfies section 1129(a)(11) of the Bankruptcy Code. The evidence in

support of the Plan that was proffered or adduced before and at the Confirmation Hearing,

including the Eisenberg Declaration, and the financial projections attached to the Disclosure

Statement as Exhibit D: (a) is reasonable, persuasive, credible, and accurate as of the dates such


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evidence was prepared, presented, or proffered; (b) utilizes reasonable and appropriate

methodologies and assumptions; (c) has not been controverted by other evidence; (d) establishes

that the Plan is feasible and Confirmation of the Plan is not likely to be followed by the liquidation

or the need for further financial reorganization of the Reorganized Debtors or any successor to the

Reorganized Debtors under the Plan; and (e) together with the Court’s Opinion and Final Order

[Docket No. 5886] denying the Motion Of Attestor Limited And Humana Inc. For Entry Of An

Order Allowing And Compelling Payment Of Administrative Claims Pursuant To Section 503(B)

Of The Bankruptcy Code [Docket No. 2159] and sustaining the Debtors’ Objection to Certain

Acthar-Related Administrative Claims [Docket No. 3529], establishes that the Reorganized

Debtors will have sufficient funds available to meet their obligations under the Plan.

       22.     Section 1129(a)(12) - Payment of Bankruptcy Fees.

       96.     The Plan satisfies the requirements of section 1129(a)(12) of the Bankruptcy Code.

Articles II.D and XI.C of the Plan provides for the payment of all fees due and payable pursuant

to 28 U.S.C. § 1930 by the Debtors or the Reorganized Debtors, as applicable.

       23.     Section 1129(a)(13) - Retiree Benefits.

       97.     The Plan satisfies the requirements of section 1129(a)(13) of the Bankruptcy Code.

Section 1129(a)(13) of the Bankruptcy Code requires a plan to provide for retiree benefits (as

defined in section 1114 of the Bankruptcy Code) at levels established pursuant to section 1114 of

the Bankruptcy Code. Article V.H of the Plan provides that the Reorganized Debtors shall honor

all of the Debtors’ Compensation and Benefits Programs (other than awards of stock options,

restricted stock, restricted stock units, and other equity awards), including, without limitation, all

retiree benefits programs. Accordingly, the Plan satisfies the requirements of section 1129(a)(13)

of the Bankruptcy Code; provided, however, that nothing in this Confirmation Order will be

construed to restrict or enlarge the Reorganized Debtors’ rights to modify any such retiree benefits

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(including health and welfare benefits) under applicable non-bankruptcy law; and provided,

further, however, that nothing in the Plan or this Confirmation Order approves or authorizes the

Debtors to make any payments or otherwise satisfy any Claims in violation of section 503(c) of

the Bankruptcy Code.

       24.     Sections 1129(a)(14), (a)(15), and (a)(16) of the Bankruptcy Code are
               Inapplicable.

       98.     The Debtors are not (i) required to pay any domestic support obligations,

(ii) individuals, or (iii) nonprofit corporations or trusts. Accordingly, sections 1129(a)(14) through

(16) of the Bankruptcy Code are not applicable.

       25.     Section 1129(b) - Confirmation of the Plan Over the Non-Acceptance of
               Impaired Classes.

       99.     Pursuant to section 1129(b)(1) of the Bankruptcy Code, the Plan may be confirmed

despite the fact that the Deemed Rejecting Classes and the Rejecting Voting Classes have not

accepted the Plan because the Plan meets the “cramdown” requirements for confirmation under

section 1129(b) of the Bankruptcy Code. Other than the requirement in section 1129(a)(8) of the

Bankruptcy Code with respect to the Deemed Rejecting Classes and the Rejecting Voting Classes,

all of the requirements of section 1129(a) of the Bankruptcy Code have been met. The Plan does

not discriminate unfairly and is fair and equitable with respect to the Deemed Rejecting Classes

and the Rejecting Voting Classes; provided, however, with respect to Class 9(h), nothing in this

paragraph or in any other provision of this Confirmation Order shall alter or modify the rights,

protections, and treatment set forth in the Plan for Holders of Allowed Claims in such Class,

including as described in the definition of “Other Opioid Claimant Pro Rata Share” in the Plan.

No Class of Claims and Interests junior to any of the Deemed Rejecting Classes or the Rejecting

Voting Classes will receive or retain any property on account of their Claims and Interests, and no

Class of Claims or Interests senior to the Deemed Rejecting Classes or the Rejecting Voting

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Classes is receiving more than full payment on account of the Claims and Interests in such Class.

The Plan therefore is fair and equitable, does not discriminate unfairly with respect to any of these

Classes, and complies with section 1129(b) of the Bankruptcy Code.

       26.     Section 1129(c) - Only One Plan.

       100.    The Plan satisfies the requirements of section 1129(c) of the Bankruptcy Code. The

Plan (including previous versions thereof) is the only chapter 11 plan filed in the Chapter 11 Cases.

       27.     Section 1129(d) - Purpose of Plan.

       101.    The primary purpose of the Plan is not avoidance of taxes or avoidance of the

requirements of section 5 of the Securities Act of 1933, 15 U.S.C. § 77e, and there has been no

objection filed by any governmental unit asserting such avoidance. The Plan therefore complies

with section 1129(d) of the Bankruptcy Code.

       28.     Satisfaction of Confirmation Requirements.

       102.    As set forth above, the Plan complies in all respects with the applicable

requirements of section 1129 of the Bankruptcy Code.

       Q.      GOOD FAITH PARTICIPATION

       103.    Based upon the record before the Bankruptcy Court, the Debtors, the Supporting

Parties, the Future Claimants’ Representative, the Official Committee of Unsecured Creditors, the

Official Committee of Opioid-Related Claimants, the Ad Hoc Second Lien Notes Group, the Ad

Hoc Group of Hospitals, the Ad Hoc Group of Personal Injury Victims, the Emergency Room

Physicians Group, the NAS Committee, the Public School Mediation Participants, the Third-Party

Payor Group, and each of their respective members, officers, directors, shareholders, employees,

representatives, advisors, attorneys, financial advisors, investment bankers and agents have acted

in good faith within the meaning of section 1125(e) of the Bankruptcy Code in compliance with

the provisions of the Bankruptcy Code and Bankruptcy Rules in connection with all their

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respective activities relating to the Chapter 11 Cases, and the negotiation and pursuit of

confirmation of the Plan. Therefore, they are entitled to the protections afforded by section 1125(e)

of the Bankruptcy Code and by the releases and the exculpatory and injunctive provisions set forth

in Article IX of the Plan.

         R.        AGREEMENTS AND OTHER DOCUMENTS

         104.      The Debtors have disclosed all material facts, to the extent applicable, regarding:

(a) the adoption of the New Governance Documents or similar organizational documents; (b) the

identity of the members of the Reorganized Board (to the extent known)14 and the initial Opioid

MDT II Trustees; (c) the method and manner of distributions under the Plan, including the Opioid

Deferred Cash Payments and the Opioid Deferred Cash Payments Terms; (d) the issuance of New

Mallinckrodt Ordinary Shares and New Opioid Warrants; (e) the execution of and entry into the

New Opioid Warrant Agreement, the Registration Rights Agreement, and the Exit Financing

Documents; (f) the execution and entry into the Opioid MDT II Documents, the Opioid Creditor

Trust Documents (as applicable), the General Unsecured Claims Trust Documents, and the

Asbestos Trust Documents; (g) the adoption, execution, and implementation of the other matters

provided for under the Plan, including those involving corporate or limited liability company (as

applicable) action to be taken by or required of the Debtors or the Reorganized Debtors, as

applicable, and including all actions contemplated by the Restructuring Transactions

Memorandum; (h) the OCC Settlement, the UCC Settlement, and the Second Lien Notes

Settlement; (i) securities registration exemptions; (j) the exemption under section 1146(a) of the




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     Pursuant to the terms of the Plan and the Sixth Plan Supplement [Docket No. 5716] filed on December 7, 2021,
     the Debtors will file additional plan supplement(s) disclosing the identity of additional directors proposed to serve
     as members of the Reorganized Board as of the Effective Date.


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Bankruptcy Code; (k) the New Credit Facilities, New Takeback Term Loans, Takeback Second

Lien Notes, and New Second Lien Notes; (l) the Management Incentive Plan; (m) the Opioid MDT

II, the Opioid Creditor Trusts, the General Unsecured Claims Trust, and the Asbestos Trust; (n)

the implementation of the Opioid Operating Injunction; and (o) adoption, execution, and delivery

of all contracts, leases, instruments, securities, releases, indentures, and other agreements related

to any of the foregoing.

       S.      REJECTIONS OF EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES

       105.    Each rejection of an Executory Contract or Unexpired Lease pursuant to Article V

of the Plan shall be legal, valid, and binding upon the applicable Debtor and all non-Debtor parties

to such Executory Contract or Unexpired Lease, all to the same extent as if such rejection had been

effectuated pursuant to an appropriate authorizing order of the Bankruptcy Court entered prior to

the Confirmation Date under section 365 of the Bankruptcy Code.

       T.      EXIT FINANCING DOCUMENTS

       106.    The Exit Financing Documents, the New Credit Facilities, New Takeback Term

Loans, the Takeback Second Lien Notes, and the New Second Lien Notes to which they relate,

are, individually and collectively, essential elements of the Plan, and entry into the Exit Financing

Documents is in the best interests of the Debtors, their Estates, and the Holders of Claims and

Equity Interests. The New Credit Facilities, New Takeback Term Loans, the Takeback Second

Lien Notes, and the New Second Lien Notes are necessary and appropriate for confirmation and

consummation of the Plan and the operations of the Reorganized Debtors and are key to the

feasibility of the Plan. The New Credit Facilities, New Takeback Term Loans, the Takeback

Second Lien Notes, and the New Second Lien Notes are the best financing alternative available to

the Debtors, and the Debtors have exercised sound business judgment in determining to enter into


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the Exit Financing Documents and have provided adequate notice thereof. The terms of the Exit

Financing Documents set forth in the Plan Supplement are fair and reasonable and have been

negotiated in good faith and at arm’s length among the Debtors and the applicable agents, lenders,

and/or arrangers, without the intent to hinder, delay, or defraud any creditor of the Debtors, and

any credit extended and loans made or deemed made to the Reorganized Debtors by the

aforementioned applicable agents, lenders, and/or arrangers, pursuant to the Exit Financing

Documents, and the creation and perfection of the liens in connection therewith, and any fees paid

thereunder, are deemed to have been extended, issued, made or deemed made, created and

perfected in good faith and for legitimate business purposes. The Reorganized Debtors’ entry into,

and the terms of, the Exit Financing Documents and the payment of fees and expenses in

connection therewith are fair and reasonable, reflect the Debtors’ and Reorganized Debtors’

exercise of prudent business judgment consistent with their fiduciary duties and are supported by

reasonably equivalent value and fair consideration. The terms and conditions of the New Credit

Facilities, New Takeback Term Loans, the Takeback Second Lien Notes, the New Second Lien

Notes, and any other Exit Financing Documents are fair and reasonable and are approved. For the

avoidance of doubt, certain Exit Financing Documents and other Plan Supplement documents,

including the terms of the Exit Financing Documents (including those attached as part of the Plan

Supplement) and the Opioid Deferred Cash Payments Terms and any related documents (including

those attached as part of the Plan Supplement), remain subject to ongoing negotiation between the

parties thereto and the terms of the Plan and, as applicable, the Restructuring Support Agreement.

       U.      OPIOID DEFERRED CASH PAYMENTS

       107.    The Opioid Deferred Cash Payments and the Opioid Deferred Cash Payments

Terms and the additional documentation relating thereto (the “Opioid Deferred Cash Payments

Documents”) (which shall be deemed an attachment to, and an integral part of, this Confirmation

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Order) are essential elements of the Plan and are in the best interests of the Debtors, their Estates,

and the Holders of Claims and Equity Interests. The Opioid Deferred Cash Payments, the Opioid

Deferred Cash Payments Terms, and the Opioid Deferred Cash Payments Documents are

necessary and appropriate for confirmation and consummation of the Plan and the operations of

the Reorganized Debtors and are key to the feasibility of the Plan. The Debtors have exercised

sound business judgment in agreeing to make the Opioid Deferred Cash Payments in accordance

with the Plan, the Opioid Deferred Cash Payments Terms, and the Opioid Deferred Cash Payments

Documents, and have provided adequate notice thereof. The Opioid Deferred Cash Payments, the

Opioid Deferred Cash Payments Terms, and the Opioid Deferred Cash Payments Documents are

fair and reasonable, and have been negotiated in good faith and at arm’s length among the relevant

parties without the intent to hinder, delay, or defraud any creditor of the Debtors. The Reorganized

Debtors’ obligation to make the Opioid Deferred Cash Payments in accordance with the Plan, the

Opioid Deferred Cash Payments Terms, and the Opioid Deferred Cash Payments Documents is

fair and reasonable, reflect the Debtors’ and Reorganized Debtors’ exercise of prudent business

judgment consistent with their fiduciary duties and are supported by reasonably equivalent value

and fair consideration. The Opioid Deferred Cash Payments Terms and the Opioid Deferred Cash

Payments Documents are fair and reasonable and are approved and are enforceable as an integral

part of this Confirmation Order.

       V.      THE UCC SETTLEMENT

       108.    Entry into the UCC Settlement is in the best interests of the Debtors, their Estates,

and the Holders of Claims and Equity Interests and is necessary and appropriate for consummation

of the Plan. The Debtors have exercised sound business judgment in determining to enter into the

UCC Settlement and have provided adequate notice thereof. The UCC Settlement has been

negotiated in good faith and at arm’s length and is deemed to have been made in good faith and

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for legitimate business purposes. The terms and conditions of the UCC Settlement set forth in that

certain Mallinckrodt GUC Settlement Term Sheet, filed at [Docket No. 4121-1] and further

described in the Plan, including the UCC Appendix, are fair and reasonable and are approved.

       W.      THE OCC SETTLEMENT

       109.    Entry into the OCC Settlement is in the best interests of the Debtors, their Estates,

and the Holders of Claims and Equity Interests and is necessary and appropriate for consummation

of the Plan. The Debtors have exercised sound business judgment in determining to enter into the

OCC Settlement and have provided adequate notice thereof. The OCC Settlement has been

negotiated in good faith and at arm’s length and is deemed to have been made in good faith and

for legitimate business purposes. The terms and conditions of the OCC Settlement set forth in that

certain Global Opioid Settlement Term Sheet, filed at [Docket No. 4121-2] and further described

in the Plan are fair and reasonable and are approved.

       X.      THE SECOND LIEN NOTES SETTLEMENT

       110.    Entry into the Second Lien Notes Settlement is in the best interests of the Debtors,

their Estates, and the Holders of Claims and Equity Interests and is necessary and appropriate for

consummation of the Plan. The Debtors have exercised sound business judgment in determining

to enter into the Second Lien Notes Settlement and have provided adequate notice thereof. The

Second Lien Notes Settlement has been negotiated in good faith and at arm’s length and is deemed

to have been made in good faith and for legitimate business purposes. The terms and conditions of

the Second Lien Notes Settlement set forth in that certain Settlement Second Lien Notes Summary

Terms, filed at [Docket No. 4121-3] and further described in the Plan are fair and reasonable and

are approved. For the avoidance of doubt, on the Effective Date, each Holder of Allowed Second

Lien Notes Claims shall receive, in addition to New Second Lien Notes, its Pro Rata Share of

accrued and unpaid interest on the Second Lien Notes to, but excluding, the Effective Date.

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       111.    The Second Lien Notes Indenture Trustee diligently and in good faith discharged

its duties and obligations pursuant to the Second Lien Notes Indenture and otherwise conducted

itself with respect to all matters in any way related to the Second Lien Notes Claims, with the same

degree of care and skill that a prudent person would exercise or use under the circumstances in the

conduct of his or her own affairs. Holders of Second Lien Notes Claims have not received

disparate treatment under the Plan and the treatment is consistent with the terms and conditions

under the Second Lien Notes Indenture. Accordingly, the Second Lien Notes Indenture Trustee

has discharged its duties fully and in accordance with the Second Lien Notes Indenture.

       Y.      NEW OPIOID WARRANT AGREEMENT

       112.    The New Opioid Warrant Agreement and the New Opioid Warrants are essential

elements of the Plan, the Restructuring Support Agreement, the Opioid Settlement (as defined in

the Restructuring Support Agreement), and the OCC Settlement, and entry into the New Opioid

Warrant Agreement is in the best interests of the Debtors and their Estates and necessary and

appropriate for consummation of the Plan and the operations of the Reorganized Debtors. The

Debtors have exercised sound business judgment in determining to enter into the New Opioid

Warrant Agreement and have provided adequate notice thereof. The New Opioid Warrant

Agreement has been negotiated in good faith and at arm’s length and is deemed to have been made

in good faith and for legitimate business purposes. The terms and conditions of the New Opioid

Warrant Agreement are fair and reasonable and are approved.

       Z.      REGISTRATION RIGHTS AGREEMENT

       113.    The Registration Rights Agreement is an essential element of the Plan, and entry

into the Registration Rights Agreement is in the best interests of the Debtors and their Estates and

necessary and appropriate for consummation of the Plan and the operations of the Reorganized

Debtors. The Debtors have exercised sound business judgment in determining to enter into the

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Registration Rights Agreement and have provided adequate notice thereof. The material terms of

the Registration Rights Agreement have been negotiated in good faith and at arm’s length and are

deemed to have been made in good faith and for legitimate business purposes. The terms and

conditions of the Registration Rights Agreement set forth in the Plan Supplement are fair and

reasonable and are approved.

       AA.     LIKELIHOOD OF SATISFACTION OF CONDITIONS PRECEDENT TO
               EFFECTIVE DATE

       114.    Without limiting or modifying the respective rights of the Debtors, the Supporting

Parties, the Official Committee of Opioid-Related Claimants, the Official Committee of Unsecured

Creditors, the Ad Hoc Second Lien Notes Group, and the Future Claimants’ Representative under

Article VIII.B of the Plan, the Debtors believe that each of the conditions precedent to the Effective

Date, as set forth in Article VIII.A of the Plan, has been or is reasonably likely to be satisfied or

waived in accordance with Article VIII.B of the Plan.

       BB.     VALUATION

       115.    The valuation analysis pertaining to the Reorganized Debtors set forth in the

Disclosure Statement at Exhibit F (as supplemented by the additional analysis relating thereto set

forth in the Mehta Declaration in response to certain specified updates made by the Debtors to the

Reorganized Debtors’ forecast through 2025 and testimony on November 1, 2021) was prepared

in accordance with commonly used valuation principles and practices and is a fair and reasonable

estimate of the total enterprise value and implied estimated equity value of the Reorganized

Debtors on a post-emergence consolidated going concern basis for the purpose of providing

adequate information to Holders of Claims against or Interests in the Debtors to make an informed

judgment about the Plan, including for the purpose of estimating the recovery ranges of potential

distributions under the Plan.


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       CC.     IMPLEMENTATION AND BINDING EFFECT

       116.    All documents and agreements necessary or appropriate to implement the Plan,

including those contained in the Plan Supplement, and all other relevant and necessary documents

(including, without limitation, the New Governance Documents, the New Opioid Warrant

Agreement, the Registration Rights Agreement, the Exit Financing Documents, the Opioid

Deferred Cash Payments, the Opioid Deferred Cash Payments Terms, the Opioid Deferred Cash

Payments Documents and the Federal/State Acthar Settlement Agreements) have been negotiated

in good faith and at arm’s length, are in the best interests of the Debtors, and shall, upon completion

of documentation and execution (subject to the terms of the Plan, as applicable), be valid, binding,

and enforceable documents and agreements not in conflict with any federal, state, or local law.

The Debtors have exercised reasonable business judgment in determining which agreements to

enter into and have provided sufficient and adequate notice of such documents and agreements.

The terms and conditions of such documents and agreements (in each case, subject to the terms of

the Plan, as applicable) have been and are continuing to be negotiated in good faith, at arm’s length,

are fair and reasonable, and are approved. The Debtors and Reorganized Debtors, as applicable,

are authorized, without any further notice to or action, order, or approval of this Court, to (a)

finalize and execute and deliver all agreements, documents, instruments, and certificates relating

thereto and perform their obligations thereunder in accordance with the Plan, (b) incur the

indebtedness and other obligations and provide the guarantees, in each case, contemplated by the

Exit Financing Documents, the Opioid Deferred Cash Payments, the Opioid Deferred Cash

Payments Terms, and the Opioid Deferred Cash Payments Documents, and (c) grant the liens

securing the obligations incurred under the Exit Financing Documents.

       117.    Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and

subject to the occurrence of the Effective Date, on and after the entry of this Confirmation Order,

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the provisions of the Plan, the Plan Supplement, and this Confirmation Order shall bind the

Debtors, the other Protected Parties, all Released Parties, all Holders of Claims against or Interests

in any Debtors, all parties to executory contracts and unexpired leases with any of the Debtors,

and all other parties in interest in the Chapter 11 Cases, including the Debtors’ Insurers, and each

of their respective heirs, executors, administrators, estates, successors and assigns.

       DD.     ADDITIONAL OPIOID NOTICE PLAN

       118.    The Additional Opioid Notice Plan was necessary and appropriate given there was

no claims bar date in the Chapter 11 Cases for Holders of Opioid Claims. The uncontroverted

testimony set forth in the Finegan Declarations confirms that the Additional Opioid Notice Plan

approved by this Court was incredibly extensive in its reach, having reached an estimated 91% of

all adults 18 years of age and older in the United States with an average frequency of message

exposure of six times, and an estimated 82% of all adults 18 years of age and older in Canada, with

an average frequency of message exposure of six times, and was conducted in four languages

through (a) direct mailings to certain individuals and entities, (b) network broadcast, cable, and

streaming television, (c) terrestrial and streaming radio, (d) print media (e.g., magazines and

newspapers), (e) online display (e.g., banner advertising on websites), (f) internet search terms

(e.g., Google), (g) digital video and social media campaigns (e.g., Facebook, Instagram, Twitter,

YouTube, and TikTok), (h) earned media (e.g., press releases), and (i) territorial and tribal media.

       119.    In the U.S. and the U.S. Territories, print media served approximately 4 million

impressions, television and radio advertisements served over 218 million impressions, and the

digital campaign served over 943 million impressions.             In Canada, print media served

approximately 15 million impressions, and the digital campaign served over 309 million

impressions. In aggregate, the Additional Opioid Notice Plan collectively served over 1.1 billion

impressions in the U.S. and the U.S. Territories and 324 million impressions in Canada. The

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Debtors’ designated opioid claimant website, www.MNKVote.com, received more than 310,900

website visitors with 368,100 page views and provided potential Opioid Claimants with a

customized online Ballot to cast a vote on the Plan.

       120.    Additionally, and as part of the Additional Opioid Notice Plan, and in accordance

with the Disclosure Statement Order, on September 30, 2021, certain notice materials and

explanatory letters prepared by the Debtors and the Official Committee of Opioid-Related

Claimants were mailed to approximately 31,495 pro se opioid creditors with opioid-related claims

in the Purdue Pharma L.P. chapter 11 cases [see Docket No. 4587].

       121.    As a result, this Court determines that the Additional Opioid Notice Plan was

reasonable and appropriate, and provided due, proper, adequate, timely, and sufficient notice of,

among other things, the Chapter 11 Cases, the Plan, the Voting Deadline, the Opioid Voting

Deadline, the Confirmation Hearing, the procedures to cast a vote on the Plan, the releases, the

exculpatory provisions, and the injunctions set forth in Article IX of the Plan, including the Opioid

Permanent Channeling Injunction, in satisfaction of the requirements of Bankruptcy Rule 3016(c),

to both known and unknown Holders of Opioid Claims, and that such parties have had an

opportunity to appear and be heard with respect thereto, and such that both known and unknown

Holders of Opioid Claims are bound by the terms of the Plan. The Court also finds that notice was

reasonably calculated, under all the circumstances, to apprise Opioid Claimants of the Chapter 11

Cases and the Confirmation Hearing, and afford them an opportunity to present their objections to

the Plan as set forth in Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950).

       EE.     THE OPIOID PERMANENT CHANNELING INJUNCTION AND THE
               FUTURE CLAIMANTS’ REPRESENTATIVE

       122.    As of the Petition Date, there were a substantial amount of personal opioid related

lawsuits pending against the Debtors throughout the country. Equitable treatment of Holders of


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Opioid Claims and Opioid Demands depends on all such claimants being subject to the same rules

and procedures as provided under the terms of the Opioid MDT II Documents and Opioid Creditor

Trusts Documents. Without the Opioid MDT II and the Opioid Creditor Trusts as provided by the

Plan, Holders of Opioid Claims would be forced to litigate their Claims in the tort system as they

arise and the relief available would likely be inconsistent. That would devolve into a race to the

courthouse, with the result that the Debtors’ limited resources would be consumed by those

claimants who are first to file suit. In such case, Holders of earlier asserted Opioid Claims might

be paid in full, while Holders of later Opioid Claims may be paid less or go unsatisfied altogether.

       123.    The terms of the Opioid Permanent Channeling Injunction, including any

provisions barring actions against the Debtors (including the Protected Parties), are set out in

conspicuous language in the Disclosure Statement and Article IX.H of the Plan. The Classes of

Holders of Opioid Claims are to be addressed by the Opioid MDT II and/or the Opioid Creditor

Trusts, as applicable. As stated in the Final Voting Report, of the Holders of Opioid Claims in

Classes 8(a)-(d) that voted, well over 95 percent voted to accept the Plan. Similarly, of the Holders

of Opioid Claims in Classes 9(a)-(h) that voted, well over 95 percent voted to accept the Plan.

       124.    As set forth in Article IX.H of the Plan, the sole recourse of any Opioid Claimant

on account of its Opioid Claims (including Opioid Demands) based upon or arising from the

Debtors’ pre-Effective Date conduct or activities shall be to the Opioid MDT II or the Opioid

Creditor Trusts, as applicable, pursuant to Article IX.H of the Plan and the Opioid MDT II

Documents or the Opioid Creditor Trust Documents, as applicable. The Opioid MDT II and the

Opioid Creditor Trusts, as applicable, will have the sole and exclusive authority as of the Effective

Date to satisfy or defend against all Opioid Claims, in accordance with the Opioid MDT II

Documents or the Opioid Creditor Trust Documents, as applicable.



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       125.    The Interests of Future Opioid PI Claimants have been represented by the Future

Claimants’ Representative. The Future Claimants’ Representative, Mr. Roger Frankel, was

engaged by the Debtors prior to the commencement of the Chapter 11 Cases, and appointed by the

Court following the commencement of the Chapter 11 Cases, for the purpose of, among other

things, protecting the rights of Future Opioid PI Claimants. Mr. Frankel has extensive experience

with mass-tort bankruptcies. The Future Claimants’ Representative adequately protected the rights

of Future Opioid PI Claimants. The PI Trust will operate through mechanisms that provide

reasonable assurance that the PI Trust will value, and be in a financial position to pay, present PI

Opioid Claims and similar PI Opioid Demands in substantially the same manner. The PI Trust

Documents, and the mechanisms, criteria and procedures therein for operating the PI Trust and

addressing PI/NAS Opioid Claims, are fair and equitable with respect to PI Opioid Claimants in

light of the benefits to be provided to the PI Opioid Trust on behalf of the Debtors and the other

Protected Parties.

       126.    Further, the Future Claimants’ Representative fulfilled his responsibilities and

fiduciary duties to his respective constituency pursuant to the applicable appointment order.

       127.    To the extent a Person attempts to bring a Future Opioid PI Claim against the

Debtors, the other Released Parties, and/or the other Protected Parties, such Future Opioid PI

Claims shall be channeled to the PI Trust pursuant to Article IX.H of the Plan and in accordance

with the applicable PI Trust Documents.

       FF.     OPIOID ATTORNEYS’ FEES AND COSTS

       128.    The opioid attorney fees and costs provisions set forth in Article IV.X.8-9 of the

Plan are fair, appropriate, and constitute an integral part of the resolution of the Chapter 11 Cases

and the Opioid Settlement (as defined in the Restructuring Support Agreement). Such provisions

embody negotiated settlements as described in the Mediator’s Report filed by Kenneth R. Feinberg

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on October 22, 2021. The Mediator’s Report is persuasive and credible. Such attorney fees and

cost provisions set forth in Article IV.X.8-9 of the Plan (i) were the product of good-faith, hard

fought arm’s-length discussions and mediations that spanned many months; (ii) with respect to the

contingency fee resolutions with respect to the payment of the (a) Municipal and Tribe Opioid

Attorneys’ Fee Fund, (b) State Opioid Attorneys’ Fee Fund, (c) Hospital Attorney Fee Fund, (d)

NAS Monitoring Attorney Fee Fund, (e) Ratepayer Attorney Fee Fund, (f) Emergency Room

Physicians Attorney Fee Fund, (g) payment of attorneys’ fees for the Ad Hoc Group of Personal

Injury Victims and the NAS Committee Ratepayer Costs and Expenses, as well as the funding of

the Common Benefit Fund Escrow (items (a)-(g) and the Common Benefit Escrow shall be

referred to as the “Public/Private Fee and Expense Settlement”) are consistent with fee awards,

arrangements, and assessments agreed upon in other similar mass tort cases; (iii) are consistent

with fee awards, arrangements, and assessments in similar mass tort situations; (iv) with respect

to such percentages agreed upon in Article IV.X.8-9 of the Plan are well within the range of

reasonableness; (v) with respect to the Common Benefit Fund assessments were the reasonable

result of the work of the public creditor contingency fee counsel that has benefited all other opioid

claimant constituents; and (vi) as evidenced by the Public/Private Fee and Expense Settlement are

necessary and integral to the Plan and the success of the Chapter 11 Cases, are in the best interests

of the Debtors, their Estates, and the Holders of Claims and Interests, are fair, equitable, and

reasonable and meet the standard for approval under Bankruptcy Rule 9019 and applicable law for

the foregoing reasons as they (w) will avoid costly, protracted litigation over Confirmation of the

Plan; (x) are far above the lowest range of reasonableness; (y) were heavily negotiated and

extensively disclosed in the Disclosure Statement; and (z) were approved overwhelmingly by

opioid claimants voting on the Plan.



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       GG.     ADDITIONAL FINDINGS REGARDING CHAPTER 11 CASES AND
               PLAN

       129.    The Released Parties, individually and collectively, made significant contributions,

or had significant contributions made on their behalf, to the Chapter 11 Cases, including

negotiating and entering into the Restructuring Support Agreement and the Opioid Settlement (as

defined in the Restructuring Support Agreement), the Debtors’ providing funding for the Chapter

11 Cases, the Debtors’ and Reorganized Debtors’ funding the Opioid MDT II Consideration,

facilitating the creation of the Opioid MDT II, the Opioid Creditor Trusts, and the General

Unsecured Claims Trust, permitting use of their collateral during these Chapter 11 Cases, entering

into the OCC Settlement, UCC Settlement, and Second Lien Notes Settlement, and funding each

of the settlements, as applicable, and otherwise actively supporting the Debtors’ reorganization.

Nothing set forth in this paragraph 129 is to be construed as a finding that the Third-Party Release

in Article IX.C of the Plan meets the tests for non-consensual third-party releases in the Third

Circuit, an issue not considered or ruled on by the Court.

       130.    Non-Precedential Effect for Holders of Opioid Claims. The Plan, the Plan

Supplement, and this Confirmation Order shall constitute a good faith full and final comprehensive

compromise and settlement of Opioid Claims and controversies based upon the unique

circumstances of these Chapter 11 Cases (such as the unique facts and circumstances relating to

these Debtors as compared to other defendants in the general opioid litigations, and the need for

an accelerated resolution without litigation) such that (a) none of the foregoing documents, nor

any materials used in furtherance of Confirmation (including, but not limited to, the Disclosure

Statement, and any notes related to, and drafts of, such documents and materials), may be offered

into evidence, deemed an admission, used as precedent, or used by any party or Person in any

context whatsoever beyond the purposes of the Plan, in any other litigation or proceeding except


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as necessary, and as admissible in such context, to enforce their terms and to evidence the terms

of the Plan before the Bankruptcy Court or any other court of competent jurisdiction, and (b) any

obligation by any party, in furtherance of such compromise and settlement, to not exercise rights

that might be otherwise applicable to such party shall be understood to be an obligation solely in

connection with this specific compromise and settlement and to be inapplicable in the absence of

such compromise and settlement. The Plan, the Plan Supplement, and this Confirmation Order

shall be binding as to the matters and issues described therein, but will not be binding with respect

to similar matters or issues that might arise in any other litigation or proceeding involving Opioid

Claims in which none of the Debtors, the Reorganized Debtors, the Opioid MDT II, or the Opioid

Creditor Trusts is a party; provided that such litigation or proceeding is not to enforce or evidence

the terms of the Plan, the Plan Supplement, or this Confirmation Order. Any Opioid Claimants’

support of, or position or action taken in connection with, the Plan, the Plan Supplement, and this

Confirmation Order may differ from his position or testimony in any other litigation or proceeding

except in connection with these Chapter 11 Cases. Further, the treatment of Opioid Claims as set

forth in the Plan is not intended to serve as an example for, or represent the parties’ respective

positions or views concerning any other chapter 11 cases relating to opioid products, nor shall it

be used as precedent by any Entity or party in any other chapter 11 cases related to opioid products.

       II.     ORDER

     BASED ON THE FOREGOING FINDINGS OF FACT AND CONCLUSIONS OF
LAW, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

       A.      FINDINGS OF FACT AND CONCLUSIONS OF LAW

       131.    The above-referenced findings of fact and conclusions of law are hereby

incorporated by reference as though fully set forth herein and constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052, made applicable herein by Bankruptcy Rule


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9014. To the extent that any finding of fact is determined to be a conclusion of law, it is deemed

so, and vice versa.

       B.      CONFIRMATION OF THE PLAN

       132.    The Plan, a copy of which is attached hereto as Exhibit A, along with each of its

provisions (whether or not specifically approved herein) and all operative exhibits and schedules

thereto, is confirmed, as modified by this Confirmation Order, in each and every respect pursuant

to section 1129 of the Bankruptcy Code. All documents included in the Plan Supplement are

integral to, part of, and incorporated by reference into the Plan. Subject to the terms of the Plan,

the Debtors reserve the right, in accordance with the terms of the Restructuring Support Agreement

and subject to any applicable consent rights set forth in the Plan, to alter, amend, update, or modify

the Plan Supplement before the Effective Date in accordance with section 1127(b) of the

Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in the Plan in

such manner as may be necessary or appropriate to carry out the purpose and intent of the Plan.

The terms of the Plan, the Plan Supplement, and the exhibits and schedules thereto are incorporated

by reference into this Confirmation Order, and the provisions of the Plan and this Confirmation

Order are non-severable and mutually dependent. Notwithstanding the foregoing, unless otherwise

provided in this Confirmation Order, if there is any direct conflict between the terms of the Plan

and the terms of this Confirmation Order, the terms of this Confirmation Order shall control.

       133.    The failure specifically to identify or refer to any particular provision of the Plan or

any other agreement in this Confirmation Order shall not diminish or impair the effectiveness of

such provision, it being the intent of the Bankruptcy Court that the Plan and all other agreements

approved by this Confirmation Order are approved in their entirety.




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       C.      OBJECTIONS

       134.    All parties have had a fair opportunity to litigate all issues raised by objections, or

which might have been raised, and the objections have been fully and fairly litigated. All

objections, responses, statements, reservation of rights, and comments in opposition to the Plan,

other than those withdrawn with prejudice in their entirety, waived, settled, resolved prior to the

Confirmation Hearing, resolved or sustained on the terms set forth herein and as reflected in the

Modifications to the Plan, or otherwise resolved on the record of the Confirmation Hearing and/or

herein, are hereby overruled. The record of the Confirmation Hearing is hereby closed.

       D.      BINDING NATURE OF PLAN TERMS

       135.    Notwithstanding any otherwise applicable law, and except as otherwise expressly

set forth in this Confirmation Order, from and after the entry of this Confirmation Order, but

subject to Article VIII of the Plan, the terms of the Plan and this Confirmation Order, including

the compromises, releases, waivers, discharges and injunctions described in Section I.P.8 above,

shall be deemed binding upon, among others, (a) the Debtors, (b) any and all holders of Claims or

Interests (irrespective of whether such Claims or Interests are Impaired under the Plan or whether

the holders of such Claims or Interests accepted, rejected or are presumed to have accepted or

deemed to have rejected the Plan), (c) any and all non-Debtor parties to Executory Contracts and

Unexpired Leases with any of the Debtors, (d) the Supporting Parties, (e) the Official Committee

of Opioid-Related Claimants and its members, in their capacity as such, (f) the Official Committee

of Unsecured Creditors and its members, in their capacity as such, and (g) the respective heirs,

executors, administrators, successors or assigns, if any, of any of the foregoing.

       E.      SOLICITATION AND NOTICE

       136.    Good and sufficient notice of the Confirmation Hearing, the Plan and all related

documents, and the deadline for filing and serving objections to the confirmation of the Plan has

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been provided, which notice is hereby approved. The solicitation of votes on the Plan, and the

Solicitation Packages (a) complied with the solicitation procedures in the Disclosure Statement

Order, (b) were appropriate and satisfactory based upon the circumstances of the Chapter 11 Cases,

and (c) were in compliance with the provisions of the Bankruptcy Code, the Bankruptcy Rules,

and the Local Rules.

       F.      DEEMED ACCEPTANCE OF PLAN AS MODIFIED

       137.    The Modifications to the Plan address concerns raised by parties in interest and

implement additional compromises of objections to the Plan. The Modifications, other than any

Modifications in the Third Amended Joint Plan of Reorganization of Mallinckrodt Plc and Its

Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 6006] and the Fourth

Amended Joint Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under

Chapter 11 of the Bankruptcy Code [Docket No. 6066], were immaterial and comply with section

1127 of the Bankruptcy Code and Bankruptcy Rule 3019.               Moreover, the Debtors’ key

constituents, including the Supporting Parties, the Future Claimants’ Representative, the Official

Committee of Opioid-Related Claimants, the Official Committee of Unsecured Creditors, and the

Ad Hoc Second Lien Notes Group affected by such Modifications support, or otherwise have not

objected to, the Modifications. Other parties in interest affected by such Modifications, including

Covidien Limited (f/k/a Covidien plc) (to the extent applicable), negotiated certain of those

Modifications to the Second Amended Joint Plan of Reorganization of Mallinckrodt Plc and Its

Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 5636] with the Debtors,

the Governmental Plaintiff Ad Hoc Committee and the Official Committee of Opioid-Related

Claimants, and support, or otherwise have not objected to, such Modifications. Further, with

respect to the Modifications in the Third Amended Joint Plan of Reorganization of Mallinckrodt

Plc and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code, the parties in interest

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affected by such Modifications, specifically, the Co-Defendants, Supporting Parties, and the

Insurers, support, or otherwise have not objected to, such Modifications contained in the Third

Amended Joint Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under

Chapter 11 of the Bankruptcy Code. And with respect to the Modifications in the Fourth Amended

Joint Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of

the Bankruptcy Code, the parties in interest affected by such Modifications, specifically, the

Insurers and Covidien Limited (Covidien plc) (to the extent applicable) negotiated those

Modifications with the Debtors, the Governmental Plaintiff Ad Hoc Committee and the Official

Committee of Opioid-Related Claimants and support or otherwise have not objected to such

Modifications contained in the Fourth Amended Joint Plan of Reorganization of Mallinckrodt Plc

and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code. Accordingly, no additional

solicitation or disclosure was required on account of the Modifications and all holders of Claims

and Equity Interests who voted to accept the Plan or who are conclusively presumed to accept the

Plan are deemed to have accepted the Plan as modified, revised, supplemented, or otherwise

amended. No holder of a Claim or Equity Interest shall be permitted to change its vote as a

consequence of the Modifications.

       G.      PLAN CLASSIFICATION CONTROLLING

       138.    The categories listed in Article III of the Plan shall solely govern the classification

of Claims and Interests for purposes of the distributions to be made thereunder. The classifications

set forth on the Ballots tendered to or returned by the Holders of Claims in connection with voting

on the Plan: (a) were set forth thereon solely for purposes of voting to accept or reject the Plan; (b)

do not necessarily represent, and in no event shall be deemed to modify or otherwise affect, the

actual classification of Claims under the Plan for distribution purposes; (c) may not be relied upon



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by any Holder of a Claim as representing the actual classification of such Claim under the Plan for

distribution purposes; and (d) shall not be binding on the Debtors except for voting purposes.

       139.    The Court hereby holds that (a) the classifications of Claims and Interests under the

Plan (i) are fair, reasonable, and appropriate and (ii) were not done for any improper purpose, (b)

valid business, legal, and factual reasons exist for separately classifying the various Classes of

Claims and Interests under the Plan, and (c) the creation of such Classes does not unfairly

discriminate between or among Holders of Claims or Interests.

       H.      PLAN SETTLEMENTS

       140.    In consideration for (a) the Plan distributions, releases, exculpation, injunctions,

and other benefits provided under the Plan, and (b) the support of the Supporting Parties, the Future

Claimants’ Representative, the Official Committee of Opioid-Related Claimants, the Official

Committee of Unsecured Creditors, and the Ad Hoc Second Lien Notes Group, upon the Effective

Date, the provisions of the Plan constitute a good faith and integrated compromise and settlement

of all Claims and controversies relating to any Allowed Claim or Interest or any Plan distribution

to be made on account thereof or otherwise resolved under the Plan, including without limitation

the settlements included in the Restructuring Support Agreement, the Opioid Settlement (as

defined in the Restructuring Support Agreement), the UCC Settlement, the OCC Settlement, the

Second Lien Notes Settlement, Federal/State Acthar Settlement, and the Opioid Insurance

Settlements. The entry of this Confirmation Order constitutes the Court’s approval of the

compromises and settlements of all such Claims and controversies, including without limitation

the settlements included in the Restructuring Support Agreement, the Opioid Settlement (as

defined in the Restructuring Support Agreement), the UCC Settlement, the OCC Settlement, the

Second Lien Notes Settlement, Federal/State Acthar Settlement, and the Opioid Insurance

Settlements, as well as a finding by the Court that such compromises and settlements are fair,

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equitable, and reasonable and in the best interests of the Debtors and their Estates. All Plan

distributions made in accordance with the Plan are intended to be, and shall be, final.

        141.    The settlement provisions in Article IV of the Plan, and each component thereof, is

hereby approved pursuant to Bankruptcy Code section 1123 and Bankruptcy Rule 9019 as fair and

reasonable and in the best interests of the Debtors, their Estates, and Holders of Claims and Equity

Interests. The settlement provisions in Article IV of the Plan are authorized and approved in all

respects, subject to, and in accordance with, the terms and conditions thereof, the Plan and this

Confirmation Order; and the terms thereof shall be binding upon all Persons, including any and all

Holders of Claims or Interests (irrespective of whether such Claims and Interests are Impaired

under the Plan or whether the Holders of such Claims and Interests accepted, rejected or are

deemed to have accepted or rejected the Plan), any and all Persons who are parties to or are subject

to the settlement, compromises, releases, waivers, and injunctions described herein or in the Plan

or the settlement provisions in Article IV of the Plan, and their respective heirs, executors,

administrators, trustees, affiliates, if any, of the foregoing.

        I.      VESTING OF ASSETS IN THE REORGANIZED DEBTORS;
                CONTINUED CORPORATE EXISTENCE

        142.    On the Effective Date, except as otherwise provided in the Plan or any agreement,

instrument, or other document incorporated herein, including the Restructuring Transactions

Memorandum and after giving effect to such Restructuring Transactions, pursuant to sections

1141(b) and 1141(c) of the Bankruptcy Code, all property of each Debtor’s Estate, including (a)

all retained Causes of Action other than (i) the Assigned Third-Party Claims, (ii) the Assigned

Insurance Rights, (iii) the Share Repurchase Claims, and (iv) Causes of Actions transferred to and

assumed by the General Unsecured Claims Trust, the Asbestos Trust, and the Opioid MDT II, (b)

Excluded Insurance Policies, and (c) any property acquired by any of the Debtors pursuant to the


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Plan, in each case, shall vest in each respective Reorganized Debtor, free and clear of all Liens,

Claims, charges, or other encumbrances (except such Liens securing the New Credit Facilities, the

New Takeback Term Loans, the Takeback Second Lien Notes, the New Second Lien Notes, and

the First Lien Notes, as applicable). Except as otherwise provided in the Plan or pursuant to actions

taken in connection with, and permitted by, the Plan, each of the Debtors, as Reorganized Debtors,

shall continue to exist on and after the Effective Date as a separate legal entity with all of the

powers available to such legal entity under applicable law and pursuant to the applicable

organizational documents, without prejudice to any right to alter or terminate such existence

(whether by merger or otherwise) in accordance with such applicable law. On and after the

Effective Date, except as otherwise provided in the Plan and the Opioid Operating Injunction, each

Reorganized Debtor may operate its business and may use, acquire, encumber, or dispose of

property and compromise or settle any Claims, Interests, or Causes of Action without supervision

or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or

Bankruptcy Rules, including for the avoidance of doubt any restrictions on the use, acquisition,

sale, lease, or disposal of property under section 363 of the Bankruptcy Code. Reorganized

Mallinckrodt shall not, and neither shall any of its other subsidiaries, other than the Reorganized

VI-Specific Debtors, be involved in the sale or distribution of opioids classified as DEA Schedule

II–IV drugs in the future.

       J.      APPROVAL OF RESTRUCTURING TRANSACTIONS

       143.    On or prior to the Effective Date or as soon as reasonably practicable thereafter, the

Debtors and the Reorganized Debtors, as applicable, are authorized to, consistent with and subject

to the terms of the Restructuring Support Agreement and subject to the applicable consent and

approval rights thereunder, take all actions as may be necessary or appropriate to effect any

transaction described in, approved by, contemplated by or necessary or appropriate to effectuate

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the Restructuring Transactions (including any transaction described in, approved by, contemplated

by, or necessary or appropriate to effectuate the Plan), and as set forth in the Restructuring

Transactions Memorandum, including without limitation: (a) the creation of NewCo and/or any

NewCo Subsidiaries that may, at the Debtors’ or Reorganized Debtors’ option in consultation with

the Supporting Parties, acquire all or substantially all the assets of one or more of the Debtors; (b)

the execution and delivery of appropriate agreements or other documents of sale, merger,

consolidation, or reorganization containing terms that are consistent with the terms of the Plan and

that satisfy the requirements of applicable law; (c) the execution and delivery of the Transfer

Agreement and any other appropriate instruments of transfer, assignment, assumption, or

delegation of any property, right, liability, duty, or obligation on terms consistent with the terms

of the Plan; (d) the filing of appropriate certificates of incorporation, merger, migration,

consolidation, or other organizational documents with the appropriate governmental authorities

pursuant to applicable law; and (e) all other actions that the Reorganized Debtors determine are

necessary or appropriate; provided, however, that nothing in this paragraph or elsewhere in this

Confirmation Order or Plan shall modify or excuse the Debtors from complying with applicable

limitations or restrictions contained in the Exit Financing Documents.

       144.    The actions to implement the Restructuring Transactions may include: (a) the

execution and delivery of appropriate agreements or other documents of merger, amalgamation,

consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance,

dissolution, sale, purchase, or liquidation containing terms that are consistent with the terms of the

Plan and that satisfy the requirements of applicable law and any other terms to which the applicable

Entities may agree; (b) the execution and delivery of appropriate instruments of transfer,

assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on



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terms consistent with the terms of the Plan and having other terms for which the applicable parties

agree; (c) the filing of appropriate certificates or articles of incorporation, formation,

reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance,

dissolution, or other organizational documents pursuant to applicable state law; and (d) all other

actions that the applicable Entities determine to be necessary or advisable, including making filings

or recordings that may be required by law in connection with the Plan, in each case, whether or

not contemplated by the Restructuring Transactions Memorandum. Each applicable federal, state,

and local governmental agency or department may accept the filing of any such document. This

Confirmation Order is declared to be in recordable form and may be accepted by any filing or

recording officer or authority of any applicable governmental authority or department without any

further orders, certificates, or other supporting documents.

       145.    In each case in which the surviving, resulting, or acquiring Entity in any

Restructuring Transaction is a successor to a Reorganized Debtor, such surviving, resulting, or

acquiring Entity shall perform the obligations of the applicable Reorganized Debtor pursuant to

the Plan, including (a) the obligations owed to parties under the Exit Financing Documents, (b)

the obligations under the Opioid Deferred Cash Payments Terms, and the Opioid Deferred Cash

Payments Documents, and the obligations to make the Opioid Deferred Cash Payments in

accordance therewith and in accordance with the Plan, (c) paying or otherwise satisfying the

Allowed Claims to be paid or otherwise satisfied by such Reorganized Debtor, and (d)

implementing the Management Incentive Plan; provided, that the foregoing shall not affect any

contract, instrument, or other agreement or document effecting a disposition to such surviving,

resulting, or acquiring Entity, which may provide that another Debtor or Reorganized Debtor shall

perform such obligations. In all cases, implementation of any Restructuring Transaction shall not



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affect (and no Restructuring Transaction is intended to affect) any performance obligations,

distributions, discharges, exculpations, releases, or injunctions set forth in the Plan.

       K.      APPROVAL OF THE NEW CREDIT FACILITIES, NEW TAKEBACK
               TERM LOANS, TAKEBACK SECOND LIEN NOTES, NEW SECOND
               LIEN NOTES, AND REINSTATEMENT OF FIRST LIEN NOTES

       146.    On the Effective Date, the applicable Reorganized Debtors shall enter into the New

Credit Facilities, New Takeback Term Loans, Takeback Second Lien Notes, and New Second Lien

Notes, as applicable, the terms of which will be set forth in the Exit Financing Documents. Until

the Exit Financing Documents are finalized and executed, without further order or authorization

of this Court, the Debtors, the Reorganized Debtors and their successors, subject to any applicable

consent and approval rights under the Plan or the Restructuring Support Agreement, are authorized

and empowered to further negotiate and make any and all modifications not inconsistent with the

Plan (as modified from time to time, including by this Confirmation Order) to the Exit Financing

Documents subject to Article XI.A of the Plan.

       147.    This Confirmation Order shall constitute authorization for the Reorganized Debtors

to finalize, execute, deliver, and perform under the Exit Financing Documents, and those

documents necessary or appropriate to consummate the transactions contemplated by the Exit

Financing Documents and obtain the financing contemplated thereby, including all transactions

contemplated thereby, including any and all actions to be taken, undertakings to be made, and

obligations to be incurred, fees and expenses paid, and indemnities to be provided, without further

notice to or order of the Court, act, or action under applicable law, regulation, order, or rule

(including, without limitation, the Bankruptcy Code and section 303 of the Delaware General

Corporations Law, to the extent applicable, and any analogous provision of the applicable business

organizations law or code of each other state in which the Reorganized Debtors are incorporated

or organized) or vote, consent, authorization, or approval of any Person (including, without

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limitation, creditors, stockholders, directors, members, or partners of the Debtors or the

Reorganized Debtors), subject to such modifications as the Reorganized Debtors may deem to be

necessary or appropriate to consummate the transactions contemplated by the Exit Financing

Documents. Subject to the occurrence of the Effective Date, the Exit Financing Documents,

including without limitation the New Term Loan Documentation, the New AR Revolving Facility

Documentation, the New Takeback Term Loans Documentation, the Takeback Second Lien Notes

Documentation, and the New Second Lien Notes Documentation shall constitute the legal, valid,

and binding obligations of the Debtors and the Reorganized Debtors, as applicable, and shall be

enforceable in accordance with their respective terms. Each of the Reorganized Debtors, without

any further action by the Court or any respective Reorganized Debtors’ officers, directors, or

stockholders, is hereby authorized to enter into, and take such actions as necessary or appropriate

to perform under, or otherwise effectuate, the New Credit Facilities, New Takeback Term Loans,

Takeback Second Lien Notes, and New Second Lien Notes, the Exit Financing Documents in

connection therewith, as well as any notes, documents, or agreements in connection therewith,

including, without limitation, any documents required or appropriate in connection with (i) the

giving of any guarantees in connection therewith, (ii) the creation or perfection of Liens or other

security interests in connection therewith, (iii) the obtaining of commitments in respect thereof or

the appointment or retention of any agent, arranger, bookrunner, lender, underwriter, initial

purchaser or other similar party in connection therewith (including, without limitation, applicable

commitment, engagement or fee letters or any related documentation) or (iv) the obtaining of any

rating in connection therewith (including, without limitation, applicable fee and/or engagement

letters relating to any such rating).




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       148.    The Liens contemplated by and related to the New Credit Facilities, New Takeback

Term Loans, Takeback Second Lien Notes, New Second Lien Notes, the Exit Financing

Documents and all other related documents, are approved and are valid, binding, and enforceable

liens on the collateral specified, and with the priorities set forth, in the relevant agreements

executed by the Reorganized Debtors in connection with the incurrence of the New Credit

Facilities, New Takeback Term Loans, Takeback Second Lien Notes, and New Second Lien Notes.

The guarantees, mortgages, pledges, Liens, and other security interests granted pursuant to or in

connection with the incurrence of the New Credit Facilities, New Takeback Term Loans, Takeback

Second Lien Notes, and New Second Lien Notes are granted in good faith as an inducement to the

lenders and other secured parties thereunder to extend credit thereunder and shall be, and hereby

are, deemed not to constitute a fraudulent conveyance or fraudulent transfer, shall not otherwise

be subject to avoidance, recharacterization, or subordination, and the priorities of such guarantees,

mortgages, pledges, liens, and other security interests shall be as set forth in the applicable

intercreditor agreement(s) and other Exit Financing Documents executed in connection with the

incurrence of the New Credit Facilities, New Takeback Term Loans, Takeback Second Lien Notes,

and New Second Lien Notes. Perfection of such Liens and security interests under the Exit

Financing Documents shall occur automatically by virtue of the entry of this Confirmation Order,

and any such filings, recordings, approvals, and consents shall not be required, and the

Reorganized Debtors and the other Entities granting such Liens and security interests will

thereafter cooperate to make all other filings and recordings that otherwise would be necessary

under applicable law to give notice of such Liens and security interests to third parties to the extent

required by the Exit Financing Documents.




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       149.    The Reorganized Debtors and the secured parties (and their designees and agents)

under the Exit Financing Documents are authorized to make all filings and recordings, and to

obtain all governmental approvals and consents necessary or appropriate to evidence, establish,

and perfect such Liens in connection with the New Credit Facilities, New Takeback Term Loans,

Takeback Second Lien Notes, and New Second Lien Notes and as otherwise set forth in the Exit

Financing Documents under the provisions of the applicable state, provincial, federal, or other law

(whether domestic or foreign) that would be applicable in the absence of the Plan and this

Confirmation Order, and will thereafter cooperate to make all other filings and recordings that

otherwise would be necessary under applicable law to give notice of such Liens and security

interests to third parties to the extent required by the Exit Financing Documents.

       150.    For the avoidance of doubt, (a) the New Takeback Term Loan Facility, if issued,

shall be consistent with the First Lien Settlement Term Sheet (as defined in, and as attached to, the

Restructuring Support Agreement), as modified in the Fourth Amended Joint Plan of

Reorganization (With Technical Modifications) of Mallinckrodt Plc and Its Debtor Affiliates

Under Chapter 11 of the Bankruptcy Code and otherwise subject to the Restructuring Support

Agreement and (b) notwithstanding anything to the contrary set forth in the Plan, the proceeds of

the New Term Loan Facility may also be used to finance the making of distributions pursuant to,

or of the making of any payments to satisfy obligations established pursuant to, the Plan (but the

use of such proceeds shall be subject to and shall comply with the terms and conditions of the

applicable Exit Financing Documents and the terms and conditions of the First Lien Notes

Indenture, to the extent then in effect). Further, for the avoidance of doubt, (a) the portion of the

New Takeback Term Loans, if any, received by a Holder of Allowed 2024 First Lien Term Loan

Claims shall be such holder’s Pro Rata Share of the New Takeback Term Loans attributable to the



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2024 First Lien Term Loan Claims (which, if issued, shall be issued in an aggregate amount equal

to the 2024 First Lien Term Loans Outstanding Amount) and (b) the portion of the New Takeback

Term Loans, if any, received by a Holder of Allowed 2025 First Lien Term Loan Claims shall be

such holder’s Pro Rata Share of the New Takeback Term Loans attributable to the 2025 First Lien

Term Loan Claims (which, if issued, shall be issued in an aggregate amount equal to the 2025 First

Lien Term Loans Outstanding Amount). Further, each reference to the “Second Lien Notes” in

the definition of “New Term Loan Facility” in the Plan shall be deemed instead to be a reference

to the “New Second Lien Notes”.

       151.    Nothing in this Confirmation Order permits the entrance into any New Term Loan

Facility to the extent that both (i) entrance into such New Term Loan Facility is prohibited by the

First Lien Notes Indenture (after giving effect to the reinstatement thereof) and (ii) the obligations

of the Debtors under the First Lien Notes Indenture are not satisfied and discharged in accordance

with the terms thereof (except those obligations that expressly survive such a satisfaction and

discharge in accordance with the terms thereof) prior to, or in connection with, the incurrence of

the New Term Loan Facility.

       152.    Notwithstanding anything to the contrary in this Confirmation Order or the Plan,

the Court’s retention of jurisdiction shall not govern any disputes arising or asserted under the Exit

Financing Documents or related collateral or other documents executed in connection with the

incurrence of the New Credit Facilities, New Takeback Term Loans, Takeback Second Lien Notes,

and New Second Lien Notes or any liens, rights or remedies related thereto.

       153.    On the Effective Date, subject to the terms of the Plan and this Confirmation Order,

the obligations of the Debtors under the First Lien Notes, and the guarantees, mortgages, pledges,

Liens, and other security interests granted pursuant thereto or in connection therewith, are hereby



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reinstated pursuant to Section 1124 of the Bankruptcy Code. Upon the occurrence of the Effective

Date, no Default or Event of Default shall have occurred and be continuing under the First Lien

Notes or the First Lien Notes Indenture.

       L.      APPROVAL OF THE OPIOID DEFERRED CASH PAYMENTS, THE
               OPIOID DEFERRED CASH PAYMENTS TERMS, AND THE OPIOID
               DEFERRED CASH PAYMENTS DOCUMENTS

       154.    On the Effective Date, the applicable Reorganized Debtors shall be obligated to

make the Opioid Deferred Cash Payments in accordance with the terms of the Plan, the Opioid

Deferred Cash Payments Terms, and the Opioid Deferred Cash Payments Documents (which shall

be deemed an attachment to, and an integral part of, this Confirmation Order). Until the Opioid

Deferred Cash Payments Terms and the Opioid Deferred Cash Payments Documents are finalized,

without further order or authorization of this Court, the Debtors, the Reorganized Debtors and their

successors, subject to any applicable consent and approval rights under the Plan, are authorized

and empowered to further negotiate and make any and all modifications not inconsistent with the

Plan to the Opioid Deferred Payments Terms and the Opioid Deferred Cash Payments Documents

subject to Article XI.A of the Plan.

       155.    This Confirmation Order shall constitute authorization for the Reorganized Debtors

to finalize, execute, deliver, and perform their obligations under the Opioid Deferred Cash

Payments Terms and the Opioid Deferred Cash Payments Documents and to make the Opioid

Deferred Cash Payments in accordance therewith and in accordance with the Plan, in each case,

without further notice to or order of the Court, act, or action under applicable law, regulation,

order, or rule (including, without limitation, the Bankruptcy Code and section 303 of the Delaware

General Corporations Law, to the extent applicable, and any analogous provision of the applicable

business organizations law or code of each other state in which the Reorganized Debtors are

incorporated or organized) or vote, consent, authorization, or approval of any Person (including,

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without limitation, creditors, stockholders, directors, members, or partners of the Debtors or the

Reorganized Debtors). Subject to the occurrence of the Effective Date, obligations under the

Opioid Deferred Cash Payments Terms and the Opioid Deferred Cash Payments Documents and

obligations to make the Opioid Deferred Cash Payments in accordance therewith and in

accordance with the Plan shall constitute the legal, valid, and binding obligations of the Debtors

and the Reorganized Debtors, as applicable, and shall be enforceable in accordance with their

respective terms. Each of the Reorganized Debtors, without any further action by the Court or any

of the respective Reorganized Debtors’ officers, directors, stockholders, managers, members or

partners, as applicable, is hereby authorized to take such actions as necessary to perform, and

comply with, their obligations under the Opioid Deferred Cash Payments Terms and the Opioid

Deferred Cash Payments Documents and to make the Opioid Deferred Cash Payments in

accordance therewith and in accordance with the Plan.

       156.    The obligations of each obligor with respect to the Opioid Deferred Cash Payments,

and the obligations of each obligor under the Opioid Deferred Cash Payments Documents, are

incurred in good faith and shall be, and hereby are, deemed not to constitute a fraudulent

conveyance or fraudulent transfer, shall not otherwise be subject to avoidance, recharacterization,

or subordination.

       157.    Notwithstanding anything to the contrary in this Confirmation Order or the Plan,

the Court shall retain jurisdiction over any disputes arising, or asserted, in connection with the

Opioid Deferred Cash Payments, the Opioid Deferred Cash Payments Terms, and the Opioid

Deferred Cash Payments Documents.




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       M.      CANCELLATION OF NOTES, INSTRUMENTS,                              CERTIFICATES,
               AGREEMENTS, AND EQUITY INTERESTS

       158.    The provisions of Article IV.F of the Plan shall be, and hereby are, approved in

their entirety. Without limiting the foregoing, except for the purpose of evidencing a right to a

Plan distribution and except as otherwise set forth in the Plan (including, without limitation, with

respect to the reinstatement of the First Lien Notes) and/or, as the case may be, the Scheme of

Arrangement, on the later of the Effective Date and the date on which the relevant distributions

are made pursuant to Article VI of the Plan and without further notice to or order of the Bankruptcy

Court, act or action under applicable law, regulation, order, or rule or any requirement of further

action, vote or other approval or authorization by any Person or Entity, all agreements, instruments,

and other documents evidencing, related to, or connected with any Claim or Interest and any rights

of any Holder in respect thereof, shall be deemed cancelled, discharged, and of no force or effect.

Holders of or parties to such cancelled instruments, securities, and other documentation will have

no rights arising from or relating to such instruments, securities, and other documentation, or the

cancellation thereof, including for the avoidance of doubt rights under any negative pledge clauses,

except the rights provided for pursuant to the Plan. For the avoidance of doubt, nothing contained

in this Confirmation Order shall in any way limit or affect the standing of the First Lien Agent, the

Second Lien Notes Indenture Trustee, the Second Lien Notes Collateral Agent, the Guaranteed

Unsecured Notes Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, or the Legacy

Unsecured Notes Indenture Trustee to appear and be heard in the Chapter 11 Cases or any other

proceeding in which they are or may become party on and after the Effective Date, to enforce any

provisions of the Plan or otherwise.




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       N.      CANCELLATION OF LIENS

       159.    Without limiting any of the provisions of Article IV.F of the Plan and subject to the

provisions thereof, except for the purpose of evidencing a right to a Plan distribution and except

as otherwise set forth in the Plan (including, without limitation, with respect to the reinstatement

of the First Lien Notes) or Exit Financing Documents and/or, as the case may be, the Scheme of

Arrangement, on the later of the Effective Date and the date on which the relevant distributions

are made pursuant to Article VI of the Plan and without further notice to or order of the Bankruptcy

Court, act or action under applicable law, regulation, order, or rule or any requirement of further

action, vote or other approval or authorization by any Person or Entity, all Liens securing any

Secured Claim shall be fully released, settled, discharged, and compromised and all rights, titles,

and interests of any holder of such mortgages, deeds of trust, Liens, pledges, or other security

interests against any property of the Estates shall revert to the Reorganized Debtors and their

successors and assigns, and the Holder of such Secured Claim shall be authorized and directed, at

the sole cost and expense of the Reorganized Debtors, to release any collateral or other property

of any Debtor (including any cash collateral and possessory collateral) held by such Holder, and

to take such actions as may be reasonably requested by the Reorganized Debtors or the agents,

arrangers, and/or lenders under the Exit Financing Documents to evidence the release of such Lien,

including the execution, delivery, and filing or recording of such releases, provided that if any such

party does not so execute, deliver, and file or record such releases reasonably promptly upon the

reasonable request of the Reorganized Debtors, the Reorganized Debtors are hereby authorized to

execute and file or record such releases on such party’s behalf. The applicable agents and/or

trustees shall not have any liability for, and are hereby released and exculpated from, any Cause

of Action relating to, arising from, or in connection with the release of Liens and security interests

pursuant to this Confirmation Order. The filing of this Confirmation Order with any applicable

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federal, state, provincial, or local agency or department (each of which is hereby directed to accept

such filing if made) shall constitute good and sufficient evidence of, but shall not be required to

effect, the termination of such Liens.

       O.      PAYMENT OF FEES AND EXPENSES UNDER THE PLAN AND
               RESTRUCTURING SUPPORT AGREEMENT

       160.    The provisions of Articles II.A.2 and IV.S of the Plan shall be, and hereby are,

approved in their entirety. Without limiting the foregoing, all final requests for payment of

Professional Fee Claims for services rendered and reimbursement of expenses incurred prior to the

Effective Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy Court

will determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in

accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules, and

prior Bankruptcy Court orders. The Reorganized Debtors will pay Professional Fee Claims owing

to the Retained Professionals in Cash to such Retained Professionals in the amount the Bankruptcy

Court Allows from funds held in the Professional Fee Escrow Account, as soon as reasonably

practicable after such Professional Fee Claims are Allowed by entry of an order of the Bankruptcy

Court; provided that the Debtors’ and the Reorganized Debtors’ obligations to pay Allowed

Professional Fee Claims shall not be limited or deemed limited to funds held in the Professional

Fee Escrow Account. To the extent that funds held in the Professional Fee Escrow Account are

insufficient to satisfy the Allowed amount of Professional Fee Claims owing to the Retained

Professionals, the Reorganized Debtors shall pay such amounts within ten (10) Business Days of

entry of the order approving such Professional Fee Claims.

       161.    No later than the Effective Date, the Reorganized Debtors shall establish and fund

the Professional Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount.

The Professional Fee Escrow Account shall be maintained in trust solely for the Retained


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Professionals and for no other Entities until all Professional Fee Claims Allowed by the

Bankruptcy Court have been irrevocably paid in full in Cash to the Retained Professionals pursuant

to one or more Final Orders of the Bankruptcy Court. No Liens, claims, or interests shall encumber

the Professional Fee Escrow Account or Cash held in the Professional Fee Escrow Account in any

way. No funds held in the Professional Fee Escrow Account shall be property of the Estates of

the Debtors or the Reorganized Debtors. When all Professional Fee Claims Allowed by the

Bankruptcy Court have been irrevocably paid in full in Cash to the Retained Professionals pursuant

to one or more Final Orders of the Bankruptcy Court, any remaining funds held in the Professional

Fee Escrow Account shall be remitted to the Reorganized Debtors without any further notice to or

action, order, or approval of the Bankruptcy Court or any other Entity being required. The

Retained Professionals shall deliver to the Debtors a reasonable and good-faith estimate of their

unpaid fees and expenses incurred in rendering services to the Debtors before and as of the

Effective Date projected to be outstanding as of the anticipated Effective Date, and shall deliver

such estimate no later than five (5) Business Days prior to the anticipated Effective Date. For the

avoidance of doubt, no such estimate shall be considered or deemed an admission or limitation

with respect to the amount of the fees and expenses that are the subject of a Retained Professional’s

final request for payment of Professional Fee Claims Filed with the Bankruptcy Court, and such

Retained Professionals are not bound to any extent by the estimates. If a Retained Professional

does not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses

of such Retained Professional. The total aggregate amount so estimated to be outstanding as of

the anticipated Effective Date shall be utilized by the Debtors to determine the amount to be funded

to the Professional Fee Escrow Account; provided that the Reorganized Debtors shall use Cash on

hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications



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are Filed after the Effective Date in excess of the amount held in the Professional Fee Escrow

Account based on such estimates.

       162.    All Restructuring Expenses, including Transaction Fees, and Post Effective Date

Implementation Expenses shall be paid in accordance with the Restructuring Support Agreement

and Article IV.S of the Plan, and the terms under Article II.A.2 of the Plan shall not apply to the

parties entitled to receive the Restructuring Expenses. The Reorganized Debtors shall pay the Post

Effective Date Implementation Expenses that they incur on or after the Effective Date in the

ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

       163.    Notwithstanding anything to the contrary contained in the Restructuring Expenses

Order, on the Effective Date, the Reorganized Debtors shall be authorized to pay and shall pay the

Noteholder Consent Fee and the Term Loan Exit Payment in full in cash pursuant to the terms of

the Plan and the Restructuring Support Agreement, each of which payment shall not be subject to

setoff, demand, recharacterization, turnover, disgorgement, avoidance, or any other right of

recovery of any Person under any legal or equitable theory or any contract.

       164.    Professionals that are required to seek payment or reimbursement under Article

IV.X.8.F. of the Plan of their compensation, costs and/or fees shall file with the Bankruptcy Court

an application for approval of such compensation, costs and/or fees, to be reviewed for

reasonableness (a) first, not later than sixty (60) days following the Confirmation Date, with

respect to compensation, costs and/or fees incurred during the period prior to November 1, 2021

(the first day of the Confirmation Hearing), and (b) second, not later than sixty (60) days following

the Effective Date, with respect to compensation, costs and/or fees incurred during the period of

November 1, 2021 through and including the Effective Date. Such applications shall be deemed

an application for reasonable compensation for actual services performed by such professionals or



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reimbursement for actual expenses incurred, but shall not be reviewed pursuant to section 330 of

the Bankruptcy Code, nor any of the Bankruptcy Rules, nor any guidelines from the office of the

U.S. Trustee, nor any other rules or guidelines applicable to fee applications. Each such

application shall set forth the amount of compensation, costs and/or fees sought, provide a

narrative basis for such compensation, costs and/or fees, and attach, as applicable, supporting

documentation. A single application may cover one or more professionals that represented or

advised an ad hoc group. Each such application shall be set for hearing on not less than fourteen

(14) days’ notice and served upon counsel to the Debtors, counsel to the official Committees, the

Future Claims Representative, and the U.S. Trustee. If no objection is filed by any of such parties

by the date that is three (3) days prior to such hearing, the Bankruptcy Court may enter an order

approving such application without a hearing. With respect to applications filed by professionals

that represented or advised the Ad Hoc Group of Personal Injury Victims or the NAS Committee

under Article IV.X.8.F. of the Plan, the Supporting Parties have agreed and acknowledged that

they shall not file any objections to such applications. Any such application made is without

prejudice to any applications by the Ad Hoc Group of Personal Injury Victims, the NAS

Committee, or professionals that represented or advised any of the foregoing for allowance and

payment of compensation, costs or fees under section 503(b) of the Bankruptcy Code.

       P.      ISSUANCE OF NEW MALLINCKRODT ORDINARY SHARES AND NEW
               OPIOID WARRANTS, AND CERTAIN DEBTORS SUBJECT TO
               DISSOLUTION

       165.    On the Effective Date, Reorganized Mallinckrodt shall (a) issue or reserve for

issuance all of the New Mallinckrodt Ordinary Shares (including all New Mallinckrodt Ordinary

Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date, without regard

to any limitations on the exercise of the New Opioid Warrants) issuable in accordance with the

terms of the Plan and, where applicable, the Scheme of Arrangement and as set forth in the

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Restructuring Transactions Memorandum and (b) enter into the New Opioid Warrant Agreement

and issue all of the New Opioid Warrants to the Opioid MDT II or to a newly formed limited

liability company formed and wholly owned by the Opioid MDT II in accordance with the terms

of the Plan.    The issuance of the New Mallinckrodt Ordinary Shares (including any New

Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid Warrants as of the

Effective Date, without regard to any limitations on the exercise of the New Opioid Warrants) and

any New Opioid Warrants by Reorganized Mallinckrodt pursuant to the Plan is authorized without

the need for further corporate or other action or any consent or approval of any national securities

exchange upon which the New Mallinckrodt Ordinary Shares shall be listed on or immediately

following the Effective Date. All of the New Mallinckrodt Ordinary Shares (including, when

issued, any New Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid Warrants

as of the Effective Date, without regard to any limitations on the exercise of the New Opioid

Warrants) issued or issuable pursuant to the Plan shall be duly authorized, validly issued, fully

paid, and non-assessable. The New Opioid Warrants and the New Opioid Warrant Agreement

shall be valid and binding obligations of Reorganized Mallinckrodt, enforceable in accordance

with their respective terms.

       166.    As to any Debtors identified as being subject to Article IV.I.3 of the Plan in the

Restructuring Transactions Memorandum, the Debtors shall take such steps as are necessary or

advisable to provide, as of the Effective Date, (a) for a new equity interest holder or holders (either

as to each such Debtor individually or as to all such Debtors together) (i) to receive and hold all

new equity interests in such Debtors and (ii) to manage the dissolution of such Debtors after

consummation of all distributions to the Holders of Claims against such Debtors contemplated by




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the Plan and (b) for any necessary or advisable changes to the organizational documents of such

Debtors in furtherance of their contemplated dissolution.

        Q.      REGISTRATION RIGHTS AGREEMENT

        167.    On the Effective Date, Reorganized Mallinckrodt and the Initial Holder (as defined

in the Registration Rights Agreement) of the New Opioid Warrants shall enter into the Registration

Rights Agreement in substantially the form included in the Plan Supplement. The Registration

Rights Agreement shall be deemed to be valid, binding, and enforceable in accordance with its

terms. On the Effective Date, in the event there are Holders of the New Opioid Warrants (or

Registrable Securities (as defined in the Registration Rights Agreement)) other than the Initial

Holder (as defined in the Registration Rights Agreement), all such Holders shall be deemed to be

parties to the Registration Rights Agreement in substantially the form included in the Plan

Supplement, without the need for execution by any such Holder. The Registration Rights

Agreement shall be binding on all parties receiving, and all Holders of, the New Opioid Warrants

(or Registrable Securities (as defined in the Registration Rights Agreement)) regardless if such

party is the Initial Holder (as defined in the Registration Rights Agreement); provided, that

regardless of whether such parties execute the Registration Rights Agreement, such parties will be

deemed to have signed the Registration Rights Agreement, which shall be binding on such parties

as if they had actually signed it.

        R.      CORPORATE ACTION

        168.    Upon the Effective Date, all actions contemplated by the Plan and the Scheme of

Arrangement shall be deemed authorized, approved, and, to the extent taken prior to the Effective

Date, ratified without any requirement for further action by Holders of Claims or Interests,

directors, managers, or officers of the Debtors, the Reorganized Debtors, or any other Entity,

including: (a) assumption and rejection (as applicable) of Executory Contracts and Unexpired

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Leases; (b) selection of the directors, managers, and officers for the Reorganized Debtors;

(c) obligations to make the Opioid Deferred Cash Payments in accordance with the Plan, the

Opioid Deferred Cash Payments Terms, and the Opioid Deferred Cash Payments Documents; (d)

the execution of the New Governance Documents, the Opioid MDT II Documents, the Opioid

Creditor Trust Documents, the New Opioid Warrant Agreement, the Federal/State Acthar

Settlement Agreements, the New Term Loan Documentation, the New AR Revolving Facility

Documentation, the Takeback Second Lien Notes Documentation, the New Second Lien Notes

Documentation, the Opioid Deferred Cash Payments Documents, the Management Incentive Plan,

the Registration Rights Agreement, the New Takeback Term Loans Documentation, any other Exit

Financing Documents, the indenture, notes, and other documents governing the First Lien Notes;

(e) the issuance and delivery of the New Mallinckrodt Ordinary Shares, Takeback Second Lien

Notes, New Second Lien Notes, New Opioid Warrants, the New Credit Facilities, and the New

Takeback Term Loans; (f) implementation of the Restructuring Transactions; (g) the Opioid MDT

II Cooperation Agreement and the GUC Trust Cooperation Agreement; (h) the implementation of

the Opioid Operating Injunction; (i) selection of the Opioid MDT II Trustee(s), Opioid Creditor

Trustees, the General Unsecured Claims Trustee, and the Asbestos Trustee; and (j) all other acts

or actions contemplated, or reasonably necessary or appropriate to promptly consummate the

transactions contemplated by the Plan (whether to occur before, on, or after the Effective Date).

All matters provided for in the Plan involving the company structure of the Debtors, and any

company action required by the Debtors in connection therewith, shall be deemed to have occurred

on, and shall be in effect as of, the Effective Date, without any requirement of further action by

the security holders, directors, managers, authorized persons, or officers of the Debtors.




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       169.    Prior to, on and after the Effective Date, the appropriate officers, directors,

managers, or authorized persons of the Debtors, Reorganized Mallinckrodt, or any direct or

indirect subsidiaries of Reorganized Mallinckrodt (including any president, vice-president, chief

executive officer, treasurer, general counsel, secretary, or chief financial officer thereof) shall be

authorized to issue, execute, deliver, and perform under the agreements, documents, securities,

memoranda and articles of association, certificates of incorporation, certificates of formation,

bylaws, operating agreements, other organization documents, and instruments contemplated by the

Plan (or necessary or desirable to effect the transactions contemplated by the Plan) in the name of

and on behalf of the applicable Debtors or applicable Reorganized Debtors, including, without

limitation, the (a) New Governance Documents, (b) Opioid MDT II Documents and Opioid

Creditor Trust Documents, (c) New Opioid Warrant Agreement, (d) Takeback Second Lien Notes

Documentation, (e) New Term Loan Documentation, (f) New AR Revolving Facility

Documentation, (g) New Takeback Term Loans Documentation, (h) indenture, notes, and other

documents governing the First Lien Notes, (i) New Second Lien Notes Documentation, (j) the

Opioid MDT II Cooperation Agreement and the GUC Trust Cooperation Agreement, (k) the

Opioid Deferred Cash Payments Documents, (l) the obligations to make the Opioid Deferred Cash

Payments in accordance with the Plan, the Opioid Deferred Cash Payments Terms, and the Opioid

Deferred Cash Payments Documents, (m) the General Unsecured Claims Trust Documents and the

Asbestos Trust Documents, (n) any other Exit Financing Documents, and (o) any and all other

agreements, documents, securities, and instruments relating to or contemplated by the foregoing.

Prior to or on the Effective Date, each of the Debtors is authorized, in its sole discretion, to change

its name or corporate form and to take such other action as required to effectuate a change of name

or corporate form in the jurisdiction of incorporation of the applicable Debtor or Reorganized



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Debtor. To the extent the Debtors change their names or corporate form prior to the closing of the

Chapter 11 Cases, the Debtors shall change the case captions accordingly and shall file any

necessary documents or filings to effect the grant or perfection of any of the Liens granted by such

entities in respect of the New Credit Facilities, the New Takeback Term Loans, the First Lien

Notes, the Takeback Second Lien Notes, and the New Second Lien Notes to the extent required

by the terms thereof. The authorizations and approvals contemplated in this paragraph shall be

effective notwithstanding any requirements under any applicable non-bankruptcy law.

       S.      DIRECTORS    AND               OFFICERS;          LIABILITY         INSURANCE;
               INDEMNIFICATION

       170.    The indemnification obligations set forth in Article IV.E and the insurance

obligations set forth in Article IV.N of the Plan are approved. Without limiting the foregoing,

prior to the Effective Date, the Debtors shall undertake any necessary or advisable steps to have

the Reorganized Board in place immediately prior to the Effective Date. The occurrence of the

Effective Date will serve as ratification of the appointment of the Reorganized Board. The

Reorganized Board will initially consist of at least seven (7) members, which shall be comprised

of the Chief Executive Officer of the Reorganized Debtors, and six (6) other directors, which shall

be designated by the Required Supporting Unsecured Noteholders and approved by the then

existing board of directors, or if the then existing board of directors does not so approve, the

Reorganized Board will be deemed duly appointed pursuant to the Plan; provided, that, the

members of the Reorganized Board, other than the Reorganized Debtors’ Chief Executive Officer,

shall be independent under applicable listing standards and shall be independent of the Supporting

Unsecured Noteholders, unless the Governmental Plaintiff Ad Hoc Committee, the MSGE Group,

and the Debtors otherwise consent. Following the Effective Date, the Disinterested Managers shall

retain authority solely with respect to matters related to Professional Fee Claim requests by


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 Professionals acting at their authority and direction in accordance with the terms of the Plan. The

 Disinterested Managers, in such capacity, shall not have any of their respective privileged and

 confidential documents, communications or information transferred (or deemed transferred) to the

 Reorganized Debtors.

        171.    The Debtors have disclosed, solely to the extent such Persons are known and

 determined, the identity and affiliations of all Persons proposed to serve on the Reorganized Board.

 The occurrence of the Effective Date shall have no effect on the composition of the board of

 directors or managers of each of the subsidiary Debtors.

        172.    The existing officers of the Debtors as of the Effective Date shall remain in their

 current capacities as officers of the Reorganized Debtors, subject to the ordinary rights and powers

 of the Reorganized Board to remove or replace them in accordance with the New Governance

 Documents and any applicable employment agreements that are assumed pursuant to the Plan.

        173.    As of the Effective Date, each Reorganized Debtor’s memorandum and articles of

 association, bylaws, and other New Governance Documents shall, to the fullest extent permitted

 by applicable law, provide for the indemnification, defense, reimbursement, exculpation, and/or

 limitation of liability of, and advancement of fees and expenses to, current and former managers,

 directors, officers, equity holders, members, employees, accountants, investment bankers,

 attorneys, other professionals, or agents of the Debtors and such current and former managers’,

 directors’, officers’, equity holders’, members’, employees’, accountants’, investment bankers’,

 attorneys’, other professionals’ and agents’ respective Affiliates to the same extent as set forth in

 the Indemnification Provisions, against any claims or causes of action whether direct or derivative,

 liquidated or unliquidated, fixed, or contingent, disputed or undisputed, matured or unmatured,

 known or unknown, foreseen or unforeseen, asserted or unasserted. None of the Reorganized



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 Debtors shall amend and/or restate its memorandum and articles of association, certificate of

 incorporation, bylaws, or similar organizational document after the Effective Date to terminate or

 adversely affect, in relation to conduct occurring prior to the Effective Date, (a) any of the

 Indemnification Provisions or (b) the rights of such current and former managers, directors,

 officers, equity holders, members, employees, or agents of the Debtors and such current and former

 managers’, directors’, officers’, equity holders’, members’, employees’, and agents’ respective

 Affiliates referred to in the immediately preceding sentence.

        174.    On the Effective Date the Reorganized Debtors shall be deemed to have assumed

 all of the Debtors’ D&O Liability Insurance Policies (including any “tail policy” and all

 agreements, documents, or instruments related thereto) in effect prior to the Effective Date

 pursuant to sections 105 and 365(a) of the Bankruptcy Code, without the need for any further

 notice to or action, order, or approval of the Bankruptcy Court. Confirmation of the Plan shall not

 discharge, impair, or otherwise modify any indemnity obligations assumed by the foregoing

 assumption of the D&O Liability Insurance Policies, and each such indemnity obligation will be

 deemed and treated as an Executory Contract that has been assumed by the Debtors under the Plan

 as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the

 Reorganized Debtors shall retain the ability to supplement such D&O Liability Insurance Policies

 as the Debtors or Reorganized Debtors, as applicable, may deem necessary and in consultation

 with the Required Supporting Unsecured Noteholders.             For the avoidance of doubt, the

 Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance

 Policies is hereby approved.

        175.    On or after the Effective Date, none of the Reorganized Debtors shall terminate or

 otherwise reduce the coverage under any D&O Liability Insurance Policies (including any “tail



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 policy” and all agreements, documents, or instruments related thereto) in effect on or prior to the

 Effective Date, with respect to conduct occurring prior thereto, and all current and former directors,

 officers, and managers of the Debtors who served in such capacity at any time prior to the Effective

 Date shall be entitled to the full benefits of any such policies for the full term of such policies

 regardless of whether such current and former directors, officers, and managers remain in such

 positions after the Effective Date, all in accordance with and subject in all respects to the terms

 and conditions of the D&O Liability Insurance Policies, which shall not be altered.

        T.      OPIOID TRUSTS

        176.    Establishment and Purpose of the Opioid MDT II and Opioid Creditor Trusts.

 The Opioid MDT II and each of the Opioid Creditor Trusts shall be established as a trust under

 applicable state law for the purposes described in the Plan and the applicable Opioid MDT II

 Documents and Opioid Creditor Trust Documents, and shall be funded as and to the extent

 provided for in the Plan. The Opioid MDT II and each of the Opioid Creditor Trusts are being

 established to resolve or satisfy Opioid Claims and Opioid Demands. The purpose of the Opioid

 MDT II shall be to, among other things: (a) resolve all asserted Opioid Claims (including Opioid

 Demands) channeled to the Opioid MDT II in accordance with the Plan, Opioid MDT II

 Documents, and this Confirmation Order; (b) preserve, hold, collect, manage, maximize, and

 liquidate the assets of the Opioid MDT II for use in resolving Opioid Claims (including Opioid

 Demands) channeled to the Opioid MDT II and funding the Opioid Creditor Trusts; (c) enforce,

 pursue, prosecute, compromise, and/or settle the Assigned Third-Party Claims, Assigned

 Insurance Rights, and Share Repurchase Claims; (d) pay all Trust Expenses as provided, and

 defined, in the Opioid MDT II Documents (for which the Reorganized Debtors and the Released

 Parties shall have no responsibility or liability); (e) pay any and all administration and operating

 expenses of the Opioid MDT II, including the fees and expenses of any professionals retained by

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 the Opioid MDT II (for which the Estates, the Reorganized Debtors, and the Released Parties shall

 have no responsibility or liability); and (f) qualify at all times as a qualified settlement fund. The

 Opioid Creditor Trusts shall be established for the purposes described in the Plan and any other

 purposes more fully described in the Opioid Creditor Trust Documents. As set forth in the Plan,

 NOAT II, TAFT II, the Third-Party Payor Trust, the Hospital Trust, the Emergency Room

 Physician Trust, and the NAS Monitoring Trust shall be Abatement Trusts. Each Opioid Creditor

 Trust shall, as applicable and in each case, in accordance with the Plan, this Confirmation Order

 and the applicable Opioid Creditor Trust Documents: (a) hold, manage and invest all funds and

 other assets received by such Opioid Creditor Trust from the Opioid MDT II, in each case, for the

 benefit of the beneficiaries of such Opioid Creditor Trust; (b) hold and maintain required reserves

 for such Opioid Creditor Trust in accordance with the applicable Opioid Creditor Trust

 Documents; (c) administer, process, and resolve Opioid Claims channeled to such Opioid Creditor

 Trust, in each case as provided in the applicable Opioid Creditor Trust Documents, as set forth in

 Article IV.Y of the Plan; and (d) pay all applicable Opioid Creditor Trust Operating Expenses.

        177.    Approval of the Opioid MDT II and each of the Opioid Creditor Trusts and

 their respective Opioid MDT II Documents and Opioid Creditor Trust Documents. The

 Opioid MDT II and each of the Opioid Creditor Trusts, and the Opioid MDT II Documents and

 Opioid Creditor Trust Documents, copies of which are included with the Plan Supplement, are

 hereby approved. The sole recourse and source of distribution under the Plan of any State on

 account of any State Opioid Claim shall be a beneficial interest in NOAT II as and to the extent

 provided in the NOAT II Documents. On the Effective Date, the Opioid MDT II Documents shall

 be executed by the Debtors and the Opioid MDT II Trustee(s), and the Opioid MDT II shall be




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 created. The Opioid MDT II is intended to be a “qualified settlement fund” within the meaning of

 the Treasury Regulations issued under section 468B of the Internal Revenue Code.

        178.    Appointment of Trustee(s). The appointment of the initial Opioid MDT II

 Trustee(s) and each of the Opioid Creditor Trustee(s) in accordance with Article IV.U and IV.X

 of the Plan, respectively, is hereby approved.

        179.    Beneficiaries. Beneficiaries of the Opioid MDT II and each of the Opioid Creditor

 Trusts shall have only such rights and interests in and with respect to the applicable trust assets as

 set forth in the Plan and the applicable Opioid MDT II Documents and Opioid Creditor Trust

 Documents. The Opioid MDT II Trustee(s) and each of the Opioid Creditor Trustee(s) shall be

 entitled to take the actions set forth in, and in each case in accordance with, the Plan and the

 applicable Opioid MDT II Documents and Opioid Creditor Trust Documents. Except as provided

 in the Opioid MDT II Documents, Opioid Creditor Trust Documents or Article X of the Plan with

 respect to Opioid Claims, the Opioid MDT II and each of the Opioid Creditor Trusts shall be

 subject to the continuing jurisdiction of the Court.

        180.    Approval of the Implementation of Opioid Related Settlement Provisions in

 the Plan. Opioid settlement implementation provisions set forth in Articles IV.T-Y of the Plan

 are approved in their entirety.

        181.    The Opioid MDT II Cooperation Agreement. Notwithstanding anything to the

 contrary herein with respect to the Opioid MDT II Cooperation Agreement, on or before the

 Effective Date, the Opioid MDT II Cooperation Agreement shall be approved by a separate

 motion, upon reasonable and appropriate notice, and Court order. To the extent there is any direct

 conflict between the terms of the Plan, this Confirmation Order, and the Opioid MDT II

 Cooperation Agreement, the terms of the Opioid MDT II Cooperation Agreement shall control.



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 Nothing in the Plan or this Confirmation Order shall alter the rights of any parties under the

 Restructuring Support Agreement with respect to the Opioid MDT II Cooperation Agreement or

 the contents thereof.

        182.    Share Repurchase Claims. On and after the Effective Date, the Opioid MDT II

 shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute,

 enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any Share

 Repurchase Claim, and to decline to do any of the foregoing without the consent or approval of

 any third party or further notice to or action, order, or approval of the Bankruptcy Court; provided

 that the settlement, monetization, or disposition of the Share Repurchase Claims may not treat the

 holders of interests in such Share Repurchase Claims inconsistently without such holders’ consent

 or, if applicable, without offering such holders the right to participate in such settlement,

 monetization, or disposition.

        183.    Assigned Third-Party Claims and Assigned Insurance Rights Cooperation.

 During the pendency of the Chapter 11 Cases, the Debtors shall use reasonable best efforts to

 cooperate with counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE

 Group in connection with their investigation, preservation, pursuit, and securing of the Assigned

 Third-Party Claims and Assigned Insurance Rights, including by providing non-privileged

 information (including, without limitation, data, documents, emails, and access to individuals with

 information), at the reasonable request of counsel to the Governmental Plaintiff Ad Hoc

 Committee and counsel to the MSGE Group. The Debtors shall use reasonable best efforts to

 provide all available, non-privileged information relating to the Assigned Third-Party Claims and

 Assigned Insurance Rights to counsel to the Governmental Plaintiff Ad Hoc Committee, to counsel

 to the MSGE Group, and to counsel to the Future Claimants’ Representative during the Debtors’



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 bankruptcy cases or on or prior to the Effective Date. To the extent there is any direct conflict

 between the terms of this paragraph 183 of this Confirmation Order and the Plan, this paragraph

 183 controls.

        184.     Share Repurchase Claims Cooperation. During the pendency of the Chapter 11

 Cases, the Debtors shall use reasonable best efforts to cooperate with counsel to the Governmental

 Plaintiff Ad Hoc Committee, counsel to the MSGE Group, and counsel to the Official Committee

 of Opioid-Related Claimants in connection with their investigation, preservation, pursuit, and

 securing of the Share Repurchase Claims, including by providing non-privileged information

 (including, without limitation, data, documents, emails, and access to individuals with

 information), at the reasonable request of counsel to the Governmental Plaintiff Ad Hoc

 Committee, counsel to the MSGE Group, and counsel to the Official Committee of Opioid-Related

 Claimants. The Debtors shall use reasonable best efforts to provide all available, non-privileged

 information relating to the Share Repurchase Claims to counsel to the Governmental Plaintiff Ad

 Hoc Committee, counsel to the MSGE Group, counsel to the Official Committee of Opioid-

 Related Claimants, and counsel to the Future Claimants’ Representative during the Debtors’

 bankruptcy cases or on or prior to the Effective Date. To the extent there is any direct conflict

 between the terms of this paragraph 184 of this Confirmation Order and the Plan, this paragraph

 184 controls.

        185.     Industry-Wide Document Disclosure Program. The VI-Specific Debtors and/or

 the Reorganized VI-Specific Debtors shall participate in the industry-wide document disclosure

 program by disclosing publicly a subset of its litigation documents, as set forth in the Order (I)

 Approving the University of California, San Francisco Foundation and Johns Hopkins University

 as the Public Document Depository under Voluntary Injunction and (II) Authorizing Debtors to



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 Pay Their Allocable Share of Reasonable Costs and Expenses Related Thereto [Docket No. 3848]

 (the “Document Repository Order”), subject to the scope and protocols described in Article

 IV.AA of the Plan and the Document Repository Order, and such document disclosure program

 set forth in Article IV.AA of the Plan and the Document Repository Order is hereby approved in

 its entirety.

         U.      GENERAL UNSECURED CLAIMS TRUST

         186.    Establishment and Purpose of the General Unsecured Claims Trust. On the

 Effective Date, the General Unsecured Claims Trust shall be established in accordance with the

 Plan and the General Unsecured Claims Trust Documents. On the Effective Date, the General

 Unsecured Claims Trust Documents shall be executed by the Debtors and the General Unsecured

 Claims Trustee, as applicable, and the General Unsecured Claims Trust shall be created. The

 purpose of the General Unsecured Claims Trust shall be to, among other things: (a) resolve all

 Claims assumed thereby in accordance with the Plan, the General Unsecured Claims Trust

 Documents, and this Confirmation Order (but not, for the avoidance of doubt, (i) the Share

 Repurchase Claims, which will be liquidated by the Opioid MDT II or (ii) any Claims to the extent

 and for so long as they are asserted as any other classification or status of Claims except General

 Unsecured Claims and Trade Claims assumed by the General Unsecured Claims Trust under

 Article IV.HH.7 of the Plan); (b) preserve, hold, collect, manage, maximize, and liquidate the

 assets of the General Unsecured Claims Trust for use in resolving Claims assumed thereby; (c)

 enforce, pursue, prosecute, compromise, and/or settle the GUC Assigned Preference Claims and

 the GUC Assigned Sucampo Avoidance Claims; (d) pay all GUC Trust Expenses as provided in

 the General Unsecured Claims Trust Documents (for which the Estates, the Reorganized Debtors,

 and the Released Parties shall have no responsibility or liability); and (e) pay any and all

 administration and operating expenses of the General Unsecured Claims Trust, including the fees

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 and expenses of any professionals retained by the General Unsecured Claims Trust (for which the

 Estates, the Reorganized Debtors, and the Released Parties shall have no responsibility or liability).

        187.    Approval of the General Unsecured Claims Trust and the General Unsecured

 Claims Trust Documents. The General Unsecured Claims Trust and the General Unsecured

 Claims Trust Documents (other than the GUC Trust Cooperation Agreement), included in the Plan

 Supplement and filed with the Bankruptcy Court as of the date of entry of this Confirmation Order,

 and as may be subsequently modified, supplemented, or otherwise amended in a manner not

 inconsistent with the Plan pursuant to a filing with the Court prior to the Effective Date, are hereby

 approved. On the Effective Date, the General Unsecured Claims Trust Documents shall be

 executed by the Debtors and the applicable General Unsecured Claims Trustee, and the General

 Unsecured Claims Trust shall be created. Notwithstanding anything to the contrary in the Plan,

 the General Unsecured Claims Trust Documents, as included in the Plan Supplement and filed

 with the Bankruptcy Court as of the date of entry of this Confirmation Order, are approved in their

 entirety. For the avoidance of doubt, this paragraph shall not be construed to limit or otherwise

 restrict the Debtors from filing modified, supplemented, or otherwise amended General Unsecured

 Claims Trust Documents in the Plan Supplement prior to the Effective Date.

        188.    Appointment of General Unsecured Claims Trustee(s). The appointment of the

 General Unsecured Claims Trustee(s) in accordance with Article IV.HH of the Plan is hereby

 approved.

        189.    Beneficiaries. Beneficiaries of the General Unsecured Claims Trust shall have

 only such rights and interests in and with respect to the applicable trust assets as set forth in the

 Plan and the General Unsecured Claims Trust Documents. The General Unsecured Claims

 Trustee(s) shall be entitled to take the actions set forth in, and in each case in accordance with, the



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 Plan and the General Unsecured Claims Trust Documents. Except as provided in the General

 Unsecured Claims Trust Documents or Article X of the Plan with respect to General Unsecured

 Claims, the General Unsecured Claims Trust shall be subject to the continuing jurisdiction of the

 Court.

          190.   Approval of the Implementation of GUC Settlement Provisions in the Plan.

 The General Unsecured Claims Trust implementation provisions set forth in Article IV.HH of the

 Plan are approved in their entirety.

          191.   Cooperation. Notwithstanding anything to the contrary herein with respect to the

 GUC Trust Cooperation Agreement, on or before the Effective Date, the GUC Trust Cooperation

 Agreement shall be approved by a separate motion, upon reasonable and appropriate notice, and

 Court order. To the extent there is any direct conflict between the terms of the Plan, this

 Confirmation Order, and the GUC Trust Cooperation Agreement, the terms of the GUC Trust

 Cooperation Agreement shall control. During the pendency of the Chapter 11 Cases, the Debtors

 shall use reasonable best efforts to cooperate with counsel to the Official Committee of Unsecured

 Creditors in connection with their investigation, preservation, pursuit, and securing of the GUC

 Assigned Preference Claims and GUC Assigned Sucampo Avoidance Claims, including by

 providing non-privileged information (including, without limitation, data, documents, emails, and

 access to individuals with information), at the reasonable request of counsel to the Official

 Committee of Unsecured Creditors. The Debtors shall use reasonable best efforts to provide all

 available, non-privileged information relating to the GUC Assigned Preference Claims and GUC

 Assigned Sucampo Avoidance Claims to counsel to the Official Committee of Unsecured

 Creditors during the Debtors’ bankruptcy cases or on or prior to the Effective Date. Nothing herein

 shall limit the Debtors and the Official Committee of Unsecured Creditors, prior to the Effective



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 Date, from cooperating to resolve certain General Unsecured Claims on such terms as such parties

 deem reasonable and appropriate.

        V.      THE ASBESTOS TRUST

        192.    Establishment and Purpose of the Asbestos Trust. On the Effective Date, the

 Asbestos Trust shall be established in accordance with the Plan and the Asbestos Trust Documents.

 The Asbestos Trust shall be a separate trust to which, on the Effective Date, all Asbestos Claims

 shall be channeled for the benefit of the Holders of Asbestos Claims, to be administered by the

 Asbestos Trustee. On the Effective Date, the Asbestos Trust Documents shall be executed by the

 Debtors and the Asbestos Trustee, as applicable, and the Asbestos Trust shall be created. The

 purpose of the Asbestos Trust shall be to, among other things: (1) resolve all Asbestos Claims

 assumed thereby in accordance with the Plan, the Asbestos Trust Documents, and this

 Confirmation Order; (2) preserve, hold, collect, manage, and maximize the assets of the Asbestos

 Trust for use in resolving Asbestos Claims; (3) pay all Asbestos Trust Expenses as provided in the

 Asbestos Trust Documents (for which the Estates, the Reorganized Debtors, and the Released

 Parties shall have no responsibility or liability); (4) pay any and all administration and operating

 expenses of the Asbestos Trust, including the fees and expenses of any professionals retained by

 the Asbestos Trust (for which the Estates, the Reorganized Debtors, and the Released Parties shall

 have no responsibility or liability); and (5) qualify at all times as a qualified settlement fund.

        193.    Approval of the Asbestos Trust and the Asbestos Trust Documents. The

 Asbestos Trust and the Asbestos Trust Documents, including without limitation those included

 with the Plan Supplement, and as may be subsequently modified, supplemented, or otherwise

 amended pursuant to a filing with the Court prior to the Effective Date, are hereby approved. On

 the Effective Date, the Asbestos Trust Documents shall be executed by the Debtors and the

 applicable Asbestos Trustee(s), and the Asbestos Trust shall be created. The Asbestos Trust is

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 intended to be a “qualified settlement fund” within the meaning of the Treasury Regulations issued

 under section 468B of the Internal Revenue Code, separate from the General Unsecured Claims

 Trust. Notwithstanding anything to the contrary in the Plan, the Asbestos Trust Documents, as

 included in the Plan Supplement, are approved in their entirety.

        194.    Appointment of Asbestos Trustee(s). The appointment of the Asbestos Trustee(s)

 in accordance with Article IV.II of the Plan is hereby approved.

        195.    Beneficiaries. Beneficiaries of the Asbestos Trust shall have only such rights and

 interests in and with respect to the applicable trust assets as set forth in the Plan and the Asbestos

 Trust Documents. The Asbestos Trustee(s) shall be entitled to take the actions set forth in, and in

 each case in accordance with, the Plan and the Asbestos Trust Documents. Except as provided in

 the Asbestos Trust Documents or Article X of the Plan with respect to Asbestos Claims, the

 Asbestos Trust shall be subject to the continuing jurisdiction of the Court.

        196.    Asbestos Claims Allowance. All Asbestos Claims will be channeled to the

 Asbestos Trust and resolved by the Asbestos Trustee pursuant to the Asbestos Trust Documents.

 Because Asbestos Claims will be administered by the Asbestos Trust, the Asbestos Trustee will

 process and pay Asbestos Claims without the need or requirement to file claim objections or seek

 allowance or disallowance of claims by the Court pursuant to section 502 of the Bankruptcy Code.

 Asbestos Late Claims, will be assumed by the General Unsecured Claims Trust and will be

 resolved by the General Unsecured Claims Trustee. Holders of disallowed Asbestos Claims shall

 have no recourse to the Asbestos Trust, the Debtors or their Estates, the Reorganized Debtors,

 NewCo, any NewCo Subsidiaries, or the Released Parties in respect of such disallowed Asbestos

 Claims. Only the Asbestos Trustee shall be entitled to object to the Asbestos Claims, and, for the




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 avoidance of doubt, only the General Unsecured Claims Trustee is entitled to object to the Asbestos

 Late Claims in the manner set forth in Article IV.HH.8 of the Plan.

         197.      Approval of the Implementation of Asbestos Trust Provisions in the Plan. The

 Asbestos Trust implementation provisions set forth in Article IV.II of the Plan are approved in

 their entirety.

         W.        THE MONITOR

         198.      The appointment of the Monitor for a term of five years from the Petition Date is

 hereby approved pursuant to the terms of the Plan and Article IV.BB therein. If, at the conclusion

 of the Monitor’s five-year term, the Settling States determine in good faith and in consultation

 with the Monitor that the Reorganized VI-Specific Debtors have failed to achieve and maintain

 substantial compliance with the substantive provisions of the Opioid Operating Injunction, the

 Monitor’s engagement shall be extended for an additional term of up to two years, subject to the

 right of the Reorganized VI-Specific Debtors to commence legal proceedings for the purpose of

 challenging the decision of the Settling States and to seek preliminary and permanent injunctive

 relief with respect thereto. The Monitor shall be the Chapter 11 Monitor in place as of the Effective

 Date unless justifiable cause exists and the Monitor Agreement shall remain in full force and effect

 upon the Effective Date, unless amended or superseded by further order of the Court. The Monitor-

 related provisions set forth in Article IV.BB of the Plan are approved in their entirety.

         X.        FEDERAL/STATE ACTHAR SETTLEMENT

         199.      As of the Effective Date, the Federal/State Acthar Settlement Agreements shall be

 executed by Parent, Mallinckrodt ARD LLC, the U.S. Government, and the States. On the

 Effective Date or as soon as reasonably practicable thereafter, the Debtors and/or the Reorganized

 Debtors shall make the Initial Federal/State Acthar Settlement Payment, and thereafter, the

 Reorganized Debtors shall make each of the Federal/State Acthar Deferred Cash Payments;

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 provided, that except as otherwise expressly set forth in any of the Federal/State Acthar Settlement

 Agreements executed by any State, the Initial Federal/State Acthar Settlement Payment and

 Federal/State Acthar Deferred Cash Payments shall bear interest accruing at an annual rate of

 0.6255%, running from September 21, 2020, in eight installments.

         Y.     CO-DEFENDANTS

         200.   Co-Defendant Contracts. The Court hereby approves Article V.G of the Plan.

         201.   Co-Defendant Defensive Rights. The Court hereby approves Article IX.N of the

 Plan.

         Z.     EMPLOYMENT AND BENEFIT ARRANGEMENTS

         202.   Subject to the provisions of the Plan, all Compensation and Benefits Programs

 (other than awards of stock options, restricted stock, restricted stock units, and other equity awards)

 shall be treated as Executory Contracts under the Plan and deemed assumed on the Effective Date

 pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim

 Filed for amounts due under any Compensation and Benefits Program shall be considered satisfied

 by the applicable agreement and/or program and agreement to assume and cure in the ordinary

 course as provided in the Plan. All collective bargaining agreements to which any Debtor is a

 party, and all Compensation and Benefits Programs which are maintained pursuant to such

 collective bargaining agreements or to which contributions are made or benefits provided pursuant

 to a current or past collective bargaining agreement, will be deemed assumed on the Effective Date

 pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code and the Reorganized

 Debtors reserve all of their rights under such agreements. For the avoidance of doubt, the Debtors

 and Reorganized Debtors, as applicable, shall honor all their obligations under section 1114 of the

 Bankruptcy Code. None of the Restructuring, the Restructuring Transactions, or any assumption

 of Compensation and Benefits Programs pursuant to the terms herein shall be deemed to trigger

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 any applicable change of control, vesting, termination, acceleration or similar provisions therein.

 No counterparty shall have rights under a Compensation and Benefits Program assumed pursuant

 to the Plan other than those applicable immediately prior to such assumption.

          203.     As of the Effective Date, except as set forth in the Plan Supplement, the Debtors

 and the Reorganized Debtors shall continue to honor their obligations under: (a) all applicable

 state workers’ compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of

 Claims filed by the Debtors’ current or former employees on account of workers’ compensation

 shall be deemed withdrawn automatically and without any further notice to or action, order, or

 approval of the Bankruptcy Court based upon the treatment provided for herein; provided that

 nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’

 defenses, Causes of Action, or other rights under applicable non-bankruptcy law with respect to

 the Workers’ Compensation Contracts; provided, further, that nothing in the Plan shall be deemed

 to impose any obligations on the Debtors in addition to what is provided for under applicable non-

 bankruptcy law and/or the Workers’ Compensation Contracts.

          AA.      DISCHARGE OF CLAIMS, OPIOID DEMANDS, AND INTERESTS;
                   COMPROMISE AND SETTLEMENT OF CLAIMS, OPIOID DEMANDS,
                   AND INTERESTS

          204.     The Court hereby approves Article IX.A of the Plan, which provides:15 Pursuant

 to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and except as

 otherwise specifically provided in the Plan, the distributions, rights, and treatment that are

 provided in the Plan shall be in full and final satisfaction, settlement, release, and discharge,

 effective as of the Effective Date, of all Claims, Opioid Claims, Opioid Demands, and Interests of




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      To the extent of a conflict between this Section II.AA of this Confirmation Order and the Plan, the Plan controls.


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 any nature whatsoever, whether known or unknown, against, liabilities of, demands against, Liens

 on, obligations of, or rights against the Debtors, the Reorganized Debtors, or any of their assets or

 properties, regardless of whether any property shall have been distributed or retained pursuant to

 the Plan on account of such Claims, Opioid Claims, Opioid Demands, or Interests, including

 demands, liabilities, and Causes of Action that arose before the Effective Date, any contingent or

 non-contingent liability on account of representations or warranties issued on or before the

 Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the

 Bankruptcy Code, in each case whether or not: (1) a Proof of Claim is Filed or deemed Filed

 pursuant to section 501 of the Bankruptcy Code; (2) a Claim, Opioid Claim, Opioid Demand, or

 Interest is Allowed; or (3) the Holder of such Claim, Opioid Claim, Opioid Demand, or Interest

 has accepted the Plan. For the avoidance of doubt, the Claims against the Debtors, the Reorganized

 Debtors, and any of their assets and properties discharged pursuant to the Plan shall include (y)

 any Claims to the extent based on any assertion that the Wholesale Product Purchase Agreement

 (as in effect immediately prior to the Effective Date and including any prior versions of such

 agreement) between Mallinckrodt ARD LLC and Priority Healthcare Distribution, Inc., and/or the

 Debtors’ (or any predecessor’s) pre-Effective Date performance thereunder consistent with its

 terms, constitute an anticompetitive agreement or other anticompetitive conduct under applicable

 law, and (z) any Claims based on pre-Effective Date sales of Acthar Gel to the extent based on any

 assertion that the Debtors’ (or any predecessor’s) acquisition by license and maintenance of any

 rights to Synacthen Depot and related assets constitute anticompetitive conduct under applicable

 law. Except as otherwise provided herein, any default by the Debtors with respect to any Claim,

 Opioid Claim, or Interest that existed immediately prior to or on account of the filing of the Chapter

 11 Cases shall be deemed cured on the Effective Date. This Confirmation Order shall be a judicial



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 determination of the discharge of all Claims, Opioid Demands, and Interests subject to the

 Effective Date occurring, except as otherwise expressly provided in the Plan. For the avoidance

 of doubt, nothing in this Article IX.A shall affect the rights of Holders of Claims and Interests to

 seek to enforce the Plan, including the distributions to which Holders of Allowed Claims and

 Interests may be entitled to under the Plan.

          205.     In consideration for the distributions and other benefits provided pursuant to the

 Plan, the provisions of the Plan shall constitute a good faith compromise of all Claims, Opioid

 Demands, Interests and controversies relating to the contractual, legal, and subordination rights

 that a Holder of a Claim or Interest may have with respect to any Allowed Claim or Interest, or

 any distribution to be made on account of such Allowed Claim or Interest. The entry of this

 Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or

 settlement of all such Claims, Opioid Demands, Interests and controversies, as well as a finding

 by the Bankruptcy Court that such compromises or settlements are in the best interests of the

 Debtors, their Estates, and Holders of Claims and Interests and are fair, equitable, and reasonable.

 The Co-Defendant Defensive Rights shall not be waived, released, altered, impaired, or discharged

 and all Co-Defendant Defensive Rights are preserved, as provided in Article IX.N of the Plan.

          206.     For the avoidance of doubt, any Asbestos Claims against the Debtors shall be

 discharged upon the Effective Date to the maximum extent permitted by law.

          BB.      RELEASES BY THE DEBTORS

          207.     The Court hereby approves Article IX.B of the Plan, which provides:16 Pursuant to

 section 1123(b) of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy




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      To the extent of a conflict between this Section II.BB of this Confirmation Order and the Plan, the Plan controls.


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 Code), as of the Effective Date, for good and valuable consideration, the adequacy of which is

 hereby confirmed, including, without limitation, the service of the Released Parties before and

 during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring

 Support Agreement) and the restructuring, and except as otherwise explicitly provided in the Plan

 or in this Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,

 unconditionally, irrevocably and forever released and discharged, to the maximum extent

 permitted by law, as such law may be extended subsequent to the Effective Date, by the Debtors

 and the Estates from any and all Claims, counterclaims, disputes, obligations, suits, judgments,

 damages, demands, debts, rights, Causes of Action, liens, remedies, losses, contributions,

 indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative

 claims, asserted or assertable on behalf of the Debtors or their Estates, whether liquidated or

 unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or

 unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether

 in law or equity, whether sounding in tort or contract, whether arising under federal or state

 statutory or common law, or any other applicable international, foreign, or domestic law, rule,

 statute, regulation, treaty, right, duty, requirement or otherwise, that the Debtors or their Estates

 would have been legally entitled to assert in their own right (whether individually or collectively)

 or on behalf of the Holder of any Claim or Equity Interest or other person, based on or relating to,

 or in any manner arising from, in whole or in part, the Debtors (including the management,

 ownership, or operation thereof and as such Entities existed prior to or after the Petition Date),

 their Estates, the Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases),

 the purchase, sale, or rescission of the purchase or sale of any security or indebtedness of the

 debtors, the subject matter of, or the transactions or events giving rise to, any Claim or Equity



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 Interest that is treated in the Plan, litigation claims arising from historical intercompany

 transactions between or among a Debtor and another Debtor, the business or contractual

 arrangements between any Debtor and any Released Party (including the exercise of any common

 law or contractual rights of setoff or recoupment by any Released Party at any time on or prior to

 the Effective Date), the restructuring of any Claim or Equity Interest before or during the Chapter

 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation, dissemination, filing,

 or implementation of, prior to the Effective Date, the Definitive Documents, the Opioid MDT II,

 Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor Trust Documents, the

 “agreement in principle for global opioid settlement and associated debt refinancing activities”

 announced by the Parent on February 25, 2020 and all matters and potential transactions described

 therein, the Restructuring Support Agreement (including any amendments and/or joinders thereto)

 and related prepetition and postpetition transactions, the Disclosure Statement, the Plan, the Plan

 Supplement, any Restructuring Transaction, any agreement, instrument, release, and other

 documents (including providing any legal opinion requested by any Entity regarding any

 transaction, contract, instrument, document, or other agreement contemplated by the Plan or the

 reliance by any Released Party on the Plan or this Confirmation Order in lieu of such legal opinion)

 created or entered into prior to the Effective Date in connection with the creation of the Opioid

 MDT II, the Opioid Creditor Trusts, the “agreement in principle for global opioid settlement and

 associated debt refinancing activities” announced by the Parent on February 25, 2020, the

 Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement,

 the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit

 of confirmation (including the solicitation of votes on the Plan), the pursuit of consummation, the

 administration and implementation of the Plan, including the issuance or distribution of Securities



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 pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,

 or upon the business or contractual arrangements between any Debtor and any Released Party, and

 any other act or omission, transaction, agreement, event, or other occurrence or circumstance

 taking place on or before the Effective Date related or relating to any of the foregoing; provided,

 however, that the Debtors do not release, and the Opioid MDT II shall retain, all Assigned Third-

 Party Claims and Assigned Insurance Rights; provided, further, that the Debtors do not release

 Claims or Causes of Action against Released Co-Defendants that (i) are commercial in nature, and

 (ii) are unrelated to the Chapter 11 Cases or the subject matter of a Pending Opioid Action;

 provided, further, that the Debtors do not release, Claims or Causes of Action arising out of, or

 related to, any act or omission of a Released Party that is determined by Final Order of the

 Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,

 gross negligence, or willful misconduct. The foregoing release will be effective as of the Effective

 Date without further notice to or order of the Bankruptcy Court, act or action under applicable law,

 regulation, order, or rule or the vote, consent, authorization or approval of any person and this

 Confirmation Order shall permanently enjoin the commencement or prosecution by any person,

 whether directly, derivatively or otherwise, of any Claims, obligations, suits, judgments, damages,

 demands, debts, rights, Causes of Action, or liabilities released pursuant to this Debtor Release.

 Notwithstanding anything to the contrary in the foregoing, (x) the releases by the Debtors set forth

 above do not release any post-Effective Date obligations of any party or Entity under the Plan, any

 restructuring, any document, instrument, or agreement (including those set forth in the Plan

 Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to the

 Plan, and (y) with respect to the Released Co-Defendants, nothing in Article IX.B of the Plan shall

 release any Estate Surviving Pre-Effective Date Claim. The foregoing release will be effective as



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 of the Effective Date without further notice to or order of the Bankruptcy Court, act or action under

 applicable law, regulation, order, or rule or the vote, consent, authorization, or approval of any

 person, and this Confirmation Order shall permanently enjoin the commencement or prosecution

 by any person, whether directly, derivatively, or otherwise, of any Claims, obligations, suits,

 judgments, damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to

 the foregoing release.

        208.    The Reorganized Debtors, the Opioid MDT II, and the Opioid Creditor Trusts shall

 be bound, to the same extent the Debtors are bound, by the releases set forth in Article IX.B of the

 Plan. For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act

 or omission of a Released Party prior to the Effective Date that is determined by Final Order of

 the Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,

 gross negligence, or willful misconduct, including findings after the Effective Date, are not

 released pursuant to Article IX.B of the Plan.

        209.    Entry of this Confirmation Order shall constitute the Bankruptcy Court’s approval,

 pursuant to Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article IX.B of the

 Plan, which includes by reference each of the related provisions and definitions contained herein,

 and further shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for

 the good and valuable consideration provided by the Released Parties; (b) a good faith settlement

 and compromise of the Claims released by the Debtor Release; (c) in the best interests of the

 Debtors, their Estates and all Holders of Claims and Equity Interests; (d) fair, equitable and

 reasonable; (e) given and made after due notice and opportunity for hearing; and (f) a bar to any

 Entity or person asserting any Claim or Cause of Action released by Article IX.B of the Plan. The




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 foregoing shall apply equally and with the same force and effect to any release by the Debtors in

 the Rebate Claims State Settlement Agreement (defined below).

          CC.      RELEASES BY NON-DEBTOR RELEASING PARTIES OTHER THAN
                   OPIOID CLAIMANTS

          210.     The Court hereby approves Article IX.C of the Plan, which provides:17 Pursuant to

 section 1123(b) of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy

 Code), as of the Effective Date, for good and valuable consideration, the adequacy of which is

 hereby confirmed, including, without limitation, the service of the Released Parties before and

 during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring

 Support Agreement) and restructuring, and except as otherwise explicitly provided in the Plan or

 in this Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,

 unconditionally, irrevocably and forever released and discharged, to the maximum extent

 permitted by law, as such law may be extended subsequent to the Effective Date, except as

 otherwise explicitly provided herein, by the Non-Debtor Releasing Parties, in each case, from any

 and all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands, debts,

 rights, Causes of Action, liens, remedies, losses, contributions, indemnities, costs, liabilities,

 attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or assertable

 on behalf of the Debtors or their Estates, whether liquidated or unliquidated, fixed or contingent,

 matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued

 or unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding in tort or

 contract, whether arising under federal or state statutory or common law, or any other applicable



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      To the extent of a conflict between this Section II.CC of this Confirmation Order and the Plan, the Plan controls.
      This paragraph 210 is a direct recitation of Article IX.C of the Plan and is not intended to make any additional
      findings of fact and conclusions of law endorsed by the Bankruptcy Court.


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 international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or

 otherwise, that such Holders or their Estates, Affiliates, heirs, executors, administrators,

 successors, assigns, managers, accountants, attorneys, representatives, consultants, agents, and any

 other persons or parties claiming under or through them would have been legally entitled to assert

 in their own right (whether individually or collectively) or on behalf of the Holder of any Claim

 or Equity Interest or other person, based on or relating to, or in any manner arising from, in whole

 or in part, the Debtors (including the management, ownership, or operation thereof and as such

 entities existed prior to or after the Petition Date), their Estates, the Debtors’ in- or out-of-court

 restructuring efforts (including the Chapter 11 Cases), the purchase, sale, or rescission of the

 purchase or sale of any Security or indebtedness of the Debtors, the subject matter of, or the

 transactions or events giving rise to, any Claim or Equity Interest that is treated in the Plan,

 litigation claims arising from historical intercompany transactions between or among a Debtor and

 another Debtor, the business or contractual arrangements or interactions between any Debtor and

 any Released Party (including the exercise of any common law or contractual rights of setoff or

 recoupment by any Released Party at any time on or prior to the Effective Date), the restructuring

 of any Claim or Equity Interest before or during the Chapter 11 Cases, any Avoidance Actions,

 the negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the

 Effective Date, the Definitive Documents, the Opioid MDT II, the Opioid MDT II Documents, the

 Opioid Creditor Trust, the Opioid Creditor Trust Documents, the “agreement in principle for global

 opioid settlement and associated debt refinancing activities” announced by the Parent on February

 25, 2020 and all matters and potential transactions described therein, the Restructuring Support

 Agreement (including any amendments and/or joinders thereto) and related prepetition and

 postpetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, any



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 Restructuring Transaction, any agreement, instrument, release, and other documents (including

 providing any legal opinion requested by any Entity regarding any transaction, contract,

 instrument, document, or other agreement contemplated by the Plan or the reliance by any

 Released Party on the Plan or this Confirmation Order in lieu of such legal opinion) created or

 entered into prior to the Effective Date in connection with the creation of the Opioid MDT II, the

 Opioid Creditor Trusts, the prepetition documents, the “agreement in principle for global opioid

 settlement and associated debt refinancing activities” announced by the Parent on February 25,

 2020, the Restructuring Support Agreement (including any amendments and/or joinders thereto)

 and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, the

 Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of confirmation (including the

 solicitation of votes on the Plan), the pursuit of consummation, the administration and

 implementation of the Plan, including the issuance or distribution of Securities pursuant to the

 Plan, or the distribution of property under the Plan or any other related agreement, or upon the

 business or contractual arrangements between any Debtor and any Released Party, and any other

 act or omission, transaction, agreement, event, or other occurrence or circumstance taking place

 on or before the Effective Date related or relating to any of the foregoing, other than Claims or

 Causes of Action arising out of, or related to, any act or omission of a Released Party that is

 determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction to

 have constituted actual fraud, gross negligence or willful misconduct. For the avoidance of doubt,

 Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party

 prior to the Effective Date that is determined by Final Order of the Bankruptcy Court or any other

 court of competent jurisdiction to have constituted actual fraud, gross negligence, or willful

 misconduct, including findings after the Effective Date, are not released pursuant to Article IX.C



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 of the Plan. Notwithstanding anything to the contrary in the foregoing, the releases by the Non-

 Debtor Releasing Parties set forth above do not release any post-Effective Date obligations of any

 party or Entity under the Plan, any restructuring, any document, instrument, or agreement

 (including those set forth in the Plan Supplement) executed to implement the Plan, or any Claims

 which are reinstated pursuant to the Plan. The foregoing release will be effective as of the Effective

 Date without further notice to or order of the Bankruptcy Court, act or action under applicable law,

 regulation, order, or rule or the vote, consent, authorization, or approval of any person, and this

 Confirmation Order shall permanently enjoin the commencement or prosecution by any person,

 whether directly, derivatively, or otherwise, of any Claims, obligations, suits, judgments, damages,

 demands, debts, rights, Causes of Action, or liabilities released pursuant to the foregoing release.

 Notwithstanding anything herein to the contrary, Released Co-Defendants shall not be Released

 Parties for purposes of Article IX.C of the Plan. As a matter of clarification, the claims released

 by the Released Co-Defendants pursuant to Article IX.C shall not include any counterclaims, cross

 claims or other claims not directly arising from Mallinckrodt’s restructuring or these chapter 11

 cases that the Released Co-Defendants may have against any Released Party in connection with

 any Pending Opioid Action or future action similar thereto, including any pending or future Opioid

 Action involving Mallinckrodt.

        211.    Notwithstanding anything to the contrary herein, nothing in the Plan or

 Confirmation Order shall (x) release, discharge, or preclude the enforcement of any criminal

 liability of a Released Party to a Governmental Unit arising out of, or relating to, any act or

 omission of a Released Party prior to the Effective Date that is determined by Final Order of the

 Bankruptcy Court or any other court of competent jurisdiction to have constituted a criminal act;

 (y) release or discharge a consultant or expert having been retained to provide strategic advice for



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 sales and marketing of opioid products who has received a civil investigative demand or other

 subpoena related to sales and marketing of opioid products from any state attorney general on or

 after January 1, 2019 through the Petition Date; or (z) preclude the Governmental Units that are

 plaintiffs in Connecticut et al., v. Sandoz, Inc. et al., Case No. 2:20-cv-03539 (E.D. Pa.) from

 seeking injunctive relief in such pending action governing future conduct of the Debtors or the

 Reorganized Debtors, as applicable, that would not otherwise be discharged under the Bankruptcy

 Code. It is further understood and agreed that, pursuant to clause (z), the Governmental Units are

 not precluded from introducing or relying on facts or evidence occurring during the time period

 prior to the Confirmation Date in support of the request for future injunctive relief and the Debtors’

 and Reorganized Debtors’ rights to object on any evidentiary grounds are reserved thereto.

        212.    Notwithstanding any language to the contrary contained in the Disclosure

 Statement, Plan or Confirmation Order, no provision shall (i) preclude the SEC from enforcing its

 police or regulatory powers; or, (ii) enjoin, limit, impair or delay the SEC from commencing or

 continuing any claims, causes of action, proceeding or investigations against any non-Debtor

 person or non-Debtor entity in any forum.

        213.    Entry of this Confirmation Order shall constitute the Bankruptcy Court’s approval,

 pursuant to Bankruptcy Rule 9019, of the releases by the Non-Debtor Releasing Parties set forth

 in Article IX.C of the Plan, which includes by reference each of the related provisions and

 definitions contained herein, and further shall constitute the Bankruptcy Court’s finding that such

 release is: (a) consensual; (b) given and made after due notice and opportunity for hearing; (c)

 within the jurisdiction of the Bankruptcy Court pursuant to 28 U.S.C. § 1334; (d) appropriately

 narrow in scope; (e) essential to the formulation, confirmation, and implementation of the Plan;




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 and (f) a bar to any Entity or person asserting any Claim or Cause of Action released by

 Article IX.C of the Plan.

          214.     Upon the Effective Date, all pre-Effective Date injunctions and stays, including

 without limitation the automatic stay under 11 U.S.C. §§ 362 and 105 as extended to third-parties

 by the Court, shall as to Claims and Causes of Action not released under Article IX.C of the Plan

 be dissolved and vacated without the need for further order of the Court.

          DD.      RELEASES BY HOLDERS OF OPIOID CLAIMS

          215.     The Court hereby approves Article IX.D of the Plan, which provides:18

 Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the

 Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the Effective

 Date, for good and valuable consideration, the adequacy of which is hereby confirmed, including,

 without limitation, the service of the Protected Parties before and during the Chapter 11 Cases to

 facilitate the Opioid Settlement (as defined in the Restructuring Support Agreement) and

 restructuring, each Opioid Claimant (in its capacity as such) is deemed to have released and

 discharged, to the maximum extent permitted by law, as such law may be extended subsequent to

 the Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all Claims

 (including Opioid Claims and Opioid Demands), counterclaims, disputes, obligations, suits,

 judgments, damages, demands, debts, rights, Causes of Action, liens, remedies, losses,

 contributions, indemnities, costs, liabilities, or attorneys’ fees and expenses whatsoever, including

 any derivative claims asserted, or assertable on behalf of the Debtors, or their Estates, whether

 liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,




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      To the extent of a conflict between this Section II.DD of this Confirmation Order and the Plan, the Plan controls.


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 foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter

 arising, whether in law or equity, whether sounding in tort or contract, whether arising under

 federal or state statutory or common law, or any other applicable international, foreign, or domestic

 law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that such entity would

 have been legally entitled to assert in their own right (whether individually or collectively) or on

 behalf of any other person, based on or relating to, or in any manner arising from, in whole or in

 part, the Debtors (including the management, ownership, or operation thereof and as such Entities

 existed prior to or after the Petition Date), their Estates, the Opioid Claims (including Opioid

 Demands), the Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases),

 intercompany transactions between or among a Debtor and another Debtor, the restructuring of

 any Claim or Equity Interest before or during the Chapter 11 Cases, any Avoidance Actions, the

 negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the

 Effective Date, the Opioid MDT II, the Opioid MDT II Documents, the Opioid Creditor Trusts,

 the Opioid Creditor Trust Documents, the “agreement in principle for global opioid settlement and

 associated debt refinancing activities” announced by the Parent on February 25, 2020 and all

 matters and potential transactions described therein, the Restructuring Support Agreement

 (including any amendments and/or joinders thereto) and related prepetition transactions, the

 Disclosure Statement, the Plan, the Plan Supplement, any Restructuring Transaction, or any

 contract, instrument, release, or other agreement or document (including providing any legal

 opinion requested by any Entity regarding any transaction, contract, instrument, document, or

 other agreement contemplated by the Plan or the reliance by any Protected Party on the Plan or

 this Confirmation Order in lieu of such legal opinion) created or entered into prior to the Effective

 Date in connection with the creation of the Opioid MDT II, the Opioid Creditor Trusts, the



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 “agreement in principle for global opioid settlement and associated debt refinancing activities”

 announced by the Parent on February 25, 2020, the Restructuring Support Agreement (including

 any amendments and/or joinders thereto) and related prepetition transactions, the Disclosure

 Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases,

 the pursuit of confirmation (including the solicitation of votes on the Plan), the pursuit of

 consummation, the administration and implementation of the Plan, including the issuance or

 distribution of securities pursuant to the Plan, or the distribution of property under the Plan or any

 other related agreement, or upon the business or contractual arrangements between any Debtor and

 any Protected Party, or upon any other act or omission, transaction, agreement, event, or other

 occurrence or circumstance taking place on or before the Effective Date related or relating to any

 of the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases by the

 Opioid Claimants set forth above (a) do not release any post-Effective Date obligations of any

 party or Entity under the Plan, any post-Effective Date transaction contemplated by the

 restructuring, or any document, instrument, or agreement (including those set forth in the Plan

 Supplement) executed to implement the Plan, or any claims or causes of actions against any co-

 defendant of the Debtors (other than any Protected Party) in any opioid-related litigation and (b)

 with respect to Co-Defendants and their Co-Defendant Related Parties, do not affect or alter (x)

 any treatment expressly set forth in Article III or Article V.G. of the Plan, (y) the preservation of

 Co-Defendant Defensive Rights as set forth in the Plan, including, without limitation, in Article

 IX.N of the Plan, or (z) any related substantive language set forth in the defined terms applicable

 to the foregoing clauses (x) or (y), as set forth in Article I of the Plan. The foregoing release will

 be effective as of the Effective Date without further notice to or order of the Bankruptcy Court, act

 or action under applicable law, regulation, order, or rule or the vote, consent, authorization, or



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 approval of any person, and this Confirmation Order shall permanently enjoin the commencement

 or prosecution by any person, whether directly, derivatively, or otherwise, of any Claims,

 obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or liabilities

 released pursuant to the foregoing release by Opioid Claimants. Notwithstanding anything herein

 to the contrary, Released Co-Defendants shall not be Protected Parties under the Plan.

        216.    Entry of this Confirmation Order shall constitute the Bankruptcy Court’s approval,

 pursuant to Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by

 reference each of the related provisions and definitions contained herein, and, further, shall

 constitute the Bankruptcy Court’s finding that this release is: (1) essential to the confirmation of

 the Plan; (2) given in exchange for the good and valuable consideration provided by the Protected

 Parties; (3) a good-faith settlement and compromise of the Claims released by Article IX.D of the

 Plan; (4) in the best interests of the Debtors, their Estates, and all Opioid Claimants; (5) fair,

 equitable, and reasonable; (6) given and made after due notice and opportunity for hearing; and

 (7) a bar to any Opioid Claimant asserting any Claim or Cause of Action released pursuant to

 Article IX.D of the Plan.

        217.    For the avoidance of doubt, Claims or Causes of Action arising out of, or related

 to, any act or omission of a Protected Party prior to the Effective Date that is determined by Final

 Order of the Bankruptcy Court or any other court of competent jurisdiction to have constituted

 actual fraud, gross negligence, or willful misconduct, including findings after the Effective Date,

 are not released pursuant to article IX.D of the Plan. Notwithstanding anything to the contrary in

 the foregoing, the releases by the Opioid Claimants set forth above do not release any post-

 Effective Date obligations of any party or Entity under the Plan, any restructuring, any document,




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 instrument, or agreement (including those set forth in the Plan Supplement) executed to implement

 the Plan, or any Claims which are reinstated pursuant to the Plan.

          218.     Notwithstanding anything to the contrary herein, nothing in the Plan or

 Confirmation Order shall (x) release, discharge, or preclude the enforcement of any liability of a

 Protected Party to a Governmental Unit arising out of, or relating to, any act or omission of a

 Protected Party prior to the Effective Date that is determined by Final Order of the Bankruptcy

 Court or any other court of competent jurisdiction to have constituted a criminal act perpetrated

 by the applicable Protected Party; or (y) release or discharge a consultant or expert having been

 retained to provide strategic advice for sales and marketing of opioid products who has received a

 civil investigative demand or other subpoena related to sales and marketing of opioid products

 from any state attorney general on or after January 1, 2019 through the Petition Date.

          EE.      RELEASE OF OPIOID CLAIMANTS

          219.     The Court hereby approves Article IX.E of the Plan, which provides:19 Pursuant to

 section 1123(b) of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy

 Code), as of the Effective Date, for good and valuable consideration, the adequacy of which is

 hereby confirmed, and except as otherwise explicitly provided in the Plan or in this Confirmation

 Order, the Holders of Opioid Claims and Released Co-Defendants and each of their Co-Defendant

 Related Parties, in each case solely in their respective capacities as such, shall be deemed

 conclusively, absolutely, unconditionally, irrevocably, fully, finally, forever and permanently

 released and discharged, to the maximum extent permitted by law, as such law may be extended

 subsequent to the Effective Date, by the Protected Parties from any and all Claims, counterclaims,




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      To the extent of a conflict between this Section II.EE of this Confirmation Order and the Plan, the Plan controls.


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 disputes, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, liens,

 remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees and expenses

 whatsoever, including any derivative claims, asserted or assertable on behalf of the Debtors or

 their Estates, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,

 known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing

 or hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether

 arising under federal or state statutory or common law, or any other applicable international,

 foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that

 the Protected Parties are, were, would have been, or will be legally entitled to assert in their own

 right (whether individually or collectively) or on behalf of the Holder of any Claim or Equity

 Interest or other person, notwithstanding section 1542 of the California Civil Code or any law of

 any jurisdiction that is similar, comparable or equivalent thereto (which shall conclusively be

 deemed waived) based on or relating to, or in any manner arising from, in whole or in part, the

 Debtors (including the management, ownership, or operation thereof and as such Entities existed

 prior to or after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring

 efforts (including the Chapter 11 Cases), the subject matter of, or the transactions or events giving

 rise to, any Claim or Equity Interest that is treated in the Plan, the restructuring of any Claim or

 Equity Interest before or during the Chapter 11 Cases, any Avoidance Actions, the negotiation,

 formulation, preparation, dissemination, filing, or implementation of, prior to the Effective Date,

 the Definitive Documents, the Opioid MDT II, the Opioid MDT II Documents, the Opioid Creditor

 Trusts, the Opioid Creditor Trust Documents, the “agreement in principle for global opioid

 settlement and associated debt refinancing activities” announced by the Parent on February 25,

 2020 and all matters and potential transactions described therein, the Restructuring Support



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 Agreement (including any amendments and/or joinders thereto) and related prepetition and

 postpetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, any

 Restructuring Transaction, any agreement, instrument, release, and other documents created or

 entered into prior to the Effective Date in connection with the creation of the Opioid MDT II, the

 Opioid Creditor Trusts, the “agreement in principle for global opioid settlement and associated

 debt refinancing activities” announced by the Parent on February 25, 2020, the Restructuring

 Support Agreement (including any amendments and/or joinders thereto) and related prepetition

 transactions, the Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the

 filing of the Chapter 11 Cases, the pursuit of confirmation (including the solicitation of votes on

 the Plan), the pursuit of consummation, the administration and implementation of the Plan, or the

 distribution of property under the Plan or any other related agreement, Pending Opioid Actions,

 the development, production, manufacture, licensing, labeling, marketing, advertising, promotion,

 distribution or sale of opioid-related products, any past use or misuse of any opioid sold by the

 Debtors or any of its affiliates, and any other act or omission, transaction, agreement, event, or

 other occurrence or circumstance taking place on or before the Effective Date related or relating

 to any of the foregoing; provided, however, that the Debtors do not release, and the Opioid MDT

 II shall retain, all Assigned Third-Party Claims, Assigned Insurance Rights, and Share Repurchase

 Claims; provided, further, that the Protected Parties do not release, Claims or Causes of Action

 arising out of, or related to, any act or omission of a Holder of an Opioid Claim, Released Co-

 Defendant, or Co-Defendant Related Party that is determined by Final Order of the Bankruptcy

 Court or any other court of competent jurisdiction to have constituted actual fraud, gross

 negligence, or willful misconduct; provided, further, that nothing in Article IX.E of the Plan shall

 (a) release any Cause of Action the Protected Parties are entitled to assert that is both (i) contractual



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 or commercial in nature and (ii) unrelated to the subject matter of Pending Opioid Actions, (b)

 release any Cause of Action the Debtors are entitled to assert, to the extent such Cause of Action

 is necessary for the administration and resolution of a Claim against a Debtor solely in accordance

 with the Plan, provided, however, that the forgoing clause (b) shall not apply to any Holder of a

 Co-Defendant Claim solely with respect to such Co-Defendant Claim, (c) release any claim or

 right of the Debtors or the Reorganized Debtors arising in the ordinary course of the Debtors’ or

 Reorganized Debtors’ business, including, without limitation, any such claim with respect to taxes,

 (d) be construed to impair in any way the Effective Date or post-Effective Date rights and

 obligations of any Person under the Plan, the Definitive Documents, this Confirmation Order or

 the Restructuring Transactions, or (e) with respect to the Released Co-Defendants and their Co-

 Defendant Related Parties, nothing in Article IX.E of the Plan shall release any Estate Surviving

 Pre-Effective Date Claim. The foregoing release will be effective as of the Effective Date without

 further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,

 order, or rule or the vote, consent, authorization or approval of any person and this Confirmation

 Order shall permanently enjoin the commencement or prosecution by any person, whether directly,

 derivatively or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts,

 rights, Causes of Action, or liabilities released pursuant to this release of Holders of Opioid Claims

 and Released Co-Defendants and each of their Co-Defendant Related Parties, solely in their

 capacity as such, by the Protected Parties. Notwithstanding anything to the contrary in the

 foregoing, the releases by the Protected Parties set forth above do not release any post-Effective

 Date obligations of any party or Entity under the Plan, any restructuring, any document,

 instrument, or agreement (including those set forth in the Plan Supplement) executed to implement

 the Plan, or any Claims which are reinstated pursuant to the Plan. For the avoidance doubt, the



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 releases by the Protected Parties set forth in Section IX.E of the Plan shall not release any Holder

 of Opioid Claims from any specific Claim, counterclaim, dispute, obligation, suit, judgment,

 damage, demand, debt, right, Cause of Action, lien, remedy, loss, contribution, indemnity, cost,

 liability, attorneys’ fee or expense if such Holder of Opioid Claims, in its capacity other than as a

 Holder of Opioid Claims, has not released the applicable Protected Party from Claims,

 counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights, Causes of

 Action, liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees and

 expenses arising from a common nucleus of operative facts.

         220.   The Reorganized Debtors, the Opioid MDT II, and the Opioid Creditor Trusts shall

 be bound, to the same extent the Debtors are bound, by the releases set forth in Article IX.E of the

 Plan.

         221.   Notwithstanding any language to the contrary contained in the Disclosure

 Statement, Plan or Confirmation Order, no provision shall (i) preclude the SEC from enforcing its

 police or regulatory powers; or, (ii) enjoin, limit, impair or delay the SEC from commencing or

 continuing any claims, causes of action, proceeding or investigations against any non-Debtor

 person or non-Debtor entity in any forum.

         222.   Entry of this Confirmation Order shall constitute the Bankruptcy Court’s approval,

 pursuant to Bankruptcy Rule 9019, of the releases by the Protected Parties set forth in Article IX.E

 of the Plan, which includes by reference each of the related provisions and definitions contained

 herein, and further shall constitute the Bankruptcy Court’s finding that such release is: (a) in

 exchange for the good and valuable consideration provided by the Holders of Opioid Claims; (b)

 a good faith settlement and compromise of the Claims against the Holders of Opioid Claims

 released by the Protected Parties; (c) in the best interests of the Debtors, their Estates and all



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 Holders of Claims and Equity Interests; (d) fair, equitable and reasonable; (e) given and made after

 due notice and opportunity for hearing; (f) a bar to any Entity or person asserting any Claim or

 Cause of Action released by Article IX.E of the Plan; and (g) essential to the confirmation of the

 Plan.

          FF.       THE NON-CONSENSUAL THIRD-PARTY RELEASES IN THE PLAN
                    SATISFY AND ARE APPROPRIATE UNDER THIRD CIRCUIT LAW

          223.      The findings in the Confirmation Opinion related to the Third-Party Releases (as

 defined in the Confirmation Opinion) are incorporated by reference into this Confirmation Order,

 and if there is any direct conflict between the findings in the Confirmation Opinion related to the

 Third-Party Releases (as defined in the Confirmation Opinion) and as contained anywhere in this

 Confirmation Order, the findings in the Confirmation Opinion related to the Third-Party Releases

 (as defined in the Confirmation Opinion) shall control.

          224.      Satisfaction of The Third Circuit Standard For Third-Party Releases. The

 non-consensual third-party releases under Articles IX.D-E of the Plan satisfy the standard

 articulated in In re Continental Airlines, 203 F.3d 203 (3d Cir. 2000); see also In re Millennium

 Lab Holdings II, LLC, 591 B.R. 559, 584 (D. Del. 2018), aff'd sub nom. In re Millennium Lab

 Holdings II, LLC., 945 F.3d 126 (3d Cir. 2019) (citing to In re Master Mortgage Inv. Fund, Inc.,

 168 B.R. 930, 937 (Bankr.W.D.Mo.1994)).20




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      The Master Mortgage factors are: “(1) an identity of interest between the debtor and the third party, such that a
      suit against the non-debtor is, in essence, a suit against the debtor or will deplete assets of the estate; (2) substantial
      contribution by the non-debtor of assets to the reorganization; (3) the essential nature of the injunction to the
      reorganization to the extent that, without the injunction, there is little likelihood of success; (4) an agreement by
      a substantial majority of creditors to support the injunction, specifically if the impacted class or classes
      “overwhelmingly” votes to accept the plan; and (5) provision in the plan for payment of all or substantially all of
      the claims of the class or classes affected by the injunction.”


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        225.    Identity of Interest. The non-consensual third-party releases under Article IX.D-

 E of the Plan benefit the Reorganized Debtors and there is an identity of interest between the

 released third-parties and the Reorganized Debtors. Specifically, Article V.F of the Plan provides

 that the Indemnification Provisions will be assumed and irrevocable and will survive the

 effectiveness of the Plan, and the New Governance Documents will provide to the fullest extent

 provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation

 of liability of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’

 current and former directors, officers, equity holders, managers, members, employees,

 accountants, investment bankers, attorneys, other professionals, agents of the Debtors, and such

 current and former directors’, officers’, equity holders’, managers’, members’ and employees’

 respective Affiliates (each of the foregoing solely in their capacity as such) at least to the same

 extent as the Indemnification Provisions, against any Claims or Causes of Action whether direct

 or derivative, liquidated or unliquidated, fixed or contingent, disputed or undisputed, matured or

 unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, and,

 notwithstanding anything in the Plan to the contrary, none of the Reorganized Debtors will amend

 and/or restate the New Governance Documents before or after the Effective Date to terminate or

 adversely affect any of the Indemnification Provisions.

        226.    Further, Article IV.E of the Plan provides that each Reorganized Debtor’s

 memorandum and articles of association, bylaws, and other New Governance Documents shall

 provide for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability

 of, and advancement of fees and expenses to, current and former managers, directors, officers,

 equity holders, members, employees, accountants, investment bankers, attorneys, other

 professionals, or agents of the Debtors and such current and former managers’, directors’, officers’,



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 equity holders’, members’, employees’, accountants’, investment bankers’, attorneys’, other

 professionals’ and agents’ respective Affiliates to the same extent as set forth in the

 Indemnification Provisions, against any claims or causes of action whether direct or derivative,

 liquidated or unliquidated, fixed, or contingent, disputed or undisputed, matured or unmatured,

 known or unknown, foreseen or unforeseen, asserted or unasserted.

        227.    As such, there is an identity of interest because Claims or Causes of Action against

 the Debtors’ directors or officers, agents, employees, professionals, and other parties mentioned

 in Articles IV.E and V.F will result in financial obligations for litigation and indemnification

 obligations against the Reorganized Debtors.       There is an identity of interest between the

 Reorganized Debtor and aforementioned third-parties, such that a suit against those third-parties

 is, in essence, a suit against the Reorganized Debtors.

        228.    Significant Contributions. The Protected Parties being released under the non-

 consensual third-party releases under Article IX.D-E of the Plan, individually and collectively,

 made significant contributions, or had significant contributions made on their behalf, to the

 Chapter 11 Cases. Specifically, their contributions include without limitation negotiating and

 entering into the Restructuring Support Agreement and the Opioid Settlement (as defined in the

 Restructuring Support Agreement), facilitating the Debtors’ and Reorganized Debtors’ funding of

 the Opioid MDT II Consideration, facilitating the creation of the Opioid MDT II and the Opioid

 Creditor Trusts, entering into and funding the OCC Settlement, entering into and funding the UCC

 Settlement, actively supporting the Debtors’ reorganization, managing and overseeing the

 Debtors’ businesses during the Chapter 11 Cases, participating in depositions, appearing at Court

 hearings, and developing the business plan for the Reorganized Debtors so that the Reorganized

 Debtors could meet financial requirements under the Plan.



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          229.   Necessity. The non-consensual third-party releases under Article IX.D-E of the

 Plan are integral and necessary to the Plan.        But for the provision of these releases, the

 Restructuring Support Agreement, the Plan and its underlying settlements, including the UCC

 Settlement, OCC Settlement, and the Second Lien Notes Settlement incorporated into the Plan

 would not have been achieved. Without the releases under the Plan, the Debtors would be forced

 to continue to participate in thousands of opioid-related litigation and other potential third-party

 litigation thereby nullifying the benefits of the Plan, the aforementioned settlements incorporated

 therein, the Opioid Permanent Channeling Injunction, and any other benefits of the Chapter 11

 Cases.

          230.   Plan Acceptance. The classes affected (i.e., the opioid creditor classes in the Class

 8 and 9 subclasses) by the non-consensual third-party releases under Article IX.D-E of the Plan

 voted to accept the Plan by the percentages required by section 1126 of the Bankruptcy Code. The

 final voting results from Prime Clerk demonstrate that the Opioid Claimants overwhelmingly, and

 nearly unanimously, voted in favor of the Plan. Overall, over 250,000 Opioid Claimants voted to

 accept the Plan, while approximately 5,000 Opioid Claimants voted to reject the Plan. Of the 12

 opioid-related classes and subclasses entitled to vote (Classes 8 and 9(a)-(h)), 11 voted to accept

 the Plan with each of those subclasses having at least 90% in amount and number accepting the

 Plan. Specifically, of the Holders of Opioid Claims in Classes 8(a)-(d) that voted, well over 95

 percent voted to accept the Plan. Similarly, of the Holders of Opioid Claims in Classes 9(a)-(h)

 that voted, well over 95 percent voted to accept the Plan. The only rejecting opioid class was Class

 9(h) (Other Opioid Claims) which had less than a thousand Opioid Claimants vote to reject the

 Plan.




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          231.     Plan Treatment. The classes affected (i.e., the opioid creditor classes in the Class

 8 and 9 subclasses) by the non-consensual third-party releases under Article IX.D-E of the Plan

 are receiving a substantial amount of consideration under the Plan in exchange for those releases.

 Specifically, the Opioid MDT II and Opioid Creditor Trusts are receiving the Opioid MDT II

 Consideration (which includes the Initial Opioid MDT II Payment, the New Opioid Warrants, the

 Opioid Deferred Cash Payments, the Assigned Third-Party Claims, the Assigned Insurance Rights,

 and the Opioid MDT II Share Repurchase Proceeds) provided by the Debtors. Further, the Opioid

 Claimants can pursue their Opioid Claims and Opioid Demands against the Opioid Creditor Trusts

 pursuant to the Opioid MDT II Documents and Opioid Creditor Trust Documents. The Opioid

 Claimants are also receiving a reciprocal release from the Protected Parties under Article IX.E of

 the Plan. Further, the Plan provides a mechanism under the Other Opioid Claimant Pro Rata Share

 for Holders of Other Opioid Claims to receive recoveries commensurate with (and proportionate

 to) the Holders of Opioid Claims.

          GG.      EXCULPATION

          232.     The Court hereby approves Article IX.F of the Plan, which provides:21 Effective

 as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties shall neither

 have nor incur any liability to any person for any Claims or Causes of Action arising on or after

 the Petition Date and prior to or on the Effective Date for any act taken or omitted to be taken in

 connection with, related to, or arising out of, the Chapter 11 Cases, formulating, negotiating,

 preparing, disseminating, implementing, filing, administering, confirming or effecting the

 confirmation or consummation of the Plan, the Disclosure Statement, the Opioid Settlement (as




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      To the extent of a conflict between this Section II.GG of this Confirmation Order and the Plan, the Plan controls.


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 defined in the Restructuring Support Agreement), the Opioid MDT II Documents, the Opioid

 Creditor Trust Documents, the “agreement in principle for global opioid settlement and associated

 debt refinancing activities” announced by the Parent on February 25, 2020, the Restructuring

 Support Agreement (including any amendments and/or joinders thereto), or any contract,

 instrument, release or other agreement or document created or entered into in connection with any

 of the foregoing, or any other postpetition act taken or omitted to be taken in connection with or

 in contemplation of the restructuring of the Debtors, the Disclosure Statement or confirmation or

 consummation of the Plan, the Opioid Settlement (as defined in the Restructuring Support

 Agreement), the Opioid MDT II Documents, or the Opioid Creditor Trust Documents, including

 the issuance of Securities pursuant to the Plan, or the distribution of property under the Plan or any

 other related agreement; provided, however, that the foregoing provisions of this exculpation shall

 not operate to waive or release: (a) any Causes of Action arising from actual fraud, gross

 negligence, or willful misconduct of such applicable Exculpated Party as determined by Final

 Order of the Bankruptcy Court or any other court of competent jurisdiction; and/or (b) the rights

 of any person or Entity to enforce the Plan and the contracts, instruments, releases, indentures, and

 other agreements and documents delivered under or in connection with the Plan or assumed

 pursuant to the Plan or Final Order of the Bankruptcy Court; provided, further, that each

 Exculpated Party shall be entitled to rely upon the advice of counsel concerning its respective

 duties pursuant to, or in connection with, the above referenced documents, actions or inactions.

        233.    The Exculpated Parties have, and upon consummation of the Plan shall be deemed

 to have, participated in good faith and in compliance with the applicable laws with regard to the

 solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not,

 and on account of such distributions shall not be, liable at any time for the violation of any



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 applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the

 Plan or such distributions made pursuant to the Plan.

          234.     The foregoing exculpation shall be effective as of the Effective Date without further

 notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,

 or rule or the vote, consent, authorization, or approval of any person or Entity.

          HH.      PERMANENT INJUNCTION

          235.     The Court hereby approves Article IX.G of the Plan, which provides:22 Except as

 otherwise expressly provided in this Confirmation Order or Plan, from and after the Effective Date

 all persons are, to the fullest extent provided under section 524 and other applicable provisions of

 the Bankruptcy Code, permanently enjoined from: (a) commencing or continuing, in any manner

 or in any place, any suit, action or other proceeding of any kind; (b) enforcing, attaching,

 collecting, or recovering by any manner or means any judgment, award, decree, or order; (c)

 creating, perfecting, or enforcing any encumbrance of any kind; (d) asserting any right of setoff,

 or subrogation of any kind; and (e) commencing or continuing in any manner any action or other

 proceeding of any kind, in each case on account of or with respect to any Claim, demand, liability,

 obligation, debt, right, Cause of Action, Equity Interest or remedy released or to be released,

 exculpated or to be exculpated, settled or to be settled, or discharged or to be discharged pursuant

 to the Plan or this Confirmation Order against any person so released, discharged or exculpated

 (or the property or estate of any person so released, discharged or exculpated). All injunctions or

 stays provided in the Chapter 11 Cases under section 105 or section 362 of the Bankruptcy Code,

 or otherwise, and in existence on the confirmation date, shall remain in full force until the Effective




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      To the extent of a conflict between this Section II.HH of this Confirmation Order and the Plan, the Plan controls.


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 Date; provided that nothing in the Plan, Confirmation Order or other Definitive Documents shall

 in any way extend any stay in effect pursuant to the (x) Order Granting the Debtors’ Motion for

 Injunctive Relief Pursuant to 11 U.S.C. § 105 [Adv. Pro. No. 20-50850, Adv. Docket No. 170]

 (the “First 105 Order”), (y) Order Granting the Debtors’ Supplemental Motion for Injunctive

 Relief Pursuant to 11 U.S.C. § 105 [Adv. Pro. No. 20-50850, Adv. Docket No. 180] (the

 “Supplemental 105 Order”), or (z) any previously granted extensions of the First 105 Order or

 the Supplemental 105 Order ((x), (y) and (z) collectively, the “105 Orders”).

          236.     The Debtors and Reorganized Debtors’ rights are reserved to seek relief from the

 Bankruptcy Court or District Court, as applicable, in the event any party raises or litigates in the

 Irish Examinership Proceedings any issue or claim that has been previously ruled upon under

 United States federal or state law in the Bankruptcy Court

          II.      OPIOID PERMANENT CHANNELING INJUNCTION

          237.     The Court hereby approves Article IX.H of the Plan, which provides:23 TERMS.

 Pursuant to section 105(a) of the Bankruptcy Code, from and after the Effective Date, the sole

 recourse of any Opioid Claimant on account of its Opioid Claims (including Opioid Demands)

 based upon or arising from the Debtors’ pre-Effective Date conduct or activities shall be to the

 Opioid MDT II or the Opioid Creditor Trusts, as applicable, pursuant to Article IX.H of the Plan

 and the Opioid MDT II Documents or the Opioid Creditor Trust Documents, as applicable, and

 such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claims

 (including Opioid Demands) against any Protected Party or any property or interest in property of

 any Protected Party. On and after the Effective Date, all Opioid Claimants, including Future




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      To the extent of a conflict between this Section II.II of this Confirmation Order and the Plan, the Plan controls.


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 Opioid PI Claimants, shall be permanently and forever stayed, restrained, barred, and enjoined

 from taking any of the following actions for the purpose of, directly or indirectly or derivatively

 collecting, recovering, or receiving payment of, on, or with respect to any Opioid Claim (including

 Opioid Demand) based upon or arising from the Debtors’ pre-Effective Date conduct or activities

 other than from the Opioid MDT II or the Opioid Creditor Trusts pursuant to the Opioid MDT II

 Documents or the Opioid Creditor Trust Documents, as applicable:

                a.     Commencing, conducting, or continuing in any manner, directly, indirectly
                       or derivatively, any suit, action, or other proceeding of any kind (including
                       a judicial, arbitration, administrative, or other proceeding) in any forum in
                       any jurisdiction around the world against or affecting any Protected Party
                       or any property or interests in property of any Protected Party;
                b.     Enforcing, levying, attaching (including any prejudgment attachment),
                       collecting, or otherwise recovering by any means or in any manner, whether
                       directly or indirectly, any judgment, award, decree, or other order against
                       any Protected Party or any property or interests in property of any Protected
                       Party;
                c.     Creating, perfecting, or otherwise enforcing in any manner, directly or
                       indirectly, any encumbrance against any Protected Party or any property or
                       interests in property of any Protected Party;
                d.     Setting off, seeking reimbursement of, contribution from, or subrogation
                       against, or otherwise recouping in any manner, directly or indirectly, any
                       amount against any liability owed to any Protected Party or any property or
                       interests in property of any Protected Party; or
                e.     Proceeding in any manner in any place with regard to any matter that is
                       within the scope of the matters designated by the Plan to be subject to
                       resolution by the Opioid MDT II or the Opioid Creditor Trusts, as
                       applicable, except in conformity and compliance with the applicable Opioid
                       MDT II Documents and Opioid Creditor Trust Documents.
        RESERVATIONS. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the
        rights of Opioid Claimants to assert Opioid Claims (including Opioid Demands) against
        the Opioid MDT II or the Opioid Creditor Trusts, as applicable, solely in accordance with
        the Plan, the Opioid MDT II Documents, and the Opioid Creditor Trust Documents, as
        applicable; and (b) the rights of Entities to assert any Claim, debt, obligation, or liability
        for payment of Trust Expenses against the Opioid MDT II.
        MODIFICATIONS. There can be no modification, dissolution, or terminations of this
        Opioid Permanent Channeling Injunction, which shall be a permanent injunction.

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          NON-LIMITATION OF CHANNELING INJUNCTION. Nothing in the Plan, the Opioid
          MDT II Documents, or the Opioid Creditor Trust Documents shall be construed in any way
          to limit the scope, enforceability, or effectiveness of the Opioid Permanent Channeling
          Injunction issued in connection with the Plan.
          BANKRUPTCY RULE 3016 COMPLIANCE. The Debtors’ compliance with the
          requirements of Bankruptcy Rule 3016 shall not constitute an admission that the Plan
          provides for an injunction against conduct not otherwise enjoined under the Bankruptcy
          Code.
          JJ.      OPIOID INSURER INJUNCTION

          238.     The Court hereby approves Article IX.I of the Plan, which provides:24 TERMS. In

 accordance with section 105(a) of the Bankruptcy Code, upon the occurrence of the Effective Date,

 all Persons that have held or asserted, that hold or assert or that may in the future hold or assert

 any Claim based on, arising under or attributable to an Opioid Insurance Policy shall be, and hereby

 are, permanently stayed, restrained and enjoined from taking any action for the purpose of directly

 or indirectly collecting, recovering or receiving payment or recovery on account of any such Claim

 based on, arising under or attributable to an Opioid Insurance Policy from or against any Opioid

 Insurer, including:

                   a.        commencing, conducting or continuing, in any manner any action or other
                             proceeding of any kind (including an arbitration or other form of alternate
                             dispute resolution) against any Opioid Insurer, or against the property of
                             any Opioid Insurer, on account of any such Claim based on, arising under
                             or attributable to an Opioid Insurance Policy;
                   b.        enforcing, attaching, levying, collecting or otherwise recovering, by any
                             manner or means, any judgment, award, decree or other order against any
                             Opioid Insurer, or against the property of any Opioid Insurer, on account of
                             any such Claim based on, arising under or attributable to an Opioid
                             Insurance Policy;
                   c.        creating, perfecting or enforcing in any manner any Lien of any kind against
                             any Opioid Insurer, or against the property of any Opioid Insurer, on




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      To the extent of a conflict between this Section II.JJ of this Confirmation Order and the Plan, the Plan controls.


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                      account of any such Claim based on, arising under or attributable to an
                      Opioid Insurance Policy;
              d.      asserting or accomplishing any setoff, right of subrogation, indemnity,
                      contribution or recoupment of any kind, whether directly or indirectly,
                      against any obligation due to any Opioid Insurer, or against the property of
                      any Opioid Insurer, on account of any such Claim based on, arising under
                      or attributable to an Opioid Insurance Policy; and
              e.      taking any act, in any manner, in any place whatsoever, that does not
                      conform to, or comply with, the provisions of the Plan applicable to any
                      such Claim based on, arising under or attributable to an Opioid Insurance
                      Policy.
       RESERVATIONS. The provisions of this Opioid Insurer Injunction do not apply to the
       Opioid MDT II and shall not preclude the Opioid MDT II from pursuing any Claim based
       on, arising under, or attributable to an Opioid Insurance Policy (including the Assigned
       Insurance Rights) or any other Claim that may exist under any Opioid Insurance Policy
       against any Opioid Insurer, nor shall it enjoin the Opioid MDT II from prosecuting any
       action based on, arising from, or attributable to any Opioid Insurance Policy or from
       asserting any claim, debt, obligation, cause of action, or liability for payment against a
       Opioid Insurer based on, arising from, or attributable to any Opioid Insurance Policy
       (including the Assigned Insurance Rights). The provisions of this Opioid Insurer
       Injunction are not issued for the benefit of any Opioid Insurer, and no such insurer is a
       third-party beneficiary of this Opioid Insurer Injunction. For the avoidance of doubt, with
       respect to a Person that purports to be insured under any Opioid Insurance Policy, the
       Opioid Insurer Injunction shall enjoin only derivative claims and rights. Nothing in the
       Plan shall determine whether any Claim or right under any Opioid Insurance Policy is
       either derivative or direct, or otherwise would be disallowed or subordinated under the
       Bankruptcy Code, which determination shall be made, as necessary, to the extent such
       Claim or right is not otherwise released under the Plan, in accordance with applicable law.
       MODIFICATIONS. To the extent the Opioid MDT II Trustees determine that some or all
       of the proceeds under the Opioid Insurance Policies are substantially unrecoverable by the
       Opioid MDT II, the Opioid MDT II shall have the sole and exclusive authority, upon
       written notice to any affected Opioid Insurer, to terminate, reduce, or limit the scope of this
       Opioid Insurer Injunction with respect to any Opioid Insurer, provided that any
       termination, reduction, or limitation of the Opioid Insurer Injunction (i) shall apply equally
       to all Classes of Opioid Claims, and (ii) shall comply with any procedures set forth in the
       Opioid MDT II Documents.
       NON-LIMITATION OF INSURER INJUNCTION. Except as set forth in paragraph 2 and 3
       of Article IX.I of the Plan, nothing in the Plan, the Opioid MDT II Documents or the Opioid
       Creditor Trust Documents shall be construed in any way to limit the scope, enforceability
       or effectiveness of the Opioid Insurer Injunction issued in connection with the Plan.




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          KK.      SETTLING OPIOID INSURER INJUNCTION

          239.     The Court hereby approves Article IX.J of the Plan, which provides:25 Terms. In

 accordance with section 105(a) of the Bankruptcy Code, upon the occurrence of the Effective Date,

 all Persons that have held or asserted, that hold or assert or that may in the future hold or assert

 any Claim based on, arising under or attributable to an Opioid Insurance Policy shall be, and hereby

 are, permanently stayed, restrained and enjoined from taking any action for the purpose of directly

 or indirectly collecting, recovering or receiving payment or recovery on account of any such Claim

 based on, arising under or attributable to an Opioid Insurance Policy from or against any Settling

 Opioid Insurer, solely to the extent that such Settling Opioid Insurer has been released from such

 Claim under such Opioid Insurance Policy pursuant to an Opioid Insurance Settlement, including:

                   a.       commencing, conducting or continuing, in any manner any action or other
                            proceeding of any kind (including an arbitration or other form of alternate
                            dispute resolution) against any such Settling Opioid Insurer, or against the
                            property of such Settling Opioid Insurer, on account of such Claim based
                            on, arising under or attributable to such Opioid Insurance Policy;
                   b.       enforcing, attaching, levying, collecting or otherwise recovering, by any
                            manner or means, any judgment, award, decree or other order against any
                            such Settling Opioid Insurer, or against the property of such Settling Opioid
                            Insurer, on account of such Claim based on, arising under or attributable to
                            such Opioid Insurance Policy;
                   c.       creating, perfecting or enforcing in any manner any Lien of any kind against
                            any such Settling Opioid Insurer, or against the property of such Settling
                            Opioid Insurer, on account of such Claim based on, arising under or
                            attributable to such Opioid Insurance Policy;
                   d.       asserting or accomplishing any setoff, right of subrogation, indemnity,
                            contribution or recoupment of any kind, whether directly or indirectly,
                            against any obligation due to any such Settling Opioid Insurer, or against
                            the property of such Settling Opioid Insurer, on account of such Claim based
                            on, arising under or attributable to such Opioid Insurance Policy; and




 25
      To the extent of a conflict between this Section II.KK of this Confirmation Order and the Plan, the Plan controls.


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                e.     taking any act, in any manner, in any place whatsoever, that does not
                       conform to, or comply with, the provisions of the Plan applicable to such
                       Claim based on, arising under or attributable to such Opioid Insurance
                       Policy.
        REDUCTION OF INSURANCE JUDGMENTS. Any right, Claim, or cause of action that
        an insurance company may have been entitled to assert against any Settling Opioid Insurer
        but for the Settling Opioid Insurer Injunction, if any such right, Claim, or cause of action
        exists under applicable non-bankruptcy law, shall become a right, Claim, or cause of action
        solely as a setoff claim against the Opioid MDT II and not against or in the name of the
        Settling Opioid Insurer in question. Any such right, Claim, or cause of action to which an
        insurance company may be entitled shall be solely in the form of a setoff against any
        recovery of the Opioid MDT II from that insurance company, and under no circumstances
        shall that insurance company receive an affirmative recovery of funds from the Opioid
        MDT II or any Settling Opioid Insurer for such right, Claim, or cause of action. In
        determining the amount of any setoff, the Opioid MDT II may assert any legal or equitable
        rights the Settling Opioid Insurer would have had with respect to any right, Claim, or cause
        of action. Any Opioid Insurance Settlement for which Court approval is sought shall be
        sent out on notice pursuant to Bankruptcy Rule 9019.
        MODIFICATIONS. There can be no modification, dissolution or termination of the Settling
        Insurer Injunction, which shall be a permanent injunction.
        NON-LIMITATION OF SETTLING INSURER INJUNCTION. Nothing in the Plan, the
        Opioid MDT II Documents or the Opioid Creditor Trust Documents shall be construed in
        any way to limit the scope, enforceability or effectiveness of the Settling Insurer Injunction
        issued in connection with the Plan.
        LL.     OPIOID OPERATING INJUNCTION

        240.    The Court hereby approves the terms of the Opioid Operating Injunction, a copy of

 which is attached hereto as Exhibit B, and Article IX.K of the Plan.

        MM. SETOFFS AND RECOUPMENT AND ACCESS TO OPIOID INSURANCE
            POLICIES

        241.    The Court hereby approves Articles IX.L-M of the Plan.

        NN.     ASSUMED CONTRACTS AND ASSUMED LIABILITIES; CURE COST;
                “ADEQUATE ASSURANCE”

        242.    The provisions governing the treatment of Executory Contracts and Unexpired

 Leases set forth in Article V of the Plan (including the procedures regarding the resolution of any

 and all disputes concerning the assumption or rejection, as applicable, of such Executory Contracts


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 and Unexpired Leases) shall be, and hereby are, approved in their entirety. Except as otherwise

 agreed by the Debtors and the applicable counterparty or counterparties pursuant to Article V.B of

 the Plan, the Cure Cost under each Executory Contract or Unexpired Lease shall be as set forth in

 the Contract/Lease Notices. Notwithstanding anything to the contrary in this Confirmation Order,

 any unresolved formal or informal objections to the Cure Cost of any Executory Contract or

 Unexpired Lease are not overruled and are adjourned indefinitely.

        243.    On the Effective Date, except as otherwise provided in the Plan, each of the

 Executory Contracts and Unexpired Leases not previously rejected, assumed, or assumed and

 assigned pursuant to an order of the Bankruptcy Court will be deemed assumed as of the Effective

 Date pursuant to sections 365 and 1123 of the Bankruptcy Code except any Executory Contract or

 Unexpired Lease (a) identified on the Rejected Executory Contract/Unexpired Lease List (which

 shall initially be filed with the Bankruptcy Court on the Plan Supplement Filing Date) as an

 Executory Contract or Unexpired Lease to be rejected, (b) that is the subject of a separate motion

 or notice to reject pending as of the Effective Date, or (c) that previously expired or terminated

 pursuant to its own terms (disregarding any terms the effect of which is invalidated by the

 Bankruptcy Code).

        244.    Entry of this Confirmation Order by the Bankruptcy Court shall constitute an order

 approving the assumption of the Executory Contracts and Unexpired Leases (including the

 Restructuring Support Agreement pursuant to Article V.A of the Plan) pursuant to sections 365(a)

 and 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date. Each

 Executory Contract and Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court

 order, and not assigned to a third party on or prior to the Effective Date, shall re-vest in and be

 fully enforceable by the applicable Reorganized Debtor in accordance with its terms, except as



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 such terms may have been modified by order of the Bankruptcy Court. To the maximum extent

 permitted by law, to the extent any provision in any Executory Contract or Unexpired Lease

 assumed pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached

 or deemed breached by, the assumption of such Executory Contract or Unexpired Lease or the

 execution of any other Restructuring Transaction (including any “change of control” provision),

 then such provision shall be deemed modified such that the transactions contemplated by the Plan

 shall not entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired

 Lease or to exercise any other default-related rights with respect thereto. For the avoidance of

 doubt, consummation of the Restructuring Transactions shall not be deemed an assignment of any

 Executory Contract or Unexpired Lease of the Debtors, notwithstanding any change in name,

 organizational form, or jurisdiction of organization of any Debtor in connection with the

 occurrence of the Effective Date.

        245.    Notwithstanding anything to the contrary in the Plan (except for the Consent Rights

 of Supporting Parties in Article I.C), the Debtors or Reorganized Debtors, as applicable, reserve

 the right to amend or supplement the Rejected Executory Contract/Unexpired Lease List in their

 discretion prior to the Confirmation Date (or such later date as may be permitted by Article V.B

 or Article V.E below), provided that the Debtors shall give prompt notice of any such amendment

 or supplement to any affected counterparty and such counterparty shall have no less than seven (7)

 days to object thereto on any grounds.

        246.    On and as of the Effective Date, and except as prohibited by applicable law and

 subject to the limitations set forth in the Plan, the Indemnification Provisions will be assumed and

 irrevocable and will survive the effectiveness of the Plan, and the New Governance Documents

 will provide to the fullest extent provided by law for the indemnification, defense, reimbursement,



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 exculpation, and/or limitation of liability of, and advancement of fees and expenses to the Debtors’

 and the Reorganized Debtors’ current and former directors, officers, equity holders, managers,

 members, employees, accountants, investment bankers, attorneys, other professionals, agents of

 the Debtors, and such current and former directors’, officers’, equity holders’, managers’,

 members’ and employees’ respective Affiliates (each of the foregoing solely in their capacity as

 such) at least to the same extent as the Indemnification Provisions, against any Claims or Causes

 of Action whether direct or derivative, liquidated or unliquidated, fixed or contingent, disputed or

 undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or

 unasserted, and, notwithstanding anything in the Plan to the contrary, none of the Reorganized

 Debtors will amend and/or restate the New Governance Documents before or after the Effective

 Date to terminate or adversely affect any of the Indemnification Provisions.

        OO.     ASSUMPTION OF RESTRUCTURING SUPPORT AGREEMENT

        247.    Upon entry of this Confirmation Order, the Restructuring Support Agreement will

 be deemed assumed by the Debtors pursuant to sections 365 and 1123 of the Bankruptcy Code,

 with such assumption effective as of the Effective Date.

        PP.     CLAIMS, PROFESSIONAL COMPENSATION, AND BAR DATES

        1.      Claims Generally.

        248.    Provisions Governing Distributions. The distribution provisions of Article VI of

 the Plan shall be, and hereby are, approved in their entirety. Except as otherwise set forth in the

 Plan or this Confirmation Order, the Distribution Agent shall make distributions to Holders of

 Allowed Claims other than Opioid Claims at the address for each such Holder as indicated in the

 Debtors’ records as of the date of any such distribution, including the address set forth in any Proof

 of Claim Filed by that Holder or, with respect to Holders of Allowed First Lien Revolving Credit

 Facility Claims and Allowed First Lien Term Loan Claims, the address recorded as of the Effective

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 Date in the register maintained by the First Lien Agent; provided that the manner of such

 distributions shall be determined at the discretion of the Reorganized Debtors. The Debtors and

 the Reorganized Debtors, as applicable, shall have the authority to enter into agreements with one

 or more Distribution Agents to facilitate the distributions required under the Plan. The timing of

 distributions required under the Plan or this Confirmation Order shall be made in accordance with

 and as set forth in the Plan or this Confirmation Order, as applicable. The Debtors’ obligation to

 make any distributions on account of General Unsecured Claims and Trade Claims assumed by

 the General Unsecured Claims Trust will be satisfied by the transfer of the General Unsecured

 Claims Trust Consideration to the General Unsecured Claims Trust. The General Unsecured

 Claims Trustee shall make the Initial Fixed Distribution as soon as reasonably practicable after the

 Effective Date in accordance with the Plan, with additional distributions made in accordance with

 the Plan and General Unsecured Claims Trust Documents. The Opioid MDT II and Opioid

 Creditor Trusts will resolve Opioid Claims and make distributions on account thereof in

 accordance with the Opioid MDT II Documents and Opioid Creditor Trust Documents, as

 applicable.

        249.    Procedures for Resolving Contingent, Unliquidated, And Disputed Claims or

 Interests. The procedures for resolving contingent, unliquidated, and disputed Claims and

 Interests contained in Article VII of the Plan shall be, and hereby are, approved in their entirety.

 If any Proof of Claim is filed in the Chapter 11 Cases, the Debtors or Reorganized Debtors, as

 applicable, must address such Claim and provide notice to the Court regarding whether such Claim

 will need to be addressed by the Court.

        250.    Opioid Claimants Proof of Claims for Opioid Claims. As set forth in Article

 VII.G of the Plan, Holders of Opioid Claims or VI Opioid Claims are not required to File a Proof



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 of Claim in the Chapter 11 Cases or a request for payment of an Administrative Claim on account

 of such Holder’s Opioid Claims or VI Opioid Claims, and no such Holders should File such a

 Proof of Claim or such request for payment; provided, however, that a Holder of an Opioid Claim

 or VI Opioid Claim that wishes to assert Claims against the Debtors that are not Opioid Claims or

 VI Opioid Claims must File a Proof of Claim or a request for payment of an Administrative Claim

 with respect to such Claims which are not Opioid Claims or VI Opioid Claims on or before the

 applicable Claims Bar Date.

        251.   Notwithstanding the foregoing and subject to Article IV.Y in the Plan, the Opioid

 MDT II Administrator may establish a bar date for all Other Opioid Claims, which will be the date

 that is 60 days after the service of a notice to be filed with the Bankruptcy Court by the Opioid

 MDT II Administrator, in accordance with Article IV.Y of the Plan, stating that all Other Opioid

 Claimants must submit to the Opioid MDT II Administrator a proof of claim form (in a form

 substantially similar to Official Bankruptcy Form No. 410) within 60 days of the service of such

 notice. A sample proof of claim form shall be attached to the notice of the Other Opioid Claims

 Bar Date.

        252.   Disallowance of Certain Funded Debt Claims. Notwithstanding anything to the

 contrary in the Plan (except for the Consent Rights of Supporting Parties in Article I.C), the

 following Claims shall be disallowed on the Effective Date except as otherwise ordered by a Final

 Order of the Bankruptcy Court before the Effective Date: (a) any First Lien Credit Agreement

 Claims (i) for default rate interest under Section 2.13(c) of the First Lien Credit Agreement in

 excess of the non-default rate applicable under Sections 2.13(a) or (b) of the First Lien Credit

 Agreement, or (ii) for interest based on the asserted conversion of any “Eurocurrency Borrowing”

 to an “ABR Borrowing” (each as defined in the First Lien Credit Agreement) under Section 2.07(e)



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 of the First Lien Credit Agreement, to the extent such interest exceeds the interest payable on such

 borrowing as a Eurocurrency Borrowing; provided that, notwithstanding the foregoing, the

 Allowed First Lien Revolving Credit Facility Claims and the Allowed First Lien Term Loan

 Claims shall include the applicable amount of First Lien Revolving Credit Facility Accrued and

 Unpaid Interest and the First Lien Term Loans Accrued and Unpaid Interest, respectively, and

 such First Lien Revolving Credit Facility Accrued and Unpaid Interest and First Lien Term Loans

 Accrued and Unpaid Interest shall not be subject to disallowance; provided, further, that

 notwithstanding anything to the contrary in the Plan, the Cash Collateral Order or the First Lien

 Credit Agreement, all adequate protection payments made by the Debtors pursuant to the Cash

 Collateral Order and any repayments of principal made pursuant to the Order Granting Motion for

 Order (I) Authorizing Use of Cash Collateral Other Than in the Ordinary Course of Business, (II)

 Granting Limited Relief from the Automatic Stay, and (III) Granting Related Relief [Docket No.

 1745] (such payments of principal, the “Cashflow Sweep Payments”) during the Chapter 11

 Cases to the First Lien Revolving Lenders, the First Lien Term Lenders and their respective agents

 and professionals shall be deemed indefeasibly paid to and retained by the First Lien Revolving

 Lenders, the First Lien Term Lenders and such agents and professionals, as applicable, and not

 recharacterized as principal payments (other than payments of principal made on or prior to April

 23, 2021 (including, without limitation, the Cashflow Sweep Payments) and First Lien Term Loan

 Principal Payments, which payments shall in each case be treated as principal payments) or

 otherwise subject to disgorgement, recovery, turnover, or avoidance by any party under any legal

 or equitable theory regardless of whether such payments arguably exceed the Allowed amount of

 the First Lien Revolving Credit Facility Claims or the First Lien Term Loan Claims, as applicable;

 (b) any First Lien Notes Claims (i) for any “Additional Amounts” (as defined in the First Lien



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 Notes Indenture) or (ii) for default rate interest under Section 2.11 of the First Lien Notes

 Indenture; (c) any Second Lien Notes Claims (i) for any principal premium in excess of the

 principal amount of such Claims outstanding immediately before the Petition Date, including for

 any “Applicable Premium” (as defined in the Second Lien Notes Indenture) or optional redemption

 premium, (ii) for any “Additional Amounts” (as defined in the Second Lien Notes Indenture), or

 (iii) for default rate interest under Section 2.11 of the Second Lien Notes Indenture; provided, that

 notwithstanding anything to the contrary in the Plan, the Cash Collateral Order or the Second Lien

 Notes Indenture, all adequate protection payments made by the Debtors pursuant to the Cash

 Collateral Order during the Chapter 11 Cases to the Holders of Second Lien Notes and their

 respective agents and professionals shall be deemed indefeasibly paid to and retained by the

 Holders of Second Lien Notes and such agents and professionals, as applicable, and not

 recharacterized as principal payments or otherwise subject to disgorgement, recovery, turnover, or

 avoidance by any party under any legal or equitable theory regardless of whether such payments

 arguably exceed the Allowed amount of the Second Lien Notes Claims; and (d) any Claims for

 payment of any amounts payable pursuant to the Cash Collateral Order arising after the Effective

 Date.

          253.     Resolution of First Lien Noteholders’ Objections to Plan and Debtors’

 Objection to First Lien Noteholders’ “Applicable Premium” Claim.26 At the end of an

 evidentiary hearing and oral argument held on November 5, 2021, the Court issued a ruling (the

 “November 5, 2021 Ruling”) overruling the objections to the Plan set forth in the Objection and

 Response of the Ad Hoc First Lien Notes Group to (A) First Amended Joint Plan of Reorganization




 26
      Capitalized terms used in this paragraph of the Confirmation Order but not otherwise defined in the Confirmation
      Order shall have the meanings ascribed to such terms in the Funded Debt Claim Objection.


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 of Mallinckrodt Plc and its Debtor Affiliates under Chapter 11 of the Code and (B) Debtors’

 Objection to Funded Debt Claims [Docket No. 4709] (the “Ad Hoc First Lien Notes Group

 Objection”); (b) Columbus Hill Capital Management, L.P.’s (A) Objection to Confirmation of

 Debtors’ Joint Plan of Reorganization and (B) Response to Objection to Funded Debt Claims

 [Docket No. 4729] (the “Columbus Hill Objection”); and (c) the Statement of Wilmington

 Savings Fund Society, FSB as Indenture Trustee in Support of the Ad Hoc First Lien Notes Group’s

 Objection [Docket No. 4713] (the “Wilmington Statement,” and collectively with the Ad Hoc

 First Lien Notes Group Objection and the Columbus Hill Objection, the “First Lien Noteholders’

 Plan Objections”). For the reasons set forth by the Court on the record in in the November 5,

 2021 Ruling, the First Lien Noteholders’ Plan Objections are overruled, other than as set forth in

 paragraph 286 of this Confirmation Order, which provides that Holders of First Lien Notes that

 objected to the confirmation of the Plan shall be permitted to opt out of the release set forth in

 Article IX.C of the Plan. All findings of fact and conclusions of law set forth in the November 5,

 2021 Ruling are expressly incorporated into this Confirmation Order. In light of the Court’s

 conclusion – as stated in the November 5, 2021 Ruling – that the proposed treatment of the First

 Lien Notes Claims under the Plan satisfies 11 U.S.C. § 1124(2) (i.e., reinstatement without

 payment of any First Lien Notes Makewhole Claim), the Funded Debt Claim Objection is

 otherwise moot to the extent it addresses the First Lien Notes Makewhole Claim. For the reasons

 set forth in the November 5, 2021 Ruling, the Holders of First Lien Notes Claims shall not have,

 and shall hereby be prohibited and enjoined from asserting, any claims (including, without

 limitation, for turnover of payments) against any of the Prepetition Secured Parties (as defined in

 the Cash Collateral Order) or their agents, advisors, or other representatives under any of the

 Intercreditor Agreements in any way arising from, relating to, or as a result of the Debtors’



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 restructuring, the Plan, the distribution of property or any payments made under the Plan, or any

 order of the Bankruptcy Court in this case, or any other transaction, agreement, event, omission or

 other occurrence taking place on or before the Effective Date related or relating to any of the

 foregoing.

        2.      Administrative Claims.

        254.    The provisions governing the treatment of Allowed Administrative Claims set forth

 in Article II.A of the Plan are approved in their entirety. Without limiting the foregoing, except

 for any Administrative Claim subject to the Initial Administrative Claims Bar Date, all requests

 for payment of an Administrative Claim (excluding, for the avoidance of doubt, VI Opioid Claims,

 Cure Costs, Professional Fee Claims, the Disinterested Managers Fees and Expenses,

 Restructuring Expenses, Administrative Claims held by a Debtor or Non-Debtor Affiliate against

 a Debtor, Indenture Trustee Fees (to the extent they would be Administrative Claims) or United

 States Trustee quarterly fees payable pursuant to Article II.C below) that accrued on or before the

 Effective Date that were not otherwise satisfied in the ordinary course of business must be Filed

 with the Bankruptcy Court and served on the Debtors no later than the Administrative Claims Bar

 Date. If a Holder of an Administrative Claim (excluding, for the avoidance of doubt, VI Opioid

 Claims, Cure Costs, Professional Fee Claims, the Disinterested Managers Fees and Expenses,

 Restructuring Expenses, Indenture Trustee Fees (to the extent they would be Administrative

 Claims) or United States Trustee quarterly fees payable pursuant to Article II.C below) is required

 to, but does not, File and serve a request for payment of such Administrative Claim by the

 Administrative Claims Bar Date, such Administrative Claim shall be considered Allowed only if

 and to the extent that no objection to the allowance thereof has been interposed within three months

 following the subsequent filing and service of such request or as otherwise set by the Bankruptcy

 Court or such an objection is so interposed and the Claim has been Allowed by a Final Order;

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 provided that any Claim Filed after entry of a decree closing the Debtors’ Chapter 11 Cases shall

 not be Allowed unless the Holder of such Claim obtains an order of the Bankruptcy Court allowing

 such Claim. For the avoidance of doubt, Administrative Claims that were subject to the Initial

 Administrative Claims Bar Date, proof of which was not timely submitted in accordance with the

 Initial Administrative Claims Bar Date Order, shall be disallowed.

        3.      Rejection Damage Claims.

        255.    Unless otherwise provided by a Bankruptcy Court order, and except as otherwise

 provided in this section of or otherwise in the Plan, any Proofs of Claim asserting Claims arising

 from the rejection of the Executory Contracts and Unexpired Leases pursuant to the Plan or

 otherwise must be filed with the Notice and Claims Agent within thirty (30) days of the effective

 date of the rejection of the applicable Executory Contract or Unexpired Lease (which shall be the

 Effective Date unless otherwise provided in an order of the Bankruptcy Court providing for the

 rejection of an Executory Contract or Unexpired Lease). Any Proofs of Claim arising from the

 rejection of the Executory Contracts and Unexpired Leases that are not timely filed shall be

 automatically disallowed without further order of the Bankruptcy Court. All Allowed Claims

 arising from the rejection of the Executory Contracts and Unexpired Leases shall constitute

 General Unsecured Claims and shall be treated in accordance with Article III.B of the Plan;

 provided, however, as set forth in Article V.G. of the Plan, any Claims arising out of the rejection

 of an Executory Contract that are Co-Defendant Claims shall be either Other Opioid Claims or No

 Recovery Opioid Claims, and shall be treated in accordance with the Plan, and the deadline for the

 filing of Proofs of Claim arising out of the rejection of an Executory Contract or Unexpired Lease

 set forth in Article V.C. of the Plan shall not apply with respect to any Co-Defendant Claim.




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         QQ.     U.S. FEDERAL INCOME TAX MATTERS

         1.      U.S. Federal Income Tax Matters Relating to Opioid MDT II.

         256.    The Opioid MDT II shall be structured to qualify as a “qualified settlement fund”

 for U.S. federal income tax purposes and shall be treated consistently for state and local tax

 purposes, to the extent applicable. Payments to the Opioid MDT II (whenever made, and from

 whatever source) shall constitute “restitution . . . for damage or harm” within the meaning of

 Section 162(f) of the Internal Revenue Code, and will be so characterized for U.S. federal income

 tax purposes to the extent such payments are made to or at the direction of a government or

 governmental entity, and such payments are hereby, based on the origin of the liability and the

 nature and purpose of such payments, so identified in accordance with Section 162(f)(2)(A)(ii) of

 the Internal Revenue Code. For the avoidance of doubt, the foregoing sentence is intended to

 apply to the tax characterization of payments to the Opioid MDT II on account of Opioid Claims,

 and such tax characterization shall not be construed to be dispositive for any non-tax purpose. Nor

 shall such tax characterization be construed to mean that Debtors’ payments satisfy the full extent

 of the liability associated with Opioid Claims, the satisfaction of which remains a valuable right

 assigned to the Opioid MDT II, nor that the remaining liability associated with Opioid Claims

 seeks restitution as a form of relief.

         257.    In addition, the Public Schools’ Special Education Initiative Contribution shall

 constitute “restitution . . . for damage or harm” within the meaning of Section 162(f) of the Internal

 Revenue Code, and will be so characterized for U.S. federal income tax purposes to the extent

 such payments are made to or at the direction of a government or governmental entity, and such

 payments are hereby, based on the origin of the liability and the nature and purpose of such

 payments, so identified in accordance with Section 162(f)(2)(A)(ii) of the Internal Revenue Code.

 For the avoidance of doubt, the foregoing sentence is intended to apply to the tax characterization

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 of the Public Schools’ Special Education Initiative Contribution, and such tax characterization

 shall not be construed to be dispositive for any non-tax purpose.

        258.    Each of the Opioid MDT II, NOAT II, and the Public Schools’ Special Education

 Initiative, on the one hand, and the Reorganized Debtors, on the other, shall reasonably cooperate

 in good faith with each other and their respective representatives with respect to the reporting

 required pursuant to Section 6050X of the Internal Revenue Code regarding the payments or

 transfers of property required under the Plan, with the goal of eliminating redundancies and

 complying with their reporting requirements, if any, in an efficient manner, including, if permitted

 under applicable law, appointing a single appropriate official to file a single information return in

 accordance with Treasury Regulation Sections 1.6050X-1(b)(3) and 1.6050X-1(f)(1)(ii)(B). Each

 of the Opioid MDT II, NOAT II, and the Public Schools’ Special Education Initiative, as

 applicable, shall, no later than thirty (30) days prior to the date on which each such information

 return, if any, is required to be filed, provide to the Reorganized Debtors a draft of any such

 information return it has determined that it is required to file with the IRS with respect to payments

 or transfer of property to it under the Plan and, prior to filing, shall consider in good faith any and

 all comments timely received from the Reorganized Debtors with respect thereto. If, after

 consultation with its tax advisors, the Trustees or other authorized persons of the Opioid MDT II,

 NOAT II or the Public Schools' Special Education Initiative reasonably determine in good faith

 that any such comments should not be reflected in such filing, the parties shall use reasonable best

 efforts to negotiate in good faith so as to reach a mutually agreeable resolution. If the parties are

 unable to reach a mutually agreeable resolution, the matter shall be resolved as directed by the

 Bankruptcy Court. In addition, each of the Opioid MDT II and the Public Schools’ Special

 Education Initiative shall use reasonable best efforts to provide to the Reorganized Debtors, no



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 later than fifteen (15) days following the end of each calendar quarter, an estimate of the aggregate

 payments to any attorneys’ fee funds established pursuant to Article IV.X.9 of the Plan.

        259.    The Opioid MDT II Trustees may request an expedited determination under section

 505(b) of the Bankruptcy Code for all tax returns filed by or on behalf of the Opioid MDT II for

 all taxable periods through the dissolution of the Opioid MDT II. Each Opioid Creditor Trustee

 may request an expedited determination of taxes under section 505(b) of the Bankruptcy Code for

 all tax returns filed by or on behalf of the applicable Opioid Creditor Trust for all taxable periods

 through the dissolution of such Opioid Creditor Trust.

        260.    Nothing in the Plan or this Confirmation Order, including without limitation this

 Paragraph 260, shall be deemed to (a) determine the United States federal tax liability of any

 Person, including but not limited to the Debtors, (b) have determined the United States federal tax

 treatment of any item, distribution or Entity, including the federal tax consequences of the Plan or

 this Confirmation Order, or (c) expressly expand or diminish the jurisdiction of the Bankruptcy

 Court to make determinations as to United States federal tax liability and United States federal tax

 treatment under the Bankruptcy Code and 28 U.S.C. §§ 157, 1334.

        2.      Compliance with Tax Requirements/Allocations.

        261.    To the extent applicable, the Reorganized Debtors shall comply with all tax

 withholding and reporting requirements imposed on them by any Governmental Unit, and all

 distributions pursuant hereto shall be subject to such withholding and reporting requirements.

 Notwithstanding any provision in the Plan to the contrary (except for the Consent Rights of

 Supporting Parties in Article I.C of the Plan), the Reorganized Debtors and the Distribution Agent

 shall be authorized to take all actions necessary or appropriate to comply with such withholding

 and reporting requirements, including liquidating a portion of the distribution to be made under

 the Plan to generate sufficient funds to pay applicable withholding taxes, including requiring as a

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 condition to the receipt of a distribution, that the Holders of an Allowed Claim complete an IRS

 Form W-8 or W-9, as applicable. The Reorganized Debtors reserve the right to allocate all

 distributions made under the Plan in compliance with all applicable wage garnishments, alimony,

 child support and other spousal awards, Liens, and encumbrances.

        RR.    MISCELLANEOUS

        1.     Johnson & Johnson Consumer Inc., McNeil Consumer Healthcare Division
               (formerly known as McNeil Consumer Healthcare Division of McNeil-PPC,
               Inc.).

        262.   Notwithstanding the foregoing, and notwithstanding any provision in the Plan, this

 Confirmation Order, or any other related document or Order, (a) upon effectiveness of the Plan,

 the Reorganized Debtors shall assume the Amended and Restated APAP Supply Agreement by

 and between Johnson & Johnson Consumer Inc., McNeil Consumer Healthcare Division (formerly

 known as McNeil Consumer Healthcare Division of McNEIL-PPC, Inc.) and SPECGX LLC (the

 successor-in-interest to Mallinckrodt LLC), dated as of January 1, 2010 (as heretofore amended,

 restated, modified, or supplemented by agreement of the parties from time to time, including,

 without limitation, by the First Amendment dated as of January 1, 2014, the Second Amendment

 dated as of January 1, 2020, and the Third Amendment dated as of October 5, 2020, the “JJCI

 APAP Supply Agreement”) and any other agreements related or supplemental to the JJCI APAP

 Supply Agreement, each as may have been heretofore amended, restated, modified, or

 supplemented by agreement of the parties from time to time (collectively, and together with the

 JJCI APAP Supply Agreement, the “JJCI APAP Agreements”), including, without limitation,

 the Quality Agreement between Johnson & Johnson Consumer Inc., McNeil Consumer Healthcare

 Division; McNeil Consumer Healthcare, Division of Johnson & Johnson Inc. and SPECGX LLC,

 dated as of January 15, 2017 and addendums, and any Affiliate APAP Supply Agreement (as

 defined in the JJCI APAP Supply Agreement) and associated Affiliate quality agreement, (b) the

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 parties are aware of no defaults under the JJCI APAP Agreements and no cure will be required for

 assumption; and (c) notwithstanding the requirement of no cure payments as specified in the

 foregoing clause (b), all obligations of the Debtors under the JJCI APAP Agreements, whether

 arising before or after assumption, shall continue as obligations of the Reorganized Debtors as if

 these Chapter 11 Cases were not commenced. The parties to the JJCI APAP Agreements agree

 that such agreements contain no provisions affected by Article V.G of the Plan, and, from and after

 the Effective Date, no party to any JJCI APAP Agreement will assert any right to indemnification

 thereunder to the extent such a right would have been affected by Article V.G of the Plan.

        2.      Bristol-Myers Squibb Company and Lawrence Laboratories.

        263.    Bristol-Myers Squibb Company and Lawrence Laboratories and its affiliates

 (collectively, “BMS”) and the Debtors agree that Article V.G of the Plan does not affect any

 provisions in any BMS contract (including the BMS IV APAP Agreement dated February 1, 2006)

 assumed by the Debtors, and, from and after the Effective Date, except with respect to the BMS

 IV APAP Agreement dated February 1, 2006, no party to a BMS contract will assert any right to

 indemnification thereunder to the extent such a right would have been affected by Article V.G of

 the Plan (and, for the avoidance of doubt, Article V.G of the Plan shall not impact any right to

 indemnification under the BMS IV APAP Agreement dated February 1, 2006). For the avoidance

 of doubt, BMS is not deemed to have consented to the amendment and release provisions as

 described in Article V.G of the Plan related to the Debtors’ indemnification obligations under any

 BMS contract (including the BMS IV APAP Agreement dated February 1, 2006) and

 notwithstanding anything to the contrary in the Plan (including Article V.G. of the Plan), there

 shall be no deemed or implied amendment or modification of any BMS contract.




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        3.      Generics Price Fixing State Attorneys General.

        264.    Notwithstanding anything to the contrary herein, nothing in the Plan or

 Confirmation Order shall: (a) release, discharge, or preclude the enforcement of any criminal

 liability of a Released Party to a Governmental Unit arising out of, or relating to, any act or

 omission of a Released Party prior to the Effective Date that is determined by Final Order of the

 Bankruptcy Court or any other court of competent jurisdiction to have constituted a criminal act;

 (b) release or discharge a consultant or expert having been retained to provide strategic advice for

 sales and marketing of opioid products who has received a civil investigative demand or other

 subpoena related to sales and marketing of opioid products from any state attorney general on or

 after January 1, 2019 through the Petition Date; or (c) preclude the Governmental Units that are

 plaintiffs in Connecticut et al., v. Sandoz, Inc. et al., Case No. 2:20-cv-03539 (E.D. Pa.) from

 seeking injunctive relief in such pending action governing future conduct of the Debtors or the

 Reorganized Debtors, as applicable, that would not otherwise be discharged under the Bankruptcy

 Code. It is further understood and agreed that, pursuant to sub-paragraph (c) of this paragraph, the

 Governmental Units are not precluded from introducing or relying on facts or evidence occurring

 during the time period prior to the Confirmation Date in support of the request for future injunctive

 relief and the Debtors’ and Reorganized Debtors’ rights to object on any evidentiary grounds are

 reserved thereto.

        4.      West Boca Medical Center, Inc., its ultimate parent Tenet Healthcare
                Corporation, and the West Boca Related Parties.

        265.    Notwithstanding anything in the Plan, the Plan Supplement or elsewhere in this

 Confirmation Order to the contrary, West Boca Medical Center, Inc., its ultimate parent Tenet




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 Healthcare Corporation, and the West Boca Related Parties27 (collectively, the “West Boca

 Parties”) shall retain any Co-Defendant Defensive Rights they may have regardless of whether

 the West Boca Parties do or do not hold Co-Defendant Claims under the Plan.

          5.       Environmental Protection Agency.

          266.     Consent Decrees. Notwithstanding anything to the contrary in the Plan or this

 Confirmation Order, the applicable Reorganized Debtors named as defendant in the following

 consent decrees and agreements shall continue to be bound by their terms:                              (a) the Third

 Administrative Settlement and Order on Consent (Docket No. CERC-03-2017-0166DC) relating

 to the Millsboro TCE Groundwater Contamination Superfund Site, in Millsboro, Sussex County,

 Delaware between the United States as Plaintiff and, among others, Mallinckrodt Veterinary, Inc.

 as Respondent, as amended on August 7, 2018; (b) the Administrative Settlement and Order on

 Consent (Docket No. V-W-13-C-013) relating to the Lake Calumet Cluster Site in Chicago, Illinois

 between the United States as Plaintiff and, among others, Mallinckrodt US Holdings LLC as

 Respondent, entered on June 3, 2013; (c) the Consent Decree relating to the Findett Corporation

 Superfund Site in St. Charles County, Missouri between the United States and State of Missouri

 as Plaintiffs and, among others, Mallinckrodt Inc. d/b/a Mallinckrodt Inc., a Delaware Corporation

 as Defendant, entered by the United States District Court for the Eastern District of Missouri on




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      “West Boca Related Parties” means, with respect to West Boca Medical Center, Inc., Tenet Healthcare
      Corporation, and their respective affiliates and any affiliated medical practices, each such Person’s predecessors,
      successors, assigns, subsidiaries, affiliates, managed accounts or funds, past, present and future officers, board
      members, directors, principals, agents, servants, independent contractors, co-promoters, third-party sales
      representatives, medical liaisons, members, partners (general or limited), managers, employees, subcontractors,
      agents, advisory board members, financial advisors, attorneys and legal representatives, accountants, investment
      bankers, consultants, representatives, management companies, fund advisors and other professionals and
      advisors, trusts (including trusts established for the benefit of such Person), trustees, protectors, beneficiaries,
      direct or indirect owners and/or equityholders, parents, transferees, heirs, executors, estates, nominees,
      administrators, and legatees, in each case in their respective capacities as such.

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 August 7, 2007, United States of America et al v. Findett Real Estate Corp., et al,. Civ. Action No.

 4:07-cv-01215 (E.D. Mo.).

        267.    Reservation of Rights under Police and Regulatory Laws - West Lake Landfill

 Superfund Site. Notwithstanding anything to the contrary in the Plan, the injunctions, releases,

 and discharges set forth in the Plan shall not impair the rights, claims or causes of action of the

 United States or the State of Missouri under police and regulatory laws and regulations, against

 the Debtors regarding the West Lake Landfill Superfund Site, specifically with respect to the work

 of certain of the Debtors and/or their predecessors under various contracts with the U.S. Army

 Corps of Engineers, as assumed by the Atomic Energy Commission, a predecessor-in-interest to

 the Department of Energy, to support the production of refined uranium, including their

 production, storage and disposal of radioactive material, consisting of source, special nuclear,

 and/or byproduct material, in the greater St. Louis, Missouri area (“Manhattan Project”); and

 such rights, claims and causes of action shall not be discharged or otherwise adversely affected by

 the Plan, shall survive the Chapter 11 Case as if it had not been commenced, and may be

 determined or adjudicated before the respective administrative agency having jurisdiction or court

 of competent jurisdiction. However, this reservation of rights shall not apply to any other claims

 or causes of action of the United States or the State of Missouri against the Debtors regarding the

 West Lake Landfill Superfund Site that are unrelated to the Manhattan Project, or that relate to any

 other claim or cause of action that the United States or the State of Missouri may assert.

        6.      Cotter and Bridgeton Landfill.

        268.    Notwithstanding anything to the contrary in this Confirmation Order or in the Plan,

 any liabilities of Debtor Mallinckrodt LLC that have been asserted in writing before the Petition

 Date and that are subject to current or future indemnification claims under its (or its predecessors’)

 various contracts with the U.S. Army Corps of Engineers, as assumed by the Atomic Energy

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 Commission, a predecessor-in-interest to the Department of Energy, to support the production of

 refined uranium, including its production, storage, and disposal of radioactive material, consisting

 of source, special nuclear, and/or byproduct material, in the greater St. Louis, Missouri area (for

 purposes of this paragraph, the foregoing liabilities shall be referred to as the “Defined

 Liabilities”) shall not be discharged, released, enjoined, or otherwise impaired by the Plan or this

 Confirmation Order. Any recovery based on the Defined Liabilities from the Debtors or their

 estates or the Reorganized Debtors shall be limited to their ability to recover the same from their

 indemnitors pursuant to said contracts, provided that Mallinckrodt LLC agrees to timely tender

 claims for indemnification to such indemnitors for any judgment entered against it for, or

 settlement by Mallinckrodt LLC of, a Defined Liability. Any Claims, other than the Defined

 Liabilities, relating in any way to the Debtors’ processing of radioactive material (including the

 production, storage and disposal of any radioactive material, in the greater St. Louis, Missouri

 area) and held by (a) Bridgeton Landfill, LLC or any of its present and former subsidiaries, parent

 companies, divisions, affiliates, predecessors, successors, related entities, or any of their present

 and former officers and employees, or any other entity or individual who might claim by, on behalf

 of, or through any of the foregoing (collectively, “Bridgeton”), or (b) Cotter Corporation (N.S.L.)

 or any of its present and former subsidiaries, parent companies, divisions, affiliates, predecessors,

 successors, related entities, or any of their present and former officers and employees, or any other

 entity or individual who might claim by, on behalf of, or through any of the foregoing (collectively,

 “Cotter”), against any Debtor, its estate, or any Released Party arising on or before Confirmation

 shall be released, discharged, and enjoined in accordance with the Plan and this Confirmation

 Order and shall receive no recovery, except that Citicorp Del-Lease, Inc. shall not be released or

 otherwise designated as a Released Party for purposes of this paragraph. For the avoidance of



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 doubt, any rights or claims of Bridgeton or Cotter against any other Person or Entity, other than

 any Debtor or any Released Party, shall not be discharged, released, enjoined, or otherwise

 impaired by the Plan or this Confirmation Order.

        7.      Harmac Medical Products, Inc.

        269.    Harmac Medical Products, Inc. (“Harmac”) filed the Limited Objection to the Joint

 Plan of Reorganization of Mallinckrodt plc and its Debtors Affiliates Under Chapter 11 of the

 Bankruptcy Code [Docket No. 3953] (the “Harmac Limited Objection”). In the Harmac Limited

 Objection, Harmac objected to the assumption of (a) that certain Supply Agreement, dated April

 17, 2018, as amended by a certain Amendment of Supply Agreement, dated May 9, 2019, and (b)

 that certain Quality Agreement, dated April 20, 2020 (collectively, the “Harmac Supply

 Agreements”). The Debtors and Harmac agree to resolve the Harmac Limited Objection and the

 Harmac Supply Agreements are hereby assumed under section 365 of the Bankruptcy Code;

 provided, however, that (a) Article V.G of the Plan shall not apply to the Harmac Supply

 Agreements, (b) the Debtors shall pay any post-petition open invoices in the ordinary course of

 business pursuant to the Harmac Supply Agreements, and (c) Harmac shall reserve (i) all of it

 rights and remedies under the Trade Agreement between Harmac and Debtor Mallinckrodt

 Pharmaceuticals Ireland Limited and the Harmac Supply Agreements and (ii) its status as a critical

 vendor and Section 503(b)(9) claim status to the extant applicable.

        8.      Perrigo Pharma International D.A.C.

        270.    Perrigo Pharma International D.A.C. (“Perrigo”) filed the Limited Objection by

 Perrigo Pharma International D.A.C. to Cure Amounts Listed on Exhibit V (Assumed Executory

 Contract/Unexpired Lease List) of Plan Supplement [Docket No. 3738] (the “Perrigo Limited

 Objection”). In the Perrigo Limited Objection, Perrigo reserved its rights regarding the Debtors’

 proposed assumption of a certain Supply Agreement dated July 1, 2016 (as amended or otherwise

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 modified from time to time, the “Supply Agreement”) between Debtor SpecGx LLC (as supplier)

 and Perrigo (as customer). The Debtors and Perrigo agree to resolve the Limited Objection as

 follows: (a) notwithstanding any provision of this Confirmation Order or the Plan to the contrary,

 upon the assumption of the Supply Agreement, the Debtors and the Reorganized Debtors, as

 applicable, will continue to honor all prepetition, postpetition and post-Effective Date obligations

 under the Supply Agreement in accordance with the terms thereof; and (b) the fact that no cure

 amount has been asserted by Perrigo prior to the assumption of the Supply Agreement shall not be

 deemed to be a satisfaction of or otherwise impair Perrigo’s rights against the Debtors under the

 Supply Agreement for claims that may have first arisen at any time prior to the effective date of

 the assumption; provided, however, that the foregoing clauses of this provision shall not apply to

 the affiliates of Perrigo.

         9.      Reservation of Rights by Russell Smestad, in his capacity as the post-merger
                 Representative of the Securityholders of Stratatech Corporation (the
                 “Securityholders”) with respect to that certain Agreement and Plan of
                 Merger dated August 10, 2016 (the “Merger Agreement”) between the
                 Securityholders and Debtors Mallinckrodt plc, Mallinckrodt Hospital
                 Products, Inc., Mallinckrodt International Finance SA, and Stratatech
                 Corporation.

         271.    Notwithstanding any provision to the contrary of this Confirmation Order, the Plan

 (in particular but without limitation, Article IX or the Restructuring Transactions anticipated

 therein), or the Plan Supplements, no provision of the foregoing shall prejudice the

 Securityholders’ rights, pursuant to the Merger Agreement or otherwise, to (a) on or prior to the

 Administrative Claims Bar Date, assert, apply for, file, prosecute, and collect any Administrative

 Claim arising after 11:59 PM ET on April 30, 2021, against the Debtors, and/or (b) prior to or after

 the Effective Date, commence an adversary proceeding for (without limitation) a declaration that

 the Merger Agreement is not an executory contract subject to rejection by the Debtors under 11

 U.S.C. § 365(a), or if the Merger Agreement is an executory contract subject to 11 U.S.C. § 365,

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 that any rejection thereof should be considered effective as of the Effective Date of the Plan and

 any Claims in connection with such rejection shall be subject to Article V.C of the Plan, and/or (c)

 subject to the Administrative Claims Bar Date, commence and prosecute any adversary

 proceeding, motion, or other separate action to effectuate, support, or collect any post-petition

 amounts claimed due and owing to the Securityholders under the Merger Agreement against the

 Debtors, Reorganized Debtors, any NewCo, any NewCo Subsidiaries, or any successor/assign of

 such entities, and/or (d) in conjunction with the actions described in (b) and (c) herein, assert that

 any Claims of the Securityholders against the Debtors under the Merger Agreement were not or

 could not be discharged upon the occurrence of the Effective Date (collectively, the

 “Securityholders’ Claims”); provided, however, that the Debtors, Reorganized Debtors, or any

 successors thereto, as applicable, reserve all rights and defenses in connection with the

 Securityholders’ Claims, including without limitation the actions and/or Claims described in (a)

 through (d) herein. For the avoidance of doubt, the Securityholders’ are not a Non-Debtor-

 Releasing Party and affirmatively opt out of any releases, injunctions or exculpatory provisions as

 the Plan or other applicable law may allow.

        10.     Mississippi Department of Revenue.

        272.    Notwithstanding anything in the Plan or this Confirmation Order to the contrary:

 (a) the Mississippi Department of Revenue’s (the “MDOR”) setoff rights under section 553 of the

 Bankruptcy Code and recoupment rights under the Bankruptcy Code and non-bankruptcy law are

 preserved and are unaffected; (b) the MDOR shall not be required to file any proofs of claim or

 requests for payment in these Chapter 11 Cases for any Administrative Claims for the liabilities

 described in Section 503(b)(1)(B) and (C) of the Bankruptcy Code; provided, however, should the

 MDOR file any Proofs of Claim or requests for payment in these Chapter 11 Cases for any

 Administrative Claims, the Debtors and Reorganized Debtors, as applicable, reserve all rights to

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 object to such Proofs of Claim except as to the timeliness of the filing of such Proofs of Claim; (c)

 nothing in this Confirmation Order or the Plan alleviates or otherwise modifies the Debtors’ or

 Reorganized Debtors’, as applicable, obligations to comply with any applicable deadlines for the

 filing of tax returns and the remittance of taxes under Mississippi state law; (d) subject to Article

 II.B of the Plan, to the extent the MDOR’s Allowed Priority Tax Claims, if any, are not paid in

 full in cash on the Effective Date or as soon as reasonably practicable thereafter, such Allowed

 Priority Tax Claims shall, at a minimum, be paid by regular, quarterly installment payments in

 cash over a period not to exceed five years after the date of the order for relief under section 301

 of the Bankruptcy Code, all as required by section 1129(a)(9)(C) of the Bankruptcy Code, along

 with non-bankruptcy interest in accordance with sections 511 and 1129(a)(9)(C) of the Bankruptcy

 Code and Mississippi state law, as applicable; (e) nothing in this Confirmation Order or the Plan

 abridges or otherwise modifies the MDOR’s rights under Mississippi law with respect to collecting

 withholding taxes or sales taxes from the Debtors, Reorganized Debtors, or applicable non-

 Debtors, as applicable; (f) the statutorily mandated treatment of MDOR’s Allowed Priority Tax

 Claims, if any, and/or any liabilities to MDOR described in section 503(b)(1)(B) and (C) of the

 Bankruptcy Code shall not be considered a settlement or compromise; (g) the MDOR may amend

 any Proof of Claim against any Debtor with respect to any Claims related to (a) a pending audit,

 (b) an audit that may be performed, with respect to any pre or post-petition tax return, or (c) a filed

 tax return, and must file or amend such Proof of Claim within 30 days following the completion

 of the audit or the receipt of the filed tax return; provided, however, that the Debtors and

 Reorganized Debtors, as applicable, reserve all other rights to object to such amended Proofs of

 Claim; and (h) in the event of a default in payment of Allowed Priority Tax Claims, if any, of the

 MDOR, the MDOR shall be permitted to send written notice of default to the Reorganized Debtors



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 to the address in MDOR’s records and if such default is not cured within 30 days after such notice

 of default is mailed, the MDOR may seek relief as may be available from the Court and the Debtors

 and Reorganized Debtors, as applicable, reserve all rights to object to such notice.

        11.     Texas Comptroller of Public Accounts, Revenue Accounting Division (a state
                taxing entity).

        273.    Notwithstanding anything in the Plan or this Confirmation Order to the contrary:

 (a) the Texas Comptroller of Public Accounts, Revenue Accounting Division (the “TCPA”) shall

 not be required to file any proofs of claim or requests for payment in these Chapter 11 Cases for

 any Administrative Claims for the liabilities described in Section 503(b)(1)(B) and (C) of the

 Bankruptcy Code; provided, however, should the TCPA file any Proofs of Claim or requests for

 payment in these Chapter 11 Cases for any Administrative Claims, the Debtors and Reorganized

 Debtors, as applicable, reserve all rights to object to such Proofs of Claim except as to the

 timeliness of the filing of such Proofs of Claim; and (b) the TCPA setoff rights under section 553

 of the Bankruptcy Code and recoupment rights under the Bankruptcy Code and non-bankruptcy

 law are preserved and are unaffected.

        12.     The Wichita County Tax Office, Lubbock County Appraisal District, Plano
                ISD, Frisco ISD, Richardson ISD, Arlington ISD, City of Grapevine,
                Grapevine-Colleyville ISD, and Potter County.

        274.    The Wichita County Tax Office, Lubbock County Appraisal District, Plano ISD,

 Frisco ISD, Richardson ISD, Arlington ISD, City of Grapevine, Grapevine-Colleyville ISD, and

 Potter County (collectively, the “Certain Texas Taxing Entities”) administrative expense claims

 for year 2021 ad valorem property taxes shall be paid in the ordinary course of business prior to

 the Texas state law delinquency date without the necessity of filing administrative expense claims

 and requests for payment as set forth in 11 U.S.C. Section 503(b)(1)(B)-(D) and shall be subject

 to applicable non-bankruptcy laws including penalty and interest when due, to the extent set forth


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 in section 511 of the Bankruptcy Code, without further notice to or order of this Court. Any

 prepetition or postpetition tax liens, including statutory liens, if any, of the Certain Taxing Entities,

 that secures tax amounts ultimately determined to be owed by the Debtors or Reorganized Debtors,

 as applicable, shall be retained as provided under Texas state law, and all parties’ rights with

 respect to such tax liens, including to object to the priority, validity, amount, and extent of any

 such tax liens (including liens asserted by the Certain Texas Taxing Entities), are fully preserved.

 The Debtors’ and the Reorganized Debtors’ (as applicable) rights and defenses under applicable

 law and the Bankruptcy Code with respect to the foregoing, including their right to dispute or

 object to the Certain Texas Taxing Entities’ Claims and liens, are fully preserved.

         13.     The BC Co-Defendants (Province of British Columbia and the College of
                 Pharmacists).

         275.    Notwithstanding anything to the contrary contained in the Plan, Confirmation

 Order, or any of the other Definitive Documents (including, without limitation, the Cooperation

 Agreement), nothing in the Plan, Confirmation Order, or other Definitive Documents (including,

 without limitation, the Cooperation Agreement) shall affect in any way the obligations, if any, of

 (a) the Debtors or the Reorganized Debtors as third parties; and/or (b) the Opioid MDT II as a third

 party, to comply with validly issued and served discovery requests and/or subpoenas in connection

 with the proposed class action lawsuit commenced under the Class Proceedings Act (British

 Columbia) and filed June 1, 2020, in the Supreme Court of British Columbia, under Court File No.

 VLC-S-S-205793 (Vancouver Registry) (the “BC Action”), by Ms. Laura Shaver, the plaintiff and

 proposed representative plaintiff of the proposed class, provided that the rights of the Debtors, the

 Reorganized Debtors and the Opioid MDT to object to any such discovery requests and/or

 subpoenas are fully preserved.




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        14.     Covidien Limited (f/k/a Covidien plc) (together with any parents,
                subsidiaries, or other affiliates thereof).

        276.    The Plan defines the term “Opioid Insurance Policies” to include “(ii) all Insurance

 Contracts issued to Covidien Limited (f/k/a Covidien plc) or its affiliates, subsidiaries, or parents

 prior to the 2013 spin-off of Mallinckrodt plc from Covidien (the ‘Spin-Off’) under which, as of

 the Effective Date, the Debtors have or hold rights to coverage with respect to any Opioid Claim

 (the ‘Covidien Insurance Policies’); and (iii) all Insurance Contracts issued to the predecessors of

 Covidien Limited (f/k/a Covidien plc) and their affiliates, subsidiaries, or parents prior to the Spin-

 Off under which, as of the Effective Date, the Debtors have or hold rights to coverage with respect

 to any Opioid Claim (the ‘Pre-Covidien Insurance Policies’).” Notwithstanding anything to the

 contrary contained in the Plan, any document included in the Plan Supplement (collectively, the

 “Plan Documents”), or elsewhere in this Confirmation Order, and as part of the resolution of the

 Limited Objection to the Plan filed by Covidien Limited (f/k/a Covidien plc) (“Covidien”) [Docket.

 No. 4699], if and to the extent that both Covidien and any Debtor have rights in, under, related to,

 or in connection with any of the Opioid Insurance Policies (a “Shared Policy”):

                a.      With regard to any rights of Debtors under any Shared Policy, the Plan
                        (a) shall assign to the Opioid MDT II, and (b) the Opioid MDT II may, in
                        any Opioid Insurance Settlement, release, only such rights (if any) as the
                        Debtors have or hold as of the Effective Date under a Shared Policy (such
                        rights, if any, of the Debtors, the “Opioid MDT II Insurance
                        Rights”). Notwithstanding anything in this section RR.14 of this
                        Confirmation Order, and to the extent otherwise permitted under applicable
                        law (including, to the extent applicable, the terms of the Separation and
                        Distribution Agreement by and between Covidien plc and Mallinckrodt plc
                        dated as of June 28, 2013 (the “Separation and Distribution
                        Agreement”)), the erosion of any applicable limits of a Shared Policy as a
                        result of a settlement between the Opioid MDT II and an Opioid Insurer of
                        Opioid MDT II Insurance Rights, or the payment of claims or settlement
                        amounts to the Opioid MDT II by an Opioid Insurer under a Shared Policy
                        in respect of Opioid MDT II Insurance Rights, shall not be or be deemed to
                        be an impermissible release of any rights of Covidien under a Shared Policy,
                        and shall not be rendered ineffective by this section RR.14 of this
                        Confirmation Order.

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               b.      Nothing in the Plan, Plan Documents or this Confirmation Order shall grant
                       the Opioid MDT II (a) any rights under any Insurance Contracts that are not
                       Opioid Insurance Policies or (b) any rights in any Shared Policies beyond
                       the Opioid MDT II Insurance Rights.
               c.      With regard to any rights of Covidien under any Shared Policy, no
                       injunction or other provision in the Plan, including the Opioid Insurer
                       Injunction, the Settling Opioid Insurer Injunction, the Opioid Permanent
                       Channeling Injunction, and the Opioid Claimant Release, shall enjoin or
                       otherwise bar Covidien from exercising rights, if any, it may have under
                       any Shared Policy, including against any Opioid Insurer, Settling Opioid
                       Insurer or other Insurer (“Covidien Insurance Rights”). Similarly,
                       notwithstanding anything in this section RR.14 of this Confirmation Order,
                       and to the extent otherwise permitted under applicable law (including, to
                       the extent applicable, the terms of the Separation and Distribution
                       Agreement), the erosion of any applicable limits of a Shared Policy as a
                       result of a settlement between Covidien and an Opioid Insurer of any
                       Covidien Insurance Rights, or the payment of claims or settlement amounts
                       to Covidien by an Opioid Insurer or other Insurer under a Shared Policy in
                       respect of Covidien Insurance Rights, shall not be or be deemed to be an
                       impermissible release of any Opioid MDT II Insurance Rights under a
                       Shared Policy and shall not be deemed barred by, or a violation of, the
                       Opioid Insurer Injunction, the Settling Opioid Insurer Injunction, and the
                       Opioid Permanent Channeling Injunction or any other injunction or
                       provision in the Plan barring the exercise of any rights under any Opioid
                       Insurance Policy, or the Opioid Claimant Release and shall not be rendered
                       ineffective by this section RR.14 of this Confirmation Order.
               d.      Nothing in this Confirmation Order, the Plan or the Plan Documents shall
                       determine the existence or extent, if any, of the rights of any Debtor or
                       Covidien in, under, related to, or in connection with any Opioid Insurance
                       Policy, which determination, if required in the future, shall be made in
                       accordance with applicable law.
        15.    The Insurers (as defined in the Plan).

        277.   With the exception of the finding set forth in paragraph I.P.3 herein that the

 Bankruptcy Code authorizes the transfer and vesting of the Opioid MDT II Consideration,

 notwithstanding any terms of any Insurance Contracts related to the Assigned Insurance Rights or

 provisions of non-bankruptcy law that any Insurer may otherwise argue prohibits such transfer and

 vesting, nothing in the Plan, Plan Supplement, Confirmation Order and any other ruling by the

 Bankruptcy Court shall constitute, or be deemed to constitute, a trial, adjudication, judgment,


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 hearing on the merits, finding, conclusion, or determination of the specific consequences or effect

 of the Plan, the Plan Supplement, this Confirmation Order, or any other ruling by the Bankruptcy

 Court on any particular insurance coverage issue, including, without limitation, the rights and

 obligations of any Insurers or the Debtors or their successors under any of the Insurance Contracts,

 including the Opioid Insurance Policies (collectively, the “Insurance Coverage Issues”). In the

 event of any dispute concerning any Insurance Coverage Issue, such dispute shall be resolved

 pursuant to the terms and conditions of the Insurance Contracts, including the Opioid Insurance

 Policies, and/or applicable law in a subsequent litigation or other proceedings as appropriate, with

 any and all rights with respect thereto preserved.

        278.    Article IV.W.2.d of the Plan provides that “Subject to the foregoing, nothing

 contained in the Plan, the Plan Supplement, or the Confirmation Order shall operate to require any

 Opioid Insurer to pay under any Opioid Insurance Policy the liability of any Person that was not

 an insured prior to the Petition Date.” For the avoidance of doubt, in Article IV.W.2.d of the Plan,

 “subject to the foregoing” serves to make express that the remainder of the sentence does not

 negate, detract from, limit, or in any other way affect the assignment of the Assigned Third-Party

 Claims, the Share Repurchase Claims, and the Assigned Insurance Rights to the Opioid MDT II

 under the Plan.

        16.     CVS Pharmacy, Inc., CaremarkPCS Health, L.L.C., Caremark, L.L.C, and
                Zinc Health Services LLC.

        279.    CVS/Caremark Agreements. Notwithstanding the proposed Cure Costs set forth

 in any exhibits to the Plan Supplement (as amended from time to time) served on CVS Pharmacy,

 Inc., CaremarkPCS Health, L.L.C., Caremark, L.L.C, and Zinc Health Services LLC (collectively,

 “CVS/Caremark”), on and after confirmation of the Plan, the Debtors and/or the Reorganized

 Debtors, as the case may be, shall (in accordance with the terms of the applicable agreement(s))


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 honor, and continue to pay in the ordinary course of business, all defaults and actual pecuniary

 losses sustained by CVS/Caremark (whether incurred pre-petition or post-petition) resulting from

 the Debtors’ liabilities related to rebates, product returns, recalls, chargebacks, coupons, discounts,

 failure to supply claims, and similar obligations, in each case, to the extent incurred in the ordinary

 course of business. For the avoidance of doubt, this paragraph shall not impact the release or other

 treatment of CVS/Caremark’s Co-Defendant Claims and Opioid Claims (including Opioid

 Demands) set out under the terms of the Plan and this Order (collectively, the “CVS/Caremark

 Co-Defendant Release Provisions”) and, to the extent there is any conflict between this paragraph

 and any CVS/Caremark Co-Defendant Release Provisions, the CVS/Caremark Co-Defendant

 Release Provisions shall govern.

        17.     United States of America on Behalf of the Internal Revenue Service.

        280.    Notwithstanding anything to the contrary contained in the Plan or Confirmation

 Order, nothing in the Plan or Confirmation Order shall grant any relief to any Entity that the Court

 is prohibited from granting by the Declaratory Judgment Act, 28 U.S.C. § 2201(a), or the Tax

 Anti-Injunction Act, 26 U.S.C. § 7421(a). Notwithstanding any other provision of the Plan, the

 United States’ right to post-petition interest and penalties on its priority and administrative tax

 claims is preserved.

        18.     American International Group, Inc.

        281.    For the avoidance of doubt, notwithstanding any contrary provision set forth herein,

 all parties’ rights are reserved regarding the enforceability of the arbitration provisions in the

 Insurance Contracts (including, without limitation, the Workers’ Compensation Contracts).




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        19.     Catalent Pharma Solutions, LLC, on behalf of itself and its affiliates and
                related companies.

        282.    For the avoidance of doubt, any and all contracts or other agreements (together with

 any addenda, amendments, quotations, solutions, purchase orders, project plans, and other

 instruments related thereto) that exist as of the Effective Date between any of the Debtors, on the

 one hand, and Catalent Pharma Solutions, LLC, its affiliates, or related companies (collectively,

 “Catalent”), on the other hand (such agreements, collectively, the “Catalent Contracts”)—

 including, but not limited to, the applicable agreements identified on the Assumed Executory

 Contract/Unexpired Lease List filed as Exhibit V to the Plan Supplement (as such list may be

 amended, supplemented, or otherwise modified from time to time)—are hereby assumed as of the

 Effective Date pursuant to sections 365 and 1123 of the Bankruptcy Code.

        283.    Notwithstanding anything in the Plan to the contrary, the Catalent Contracts shall

 be assumed in toto as of the Effective Date; no provisions or obligations contained within any of

 the Catalent Contracts shall be or deemed to be severed; and Catalent’s right to assert an

 indemnification Claim or other Claim(s)—including, but not limited to, defensive Claim(s), such

 as Claims of setoff and recoupment—under any of the Catalent Contracts against the Debtors or

 the Reorganized Debtors, as applicable, is expressly preserved regardless of whether such Claim(s)

 arose prior to or after the Effective Date; provided, however, (a) Catalent may not (at any time)

 seek indemnification, reimbursement, or contribution from the Debtors, the Reorganized Debtors

 or Insurers (acting in such capacity) for any Opioid Claims, Opioid Demands, Co-Defendant

 Claims, or Co-Defendant Actions, whether arising under the Catalent Contracts or otherwise, that

 may exist as of the Effective Date, and (b) the Debtors or the Reorganized Debtors expressly

 reserve any right to object, challenge, and/or defend against any indemnification Claims or other

 Claim(s) that Catalent may bring or assert against the Debtors or the Reorganized Debtors.


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 Nothing in this paragraph shall limit the indemnification, reimbursement, or contribution rights

 that arise under any agreements any of the Debtors or Reorganized Debtors and Catalent enter into

 subsequent to the entry of this Order (each a “Future Catalent Contract”), including, but not

 limited to rights pertaining to any Opioid Claims, Opioid Demands, Co-Defendant Claims, or Co-

 Defendant Actions that may arise under a Future Catalent Contract or otherwise (collectively,

 “Future Catalent Opioid Claims”) so long as such Future Catalent Opioid Claims pertain to

 activity that occurred, or is occurring, after the Effective Date.

        20.     OptumRx, Inc.

        284.    For the avoidance of doubt, the Commercial Rebate Agreement between OptumRx,

 Inc. (“OptumRx”) and Mallinckrodt LLC, dated January 1, 2013 (as amended or otherwise

 modified from time to time, the “Commercial Rebate Agreement”) is hereby assumed as of the

 Effective Date pursuant to sections 365 and 1123 of the Bankruptcy Code. Upon the assumption

 of the Commercial Rebate Agreement on the Effective Date:

                a.      OptumRx’s Release: OptumRx releases and forever discharges (i) the
                        Debtors and the Reorganized Debtors, (ii) the current and former officers
                        and directors of the Debtors and the Reorganized Debtors, (iii) the Insurers
                        (acting in such capacity), and (iv) the Protected Parties (collectively, the
                        “Beneficiaries of OptumRx Releases”) from all liability, Claims,
                        demands, damages, and Causes of Action (including but not limited to
                        contractual, statutory, and common-law rights of indemnification,
                        reimbursement, or contribution and, for the avoidance of doubt, all Opioid
                        Claims, Opioid Demands, Co-Defendant Claims, or Co-Defendant
                        Actions)—whether known or unknown, contingent or noncontingent,
                        matured or unmatured, suspected or unsuspected, foreseen or unforeseen,
                        direct or indirect, choate or inchoate, existing or hereafter arising, under
                        statute, in contract, in tort, in law, or in equity, or pursuant to any other
                        theory of law, federal or state, whether asserted or assertable directly or
                        derivatively in law or equity or otherwise by way of claim, counterclaim,
                        cross-claim, third party action, action for indemnity or contribution or
                        otherwise—related to or arising from Opioid-Related Activities occurring
                        or existing on or before the Effective Date (such Claims, collectively, the
                        “OptumRx Opioid Claims”). For the avoidance of doubt, OptumRx
                        Opioid Claims shall include all Opioid Claims, Opioid Demands, Co-
                        Defendant Claims, and Co-Defendant Actions that are asserted by

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                   OptumRx against the Beneficiaries of OptumRx Releases after the Effective
                   Date only to the extent that they are related to any conduct or circumstance
                   occurring or existing on or before the Effective Date. Any OptumRx Opioid
                   Claims are hereby released and discharged with no consideration on account
                   thereof, and all Proofs of Claim in respect thereof shall be deemed
                   expunged, without further notice, or action, order or approval of the
                   Bankruptcy Court or any other Person. OptumRx shall not receive or retain
                   any property on account of such OptumRx Opioid Claims and not have any
                   recourse to any Debtor or any Assets of any Debtor, any Estate or any Assets
                   of any Estate, any other Protected Party or any Assets of any Protected
                   Party, or any of the Opioid MDT II or Opioid Creditor Trusts and any Assets
                   of the Opioid MDT II and the Opioid Creditor Trusts. For the avoidance
                   of doubt, (i) OptumRx is not releasing or impairing any Acthar Claim it may
                   have, if any, (ii) and OptumRx expressly reserves all Co-Defendant
                   Defensive Rights it may have, if any.
             b.    Debtors’ Release: The Debtors release and forever discharge (i) OptumRx,
                   (ii) OptumRx’s current and former officers and directors, (iii) the OptumRx
                   Protected Parties (defined below), and (iv) OptumRx’s insurers (acting in
                   such capacity) from all liability, Claims, demands, damages, and Causes of
                   Action (including but not limited to contractual, statutory, and common-law
                   rights of indemnification, reimbursement, or contribution)—whether
                   known or unknown, contingent or noncontingent, matured or unmatured,
                   suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate
                   or inchoate, existing or hereafter arising, under statute, in contract, in tort,
                   in law, or in equity, or pursuant to any other theory of law, federal or state,
                   whether asserted or assertable directly or derivatively in law or equity or
                   otherwise by way of claim, counterclaim, cross-claim, third party action,
                   action for indemnity or contribution or otherwise—related to or arising from
                   Opioid-Related Activities occurring or existing on or before the Effective
                   Date. The “OptumRx Protected Parties” are OptumRx’s parents, affiliates,
                   subsidiaries, successors, assignees, heirs, executors, nominees, managers,
                   principals, members, partners, employees, agents, advisors (including
                   financial advisors), attorneys (including any attorneys retained by any of
                   OptumRx’s current or former officers and directors acting in his or her
                   capacity as an officer or director), accountants, investment bankers
                   (including any investment bankers retained by any of OptumRx’s current or
                   former officers and directors acting in his or her capacity as an officer or
                   director), consultants, experts, and other professionals (including any
                   professionals retained by any of OptumRx’s current or former officers and
                   directors acting in his or her capacity as an officer or director), or other
                   representatives of OptumRx.




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          21.      The MDL Debtors’ Lift Stay Stipulated Order.

          285.     On October 18, 2021, the Court entered that certain Stipulated Order Providing

 Relief From The Automatic Stay [Docket No. 4771] (the “Generics MDL Stipulated Order”) as

 between Debtors Mallinckrodt plc and Mallinckrodt LLC (“MDL Debtors”) and the Stipulating

 MDL Plaintiffs28 with respect to that certain multi-district litigation captioned In re Generic

 Pharmaceuticals Pricing Antitrust Litigation, No. 16-MD-2724, MDL No. 2724 (E.D. Pa.) before

 the Honorable Cynthia M. Rufe in the Eastern District of Pennsylvania. The Reorganized Debtors

 shall be bound by the terms of the Generics MDL Stipulated Order. Nothing in this Confirmation

 Order alters or otherwise modifies the terms of the Generics MDL Stipulated Order.

          22.      Objection of Holders of First Lien Notes.

          286.     Notwithstanding anything to the contrary set forth in the Plan or this Confirmation

 Order, any Holder of First Lien Notes that objected to the confirmation of the Plan pursuant to (a)

 the Objection and Response of the Ad Hoc First Lien Notes Group to (A) First Amended Joint Plan

 of Reorganization of Mallinckrodt Plc and its Debtor Affiliates under Chapter 11 of the Code and

 (B) Debtors’ Objection to Funded Debt Claims [Docket No. 4709] or (b) Columbus Hill Capital

 Management, L.P.’s (A) Objection to Confirmation of Debtors’ Joint Plan of Reorganization and

 (B) Response to Objection to Funded Debt Claims [Docket No. 4729], solely in their capacity as

 such, shall be permitted to opt out of the release set forth in Article IX.C of the Plan by delivering



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      The Stipulating MDL Plaintiffs are defined in the Generics MDL Stipulated Order as: Humana Inc., Health Care
      Service Corp., Molina Healthcare, Inc., United HealthCare Services, Inc., The Kroger Co., Albertsons
      Companies, LLC, H.E. Butt Grocery Company L.P., CVS Pharmacy, Inc., The Proposed Class of Direct
      Purchaser Plaintiffs, The Proposed Class of Indirect Reseller Plaintiffs, The Proposed Class of End-Payer
      Plaintiffs, and the State Attorneys General Plaintiffs, which are: Alabama, Alaska, Arizona, Arkansas, California,
      Colorado, Connecticut, Delaware, District of Columbia, Florida, Georgia, Territory of Guam, Hawaii, Idaho,
      Illinois, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota,
      Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,
      North Carolina, North Dakota, Northern Mariana Islands, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico,
      Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, Virginia, Washington, West Virginia,
      Wisconsin and Wyoming.

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 notice of such election to the Debtors prior to the Effective Date. Upon delivery of such notice to

 the Debtors, such Holder of First Lien Notes shall cease to be a Non-Debtor Releasing Party.

        23.     The ESI Parties.

        287.    For the avoidance of doubt, the inclusion of “Express Scripts, Inc.” in Exhibit 5 to

 the Plan as a Released Co-Defendant shall not be interpreted to alter any rights or obligations

 among the Debtors and Accredo Health Group, Inc., CuraScript, Inc. d/b/a/ CuraScript SP

 Specialty Pharmacy, Evernorth Health Inc. f/k/a Express Scripts Holding Company, Express

 Scripts, Inc., Priority Healthcare Distribution, Inc. d/b/a CuraScript SD Specialty Distribution,

 United BioSource LLC f/k/a United BioSource Corp., or any of their past, present, or future

 parents, subsidiaries, affiliates, insiders, employees, officers, directors, professionals, or agents

 (collectively, the “ESI Parties”), and the ESI Parties shall not be treated as Released Co-

 Defendants, Co-Defendants, Co-Defendant Related Parties, or holders of Co-Defendant Claims,

 except insofar as such rights, obligations, or treatment are or relate to any Opioid-Related

 Activities, any Opioid Claim, or any Opioid Demand. For further avoidance of doubt, no aspect

 of the this Confirmation Order should be construed to provide for a release of, alteration of, or

 findings as to any obligations of ESI Parties to unsecured creditors for Acthar, or the rights of such

 creditors to pursue claims against ESI Parties outside bankruptcy. Notwithstanding anything to

 the contrary herein, nothing in this Confirmation Order shall preclude Priority Healthcare

 Distribution, Inc. (d/b/a CuraScript SD Specialty Distribution) (“CuraScript”) from objecting to

 assumption of the Wholesale Purchase Agreement between Mallinckrodt ARD LLC and

 CuraScript prior to the Effective Date.




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        24.     The Stipulation Resolving Insurers’ Objection To Confirmation Of Amended
                Plan [Docket No. 6028] (the “Insurer Stipulation”).

        288.    On January 3, 2022, the Debtors filed the Insurer Stipulation on the Court’s docket

 [see Docket No. 6028]. The Debtors and Reorganized Debtors shall be bound by the terms of the

 Insurer Stipulation. Nothing in this Confirmation Order alters or otherwise modifies the terms of

 the Insurer Stipulation. The below provisions in paragraphs 289-295 of this Confirmation Order

 are included in the Insurer Stipulation and are hereby approved by the Court.

        289.    Asbestos Cost Sharing Agreement. Notwithstanding any provision of the Plan or

 this Confirmation Order to the contrary, the Primary Insurance Cost Sharing Agreement

 Regarding IMCERA’s Asbestos Bodily Injury Claims dated June 20, 1991, between IMCERA

 Group, Inc., f/k/a International Minerals & Chemical Corporation (“IMC”), and Liberty Mutual

 Insurance Company (“Liberty Mutual”), Employers Insurance of Wausau, Continental Casualty

 Company, and Columbia Casualty Company (collectively, “Continental”), The Hartford Accident

 and Indemnity Insurance Company, National Union Fire Insurance Company of Pittsburgh, Pa.,

 International Insurance Company, The Home Insurance Company, and Carnforth Limited and its

 predecessor, A-M-Y Limited (the “Asbestos Cost Sharing Agreement”) is assumed by the

 Debtors under section 365 of the Bankruptcy Code, with Continental’s and Liberty Mutual’s (the

 “Asbestos Insurers”) consent under the facts and circumstances of this case, and with the

 Reorganized Debtors retaining all of the Debtors’ prepetition rights and obligations under the

 Asbestos Cost Sharing Agreement, and no rights of any kind whatsoever under the Asbestos Costs

 Sharing Agreement are being assigned to the Asbestos Trust, any opioid trust, or any other entity

 besides the Reorganized Debtors under the Plan.

        290.    In reliance on the understandings of the Asbestos Insurers and the Debtors as

 communicated to and for the benefit of the Opioid Claimants, in connection with assumption of


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 the Asbestos Cost Sharing Agreement as an element of the Plan, that (a) IMC is the named insured

 under the Asbestos Insurance Policies that are subject to the Asbestos Cost Sharing Agreement,

 (b) no Debtor is an insured or has any rights to coverage or other benefits under or with respect to

 the Asbestos Insurance Policies that are subject to the Asbestos Cost Sharing Agreement beyond

 those rights the Debtors possess as successor to IMC (collectively, “Debtors’ CSA Rights”),

 which Debtors’ CSA Rights (for the avoidance of doubt) include the Debtors’ rights to have the

 Asbestos Insurers pay their share of Defense Costs and Indemnity Costs (as such terms are defined

 in the Asbestos Cost Sharing Agreements) in accordance with the terms of the Asbestos Cost

 Sharing Agreement, and (c) IMC played no role in Opioid-Related Activities (as that term is

 defined in the Plan), no rights and obligations under the Asbestos Insurance Policies that are

 subject to the Asbestos Cost Sharing Agreement shall be assigned to the Opioid MDT II pursuant

 to Article IV(W)(2)(d) of the Plan or otherwise; provided, however, that should any understandings

 above be incorrect, the Asbestos Cost Sharing Agreement and the Debtors’ CSA Rights will in no

 circumstances be deemed assigned to the Opioid MDT II under the Plan.

        291.    The Asbestos Trust may not assert any rights or claims under the Asbestos Cost

 Sharing Agreement or the insurance policies included therein on account of any Asbestos Claims

 channeled to the Asbestos Trust, any costs of administration of the Asbestos Trust, or any other

 amounts.

        292.    None of the Debtors, the Reorganized Debtors, or the Asbestos Trust may seek

 indemnification or reimbursement for any part of the General Unsecured Claim Trust

 Consideration or the Asbestos Claims Recovery from the Asbestos Insurers under the Asbestos

 Cost Sharing Agreement or otherwise.




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        293.    The Asbestos Insurers shall not be asked to defend or indemnify any Asbestos

 Claim to the extent it is assumed by the Asbestos Trust.

        294.    Insurers’ Settlement Language. Notwithstanding any provision of the Plan or

 this Confirmation Order to the contrary, the Settlement Agreements (as defined in the Insurer

 Stipulation) with the Alleged Environmental Insurers (as defined in the Insurer Stipulation) are

 assumed by the Debtors under section 365 of the Bankruptcy Code, with the Alleged

 Environmental Insurers’ (as defined in the Insurer Stipulation) consent under the facts and

 circumstances of this case, and with the Reorganized Debtors retaining all of the Debtors’

 prepetition rights and obligations under the Settlement Agreements (as defined in the Insurer

 Stipulation), and none of the Debtors’ obligations, including any obligations to indemnify and hold

 harmless the Alleged Environmental Insurers (as defined in the Insurer Stipulation), being

 discharged, channeled, or impaired under the Plan. Neither the Plan, nor this Confirmation Order,

 shall impact any rights and obligations the Alleged Environmental Insurers (as defined in the

 Insurer Stipulation) might have under the Settlement Agreements (as defined in the Insurer

 Stipulation) with respect to entities other than the Debtors and Reorganized Debtors.

        295.    Life Sciences Policy.      Notwithstanding any provision of the Plan or this

 Confirmation Order to the contrary, the Life Sciences Policy (as defined in the Insurer Stipulation)

 issued by Columbia Casualty Company (“Columbia”) is assumed and assigned by the Debtors

 under section 365 of the Bankruptcy Code to the Opioid MDT II, with Columbia’s consent under

 the facts and circumstances of this case, and with the Reorganized Debtors retaining no interest in,

 nor any right to make claims under, the Life Sciences Policy, as an Excluded Insurance Policy or

 otherwise, and with all of Columbia’s rights and defenses under the Life Sciences Policy preserved

 and left unimpaired.



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        25.     Humana Pharmacy.

        296.    In resolution of the Limited Objection of Humana Pharmacy, Humana Pharmacy

 Solutions, Inc., and Enclara Pharmacia, Inc. to Confirmation of the Plan and Assumption of

 Executory Contracts [Docket No. 4219], the Debtors, on the one hand, and Humana Pharmacy,

 Inc., Humana Pharmacy Solutions, Inc., and Enclara Pharmacia, Inc. (collectively, “Humana

 Pharmacy”), on the other hand, agree that, in accordance with the terms of the Plan, Humana

 Pharmacy is a Released Co-Defendant; provided, however, Humana, Inc. and its predecessors,

 successors, assigns, subsidiaries, and Affiliates other than Humana Pharmacy are not Co-

 Defendant Related Parties. In addition, a Co-Defendant Claim does not include any claim of the

 type alleged by Humana, Inc. on behalf of its subsidiaries and Affiliates against the Debtors in In

 re Generic Pharmaceuticals Pricing Antitrust Litigation, MDL No. 2724.

        26.     State Acthar Settlement Agreement.

        297.    Notwithstanding anything to the contrary set forth in the Plan, this Confirmation

 Order or any other Definitive Document (as defined in the Plan):

                a.     In the event of any conflict between the Plan or this Confirmation Order,
                       and a Federal/State Acthar Settlement Agreement signed by any Settling
                       State (each a “Rebate Claims State Settlement Agreement,” and
                       collectively, the “Rebate Claims State Settlement Agreements”), the
                       Rebate Claims State Settlement Agreements shall control, including,
                       without limitation, with respect to the release, discharge and/or injunction
                       provisions of the Plan and this Confirmation Order. For the avoidance of
                       doubt, (i) the release, discharge and/or injunction provisions of the Plan and
                       this Confirmation Order shall not be applicable to, and shall not bar, restrict
                       or limit, the rights and remedies granted to the Settling States in the Rebate
                       Claims State Settlement Agreements, including, without limitation, the
                       right to pursue the Landolt Civil Action (as defined in the Rebate Claims
                       State Settlement Agreements) or any other action, as may be permitted in
                       the Rebate Claims State Settlement Agreements, and (ii) 11 U.S.C. § 525
                       shall not apply to, or bar, restrict or limit, the rights accorded the Settling
                       States in Paragraphs 22 and 23 of the Rebate Claims State Settlement
                       Agreements to exclude Mallinckrodt from participating in any State
                       Medicaid Programs.


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                b.      Any statutes of limitation and/or laches defense applicable to the Covered
                        Conduct (as defined in the Rebate Claims State Settlement Agreements) are
                        tolled for each Settling State until such time as all payment obligations
                        under the Rebate Claims State Settlement Agreements have been satisfied
                        by the Reorganized Debtors, and any default provision contained in the
                        Rebate Claims State Settlement Agreements shall survive confirmation and
                        shall not be subject to any discharge, release or injunction.
                c.      The State courts shall have concurrent jurisdiction with this Court with
                        respect to interpretation and/or enforcement of Rebate Claims State
                        Settlement Agreements.
        27.     IQVIA Inc.

        298.    In resolution of the Limited Objection of IQVIA RDS Inc. to Notice of Cure Amounts

 in Connection with Contracts and Leases [Docket No. 3783], the Limited Objection of IQVIA RDS

 INC. to Joint Plan of Reorganization of Mallinckrodt plc and its Debtor Affiliates Under Chapter

 11 of the Bankruptcy Code [Docket No. 4132], and the Supplemental Objection of IQVIA Inc., on

 Behalf of Itself, its Subsidiaries and Affiliates, to Notice of Cure Amounts in Connection with

 Contracts and Leases and Assumption of Leases [Docket No. 4928], the Debtors, on the one hand,

 and IQVIA Inc. (formerly known as IMS Health Incorporated), its subsidiaries, affiliates, or related

 companies including, but not limited to, IQVIA RDS, Inc., ValueCentric, LLC, BuzzeoPDMA

 LLC, Highpoint Solutions, LLC, DMD Marketing, Quintiles, Inc., Quintiles Consulting, Inc., and

 Polaris Solutions, and their successors and assigns (collectively, “IQVIA”), on the other hand,

 hereby agree that any and all contracts or other agreements (together with any addenda,

 amendments, quotations, solutions, purchase orders, statements of work, project plans, and other

 exhibits, schedules and/or instruments related thereto, collectively, the “Assumed IQVIA

 Contracts”) other than the Rejected IQVIA Contracts (as defined below) that exist as of the

 Effective Date between any of the Debtors and IQVIA—including, but not limited to, the

 applicable agreements identified on the Assumed Executory Contract/Unexpired Lease List filed

 as Exhibit V to the Plan Supplement (as such list may be amended, supplemented, or otherwise

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 modified from time to time)—are hereby assumed as of the Effective Date upon payment to IQVIA

 of the cure amount of $693,504.33 (the “Cure Amount”) pursuant to sections 365 and 1123 of the

 Bankruptcy Code. For the avoidance of doubt, IQVIA has expressly and effectively opted out of

 Article V.G of the Plan with respect to the Assumed IQVIA Contracts and the Assumed IQVIA

 Contracts shall be assumed in full and as-is, without any modification or amendment whatsoever,

 including, without limitation, all indemnification obligations contained therein, and IQVIA has

 not, and will not be deemed to, waive or release the Debtors, the Reorganized Debtors, or the

 Insurers (acting in such capacity) from any obligations to indemnify, reimburse, or provide

 contribution to IQVIA under the Assumed IQVIA Contracts in any respect including, but not

 limited to, obligations to indemnify, reimburse, or provide contribution to IQVIA that accrue after

 the Effective Date whether or not such obligations are based on acts or omissions arising prior to

 the Effective Date. The following contracts or agreements (collectively, the “Currently Rejected

 IQVIA Contracts”) shall be rejected as of the Effective Date pursuant to sections 365 and 1123

 of the Bankruptcy Code: (i) Customer Services Agreement dated May 20, 2013 between

 BuzzeoPDMA LLC, Quarles & Brady LLP and Mallinckrodt LLC (and SOWs issued thereunder);

 (ii) User-Customer Agreement for AMA Physician Professional Data dated January 1, 2011

 between IMS Health Incorporated and Mallinckrodt LLC (and SOWs issued thereunder); (iii)

 Exalgo CRO – Clinical Research Organization Master Services Agreement dated December 30,

 2011 between IMS Health Incorporated and Mallinckrodt LLC (and SOWs issued thereunder);

 (iv) IMS Solutions Agreement – Mallinckrodt-ISA 13-15 dated June 1, 2013 between Mallinckrodt

 LLC and IQVIA Inc., formerly known as IMS Health Incorporated and the Software-as-a-Service

 Addendum (and SOWs issued thereunder); and (v) MIDAS/SMART Information Services

 Agreement (and SOWs issued thereunder). Notwithstanding the foregoing, nothing herein shall



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 preclude the Debtors from rejecting other contracts or agreements with IQVIA (collectively, and

 together with the Currently Rejected IQVIA Contracts, the “Rejected IQVIA Contracts”) prior

 to the Effective Date; provided, however, that IQVIA expressly reserves the right to object to any

 such additional rejection designations or any adjustment to the Cure Amount as a result thereof.

        28.     Sanofi-Aventis U.S. LLC.

        299.    Footnote 178 of the Confirmation Opinion is hereby clarified. The reference to a

 $45 million claim in footnote 178 of the Confirmation Opinion reflects the value (for Confirmation

 Hearing trial purposes only) of Sanofi’s claim as testified by Mr. Eisenberg. The rights of all

 parties are expressly reserved with respect to allowance or disallowance of Sanofi’s claims.

        SS.     POST-CONFIRMATION NOTICE AND NOTICE OF EFFECTIVE DATE

        300.    In accordance with Bankruptcy Rules 2002 and 3020(c), within [10] Business Days

 of the date of entry of this Confirmation Order, the Debtors shall serve a notice of the Plan

 confirmation (the “Notice of Confirmation”) substantially in the form attached hereto as Exhibit

 C by United States mail, first class postage prepaid, by hand, or by overnight courier service to all

 parties served with the Confirmation Hearing Notice; provided that no notice or service of any

 kind shall be required to be mailed or made upon any Entity to whom the Debtors mailed a

 Confirmation Hearing Notice, but received such notice returned marked “undeliverable as

 addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,

 unless the Debtors have been informed in writing by such Entity, or are otherwise aware, of that

 Entity’s new address after conducting a commercially reasonable search therefor. To supplement

 the notice described in the preceding sentence, within 10 days of the date of this Confirmation

 Order the Debtors shall submit for publication the Notice of Confirmation once in USA Today and

 The Wall Street Journal (national edition). Mailing and publication of the Notice of Confirmation

 in the time and manner set forth in this paragraph shall be good and sufficient notice under the

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 particular circumstances and in accordance with the requirements of Bankruptcy Rules 2002 and

 3020(c), and no further notice is necessary.

        301.    The Notice of Confirmation may constitute sufficient notice of the entry of this

 Confirmation Order to filing and recording officers and may be a recordable instrument

 notwithstanding any contrary provision of applicable non-bankruptcy law.

        302.    Pursuant to Bankruptcy Rules 2002(f)(7) and 3020(c), the Reorganized Debtor is

 authorized and directed to file and serve, within ten (10) days after the occurrence of the Effective

 Date, a notice of the Effective Date, which shall include notice of, among other things, (i) any

 outstanding applicable bar dates established by the Plan and this Confirmation Order; (ii) the

 issuance of the injunctions under the Plan, including the Opioid Permanent Channeling Injunction;

 (iii) the Effective Date; and (iv) notice of substantial consummation of the Plan on all parties that

 received notice of the Confirmation Hearing.

        TT.     EXEMPTIONS FROM REGISTRATION REQUIREMENTS

        303.    The offering, issuance, and distribution of the Takeback Second Lien Notes and the

 New Second Lien Notes in exchange for Claims pursuant to Article III of the Plan and, where

 applicable, in accordance with the terms of the Scheme of Arrangement and this Confirmation

 Order, shall be exempt from, among other things, the registration requirements of Section 5 of the

 Securities Act pursuant to section 4(a)(2) of the Securities Act. The Takeback Second Lien Notes

 and the New Second Lien Notes shall be subject to resale restrictions and may be resold,

 exchanged, assigned or otherwise transferred only pursuant to registration, or an applicable

 exemption from registration, under the Securities Act and other applicable law. The offering,

 issuance, and distribution of any other Securities, including the New Mallinckrodt Ordinary Shares

 (including any New Mallinckrodt Ordinary Shares issuable upon the exercise of the New Opioid

 Warrants) and the New Opioid Warrants in exchange for Claims pursuant to Article III of the Plan

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 and, where applicable, in accordance with the terms of the Scheme of Arrangement and this

 Confirmation Order shall be exempt from, among other things, the registration requirements of

 Section 5 of the Securities Act pursuant to section 1145 of the Bankruptcy Code. Any and all such

 New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable

 upon exercise of the New Opioid Warrants) and New Opioid Warrants so issued under the Plan

 and, where applicable, the Scheme of Arrangement, will be freely tradable under the Securities

 Act by the recipients thereof, subject to: (a) the provisions of section 1145(b)(1) of the Bankruptcy

 Code relating to the definition of an underwriter in Section 2(a)(11) of the Securities Act, and

 compliance with any applicable state or foreign securities laws, if any, and any rules and

 regulations of the SEC, if any, applicable at the time of any future transfer of such Securities or

 instruments; (b) the restrictions, if any, on the transferability of such Securities and instruments;

 and (c) any other applicable regulatory approval.

        304.    The Reorganized Debtors need not provide any further evidence other than the Plan,

 this Confirmation Order, the Scheme of Arrangement, or the Irish Confirmation Order with respect

 to the treatment of the Takeback Second Lien Notes, New Second Lien Notes, New Mallinckrodt

 Ordinary Shares or New Opioid Warrants under applicable securities laws.

        305.    Notwithstanding anything to the contrary in the Plan, no Person or Entity

 (including, for the avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding

 the due authorization, enforceability, legality or validity of, or the grant or perfection of any Lien

 in connection with, any transaction contemplated by the Plan, including, for the avoidance of

 doubt, whether the New Credit Facilities, the Takeback Second Lien Notes, the New Second Lien

 Notes, the New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares

 issuable upon exercise of the New Opioid Warrants), and the New Opioid Warrants are exempt



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 from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

 All such Persons and Entities including DTC shall be required to accept and conclusively rely

 upon the Plan, this Confirmation Order, the Scheme of Arrangement, or the Irish Confirmation

 Order in lieu of a legal opinion regarding such matters, including whether the New Credit

 Facilities, the Takeback Second Lien Notes, the New Second Lien Notes, the New Mallinckrodt

 Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of the

 New Opioid Warrants), and the New Opioid Warrants are exempt from registration and/or eligible

 for DTC book-entry delivery, settlement, and depository services. Notwithstanding any policies,

 practices, or procedures of DTC, DTC and any participants and intermediaries shall fully cooperate

 and take all actions to facilitate any and all transactions necessary or appropriate for

 implementation of the Plan or other contemplated thereby, including without limitation any and

 all distributions pursuant to the Plan and any and all Restructuring Transactions.

        UU.     EXEMPTIONS FROM CERTAIN TRANSFER TAXES

        306.    To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any

 transfer from a Debtor to a Reorganized Debtor or to any Entity pursuant to, in contemplation of,

 or in connection with the Plan or pursuant to: (a) the issuance, distribution, transfer, or exchange

 of any debt, securities, or other interest in the Debtors or the Reorganized Debtors; (b) the creation,

 modification, consolidation, or recording of any mortgage, deed of trust, or other security interest,

 or the securing of additional indebtedness by such or other means; (c) the making, assignment, or

 recording of any lease or sublease; or (d) the making, delivery, or recording of any deed or other

 instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds,

 bills of sale, assignments, or other instrument of transfer executed in connection with any

 transaction arising out of, contemplated by, or in any way related to the Plan, shall not, in each

 case, be subject to any U.S. federal, state, or local document recording tax, stamp tax, conveyance

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 fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,

 Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other

 similar tax or governmental assessment, and the appropriate U.S. state or local governmental

 officials or agents shall forego the collection of any such tax or governmental assessment and

 accept for filing and recordation any of the foregoing instruments or other documents without the

 payment of any such tax or governmental assessment.

        VV.     PRESERVATION OF CAUSES OF ACTION

        307.    In accordance with section 1123(b) of the Bankruptcy Code, but subject to the

 releases set forth in Article IV.O of the Plan and in Article IX of the Plan, all Causes of Action,

 other than the Assigned Third-Party Claims, the Assigned Insurance Rights, the Share Repurchase

 Claims, and Causes of Actions transferred to and assumed by the General Unsecured Claims Trust,

 the Asbestos Trust, and the Opioid MDT II, that a Debtor may hold against any Entity shall vest

 in the applicable Reorganized Debtor on the Effective Date. Thereafter, the Reorganized Debtors

 shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute,

 enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes

 of Action, other than the Assigned Third-Party Claims, the Assigned Insurance Rights, the Share

 Repurchase Claims, and Causes of Actions transferred to and assumed by the General Unsecured

 Claims Trust, whether arising before or after the Petition Date, and to decline to do any of the

 foregoing without the consent or approval of any third party or further notice to or action, order,

 or approval of the Bankruptcy Court. No Entity may rely on the absence of a specific reference in

 the Plan, the Plan Supplement, or the Disclosure Statement to any specific Cause of Action as any

 indication that the Debtors, the Reorganized Debtors, the General Unsecured Claims Trust, the

 Asbestos Trust, or the Opioid MDT II, in each case as applicable, will not pursue any and all

 available Causes of Action. The Debtors, the Reorganized Debtors, the General Unsecured Claims

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 Trust, the Asbestos Trust, and the Opioid MDT II, in each case as applicable, expressly reserve all

 rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly

 provided in the Plan, and, therefore, no preclusion doctrine, including the doctrines of res judicata,

 collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise)

 or laches, shall apply to any such Cause of Action upon, after, or as a consequence of the

 Confirmation or the occurrence of the Effective Date. Notwithstanding the foregoing, (a) any and

 all Causes of Action belonging to the Estates against any Released Co-Defendant or their Co-

 Defendant Related Parties (other than any Estate Surviving Pre-Effective Date Claim) are not

 Assigned Third Party-Claims and are released under the Plan and (b) any Estate Surviving Pre-

 Effective Date Claims are not Assigned Third Party-Claims, are not released, and shall belong to

 Reorganized Mallinckrodt.

        308.     Notwithstanding any provision in the Plan or any order entered in these Chapter 11

 Cases, as of and after the Effective Date, the Debtors and Reorganized Debtors forever waive,

 relinquish, and release any and all Causes of Action the Debtors and their Estates had, have, or

 may have (a) against any Released Party, or (b) that arise under section 547 of the Bankruptcy

 Code (and analogous non-bankruptcy law) against any Holder of a Trade Claim on account of such

 Trade Claims.

        WW. EFFECTIVENESS OF ALL ACTIONS

        309.     All actions authorized to be taken pursuant to the Plan shall be effective on, prior

 to, or after the Effective Date pursuant to this Confirmation Order (as applicable), without further

 application to, or order of the Court, or further action by the respective officers, directors,

 managers, members, or stockholders of the Debtors or Reorganized Debtors and with the effect

 that such actions had been taken by unanimous action of such officers, directors, managers,

 members, or stockholders.

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        310.    This Confirmation Order shall constitute all approvals and consents required, if any,

 by the laws, rules, and regulations of all states and any other governmental authority with respect

 to the implementation or consummation of the Plan and any documents, instruments, or

 agreements, and any amendments or modifications thereto, and any other acts and transactions

 referred to in or contemplated by the Plan, the Plan Supplement, the Disclosure Statement, the Exit

 Financing Documents, the New Governance Documents, the Definitive Documents, and any other

 documents, instruments, securities, or agreements, and any amendments or modifications thereto.

        XX.     CONFLICTS

        311.    To the extent that any provision of the Disclosure Statement, or any order entered

 prior to Confirmation (for avoidance of doubt, not including this Confirmation Order) referenced

 in the Plan (or any exhibits, appendices, supplements, or amendments to any of the foregoing),

 conflict with or are in any way inconsistent with any provision of the Plan, the Plan shall govern

 and control. Unless otherwise provided in this Confirmation Order, to the extent that any provision

 of the Plan conflicts with or is in any way inconsistent with any provision of this Confirmation

 Order, this Confirmation Order shall govern and control.

        312.    Notwithstanding any provision of this Confirmation Order, to the extent of a

 conflict between any provision in this Confirmation Order and Article XII.Q (“Special Provisions

 for the United States”) of the Plan, Article XII.Q of the Plan controls.

        313.    Notwithstanding anything to the contrary in this Confirmation Order, to the extent

 of conflict between the Plan or this Confirmation Order, and the Rebate Claims State Settlement

 Agreements, the Rebate Claims Settlement Agreements shall control.

        YY.     RESERVATION OF RIGHTS

        314.    Subject to the conditions to the Effective Date, the Debtors reserve the right, subject

 to the terms of the Restructuring Support Agreement, to revoke or withdraw the Plan prior to the

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 entry of this Confirmation Order and to File subsequent plans of reorganization. If the Debtors

 revoke or withdraw the Plan, or if entry of this Confirmation Order or the Effective Date does not

 occur, or if the Restructuring Support Agreement terminates in accordance with its terms prior to

 the Effective Date, then: (a) the Plan shall be null and void in all respects; (b) any settlement or

 compromise embodied in the Plan, assumption or rejection of executory contracts or leases

 effected by the Plan, and any document or agreement executed pursuant to the Plan or hereto shall

 be deemed null and void; and (c) nothing contained in the Plan, this Confirmation Order, or the

 Disclosure Statement shall: (i) constitute a waiver or release of any Claims, Interests, or Causes

 of Action; (ii) prejudice in any manner the rights of the Debtors or any other Entity; or

 (iii) constitute an admission, acknowledgment, offer, or undertaking of any sort by the Debtors or

 any other Entity; provided, that any Restructuring Expenses that have been paid as of the date of

 revocation or withdrawal of the Plan shall remain paid and shall not be subject to disgorgement or

 repayment without further order of the Bankruptcy Court.

        315.    Subject to the conditions to the Effective Date, the Plan shall have no force or effect

 unless and until the Bankruptcy Court enters this Confirmation Order. None of the filing of the

 Plan, any statement or provision contained in the Plan, or the taking of any action by any Debtor

 with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be

 deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of

 Claims or Interests prior to the Effective Date. By consenting to the treatment provided by the

 Plan or otherwise supporting the Plan, no State or Tribe shall be construed to have waived any

 claim or defense of sovereign immunity that it may have in any other action or proceeding,

 including any action or proceeding occurring after the Effective Date.




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        ZZ.     TERM OF INJUNCTIONS OR STAYS

        316.    Unless otherwise provided in the Plan or in this Confirmation Order, all injunctions

 or stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code

 or any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any

 injunctions or stays contained in the Plan or this Confirmation Order) shall remain in full force

 and effect until the Effective Date; provided that nothing in the Plan, Confirmation Order or other

 Definitive Documents shall in any way extend any stay in effect pursuant to the 105 Orders. All

 injunctions or stays contained in the Plan or this Confirmation Order shall remain in full force and

 effect in accordance with their terms.

        AAA. NONSEVERABILITY OF PLAN PROVISIONS UPON CONFIRMATION

        317.    If, prior to Confirmation, any term or provision of the Plan is held by the

 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power

 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent

 practicable, consistent with the original purpose of the term or provision held to be invalid, void

 or unenforceable, and such term or provision shall then be applicable as altered or interpreted;

 provided that, any such alteration or interpretation shall be acceptable to the Debtors, the Required

 Supporting Unsecured Noteholders, the Supporting Governmental Opioid Claimants, the Required

 Supporting Term Lenders, the Official Committee of Opioid-Related Claimants, and the Official

 Committee of Unsecured Creditors.           Notwithstanding any such holding, alteration, or

 interpretation, the remainder of the terms and provisions of the Plan will remain in full force and

 effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or

 interpretation. This Confirmation Order shall constitute a judicial determination and shall provide

 that each term and provision of the Plan, as it may have been altered or interpreted in accordance

 with the foregoing, is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and

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 may not be deleted or modified without the consent of the Debtors; and (c) nonseverable and

 mutually dependent.

        BBB. AUTHORIZATION TO CONSUMMATE

        318.    The Debtors are authorized to consummate the Plan at any time after the entry of

 this Confirmation Order subject to the satisfaction or waiver (with the consent of the applicable

 parties and in accordance with Article VIII.B of the Plan) of the conditions precedent to the

 Effective Date set forth in Article VIII.A of the Plan.

        CCC. EFFECT OF NON-OCCURRENCE                           OF     CONDITIONS         TO     THE
             EFFECTIVE DATE

        319.    If the Effective Date does not occur on or before the termination of the

 Restructuring Support Agreement, then: (a) the Plan shall be null and void in all respects; (b) any

 settlement or compromise embodied in the Plan, assumption or rejection of executory contracts or

 leases effected by the Plan, and any document or agreement executed pursuant to the Plan or hereto

 shall be deemed null and void; and (c) nothing contained in the Plan, this Confirmation Order, or

 the Disclosure Statement shall: (i) constitute a waiver or release of any Claims, Interests, or Causes

 of Action; (ii) prejudice in any manner the rights of the Debtors or any other Entity; or

 (iii) constitute an admission, acknowledgment, offer, or undertaking of any sort by the Debtors or

 any other Entity; provided, that any Restructuring Expenses that have been paid as of the date of

 revocation or withdrawal of the Plan shall remain paid and shall not be subject to disgorgement or

 repayment without further order of the Bankruptcy Court.

        DDD. RETENTION OF JURISDICTION

        320.    Notwithstanding the entry of this Confirmation Order and the occurrence of the

 Effective Date, except to the extent set forth in this Confirmation Order, in Article X of the Plan,

 and in the Opioid MDT II Documents and the Opioid Creditor Trust Documents, the Bankruptcy


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 Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the Chapter

 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including

 those matters set forth in Article X of the Plan.

        EEE. DISSOLUTION OF COMMITTEES

        321.    On the Effective Date, the Official Committee of Unsecured Creditors and the

 Official Committee of Opioid-Related Claimants shall be dissolved and the members of each of

 the Official Committee of Unsecured Creditors and the Official Committee of Opioid-Related

 Claimants and each of their legal, consulting, financial, and/or other professional advisors shall be

 deemed released of all their duties, responsibilities, and obligations in connection with the Chapter

 11 Cases and its implementation; provided, however, that following the Effective Date, the Official

 Committee of Unsecured Creditors and the Official Committee of Opioid-Related Claimants shall

 continue in existence and have standing and a right to be heard for the following limited purposes:

 (a) applications, and any relief related thereto, for compensation by Professional Persons and

 requests for allowance of fees and/or expenses under section 503(b) of the Bankruptcy Code, and

 (b) any appeals of, or related to, (x) this Confirmation Order or (y) other appeal to which the

 Official Committee of Unsecured Creditors or the Official Committee of Opioid-Related

 Claimants is a party.

        322.    Upon dissolution of the Official Committee of Unsecured Creditors, the General

 Unsecured Claims Trust and the Asbestos Trust shall jointly succeed to, and exclusively hold, the

 attorney-client privilege and any other privilege held by the Official Committee of Unsecured

 Creditors and shall enjoy the work product protections that were applicable or available to the

 Official Committee of Unsecured Creditors before its dissolution. After the Effective Date, neither

 the General Unsecured Claims Trust nor the Asbestos Trust can independently waive the attorney-

 client privilege or any other privilege. For any privilege to be waived, the respective trust must

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 first obtain advance written consent from the other trust which jointly holds said privilege and/or

 from any other party, including the Reorganized Debtors, as applicable, that may share in the

 applicable privilege.

           FFF. TERMINATION OF CHALLENGE PERIODS

           323.   The Challenge Period (as defined in the Cash Collateral Order) for all parties is

 terminated as of the Effective Date (to the extent not yet terminated at such time), and the

 stipulations, admissions, findings, and releases contained in the Cash Collateral Order shall be

 binding on the Debtors’ estates and all parties in interest (to the extent not yet binding at such

 time).

           GGG. FINAL ORDER

           324.   This Confirmation Order is a Final Order and the period in which an appeal or any

 motion seeking to stay or alter the effectiveness hereof must be filed shall commence upon entry

 hereof.

           HHH. IMMEDIATE BINDING EFFECT

           325.   Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon

 the occurrence of the Effective Date, the terms of the Plan and the documents and instruments

 contained in the Plan Supplement shall be and is immediately effective and enforceable and

 deemed binding upon the Debtors, the Reorganized Debtors, and any and all Holders of Claims

 and Interests (irrespective of whether Holders of such Claims or Interests are deemed to have

 accepted the Plan), all Entities that are parties to or are subject to the settlements, compromises,

 releases, discharges, and injunctions described in the Plan, each Entity acquiring property under

 the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired Leases, and

 notwithstanding whether or not such Person or Entity (a) will receive or retain any property, or

 interest in property, under the Plan, (b) has filed a Proof of Claim in the Chapter 11 Cases or (c)

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 failed to vote to accept or reject the Plan, affirmatively voted to reject the Plan, or is conclusively

 presumed to reject the Plan. This Confirmation Order shall take effect immediately and shall not

 be stayed pursuant to Bankruptcy Rule 3020(e), 6004(h), 7062, or any stay of enforcement

 otherwise applicable to the Plan.




         Dated: March 2nd, 2022                             JOHN T. DORSEY
         Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE



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                                  EXHIBIT A

                                      Plan
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                                  )
 In re:                                                           ) Chapter 11
                                                                  )
 MALLINCKRODT PLC, et al.,                                        ) Case No. 20-12522 (JTD)
                                                                  )
                              1
                     Debtors.                                     ) (Jointly Administered)
                                                                  )
                                                                  )

                      FOURTH AMENDED JOINT PLAN OF REORGANIZATION
               (WITH TECHNICAL MODIFICATIONS) OF MALLINCKRODT PLC AND ITS
               DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


     Mark D. Collins (No. 2981)                                George A. Davis (admitted pro hac vice)
     Michael J. Merchant (No. 3854)                            George Klidonas (admitted pro hac vice)
     Amanda R. Steele (No. 5530)                               Andrew Sorkin (admitted pro hac vice)
     Brendan J. Schlauch (No. 6115)                            Anupama Yerramalli (admitted pro hac vice)
     RICHARDS, LAYTON & FINGER, P.A.                           LATHAM & WATKINS LLP
     One Rodney Square                                         1271 Avenue of the Americas
     920 N. King Street                                        New York, New York 10020
     Wilmington, DE 19801                                      Telephone:       (212) 906-1200
     Telephone:       (302) 651-7700                           Facsimile:       (212) 751-4864
     Facsimile:       (302) 651-7701                           Email:           george.davis@lw.com
     Email:           collins@rlf.com                                           george.klidonas@lw.com
                      merchant@rlf.com                                          andrew.sorkin@lw.com
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                      schlauch@rlf.com
                                                               - and -
                                                               Jeffrey E. Bjork (admitted pro hac vice)
     - and -
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                                                               Los Angeles, California 90071
                                                               Telephone:        (213) 485-1234
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                                                               - and -
                                                               Jason B. Gott (admitted pro hac vice)
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                                                               330 North Wabash Avenue, Suite 2800
                                                               Chicago, Illinois 60611
                                                               Telephone:         (312) 876-7700
                                                               Facsimile:         (312) 993-9767
                                                               Email:             jason.gott@lw.com
                                    Counsel to the Debtors and Debtors in Possession
                                               Dated: February , 2022

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        A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
        and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
        McDonnell Blvd., Hazelwood, Missouri 63042.

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                 FOURTH AMENDED JOINT PLAN OF REORGANIZATION
          (WITH TECHNICAL MODIFICATIONS) OF MALLINCKRODT PLC AND ITS
          DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

         Mallinckrodt plc and each of the debtors and debtors-in-possession in the above-captioned cases
 (each a “Debtor” and, collectively, the “Debtors”) propose this Plan (as defined herein) for the treatment
 and resolution of the outstanding Claims against, and Equity Interests in, the Debtors. Capitalized terms
 used in the Plan and not otherwise defined have the meanings ascribed to such terms in Article I.A of the
 Plan.

          Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each
 Debtor for the treatment and resolution of outstanding Claims and Interests pursuant to the Bankruptcy
 Code. The Debtors seek to consummate the Restructuring Transactions on the Effective Date of the Plan.
 Each Debtor is a proponent of the Plan within the meaning of section 1129 of the Bankruptcy Code. The
 classifications of Claims and Interests set forth in Article III of the Plan shall be deemed to apply separately
 with respect to each Plan proposed by each Debtor, as applicable. The Plan does not contemplate
 substantive consolidation of any of the Debtors.

         Reference is made to the Disclosure Statement for a discussion of the Debtors’ history, businesses,
 results of operations, historical financial information, projections, and future operations, as well as a
 summary and analysis of the Plan and certain related matters, including distributions to be made under the
 Plan.

      ALL HOLDERS OF CLAIMS AND INTERESTS ENTITLED TO VOTE ON THE PLAN
 ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
 ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                                   Article I.

                          DEFINED TERMS AND RULES OF INTERPRETATION

 A.      Defined Terms

         The following terms shall have the following meanings when used in capitalized form herein:

          1.      “1992 Ludlow Debentures Indenture” means that certain Indenture, dated as of April 30,
 1992, by and among Ludlow Corporation, as issuer, U.S. Bank Trust National Association (as successor in
 interest to Security Pacific National Trust Company (New York)), as trustee, as supplemented by that
 certain First Supplemental Indenture, dated as of April 30, 1992, with U.S. Bank National Trust Association
 (as successor in interest to Security Pacific National Trust Company (New York)) (each as modified,
 amended, or supplemented from time to time).

          2.     “1993 Ludlow Debentures Indenture” means that certain Indenture, dated as of April 30,
 1992, by and among Ludlow Corporation, as issuer, U.S. Bank Trust National Association (as successor in
 interest to Security Pacific National Trust Company (New York)), as trustee, as supplemented by that
 certain Second Supplemental Indenture, dated as of March 8, 1993, with U.S. Bank National Trust
 Association (as successor in interest to BankAmerica National Trust Company) (each as modified,
 amended, or supplemented from time to time).

        3.      “2013 Notes Indenture” means that certain Indenture, dated as of April 11, 2013, by and
 among Mallinckrodt International Finance S.A., as issuer, the guarantors party thereto from time to time
 and U.S. Bank National Association, as trustee (as modified, amended, or supplemented from time to time).



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          4.     “2014 Notes Indenture” means that certain Indenture, dated as of August 13, 2014, by and
 among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors party
 thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as modified, amended,
 or supplemented from time to time).

        5.       “2024 First Lien Term Loan” shall have the meaning ascribed to the term “2017 Term B
 Loans” in the First Lien Credit Agreement.

          6.      “2024 First Lien Term Loan Claims” means any Claim held by the First Lien Agent or
 the First Lien Lenders arising under, derived from or based upon the 2024 First Lien Term Loan or the First
 Lien Credit Agreement (excluding any Claims arising under, derived from or based upon the 2025 First
 Lien Term Loan or the First Lien Revolving Credit Facility), including Claims for all principal amounts
 outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
 2024 First Lien Term Loan or the First Lien Credit Agreement (excluding any Claims arising under or
 related to the 2025 First Lien Term Loan or the First Lien Revolving Credit Facility).

         7.      “2024 First Lien Term Loans Outstanding Amount” means the principal amount
 outstanding as of April 23, 2021 in respect of the 2024 First Lien Term Loan in an amount equal to
 $1,407,557,343.72 less the amount of any First Lien Term Loan Principal Payments applied to repay the
 2024 First Lien Term Loans after April 23, 2021.

        8.      “2025 First Lien Term Loan” shall have the meaning ascribed to the term “2018
 Incremental Term Loans” in the First Lien Credit Agreement.

          9.      “2025 First Lien Term Loan Claims” means any Claim held by the First Lien Agent or
 the First Lien Lenders arising under, derived from or based upon the 2025 First Lien Term Loan or the First
 Lien Credit Agreement (excluding any Claims arising under, derived from or based upon the 2024 First
 Lien Term Loan or the First Lien Revolving Credit Facility), including Claims for all principal amounts
 outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
 2025 First Lien Term Loan or the First Lien Credit Agreement (excluding any Claims arising under or
 related to the 2024 First Lien Term Loan or the First Lien Revolving Credit Facility).

          10.    “2025 First Lien Term Loans Outstanding Amount” means the principal amount
 outstanding as of April 23, 2021 in respect of the 2025 First Lien Term Loan in an amount equal to
 $373,591,066.61 less the amount of any First Lien Term Loan Principal Payments applied to repay the 2025
 First Lien Term Loans after April 23, 2021.

        11.     “4.75% Senior Notes due 2023” means the 4.75% senior notes due 2023 pursuant to the
 2013 Notes Indenture.

          12.      “4.75% Senior Notes Indenture Trustee” means U.S. Bank National Association, solely
 in its capacity as trustee under the 2013 Notes Indenture, and any predecessor or successor thereto.

         13.    “4.75% Unsecured Notes Claims” means any Claim arising under or based upon the 4.75%
 Senior Notes due 2023 or the 2013 Notes Indenture.




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         14.      “4.75% Unsecured Notes Recovery” means (a) the Initial Fixed Distribution in Cash in the
 amount of $56,991,000 from the General Unsecured Claims Trust Consideration, plus (b) Additional GUC
 Trust Distributions calculated by the methodology set forth in the UCC Appendix.

         15.     “5.50% Senior Notes Claims” means any Claim arising under, derived from or based upon
 the April 2015 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed Unsecured Notes
 Indenture Trustee.

         16.    “5.50% Senior Notes due 2025” means the 5.50% senior notes due 2025 pursuant to the
 April 2015 Notes Indenture.

        17.    “5.625% Senior Notes Claims” means any Claim arising under, derived from or based
 upon the September 2015 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed
 Unsecured Notes Indenture Trustee.

        18.    “5.625% Senior Notes due 2023” means the 5.625% senior notes due 2023 pursuant to the
 September 2015 Notes Indenture.

         19.     “5.75% Senior Notes Claims” means any Claim arising under, derived from or based upon
 the 2014 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed Unsecured Notes
 Indenture Trustee.

        20.     “5.75% Senior Notes due 2022” means the 5.75% senior notes due 2022 pursuant to the
 2014 Notes Indenture.

         21.    “8.00% Debentures due March 2023” means the 8.00% debentures due 2023 pursuant to
 the 1993 Ludlow Debentures Indenture.

         22.      “8.00% Debentures Indenture Trustee” means U.S. Bank Trust National Association,
 solely in its capacity as trustee under the 1993 Ludlow Debentures Indenture, and any predecessor or
 successor thereto.

        23.   “9.5% Debentures due May 2022” means the 9.50% debentures due 2022 pursuant to the
 1992 Ludlow Debentures Indenture.

         24.      “9.5% Debentures Indenture Trustee” means U.S. Bank Trust National Association,
 solely in its capacity as trustee under the 1992 Ludlow Debentures Indenture, and any predecessor or
 successor thereto.

        25.      “Abatement Distribution” means a distribution from an Abatement Trust to an Authorized
 Recipient for Approved Uses.

        26.      “Abatement Trust” means, collectively, NOAT II, TAFT II, the Third-Party Payor Trust,
 the Hospital Trust, the Emergency Room Physician Trust, and the NAS Monitoring Trust.

         27.      “Abatement Trust Documents” means, collectively, the NOAT II Documents, the TAFT
 II Documents, the Third-Party Payor Trust Documents, the Hospital Trust Documents, the Emergency
 Room Physician Trust Documents, and the NAS Monitoring Trust Documents, all of which must be
 acceptable to the Governmental Plaintiff Ad Hoc Committee and the MSGE Group.

         28.     “Acthar Claim” means a non-ordinary course Claim or Cause of Action (other than a Claim
 resolved by the Federal/State Acthar Settlement) arising out of, relating to, or in connection with the
 Debtors’ pricing and sale of Acthar® Gel product, including all Claims and Causes of Action in the Acthar
 Lawsuits and any and all similar Claims and Causes of Action.

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         29.      “Acthar Claims Recovery” means (a) the Initial Fixed Distribution in Cash in the amount
 of $7,500,000 from the General Unsecured Claims Trust Consideration, plus (b) Additional GUC Trust
 Distributions calculated by the methodology set forth in the UCC Appendix. For the avoidance of doubt,
 if Acthar Claims are allowed in an amount less than or equal to $7,500,000, the Acthar Claims Recovery
 will equal the amount of Allowed Acthar Claims.

          30.      “Acthar Lawsuits” means (a) City of Rockford v. Mallinckrodt ARD, LLC, No. 3:17-cv-
 50107 (N.D. Ill.); (b) City of Marietta v. Mallinckrodt ARD LLC, Case No. 1:20-cv-00552 (N.D. Ga);
 (c) Health Care Service Corp. v. Mallinckrodt ARD LLC, et al., Case No RG20056354 (Cal. Sup. Ct. for
 Alameda Ct’y); (d) United Assoc. of Plumbers & Pipefitters Local 322 of S. N.J. v. Mallinckrodt ARD, LLC,
 et al., Case No. 1:20-cv-00188-RBK-KMW (D.N.J.); (e) Humana Inc. v. Mallinckrodt ARD LLC, Case No.
 CV 19-6926-DSF-MRWx (C.D. Cal.); (f) Acument Global Technologies, Inc., v. Mallinckrodt ARD Inc.,
 et al. (Tenn. Cir. Ct.); and (g) Washington Cty. Bd. of Educ. v. Mallinckrodt ARD, Inc., 431 F.Supp.3d 689,
 No. CV JKB-19-1854, 2020 WL 43016 (D. Md.).

         31.       “Additional GUC Trust Distributions” means the Cash to be allocated to each of the Class
 6 sub-classes in accordance with the methodology set forth in the UCC Appendix which distributions will
 be made only if the General Unsecured Creditor Trust Consideration less GUC Trust Expenses is greater
 than the Initial Fixed Distribution.

          32.     “Ad Hoc First Lien Term Lender Group” means that certain ad hoc group of holders of
 certain First Lien Credit Agreement Claims represented by, among others, Gibson, Dunn & Crutcher LLP
 and advised by Evercore Group, LLC.

         33.     “Ad Hoc Group of Hospitals” means the Ad Hoc Group of Hospitals identified in the
 Hospitals’ Joinder to the OCC’s Objection to Disclosure Statement and Hospitals’ Separate Statement
 [Docket No. 2402].

        34.      “Ad Hoc Group of Personal Injury Victims” means the Ad Hoc Group of Personal Injury
 Victims identified in the Verified Statement of the Ad Hoc Group of Personal Injury Victims Pursuant to
 Bankruptcy Rule 2019 [Docket No. 729] (as amended, supplemented, or modified from time to time).

         35.     “Ad Hoc Second Lien Notes Group” means that certain ad hoc group of holders of Second
 Lien Notes Claims represented by Sullivan & Cromwell LLP and Potter Anderson & Corroon LLP and
 advised by Miller Buckfire & Co.

          36.      “Administrative Claim” means a Claim, including a General Administrative Claim, for
 costs and expenses of administration under sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code,
 including: (a) the actual and necessary costs and expenses incurred after the Petition Date and through the
 Effective Date of preserving the Estates and operating the businesses of the Debtors; (b) Professional Fee
 Claims (to the extent Allowed by the Bankruptcy Court); (c) all fees and charges assessed against the
 Estates under chapter 123 of title 28 United States Code, 28 U.S.C. §§ 1911-1930; (d) all Cure Costs; and
 (e) the Restructuring Expenses; provided that the foregoing clauses (a) through (e) shall not be interpreted
 as enlarging the scope of sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code. Notwithstanding
 anything contained in the Plan, the Confirmation Order or any other order of the Court, the Disinterested
 Managers Fees and Expenses shall constitute Allowed Administrative Claims.

          37.    “Administrative Claims Bar Date” means, for Administrative Claims other than
 Professional Fee Claims, the Restructuring Expenses, any Opioid Claims or VI Opioid Claims, the earlier
 of (a) the bar date established for any such Administrative Claims by separate order of the Bankruptcy
 Court and (b) the date that is the 60th day after the Effective Date.



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           38.      “Administrative Claims Objection Deadline” means, for Administrative Claims other than
 Professional Fee Claims, the Restructuring Expenses, any Opioid Claims or VI Opioid Claims, the date that
 is the later of (a) 120 days after the Administrative Claims Bar Date and (b) such other deadline as may be
 specifically fixed by the Debtors or the Reorganized Debtors, as applicable, or by an order of the
 Bankruptcy Court, for objecting to Administrative Claims.

          39.     “Affiliate” means, with respect to any Entity, all Entities that would fall within the
 definition of an “affiliate” as such term is defined in section 101(2) of the Bankruptcy Code. With respect
 to any Entity that is not a Debtor, the term “Affiliate” shall apply to such Entity as if the Entity were a
 Debtor.

          40.       “Allowed” means: (a) with respect to an Opioid Claim, any such Opioid Claim that has
 been allowed by and in accordance with the applicable Opioid MDT II Documents or Opioid Creditor Trust
 Documents, (b) with respect to any Claim or Interest other than an Opioid Claim, any such Claim or Interest
 (i) for which a Proof of Claim has been timely Filed by the applicable Claims Bar Date or any Claim or
 Interest that is not required to file a Proof of Claim by the applicable Claims Bar Date pursuant to the Claims
 Bar Date Order and (A) as to which no objection to allowance, priority, or secured status, and no request
 for estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
 has been interposed, or (B) as to which any objection has been determined by a Final Order to the extent
 such objection is determined in favor of the respective Holder; (ii) for which a Proof of Claim has been
 timely Filed by the applicable Claims Bar Date that is compromised, settled, or otherwise resolved pursuant
 to the authority of the Debtors or the Reorganized Debtors, as applicable; or (iii) that is scheduled by the
 Debtors as neither disputed, contingent, nor unliquidated, and as for which no Proof of Claim has been
 timely Filed in an unliquidated or different amount; or (iv) expressly allowed under this Plan or by Final
 Order of the Bankruptcy Court. Notwithstanding the foregoing: (x) any Claim or Interest that is expressly
 disallowed pursuant to the Plan shall not be Allowed unless otherwise ordered by the Bankruptcy Court;
 (y) unless otherwise specified in the Plan, the Allowed amount of Claims shall be subject to and shall not
 exceed the limitations under or maximum amounts permitted by the Bankruptcy Code, including
 sections 502 or 503 of the Bankruptcy Code, to the extent applicable; and (z) the Reorganized Debtors shall
 retain all claims and defenses with respect to Allowed Claims that are Reinstated or otherwise Unimpaired
 pursuant to the Plan. “Allow,” “Allows,” and “Allowing” shall have correlative meanings.

         41.      “Alternate/Supplemental Distribution Process” means alternate, additional or
 supplemental procedures in consultation with the Guaranteed Unsecured Notes Indenture Trustee, the
 4.75% Unsecured Notes Indenture Trustee, or the Legacy Unsecured Notes Indenture Trustee, as
 applicable, each in its capacity as Distribution Agent, to make distributions to Holders of the Guaranteed
 Unsecured Notes, the 4.75% Unsecured Notes, or the Legacy Unsecured Notes and to eliminate such
 Guaranteed Unsecured Notes, the 4.75% Unsecured Notes, or Legacy Unsecured Notes, including all book
 entry positions relating thereto, from DTC’s books and records.

       42.     “Approved Uses” means Authorized Abatement Purposes and other uses approved in the
 Abatement Trust Documents.

         43.      “April 2015 Notes Indenture” means that certain Indenture, dated as of April 15, 2015, by
 and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors
 party thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as modified,
 amended, or supplemented from time to time).

         44.     “Asbestos Claim” means a Claim related to asbestos exposure or products containing
 asbestos, excluding Asbestos Late Claims. Solely for the purpose of calculating the undetermined




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 component of the General Unsecured Claims Allocations described in the UCC Appendix, the aggregate
 sum of $21,700,000 will be the value used for the aggregate Asbestos Claims.

        45.     “Asbestos Claims Recovery” means the Initial Fixed Distribution in Cash in the amount of
 $18,000,000 from the General Unsecured Claims Trust Consideration as set forth in the UCC Appendix.

         46.      “Asbestos Cost Sharing Agreement” means that certain June 20, 1991 Primary Insurance
 Cost Sharing Agreement Regarding IMCERA’s Asbestos Bodily Injury Claims in the aggregate amount of
 approximately $35.2 million as agreed to by the Asbestos Insurance Providers, and any Asbestos Insurance
 Policies subject thereto, as amended and restated from time to time.

         47.     “Asbestos Insurance Policies” means any insurance policies held by the Debtors or their
 predecessors providing coverage of Asbestos Claims, including any policies (or successors thereto) listed
 under the Asbestos Cost Sharing Agreement, or other policies providing coverage for Asbestos Claims.

         48.      “Asbestos Late Claim” means a Claim related to asbestos exposure or products containing
 asbestos, a proof of claim for which was first filed after February 16, 2021, at 4:00 p.m. (Eastern time).

          49.      “Asbestos Trust” means the trust that is to be established in accordance with the Plan, the
 Confirmation Order, and the Asbestos Trust Documents for all Holders of Asbestos Claims, which trust
 will satisfy the requirements of section 468B of the Internal Revenue Code and the Treasury Regulations
 promulgated thereunder (as such may be modified or supplemented from time to time) and will not be
 established under section 524(g) of the Bankruptcy Code.

         50.     “Asbestos Trust Consideration” means the Asbestos Claims Recovery, paid from the
 General Unsecured Claims Trust to the Asbestos Trust, with $1,000,000 of such amount paid on the
 Effective Date and the balance paid within ninety (90) days after the Effective Date.

          51.     “Asbestos Trust Documents” means the documents governing: (a) the Asbestos Trust,
 including a trust agreement; (b) the flow of consideration from the General Unsecured Claims Trust to the
 Asbestos Trust; (c) submission, resolution, and distribution procedures in respect of all Asbestos Claims;
 and (d) the flow of distributions, payments, or flow of funds made from the Asbestos Trust after the
 Effective Date, all of which shall be in form and substance reasonably acceptable to the Official Committee
 of Unsecured Creditors and the Debtors and shall be considered “Definitive Documents” for purposes of
 Article I.C of the Plan.

        52.      “Asbestos Trust Expenses” means any and all costs, expenses (including professional fees
 and expenses), fees, taxes, disbursements, debts, or obligations incurred from the operation and
 administration of the Asbestos Trust.

         53.     “Asbestos Trustee” means the Person or Persons selected by the Official Committee of
 Unsecured Creditors, in consultation with the Debtors, and appointed to serve as trustee(s) of the Asbestos
 Trust to administer the Asbestos Trust and Asbestos Claims assumed by the Asbestos Trust and any
 successors thereto, pursuant to the terms of the Asbestos Trust Documents.

         54.      “Asset” means, with respect to a Person, all of the right, title and interest of such Person in
 and to property of whatever type or nature, including real, personal, mixed, intellectual, tangible and
 intangible property which, for avoidance of doubt, includes insurance policies and any rights, claims or
 potential claims with respect thereto.

          55.    “Assigned Insurance Rights” means any and all rights, titles, privileges, interests, claims,
 demands, or entitlements of the Debtors to any proceeds, payments, benefits, Causes of Action, choses in
 action, defense or indemnity (collectively, “rights”), regardless of whether such rights existed in the past,


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 now exist, or hereafter arise, and regardless of whether such rights are or were accrued or unaccrued,
 liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent, based on,
 arising under, or attributable to, any and all Opioid Insurance Policies. For the avoidance of doubt,
 Assigned Insurance Rights includes the Debtors’ rights, based on, arising under, or attributable to Opioid
 Insurance Policies issued to the Debtors’ prior affiliates, subsidiaries, and parents (including Medtronic plc
 and its subsidiaries, and parents), or otherwise, or any of their predecessors, successors, or assigns.

          56.      “Assigned Medtronic Claims” means all Causes of Action of the Debtors against
 Medtronic plc and/or its subsidiaries, and each of their predecessors, successors, and assigns, including all
 Avoidance Actions of the Debtors against such parties; provided, that the Debtors or Reorganized Debtors
 shall be entitled to assert any and all Causes of Action solely in defense against claims or Causes of Action
 asserted by Medtronic plc and/or its subsidiaries, or any of their predecessors, successors, or assigns, against
 the Debtors or Reorganized Debtors (as applicable), solely to the extent that any such Causes of Action
 asserted in defense by the Debtors or Reorganized Debtors (a) are not asserted as the basis for any setoff or
 recoupment by the Debtors or Reorganized Debtors (as applicable), (b) would not result in any recovery of
 money or property by the Debtors or Reorganized Debtors (as applicable), or (c) would otherwise not impair
 the Opioid MDT II’s ability to (i) recover the full amount of damages on account of the Assigned Medtronic
 Claims or (ii) assert any Assigned Medtronic Claims as the basis for reducing the Opioid MDT II’s or the
 Opioid Creditor Trusts’ liability to any Opioid Claimant.

           57.    “Assigned Third-Party Claims” means (a) all Causes of Action of the Debtors arising out
 of Opioid Claims, including all Avoidance Actions arising out of Opioid Claims, but excluding any Causes
 of Action against the Parent or any of its subsidiaries or against any Released Party, provided, that the
 Debtors or Reorganized Debtors shall be entitled to assert any and all Causes of Action in defense against
 claims or Causes of Action asserted against the Debtors or Reorganized Debtors, or any Released Party (as
 applicable), solely to the extent that any such Causes of Action asserted in defense by the Debtors or
 Reorganized Debtors (i) are not asserted as the basis for any setoff or recoupment by the Debtors,
 Reorganized Debtors, or Released Party (as applicable); (ii) would not result in any recovery of money or
 property by the Debtors, Reorganized Debtors, or Released Party (as applicable); and (iii) would otherwise
 not impair the Opioid MDT II’s ability to (x) recover the full amount of damages on account of the Assigned
 Third-Party Claims or (y) assert any Assigned Third-Party Claims as the basis for reducing the Opioid MDT
 II’s or the Opioid Creditor Trusts’ liability to any Opioid Claimant; and (b) the Assigned Medtronic Claims.
 For the avoidance of doubt, notwithstanding anything in Art. IV.O of the Plan to the contrary, (a) any and
 all Causes of Action of the Debtors against any Released Co-Defendant or their Co-Defendant Related
 Parties (other than any Estate Surviving Pre-Effective Date Claim) are not Assigned Third Party-Claims
 and are released under the Plan, and (b) any Estate Surviving Pre-Effective Date Claims are not Assigned
 Third Party-Claims, are not released, and shall belong to Reorganized Mallinckrodt.

         58.      “Authorized Abatement Purpose” means, with respect to any Abatement Trust, (i) an
 authorized opioid abatement purpose for which an Abatement Distribution from such Abatement Trust may
 be used, as set forth in the Abatement Trust Documents for such Abatement Trust, or (ii) the payment of
 attorneys’ fees and costs of Holders of Opioid Claims channeled to such Abatement Trust (including any
 counsel to any ad hoc group or other group of such Holders, including any such counsel that is not a
 Retained Professional).

        59.     “Authorized Recipient” means an eligible recipient of funds from an Abatement Trust in
 accordance with the Plan, the Confirmation Order, and the applicable Abatement Trust Documents.

         60.     “Avoidance Actions” means any and all avoidance, recovery, subordination or similar
 actions or remedies that may be brought by or on behalf of the Debtors or their Estates under the Bankruptcy
 Code or applicable non-bankruptcy law, including, actions or remedies arising under chapter 5 of the


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 Bankruptcy Code or under similar or related local, state, federal, or foreign statutes and common law,
 including fraudulent transfer laws, fraudulent conveyance laws, or other similar related laws.

         61.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

        62.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
 Delaware or such other court having jurisdiction over the Chapter 11 Cases.

         63.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
 the United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075,
 as applicable to the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court.

          64.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as that
 term is defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for commercial business
 with the public in New York City.

         65.      “Canadian Court” means the Ontario Superior Court of Justice (Commercial List).

         66.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

         67.      “Cash Collateral Order” means, collectively, (a) that certain Final Order Under
 Bankruptcy Code Sections 105(a), 361, 362, 363, 503, and 507, and Bankruptcy Rules 4001 and 9014 (I)
 Authorizing Debtors to Use Cash Collateral; (II) Granting Adequate Protection to Prepetition Secured
 Parties; (III) Modifying Automatic Stay; and (IV) Granting Related Relief entered by the Bankruptcy Court
 on November 20, 2020 [Docket No. 586], (b) that certain Order Modifying Cash Collateral Order entered
 by the Bankruptcy Court on February 2, 2021 [Docket No. 1263], and (c) that certain Order (I) Modifying
 Cash Collateral Order With Respect To Adequate Protection Terms, (II) Permitting The Debtors To Pay
 Certain Amounts, And (III) Granting Related Relief [Docket No. 2021], each as amended, supplemented,
 or modified from time to time.

         68.      “Causes of Action” means any claims, causes of action (including Avoidance Actions),
 demands, actions, suits, obligations, liabilities, cross-claims, counterclaims, defenses, offsets, or setoffs of
 any kind or character whatsoever, in each case whether known or unknown, contingent or noncontingent,
 matured or unmatured, suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate or
 inchoate, existing or hereafter arising, under statute, in contract, in tort, in law, or in equity, or pursuant to
 any other theory of law, federal or state, whether asserted or assertable directly or derivatively in law or
 equity or otherwise by way of claim, counterclaim, cross-claim, third party action, action for indemnity or
 contribution or otherwise.

         69.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
 voluntary case Filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and
 (b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all of the Debtors.

         70.     “Chapter 11 Monitor” means the monitor appointed pursuant to that certain Order
 (I) Appointing R. Gil Kerlikowske as Monitor for Voluntary Injunction and (II) Approving the Monitor’s
 Employment of Saul Ewing as Counsel at the Cost and Expense of the Debtors [Docket No. 1306] or such
 other monitor as may subsequently be appointed by the Bankruptcy Court prior to the Effective Date.

        71.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code. Except
 where otherwise provided in context, “Claim” refers to such a claim against any of the Debtors.

         72.     “Claims Bar Date” means, with respect to any Claim, the last date for filing of a Proof of
 Claim in these Chapter 11 Cases with respect to such Claim, as provided in (a) the Claims Bar Date Order,


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 (b) a Final Order of the Bankruptcy Court, or (c) this Plan; provided that if there is a conflict relating to the
 bar date for a particular Claim, this Plan shall control. For the avoidance of doubt, there is no Claims Bar
 Date for Opioid Claims.

         73.     “Claims Bar Date Order” means that certain Order (A) Establishing Bar Dates and
 Related Procedures for Filing Proofs of Claim and (B) Approving Form and Manner of Notice Thereof
 entered by the Bankruptcy Court on November 30, 2020 [Docket No. 667], as amended, supplemented, or
 modified from time to time.

         74.     “Claims Register” means the official register of Claims and Equity Interests maintained by
 the Notice and Claims Agent.

        75.       “Class” means a category of Claims or Equity Interests as set forth in Article III of the Plan
 pursuant to section 1122(a) of the Bankruptcy Code.

         76.    “Co-Defendant” means (i) any Holder of a Co-Defendant Claim and (ii) any co-defendant
 in a Pending Opioid Action commenced as of the Effective Date, in each case, other than (x) the Debtors,
 (y) the Debtors’ current and former officers, directors, authorized agents and employees, and (z) the
 Insurers.

          77.      “Co-Defendant Action” means any Pending Opioid Action and any previous, pending, or
 future litigation or dispute that alleges substantially similar facts or causes of action as those alleged in the
 Pending Opioid Actions and that concerns conduct occurring before the Effective Date.

          78.      “Co-Defendant Claims” means any and all Claims, other than Claims held by an Insurer,
 solely in such Insurer’s capacity with respect to an Insurance Contract, that (i) either (A) are or could be
 asserted against any Debtor or Reorganized Debtor, including without limitation any and all Claims that
 would otherwise be a Cure Cost or (B) seek to recover from any property of any Debtor or its Estate, any
 Reorganized Debtor, or any Insurance Contract, and (ii) either (A) are for or based upon or arise from
 contribution, indemnification, reimbursement, setoff or recoupment or any other similar claim or Cause of
 Action (other than indemnification obligations expressly assumed pursuant to the Plan or an order of the
 Bankruptcy Court) or (B) are for or based upon or arise from any alleged right, claim, or interest, of any
 Co-Defendant, under any Insurance Contract, provided that such right is derivative, as opposed to direct, in
 nature, and (iii) seek to recover, directly or indirectly, any costs, losses, damages, fees, expenses or any
 other amounts whatsoever, actually or potentially imposed upon the Holder of such Claims, in each case
 based upon, arising from, or attributable to any actual or potential litigation or dispute, whether accrued or
 unaccrued, asserted or unasserted, existing or hereinafter based on, arising under, or attributable to, in whole
 or in part, Opioid Related Activities, any Opioid Claim or any Opioid Demand (including any such Claims
 or Demands asserted by any manufacturer, distributor, pharmacy, pharmacy-benefit manager, group
 purchasing organization or physician or other contract counterparty or business partner of any Debtor, but
 excluding any Claims in respect of any D&O Liability Insurance Policy or Indemnification Provisions
 expressly assumed pursuant to Article V.F of the Plan). For the avoidance of doubt, a Co-Defendant Claim
 shall not include any Co-Defendant Surviving Pre-Effective Date Claim and shall not include any Claims
 of Co-Defendants against insurers under Insurance Contracts in which Co-Defendants hold an interest that
 are not derivative in nature and are not otherwise released. Notwithstanding anything to the contrary in the
 Plan, any Claim that satisfies the definition of a Co-Defendant Claim shall be a Co-Defendant Claim
 notwithstanding that such Claim would otherwise satisfy the definition of another type of Claim. For the
 avoidance of doubt, Co-Defendant Claim includes a Claim that is held by an insurance company (including
 an Insurer) in its capacity as subrogee of a Holder of a Co-Defendant Claim. For the avoidance of doubt,
 nothing in this definition shall alter or limit Article V.G of the Plan in any way, and the assumption of a
 contract or lease, the non-Debtor counterparty to which is a Released Co-Defendant, shall not constitute



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 the assumption of any indemnification obligations contained therein to the extent such indemnification
 objections are released by Article V.G of the Plan.

          79.     “Co-Defendant Defensive Rights” means any and all direct, or indirect, rights, remedies,
 protections, immunities, objections, defenses, assertions, Claims, Causes of Action, and, in each case, of
 any kind, character, or nature, whether legal, equitable, or contractual, contingent or non-contingent,
 liquidated or unliquidated, disputed or undisputed, including, without limitation, all rights, remedies,
 defenses, assertions, and Claims against liability, rights to setoff, offset, recoupment, counter-claims, cross-
 claims, rights to allocation or apportionment of fault and judgment reduction, apportionment of damages,
 any other defenses, affirmative defenses, or judgment reduction mechanisms or rights similar to the
 foregoing, and any steps necessary to assert the foregoing, in each case, solely to reduce the liability,
 judgment, obligation or fault of the applicable Holder of a Co-Defendant Claim to any Person that asserts
 any Cause of Action or Claim against the Holder of any Co-Defendant Claim based in whole or in part on
 Opioid-Related Activities. Co-Defendant Defensive Rights (i) may be used to offset, set-off, recoup,
 allocate or apportion fault, liability, or damages, or seek judgment reduction or otherwise to defend against
 any Cause of Action or Claim brought by any Person against the Holder of any Co-Defendant Claim based
 in whole or in part on Opioid-Related Activities; and (ii) shall in no case be used to seek any affirmative
 monetary recovery from any Protected Party or any Asset of any Protected Party (including from any Opioid
 Insurance Policy or any other insurance policy of a Protected Party) on account of any Claim or Cause of
 Action released pursuant to Article IX.D, and shall in no case be used to seek an affirmative recovery from
 the Opioid MDT II or any Asset of the Opioid MDT II or any Opioid Creditor Trust or any Asset of any
 Opioid Creditor Trust. Any verdicts in any litigation shall not be binding on the Opioid MDT II, the Opioid
 Creditor Trusts, or the Ratepayer Account if the Opioid MDT II, the Opioid Creditor Trusts, or the
 Ratepayer Account do not participate in such litigation (and the Opioid MDT II, the Opioid Creditor Trusts,
 or the Ratepayer Account are not required to participate in such litigation).

          80.      “Co-Defendant Related Parties” means, with respect to a Released Co-Defendant, (i) such
 Person’s predecessors, successors, assigns, subsidiaries, Affiliates, or managed accounts or funds, in each
 case in their respective capacities as such; (ii) its and their respective past, present and future officers, board
 members, directors, principals, agents, servants, independent contractors, co-promoters, third-party sales
 representatives, medical liaisons, members, partners (general or limited), managers, employees,
 subcontractors, agents, advisory board members, financial advisors, attorneys and legal representatives,
 accountants, investment bankers, consultants, representatives, management companies, fund advisors and
 other professionals and advisors, trusts (including trusts established for the benefit of such Person), trustees,
 protectors, beneficiaries, direct or indirect owners and/or equityholders, parents, transferees, heirs,
 executors, estates, nominees, administrators, and legatees, in each case in their respective capacities as such;
 and (iii) any insurer of any Released Co-Defendant solely in its capacity as such and specifically excluding
 any Opioid Insurer, solely in its capacity as an Opioid Insurer. For the avoidance of doubt, the citizens and
 residents of a State shall not be deemed to be Related Parties of such State solely as a result of being citizens
 or residents of such State.

         81.    “Co-Defendant Surviving Pre-Effective Date Claim” means any Cause of Action held by
 a Co-Defendant against any of the Debtors that (i) arose in the ordinary course of business, (ii) is not related
 to a Co-Defendant Action, and (iii) concerns conduct occurring before the Effective Date.

         82.     “Compensation and Benefits Programs” means all employment, confidentiality, and non-
 competition agreements, bonus, gainshare, and incentive programs (other than awards of Equity Interests,
 stock options, restricted stock, restricted stock units, warrants, rights, convertible, exercisable, or
 exchangeable securities, stock appreciation rights, phantom stock rights, redemption rights, profits interests,
 equity-based awards, or contractual rights to purchase or acquire equity interest at any time and all rights
 arising with respect thereto), vacation, holiday pay, severance, retirement, savings, supplemental
 retirement, executive retirement, pension, deferred compensation, medical, dental, vision, life and disability

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 insurance, flexible spending account, and other health and welfare benefit plans, employee expense
 reimbursement, and other compensation and benefit obligations of the Debtors, and all amendments and
 modifications thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
 directors and the employees, former employees, and retirees of their subsidiaries.

        83.      “Common Benefit Escrow” means the fund to be established as set forth in Article
 IV.X.8(A) of the Plan.

        84.      “Common Benefit Fund” means a common benefit fund established by order of, and
 administered by, the MDL Court, which order shall be consistent with this Plan.

         85.      “Confirmation” means the entry of the Confirmation Order by the Bankruptcy Court on
 the docket of the Chapter 11 Cases.

         86.      “Confirmation Date” means the date upon which Confirmation occurs.

          87.    “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court pursuant
 to section 1128(a) of the Bankruptcy Code to consider confirmation of the Plan, as such hearing may be
 adjourned or continued from time to time.

        88.       “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code.

          89.    “Cram-Down First Lien Notes” means new, first lien secured notes to be issued under
 certain circumstances to the Holders of First Lien Notes Claims, as described further in Article III of the
 Plan, which notes shall mature on the eight (8) year anniversary of the Effective Date, bear interest at the
 Cram-Down First Lien Notes Coupon Rate, and otherwise be on terms set forth in Exhibit 1 hereto. For
 the avoidance of doubt, the Cram-Down First Lien Notes will be pari passu with any other first lien secured
 debt of the Reorganized Debtors, other than the New AR Revolving Facility, contemplated by the Plan.

         90.    “Cram-Down First Lien Notes Coupon Rate” means a coupon rate payable in Cash based
 on the ICE BofA 8+ Year B US High Yield Index Semi Annual Yield to Worst (referenced by H2AL on
 Bloomberg) as of the Effective Date, rounded to the nearest 0.125%, subject to a max coupon of 10.0%.

          91.   “Cram-Down First Lien Notes Documentation” means the indenture (the substantially
 final form of which will be filed with the Plan Supplement), notes, and other documents governing the
 Cram-Down First Lien Notes.

         92.     “Cure Cost” means any and all amounts required to cure any monetary defaults under any
 Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under
 an Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365
 or 1123 of the Bankruptcy Code.

         93.      “D&O Liability Insurance Policies” means, collectively, all insurance policies (including
 any “tail policies” and all agreements, documents, or instruments related thereto) issued at any time to, or
 providing coverage to, any of the Debtors or any of the Debtors’ current or former directors, members,
 managers, or officers for alleged Wrongful Acts (as defined in the D&O Liability Insurance Policies), or
 similarly defined triggering acts, in their capacity as such.

         94.      “Debtor Release” means the releases set forth in Article I.B of the Plan.




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         95.     “Deemed NOAT II Opioid Claims Pool” means $3,079,053,000,000.00, which shall be
 the value used for the aggregate amount of State Opioid Claims and Municipal Opioid Claims solely for
 the purpose of calculating the Other Opioid Claimant Pro Rata Share.

          96.     “Definitive Documents” means all material documents (including any related Bankruptcy
 Court or other judicial or regulatory orders, agreements, schedules, pleadings, motions, filings, or exhibits)
 that are contemplated by the Restructuring Support Agreement and that are otherwise necessary or desirable
 to implement the Restructuring Transactions, including (as applicable): (i) the Plan; (ii) the Disclosure
 Statement; (iii) any other operative documents and/or agreements relating to the Plan (including any
 documents necessary to implement the distributions contemplated thereunder) and/or the Disclosure
 Statement; (iv) the Disclosure Statement Order; (v) the Confirmation Order; (vi) the Plan Supplement; (vii)
 the Management Incentive Plan; (viii) the Scheme of Arrangement and any other substantive pleadings
 submitted in the Irish Examinership Proceedings; (ix) the Irish Confirmation Order; (x) the Exit Financing
 Documents, including all intercreditor agreements; (xi) the New Governance Documents; (xii) pleadings
 commencing the Recognition Proceedings and any substantive pleadings filed therein, including the
 order(s) granting recognition to the Chapter 11 Cases and relief granted therein; (xiii) all documents
 memorializing the settlement based on the Opioid Settlement Term Sheet; (xiv) the Opioid MDT II
 Documents; (xv) the Opioid Creditor Trust Documents; (xvi) the New Opioid Warrants; (xvii) the Cash
 Collateral Order; (xviii) the First Day Pleadings; (xix) any new key employee incentive and retentive based
 compensation programs to be proposed after the Petition Date; (xx) all agreements to settle (A)
 administrative, priority, or tax claims (other than claims held by a Debtor or Non-Debtor Affiliate against
 a Debtor) in the Chapter 11 Cases in excess of $20 million or (B) General Unsecured Claims (other than
 claims held by a Debtor or Non-Debtor Affiliate against a Debtor) in the Chapter 11 Cases in excess of $50
 million; (xxi) the New Takeback Term Loan Documentation and any other documentation related to any
 financing used to repay any First Lien Credit Agreement Claims; (xii) the Opioid MDT II Cooperation
 Agreement; (xxiii) the GUC Trust Cooperation Agreement, and (xxiv) the New Second Lien Notes
 Documentation.

          97.     “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits
 and schedules thereto, as amended, supplemented, or modified from time to time, that is prepared and
 distributed in accordance with sections 1125, 1126(b), and 1145 of the Bankruptcy Code, Bankruptcy Rule
 3018, and other applicable law.

         98.     “Disclosure Statement Order” means the order of the Bankruptcy Court approving the
 Disclosure Statement.

          99.     “Disinterested Managers” means Sherman Edmiston III and Marc Beilinson, solely in
 their respective capacities as the disinterested managers of the Specialty Generics Debtors.

         100.    “Disinterested Managers Fees and Expenses” means all unpaid fees and expenses as of
 the Effective Date due to the Disinterested Managers pursuant to their respective engagement agreements
 with the Debtors.

          101.     “Disputed” means, with respect to any Claim or Equity Interest, except as otherwise
 provided herein, a Claim or Equity Interest that is filed by the applicable Claims Bar Date, or any portion
 thereof, that is not Allowed and not disallowed under the Plan, the Bankruptcy Code, or a Final Order.

        102.    “Disputed General Unsecured Claims Reserve” means the reserve established pursuant to
 and governed by Article VII.H of the Plan.

        103.    “Distribution Agent” means the Reorganized Debtors or any party designated by the
 Debtors or Reorganized Debtors to serve as distribution agent under this Plan.


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         104.      “District Court” means the United States District Court for the District of Delaware or such
 other district court having jurisdiction over the Chapter 11 Cases.

         105.     “DTC” means The Depository Trust Company or any successor thereto.

         106.    “Effective Date” means the date on which all conditions specified in Article VIII.A of the
 Plan have been (i) satisfied or (ii) waived pursuant to Article VIII.B of the Plan.

          107.     “Emergency Room Physicians Attorney Fee Fund” means the fund to be established as
 set forth in Article IV.X.8 of the Plan.

         108.    “Emergency Room Physicians Group” means the putative class of emergency room
 physicians who participated in the mediation regarding Opioid Claims pursuant to that certain Order
 (A) Appointing a Mediator and (B) Granting Related Relief [Docket No. 1276].

         109.   “Emergency Room Physicians Opioid Claimant” means a Holder of an Emergency Room
 Physicians Opioid Claim.

         110.    “Emergency Room Physicians Opioid Claims” means any Opioid Claims (including
 Opioid Demands) held by an emergency room physician whose billing and revenue collection were entirely
 separate from the medical facility billing practices and were not employed by such medical facility. For
 the avoidance of doubt, Emergency Room Physicians Opioid Claims exclude Hospital Opioid Claims.

          111.    “Emergency Room Physicians Trust” means the Abatement Trust that is to be established
 in accordance with the Plan, the Confirmation Order, and the Emergency Room Physicians Trust
 Documents to (a) assume all liability for Emergency Room Physicians Opioid Claims, (b) receive the
 distribution made on account of the Emergency Room Physicians Opioid Claims, (c) administer Emergency
 Room Physicians Opioid Claims, and (d) make Abatement Distributions to Authorized Recipients,
 including distributions to Holders of Emergency Room Physicians Opioid Claims in accordance with the
 Emergency Room Physicians Trust Documents.

        112.    “Emergency Room Physicians Trust Documents” means the documents governing: (a)
 the Emergency Room Physicians Trust; (b) the flow of consideration from the Opioid MDT II to the
 Emergency Room Physicians Trust; (c) submission, resolution, and distribution procedures in respect of all
 Emergency Room Physicians Opioid Claims (including Opioid Demands); and (d) the flow of distributions,
 payments or flow of funds made from the Emergency Room Physicians Trust after the Effective Date.

         113.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

          114.    “Environmental Claim” means any Claim by any Governmental Unit or any Person
 alleging potential liability of the Debtors, including liability or responsibility for the costs of investigations,
 governmental response, removal, or remediation, natural resources damages, property damages, personal
 injuries, medical monitoring, penalties, contribution, or indemnification, arising out of, based on, or
 resulting from: (a) the presence of Hazardous Materials, a Hazardous Materials Release or a threatened
 Hazardous Materials Release at any location, whether or not owned or operated by the Debtors; or (b) any
 actual or alleged violation of or non-compliance with any other federal or state environmental laws or
 regulations, environmental orders, permits, approvals, consent decrees and other obligations. For the
 avoidance of doubt, Asbestos Claims shall not be Environmental Claims.

          115.    “Environmental Claims / Other General Unsecured Claims Recovery” means (a) the
 Initial Fixed Distribution in Cash in the amount of $23,650,000 from the General Unsecured Claims Trust




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 Consideration, plus (b) Additional GUC Trust Distributions calculated by the methodology set forth in the
 UCC Appendix.

         116.     “Equity Interest” means any issued, unissued, authorized, or outstanding ordinary shares,
 preferred shares, or other instrument evidencing an ownership interest in the Parent, whether or not
 transferable, together with any warrants, equity-based awards, or contractual rights to purchase or acquire
 such equity interests at any time and all rights arising with respect thereto that existed immediately before
 the Effective Date.

         117.    “ESI Contract Assumption Motion” means the Debtors’ Motion for Entry of an Order
 Authorizing the Debtors to Assume, as Amended, that Certain Wholesale Product Purchase Agreement
 With Priority Healthcare Distribution, Inc. [Docket No. 4487].

        118.      “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
 pursuant to section 541 of the Bankruptcy Code.

          119.   “Estate Surviving Pre-Effective Date Claim” means any Cause of Action against a Co-
 Defendant or their Co-Defendant Related Parties that (i) arose in the ordinary course of business, (ii) is not
 related to a Co-Defendant Action, and (iii) concerns conduct occurring before the Effective Date.

         120.     “Examiner” means an examiner appointed to the Parent and/or any other Company Entity
 under Section 509 of the Companies Act 2014 of Ireland, including any such examiner appointed on an
 interim basis under Section 512(7) of the Companies Act 2014 of Ireland, by order of the High Court of
 Ireland on the commencement of the Irish Examinership Proceedings.

          121.    “Excluded Insurance Policies” means all Insurance Contracts that are (i) D&O Liability
 Insurance Policies, (ii) Workers’ Compensation Policies, (iii) the Asbestos Cost Sharing Agreement,
 (iv) Insurance Contracts issued to Mallinckrodt that are not Opioid Insurance Policies, or (v) identified
 either specifically or categorically in the Schedule of Excluded Insurance Policies included in the Plan
 Supplement (which shall include all Insurance Contracts with a policy period end date that is on or after the
 Effective Date of the Plan). The Schedule of Excluded Insurance Policies referred to in clause (v) above is
 not, and is not intended to be, exhaustive, and may be amended, modified and supplemented, but only by
 agreement of the Debtors and the Governmental Plaintiff Ad Hoc Committee prior to the Effective Date,
 and the Reorganized Debtors and the Opioid MDT II after the Effective Date, and which amendments,
 modifications, and supplementations shall be reasonably acceptable to the Supporting Unsecured
 Noteholders, the Official Committee of Unsecured Creditors, the Official Committee of Opioid-Related
 Claimants, the Future Claims Representative, and the MSGE Group if made prior to the Effective Date.

         122.    “Exculpated Party” means, in each case, in its capacity as such: (a) the Debtors (and their
 Representatives); (b) the Official Committee of Unsecured Creditors (and its Representatives and the
 members thereto and their Representatives); (c) the Official Committee of Opioid-Related Claimants (and
 its Representatives and the members thereto and their Representatives); and (d) the Future Claimants’
 Representative (and its Representatives).

         123.     “Executory Contract” means a contract to which one or more of the Debtors is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code, other than an
 Unexpired Lease.

        124.    “Exit Financing Documents” means any agreements, indentures, commitment letters,
 documents, or instruments relating to any exit financing facility or facilities to be entered into by the
 Reorganized Debtors, including with respect to the New Credit Facilities, New Takeback Term Loans, the
 Takeback Second Lien Notes, the Cram-Down First Lien Notes, and the New Second Lien Notes.


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         125.     “Favorable Trade Terms” means the trade terms with a Holder of an Allowed Trade Claim
 consistent with those practices and programs most favorable to the Debtors in place during the twelve (12)
 months before the Petition Date or such other favorable terms as the Debtors and such Holder may mutually
 agree in accordance with the requirements set forth in the Disclosure Statement Order; provided, that, if the
 Holder of an Allowed Trade Claim is not a Trade Claimant but is a successor in interest (by sale of such
 Allowed Trade Claim or otherwise) to a Trade Claimant, the Trade Claimant that was the original Holder
 of such Allowed Trade Claim may agree to provide Favorable Trade Terms, which agreement shall satisfy
 any requirements in the Plan for the Holder of an Allowed Trade Claim to provide Favorable Trade Terms
 with respect to such Allowed Trade Claim.

         126.     “Federal/State Acthar Deferred Cash Payments” means the right to receive Cash
 payments in the following amounts on the following dates: (a) $15,000,000 on the first anniversary of the
 Effective Date; (b) $20,000,000 on each of the second and third anniversaries of the Effective Date;
 (c) $32,500,000 on each of the fourth and fifth anniversaries of the Effective Date; and (d) $62,500,000 on
 each of the sixth and seventh anniversaries of the Effective Date.

          127.    “Federal/State Acthar Settlement” means the settlement between Parent, Mallinckrodt
 ARD LLC, the United States of America, and the States (excluding, for this purpose, any territories of the
 United States other than the District of Columbia and Puerto Rico) resolving certain of the Acthar-related
 litigations and government investigations disclosed in the Company’s Annual report on Form 10-K filed
 with the SEC on March 10, 2021, including United States of America, et al., ex rel., Charles Strunck, et al.
 v. Mallinckrodt ARD LLC (E.D. Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt
 ARD, LLC (D. Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters, as set forth
 in the Federal/State Acthar Settlement Agreements.

          128.    “Federal/State Acthar Settlement Agreements” means the definitive settlement
 agreements memorializing the Federal/State Acthar Settlement with (i) the U.S. Government (acting by and
 through the United States Department of Justice) and (ii) the States, Washington, D.C., and Puerto Rico,
 which shall be consistent with the terms set forth in Exhibit 3 hereto and substantially final forms of which
 will be filed with the Plan Supplement.

          129.    “FHCA” means the following federal governmental agencies or federal healthcare
 insurance programs: (i) the United States Department of Health and Human Services, on its own behalf and
 on behalf of its component agencies, which are the Centers for Medicare & Medicaid Services and the
 Indian Health Service on behalf of its federally-operated programs; (ii) the Defense Health Agency on its
 own behalf and on behalf the TRICARE Program; and (iii) the United States Department of Veterans
 Affairs.

          130.    “FHCA Opioid Claims” means the claims arising from the U.S. Government Payor
 Statutory Rights held by the FHCA on account of opioid injury-related conditional payments made by such
 programs or agencies to, on behalf of, or in respect of, their respective beneficiaries, including holders of
 PI Opioid Claims; provided however that these claims do not include or apply to any claims brought by
 programs operated by tribes or tribal organizations under the Indian Self-Determination and Education
 Assistance Act, 25 U.S.C. §§ 5301–5423, or programs operated by urban Indian organizations that have a
 grant or contract with the Indian Health Service under the Indian Health Care Improvement Act, 25 U.S.C.
 §§ 1601–1685.

         131.     “FHCA Opioid Claimants” means the (i) United States Department of Health and Human
 Services, and its component agencies, the Centers for Medicare and Medicaid Services and Indian Health
 Service, (ii) United States Department of Veterans Affairs, Veterans Health and (iii) United States
 Department of Defense, Defense Health Agency.



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         132.    “FHCA Opioid Claims Share” means a one-time Cash payment from the Opioid MDT II
 in an amount of $15 million on the Opioid MDT II Initial Distribution Date.

         133.     “File” or “Filed” or “Filing” means file, filed, or filing, respectively, with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Cases.

          134.     “Final Order” means an order entered by the Bankruptcy Court or other court of competent
 jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked, and as to which (i) any
 right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has been waived
 or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
 expired and no appeal, motion for leave to appeal, or petition for certiorari, review, reargument, stay, or
 rehearing is pending or (b) as to which an appeal has been taken, a motion for leave to appeal, or petition
 for certiorari, review, reargument, stay, or rehearing has been filed and (i) such appeal, motion for leave to
 appeal or petition for certiorari, review, reargument, stay, or rehearing has been resolved by the highest
 court to which the order or judgment was appealed or from which leave to appeal, certiorari, review,
 reargument, stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted) further
 or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired and no such
 appeal, motion for leave to appeal, or petition for certiorari, further review, reargument, stay, or rehearing
 is pending.

          135.   “First Day Pleadings” means the motions, petitions, and draft orders that the Debtors filed
 at the commencement of the Chapter 11 Cases. First Day Pleadings include the related interim and Final
 Orders as entered by the Bankruptcy Court in connection with the relief requested in such motions.

        136.     “First Lien Agent” means Deutsche Bank AG New York Branch, in its capacity as
 administrative agent under the First Lien Credit Agreement or, as applicable, any successor thereto.

        137.    “First Lien Credit Agreement” means that certain Credit Agreement, dated as of March 19,
 2014, by and among Mallinckrodt plc, as the parent, Mallinckrodt International Finance S.A., as Lux
 borrower, Mallinckrodt CB LLC, as co-borrower, the First Lien Agent, and the First Lien Lenders (as
 modified, amended, or supplemented from time to time).

          138.    “First Lien Credit Agreement Claim” means any Claim held by the First Lien Agent or
 the First Lien Lenders, including the First Lien Revolving Credit Facility Claims, 2024 First Lien Term
 Loan Claims, and 2025 First Lien Term Loan Claims, arising under, derived from or based upon the First
 Lien Credit Agreement or the First Lien Credit Facility, including claims for all principal amounts
 outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
 First Lien Credit Facility or the First Lien Credit Agreement.

       139.       “First Lien Credit Facility” means the credit facility evidenced by the First Lien Credit
 Agreement.

        140.    “First Lien Lenders” shall have the meaning ascribed to the term “Lender” in the First
 Lien Credit Agreement and include the singular and plural forms of such term.

          141.   “First Lien Notes” means the 10.00% first lien senior secured notes due 2025 pursuant to
 the First Lien Notes Indenture.

          142.   “First Lien Notes Claim” means any Claim arising under, deriving from or based upon the
 First Lien Notes or the First Lien Notes Indenture.

          143.    “First Lien Obligations” shall have the meaning ascribed to the term “Obligations” in the
 First Lien Credit Agreement.


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          144.    “First Lien Notes Indenture” means that certain Indenture, dated as of April 7, 2020, by
 and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors
 party thereto from time to time, Wilmington Savings Fund Society, FSB, as first lien trustee, and Deutsche
 Bank AG New York Branch, as first lien collateral agent (as modified, amended, or supplemented from
 time to time).

         145.    “First Lien Notes Makewhole Claim” means a First Lien Notes Claim (a) for any principal
 premium in excess of the principal amount of such Claims outstanding immediately before the Petition
 Date, including for any “Applicable Premium” (as defined in the First Lien Notes Indenture) or optional
 redemption premium, or (b) for any “Additional Amounts” (as defined in the First Lien Notes Indenture).

         146.     “First Lien Revolving Credit Facility” means the revolving credit facility maturing in 2022
 under the First Lien Credit Agreement.

         147.     “First Lien Revolving Credit Facility Accrued and Unpaid Interest” means the accrued
 and unpaid interest on the First Lien Revolving Credit Facility payable pursuant to the Cash Collateral
 Order and calculated for the applicable interest period (or any portion thereof) in accordance with the Cash
 Collateral Order, after accounting for adequate protection payments made by the Debtors pursuant to the
 Cash Collateral Order and received by the First Lien Revolving Lenders or, without duplication, to the First
 Lien Agent for the benefit of and distribution to the First Lien Revolving Lenders (which, notwithstanding
 anything to the contrary in the Cash Collateral Order, shall be retained by the First Lien Revolving Lenders
 and not recharacterized as principal payments or otherwise subject to disgorgement, recovery, or avoidance
 by any party under any legal or equitable theory).

          148.     “First Lien Revolving Credit Facility Claims” means any Claim held by the First Lien
 Agent or the First Lien Lenders arising under, derived from or based upon the First Lien Revolving Credit
 Facility or the First Lien Credit Agreement (excluding any Claims arising under, derived from or based
 upon the 2024 First Lien Term Loan or the 2025 First Lien Term Loan), including Claims for all principal
 amounts outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or
 related to the First Lien Revolving Credit Facility or the First Lien Credit Agreement (excluding any Claims
 arising under or related to the 2024 First Lien Term Loan or the 2025 First Lien Term Loan).

          149.    “First Lien Term Lenders” shall have the meaning ascribed to the term “Term Lender” in
 the First Lien Credit Agreement and include the singular and plural forms of such term.

          150.   “First Lien Revolving Lenders” means the First Lien Lenders that are lenders under the
 First Lien Revolving Credit Facility.

          151.   “First Lien Term Loan Claims” means the 2024 First Lien Term Loan Claims and 2025
 First Lien Term Loan Claims.

         152.     “First Lien Term Loans” means the 2024 First Lien Term Loan and 2025 First Lien Term
 Loan.

          153.    “First Lien Term Loans Accrued and Unpaid Interest” means the accrued and unpaid
 interest on the applicable First Lien Term Loans payable pursuant to the Cash Collateral Order and
 calculated for the applicable interest period (or any portion thereof) in accordance with the Cash Collateral
 Order, after accounting for adequate protection payments made by the Debtors pursuant to the Cash
 Collateral Order and received by the First Lien Term Lenders or, without duplication, to the First Lien
 Agent for the benefit of and distribution to the First Lien Term Lenders (which, notwithstanding anything
 to the contrary in the Cash Collateral Order, shall be retained by the First Lien Term Lenders and not
 recharacterized as principal payments (other than payments of principal made on or prior to April 23, 2021


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 and First Lien Term Loan Principal Payments), or otherwise subject to disgorgement, recovery, or
 avoidance by any party under any legal or equitable theory).

         154.     “First Lien Term Loan Principal Payments” means any excess cash flow sweep
 payments, amortization payments, and other payments expressly designated as payments of principal of the
 applicable First Lien Term Loans after April 23, 2021 and prior to the Effective Date.

         155.     “Future Opioid PI Claim” means any PI/NAS Opioid Claim that is an Opioid Demand.

         156.     “Future Opioid PI Claimant” means an individual holding a Future Opioid PI Claim.

        157.     “Future Claimants’ Representative” means the legal representative for Future Opioid PI
 Claimants, pursuant to (a) that certain Order Provisionally Appointing Roger Frankel as Legal
 Representative for Future Claimants [Docket No. 1747] and (b) that certain Order Appointing Roger
 Frankel, as Legal Representative for Future Opioid Personal Injury Claimants, Effective as of the Petition
 Date entered by the Bankruptcy Court on June 11, 2021 [Docket No. 2813], each as amended,
 supplemented, or modified from time to time.

         158.    “General Administrative Claim” means any Administrative Claim, other than a
 Professional Fee Claim, a Claim for Restructuring Expenses, a VI Opioid Claim, or a Claim for fees and
 charges assessed against the Estates under chapter 123 of title 28 United States Code, 28 U.S.C.
 §§ 1911-1930.

          159.    “General Unsecured Claim” means any Unsecured Claim (other than a Guaranteed
 Unsecured Notes Claim, a Claim for the Indenture Trustee Fees, a Trade Claim, an Intercompany Claim,
 an Opioid Claim, an Administrative Claim, a Priority Tax Claim, an Other Priority Claim, an Other Secured
 Claim, a Subordinated Claim, or a Claim resolved by the Federal/State Acthar Settlement), including
 (a) Claims arising from the rejection of unexpired leases or executory contracts, (b) Claims arising from
 any litigation or other court, administrative, or regulatory proceeding, including damages or judgments
 entered against, or settlement amounts owing by a Debtor in connection therewith, (c) Acthar Claims;
 (d) Generics Price Fixing Claims; (e) Asbestos Late Claims, (f) Environmental Claims, (g) Legacy
 Unsecured Notes Claims, (h) 4.75% Unsecured Notes Claims, and (i) Other General Unsecured Claims.

        160.    “General Unsecured Claims Allocations” means the 4.75% Unsecured Notes Recovery,
 Acthar Claims Recovery, the Asbestos Claims Recovery, the Generics Price Fixing Claims Recovery, the
 Legacy Unsecured Notes Recovery, and the Environmental Claims / Other General Unsecured Claims
 Recovery.

          161.     “General Unsecured Claims Trust” means the trust that is to be established in accordance
 with the Plan, the Confirmation Order, and the General Unsecured Claims Trust Documents for all Holders
 of Claims in Classes 6(a)-(g) and Trade Claims the Holders of which either vote to reject the Plan or do not
 agree to provide Favorable Trade Terms in accordance with the Disclosure Statement Order, which trust
 will satisfy the requirements of section 468B of the Internal Revenue Code and the Treasury Regulations
 promulgated thereunder (as such may be modified or supplemented from time to time); provided, however,
 that nothing contained herein shall be deemed to preclude the establishment of one or more additional or
 subsidiary trusts as determined by the General Unsecured Claims Trustee to be reasonably necessary or
 appropriate, including to provide tax efficiency to the General Unsecured Claims Trust and the Holders of
 any Claims entitled to distributions from the General Unsecured Claims Trust (and all such trusts shall be
 referred to collectively as the “General Unsecured Claims Trust”).

        162.    “General Unsecured Claims Trust Consideration” means (a) Cash in the amount of
 $135,000,000, paid on the Effective Date; (b) the GUC Assigned Preference Claims; (c) the GUC Terlivaz


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 CVR; (d) the GUC Assigned Sucampo Avoidance Claims; (e) the GUC Share Repurchase Proceeds; (f) the
 GUC VTS PRV Share; and (e) the GUC StrataGraft PRV Share.

          163.    “General Unsecured Claims Trust Documents” means the documents governing: (a) the
 General Unsecured Claims Trust, including a trust agreement; (b) any sub-trusts or vehicles that comprise
 the General Unsecured Claims Trust; (c) the flow of consideration from the Estates to the General
 Unsecured Claims Trust or any sub-trusts or vehicles that comprise the General Unsecured Claims Trust;
 (d) submission, resolution, and distribution procedures in respect of all General Unsecured Claims; and
 (e) the flow of distributions, payments, or flow of funds made from the General Unsecured Claims Trust or
 any such sub-trusts or vehicles after the Effective Date, all of which shall be in form and substance
 reasonably acceptable to the Official Committee of Unsecured Creditors and the Debtors and shall be
 considered “Definitive Documents” for purposes of Article I.C of the Plan.

         164.    “General Unsecured Claims Trustee” means the Person or Persons selected by the Official
 Committee of Unsecured Creditors, with the consent of the Debtors (such consent not to be unreasonably
 withheld, conditioned, or delayed), and appointed to serve as trustee(s) of the General Unsecured Claims
 Trust to administer the General Unsecured Claims Trust and General Unsecured Claims assumed by the
 General Unsecured Claims Trust and any successors thereto, pursuant to the terms of the General Unsecured
 Claims Trust Documents.

          165.     “Generics Price Fixing Claim” means a non-ordinary course Claim or Cause of Action
 arising out of, relating to, or in connection with the Debtors’ pricing and sale of generics products, including
 all Claims and Causes of Action in the Generics Price Fixing Lawsuits and any and all similar Claims and
 Causes of Action. Solely for the purpose of calculating the undetermined component of the General
 Unsecured Claims Allocation described in the UCC Appendix, the aggregate sum of $1.05 billion will be
 the value used for the aggregate Generics Price Fixing Claims. The amount of each Generics Price Fixing
 Claim shall be reconciled pursuant to the claims reconciliation procedures set forth in the General
 Unsecured Claims Trust Documents.

        166.    “Generics Price Fixing Claims Recovery” means the Initial Fixed Distribution in Cash in
 the amount of $8,000,000 from the General Unsecured Claims Trust Consideration as set forth in the UCC
 Appendix.

         167.    “Generics Price Fixing Lawsuits” means (a) Connecticut et al., v. Sandoz, Inc. et al., Case
 No. 2:20-cv-03539 (E.D. Pa.) and (b) In re Generics Pharmaceuticals Pricing Antitrust Litigation, 16-MD-
 2724 (E.D. Pa.) (MDL 2724).

         168.     “Governmental Opioid Claimant” means a Holder of a Governmental Opioid Claim.

        169.    “Governmental Opioid Claims” means the State Opioid Claims, Municipal Opioid Claims,
 Tribe Opioid Claims, and U.S. Government Opioid Claims.

          170.    “Governmental Plaintiff Ad Hoc Committee” means the ad hoc group of Governmental
 Entities holding Opioid Claims (or representatives thereof, including the Plaintiffs’ Executive Committee)
 represented by, among others, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, Brown Rudnick LLP,
 William Fry, and Houlihan Lokey Capital, Inc.

        171.     “Governmental Unit” means a governmental unit as defined in section 101(27) of the
 Bankruptcy Code and shall for the avoidance of doubt, include Tribes. For the avoidance of doubt, this
 term does not include any non-federal acute care hospitals.

        172.    “Guaranteed Unsecured Notes” means, individually and collectively, the 5.75% Senior
 Notes due 2022, the 5.50% Senior Notes due 2025 and the 5.625% Senior Notes due 2023.

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          173.   “Guaranteed Unsecured Notes Ad Hoc Group” means that certain ad hoc group of holders
 of certain Guaranteed Unsecured Notes represented by, among others, Paul, Weiss, Rifkind, Wharton &
 Garrison LLP and advised by, among others, Perella Weinberg Partners LP.

         174.    “Guaranteed Unsecured Notes Claim” means, collectively, the 5.75% Senior Notes
 Claims, the 5.50% Senior Notes Claims, and the 5.625% Senior Notes Claims, in each case, other than the
 Indenture Trustee Fees of the Guaranteed Unsecured Notes Indenture Trustee.

         175.    “Guaranteed Unsecured Notes Indentures” means, collectively, the 2014 Notes
 Indenture, the April 2015 Notes Indenture and the September 2015 Notes Indenture.

         176.      “Guaranteed Unsecured Notes Indenture Trustee” means Deutsche Bank Trust Company
 Americas, solely in its capacity as indenture trustee and in each other capacity for which it serves under or
 in connection with the Guaranteed Unsecured Notes Indentures, including serving as a Distribution Agent;
 provided that if the context requires only certain of the foregoing capacities, then only in such capacity(ies).

          177.    “GUC Assigned Preference Claims” means all claims or Causes of Action owned by the
 Estates and arising under section 547 of the Bankruptcy Code (and/or analogous state law), and all proceeds
 thereof, excluding any such claims or Causes of Action (a) to be assigned to the Opioid MDT II under the
 Plan or (b) against (i) any Released Party, (ii) any counterparty to an assumed Executory Contract or
 Unexpired Lease, or (iii) any Trade Claimant or entity that would be a Trade Claimant but did not have any
 outstanding invoices at the time of filing.

        178.    “GUC Assigned Sucampo Avoidance Claims” means all Avoidance Actions arising from
 the Debtors’ acquisition of Sucampo Pharmaceuticals, Inc. against the selling shareholders of Sucampo
 Pharmaceuticals, Inc., including as related to VTS-270.

         179.     “GUC Share Repurchase Proceeds” means the right to receive fifty percent (50%) of the
 net proceeds of the Share Repurchase Claims.

         180.   “GUC StrataGraft PRV Share” means the right to receive thirty-five percent (35%) of the
 proceeds received by the Debtors upon disposition of the Debtors’ priority review voucher related to
 StrataGraft.

        181.      “GUC Terlivaz CVR” means the right to receive a payment of $20,000,000 in Cash to be
 made promptly following (a) receipt of regulatory approval of Terlivaz by the U.S. Food and Drug
 Administration and (b) the Debtors’ (or a third party’s or assignee’s, if applicable) earning of $100,000,000
 of cumulative net sales of Terlivaz. The GUC Terlivaz CVR will be deemed assumed by a third party who
 purchases or is assigned the rights to Terlivaz.

        182.    “GUC Trust Cooperation Agreement” means that certain cooperation agreement among
 the Debtors and the General Unsecured Claims Trust, in substantially the form contained in the Plan
 Supplement, which shall be in form and substance reasonably acceptable to the Official Committee of
 Unsecured Creditors.

         183.     “GUC Trust Expenses” means any and all costs, expenses (including professional fees and
 expenses), fees, taxes, disbursements, debts, or obligations incurred from the operation and administration
 of the General Unsecured Claims Trust, including, but not limited to, direct costs of prosecution or
 settlement of GUC Assigned Preference Claims and GUC Assigned Sucampo Avoidance Claims.

          184.    “GUC VTS PRV Share” means the right to receive all proceeds received by the Debtors
 upon disposition of the Debtors’ sixty-eight percent (68%) retained ownership interest in any prospective
 priority review voucher related to VTS-270 (if any).


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         185.      “Hazardous Materials” means any wastes, chemicals, chemical formulations, substances,
 products, pollutants or materials, whether solid, liquid or gaseous, that (i) is asbestos, polychlorinated
 biphenyls, radioactive materials or petroleum, (ii) requires remediation or reporting under any federal or
 state environmental laws or regulations, or is defined, listed or identified as a “contaminant”, “pollutant”,
 “toxic substance”, “toxic material”, “hazardous waste” or “hazardous substance” or words of similar
 meaning and regulatory effect thereunder or (iii) is regulated as such by any Governmental Unit under any
 federal or state environmental laws or regulations.

         186.    “Hazardous Materials Release” means any release (including as defined under the
 Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA)), spill, emission,
 discharge, leaking, pumping, pouring, dumping, injection, deposit, disposal, dispersal, leaching or
 migration of Hazardous Materials into soil, land, surface or subsurface strata, surface waters, groundwaters,
 sediments, and ambient air.

         187.     “Holder” means an Entity holding a Claim or Interest, as applicable. When referring to
 Holders of Guaranteed Unsecured Notes Claims, “Holder” shall mean the record holders of and owners of
 beneficial interests in any of the Guaranteed Unsecured Notes.

        188.     “Hospital Attorney Fee Fund” means the fund to be established as set forth in Article
 IV.X.8 of the Plan.

         189.     “Hospital Opioid Claimant” means a Holder of a Hospital Opioid Claim.

         190.     “Hospital Opioid Claims” mean any Opioid Claims (including Opioid Demands) held by
 a provider of healthcare treatment services or any social services, in its capacity as such, and that is not held
 by a Governmental Unit. For the avoidance of doubt, Hospital Opioid Claims exclude Emergency Room
 Physicians Opioid Claims.

           191.    “Hospital Opioid Claims Share” means 3.57% of the Opioid MDT II Distributable Value
 (i) after deducting from the Opioid MDT II Distributable Value (a) reserved expenses for items (a), (b) and
 (c) of the definition of Opioid MDT II Operating Expenses, (b) the FHCA Opioid Claims Share, and (c) the
 aggregate amount of all Other Opioid Claimant Pro Rata Shares, and (ii) gross of applicable Private Opioid
 Creditor Trust Deductions and Holdbacks.

          192.    “Hospital Trust” means the Abatement Trust that is to be established in accordance with
 the Plan, the Confirmation Order, and the Hospital Trust Documents to (a) assume all liability for Hospital
 Opioid Claims, (b) collect distributions made on account of the Hospital Opioid Claims Share in accordance
 with the Hospital Trust Documents, (c) administer Hospital Opioid Claims, and (d) make Abatement
 Distributions to Authorized Recipients, including distributions to Holders of Hospital Opioid Claims in
 accordance with the Hospital Trust Documents. It is contemplated that the Hospital Trust will coordinate
 closely with the corresponding trust established in the Purdue Bankruptcy Cases, appoint the same trustee,
 and that the Hospital Trust Documents will be substantially identical to the corresponding trust documents
 utilized in the Purdue Bankruptcy Cases. All determinations regarding the eligibility of any provider of
 healthcare treatment services or any social services for payment from the Hospital Trust will be made solely
 by the trustee of the Hospital Trust pursuant to the Hospital Trust Documents.

          193.    “Hospital Trust Documents” means the documents governing: (a) the Hospital Trust;
 (b) the flow of consideration from the Opioid MDT II to the Hospital Trust; (c) submission, resolution, and
 distribution procedures in respect of all Hospital Opioid Claims (including Opioid Demands); and (d) the
 flow of distributions, payments or flow of funds made from the Hospital Trust after the Effective Date.

         194.     “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.


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          195.     “Indemnification Provisions” means each of the Debtors’ indemnification provisions in
 effect as of the Petition Date, whether in the Debtors’ memoranda and articles of association, bylaws,
 certificates of incorporation, other formation documents, board resolutions, management or indemnification
 agreements, employment contracts, or otherwise providing a basis for any obligation of a Debtor to
 indemnify, defend, reimburse, or limit the liability of, or to advances fees and expenses to, any of the
 Debtors’ current and former directors, officers, equity holders, managers, members, employees,
 accountants, investment bankers, attorneys, other professionals, and professionals of the Debtors, and such
 current and former directors’, officers’, and managers’ respective Affiliates, each of the foregoing solely in
 their capacity as such.

          196.    “Indenture Trustee Fees” means the reasonable, documented fees, expenses,
 disbursements and indemnity claims of the Guaranteed Unsecured Notes Indenture Trustee (as trustee and
 in any of its other capacities under the applicable Guaranteed Unsecured Notes Indentures and this Plan),
 including without limitation, fees, expenses and disbursements, incurred by counsel or agents for the
 Guaranteed Unsecured Notes Trustee, whether prior to or after the Petition Date, but on or prior to the
 Effective Date of this Plan, in each case to the extent payable or reimbursable under the applicable
 Guaranteed Unsecured Notes Indentures , including from a recovery, if any, on the Guaranteed Unsecured
 Notes. For the avoidance of doubt, the Indenture Trustee Fees shall also include those reasonable,
 documented fees, expenses, disbursements and indemnity claims of the Guaranteed Unsecured Notes
 Indenture Trustee or its counsel in connection with (a) any foreign insolvency proceeding and (b) such
 trustee serving as a Distribution Agent under this Plan (which fees, expenses, disbursements and indemnity
 claims in connection with serving as Distribution Agent may be incurred after the Effective Date of this
 Plan, notwithstanding anything to the contrary set forth in this definition).

          197.   “Initial Administrative Claims Bar Date” means, with respect to any Administrative
 Claim arising on or prior to April 30, 2021 at 11:59 p.m., prevailing Eastern Time, the last date for filing a
 request for payment in these Chapter 11 Cases with respect to such Administrative Claims as provided in
 the Initial Administrative Claims Bar Date Order.

          198.  “Initial Administrative Claims Bar Date Order” means that certain Order (I) Setting an
 Initial Bar Date for Filing Proofs of Administrative Claim, (II) Establishing Administrative Claims
 Procedures, (III) Approving the Form and Manner of Filing Proofs of Administrative Claim, (IV)
 Approving Notice of Initial Administrative Claim Bar Date, and (V) Granting Related Relief [Docket No.
 2480].

          199.    “Initial Distribution Date” means the date that is on or as soon as practicable after the
 Effective Date when distributions under the Plan shall commence for each Class entitled to receive
 distributions; provided that (i) any applicable distributions under this Plan on account of the Guaranteed
 Unsecured Notes Claims will be made to the applicable Distribution Agent on the Effective Date, and each
 such Distribution Agent will make, transmit or cause to be transmitted its respective distributions as soon
 as practicable thereafter pursuant to the terms of this Plan and (ii) any applicable distributions under this
 Plan on account of the First Lien Term Claims will be made to the applicable Distribution Agent on the
 Effective Date, and the applicable Distribution Agent shall make, transmit or cause to be transmitted its
 respective distributions as soon as practicable thereafter pursuant to the terms of this Plan.

         200.     “Initial Federal/State Acthar Settlement Payment” means a Cash payment to be made by
 the Debtors and/or the Reorganized Debtors pursuant to the Federal/State Acthar Settlement Agreements
 to the United States and State governments in the amount equal to $15,000,000.




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          201.    “Initial Fixed Distribution” means the Cash to be allocated to each of the Class 6 sub-
 classes in the amounts set forth in the UCC Appendix.

          202.     “Initial Opioid MDT II Payment” means a Cash payment to be made by the Debtors and/or
 the Reorganized Debtors on the Effective Date in an amount equal to $450,000,000, of which $445,000,000
 will be paid to the Opioid MDT II and $5,000,000 of which shall be on account of the Public Schools’
 Special Education Initiative Contribution and contributed to the Public Schools’ Special Education
 Initiative by the Reorganized Debtors.

          203.    “Insurance Contracts” means any and all insurance policies issued at any time to, or that
 otherwise may provide or may have provided coverage to, any of the Debtors, regardless of whether the
 insurance policies were issued to a Debtor or to a Debtor’s prior affiliates, subsidiaries, or parents (including
 but not limited to Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their
 predecessors, successors, or assigns, and any and all agreements, documents or instruments relating thereto,
 including any and all agreements with a third party administrator for claims handling, risk control or related
 services, any and all Opioid Insurance Policies, any and all D&O Liability Insurance Policies, and any and
 all Workers’ Compensation Contracts. For the avoidance of doubt, Insurance Contracts include any
 insurance policies issued at any time to the Debtors’ prior affiliates, subsidiaries, and parents (including but
 not limited to Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their
 predecessors, successors, or assigns, under which Debtors had, have, or may have any rights solely to the
 extent of the Debtors’ rights thereunder.

        204.     “Insurer” means any company or other Entity that issued or entered into an Insurance
 Contract (including any third party administrator) and any respective predecessors and/or Affiliates thereof.

          205.    “Intercompany Claim” means a prepetition Claim held by a Debtor or Non-Debtor
 Affiliate against a Debtor.

          206.    “Intercompany Interest” means any issued, unissued, authorized, or outstanding shares of
 common stock, preferred stock, or other instrument evidencing an ownership interest in any Debtor other
 than the Parent, whether or not transferable, together with any warrants, equity-based awards, or contractual
 rights to purchase or acquire such equity interests at any time and all rights arising with respect thereto that
 existed immediately before the Effective Date.

         207.    “Intercreditor Agreements” shall have the meaning ascribed to such term in the Cash
 Collateral Order.

         208.     “Interests” means, collectively, the Equity Interests and Intercompany Interests.

         209.     “Invoiced Restructuring Expenses” has the meaning set forth in Article IV.S.

         210.    “Irish Confirmation Order” mean an order of the High Court of Ireland to be made
 pursuant to Section 541 of the Companies Act 2014 of Ireland confirming the Scheme of Arrangement
 without material modification.

        211.    “Irish Examinership Proceedings” means the examinership proceedings to be
 commenced by the directors of the Parent or any other Debtor Entity, in respect of the Parent or other
 Debtor Entity, as applicable, pursuant to and in accordance with the requirements of Part 10 of the
 Companies Act 2014 of Ireland.

        212.     “Irish Takeover Panel” means the Irish Takeover Panel constituted under Irish Takeover
 Panel Act 1997.



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         213.     “Irish Takeover Rules” means the Irish Takeover Panel Act 1997, Takeover Rules 2013.

        214.   “Legacy Unsecured Notes” means, individually and collectively, the 8.00% Debentures
 due March 2023 and the 9.5% Debentures due May 2022.

        215.   “Legacy Unsecured Notes Claim” means any Claim arising under or based upon the
 Legacy Unsecured Notes or the Legacy Unsecured Notes Indentures.

         216.    “Legacy Unsecured Notes Indentures” means collectively, the 1992 Ludlow Debentures
 Indenture and the 1993 Ludlow Debentures Indenture.

         217.    “Legacy Unsecured Notes Indenture Trustee” means, collectively, the 8.00% Debentures
 Indenture Trustee and the 9.5% Debentures Indenture Trustee.

        218.    “Legacy Unsecured Notes Recovery” means (a) the Initial Fixed Distribution in Cash in
 the amount of $10,859,000 from the General Unsecured Claims Trust Consideration, plus (b) Additional
 GUC Trust Distributions calculated by the methodology set forth in the UCC Appendix.

         219.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

         220.   “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the United
 States Bankruptcy Court for the District of Delaware.

         221.     “Mallinckrodt” means, collectively, the Debtors and the Non-Debtor Affiliates.

         222.     “Management Incentive Plan” means the management incentive plan to be adopted on the
 Effective Date which shall provide for (a) the issuance to management, key employees and directors of the
 Reorganized Debtors of 10%, in total, of the fully diluted New Mallinckrodt Ordinary Shares (for the
 avoidance of doubt, after giving effect to the exercise of the New Opioid Warrants), and (b) at least half of
 such New Mallinckrodt Ordinary Shares (i.e., at least 5% of the fully diluted New Mallinckrodt Ordinary
 Shares after giving effect to the exercise of the New Opioid Warrants) to be issued not later than thirty (30)
 days after the Effective Date with the allocation of such grants to be approved by the compensation
 committee of the Reorganized Board based upon the recommendations of the CEO; the final terms of such
 plan shall be included in the Plan Supplement; provided that the Management Incentive Plan may be
 modified or amended by the mutual agreement of the Debtors and the Required Supporting Unsecured
 Noteholders prior to the Effective Date, with the consent of the Governmental Plaintiff Ad Hoc Committee
 and the MSGE Group (such consent not to be unreasonably withheld).

         223.   “MDL” means that certain opioid multi-district litigation captioned In re National
 Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-02804 (N.D. Ohio).

         224.     “MDL Court” means the court presiding over the MDL.

        225.    “MDL Plaintiffs’ Executive Committee” means the Co-Leads, Co-Liaison, and Plaintiffs’
 Executive appointed by the MDL Court in the MDL in the order dated January 14, 2018, filed at MDL
 Docket No. 37.

          226.    “Monitor” means the outside, independent monitor appointed in accordance with
 Article IV.BB of the Plan to ensure the Reorganized Debtors’ (and any successors during the Monitor’s
 term to the Reorganized Debtors’ business operations relating to the manufacture and sale of opioid
 product(s) in the United States and its territories) compliance with the Opioid Operating Injunction.

        227.   “Monitor Agreement” means the agreement entered into between the Monitor and the
 Reorganized Debtors, which shall be the agreement filed at Docket No. 1203 and approved by the

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 Bankruptcy Court at Docket No. 1306 unless amended or superseded by further order of the Bankruptcy
 Court, which order may be the Confirmation Order.

         228.     “Monitor Reports” has the meaning set forth in Article IV.BB.3.

        229.    “MSGE Group” the multi-state governmental entities group represented by Caplin &
 Drysdale, Chartered, Seitz, Van Ogtrop & Green, P.A., and FTI Consulting.

         230.    “MSGE Group Joinder Agreement” means that certain Joinder Agreement to the
 Restructuring Support Agreement dated as of November 13, 2020 entered into by the MSGE Group.

          231.     “Municipal and Tribe Opioid Attorneys’ Fee Fund” means the fund which will be
 established within the Opioid Attorneys’ Fee Fund for reimbursement of Municipal Opioid Claimant and
 Tribe Opioid Claimant costs and expenses (including attorneys’ fees) in accordance with the Opioid MDT
 II Documents, and which will be funded by the Opioid MDT II out of the Public Opioid Creditor Share as
 set forth in Article IV.X.9 prior to making distributions on account of the Public Opioid Creditor Share to
 NOAT II and TAFT II.

         232.     “Municipal Opioid Claimant” means a Holder of a Municipal Opioid Claim.

       233.    “Municipal Opioid Claims” means the Opioid Claims (including Opioid Demands) held
 by Municipal Units.

         234.     “Municipal Units” means all Governmental Units that are not States or the United States
 or the Tribes or any foreign Governmental Unit including, in each case, any department, agency, or
 instrumentality thereof, and the public school districts.

          235.    “NAS Child” means a natural person who has been diagnosed by a licensed medical
 provider with a medical, physical, cognitive or emotional condition resulting from such natural person’s
 intrauterine exposure to opioids or opioid replacement or treatment medication, including but not limited
 to the condition known as neonatal abstinence syndrome.

        236.   “NAS Committee” means the Ad Hoc Committee of NAS Children identified in the First
 Amended Verified Statement of the Ad Hoc Committee of NAS Children Pursuant to Bankruptcy Rule
 2019 [Docket No. 387].

          237.   “NAS Monitoring Attorney Fee Fund” means the fund to be established as set forth in
 Article IV.X.8.C of the Plan.

         238.     “NAS Monitoring Opioid Claimant” means a Holder of a NAS Monitoring Opioid Claim.

         239.    “NAS Monitoring Opioid Claims” means any Opioid Claims (including Opioid Demands)
 held by, or on account of or on behalf of, a NAS Child and relates to medical monitoring support,
 educational support, vocational support, familial support or similar related relief, but is not a NAS PI Opioid
 Claim.

           240.     “NAS Monitoring Trust” means the Abatement Trust that is to be established in
 accordance with the Plan, the Confirmation Order, and the NAS Monitoring Trust Documents to (a) assume
 all liability for NAS Monitoring Opioid Claims, (b) receive the distribution made on account of the NAS
 Monitoring Opioid Claims, (c) administer NAS Monitoring Opioid Claims, and (d) make Abatement
 Distributions to Authorized Recipients for Authorized Abatement Purposes. It is contemplated that the
 NAS Monitoring Trust will coordinate closely with the corresponding trust in the Purdue Bankruptcy Cases,



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 appoint the same trustee, and that the NAS Monitoring Trust Documents will be substantially identical to
 the corresponding trust documents utilized in the Purdue Bankruptcy Cases.

         241.    “NAS Monitoring Trust Documents” means the documents governing: (a) the NAS
 Monitoring Trust; (b) the flow of consideration from the Opioid MDT II to the NAS Monitoring Trust;
 (c) submission, resolution, and distribution procedures in respect of all NAS Monitoring Opioid Claims
 (including Opioid Demands); and (d) the flow of distributions, payments or flow of funds made from the
 NAS Monitoring Trust after the Effective Date.

         242.    “NAS PI Opioid Claim” means any Opioid Claims (including Opioid Demands) of any
 natural person who has been diagnosed by a licensed medical provider with a medical, physical, cognitive
 or emotional condition resulting from such natural person’s intrauterine exposure to opioids or opioid
 replacement or treatment medication, including but not limited to the condition known as neonatal
 abstinence syndrome, and does not include any NAS Monitoring Opioid Claims.

         243.     “NAS PI Opioid Claimant” means a Holder of a NAS PI Opioid Claim.

           244.    “NAS PI Opioid Claims Share” means 0.625% of the Opioid MDT II Distributable Value
 (i) after deducting from the Opioid MDT II Distributable Value (a) reserved expenses for items (a), (b) and
 (c) of the definition of Opioid MDT II Operating Expenses, (b) FHCA Opioid Claims Share, and (c) the
 aggregate amount of all Other Opioid Claimant Pro Rata Shares, and (ii) gross of applicable Private Opioid
 Creditor Trust Deductions and Holdbacks.

          245.    “New AR Revolving Facility” means the new accounts receivable revolving credit facility
 in the aggregate principal amount of up to approximately $200 million to be entered into by the Reorganized
 Debtors on, prior to, or after the Effective Date.

         246.     “New AR Revolving Facility Documentation” means the credit agreement (the
 substantially final form of which will be filed with the Plan Supplement), security agreement, and other
 documents governing the New AR Revolving Facility.

          247.   “NewCo” means a new Entity, if any, to be organized or incorporated by or at the direction
 of the Required Supporting Unsecured Noteholders and with the reasonable consent of the Governmental
 Plaintiff Ad Hoc Committee and the MSGE Group, on or before the Effective Date.

          248.     “NewCo Subsidiaries” means new Entities, if any, to be organized or incorporated by or
 at the direction of the Required Supporting Unsecured Noteholders and with the reasonable consent of the
 Governmental Plaintiff Ad Hoc Committee and the MSGE Group, on or before the Effective Date, other
 than NewCo.

       249.   “New Credit Facilities” means, collectively, (a) the New Term Loan Facility and (b) the
 New AR Revolving Facility.

          250.    “New Governance Documents” means any organizational or constitutional documents,
 operating agreements, warrant agreements, option agreements, management services agreements,
 shareholder and member-related agreements, registration rights agreements or other governance documents
 for Reorganized Mallinckrodt and the Reorganized Debtors; provided, that, all such documents for
 Reorganized Mallinckrodt shall have governance standards as though it was listed on any one of the
 NASDAQ Capital Market, the NASDAQ Global Market, or the New York Stock Exchange, as determined
 prior to the Effective Date.

         251.     “New Mallinckrodt Ordinary Shares” means ordinary shares of NewCo or Reorganized
 Parent, as applicable, to be issued on the Effective Date.


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        252.     “New Opioid Warrant Agreement” means the agreement governing the New Opioid
 Warrants to be effective on the Effective Date, which shall be included in the Plan Supplement.

          253.    “New Opioid Warrants” means warrants to acquire the number of New Mallinckrodt
 Ordinary Shares that would represent 19.99% of all such outstanding shares after giving effect to the
 exercise of the New Opioid Warrants, subject to dilution from equity reserved under the Management
 Incentive Plan, at a strike price reflecting an aggregate equity value for the Reorganized Debtors of $1.551
 billion, which warrants shall be exercisable at any time on or prior to the sixth anniversary of the Effective
 Date.

         254.     “New Second Lien Notes” means new, second lien secured notes to be issued to the
 Holders of Second Lien Notes Claims, as described further in Article III of the Plan, which notes shall be
 on terms set forth in Exhibit 4 hereto. For the avoidance of doubt, the New Second Lien Notes will be pari
 passu with any other second lien secured debt of the Reorganized Debtors contemplated by the Plan.

        255.   “New Second Lien Notes Documentation” means the indenture (the substantially final
 form of which will be filed with the Plan Supplement), notes, and other documents governing the New
 Second Lien Notes.

       256.    “New Takeback Term Loan Agent” means the administrative agent for the New Takeback
 Term Loan Facility selected in accordance with the Restructuring Support Agreement.

           257.    “New Takeback Term Loan Facility” means a new senior secured first lien term loan
 facility in an original principal amount equal to the Term Loans Outstanding Amount.

          258.    “New Takeback Term Loans” means the loans under the New Takeback Term Loan
 Facility.

         259.     “New Takeback Term Loans Documentation” means the credit agreement (the
 substantially final form of which will be filed with the Plan Supplement), security agreement, and other
 documents governing the New Takeback Term Loan Facility.

         260.   “New Term Loan Documentation” means the credit agreement (the substantially final
 form of which will be filed with the Plan Supplement), security agreement, and other documents governing
 the New Term Loan Facility.

          261.    “New Term Loan Facility” means the new term loan credit facility, or other funded
 indebtedness, to be entered into by the Reorganized Debtors on, prior to, or after the Effective Date that
 will be used to refinance the First Lien Revolving Credit Facility, and may be used to refinance the First
 Lien Term Loans, the First Lien Notes, and/or the Second Lien Notes; provided that such refinancing of
 the Second Lien Notes shall only be permitted in the event either (a)(i) the First Lien Term Loans (and the
 First Lien Term Loan Claims) are repaid in full in Cash and (ii) the Term Loan Exit Payment is paid to the
 First Lien Term Lenders, in each case, before or contemporaneously with such refinancing, or (b) if the
 proceeds of any portion of the New Term Loan Facility are used to refinance the Second Lien Notes, such
 portion of the New Term Loan Facility is secured by Liens and security interests that rank junior to the
 Liens and security interests securing the New Takeback Term Loans.

         262.    “NOAT II” means the national opioid Abatement Trust that is to be established in
 accordance with the Plan, the Confirmation Order, and the NOAT II Documents to (a) assume all liability
 for State Opioid Claims and Municipal Opioid Claims, (b) collect distributions made on account of the
 State and Municipal Government Opioid Claims Share in accordance with the NOAT II Trust Documents,
 (c) administer State Opioid Claims and Municipal Opioid Claims, and (d) make Abatement Distributions


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 to Authorized Recipients for Approved Uses, including to Holders of State Opioid Claims and Municipal
 Opioid Claims in accordance with the NOAT II Trust Documents.

          263.    “NOAT II Documents” means the documents governing: (a) the NOAT II; (b) the flow of
 consideration from the Opioid MDT II to the NOAT II; (c) submission, resolution, and distribution
 procedures in respect of all State Opioid Claims and Municipal Opioid Claims (including, in each case,
 Opioid Demands); and (d) the flow of Abatement Distributions to Authorized Recipients, including
 distributions, payments or flow of funds made from the NOAT II after the Effective Date.

        264.      “Non-Debtor Affiliates” means all of the Affiliates of the Debtors, other than the other
 Debtors.

          265.    “Non-Debtor Releasing Parties” means (a) the Holders of all Claims who vote to accept
 the Plan, (b) the Holders of all Claims that are Unimpaired under the Plan, (c) the Holders of all Claims
 whose vote to accept or reject the Plan is solicited but who (i) abstain from voting on the Plan and (ii) do
 not opt out of granting the releases set forth herein, (d) the Holders of all Claims or Equity Interests who
 vote, or are deemed, to reject the Plan but do not opt out of granting the releases set forth herein, (e) all
 other Holders of Claims and Equity Interests to the maximum extent permitted by law, and (f) the Released
 Co-Defendants and each of their Co-Defendant Related Parties; provided, that the plaintiffs and the
 members of the putative class as identified in the Shenk Suit shall not be Non-Debtor Releasing Parties
 until such time as the Shenk Settlement is approved on a final basis and by Final Order of the United States
 District Court for the District of Columbia and upon such approval such plaintiffs shall be deemed to have
 provided the releases set forth in the Shenk Settlement; provided, further, that Opioid Claimants (other than
 Released Co-Defendants and each of their Co-Defendant Related Parties), solely in their capacity as Opioid
 Claimants, shall not be Non-Debtor Releasing Parties but shall be subject to the releases by Holders of
 Opioid Claims in Article IX.D; provided, further, that, the United States shall not be Non-Debtor Releasing
 Party but shall be subject to the releases of U.S. Government Payor Statutory Rights and the treatment of
 the U.S. Government Opioid Claims in Article III.D.B.8.d.

       266.     “Non-Governmental Opioid Claims” means all Opioid Claims (including Opioid
 Demands) that are not Governmental Opioid Claims.

          267.   “No Recovery Opioid Claims” means all Opioid Claims that are either (a) as of the relevant
 time, disallowed under section 502(e)(1)(B) of the Bankruptcy Code (subject, however, to section 502(j) of
 the Bankruptcy Code) or (b) subordinated pursuant to section 509(c) or section 510 of the Bankruptcy Code.

         268.    “Noteholder Consent Fee” means cash in an amount equal to 1.5% of par value of the
 applicable Supporting Unsecured Noteholder’s Guaranteed Unsecured Notes as of 11:59 P.M., prevailing
 Eastern time, on October 11, 2020.

         269.     “Notice and Claims Agent” means Prime Clerk, LLC, in its capacity as noticing, claims,
 and solicitation agent for the Debtors, pursuant to the order of the Bankruptcy Court [Docket No. 219].

        270.     “OCC Settlement” means the settlement described in that certain Global Opioid Settlement
 Term Sheet, filed at [Docket No. 4121-2], as the same may be amended or modified from time to time in
 accordance with its terms.




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         271.     “Official Committee of Opioid-Related Claimants” means the official committee of
 opioid-related claimants appointed in the Chapter 11 Cases [Docket No. 308].

         272.    “Official Committee of Unsecured Creditors” means the official committee of unsecured
 creditors appointed in the Chapter 11 Cases [Docket No. 306].

          273.    “Opioid Attorneys’ Fee Fund” means a fund that will be established for reimbursement of
 State Opioid Claimant, Municipal Opioid Claimant, and Tribe Opioid Claimant costs and expenses
 (including attorneys’ fees) in accordance with the Opioid MDT II Documents, which will be funded as set
 forth in Article IV.X.9. The Opioid Attorneys’ Fee Fund will consist of the Municipal and Tribe Opioid
 Attorneys’ Fee Fund and the State Opioid Attorneys’ Fee Fund.

          274.      “Opioid Claim” means a Claim or Cause of Action (other than Claims or Causes of Action
 arising from violations of the Voluntary Injunction or Opioid Operating Injunction), whether existing now
 or arising in the future, based in whole or in part on any conduct or circumstance occurring or existing on
 or before the Effective Date and arising out of, relating to, or in connection with any opioid product or
 substance, and any and all Opioid Demands related thereto, including, for the avoidance of doubt, claims
 for indemnification, contribution, or reimbursement on account of payments or losses in any way arising
 out of, relating to, or in connection with any such conduct or circumstances and Co-Defendant Claims. For
 the avoidance of doubt, Opioid Claims do not include (i) any liability solely to the extent premised on
 allegations regarding conduct undertaken by the Reorganized Debtors after the Effective Date, (ii) any
 Generics Price Fixing Claims, or (iii) any claims arising under section 502(h) of the Bankruptcy Code.

        275.    “Opioid Claimant” means a Holder of an Opioid Claim, including Governmental Opioid
 Claimants and Other Opioid Claimants.

         276.     “Opioid Claimant Release” means the releases set forth in Article I.D of the Plan.

        277.   “Opioid Creditor Trust Documents” means the PI Trust Documents, the Third-Party Payor
 Trust Documents, the Hospital Trust Documents, the NAS Monitoring Trust Documents, the Emergency
 Room Physicians Trust Documents, the NOAT II Documents, and the TAFT II Documents.

          278.    “Opioid Creditor Trustee(s)” means each trustee of an Opioid Creditor Trust or,
 collectively, the trustees of the Opioid Creditor Trusts, in each case, appointed in accordance with
 Article IV.X.2 of the Plan.

         279.     “Opioid Creditor Trust Operating Expenses” means any and all costs, expenses, fees,
 taxes, disbursements, debts or obligations incurred from the operation and administration of the Opioid
 Creditor Trusts, which shall be paid from the assets of the applicable Opioid Creditor Trust.

         280.     “Opioid Creditor Trusts” means the Public Opioid Creditor Trusts and the Private Opioid
 Creditor Trusts.

          281.     “Opioid Deferred Cash Payments” means the right of the Opioid MDT II to receive Cash
 payments on the Opioid Deferred Cash Payments Terms in the following amounts and on the following
 dates: (a) $200,000,000 on each of the first and second anniversaries of the Effective Date; (b)
 $150,000,000 on each of the third through seventh anniversaries of the Effective Date; and (c) $125,000,000
 on the eighth anniversary of the Effective Date; provided, that at any time on or prior to eighteen (18)
 months after the Effective Date, the Reorganized Debtors shall have the Prepayment Option; provided,
 further, that to the extent the Reorganized Debtors seek to prepay only a portion of the Opioid Deferred
 Cash Payments in accordance with the Prepayment Option, such prepayment shall (x) not be funded from
 the proceeds of the incurrence of indebtedness by the Reorganized Debtors; and (y) prepay Opioid Deferred
 Cash Payments in accordance with the above in inverse order beginning with the payment due on the eighth

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 anniversary of the Effective Date. The Opioid Deferred Cash Payments will be joint and several obligations
 (or be subject to an economically similar arrangement) of all current and future borrowers, issuers, pledgers,
 and guarantors of the Debtors’ funded indebtedness identified in the affirmative covenants supporting such
 obligations; provided, that for so long as the New Takeback Term Loans, the First Lien Notes, Second Lien
 Notes, Takeback Second Lien Notes, Cram-Down First Lien Notes, Cram-Down Second Lien Notes (or
 any indebtedness incurred to refinance or replace such New Takeback Term Loans, First Lien Notes,
 Second Lien Notes, Takeback Second Lien Notes, Cram-Down First Lien Notes, or Cram-Down Second
 Lien Notes) remain outstanding, in no event shall the cash payments described above be guaranteed by (or
 be required to be guaranteed by) an entity that does not also guarantee the New Takeback Term Loans, First
 Lien Notes, Second Lien Notes, Takeback Second Lien Notes, Cram-Down First Lien Notes, or Cram-
 Down Second Lien Notes (or such refinancing or replacement debt).

         282.     “Opioid Deferred Cash Payments Terms” means the covenants and enforcement rights
 with respect to the Opioid Deferred Cash Payments, a term sheet setting forth the material terms of which
 shall be included in the Plan Supplement and shall be reasonably acceptable to the Debtors, the
 Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the Required Supporting Unsecured
 Noteholders in light of the nature, duration, and form of the deferred payment obligations, and compliance
 with which shall be so ordered through the Confirmation Order.

          283.     “Opioid Demand” means any present or future demand for payment against a Debtor that
 (a) was not a Claim during the Chapter 11 Cases prior to the Effective Date; (b) is based in whole or in part
 on any conduct or circumstance occurring or existing on or before the Effective Date; (c) arises out of,
 relating to, or in connection with the same or similar conduct or events that gave rise to the Opioid Claims
 addressed by the Opioid Permanent Channeling Injunction; and (d) pursuant to the Plan, shall be dealt with
 by the Opioid MDT II or the Opioid Creditor Trusts, as applicable. For the avoidance of doubt, Opioid
 Demands do not include (i) any liability solely to the extent premised on allegations regarding conduct
 undertaken by the Reorganized Debtors after the Effective Date, (ii) any Generics Price Fixing Claims, or
 (iii) any claims arising under section 502(h) of the Bankruptcy Code.

          284.     “Opioid Insurance Policies” means (i) with regard to Insurance Contracts issued to any
 Debtors, (a) all Insurance Contracts that provide general liability, life sciences, or product liability
 coverages, other than those specifically or categorically listed in the Schedule of Excluded Insurance
 Policies included in the Plan Supplement, and (b) all Insurance Contracts that may provide or may have
 provided the Debtors with rights with respect to any Opioid Claim, other than those specifically or
 categorically listed in the Schedule of Excluded Insurance Policies included in the Plan Supplement
 (collectively, the “Post-Spin Opioid Insurance Policies”); (ii) all Insurance Contracts issued to Covidien
 Limited (f/k/a Covidien plc) or its affiliates, subsidiaries, or parents prior to the 2013 spin-off of
 Mallinckrodt plc from Covidien (the “Spin-Off”) under which, as of the Effective Date, the Debtors have
 or hold rights to coverage with respect to any Opioid Claim (the “Covidien Insurance Policies”); and (iii) all
 Insurance Contracts issued to the predecessors of Covidien Limited (f/k/a Covidien plc) and their affiliates,
 subsidiaries, or parents prior to the Spin-Off under which, as of the Effective Date, the Debtors have or hold
 rights to coverage with respect to any Opioid Claim (the “Pre- Covidien Insurance Policies”). Rights as
 used in this definition means any and all rights, titles, privileges, interests, claims, demands, or entitlements
 of the Debtors to any proceeds, payments, benefits, Causes of Action, choses in action, defense or
 indemnity, and includes all rights, regardless of whether such rights existed in the past, now exist, or
 hereafter arise, and regardless of whether such rights are or were accrued or unaccrued, liquidated or
 unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent. Notwithstanding
 anything in this definition or otherwise in the Plan to the contrary, (x) Opioid Insurance Policies include
 the Insurance Contracts set forth on the Schedule of Opioid Insurance Policies included in the Plan
 Supplement, which schedule is not, and is not intended to be, exhaustive (provided, however, that any such
 Insurance Contracts that are Covidien Insurance Policies or Pre-Covidien Insurance Policies are Opioid


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 Insurance Policies only if and to the extent provided in clauses (ii) and (iii), respectively, of the first sentence
 of this definition); and (y) nothing in this definition or any other provision of the Plan shall modify or
 override the paragraph of the Confirmation Order pertaining to the resolution of the Limited Objection to
 the Plan filed by Covidien [Docket No. 4699], which paragraph shall control with respect to all matters
 addressed in such paragraph in the event of any inconsistency. For the avoidance of doubt, nothing in this
 definition or any other provision of the Plan shall grant the Opioid MDT II any rights under any Insurance
 Contracts that are not Opioid Insurance Policies, nor shall this definition or any other provision of the Plan
 grant the Opioid MDT II any rights under the Covidien Insurance Policies and Pre-Covidien Insurance
 Policies beyond those that the Debtors may have or hold on the Effective Date.

         285.    “Opioid Insurance Settlements” means any and all settlement agreements concerning the
 Opioid Insurance Policies, the rights under or related to which (i.e. the Assigned Insurance Rights) the
 Debtors are assigning, or in the absence of such settlement agreement would be assigning, to the Opioid
 MDT II pursuant to the Plan, that (i) (a) the Debtors and an Opioid Insurer have entered into on or before
 the Effective Date, with the consent of the Governmental Plaintiff Ad Hoc Committee, the MSGE Group,
 the Official Committee of Opioid-Related Claimants, and the Future Claimants’ Representative that (b) is
 approved by the Bankruptcy Court, or (ii) the Opioid MDT II and an Opioid Insurer have entered into after
 the Effective Date.

          286.     “Opioid Insurer” means an Insurer that has issued, is responsible for, or has liability to pay
 under any Opioid Insurance Policy, and each of its affiliates, predecessors in interest, and agents, solely in
 its capacity as such and solely with respect to such Opioid Insurance Policy.

         287.     “Opioid Insurer Injunction” means the injunction issued pursuant to Article IX.I of the
 Plan.

          288.   “Opioid MDT II” means the master disbursement trust that is to be established in
 accordance with the Plan, the Confirmation Order, and the Opioid MDT II Documents, which trust will
 satisfy the requirements of section 468B of the Internal Revenue Code and the Treasury Regulations
 promulgated thereunder (as such may be modified or supplemented from time to time).

        289.    “Opioid MDT II Administrator” means the administrator that will be appointed by the
 Opioid MDT II Trustee(s) pursuant to the Opioid MDT II Documents to adjudicate and liquidate Other
 Opioid Claims.

        290.    “Opioid MDT II Consideration” means (a) the Initial Opioid MDT II Payment; (b) the
 New Opioid Warrants; (c) the Opioid Deferred Cash Payments; (d) the Assigned Third-Party Claims; (e) the
 Assigned Insurance Rights; and (f) the Opioid MDT II Share Repurchase Proceeds.

        291.     “Opioid MDT II Cooperation Agreement” means that certain Cooperation Agreement
 among the Debtors and the Opioid MDT II, in substantially the form contained in the Plan Supplement,
 which shall be in form and substance acceptable to the Governmental Plaintiff Ad Hoc Committee, the
 MSGE Group, and the Required Supporting Unsecured Noteholders.

        292.    “Opioid MDT II Distributable Value” means all cash proceeds of the Opioid MDT II
 Consideration.

         293.    “Opioid MDT II Documents” means the documents governing: (a) the Opioid MDT II
 (b) the Opioid Deferred Cash Payments Terms; (c) the flow of consideration from the Debtors’ Estates to
 the Opioid MDT II; (d) submission, resolution, and distribution procedures in respect of all Opioid Claims
 (including Opioid Demands) channeled to the Opioid MDT II; (e) the appointment of the Opioid MDT II
 Administrator to adjudicate and liquidate Other Opioid Claims; and (f) the flow of distributions, payments
 or flow of funds made from the Opioid MDT II after the Effective Date. The Future Claimants’

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 Representative and the Ad Hoc Group of Personal Injury Victims shall have the right to consult on the
 Opioid MDT II Documents.

         294.    “Opioid MDT II Initial Distributable Value” means, as of the Opioid MDT II Initial
 Distribution Date, the amount of Cash held in the Opioid MDT II.

         295.     “Opioid MDT II Initial Distribution” means the distribution on the Opioid MDT II Initial
 Distribution Date of Opioid MDT II Initial Distributable Value from the Opioid MDT II to the Opioid
 Creditor Trusts, the Ratepayer Account, and the FHCA Opioid Claimants.

         296.    “Opioid MDT II Initial Distribution Date” means the Effective Date or as soon as
 reasonably practicable thereafter; provided that the Opioid MDT II Initial Distribution Date shall be no later
 than five (5) Business Days after the Effective Date.

         297.     “Opioid MDT II Operating Expenses” means the Trust Expenses and any and all costs,
 expenses, fees, taxes, disbursements, debts or obligations incurred from the operation and administration
 of the Opioid MDT II, including, but not limited to, (a) management, administration, disposition, exercise
 or monetization of the New Opioid Warrants, (b) direct costs of prosecution or settlement of Assigned
 Third-Party Claims, Assigned Insurance Rights, and Share Repurchase Claims, and (c) any amounts
 incurred by the Opioid MDT II in connection with adjudicating or otherwise liquidating any Other Opioid
 Claims.

           298.    “Opioid MDT II Operating Reserve” means a reserve in the Opioid MDT II to be
 established and funded from time to time to pay any and all Opioid MDT II Operating Expenses. The Opioid
 MDT II Operating Reserve shall be (i) initially funded on the Effective Date with a portion of the Opioid
 MDT II Initial Distributable Value in an amount determined by the Governmental Plaintiff Ad Hoc
 Committee, the MSGE Group, the Official Committee of Opioid-Related Claimants, and the Future
 Claimants’ Representative with the consent (not to be unreasonably withheld, delayed or conditioned) of
 the Debtors, (ii) funded thereafter from time to time with Cash held or received by the Opioid MDT II in
 accordance with the Opioid MDT II Documents and as determined by the Opioid MDT II Trustee(s), and
 (iii) held by the Opioid MDT II in a segregated account and administered by the Opioid MDT II Trustee(s)
 on and after the Effective Date.

        299.     “Opioid MDT II Share Repurchase Proceeds” means the right to receive fifty percent
 (50%) of the net proceeds of the Share Repurchase Claims.

         300.    “Opioid MDT II Subsequent Distributable Value” means, as of any Opioid MDT II
 Subsequent Distribution Date, the amount of Cash held in the Opioid MDT II less (a) any amounts in the
 Opioid MDT II Operating Reserve, (b) any amounts in the Opioid MDT II Third-Party Payor Reserve, and
 (c) any amounts in the Opioid Attorneys’ Fee Fund (which amounts shall already have been placed in
 reserve through previous distributions on account of the Public Opioid Creditor Share).

           301.    “Opioid MDT II Subsequent Distribution” means any distribution after the Opioid MDT
 II Initial Distribution of Opioid MDT II Subsequent Distributable Value from the Opioid MDT II to the
 Opioid Creditor Trusts and Holders of Allowed Other Opioid Claims.

        302.    “Opioid MDT II Subsequent Distribution Date” means (a) the date selected by the Opioid
 MDT II Trustees that is not more than five (5) Business Days after each Opioid Deferred Cash Payment is
 made to the Opioid MDT II, and (b) such other date as the Opioid MDT II Trustee(s) determine in
 accordance with the Opioid MDT II Documents. The Opioid MDT II will make the Opioid MDT II
 Subsequent Distributions on the Opioid MDT II Subsequent Distribution Date(s).



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          303.    “Opioid MDT II Third-Party Payor Reserve” means a reserve in the Opioid MDT II to be
 established to reserve funds for payment of the Third-Party Payor Opioid Claims Share. The Opioid MDT
 II Third-Party Payor Reserve shall be funded (i) on the Opioid MDT II Initial Distribution Date with
 amounts sufficient to make the first payment on account of the Third-Party Payor Opioid Claims Share that
 is due 180 days after the Effective Date, and (ii) thereafter with amounts sufficient to make any upcoming
 payments on account of the Third-Party Payor Opioid Claims Share. The Opioid MDT II Third-Party Payor
 Reserve shall be held by the Opioid MDT II in a segregated account and administered by the Opioid MDT
 II Trustee(s) on and after the Effective Date.

          304.    “Opioid MDT II Trustee(s)” means the Person or Persons selected by the Governmental
 Plaintiff Ad Hoc Committee, the MSGE Group, and the Official Committee of Opioid-Related Claimants
 in consultation with the Debtors in accordance with Article IV.U.1 of the Plan and appointed to serve as
 trustee(s) of the Opioid MDT II to administer the Opioid MDT II and Opioid Claims (including Opioid
 Demands) channeled to the Opioid MDT II and any successors thereto, pursuant to the terms of the Opioid
 MDT II Documents.

        305.      “Opioid Operating Injunction” means the operating injunction set forth in the Plan
 Supplement.

         306.   “Opioid Operating Injunction Order” means an order enforcing the terms of the Opioid
 Operating Injunction, which, for the avoidance of doubt, may be the Confirmation Order.

          307.     “Opioid Permanent Channeling Injunction” means an order or orders of the Bankruptcy
 Court (which, for the avoidance of doubt, may be the Confirmation Order) permanently and forever staying,
 restraining, and enjoining any Entity from taking any actions against any Protected Party for the purpose
 of, directly or indirectly, collecting, recovering, or receiving payment of, on or with respect to any Opioid
 Claim (including any Opioid Demand) as set forth in Article IX.H of the Plan, all of which Opioid Claims
 (including Opioid Demands) shall be channeled to the Opioid MDT II and the Opioid Creditor Trusts, as
 applicable, for resolution as set forth in the Opioid MDT II Documents and the Opioid Creditor Trust
 Documents.

         308.    “Opioid-Related Activities” means the development, production, manufacture, licensing,
 labeling, marketing, advertising, promotion, distribution or sale of opioid Products or the use or receipt of
 any proceeds therefrom, or the use of opioids, including opioids that are not Products, or any other activities
 that form the basis of an Opioid Claim.

         309.     “Opioid Settlement Term Sheet” means Schedule 1 to the Plan Term Sheet.

        310.    “Ordinary Course Professional” means any professional retained and employed by the
 Debtors pursuant to the Order Authorizing Employment and Payment of Professionals Utilized in the
 Ordinary Course of Business [Docket No. 474].

          311.    “Other General Unsecured Claim” means a General Unsecured Claim other than (a)
 Acthar Claims; (b) Generics Price Fixing Claims; (c) Asbestos Claims; (d) Environmental Claims; (e) the
 4.75% Unsecured Notes Claims; and (f) Legacy Unsecured Notes Claims. For the avoidance of doubt, (1)
 all Claims arising from the rejection of unexpired leases or executory contracts (other than rejection claims
 that are Co-Defendant Claims, which shall be Other Opioid Claims) and (2) all Asbestos Late Claims shall
 be Other General Unsecured Claims.

         312.     “Other Opioid Claimant” means a Holder of an Other Opioid Claim.

         313.    “Other Opioid Claimant Pro Rata Share” means as of any Opioid MDT II Subsequent
 Distribution Date, with respect to any Allowed Other Opioid Claim, an amount such that (a) the cumulative

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 aggregate recovery to the Holder of such Allowed Other Opioid Claim divided by the total amount of
 Allowed Other Opioid Claims to date equals (b) the aggregate amount of distributions made by the Opioid
 MDT II to NOAT II divided by the Deemed NOAT II Opioid Claims Pool; provided, however,
 notwithstanding anything to the contrary contained in the Plan, at any time within 60 days after the
 allowance of an Allowed Other Opioid Claim, such Holder may file a motion with the Bankruptcy Court,
 on appropriate notice, and seek the Bankruptcy Court’s determination as to (x) whether such amount is
 unfairly discriminatory under Bankruptcy Code Section 1129(b) as compared to the treatment provided to
 holders of Opioid Claims in any or all of Classes 8(a)-(c) and 9(a)-9(g) under the Plan, and (y) to the extent
 that the Bankruptcy Court determines that such amount is unfairly discriminatory, the appropriate amount
 to be provided by the Opioid MDT II to such holder so that the treatment of such holder and of any other
 holders of Allowed Other Opioid Claims is not unfairly discriminatory under Bankruptcy Code Section
 1129(b) as compared to the treatment provided to holders of Opioid Claims in any or all of Classes 8(a)-(c)
 and 9(a)-9(g) under the Plan (for purposes of making the determinations specified in the preceding clauses
 (x) and (y), Class 9(h) shall be deemed to have rejected the Plan; the aggregate Allowed amount of State
 Opioid Claims and Municipal Opioid Claims shall be determined in accordance with applicable law
 without affording any binding (or any other) effect or presumption of validity to (and without otherwise
 taking into account) the value ascribed to the State Opioid Claims and Municipal Opioid Claims in the
 Plan’s definition of Deemed NOAT II Opioid Claims Pool; and the burden of proof and persuasion with
 respect to the issue of unfair discrimination shall rest on the side and shall otherwise be the same as such
 burden would have been had the issue been litigated at the Confirmation Hearing (provided that if and to
 the extent that any such burden would have been on the Debtors at the Confirmation Hearing, such burden
 shall rest to the same extent on any party or parties opposing the motion); provided further that to the extent
 such a motion is brought, (i) the Opioid MDT II and the Opioid Creditor Trusts, each of their respective
 beneficiaries including the Future Claimants’ Representative, and any Holders of disputed Other Opioid
 Claims shall have standing to appear and be heard with respect to such motion and (ii) the resolution of
 such motion by Final Order shall be binding on such Holder, the Opioid MDT II and the Opioid Creditor
 Trusts, each of their respective beneficiaries including the Future Claimants’ Representative and all Holders
 of disputed Other Opioid Claims.

         314.    “Other Opioid Claims” means any Opioid Claim that is not a Governmental Opioid Claim,
 Third-Party Payor Opioid Claim, Hospital Opioid Claim, Ratepayer Opioid Claim, a NAS Monitoring
 Opioid Claim, an Emergency Room Physicians Opioid Claim, a Public School Opioid Claim, or PI/NAS
 Opioid Claim, but including, for the avoidance of doubt, Co-Defendant Claims (other than Co-Defendant
 Claims held by Released Co-Defendants) and any No Recovery Opioid Claims that are Allowed after the
 Effective Date under section 502(j) of the Bankruptcy Code.

          315.    “Other Opioid Claims Bar Date” means a date that is 60 days after the service of a notice
 to be filed with the Bankruptcy Court by the Opioid MDT II Administrator, in accordance with Article
 IV.Y of the Plan, stating that all Other Opioid Claimants must submit to the Opioid MDT II Administrator
 a proof of claim form (in a form substantially similar to Official Bankruptcy Form No. 410) within 60 days
 of the service of such notice. A sample proof of claim form shall be attached to the notice of the Other
 Opioid Claims Bar Date.

         316.    “Other Priority Claim” means any Claim accorded priority in right of payment under
 section 507(a) of the Bankruptcy Code, other than: (a) Administrative Claims or (b) Priority Tax Claims.

       317.    “Other Secured Claim” means any Secured Claim other than the First Lien Credit
 Agreement Claims, First Lien Notes Claims, or Second Lien Notes Claims.

          318.    “Parent” means Mallinckrodt plc, a public limited company incorporated under the laws
 of Ireland with registered number 52227 and having its registered office at College Business & Technology
 Park, Cruiserath, Blanchardstown, Dublin 15, Dublin, Ireland.

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         319.    “PEC/MSGE Mallinckrodt Fee Allocation Agreement” means the agreement attached
 hereto as Exhibit 7.

         320.    “Pending Opioid Actions” means the judicial, administrative or other actions or
 proceedings or Causes of Action that were or could have been commenced before the commencement of
 the Chapter 11 Cases and that are identified in Exhibit 1 and 2 to the Debtors’ Amended Adversary
 Complaint for Injunctive Relief Pursuant to 11 U.S.C. § 105 [Adv. Pro. No. 20-50850, Docket No. 15], as
 well as any other actions that were or could have been commenced before the Effective Date against any
 of the Debtors, Released Parties, or Protected Parties alleging or based on substantially similar facts or
 Causes of Action as those alleged in the actions identified in those appendices.

         321.      “Periodic Distribution Date” means the first Business Day that is as soon as reasonably
 practicable occurring approximately sixty (60) days after (a) initially, the Initial Distribution Date, and (b)
 thereafter, the immediately preceding Periodic Distribution Date.

          322.     “Person” means an individual, firm, corporation (including any non-profit corporation),
 partnership, limited partnership, limited liability company, joint venture, association, trust, governmental
 entity, or other entity or organization.

         323.     “Petition Date” means October 12, 2020.

         324.   “PI/NAS Opioid Claims” means, collectively, the PI Opioid Claims, and the NAS PI
 Opioid Claims. For the avoidance of doubt, NAS Monitoring Opioid Claims shall not be PI/NAS Opioid
 Claims.

         325.     “PI Opioid Claimant” means a Holder of a PI Opioid Claim.

         326.     “PI Opioid Claims” means any Opioid Claims (including Opioid Demands) of any natural
 person for alleged opioid-related personal injury or other similar opioid-related Claim or Cause of Action,
 including any opioid-related personal injury Claim, and that is not a Hospital Opioid Claim, a Third-Party
 Payor Opioid Claim, a NAS PI Opioid Claim, a NAS Monitoring Opioid Claim, a Ratepayer Opioid Claim,
 an Emergency Room Physicians Opioid Claim, or a Governmental Opioid Claim.

          327.     “PI Opioid Claims Share” means 9.3% of the Opioid MDT II Distributable Value, (i) after
 deducting from the Opioid MDT II Distributable Value (a) reserved expenses for items (a), (b) and (c) of
 the definition of Opioid MDT II Operating Expenses, (b) the FHCA Opioid Claims Share, (c) the aggregate
 amount of the Other Opioid Claimant Pro Rata Shares, and (ii) gross of applicable Private Opioid Creditor
 Trust Deductions and Holdbacks.

         328.     “PI Opioid Demands” means any Opioid Demand for alleged opioid-related personal
 injury or other similar opioid-related Cause of Action, including any opioid-related personal injury Opioid
 Demand or similar opioid-related Cause of Action asserted by a NAS Child.

          329.     “PI Trust” means the trust that is to be established in accordance with the Plan, the
 Confirmation Order, and the PI Trust Documents to (a) assume all liability for PI/NAS Opioid Claims, (b)
 collect distributions made on account of the PI Opioid Claims Share and NAS PI Opioid Claims Share in
 accordance with the PI Trust Documents, (c) administer PI/NAS Opioid Claims, and (d) make distributions
 to Holders of PI/NAS Opioid Claims in accordance with the PI Trust Documents.

         330.    “PI Trust Documents” means the documents governing: (a) the PI Trust; (b) the flow of
 consideration from the Opioid MDT II to the PI Trust; (c) submission, resolution, and distribution
 procedures in respect of all PI/NAS Opioid Claims (including Opioid Demands); and (d) the flow of



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 distributions, payments or funds made from the PI Trust. The Governmental Plaintiff Ad Hoc Committee
 and the MSGE Group shall have the right to consult on the PI Trust Documents.

        331.     “Plaintiffs’ Executive Committee” means the court-appointed Co-Lead Counsel Jayne
 Conroy, Joseph Rice, and Paul T. Farrell, Jr., on behalf of the court-appointed plaintiffs’ executive
 committee in the MDL, solely in their capacities as such and not in any individual capacities.

         332.    “Plan” means this fourth amended joint plan of reorganization (with technical
 modifications) under chapter 11 of the Bankruptcy Code, either in its present form or as it may be altered,
 amended, modified, or supplemented from time to time in accordance with the Bankruptcy Code, the
 Bankruptcy Rules, or the terms hereof, as the case may be, and the Plan Supplement, which is incorporated
 herein by reference, including all exhibits and schedules hereto and thereto.

        333.     “Plan Term Sheet” means Exhibit A to the Restructuring Support Agreement, as the Plan
 Term Sheet may be amended, modified, or supplemented from time to time, including in connection with
 the Supporting Term Lenders Joinder Agreement.

          334.     “Plan Supplement” means one or more supplemental appendices to the Plan, which shall
 include, among other things, draft forms of documents (or term sheets thereof), schedules, and exhibits to
 the Plan, in each case subject to the provisions of the Restructuring Support Agreement and as may be
 amended, modified, or supplemented from time to time in accordance with the terms of the Restructuring
 Support Agreement and the terms hereof, the terms of the Restructuring Support Agreement, and in
 accordance with the Bankruptcy Code and the Bankruptcy Rules, including the following documents:
 (a) the New Governance Documents; (b) to the extent known and determined, the identity of the members
 of the Reorganized Board; (c) the Opioid MDT II Documents and the Opioid Creditor Trust Documents;
 (d) the New Opioid Warrant Agreement; (e) the Opioid MDT II Cooperation Agreement; (f) the form of
 indenture for the Takeback Second Lien Notes; (g) a term sheet setting forth certain material terms of the
 New Term Loan Facility; (h) a term sheet setting forth certain material terms of the New AR Revolving
 Facility; (i) the form of credit agreement to govern the New Takeback Term Loans; (j) the schedule of
 retained Causes of Action; (k) the Rejected Executory Contract/Unexpired Lease List; (l) the Management
 Incentive Plan; (m) the Opioid Operating Injunction; (n) the Restructuring Transactions Memorandum; (o)
 the Transfer Agreement; (p) a term sheet setting forth the material terms of the Opioid Deferred Cash
 Payment Terms; (q) the Registration Rights Agreement; (r) the Federal/State Acthar Settlement
 Agreements; (s) the Scheme of Arrangement; (t) the Schedule of Opioid Insurance Policies; (u) the form of
 indenture for the Cram-Down First Lien Notes; (v) the form of indenture for the New Second Lien Notes;
 (w) certain of the General Unsecured Claim Trust Documents, including the trust agreement governing the
 General Unsecured Claims Trust; (x) the GUC Trust Cooperation Agreement; and (y) the Asbestos Trust
 Documents.

          335.   “Plan Supplement Filing Date” means the date on which the Plan Supplement is Filed
 with the Bankruptcy Court, which shall be at least twenty eight (28) days prior to the deadline established
 by the Disclosure Statement Order to File objections to Confirmation; provided, that the trust distribution
 procedures for the Opioid MDT II and each Opioid Creditor Trust shall be filed thirty (30) days after the
 approval of the Disclosure Statement; provided, that Plan Supplement Filing Date for the General
 Unsecured Claim Trust Documents, including the trust agreement governing the General Unsecured Claims
 Trust, the Opioid MDT II Cooperation Agreement, the GUC Trust Cooperation Agreement, the Asbestos
 Trust Documents, and the form of indenture for the New Second Lien Notes shall be the day prior to the
 Confirmation Hearing; provided, further, that the Plan Supplement Filing Date for the identity of the initial
 Opioid MDT II Trustee(s) shall be on or before entry of the Confirmation Order.

         336.     “Post Effective Date Implementation Expenses” means all reasonable and documented
 fees and out of pocket expenses incurred on or after the Effective Date to implement this Plan, but excluding


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 Trust Expenses, of (1)(a) primary counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Paul, Weiss,
 Rifkind, Wharton & Garrison LLP, (b) Delaware counsel to the Guaranteed Unsecured Notes Ad Hoc
 Group, Landis Rath & Cobb LLP (c) Irish counsel to the Guaranteed Unsecured Notes Ad Hoc Group,
 Matheson LLP, (d) regulatory counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Reed Smith
 LLP, (e) financial advisor to the Guaranteed Unsecured Notes Ad Hoc Group, Perella Weinberg Partners
 LP, (f) one Canadian counsel to the Guaranteed Unsecured Notes Ad Hoc Group, (g) such other legal,
 consulting, financial, and/or other professional advisors to which the Guaranteed Unsecured Notes Ad Hoc
 Group and the Debtors shall reasonably agree from time to time, (h) primary counsel to the Governmental
 Plaintiff Ad Hoc Committee, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, and Brown Rudnick
 LLP, (i) Delaware counsel to the Governmental Plaintiff Ad Hoc Committee, Morris James LLP, (j) Irish
 counsel to the Governmental Plaintiff Ad Hoc Committee, William Fry, (k) investment banker to the
 Governmental Plaintiff Ad Hoc Committee, Houlihan Lokey, Inc., (l) special consultant to the
 Governmental Plaintiff Ad Hoc Committee, Dr. Fred Hyde, (m) such other legal, consulting, financial,
 and/or other professional advisors to which the Governmental Plaintiff Ad Hoc Committee and the Debtors
 shall reasonably agree from time to time, (n) primary counsel to the MSGE Group Caplin & Drysdale,
 Chartered, (o) Delaware counsel to the MSGE Group, Seitz, Van Ogtrop & Green, P.A. (p) financial advisor
 to the MSGE Group, FTI Consulting, and (q) such other legal, consulting, financial, and/or other
 professional advisors to which the MSGE Group and the Debtors shall reasonably agree from time to time,
 in each case, in accordance with the terms of the applicable engagement letters, if any, and subject to a
 good-faith, non-binding budget to be submitted by each applicable professional to the Debtors prior to the
 Effective Date, which budget shall be reasonably acceptable to such professional and the Debtors; and (2)
 the professionals entitled to the payment of such fees and out of pocket expenses pursuant to the Cash
 Collateral Order (including the advisors to the First Lien Agent, the Ad Hoc First Lien Term Lender Group,
 the Ad Hoc Second Lien Notes Group, and the Ad Hoc Revolving Loan Participants Group (as defined in
 the Cash Collateral Order), in each case, subject to any applicable caps set forth in the Cash Collateral
 Order).

          337.     “Prepayment Option” means the right to prepay, in full or in part, the Opioid Deferred
 Cash Payments, at any time on or prior to the day that is eighteen (18) months after the Effective Date, at
 (a) for full prepayments (with no prior prepayments having been made) as of the end of each of the 18
 months after the Effective Date, the prepayment cost set forth on Annex A hereto or (b) to the extent a
 prepayment is partial, is made following an earlier prepayment, or occurs other than at the end of a month,
 a price equal to the present value of the amounts to be prepaid, at the date of prepayment, discounted at the
 discount rate that would be required for (i)(A) the present value of the then-remaining scheduled Opioid
 Deferred Cash Payments at the prepayment date (without giving effect to any prior prepayments), excluding
 the payment due on the eighth anniversary of the Effective Date, plus (B) $450,000,000 to equal (ii)(A) the
 present value of the payments that would have been remaining under the Original Payment Schedule at the
 prepayment date (excluding the initial $300,000,000 payment provided for in the Original Payment
 Schedule and any other payments that would have been made by such date, but without giving effect to any
 prior prepayments), discounted at a discount rate of 12% per annum, plus (B) $300,000,000. For the
 purposes of the Prepayment Option, months shall be calculated starting from the Effective Date, not
 calendar months.

         338.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
 section 507(a)(8) of the Bankruptcy Code.

      339.     “Private Opioid Creditor Trusts” means the Third-Party Payor Trust, the PI Trust, the
 NAS Monitoring Trust, the Emergency Room Physicians Trust, and the Hospital Trust.

         340.     “Private Opioid Creditor Trust Deductions and Holdbacks” means, collectively or as
 applicable, the following deductions and holdbacks from distributions from the Private Opioid Creditor
 Trusts pursuant to the Opioid Creditor Trust Documents: (i) the deduction of Opioid Creditor Trust

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 Operating Expenses of the Private Opioid Creditor Trusts, as required under and subject to the terms of the
 Opioid Creditor Trust Documents, (ii) the deduction of amounts on account of compensation, costs and fees
 of professionals that represented or advised Claimants in Classes 9(a)-9(g) in connection with the Chapter
 11 Cases, as and to the extent provided in the Opioid Creditor Trust Documents and subject to Article
 IV.X.8 of the Plan, and (iii) the common benefit assessment required under Article IV.X.8 of the Plan and,
 where applicable, the fees and costs of such a Claimant’s individual attorney(s), which deduction shall be
 made by such attorney(s) and reduced by the common benefit assessment in accordance with Article IV.X.8
 of the Plan.

          341.    “Products” means any and all products developed, designed, manufactured, marketed or
 sold, in research or development, or supported by, the Debtors, whether work in progress or in final form.

         342.     “Professional Fee Claim” means a Claim by a Retained Professional seeking an award by
 the Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred
 through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or
 503(b)(5) of the Bankruptcy Code.

        343.    “Professional Fee Escrow Account” means an interest-bearing account funded by the
 Debtors with Cash no later than the Effective Date in an amount equal to the Professional Fee Escrow
 Amount.

          344.    “Professional Fee Escrow Amount” means the aggregate amount of Professional Fee
 Claims and other unpaid fees and expenses the Retained Professionals have incurred or will incur in
 rendering services in connection with the Chapter 11 Cases prior to and as of the Effective Date, which
 shall be estimated pursuant to the method set forth in Article II.A.2 of the Plan.

         345.     “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter 11 Cases.

          346.     “Pro Rata Share” means, with respect to any distribution on account of an Allowed Claim,
 a distribution equal in amount to the ratio (expressed as a percentage) that the amount of such Allowed
 Claim bears to the aggregate amount of all Allowed Claims in its Class; provided, that (a) the Pro Rata
 Share for the Environmental Claims / Other General Unsecured Claims Recovery shall be calculated by the
 methodology set forth in the UCC Appendix for Holders of Allowed Claims in Class 6(e), Allowed Claims
 in Class 6(f), and Allowed Trade Claims in Class 7 that vote to reject the Plan or do not agree to maintain
 Favorable Trade Terms, and (b) the Pro Rata Share for Claims in Class 9(h) shall be calculated as set forth
 in the definition of Other Opioid Claimant Pro Rata Share.

          347.    “Protected Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
 Affiliates, (d) with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’
 predecessors, successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs,
 executors, Estates, and nominees, in each case solely in their capacity as such, and (e) with respect to each
 of the foregoing Persons in clauses (a) through (d), such Person’s respective current and former officers
 and directors, managers, principals, members, partners, employees, agents, advisors (including financial
 advisors), attorneys (including attorneys retained by any director in his or her capacity as a director or
 manager of a Person), accountants, investment bankers (including investment bankers retained by any
 director in his or her capacity as a director or manager of a Person), consultants, experts and other
 professionals (including any professional advisor retained by any director in his or her capacity as a director
 or manager of a Person) or other representatives of the Persons described in clauses (a) through (d), provided
 that consultants and experts in this clause (e) shall not include those retained to provide strategic advice for
 sales and marketing of opioid products who have received a civil investigative demand or other subpoena
 related to sales and marketing of opioid products from any State Attorney General on or after January 1,
 2019 through the Petition Date. “Protected Party” shall also include each Settling Opioid Insurer, but shall

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 not include the Opioid MDT II or any Opioid Creditor Trust. Notwithstanding anything to the contrary
 herein, none of the following Persons, in their respective following capacities, shall be Protected Parties:
 (1) Medtronic plc or Covidien plc, (2) any subsidiaries or Affiliates of Medtronic plc or Covidien plc that
 existed as a subsidiary or Affiliate of Medtronic plc or Covidien plc after July 1, 2013, (3) any successors
 or assigns of any Entity described in clause (1) or clause (2) that became such a successor or assign after
 July 1, 2013 (excluding, for the avoidance of doubt, the Debtors, the Reorganized Debtors, and the Non-
 Debtor Affiliates), (4) any former subsidiaries or Affiliates of Covidien plc that ceased being such a
 subsidiary or Affiliate before July 1, 2013, and any successor or assign to such subsidiary or Affiliate of
 Covidien plc, (5) current or former shareholders of Mallinckrodt plc to the extent that they are subject to
 Share Repurchase Claims, other than any of the Debtors’ current and former officers, directors, or
 employees, and (6) any Representative of any Entity described in the foregoing clauses (1) through (5)
 except to the extent such Representative is described in clause (d) and (e) of this definition of “Protected
 Party,” and (7) any Released Co-Defendant.

         348.    “Public Opioid Creditor Share” means the remaining amount of the Opioid MDT II
 Distributable Value after (a) payment of the FHCA Opioid Claims Share, (b) payment of the aggregate
 amount of all Other Opioid Claimant Pro Rata Shares, (c) all payments to the Private Opioid Creditor Trusts
 and the Ratepayer Account, (d) any amounts required to fund the Opioid MDT II Operating Reserve or the
 Opioid MDT II Third-Party Payor Reserve, and (e) any amounts in the Opioid Attorneys’ Fee Fund, any
 amounts in the Opioid MDT II Operating Reserve, and any amounts in the Opioid MDT II Third-Party
 Payor Reserve

         349.     “Public Opioid Creditor Trusts” means the NOAT II and the TAFT II.

         350.     “Public School Distribution Adjustment” means the addition or deduction of $145,000, as
 applicable.

        351.     “Public School Mediation Participants” means the group of Holders of Public School
 Opioid Claims who participated in the mediation regarding Opioid Claims pursuant to that certain Order
 (A) Appointing a Mediator and (B) Granting Related Relief [Docket No. 1276].

         352.     “Public School Opioid Claim” means an Opioid Claim held by a public school district.

          353.     “Public Schools’ Special Education Initiative” means an account under the control of a
 trust to be called the Public Schools’ Special Education Initiative Trust and to be established pursuant to
 the Opioid MDT II Documents on the terms described in the Notice of Filing of Public Schools’ Special
 Education Initiative Term Sheet [Docket No. 3410]. The Public Schools’ Special Education Initiative will
 receive the Public Schools’ Special Education Initiative Contribution.

         354.     “Public Schools’ Special Education Initiative Contribution” means a contribution of $5
 million to the Public Schools’ Special Education Initiative to be made by the Reorganized Debtors on the
 Opioid MDT II Initial Distribution Date, which amount will be used by the Public Schools’ Special
 Education Initiative to fund educational supports to abate the effects of the opioid crisis.

         355.     “Purdue Bankruptcy Cases” means the bankruptcy cases jointly administered under the
 caption In re Purdue Pharma L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.).

          356.     “Ratepayer Account” means the segregated account to be established by the Opioid MDT
 II and administered by the Ratepayer Mediation Participants for Approved Uses, which shall include
 distributions to the Truth Initiative Foundation.

        357.     “Ratepayer Attorney Fee Fund” means the fund to be established as set forth in Article
 IV.X.8 of the Plan.

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         358.    “Ratepayer Mediation Participants” means the proposed representatives of classes of
 privately insured parties who are plaintiffs and proposed class representatives identified in the Amended
 Verified Statement of Stevens & Lee, P.C. Pursuant to Bankruptcy Rule 2019 filed at Docket No. 333 in the
 Purdue Bankruptcy Cases.

         359.     “Ratepayer Opioid Claimant” means a Holder of a Ratepayer Opioid Claim.

         360.      “Ratepayer Opioid Claims” means any Opioid Claims (including Opioid Demands) that
 arises out of or relates to the payment of health insurance by the Holder of such Claim.

         361.    “Recognition Proceedings” means the proceedings commenced by the Debtors under Part
 IV of the Canadian Companies Arrangement Act in the Canadian Court to recognize in Canada any of the
 Chapter 11 Cases as foreign main proceedings or foreign nonmain proceedings, as applicable, and to
 recognize in Canada certain Orders of the Bankruptcy Court.

         362.     “Registration Rights Agreement” means the registration rights agreement(s) with respect
 to the New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon
 exercise of the New Opioid Warrants as of the Effective Date, without regard to any limitations on the
 exercise of the New Opioid Warrants) to be effective on the Effective Date.

          363.    “Reinstatement” means, with respect to Claims and Interests, that the Claim or Interest
 shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstated” shall
 have a correlative meaning.

         364.    “Rejected Executory Contract/Unexpired Lease List” means the list, of Executory
 Contracts and/or Unexpired Leases (including any amendments or modifications thereto), if any, that will
 be rejected pursuant to the Plan which will be filed with the Plan Supplement.

         365.    “Released Co-Defendant” means the parties listed on Exhibit 5 hereto, which, for the
 avoidance of doubt, shall include, and shall not be amended to exclude, each Person that is a signatory to
 the Joint Objection of Certain Distributors, Manufacturers, and Pharmacies to the Confirmation of the
 First Amended Joint Plan of Reorganization of Mallinckrodt PLC and its Debtor Affiliates Under
 Chapter 11 of the Bankruptcy Code [Docket No. 4692].

          366.    “Released Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
 Affiliates, (d) with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’
 predecessors, successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs,
 executors, Estates, and nominees, in each case solely in their capacity as such; (e) with respect to each of
 the foregoing Persons in clauses (a) through (d), such Person’s respective current and former officers and
 directors, managers, principals, members, partners, employees, agents, advisors (including financial
 advisors), attorneys (including attorneys retained by any director in his or her capacity as a director or
 manager of a Person), accountants, investment bankers (including investment bankers retained by any
 director in his or her capacity as a director or manager of a Person), consultants, experts and other
 professionals (including any professional advisor retained by any director in his or her capacity as a director
 or manager of a Person) or other representatives of the Persons described in clauses (a) through (d); (f) each
 member of the Guaranteed Unsecured Notes Ad Hoc Group in their capacity as such, (g) each Supporting
 Unsecured Noteholder in their capacity as such, (h) the Opioid MDT II and the Opioid Creditor Trusts,
 (i) each member of the Governmental Plaintiff Ad Hoc Committee in their capacity as such, (j) each
 Supporting Governmental Opioid Claimant in their capacity as such; (k) each member of the MSGE Group
 in their capacity as such; (l) each Supporting Term Lender in its capacity as such; (m) each member of the
 Ad Hoc First Lien Term Lender Group in its capacity as such; (n) each Prepetition Secured Party (as defined
 in the Cash Collateral Order); (o) the Guaranteed Unsecured Notes Indenture Trustee; (p) the Legacy


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 Unsecured Notes Indenture Trustee in its capacity as such; (q) the Future Claimants’ Representative; (r) the
 Official Committee of Opioid-Related Claimants and its members, in their capacity as such; (s) the Official
 Committee of Unsecured Creditors and its members, in their capacity as such; (t) the 4.75% Unsecured
 Notes Indenture Trustee in its capacity as such; (u) the Ad Hoc Group of Personal Injury Victims and its
 members, in their capacity as such; (v) the NAS Committee and its members, in their capacity as such;
 (w) the Ad Hoc Group of Hospitals and its members, in their capacity as such; (x) the Third-Party Payor
 Mediation Participants, in their capacity as such; (y) the Ratepayer Mediation Participants, in their capacity
 as such; (z) the Public School Mediation Participants, in their capacity as such; (aa) the Emergency Room
 Physicians Group and its members, in their capacity as such; (bb) with respect to each of the foregoing
 Persons in clauses (f) through (aa), each such Person’s Representatives; and (cc) solely for purposes of the
 Releases by the Debtors in Article IX.B of the Plan, the Released Co-Defendants and each of their Co-
 Defendant Related Parties, in each case solely in their respective capacities as such. Notwithstanding
 anything to the contrary herein, none of the following Persons, in their respective following capacities, shall
 be Released Parties: (1) Medtronic plc or Covidien plc, (2) any subsidiaries or Affiliates of Medtronic plc
 or Covidien plc that existed as a subsidiary or Affiliate of Medtronic plc or Covidien plc after July 1, 2013,
 (3) any successors or assigns of any Entity described in clause (1) or clause (2) that became such a successor
 or assign after July 1, 2013 (excluding, for the avoidance of doubt, the Debtors, the Reorganized Debtors,
 and the Non-Debtor Affiliates), (4) any former subsidiaries or Affiliates of Covidien plc that ceased being
 such a subsidiary or Affiliate before July 1, 2013, and any successor or assign to such subsidiary or Affiliate
 of Covidien plc, (5) current or former shareholders of Mallinckrodt plc to the extent they are subject to
 Share Repurchase Claims, other than any of the Debtors’ current and former officers, directors, or
 employees, and (6) any Representative of any Entity described in the foregoing clauses (1) through (5)
 except to the extent such Representative is described in clause (d) and (e) of this definition of “Released
 Party.” For purposes of this definition of “Released Parties,” the phrase “in their capacity as such” means,
 with respect to a Person, solely (x) to the extent a claim against such Person arises from such Person’s
 conduct or actions taken in such capacity, or from such Person’s identified capacity in relation to another
 specified Released Party and not, in either case, from such Person’s conduct or actions independent of such
 capacity, and (y) to the extent such Person’s liability depends on or derives from the liability of such other
 Released Party, such claim would be released if asserted against such other Released Party.

        367.   “Reorganized Board” means the initial board of directors or similar governing body of the
 Reorganized Mallinckrodt.

         368.   “Reorganized Debtors” means, on or after the Effective Date, (a) the Debtors, as
 reorganized pursuant to and under the Plan, or any successor thereto, and (b) to the extent not already
 encompassed by clause (a), Reorganized Mallinckrodt and all NewCo Subsidiaries as of the Effective Date.

          369.     “Reorganized Mallinckrodt” means Reorganized Parent or NewCo, as applicable, on or
 after the Effective Date.

         370.    “Reorganized Parent” means, on or after the Effective Date, Mallinckrodt plc as
 reorganized pursuant to and under the Plan.

        371.     “Reorganized VI-Specific Debtors” means on or after the Effective Date, the VI-Specific
 Debtors, as reorganized pursuant to and under the Plan, or any successor thereto.

          372.     “Representatives” means, with respect to any Person, such Person’s Affiliates and its and
 their directors, officers, members, partners, managers, employees, agents, investment bankers, attorneys,
 accountants, advisors, investment advisors, investors, managed accounts or funds, management companies,




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 fund advisors, advisory board members, professionals and other representatives, in each case, solely in their
 capacities as such.

         373.    “Required Supporting Term Lenders” shall have the meaning ascribed to such term in the
 Restructuring Support Agreement.

         374.    “Required Supporting Unsecured Noteholders” means, as of any date of determination,
 Supporting Unsecured Noteholders holding at least a majority in outstanding principal amount of
 Guaranteed Unsecured Notes held by the Supporting Unsecured Noteholders then party to the Restructuring
 Support Agreement. Guaranteed Unsecured Notes held by any (a) Mallinckrodt Entity, (b) holder of Opioid
 Claims, or (c) Entity or Person whose vote has been “designated” by the Bankruptcy Court in the Chapter
 11 Cases (including pursuant to section 1126(e) of the Bankruptcy Code), shall not be included (either in
 the numerator or the denominator), and shall not be considered outstanding Guaranteed Unsecured Notes
 Claims, for purposes of calculating the Required Supporting Unsecured Noteholders.

         375.     “Restructuring Expenses” means all reasonable and documented fees and out of pocket
 expenses incurred prior to the Effective Date, including Transaction Fees, of (1)(a) primary counsel to the
 Guaranteed Unsecured Notes Ad Hoc Group, Paul, Weiss, Rifkind, Wharton & Garrison LLP, (b) Delaware
 counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Landis Rath & Cobb LLP (c) Irish counsel to
 the Guaranteed Unsecured Notes Ad Hoc Group, Matheson LLP, (d) regulatory counsel to the Guaranteed
 Unsecured Notes Ad Hoc Group, Reed Smith LLP, (e) financial advisor to the Guaranteed Unsecured Notes
 Ad Hoc Group, Perella Weinberg Partners LP, (f) one Canadian counsel to the Guaranteed Unsecured Notes
 Ad Hoc Group, (g) such other legal, consulting, financial, and/or other professional advisors to which the
 Guaranteed Unsecured Notes Ad Hoc Group and the Debtors shall reasonably agree from time to time, (h)
 primary counsel to the Governmental Plaintiff Ad Hoc Committee, Gilbert LLP, Kramer Levin Naftalis &
 Frankel LLP, and Brown Rudnick LLP, (i) Delaware counsel to the Governmental Plaintiff Ad Hoc
 Committee, Morris James LLP, (j) Irish counsel to the Governmental Plaintiff Ad Hoc Committee, William
 Fry, (k) investment banker to the Governmental Plaintiff Ad Hoc Committee, Houlihan Lokey, Inc., (l)
 special consultant to the Governmental Plaintiff Ad Hoc Committee, Dr. Fred Hyde, (m) such other legal,
 consulting, financial, and/or other professional advisors to which the Governmental Plaintiff Ad Hoc
 Committee and the Debtors shall reasonably agree from time to time, (n) primary counsel to the MSGE
 Group Caplin & Drysdale, Chartered, (o) Delaware counsel to the MSGE Group, Seitz, Van Ogtrop &
 Green, P.A., (p) financial advisor to the MSGE Group, FTI Consulting, (q) such other legal, consulting,
 financial, and/or other professional advisors to which the MSGE Group and the Debtors shall reasonably
 agree from time to time, in each case, in accordance with the terms of the applicable engagement letters, if
 any, with any balance(s) paid on the Effective Date; and (r) counsel to Supporting Party First Trust
 Advisors, Chapman & Cutler, up to $35,000; provided, that the Transaction Fees shall only be paid after
 entry of an order, which may be the Confirmation Order, authorizing payment of such Transaction Fees;
 and (2)(a) the attorneys, advisors, and agents of the Ad Hoc Second Lien Notes Group pursuant to the
 Second Lien Notes Settlement, any reimbursement agreement with the Debtors and otherwise in accordance
 with the Plan, and (b) the Second Lien Notes Indenture Trustee and its attorneys, advisors, and agents in
 accordance with the Plan, including payment of the Second Lien Notes Indenture Trustee Fees; which, in
 each instance, shall not be subject to disgorgement, turnover, recovery, avoidance, recharacterization or
 any other similar claim by any party under any legal or equitable theory; and (3) solely to the extent not
 already provided herein, the professionals entitled to the payment of such fees and out of pocket expenses
 pursuant to the Cash Collateral Order (including the advisors to the First Lien Agent, the Ad Hoc First Lien
 Term Lender Group, the Ad Hoc Revolving Loan Participants Group (as defined in the Cash Collateral
 Order), in each case to the extent such fees and out of pocket expenses are not already paid pursuant to the
 Cash Collateral Order and subject to any applicable caps set forth in the Cash Collateral Order).

        376.   “Restructuring Expenses Order” means that certain Order Authorizing the Debtors to
 Assume and/or Enter Into Reimbursement Agreements with RSA Parties’ Professionals entered by the

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 Bankruptcy Court on February 1, 2021 [Docket No. 1250], as amended, supplemented, or modified from
 time to time, in each case with the consent of the Debtors and the applicable parties to the Restructuring
 Support Agreement.

         377.    “Restructuring Support Agreement” means that certain Restructuring Support Agreement
 entered into on October 11, 2020, by and among the Debtors, the Supporting Unsecured Noteholders, and
 the Supporting Governmental Opioid Claimants and joined by (a) the MSGE Group on November 13, 2020
 and (b) the Supporting Term Lenders on March 10, 2021 (as such may be amended, modified or
 supplemented in accordance with its terms, including as modified by the MSGE Group Joinder Agreement
 and the Supporting Term Lenders Joinder Agreement).

         378.     “Restructuring Transactions” means the transactions described in Article IV.B of the
 Plan.

        379.    “Restructuring Transactions Memorandum” means a document to be included in the Plan
 Supplement that will set forth the material components of the Restructuring Transactions.

         380.   “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant
 to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code and to be
 compensated for services rendered prior to the Effective Date, pursuant to sections 327, 328, 329, 330, or
 331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been allowed by the
 Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

          381.      “Schedule of Opioid Insurance Policies” means the schedule in the Plan Supplement of
 Opioid Insurance Policies, the rights under or related to which (i.e. the Assigned Insurance Rights) the
 Debtors are assigning, or in the absence of an Opioid Settlement Agreement would be assigning, to the
 Opioid MDT II pursuant to the Plan. As set forth in the definition of Opioid Insurance Policy, the Schedule
 of Opioid Insurance Policies is not exhaustive and shall not be construed as imposing a limitation on the
 scope of the Insurance Contracts as to which Debtors are assigning rights to the Opioid MDT II pursuant
 to the Plan (i.e. the Assigned Insurance Rights).

         382.    “Scheme of Arrangement” means the proposals for one or more compromise or scheme
 of arrangement in relation to the Parent and/or any other Debtor Entity to be formulated and proposed by
 the Examiner pursuant to Section 539 of the Companies Act of Ireland in connection with the Irish
 Examinership Proceedings and submitted to the High Court of Ireland for confirmation pursuant to Section
 541 of the Companies Act of Ireland, and which will be based on and consistent in all respects with the
 Plan and substantially in the form of the draft scheme of arrangement to be included in the Plan Supplement
 and to be annexed to the petition presented to the High Court of Ireland at the commencement of the Irish
 Examinership Proceedings.

         383.     “SEC” means the United States Securities and Exchange Commission.

        384.      “Second Lien Notes” means the 10.00% second lien senior secured notes due 2025
 pursuant to the Second Lien Notes Indenture.

         385.   “Second Lien Notes Claim” means any Claim arising under, deriving from or based upon
 the Second Lien Notes or the Second Lien Notes Indenture.

         386.     “Second Lien Notes Collateral Agent” means Wilmington Savings Fund Society, FSB,
 solely in its capacity as second lien collateral agent under the Second Lien Notes Indenture, and any
 predecessor or successor thereto.




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         387.    “Second Lien Notes Indenture” means that certain Indenture, dated as of December 6,
 2019, by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the
 guarantors party thereto from time to time, the Second Lien Notes Indenture Trustee, and the Second Lien
 Notes Collateral Agent (as modified, amended, or supplemented from time to time).

          388.    “Second Lien Notes Indenture Trustee” means BOKF, NA, solely in its capacity as second
 lien trustee under the Second Lien Notes Indenture (as successor in such capacity to Wilmington Savings
 Fund Society, FSB), and any predecessor or successor thereto.

          389.     “Second Lien Notes Indenture Trustee Fees” means the reasonable, documented fees,
 expenses, disbursements and indemnity claims incurred by the Second Lien Notes Indenture Trustee (as
 trustee and in any of its other capacities under the Second Lien Notes Indenture and this Plan) and the
 Second Lien Notes Collateral Agent (as collateral agent and in any of its other capacities under the Second
 Lien Notes Indenture and this Plan), including without limitation, attorneys’ and agents’ fees, expenses and
 disbursements, incurred by the Second Lien Notes Indenture Trustee and the Second Lien Notes Collateral
 Agent, whether prior to or after the Petition Date, but on or prior to the Effective Date of this Plan, in each
 case to the extent payable or reimbursable under the applicable Second Lien Notes Indenture and/or the
 related security agreement and/or applicable provisions of the Bankruptcy Code. For the avoidance of
 doubt, the Second Lien Notes Indenture Trustee Fees shall also include those reasonable, documented fees,
 expenses, disbursements and indemnity claims incurred in connection with (a) any foreign insolvency
 proceeding and (b) the Second Lien Notes Indenture Trustee serving as a Distribution Agent under this Plan
 (which fees, expenses, disbursements and indemnity claims in connection with serving as Distribution
 Agent may be incurred after the Effective Date of this Plan, notwithstanding anything to the contrary set
 forth in this definition).

          390.    “Second Lien Notes Makewhole Claim” means any Second Lien Notes Claim (a) for any
 principal premium in excess of the principal amount of such Claims outstanding immediately before the
 Petition Date, including for any “Applicable Premium” (as defined in the Second Lien Notes Indenture) or
 optional redemption premium, or (b) for any “Additional Amounts” (as defined in the Second Lien Notes
 Indenture).

        391.    “Second Lien Notes Settlement” means the settlement described in that certain Settlement
 Second Lien Notes Summary Terms, filed at [Docket No. 4121-3] attached hereto as Exhibit 4, as the same
 may be amended, supplemented or otherwise modified from time to time.

          392.    “Secured Claim” means a Claim: (a) secured by a Lien on property in which the Estate has
 an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
 Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the
 extent of the value of the creditor’s interest in the Estate’s interest in such property or to the extent of the
 amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code
 or (b) otherwise Allowed pursuant to the Plan or order of the Bankruptcy Court as a secured claim.

         393.     “Securities” means any instruments that qualify under Section 2(a)(1) of the Securities Act.

         394.    “Securities Act” means the Securities Act of 1933, as now in effect or hereafter amended,
 or any regulations promulgated thereunder.

         395.    “September 2015 Notes Indenture” means that certain Indenture, dated as of September
 24, 2015, by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the
 guarantors party thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as
 modified, amended, or supplemented from time to time).



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         396.   “Settled Federal/State Acthar Claims” means any Claims settled through the Federal/State
 Acthar Settlement.

        397.      “Settling Opioid Insurer” means an Insurer that has entered into an Opioid Insurance
 Settlement, solely in its capacity as such and solely with respect to any Opioid Insurance Policy released in
 such Opioid Insurance Settlement.

          398.    “Settling Opioid Insurer Injunction” means the injunction issued pursuant to Article IX.J
 of the Plan.

         399.     “Settling State” means any State that becomes a party to a restructuring support agreement
 with respect to the Plan or otherwise votes to accept the Plan.

        400.    “Share Repurchase Claims” means any claims or Causes of Action against any current or
 former shareholders of Mallinckrodt plc, other than any Released Party, from whom Mallinckrodt plc
 purchased, repurchased, cancelled, or redeemed its own ordinary shares in connection with its share
 repurchase program(s) during the years 2015-2018.

       401.     “Shared Collateral” shall have the meaning ascribed to such term in any Intercreditor
 Agreement, as applicable.

           402.   “Shenk Settlement” means the proposed mediated settlement of the Shenk Suit.

          403.    “Shenk Suit” means the securities fraud putative class action lawsuit brought by the State
 Teachers Retirement System of Ohio titled Shenk v. Mallinckrodt plc, No. 1:17-cv-00145-DLF (D.D.C.)
 that is pending in the United States District Court for the District of Columbia.

        404.    “Specialty Generics Debtors” means Debtors Mallinckrodt Equinox Finance Inc.,
 Mallinckrodt Enterprises Holdings, Inc., Mallinckrodt ARD Finance LLC, Mallinckrodt Enterprises LLC,
 Mallinckrodt LLC, SpecGx LLC, SpecGx Holdings LLC, WebsterGx Holdco LLC, and Mallinckrodt
 APAP LLC.

       405.       “State” means a state or territory of the United States of America and the District of
 Columbia.

           406.  “State and Municipal Government Opioid Claims Share” means the remainder of the
 Public Opioid Creditor Share after distributions on account of the Tribe Opioid Claims Share, which shall
 equate to (i) 97.1% of the first $625 million received on account of the Public Opioid Creditor Share,
 reduced by the Public School Distribution Adjustment, (ii) 97.05% of amounts received in excess of $625
 million and up to and including $1.25 billion on account of the Public Opioid Creditor Share, and
 (iii) 97.0%% of amounts received in excess of $1.25 billion on account of the Public Opioid Creditor Share.

           407.   “State Attorney General” means the attorney general for any State.

         408.      “State Opioid Attorneys’ Fee Fund” means the fund which will be established within the
 Opioid Attorneys’ Fee Fund for reimbursement of State Opioid Claimant costs and expenses (including
 attorneys’ fees) in accordance with the Opioid MDT II Documents, and which will be funded by the Opioid
 MDT II out of the Public Opioid Creditor Share as set forth in Article IV.X.9 prior to making distributions
 on account of the Public Opioid Creditor Share to NOAT II and TAFT II.

           409.   “State Opioid Claimant” means a Holder of a State Opioid Claim.

           410.   “State Opioid Claims” means the Opioid Claims (including Opioid Demands) held by
 States.

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         411.    “Subordinated Claim” means any Claim against the Debtors that is subject to
 subordination under section 509(c), section 510(b) or section 510(c) of the Bankruptcy Code, including any
 Claim for reimbursement, indemnification, or contribution. For the avoidance of doubt, Second Lien Notes
 Claims and No Recovery Opioid Claims shall not be Subordinated Claims.

         412.    “Supporting Governmental Opioid Claimants” means the Plaintiffs’ Executive
 Committee and any Governmental Units holding Opioid Claims that are or become party to the
 Restructuring Support Agreement in accordance with the terms thereof and for so long as the Restructuring
 Support Agreement shall be in effect with respect to such parties.

         413.    “Supporting Parties” means the Supporting Governmental Opioid Claimants, the
 Supporting Unsecured Noteholders, the MSGE Group, and the Supporting Term Lenders in each case, for
 so long as the Restructuring Support Agreement shall be in effect with respect to each such parties. For the
 avoidance of doubt, the Supporting Parties support the Second Lien Notes Settlement, the OCC Settlement
 and the UCC Settlement.

          414.    “Supporting Term Lenders” means the Holders of First Lien Term Loan Claims that are
 or become party to the Restructuring Support Agreement in accordance with the terms thereof and for so
 long as the Restructuring Support Agreement shall be in effect with respect to such parties.

        415.    “Supporting Term Lenders Joinder Agreement” means that certain Joinder Agreement
 and Amendment to Restructuring Support Agreement dated as of March 10, 2021, entered into by and
 among the Debtors, the Required Supporting Unsecured Noteholders, the Governmental Plaintiff Ad Hoc
 Committee, the MSGE Group, and the Supporting Term Lenders.

          416.   “Supporting Unsecured Noteholders” means the Holders of Guaranteed Unsecured Notes
 Claims that are or become party to the Restructuring Support Agreement in accordance with the terms
 thereof and for so long as the Restructuring Support Agreement shall be in effect with respect to such
 parties.

         417.    “TAFT II” means the one or more Abatement Trusts, limited liability companies, or other
 Persons that are to be established in accordance with the Plan, the Confirmation Order, and the TAFT II
 Documents to (a) assume all liability for Tribe Opioid Claims, (b) collect distributions made on account of
 the Tribe Opioid Claims Share in accordance with the TAFT II Documents, (c) administer Tribe Opioid
 Claims, and (d) make Abatement Distributions to Authorized Recipients, including to Holders of Tribe
 Opioid Claims in accordance with the TAFT II Documents.

          418.    “TAFT II Documents” means the one or more documents establishing and governing: (a)
 the TAFT II; (b) the flow of consideration from the Opioid MDT II to the TAFT II; (c) submission,
 resolution, and distribution procedures in respect of all Tribe Opioid Claims (including Opioid Demands);
 and (d) the flow of Abatement Distributions to Authorized Recipients, including distributions, payments or
 flow of funds made from the TAFT II after the Effective Date.

         419.    “Takeback Second Lien Notes” means $375,000,000 of new secured takeback second lien
 notes due seven (7) years after the Effective Date and otherwise be on terms set forth in Exhibit 2 hereto.

          420.  “Takeback Second Lien Notes Documentation” means the indenture (the substantially
 final form of which will be filed with the Plan Supplement), notes, and other documents governing the
 Takeback Second Lien Notes.

       421.      “Term Loan Exit Payment” means a consent and exit payment in the amount equal to
 0.5% multiplied by the Term Loans Outstanding Amount, which payment shall be payable to the First Lien
 Term Lenders, as an integral term of the comprehensive settlement and resolution of the disputes and

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 controversies between the Debtors and the First Lien Term Lenders embodied in this Plan, which consent
 and exit payment shall (a) increase to the amount equal to 1.0% multiplied by the Term Loans Outstanding
 Amount if the First Lien Term Loans are not refinanced in full in Cash on or prior to the Effective Date and
 (b) be payable to the First Lien Term Lenders upon the Effective Date.

        422.    “Term Loans Outstanding Amount” means an amount equal to the 2024 First Lien Term
 Loans Outstanding Amount plus the 2025 First Lien Term Loans Outstanding Amount.

         423.     “Third-Party Payor Group” means the group of certain Holders of Third-Party Payor
 Claims consisting of (i) the Holders of Third-Party Payor Claims represented by the Rawlings & Associates
 and Lowey Dannenberg, P.C., and whose Claims are listed in Exhibit A of the Stipulation and Agreement
 Disallowing and Expunging Certain Third Party Payor Claims [Docket No. 2535] and (ii) one
 representative from United Healthcare.

        424.     “Third-Party Payor Mediation Participants” means the group of Third-Party Payor
 Opioid Claimants who participated in the mediation regarding Opioid Claims pursuant to that certain Order
 (A) Appointing a Mediator and (B) Granting Related Relief [Docket No. 1276].

          425.    “Third-Party Payor Opioid Claimant” means a Holder of a Third-Party Payor Opioid
 Claim.

          426.    “Third-Party Payor Opioid Claims” means any Opioid Claims (including Opioid
 Demands) held by a health insurer, an employer-sponsored health plan, a union health and welfare fund or
 any other provider of health care benefits, and including any third-party administrator or agent on behalf
 thereof, in each case in its capacity as such (including any Opioid Claim or Opioid Demand based on the
 subrogation rights of the Holder thereof), and that is not a held by a Governmental Unit.

           427.   “Third-Party Payor Opioid Claims Share” means 5.21% of the sum of the Initial Opioid
 MDT II Payment and the aggregate amount of all Opioid Deferred Cash Payments (i) after giving effect to
 the Prepayment Option, if exercised, (ii) after deducting the FHCA Opioid Claims Share, and (iii) gross of
 applicable Private Opioid Creditor Trust Deductions and Holdbacks. For the avoidance of doubt, and for
 illustrative purposes, in the event the Prepayment Option is not exercised, the Third-Party Payor Claims
 Share will equal $89,091,000 prior to application of the applicable Private Opioid Creditor Trust
 Deductions and Holdbacks.

         428.     “Third-Party Payor Trust” means the Abatement Trust that is to be established in
 accordance with the Plan, the Confirmation Order, and the Third-Party Payor Trust Documents to
 (a) assume all liability for Third-Party Payor Opioid Claims, (b) receive distributions made on account of
 the Third-Party Payor Opioid Claims Share in accordance with the Third-Party Payor Trust Documents, (c)
 administer Third-Party Payor Opioid Claims, and (d) make Abatement Distributions to Authorized
 Recipients for Approved Uses, including distributions to Holders of Third-Party Payor Opioid Claims in
 accordance with the Third-Party Payor Trust Documents.

         429.    “Third-Party Payor Trust Documents” means the documents governing: (a) the Third-
 Party Payor Trust; (b) the flow of consideration from the Opioid MDT II to the Third-Party Payor Trust;
 (c) submission, resolution, and distribution procedures in respect of all Third-Party Payor Opioid Claims
 (including Opioid Demands); and (d) the flow of distributions, payments or flow of funds made from the
 Third-Party Payor Trust after the Effective Date.

        430.    “Trade Claim” means an Unsecured Claim for the provision of goods and services to the
 Debtors held by a Trade Claimant or such Trade Claimant’s successor in interest (through sale of such
 Unsecured Claim or otherwise).


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         431.    “Trade Claimant” means trade creditors, service providers and other vendors who provide
 goods and services necessary for the Debtors continued operations, including those creditors described in
 (a) Motion of Debtors for Interim and Final Orders Authorizing the Debtors to Pay Prepetition Claims of
 Critical Vendors [Docket No. 6], (b) Motion of Debtors for Interim and Final Orders Authorizing the
 Debtors to Pay Prepetition Claims of Foreign Vendors [Docket No. 14], and (c) Motion of Debtors for
 Interim and Final Orders (A) Authorizing Payment of Lienholder Claims and (B) Authorizing Payment of
 Section 503(b)(9) Claims [Docket No. 11].
                                                                                             2
        432.    “Trade Claim Cash Pool” means Cash pool of up to $50,000,000 to be distributed in
 accordance with the terms of the Plan.

        433.   “Trade Claim Cash Pool Unallocated Amount” means any unallocated amounts from the
 Trade Claim Cash Pool.

        434.    “Transaction Fees” means the “Transaction Fees” as defined in the Restructuring
 Expenses Order.

         435.   “Transfer Agreement” means one or more equity and asset transfer agreements between
 one or more Debtors and/or Reorganized Debtors, which shall be included in the Plan Supplement.

         436.     “Tribe” means any American Indian or Alaska Native Tribe, band, nation, pueblo, village
 or community, that the U.S. Secretary of the Interior acknowledges as an Indian Tribe, as provided in the
 Federally Recognized Tribe List Act of 1994, 25 U.S.C. § 5130, and as periodically listed by the U.S.
 Secretary of the Interior in the Federal Register pursuant to 25 U.S.C. § 5131; and any “Tribal Organization”
 as provided in the Indian Self-Determination and Education Assistance Act of 1975, as amended, 25 U.S.C.
 § 5304(l).

          437.    “Tribe Opioid Claimants” means a Holder of a Tribe Opioid Claim.

          438.    “Tribe Opioid Claims” means any Opioid Claims (including Opioid Demands) held by a
 Tribe.

          439.    “Tribe Opioid Claims Share” means a percentage of the Public Opioid Creditor Share,
 which percentage shall be (i) 2.90% of the first $625 million received on account of the Public Opioid
 Creditor Share, increased by the Public School Distribution Adjustment, (ii) 2.95% of amounts received in
 excess of $625 million and up to and including $1.25 billion on account of the Public Opioid Creditor Share,
 and (iii) 3.0% of amounts received in excess of $1.25 billion on account of the Public Opioid Creditor
 Share. The amount paid under subclause (i) shall be increased by the amount of the Public School
 Distribution Adjustment.

         440.    “Trust Expenses” means any reasonable and documented fees and expenses incurred by
 the Governmental Plaintiff Ad Hoc Committee and the MSGE Group on or after the Effective Date in
 connection with the administration of the Opioid MDT II, excluding, for the avoidance of doubt, the
 reasonable and documented fees and expenses incurred in connection with implementation of the Plan.

          441.     “UCC Appendix” means Exhibit 6 hereto.

          442.    “UCC Settlement” means the settlement described in that certain Mallinckrodt GUC
 Settlement Term Sheet, filed at [Docket No. 4121-1], as the same may be amended or modified from time
 to time in accordance with its terms.


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     The Debtors estimate there will be approximately $25 million of Allowed Trade Claims.

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          443.   “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
 subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

        444.    “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or Interests, not
 “impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

         445.     “United States” means the United States of America, its agencies, departments, or agents.

        446.      “United States Trustee” means the Office of the United States Trustee for the District of
 Delaware.

         447.    “Unsecured Claim” means a claim that is not secured by a Lien on property in which one
 of the Debtors’ Estates has an interest.

         448.     “U.S. Government” means the executive branch of the United States of America.

         449.    “U.S. Government Opioid Claimants” means a Holder of an U.S. Government Opioid
 Claim, including Holders of FHCA Opioid Claims.

         450.    “U.S. Government Opioid Claims” means any Opioid Claims (including Opioid Demands)
 held by the United States against the Debtors, including any civil, non-fraud FHCA Opioid Claims.

          451.    “U.S. Government-Opioid Claimant Medical Expense Claim” means any healthcare-
 related claim, Cause of Action or Lien (including a subrogation claim or reimbursement claim), whether
 liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
 unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, choate or inchoate,
 (i) against a Holder of an Opioid Claim or the recoveries of a Holder of an Opioid Claim pursuant to the
 Opioid Creditor Trust Documents or under the Plan, (ii) held by any of the FHCA or their respective health
 insurance programs, and (iii) on account of opioid injury-related conditional payments made by such
 programs or agencies to, on behalf of, or in respect of, such Holders of Opioid Claims. U.S. Government-
 Opioid Claimant Medical Expense Claims shall also include, for the avoidance of doubt, the U.S.
 Government Payor Statutory Rights.

         452.   “U.S. Government-Opioid Claimant Medical Expense Claim Release” means the release
 of U.S. Government-Opioid Claimant Medical Expense Claims as set forth in Article IV.X.10 herein.

        453.   “U.S. Government Payor Statutory Rights” shall mean the United States’ rights under the
 Medicare Secondary Payer Act, 42 USC §§ 1395y(b) (“MSP”), section 111 of the Medicare, Medicaid, and
 SCHIP Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”), and the Federal Medical Care Recovery Act
 (“FMCRA”), 42 U.S.C. §§ 2651-2653.

          454.     “VI Opioid Claim” means any Opioid Claim in any way arising, in whole or in part, from
 a violation of the Voluntary Injunction or the Opioid Operating Injunction that occurred on or after the
 Petition Date, provided that nothing in the Plan shall be construed as conferring administrative priority on
 any Opioid Claim arising before the Petition Date, and in the event any Person asserts an Opioid Claim
 based on a violation of the Voluntary Injunction or the Opioid Operating Injunction that occurred on or
 after the Petition Date and on any other conduct or circumstances, only that portion of such Opioid Claim
 attributable to such violation that occurred on or after the Petition Date shall be a VI Opioid Claim.

         455.    “VI-Specific Debtors” means Mallinckrodt Enterprises LLC, Mallinckrodt LLC, and
 SpecGx LLC, and each of their current and former subsidiaries (solely to the extent such Entity existed as
 such a subsidiary from and after the Petition Date), predecessors, successors, joint ventures, divisions and



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 assigns, as well as the foregoing entities’ Representatives, to the extent that such Representatives are acting
 within the scope of their engagement or employment.

         456.    “Voluntary Injunction” means that certain Voluntary Injunction annexed to the Order
 Granting Certain Debtors’ Motion for Injunctive Relief Pursuant to 11 U.S.C. § 105 with Respect to the
 Voluntary Injunction entered by the Bankruptcy Court in Adversary Proceeding No. 20-50850 on January
 8, 2021 [Adv. Pro. Docket No. 196].

         457.    “Voting Representative” means a Firm representing Holders of Claims in any of the Master
 Ballot Classes who has returned a properly completed Solicitation Directive (as such terms are defined in
 the Disclosure Statement Order).

         458.     “Work Plan” has the meaning set forth in Article IV.BB.3.

        459.    “Workers’ Compensation Contracts” means the Debtors’ written contracts, agreements,
 agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, and Plans for
 workers’ compensation and workers’ compensation Insurance Contracts.

 B.      Rules of Interpretation

           1.       For purposes herein: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
 feminine or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless otherwise
 specified, any reference herein to a contract, instrument, release, indenture, or other agreement or document
 being in a particular form or on particular terms and conditions means that the referenced document shall
 be substantially in that form or substantially on those terms and conditions; (c) unless otherwise specified,
 any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been Filed
 or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, modified, or
 supplemented; (d) any reference to any Entity as a Holder of a Claim or Interest includes that Entity’s
 successors and assigns; (e) unless otherwise specified, all references herein to “Articles” are references to
 Articles of the Plan; (f) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
 Plan in its entirety rather than to a particular portion of the Plan; (g) subject to the provisions of any contract,
 certificate of incorporation, by-law, instrument, release, or other agreement or document created or entered
 into in connection with the Plan, the rights and obligations arising pursuant to the Plan shall be governed
 by, and construed and enforced in accordance with applicable federal law, including the Bankruptcy Code
 and Bankruptcy Rules; (h) unless otherwise specified, the words “include” and “including,” and variations
 thereof, shall not be deemed to be terms of limitation, and shall be deemed to be followed by the words
 “without limitation”; (i) references to “shareholders,” “directors,” and/or “officers” shall also include
 “members” and/or “managers,” as applicable, as such terms are defined under the applicable state limited
 liability company laws; (j) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and
 the like shall include “Proofs of Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as
 applicable; (k) captions and headings to Articles and subdivisions thereof are inserted for convenience of
 reference only and are not intended to be a part of or to affect the interpretation hereof; (l) unless otherwise
 specified, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (m) any
 term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code
 or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
 Bankruptcy Rules, as the case may be; (n) unless otherwise specified, all references to statutes, regulations,
 orders, rules of courts, and the like shall mean as in effect on the Effective Date and as applicable to the
 Chapter 11 Cases; (o) any effectuating provisions may be interpreted by the Reorganized Debtors in such
 a manner that is consistent with the overall purpose and intent of the Plan all without further notice to or
 action, order, or approval of the Bankruptcy Court or any other Entity, and such interpretation shall control;
 (p) references to docket numbers are references to the docket numbers of documents Filed in the Chapter


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 11 Cases under the Bankruptcy Court’s CM/ECF system; and (q) all references herein to consent,
 acceptance, or approval may be conveyed by counsel for the respective parties that have such consent,
 acceptance, or approval rights, including by electronic mail.

         2.       The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
 prescribed or allowed herein.

        3.      All references in the Plan to monetary figures refer to currency of the United States of
 America, unless otherwise expressly provided.

          4.       Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
 to the Debtors or to the Reorganized Debtors mean the Debtors and the Reorganized Debtors, as applicable,
 to the extent the context requires.

 C.      Consent Rights of Supporting Parties

          Notwithstanding anything to the contrary in the Plan, the Confirmation Order, or the Disclosure
 Statement, any and all consent and approval rights of the Supporting Parties set forth in the Restructuring
 Support Agreement with respect to the form and substance of any Definitive Document (as defined in the
 Restructuring Support Agreement), including any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from any such
 documents, shall be incorporated herein by this reference (including to the applicable definitions in
 Article I.A) and fully enforceable as if stated in full herein.

 D.      Consent Rights of Official Committee of Opioid-Related Claimants and Future Claimants’
         Representative

         In accordance with the OCC Settlement, the following (including any amendments, restatements,
 supplements, or other modifications to such documents, and any consents, waivers, or other deviations
 under or from any such documents) shall be reasonably acceptable to the Official Committee of Opioid-
 Related Claimants and the Future Claimants’ Representative: (i) the Opioid MDT II Documents, (ii) the
 Opioid MDT II Cooperation Agreement, (iii) the schedule of retained Causes of Action, (iv) the Opioid
 Operating Injunction, (v) the term sheet setting forth the material terms of the Opioid Deferred Cash
 Payment Terms, and (vi) the provisions of the Plan and Confirmation Order regarding implementation of
 the OCC Settlement.

 E.      Consent Rights of Official Committee of Unsecured Creditors

          In accordance with the UCC Settlement, the following (including any amendments, restatements,
 supplements, or other modifications to such documents, and any consents, waivers, or other deviations
 under or from any such documents) shall be reasonably acceptable to the Official Committee of Unsecured
 Creditors: (i) the GUC Trust Cooperation Agreement, (ii) the General Unsecured Claim Trust Documents,
 and (iii) the provisions of the Plan and Confirmation Order necessary to implement the UCC Settlement.

 F.      Consent Rights of Ad Hoc Second Lien Notes Group

         In accordance with the Second Lien Notes Settlement, (i) the New Second Lien Notes
 Documentation shall be consistent with the Second Lien Notes Settlement and otherwise reasonably
 acceptable to the Ad Hoc Second Liens Notes Group and (ii) the provisions of the Plan and Confirmation
 Order necessary to implement the Section Lien Notes Settlement shall be consistent with the Second Lien
 Notes Settlement and otherwise reasonably acceptable to the Ad Hoc Second Liens Notes Group.




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                                                  Article II.

                ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS,
      OTHER PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority
 Tax Claims, and Other Priority Claims have not been classified and thus are excluded from the Classes of
 Claims and Interests set forth in Article III.

 A.      Administrative Claims

         1.       General Administrative Claims

          Subject to the provisions of sections 328, 330(a), and 331 of the Bankruptcy Code, except to the
 extent that a Holder of an Allowed General Administrative Claim and the applicable Debtor(s) or
 Reorganized Debtor(s), as applicable, agree to less favorable treatment with respect to such Allowed
 General Administrative Claim, each Holder of an Allowed General Administrative Claim will receive, in
 full and final satisfaction of its General Administrative Claim, an amount in Cash equal to the unpaid
 amount of such Allowed General Administrative Claim in accordance with the following: (a) if such
 General Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date or as soon
 as reasonably practicable thereafter or, if not then due, when such Allowed General Administrative Claim
 is due or as soon as reasonably practicable thereafter; (b) if such General Administrative Claim is Allowed
 after the Effective Date, on the date such General Administrative Claim is Allowed or as soon as reasonably
 practicable thereafter or, if not then due, when such Allowed General Administrative Claim is due or as
 soon as reasonably practicable thereafter; (c) at such time and upon such terms as may be agreed upon by
 such Holder and the Debtors or the Reorganized Debtors, as the case may be; or (d) at such time and upon
 such terms as set forth in an order of the Bankruptcy Court; provided that Allowed General Administrative
 Claims that arise in the ordinary course of the Debtors’ business during the Chapter 11 Cases shall be paid
 in full in Cash in the ordinary course of business in accordance with the terms and conditions of any
 controlling agreements, course of dealing, course of business, or industry practice.

          For the avoidance of doubt and notwithstanding anything to the contrary herein, all Opioid Claims
 arising after the Petition Date and based upon or arising from the Debtors’ pre-Effective Date conduct or
 activities (and excluding, for the avoidance of doubt, any VI Opioid Claims), shall receive the treatment set
 forth herein for Classes 8(a)-8(d) and 9(a)-9(j) (as applicable) and shall not receive the treatment described
 above for General Administrative Claims. Upon the Effective Date, all General Administrative Claims that
 are Opioid Claims shall be channeled to the Opioid MDT II or the Opioid Creditor Trusts, as applicable, as
 set forth in Articles IV.W.5, IV.X.5, and IX.H herein, and shall no longer have General Administrative
 Claim status. For the avoidance of doubt and notwithstanding anything to the contrary herein, to the extent
 incurred prior to the Effective Date, the New Credit Facilities shall survive the Effective Date and shall not
 constitute General Administrative Claims entitled to the treatment set forth in this Article II.A.1.

         2.       Professional Fee Claims, Restructuring Expenses, and Post Effective Date Implementation
                  Expenses

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement
 of expenses incurred prior to the Effective Date must be Filed no later than 45 days after the Effective Date.
 The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice
 and a hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules,
 and prior Bankruptcy Court orders. The Reorganized Debtors shall pay Professional Fee Claims owing to
 the Retained Professionals in Cash to such Retained Professionals in the amount the Bankruptcy Court
 Allows from funds held in the Professional Fee Escrow Account, as soon as reasonably practicable after


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 such Professional Fee Claims are Allowed by entry of an order of the Bankruptcy Court; provided that the
 Debtors’ and the Reorganized Debtors’ obligations to pay Allowed Professional Fee Claims shall not be
 limited or deemed limited to funds held in the Professional Fee Escrow Account. To the extent that funds
 held in the Professional Fee Escrow Account are insufficient to satisfy the Allowed amount of Professional
 Fee Claims owing to the Retained Professionals, the Reorganized Debtors shall pay such amounts within
 ten (10) Business Days of entry of the order approving such Professional Fee Claims.

          No later than the Effective Date, the Reorganized Debtors shall establish and fund the Professional
 Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount. The Professional Fee
 Escrow Account shall be maintained in trust solely for the Retained Professionals and for no other Entities
 until all Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full in
 Cash to the Retained Professionals pursuant to one or more Final Orders of the Bankruptcy Court. No
 Liens, claims, or interests shall encumber the Professional Fee Escrow Account or Cash held in the
 Professional Fee Escrow Account in any way. No funds held in the Professional Fee Escrow Account shall
 be property of the Estates of the Debtors or the Reorganized Debtors. When all Professional Fee Claims
 Allowed by the Bankruptcy Court have been irrevocably paid in full in Cash to the Retained Professionals
 pursuant to one or more Final Orders of the Bankruptcy Court, any remaining funds held in the Professional
 Fee Escrow Account shall be remitted to the Reorganized Debtors without any further notice to or action,
 order, or approval of the Bankruptcy Court or any other Entity being required.

          The Retained Professionals shall deliver to the Debtors a reasonable and good-faith estimate of
 their unpaid fees and expenses incurred in rendering services to the Debtors before and as of the Effective
 Date projected to be outstanding as of the anticipated Effective Date, and shall deliver such estimate no
 later than five Business Days prior to the anticipated Effective Date. For the avoidance of doubt, no such
 estimate shall be considered or deemed an admission or limitation with respect to the amount of the fees
 and expenses that are the subject of a Retained Professional’s final request for payment of Professional Fee
 Claims Filed with the Bankruptcy Court, and such Retained Professionals are not bound to any extent by
 the estimates. If a Retained Professional does not provide an estimate, the Debtors may estimate the unpaid
 and unbilled fees and expenses of such Retained Professional. The total aggregate amount so estimated to
 be outstanding as of the anticipated Effective Date shall be utilized by the Debtors to determine the amount
 to be funded to the Professional Fee Escrow Account; provided that the Reorganized Debtors shall use Cash
 on hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications are
 Filed after the Effective Date in excess of the amount held in the Professional Fee Escrow Account based
 on such estimates.

          For the avoidance of doubt, all Restructuring Expenses and Post Effective Date Implementation
 Expenses shall be paid in accordance with Article IV.S of the Plan, and the terms under this Article II.A.2
 shall not apply to the parties entitled to receive the Restructuring Expenses. The Reorganized Debtors shall
 pay the Post Effective Date Implementation Expenses that they incur on or after the Effective Date in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

         3.       Administrative Claims Bar Date

          Except for any Administrative Claim subject to the Initial Administrative Claims Bar Date, all
 requests for payment of an Administrative Claim (excluding, for the avoidance of doubt, VI Opioid Claims,
 Cure Costs, Professional Fee Claims, the Disinterested Managers Fees and Expenses, Restructuring
 Expenses, Administrative Claims held by a Debtor or Non-Debtor Affiliate against a Debtor, Indenture
 Trustee Fees (to the extent they would be Administrative Claims) or United States Trustee quarterly fees
 payable pursuant to Article II.C below) that accrued on or before the Effective Date that were not otherwise
 satisfied in the ordinary course of business must be Filed with the Bankruptcy Court and served on the
 Debtors no later than the Administrative Claims Bar Date. If a Holder of an Administrative Claim
 (excluding, for the avoidance of doubt, VI Opioid Claims, Cure Costs, Professional Fee Claims,

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 Restructuring Expenses, Indenture Trustee Fees (to the extent they would be Administrative Claims) or
 United States Trustee quarterly fees payable pursuant to Article II.C below) is required to, but does not,
 File and serve a request for payment of such Administrative Claim by the Administrative Claims Bar Date,
 such Administrative Claim shall be considered Allowed only if and to the extent that no objection to the
 allowance thereof has been interposed within three months following the subsequent filing and service of
 such request or as otherwise set by the Bankruptcy Court or such an objection is so interposed and the Claim
 has been Allowed by a Final Order; provided that any Claim Filed after entry of a decree closing the
 Debtors’ Chapter 11 Cases shall not be Allowed unless the Holder of such Claim obtains an order of the
 Bankruptcy Court allowing such Claim. For the avoidance of doubt, Administrative Claims that were
 subject to the Initial Administrative Claims Bar Date, proof of which was not timely submitted in
 accordance with the Initial Administrative Claims Bar Date Order, shall be disallowed.

          The Reorganized Debtors, in their sole and absolute discretion, may settle Administrative Claims
 in the ordinary course of business without further Bankruptcy Court approval. The Debtors or the
 Reorganized Debtors, as applicable, may also choose to object to any Administrative Claim no later than
 the Administrative Claims Objection Deadline, subject to extensions by the Bankruptcy Court, agreement
 in writing of the parties, or on motion of a party in interest approved by the Bankruptcy Court. Unless the
 Debtors or the Reorganized Debtors (or other party with standing) object to a timely-Filed and properly
 served Administrative Claim, such Administrative Claim will be deemed Allowed in the amount requested.
 In the event that the Debtors or the Reorganized Debtors object to an Administrative Claim, the parties may
 confer to try to reach a settlement and, failing that, the Bankruptcy Court will determine whether such
 Administrative Claim should be Allowed and, if so, in what amount.

         Notwithstanding anything to the contrary herein, VI Opioid Claims shall not be subject to any
 Administrative Claims Bar Date or any procedures governing the assertion of, and objection to,
 Administrative Claims contained in the Plan. All VI Opioid Claims shall survive Confirmation and
 Consummation of the Plan and shall be obligations of the relevant Debtors and/or Reorganized Debtors, as
 applicable, enforceable in any court of competent jurisdiction.

 B.      Priority Tax Claims

          Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s) against
 which such Allowed Priority Tax Claim is asserted agree to a less favorable treatment, in exchange for full
 and final satisfaction, settlement, release, and the discharge of each Allowed Priority Tax Claim, each
 Holder of an Allowed Priority Tax Claim due and payable on or prior to the Effective Date shall receive,
 as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
 equal to the amount of such Allowed Priority Tax Claim; (2) Cash in an amount agreed to by the applicable
 Debtor or Reorganized Debtor, as applicable, and such Holder; provided that such parties may further agree
 for the payment of such Allowed Priority Tax Claim at a later date; or (3) at the option of the Debtors, Cash
 in an aggregate amount of such Allowed Priority Claim payable in installment payments over a period not
 more than five years after the Petition Date, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code. To
 the extent any Allowed Priority Tax Claim is not due and owing on or before the Effective Date, such Claim
 shall be paid in full in Cash in accordance with the terms of any agreement between the Debtors and such
 Holder, or as may be due and payable under applicable non-bankruptcy law or in the ordinary course of
 business.

 C.      Other Priority Claims

          Except to the extent that a Holder of an Allowed Other Priority Claim and the Debtor(s) against
 which such Allowed Other Priority Claim is asserted agree to a less favorable treatment, in exchange for
 full and final satisfaction, settlement, release, and the discharge of each Allowed Other Priority Claim, each
 Holder of an Allowed Other Priority Claim due and payable on or prior to the Effective Date shall receive,


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 as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
 equal to the amount of such Allowed Other Priority Claim; or (2) Cash in an amount agreed to by the
 applicable Debtor or Reorganized Debtor, as applicable, and such Holder. To the extent any Allowed Other
 Priority Claim is not due and owing on or before the Effective Date, such Claim shall be paid in full in Cash
 in accordance with the terms of any agreement between the Debtors (or the Reorganized Debtors, as
 applicable) and such Holder, or as may be due and payable under applicable non-bankruptcy law or in the
 ordinary course of business.

 D.      United States Trustee Statutory Fees

         The Debtors and the Reorganized Debtors, as applicable, shall pay all quarterly fees due to the
 United States Trustee under 28 U.S.C § 1930(a)(6), plus any interest due and payable under 31 U.S.C.
 § 3717 on all disbursements, including Plan payments and disbursements in and outside the ordinary course
 of the Debtors’ or Reorganized Debtors’ business (or such amount agreed to with the United States Trustee
 or ordered by the Bankruptcy Court), for each quarter (including any fraction thereof) until the Chapter 11
 Cases are converted, dismissed, or closed, whichever occurs first.

                                                  Article III.

               CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

 A.      Classification of Claims

          The Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The provisions
 of this Article III govern Claims against and Interests in the Debtors. Except for the Claims addressed in
 Article II above (or as otherwise set forth herein), all Claims and Interests are placed in Classes for each of
 the applicable Debtors. For all purposes under this Plan, each Class will exist for each of the Debtors;
 provided, that any Class that is vacant as to a particular Debtor will be treated in accordance with Article
 III.G below. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have not classified
 Administrative Claims, Priority Tax Claims, and Other Priority Claims as described in Article II.

          The categories of Claims and Interests listed below classify Claims and Interests for all purposes,
 including voting, Confirmation and distribution pursuant hereto and pursuant to sections 1122 and
 1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Interest to be classified in a particular
 Class only to the extent that the Claim or Interest qualifies within the description of that Class and shall be
 deemed classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
 within the description of such different Class. A Claim or an Interest is in a particular Class only to the
 extent that any such Claim or Interest is Allowed in that Class and has not been paid or otherwise settled
 prior to the Effective Date.




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                    Summary of Classification and Treatment of Claims and Interests

            Class                      Claim                     Status         Voting Rights
              1         Other Secured Claims                   Unimpaired     Presumed to Accept
            2(a)        First Lien Revolving Credit Facility   Unimpaired     Presumed to Accept
                        Claims
             2(b)       2024 First Lien Term Loan Claims       Unimpaired    Presumed to Accept or
                                                               or Impaired      Entitled to Vote
             2(c)       2025 First Lien Term Loan Clams        Unimpaired    Presumed to Accept or
                                                               or Impaired      Entitled to Vote
               3        First Lien Notes Claims                Unimpaired    Presumed to Accept or
                                                               or Impaired      Entitled to Vote
               4        Second Lien Notes Claims                Impaired        Entitled to Vote
               5        Guaranteed Unsecured Notes              Impaired        Entitled to Vote
                        Claims
             6(a)       Acthar Claims                           Impaired        Entitled to Vote
             6(b)       Generics Price Fixing Claims            Impaired        Entitled to Vote
             6(c)       Asbestos Claims                         Impaired        Entitled to Vote
             6(d)       Legacy Unsecured Notes Claims           Impaired        Entitled to Vote
             6(e)       Environmental Claims                    Impaired        Entitled to Vote
             6(f)       Other General Unsecured Claims          Impaired        Entitled to Vote
             6(g)       4.75% Unsecured Notes Claims            Impaired        Entitled to Vote
              7         Trade Claims                            Impaired        Entitled to Vote
             8(a)       State Opioid Claims                     Impaired        Entitled to Vote
             8(b)       Municipal Opioid Claims                 Impaired        Entitled to Vote
             8(c)       Tribe Opioid Claims                     Impaired        Entitled to Vote
             8(d)       U.S. Government Opioid Claims           Impaired        Entitled to Vote
             9(a)       Third-Party Payor Opioid Claims         Impaired        Entitled to Vote
             9(b)       PI Opioid Claims                        Impaired        Entitled to Vote
             9(c)       NAS PI Opioid Claims                    Impaired        Entitled to Vote
             9(d)       Hospital Opioid Claims                  Impaired        Entitled to Vote
             9(e)       Ratepayer Opioid Claims                 Impaired        Entitled to Vote
             9(f)       NAS Monitoring Opioid Claims            Impaired        Entitled to Vote
             9(g)       Emergency Room Physicians               Impaired        Entitled to Vote
                        Opioid Claims
             9(h)       Other Opioid Claims                     Impaired        Entitled to Vote
             9(i)       No Recovery Opioid Claims               Impaired       Deemed to Reject
             9(j)       Released Co-Defendant Claims            Impaired       Deemed to Reject
              10        Settled Federal/State Acthar Claims     Impaired        Entitled to Vote
              11        Intercompany Claims                    Unimpaired    Presumed to Accept or
                                                               or Impaired     Deemed to Reject
              12        Intercompany Interests                 Unimpaired    Presumed to Accept or
                                                               or Impaired     Deemed to Reject
              13        Subordinated Claims                     Impaired       Deemed to Reject
              14        Equity Interests                        Impaired       Deemed to Reject




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 B.      Treatment of Claims and Interests

         1.       Class 1 — Other Secured Claims

                  a.     Classification: Class 1 consists of all Other Secured Claims.

                  b.     Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim
                         agrees to less favorable treatment, in exchange for full and final satisfaction,
                         settlement, release, and discharge of each Allowed Other Secured Claim, each
                         Holder of an Allowed Other Secured Claim, at the option of the applicable Debtor,
                         shall (i) be paid in full in Cash including the payment of any interest required to
                         be paid under section 506(b) of the Bankruptcy Code, (ii) receive the collateral
                         securing its Allowed Other Secured Claim, or (iii) receive any other treatment that
                         would render such Claim Unimpaired, in each case, as determined by the Debtors
                         with the reasonable consent of the Required Supporting Unsecured Noteholders,
                         the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group and
                         following consultation with the Supporting Term Lenders.

                  c.     Voting: Class 1 is Unimpaired, and Holders of Other Secured Claims are
                         conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                         Bankruptcy Code. Therefore, Holders of Other Secured Claims are not entitled to
                         vote to accept or reject the Plan.

         2.       Class 2 — First Lien Credit Agreement Claims

                  a.     Class 2(a) — First Lien Revolving Credit Facility Claims

                         (i)     Classification: Class 2(a) consists of all First Lien Revolving Credit
                                 Facility Claims.

                         (ii)    Allowance: The First Lien Revolving Credit Facility Claims shall be
                                 Allowed in the aggregate principal amount of $900,000,000 minus any
                                 payments expressly designated as payments of principal of loans under the
                                 First Lien Revolving Credit Facility prior to the Effective Date, plus the
                                 amount of any First Lien Revolving Credit Facility Accrued and Unpaid
                                 Interest, plus any other accrued and unpaid First Lien Obligations (other
                                 than principal or interest) directly or ratably applicable to the First Lien
                                 Revolving Credit Facility Claims, but excluding any Claims (i) arising
                                 under or related to the 2024 First Lien Term Loan or the 2025 First Lien
                                 Term Loan, (ii) for default rate interest under Section 2.13(c) of the First
                                 Lien Credit Agreement in excess of the non-default rate applicable under
                                 Section 2.13(a) or (b) of the First Lien Credit Agreement, and (iii) for
                                 interest based on the asserted conversion of any “Eurocurrency
                                 Borrowing” to an “ABR Borrowing” (each as defined in the First Lien
                                 Credit Agreement) under Section 2.07(e) of the First Lien Credit
                                 Agreement, to the extent such interest exceeds the interest payable on such
                                 borrowing as a Eurocurrency Borrowing; provided that, notwithstanding
                                 anything to the contrary in the Plan, the Cash Collateral Order or the First
                                 Lien Credit Agreement, all adequate protection payments made by the
                                 Debtors to the First Lien Revolving Lenders and their agents and
                                 professionals pursuant to the Cash Collateral Order during the Chapter 11
                                 Cases shall be retained by the First Lien Revolving Lenders and their


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                                agents and professionals, as applicable, and not recharacterized as
                                principal payments or otherwise subject to disgorgement, recovery, or
                                avoidance by any party under any legal or equitable theory regardless of
                                whether such payments arguably exceed the Allowed amount of the First
                                Lien Revolving Credit Facility Claims.

                        (iii)   Treatment: Each Holder of an Allowed First Lien Revolving Credit
                                Facility Claim shall receive, on the Effective Date, in full and final
                                satisfaction, settlement, release, and discharge of such Claim, its Pro Rata
                                Share of repayment in full in Cash of such Claims as set forth above. For
                                the avoidance of doubt, the foregoing treatments shall not be, and shall not
                                be deemed, a distribution or payment in respect of Shared Collateral.

                        (iv)    Voting: Class 2(a) is Unimpaired, and Holders of First Lien Revolving
                                Credit Facility Claims are conclusively presumed to have accepted the
                                Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                                Holders of First Lien Revolving Credit Facility Claims are not entitled to
                                vote to accept or reject the Plan.

                  b.    Class 2(b) — 2024 First Lien Term Loan Claims

                        (i)     Classification: Class 2(b) consists of all 2024 First Lien Term Loan
                                Claims.

                        (ii)    Allowance: The 2024 First Lien Term Loan Claims shall be Allowed in
                                the aggregate principal amount of the 2024 First Lien Term Loans
                                Outstanding Amount plus the amount of any First Lien Term Loans
                                Accrued and Unpaid Interest plus any other accrued and unpaid First Lien
                                Obligations (other than principal or interest), in each case directly or
                                ratably applicable to the 2024 First Lien Term Loan Claims; provided that,
                                notwithstanding anything to the contrary in the Plan, the Cash Collateral
                                Order or the First Lien Credit Agreement, all adequate protection
                                payments made by the Debtors to Holders of 2024 First Lien Term Loan
                                Claims and their agents and professionals pursuant to the Cash Collateral
                                Order during the Chapter 11 Cases shall be retained by such Holders and
                                their agents and professionals, as applicable, and not recharacterized as
                                principal payments (other than payments of principal made on or prior to
                                April 23, 2021 and First Lien Term Loan Principal Payments) or otherwise
                                subject to disgorgement, recovery, or avoidance by any party under any
                                legal or equitable theory regardless of whether such payments arguably
                                exceed the Allowed amount of the 2024 First Lien Term Loan Claims.

                        (iii)   Treatment: Each Holder of an Allowed 2024 First Lien Term Loan Claim
                                shall receive, on the Effective Date, in full and final satisfaction,
                                settlement, release, and discharge of such Claim, at the Debtors’ option,
                                either (a) (x) its Pro Rata Share of the New Takeback Term Loans plus
                                (y) repayment in full in Cash of its Pro Rata Share of the First Lien Term
                                Loans Accrued and Unpaid Interest attributable to the 2024 First Lien
                                Term Loan Claims plus (z) its Pro Rata Share of the Term Loan Exit
                                Payment attributable to the 2024 First Lien Term Loan Claims or (b) (x)
                                repayment of such Claims in full in Cash in an amount equal to its Pro
                                Rata Share of the 2024 First Lien Term Loans Outstanding Amount plus


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                                (y) repayment in full in Cash of its Pro Rata Share of the First Lien Term
                                Loans Accrued and Unpaid Interest attributable to the 2024 First Lien
                                Term Loan Claims plus (z) its Pro Rata Share of the Term Loan Exit
                                Payment attributable to the 2024 First Lien Term Loan Claims. For the
                                avoidance of doubt, neither of the foregoing treatments or any component
                                thereof are, nor shall such treatments or any component thereof be deemed,
                                a distribution or payment in respect of Shared Collateral.

                        (iv)    Voting: Class 2(b) is either (a) Impaired if receiving the New Takeback
                                Term Loans, and, in such case, Holders of 2024 First Lien Term Loan
                                Claims are entitled to vote to accept or reject the Plan or (b) Unimpaired
                                if repaid in full in Cash, and, in such case, Holders of 2024 First Lien Term
                                Loans are conclusively presumed to have accepted the Plan pursuant to
                                section 1126(f) of the Bankruptcy Code (and, therefore, Holders of 2024
                                First Lien Term Loan Claims are not entitled to vote to accept or reject the
                                Plan).

                  c.    Class 2(c) — 2025 First Lien Term Loan Claims

                        (i)     Classification: Class 2(c) consists of all 2025 First Lien Term Loan
                                Claims.

                        (ii)    Allowance: The 2025 First Lien Term Loan Claims shall be Allowed in
                                the aggregate principal amount of the 2025 First Lien Term Loans
                                Outstanding Amount plus the amount of any First Lien Term Loans
                                Accrued and Unpaid Interest plus any other accrued and unpaid First Lien
                                Obligations (other than principal or interest), in each case directly or
                                ratably applicable to the 2025 First Lien Term Loan Claims; provided that,
                                notwithstanding anything to the contrary in the Plan, the Cash Collateral
                                Order or the First Lien Credit Agreement, all adequate protection
                                payments made by the Debtors to Holders of 2025 First Lien Term Loan
                                Claims and their agents and professionals pursuant to the Cash Collateral
                                Order during the Chapter 11 Cases shall be retained by such Holders and
                                their agents and professionals, as applicable, and not recharacterized as
                                principal payments (other than payments of principal made on or prior to
                                April 23, 2021 and First Lien Term Loan Principal Payments) or otherwise
                                subject to disgorgement, recovery, or avoidance by any party under any
                                legal or equitable theory regardless of whether such payments arguably
                                exceed the Allowed amount of the 2025 First Lien Term Loan Claims.

                        (iii)   Treatment: Each Holder of an Allowed 2025 First Lien Term Loan Claim
                                shall receive, on the Effective Date, in full and final satisfaction,
                                settlement, release, and discharge of such Claims, at the Debtors’ option,
                                either (a) (x) its Pro Rata Share of the New Takeback Term Loans plus
                                (y) repayment in full in Cash of its Pro Rata Share of the First Lien Term
                                Loans Accrued and Unpaid Interest attributable to the 2025 First Lien
                                Term Loan Claims plus (z) its Pro Rata Share of the Term Loan Exit
                                Payment attributable to the 2025 First Lien Term Loan Claims or (b) (x)
                                repayment of such Claims in full in Cash in an amount equal to its Pro
                                Rata Share of the 2025 First Lien Term Loans Outstanding Amount plus
                                (y) repayment in full in Cash of its Pro Rata Share of the First Lien Term
                                Loans Accrued and Unpaid Interest attributable to the 2025 First Lien

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                                 Term Loan Claims plus (z) its Pro Rata Share of the Term Loan Exit
                                 Payment attributable to the 2025 First Lien Term Loan Claims. For the
                                 avoidance of doubt, neither of the foregoing treatments or any component
                                 thereof are, nor shall such treatments or any component thereof be deemed,
                                 a distribution or payment in respect of Shared Collateral.

                         (iv)    Voting: Class 2(c) is either (a) Impaired if receiving the New Takeback
                                 Term Loans, and, in such case, Holders of 2025 First Lien Term Loan
                                 Claims are entitled to vote to accept or reject the Plan or (b) Unimpaired
                                 if repaid in full in Cash, and, in such case, Holders of 2025 First Lien Term
                                 Loans are conclusively presumed to have accepted the Plan pursuant to
                                 section 1126(f) of the Bankruptcy Code (and, therefore, Holders of 2025
                                 First Lien Term Loan Claims are not entitled to vote to accept or reject the
                                 Plan).

         3.       Class 3 — First Lien Notes Claims

                  a.     Classification: Class 3 consists of all First Lien Notes Claims.

                  b.     Allowance: On the Effective Date, the First Lien Notes Claims shall be Allowed
                         in the aggregate principal amount of $495,032,000.00 minus any express payments
                         of principal of the First Lien Notes prior to the Effective Date, plus accrued and
                         unpaid Allowed interest on such principal amount, plus any other Allowed unpaid
                         premiums, fees, costs, or other amounts due and owing pursuant to the First Lien
                         Notes Indenture.

                  c.     Treatment: If at the time of Confirmation (i) the First Lien Notes Makewhole
                         Claims are not Allowed and (ii) the Allowed First Lien Notes Claims may be
                         reinstated without the First Lien Notes Makewhole Claims being Allowed, all
                         Allowed First Lien Notes Claims shall be Reinstated. Otherwise, all Allowed First
                         Lien Notes Claims shall receive, on the Effective Date, in full and final
                         satisfaction, settlement, release, and discharge of such Claims, at the Debtors’
                         option, either (1) the Cram-Down First Lien Notes in a face amount equal to the
                         amount of such Allowed First Lien Notes Claims or (2) Cash in an amount equal
                         to the amount of such Allowed First Lien Notes Claims, provided that the treatment
                         in this clause (2) shall only be permitted in the event (x) the Cash used to fund the
                         payment of the principal amount of the First Lien Notes Claims is derived from
                         the proceeds of indebtedness incurred to fund such payment (it being understood
                         that this restriction does not apply to any First Lien Notes Makewhole Claims, if
                         Allowed) or (y) the First Lien Term Loan Claims have been paid or are paid
                         contemporaneously in full in Cash.

                  d.     Voting: Class 3 is either (i) Impaired, if receiving the Cram-Down First Lien
                         Notes, and Holders of First Lien Notes Claims are entitled to vote to accept or
                         reject the Plan, or (ii) Unimpaired either if the Allowed First Lien Notes Claims
                         are Reinstated or if receiving Cash, and Holders of First Lien Notes Claims are
                         conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                         Bankruptcy Code (and, therefore, Holders of First Lien Notes Claims are not
                         entitled to vote to accept or reject the Plan).




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         4.       Class 4 — Second Lien Notes Claims

                  a.     Classification: Class 4 consists of all Second Lien Notes Claims.

                  b.     Allowance: On the Effective Date, the Second Lien Notes Claims shall be Allowed
                         in the aggregate principal amount of $322,868,000.00 minus any express payments
                         of principal of the Second Lien Notes prior to the Effective Date, plus accrued and
                         unpaid Allowed interest on such principal amount, plus any other Allowed unpaid
                         fees, costs, or other amounts due and owing pursuant to the Second Lien Notes
                         Indenture; provided that, notwithstanding anything to the contrary in the Plan or
                         the Cash Collateral Order, all adequate protection payments made by the Debtors
                         to Holders of Second Lien Notes Claims, their agents, and their respective
                         professionals pursuant to the Cash Collateral Order during the Chapter 11 Cases
                         shall be retained by such Holders, agents, and professionals, as applicable, and not
                         recharacterized as principal payments or otherwise subject to disgorgement,
                         turnover, recovery, avoidance, recharacterization or any other similar claim by any
                         party under any legal or equitable theory regardless of whether such payments
                         arguably exceed the Allowed amount of the Second Lien Notes Claims. For the
                         avoidance of doubt, in connection with the treatment of Second Lien Notes Claims
                         provided herein, the Second Lien Notes Makewhole Claims shall not be Allowed.

                  c.     Treatment: Each Holder of an Allowed Second Lien Notes Claim shall receive,
                         on the Effective Date, in full and final satisfaction, settlement, release, and
                         discharge of such Claim, its Pro Rata Share of the New Second Lien Notes. For
                         the avoidance of doubt, the foregoing treatment shall not be deemed a distribution
                         or payment in respect of Shared Collateral.

                  d.     Voting: Class 4 is Impaired, and Holders of Second Lien Notes Claims are entitled
                         to vote to accept or reject the Plan.

         5.       Class 5 — Guaranteed Unsecured Notes Claims

                  a.     Classification: Class 5 consists of all Guaranteed Unsecured Notes Claims.

                  b.     Allowance: The Guaranteed Unsecured Notes Claims shall be Allowed in the
                         following amounts:

                         (i)     the 5.75% Senior Notes Claims shall be Allowed in the amount of not less
                                 than $610,304,000.00, plus accrued but unpaid interest as of the Petition
                                 Date;

                         (ii)    the 5.625% Senior Notes Claims shall be Allowed in the amount of not
                                 less than $514,673,000.00, plus accrued but unpaid interest as of the
                                 Petition Date; and

                         (iii)   the 5.50% Senior Notes Claims shall be Allowed in the amount of not less
                                 than $387,207,000.00, plus accrued but unpaid interest as of the Petition
                                 Date.

                  c.     Treatment: Except to the extent that a Holder of an Allowed Guaranteed
                         Unsecured Notes Claim agrees to less favorable treatment, in exchange for full and
                         final satisfaction, settlement, release, and discharge of each Allowed Guaranteed
                         Unsecured Notes Claim, on the Effective Date (or as soon as practicable


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                          thereafter), each Holder of an Allowed Guaranteed Unsecured Notes Claim shall
                          receive its Pro Rata Share of (i) the Takeback Second Lien Notes and (ii) 100% of
                          New Mallinckrodt Ordinary Shares, subject to dilution on account of the New
                          Opioid Warrants and the Management Incentive Plan.

                  d.      Voting: Class 5 is Impaired, and Holders of Guaranteed Unsecured Notes Claims
                          are entitled to vote to accept or reject the Plan.

         6.       Class 6 — General Unsecured Claims

                           Each Holder of an Allowed Claim in Class 6(a)-(g) shall receive, in full and final
                  satisfaction, settlement, release and discharge of such Claim, the recoveries set forth in
                  Class 6(a)-(g) below, subject to adjustment to the allocation of General Unsecured Claims
                  Trust Consideration solely to ensure that the recoveries of each Class 6 subclass satisfies
                  the requirements of the Bankruptcy Code.

                  a.      Class 6(a) — Acthar Claims

                          (i)     Classification: Class 6(a) consists of all Acthar Claims.

                          (ii)    Treatment: Except to the extent that a Holder of an Allowed Acthar Claim
                                  agrees to less favorable treatment, in exchange for full and final
                                  satisfaction, settlement, release, and discharge of each Allowed Acthar
                                  Claim, each Holder of an Allowed Acthar Claim shall receive its Pro Rata
                                  Share of the Acthar Claims Recovery.

                          (iii)   Voting: Class 6(a) is Impaired, and Holders of Acthar Claims are entitled
                                  to vote to accept or reject the Plan.

                  b.      Class 6(b) — Generics Price Fixing Claims

                          (i)     Classification: Class 6(b) consists of all Generics Price Fixing Claims.

                          (ii)    Treatment: Except to the extent that a Holder of an Allowed Generics
                                  Price Fixing Claim agrees to less favorable treatment, in exchange for full
                                  and final satisfaction, settlement, release, and discharge of each Allowed
                                  Generics Price Fixing Claim, each Holder of an Allowed Generics Price
                                  Fixing Claim shall receive its Pro Rata Share of the Generics Price Fixing
                                  Claims Recovery.

                          (iii)   Voting: Class 6(b) is Impaired, and Holders of Generics Price Fixing
                                  Claims are entitled to vote to accept or reject the Plan.

                  c.      Class 6(c) — Asbestos Claims

                          (i)     Classification: Class 6(c) consists of all Asbestos Claims.

                          (ii)    Treatment: Except to the extent that a Holder of an Allowed Asbestos
                                  Claim agrees to less favorable treatment, in exchange for full and final
                                  satisfaction, settlement, release, and discharge of each Allowed Asbestos
                                  Claim, each Holder of an Allowed Asbestos Claim shall receive its Pro
                                  Rata Share of the Asbestos Claims Recovery.



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                        (iii)   Voting: Class 6(c) is Impaired, and Holders of Asbestos Claims are
                                entitled to vote to accept or reject the Plan.

                  d.    Class 6(d) — Legacy Unsecured Notes Claims

                        (i)     Classification: Class 6(d) consists of all Legacy Unsecured Notes Claims.

                        (ii)    Treatment: Except to the extent that a Holder of an Allowed Legacy
                                Unsecured Notes Claim agrees to less favorable treatment, in exchange for
                                full and final satisfaction, settlement, release, and discharge of each
                                Allowed Legacy Unsecured Notes Claim, each Holder of an Allowed
                                Legacy Unsecured Notes Claim shall receive its Pro Rata Share of the
                                Legacy Unsecured Notes Recovery.

                        (iii)   Voting: Class 6(d) is Impaired, and Holders of Legacy Unsecured Notes
                                Claims are entitled to vote to accept or reject the Plan.

                  e.    Class 6(e) — Environmental Claims

                        (i)     Classification: Class 6(e) consists of all Environmental Claims.

                        (ii)    Treatment: Except to the extent that a Holder of an Allowed
                                Environmental Claim agrees to less favorable treatment, in exchange for
                                full and final satisfaction, settlement, release, and discharge of each
                                Allowed Environmental Claim, each Holder of an Allowed Environmental
                                Claim shall receive its Pro Rata Share of the Environmental Claims / Other
                                General Unsecured Claims Recovery.

                        (iii)   Voting: Class 6(e) is Impaired, and Holders of Environmental Claims are
                                entitled to vote to accept or reject the Plan.

                  f.    Class 6(f) — Other General Unsecured Claims

                        (i)     Classification: Class 6(f) consists of all Other General Unsecured Claims.

                        (ii)    Treatment: Except to the extent that a Holder of an Allowed Other General
                                Unsecured Claim agrees to less favorable treatment, in exchange for full
                                and final satisfaction, settlement, release, and discharge of each Allowed
                                Other General Unsecured Claim, each Holder of an Allowed Other
                                General Unsecured Claim shall receive its Pro Rata Share of the
                                Environmental Claims / Other General Unsecured Claims Recovery.

                        (iii)   Voting: Class 6(f) is Impaired, and Holders of Other General Unsecured
                                Claims are entitled to vote to accept or reject the Plan.

                  g.    Class 6(g) — 4.75% Unsecured Notes Claims

                        (i)     Classification: Class 6(g) consists of all 4.75% Unsecured Notes Claims.

                        (ii)    Treatment: Except to the extent that a Holder of an Allowed 4.75%
                                Unsecured Notes Claim agrees to less favorable treatment, in exchange for
                                full and final satisfaction, settlement, release, and discharge of each
                                Allowed 4.75% Unsecured Notes Claim, each Holder of an Allowed



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                                 4.75% Unsecured Notes Claim shall receive its Pro Rata Share of the
                                 4.75% Unsecured Notes Recovery.

                         (iii)   Voting: Class 6(g) is Impaired, and Holders of 4.75% Unsecured Notes
                                 Claims are entitled to vote to accept or reject the Plan.

         7.       Class 7 — Trade Claims

                  a.     Classification: Class 7 consists of all Trade Claims.

                  b.     Treatment: Except to the extent that a Holder of an Allowed Trade Claim agrees
                         to less favorable treatment, in exchange for full and final satisfaction, settlement,
                         release, and discharge of each Allowed Trade Claim and as consideration for
                         maintaining Favorable Trade Terms, each Holder of an Allowed Trade Claim that
                         votes to accept the Plan and agrees to maintain Favorable Trade Terms in
                         accordance with the requirements set forth in the Disclosure Statement Order shall
                         receive its Pro Rata Share of the Trade Claim Cash Pool up to the Allowed Amount
                         of such Claim. If the Holder of an Allowed Trade Claim votes to reject the Plan
                         or does not agree to maintain Favorable Trade Terms in accordance with the
                         requirements set forth in the Disclosure Statement Order, such Holder shall receive
                         its Pro Rata Share of the Environmental Claims / Other General Unsecured Claims
                         Recovery.

                  c.     Voting: Class 7 is Impaired, and Holders of Trade Claims are entitled to vote to
                         accept or reject the Plan.

         8.       Class 8 — Governmental Opioid Claims

                   a.    Class 8(a) — State Opioid Claims

                         (i)     Classification: Class 8(a) consists of all State Opioid Claims.

                         (ii)    Treatment: As of the Effective Date, all State Opioid Claims shall
                                 automatically, and without further act, deed, or court order, be channeled
                                 exclusively to, and all of Mallinckrodt’s liability for State Opioid Claims
                                 shall be assumed by, the NOAT II. Each State Opioid Claim shall be
                                 resolved solely in accordance with the terms, provisions, and procedures
                                 of the NOAT II Documents and shall receive a recovery, if any, from the
                                 State and Municipal Government Opioid Claims Share. The NOAT II
                                 shall be funded in accordance with the provisions of this Plan. The sole
                                 recourse of any State Opioid Claimant on account of its State Opioid
                                 Claim shall be to the NOAT II, and each such State Opioid Claimant shall
                                 have no right whatsoever at any time to assert its State Opioid Claim
                                 against any Protected Party, shall be enjoined from filing against any
                                 Protected Party any future litigation, Claims or Causes of Action arising
                                 out of or related to such State Opioid Claims, and may not proceed in any
                                 manner against any Protected Party on account of such State Opioid
                                 Claims in any forum whatsoever, including any state, federal, or non-U.S.
                                 court or administrative or arbitral forum. Distributions made by the
                                 NOAT II in respect of State Opioid Claims shall be used solely for
                                 Approved Uses, in accordance with the NOAT II Documents.



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                        (iii)   Voting: Class 8(a) is Impaired, and Holders of State Opioid Claims are
                                entitled to vote to accept or reject the Plan.

                  b.    Class 8(b) — Municipal Opioid Claims

                        (i)     Classification: Class 8(b) consists of all Municipal Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all Municipal Opioid Claims shall
                                automatically, and without further act, deed, or court order, be channeled
                                exclusively to, and all of Mallinckrodt’s liability for Municipal Opioid
                                Claims shall be assumed by, the NOAT II. Each Municipal Opioid Claim
                                shall be resolved solely in accordance with the terms, provisions, and
                                procedures of the NOAT II Documents and shall receive a recovery, if
                                any, from the State and Municipal Government Opioid Claims Share. The
                                NOAT II shall be funded in accordance with the provisions of this Plan.
                                The sole recourse of any Municipal Opioid Claimant on account of its
                                Municipal Opioid Claim shall be to the NOAT II, and each such Municipal
                                Opioid Claimant shall have no right whatsoever at any time to assert its
                                Municipal Opioid Claim against any Protected Party, shall be enjoined
                                from filing against any Protected Party any future litigation, Claims or
                                Causes of Action arising out of or related to such Municipal Opioid
                                Claims, and may not proceed in any manner against any Protected Party
                                on account of such Municipal Opioid Claims in any forum whatsoever,
                                including any state, federal, or non-U.S. court or administrative or arbitral
                                forum. Distributions made by the NOAT II in respect of Municipal Opioid
                                Claims shall be used solely for Approved Uses, in accordance with the
                                NOAT II Documents.

                        (iii)   Voting: Class 8(b) is Impaired, and Holders of Municipal Opioid Claims
                                are entitled to vote to accept or reject the Plan.

                  c.    Class 8(c) — Tribe Opioid Claims

                        (i)     Classification: Class 8(c) consists of all Tribe Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all Tribe Opioid Claims shall
                                automatically, and without further act, deed, or court order, be channeled
                                exclusively to, and all of Mallinckrodt’s liability for Tribe Opioid Claims
                                shall be assumed by, the TAFT II; provided, however, for the avoidance
                                of doubt, for all purposes of this Plan, all Tribe Opioid Claims shall be
                                channeled only to the Tribe entity constituting a trust under State law (and
                                not to any limited liability companies or other Person included within the
                                definition of TAFT II). Each Tribe Opioid Claim shall be resolved solely
                                in accordance with the terms, provisions, and procedures of the TAFT II
                                Documents and shall receive a recovery, if any, from the Tribe Opioid
                                Claims Share. The TAFT II shall be funded in accordance with the
                                provisions of this Plan. The sole recourse of any Tribe Opioid Claimant
                                on account of its Tribe Opioid Claim shall be to the TAFT II, and each
                                such Tribe Opioid Claimant shall have no right whatsoever at any time to
                                assert its Tribe Opioid Claim against any Protected Party, shall be enjoined
                                from filing against any Protected Party any future litigation, Claims or
                                Causes of Action arising out of or related to such Tribe Opioid Claims,


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                                            and may not proceed in any manner against any Protected Party on account
                                            of such Tribe Opioid Claims in any forum whatsoever, including any state,
                                            federal, or non-U.S. court or administrative or arbitral forum.
                                            Distributions made by the TAFT II in respect of Tribe Opioid Claims shall
                                            be used solely for Approved Uses, in accordance with the TAFT II
                                            Documents.

                                 (iii)      Voting: Class 8(c) is Impaired, and Holders of Tribe Opioid Claims are
                                            entitled to vote to accept or reject the Plan.
                                                                                                 3
                      d.         Class 8(d) — U.S. Government Opioid Claims

                                 (i)        Classification: Class 8(d) consists of all U.S. Government Opioid Claims.

                                 (ii)       Treatment: As of the Effective Date, all U.S. Government Opioid Claims
                                            shall automatically, and without further act, deed, or court order, be
                                            channeled exclusively to, and all of Mallinckrodt’s liability for U.S.
                                            Government Opioid Claims shall be assumed by, the Opioid MDT II.
                                            Each U.S. Government Opioid Claim shall be resolved solely in
                                            accordance with the terms, provisions, and procedures of the Opioid MDT
                                            II Documents, which will provide that (a) the FHCA Opioid Claimants
                                            shall receive, in full and final satisfaction, the FHCA Opioid Claims Share
                                            and (b) the holders of U.S. Government Opioid Claims that are not FHCA
                                            Opioid Claims shall receive the treatment set forth in Class 9(h). The
                                            Opioid MDT II shall be funded in accordance with the provisions of this
                                            Plan. Other than Class 9(h) Claims held by the U.S. Government, the sole
                                            recourse of any U.S. Government Opioid Claimant on account of its U.S.
                                            Government Opioid Claim shall be to the Opioid MDT II (but not to any
                                            Opioid Creditor Trust), and each such U.S. Government Opioid Claimant
                                            shall have no right whatsoever at any time to assert its U.S. Government
                                            Opioid Claim against any Protected Party, shall be enjoined from filing
                                            against any Protected Party any future litigation, Claims or Causes of
                                            Action arising out of or related to such U.S. Government Opioid Claims,
                                            and may not proceed in any manner against any Protected Party on account
                                            of such U.S. Government Opioid Claims in any forum whatsoever,
                                            including any state, federal, or non-U.S. court or administrative or arbitral
                                            forum.

                                 (iii)      Voting: Class 8(d) is Impaired, and Holders of U.S. Government Opioid
                                            Claims are entitled to vote to accept or reject the Plan.

          9.          Class 9 — Non-Governmental Opioid Claims

                      a.         Class 9(a) — Third-Party Payor Opioid Claims

                                 (i)        Classification: Class 9(a) consists of all Third-Party Payor Opioid Claims.

                                 (ii)       Treatment: As of the Effective Date, all Third-Party Payor Opioid Claims
                                            shall automatically, and without further act, deed, or court order, be

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     For the avoidance of doubt, Class 8(d) Claims will vote pursuant to the Class 8(d) ballot and will not be tabulated as part of, or with, Class
     9(h) Other Opioid Claims.



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                                channeled exclusively to, and all of Mallinckrodt’s liability for Third-
                                Party Payor Opioid Claims shall be assumed by, the Third-Party Payor
                                Trust. Each Third-Party Payor Opioid Claim shall be resolved solely in
                                accordance with the terms, provisions, and procedures of the Third-Party
                                Payor Trust Documents and shall receive a recovery, if any, from the
                                Third-Party Payor Opioid Claims Share, from which shall be deducted any
                                attorneys’ fees paid in accordance with Article IV.X.8 of the Plan. The
                                Third-Party Payor Trust shall be funded in accordance with the provisions
                                of this Plan, and distributions to the Third-Party Payor Trust shall be made
                                in four payments as follows, (i) $1,000,000 paid on the Opioid MDT II
                                Initial Distribution Date, and (ii) three equal payments for the remaining
                                amount of the Third-Party Payor Opioid Claims Share (provided that if the
                                Prepayment Option is exercised after the first payment, subsequent
                                payments will be adjusted accordingly), the first payment made within 5
                                business days of the date that is 180 days after the Effective Date, and the
                                second and third payments made on the first and second anniversaries of
                                the first payment. The sole recourse of any Third-Party Payor Opioid
                                Claimant on account of its Third-Party Payor Opioid Claim shall be to the
                                Third-Party Payor Trust, and each such Third-Party Payor Opioid
                                Claimant shall have no right whatsoever at any time to assert its Third-
                                Party Payor Opioid Claim against any Protected Party, shall be enjoined
                                from filing against any Protected Party any future litigation, Claims or
                                Causes of Action arising out of or related to such Third-Party Payor Opioid
                                Claims, and may not proceed in any manner against any Protected Party
                                on account of such Third-Party Payor Opioid Claims in any forum
                                whatsoever, including any state, federal, or non-U.S. court or
                                administrative or arbitral forum. Distributions made by the Third-Party
                                Payor Trust shall be used solely for Approved Uses, in accordance with
                                the Third-Party Payor Trust Documents, and shall be subject to the Private
                                Opioid Creditor Trust Deductions and Holdbacks.

                        (iii)   Voting: Class 9(a) is Impaired, and Holders of Third-Party Payor Opioid
                                Claims are entitled to vote to accept or reject the Plan.

                  b.    Class 9(b) — PI Opioid Claims

                        (i)     Classification: Class 9(b) consists of all PI Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all PI Opioid Claims shall
                                automatically, and without further act, deed, or court order, be channeled
                                exclusively to, and all of Mallinckrodt’s liability for PI Opioid Claims
                                shall be assumed by, the PI Trust. Each PI Opioid Claim shall be resolved
                                solely in accordance with the terms, provisions, and procedures of the PI
                                Trust Documents and shall receive a recovery, if any, from the PI Opioid
                                Claims Share, from which shall be deducted any attorneys’ fees paid in
                                accordance with Article IV.X.8 of the Plan. The PI Trust shall be funded
                                in accordance with the provisions of this Plan. The sole recourse of any
                                PI Opioid Claimant on account of its PI Opioid Claim shall be to the PI
                                Trust, and each such PI Opioid Claimant shall have no right whatsoever at
                                any time to assert its PI Opioid Claim against any Protected Party, shall be
                                enjoined from filing against any Protected Party any future litigation,


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                                Claims or Causes of Action arising out of or related to such PI Opioid
                                Claims, and may not proceed in any manner against any Protected Party
                                on account of such PI Opioid Claims in any forum whatsoever, including
                                any state, federal, or non-U.S. court or administrative or arbitral forum,
                                and shall be subject to the Private Opioid Creditor Trust Deductions and
                                Holdbacks.

                        (iii)   Voting: Class 9(b) is Impaired, and Holders of PI Opioid Claims are
                                entitled to vote to accept or reject the Plan.

                  c.    Class 9(c) — NAS PI Opioid Claims

                        (i)     Classification: Class 9(c) consists of all NAS PI Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all NAS PI Opioid Claims shall
                                automatically, and without further act, deed, or court order, be channeled
                                exclusively to, and all of Mallinckrodt’s liability for NAS PI Opioid
                                Claims shall be assumed by, the PI Trust. Each NAS PI Opioid Claim
                                shall be resolved solely in accordance with the terms, provisions, and
                                procedures of the PI Trust Documents and shall receive a recovery, if any,
                                from the NAS PI Opioid Claims Share, from which shall be deducted any
                                attorneys’ fees paid in accordance with Article IV.X.8 of the Plan. The PI
                                Trust shall be funded in accordance with the provisions of this Plan. The
                                sole recourse of any NAS PI Opioid Claimant on account of its NAS PI
                                Opioid Claim shall be to the PI Trust, and each such NAS PI Opioid
                                Claimant shall have no right whatsoever at any time to assert its NAS PI
                                Opioid Claim against any Protected Party, shall be enjoined from filing
                                against any Protected Party any future litigation, Claims or Causes of
                                Action arising out of or related to such NAS PI Opioid Claims, and may
                                not proceed in any manner against any Protected Party on account of such
                                NAS PI Opioid Claims in any forum whatsoever, including any state,
                                federal, or non-U.S. court or administrative or arbitral forum, and shall be
                                subject to the Private Opioid Creditor Trust Deductions and Holdbacks.

                        (iii)   Voting: Class 9(c) is Impaired, and Holders of NAS PI Opioid Claims are
                                entitled to vote to accept or reject the Plan.

                  d.    Class 9(d) — Hospital Opioid Claims

                        (i)     Classification: Class 9(d) consists of all Hospital Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all Hospital Opioid Claims shall
                                automatically, and without further act, deed, or court order, be channeled
                                exclusively to, and all of Mallinckrodt’s liability for Hospital Opioid
                                Claims shall be assumed by, the Hospital Trust. Each Hospital Opioid
                                Claim shall be resolved solely in accordance with the terms, provisions,
                                and procedures of the Hospital Trust Documents and shall receive a
                                recovery, if any, from the Hospital Opioid Claims Share, from which shall
                                be deducted any attorneys’ fees paid in accordance with Article IV.X.8 of
                                the Plan. The Hospital Trust shall be funded in accordance with the
                                provisions of this Plan. The sole recourse of any Hospital Opioid Claimant
                                on account of its Hospital Opioid Claim shall be to the Hospital Trust, and


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                                each such Hospital Opioid Claimant shall have no right whatsoever at any
                                time to assert its Hospital Opioid Claim against any Protected Party, shall
                                be enjoined from filing against any Protected Party any future litigation,
                                Claims or Causes of Action arising out of or related to such Hospital
                                Opioid Claims, and may not proceed in any manner against any Protected
                                Party on account of such Hospital Opioid Claims in any forum whatsoever,
                                including any state, federal, or non-U.S. court or administrative or arbitral
                                forum. Distributions made by the Hospital Trust shall be used solely for
                                Approved Uses, in accordance with the Hospital Trust Documents, and
                                shall be subject to the Private Opioid Creditor Trust Deductions and
                                Holdbacks.

                        (iii)   Voting: Class 9(d) is Impaired, and Holders of Hospital Opioid Claims are
                                entitled to vote to accept or reject the Plan.

                  e.    Class 9(e) — Ratepayer Opioid Claims

                        (i)     Classification: Class 9(e) consists of all Ratepayer Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all Ratepayer Opioid Claims shall
                                automatically, and without further act, deed, or court order, be channeled
                                exclusively to, and all of Mallinckrodt’s liability for Ratepayer Opioid
                                Claims shall be assumed by, the Ratepayer Account. The Ratepayer
                                Account will receive a distribution of $3 million in cash from the Opioid
                                MDT II on the Opioid MDT II Initial Distribution Date, which amount
                                shall be gross of applicable Private Opioid Creditor Trust Deductions and
                                Holdbacks, and from which shall be deducted any attorneys’ fees paid in
                                accordance with Article IV.X.8 of the Plan. The sole recourse of any
                                Ratepayer Opioid Claimant on account of its Ratepayer Opioid Claim shall
                                be to the Ratepayer Account, and each such Ratepayer Opioid Claimant
                                shall have no right whatsoever at any time to assert its Ratepayer Opioid
                                Claim against any Protected Party, shall be enjoined from filing against
                                any Protected Party any future litigation, Claims or Causes of Action
                                arising out of or related to such Ratepayer Opioid Claims and may not
                                proceed in any manner against any Protected Party on account of such
                                Ratepayer Opioid Claims in any forum whatsoever, including any state,
                                federal, or non-U.S. court or administrative or arbitral forum.
                                Distributions made by the Ratepayer Account shall be used solely for
                                Approved Uses (which shall include, solely for the Ratepayer Account,
                                contributions to the Truth Initiative Foundation), and shall be subject to
                                the Private Opioid Creditor Trust Deductions and Holdbacks.

                        (iii)   Voting: Class 9(e) is Impaired, and Holders of Ratepayer Opioid Claims
                                are entitled to vote to accept or reject the Plan.

                  f.    Class 9(f) — NAS Monitoring Opioid Claims

                        (i)     Classification: Class 9(f) consists of all NAS Monitoring Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all NAS Monitoring Opioid Claims
                                shall automatically, and without further act, deed, or court order, be
                                channeled exclusively to, and all of Mallinckrodt’s liability for NAS


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                                Monitoring Opioid Claims shall be assumed by, the NAS Monitoring
                                Trust. Each NAS Monitoring Opioid Claim shall be resolved solely in
                                accordance with the terms, provisions, and procedures of the NAS
                                Monitoring Trust Documents. The NAS Monitoring Trust will receive a
                                distribution of $1.5 million in cash from the Opioid MDT II on the Opioid
                                MDT II Initial Distribution Date, which amount shall be gross of
                                applicable Private Opioid Creditor Trust Deductions and Holdbacks, and
                                from which shall be deducted any attorneys’ fees paid in accordance with
                                Article IV.X.8 of the Plan. The sole recourse of any NAS Monitoring
                                Opioid Claimant on account of its NAS Monitoring Opioid Claim shall be
                                to the NAS Monitoring Trust, and each such NAS Monitoring Opioid
                                Claimant shall have no right whatsoever at any time to assert its NAS
                                Monitoring Opioid Claim against any Protected Party, shall be enjoined
                                from filing against any Protected Party any future litigation, Claims or
                                Causes of Action arising out of or related to such NAS Monitoring Opioid
                                Claims, and may not proceed in any manner against any Protected Party
                                on account of such NAS Monitoring Opioid Claims in any forum
                                whatsoever, including any state, federal, or non-U.S. court or
                                administrative or arbitral forum. Distributions made by the NAS
                                Monitoring Trust shall be used solely for Approved Uses, in accordance
                                with the NAS Monitoring Trust Documents, and shall be subject to the
                                Private Opioid Creditor Trust Deductions and Holdbacks.

                        (iii)   Voting: Class 9(e) is Impaired, and Holders of NAS Monitoring Opioid
                                Claims are entitled to vote to accept or reject the Plan.

                  g.    Class 9(g) — Emergency Room Physicians Opioid Claims

                        (i)     Classification: Class 9(g) consists of all Emergency Room Physicians
                                Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all Emergency Room Physicians
                                Opioid Claims shall automatically, and without further act, deed, or court
                                order, be channeled exclusively to, and all of Mallinckrodt’s liability for
                                Emergency Room Physicians Opioid Claims shall be assumed by, the
                                Emergency Room Physicians Trust. Each Emergency Room Physicians
                                Opioid Claim shall be resolved solely in accordance with the terms,
                                provisions, and procedures of the Emergency Room Physicians Trust
                                Documents. The Emergency Room Physicians Trust will receive a
                                distribution of $4.5 million in cash from the Opioid MDT II on the Opioid
                                MDT II Initial Distribution Date, which amount shall be gross of
                                applicable Private Opioid Creditor Trust Deductions and Holdbacks, and
                                from which shall be deducted any attorneys’ fees paid in accordance with
                                Article IV.X.8 of the Plan. The sole recourse of any Emergency Room
                                Physicians Opioid Claimant on account of its Emergency Room
                                Physicians Opioid Claim shall be to the Emergency Room Physicians
                                Trust, and each such Emergency Room Physicians Opioid Claimant shall
                                have no right whatsoever at any time to assert its Emergency Room
                                Physicians Opioid Claim against any Protected Party, shall be enjoined
                                from filing against any Protected Party any future litigation, Claims or
                                Causes of Action arising out of or related to such Emergency Room


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                                Physicians Opioid Claims, and may not proceed in any manner against any
                                Protected Party on account of such Emergency Room Physicians Opioid
                                Claims in any forum whatsoever, including any state, federal, or non-U.S.
                                court or administrative or arbitral forum. Distributions made by the
                                Emergency Room Physicians Trust shall be used solely for Approved
                                Uses, in accordance with the Emergency Room Physicians Trust
                                Documents, and shall be subject to the Private Opioid Creditor Trust
                                Deductions and Holdbacks.

                        (iii)   Voting: Class 9(g) is Impaired, and Holders of Emergency Room
                                Physicians Opioid Claims are entitled to vote to accept or reject the Plan.

                  h.    Class 9(h) — Other Opioid Claims

                        (i)     Classification: Class 9(h) consists of all Other Opioid Claims.

                        (ii)    Treatment: As of the Effective Date, all Other Opioid Claims shall
                                automatically, and without further act, deed, or court order, be channeled
                                exclusively to, and all of Mallinckrodt’s liability for Other Opioid Claims
                                shall be assumed by, the Opioid MDT II. Each Other Opioid Claim shall
                                be resolved solely in accordance with the terms, provisions, and
                                procedures of the Opioid MDT II Documents and shall receive a recovery,
                                if any, solely in the amount of its respective Other Opioid Claimant Pro
                                Rata Share. The sole recourse of any Other Opioid Claimant on account
                                of its Other Opioid Claim shall be to its Other Opioid Claimant Pro Rata
                                Share, and each such Other Opioid Claimant shall have no right
                                whatsoever at any time to assert its Other Opioid Claim against any
                                Protected Party, shall be enjoined from filing against any Protected Party
                                any future litigation, Claims or Causes of Action arising out of or related
                                to such Other Opioid Claims, and may not proceed in any manner against
                                any Protected Party on account of such Other Opioid Claims in any forum
                                whatsoever, including any state, federal, or non-U.S. court or
                                administrative or arbitral forum.

                        (iii)   Voting: Class 9(h) is Impaired, and Holders of Other Opioid Claims are
                                entitled to vote to accept or reject the Plan.

                  i.    Class 9(i) — No Recovery Opioid Claims

                        (i)     Classification: Class 9(i) consists of all No Recovery Opioid Claims.

                        (ii)    Treatment: No Recovery Opioid Claims shall be discharged, cancelled,
                                and extinguished on the Effective Date. Each Holder of No Recovery
                                Opioid Claims shall receive no recovery or distribution on account of such
                                No Recovery Opioid Claims. Notwithstanding the foregoing, if a No
                                Recovery Opioid Claim becomes Allowed after the Effective Date under
                                section 502(j) of the Bankruptcy Code, it shall be treated as an Other
                                Opioid Claim.

                        (iii)   Voting: Class 9(i) is Impaired and Holders of Class 9(i) No Recovery
                                Opioid Claims are deemed to have rejected the Plan pursuant to section
                                1126(g) of the Bankruptcy Code. Therefore, Holders of Class 9(i) No


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                                 Recovery Opioid Claims are not entitled to vote to accept or reject the
                                 Plan.

                  j.     Class 9(j) — Released Co-Defendant Claims

                         (i)     Classification: Class 9(j) consists of all Co-Defendant Claims held by
                                 Released Co-Defendants.

                         (ii)    Treatment: In full and final satisfaction and release of each Co-Defendant
                                 Claim held by a Released Co-Defendant, the Holder thereof shall (i) not
                                 receive or retain any property on account of such Co-Defendant Claim and
                                 not have any recourse to any Debtor or any Assets of any Debtor, any
                                 Estate or any Assets of any Estate, any other Protected Party or any Assets
                                 of any Protected Party, or any of the Opioid MDT II or Opioid Creditor
                                 Trusts and any Assets of the Opioid MDT II and the Opioid Creditor Trusts
                                 but (ii) retain its Co-Defendant Defensive Rights, which may be exercised
                                 solely in accordance with Article IX. As of the Effective Date, Co-
                                 Defendant Claims held by a Released Co-Defendant shall be deemed
                                 expunged, released and extinguished without further action by or order of
                                 the Bankruptcy Court, and shall be of no further force or effect.
                                 Notwithstanding the release, satisfaction, expungement and
                                 extinguishment of Co-Defendant Claims, a Co-Defendant retains its Co-
                                 Defendant Defensive Rights, which includes the ability to recover from
                                 Persons that are not Protected Parties or from any insurance policies that
                                 are not Opioid Insurance Policies or other insurance policies of Protected
                                 Parties. For the avoidance of doubt, Released Co-Defendant Claims do
                                 not include Claims against the Reorganized Debtors (i) accruing after the
                                 Effective Date for conduct occurring after the Effective Date, (ii) for any
                                 amounts, if any, due to a Co-Defendant as a result of the New York Opioid
                                 Stewardship Act (2018 N.Y. Sess. Laws, ch. 57, pt. NN 7 (codified at N.Y.
                                 Pub. Health Law § 3323 and N.Y. State Fin. Law § 97-aaaaa)) or (iii) for
                                 any Co-Defendant Surviving Pre-Effective Date Claim.

                         (iii)   Voting: Released Co-Defendant Claims are Impaired. Holders of
                                 Released Co-Defendant Claims are deemed to reject this Plan pursuant to
                                 section 1126(g) of the Bankruptcy Code. Therefore, Holders of Co-
                                 Defendant Claims are not entitled to vote to accept or reject this Plan and
                                 the votes of such Released Co-Defendants will not be solicited with
                                 respect to their Co-Defendant Claims.

         10.      Class 10 — Settled Federal/State Acthar Claims

                  a.     Classification: Class 10 consists of all Settled Federal/State Acthar Claims.

                  b.     Treatment: Except to the extent that a Holder of an Allowed Settled Federal/State
                         Acthar Claim agrees to less favorable treatment, in exchange for full and final
                         satisfaction, settlement, release, and discharge of each Allowed Settled
                         Federal/State Acthar Claim, each Holder of an Allowed Settled Federal/State
                         Acthar Claim shall be resolved in accordance with the terms, provisions, and
                         procedures of the Federal/State Acthar Settlement Agreements.




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                  c.     Voting: Class 10 is Impaired, and Holders of Settled Federal/State Acthar Claims
                         are entitled to vote to accept or reject the Plan.

         11.      Class 11 — Intercompany Claims

                  a.     Classification: Class 11 consists of all Intercompany Claims.

                  b.     Treatment: No property will be distributed to the Holders of allowed
                         Intercompany Claims. Unless otherwise provided for under the Plan, each
                         Intercompany Claim will either be Reinstated or canceled and released at the
                         option of the Debtors in consultation with the Required Supporting Unsecured
                         Noteholders, the Supporting Term Lenders, the Governmental Plaintiff Ad Hoc
                         Committee, and the MSGE Group.

                  c.     Voting: Class 11 is either (i) Unimpaired and Holders of Class 11 Intercompany
                         Claims are conclusively presumed to have accepted the Plan pursuant to section
                         1126(f) of the Bankruptcy Code or (ii) Impaired and Holders of Class 11
                         Intercompany Claims are deemed to have rejected the Plan pursuant to section
                         1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 11
                         Intercompany Claims are not entitled to vote to accept or reject the Plan.

         12.      Class 12 — Intercompany Interests

                  a.     Classification: Class 12 consists of all Intercompany Interests.

                  b.     Treatment: No property will be distributed to the Holders of allowed
                         Intercompany Interests. Unless otherwise provided for under the Plan, each
                         Intercompany Interest will either be Reinstated or canceled and released at the
                         option of the Debtors in consultation with the Required Supporting Unsecured
                         Noteholders, the Governmental Plaintiff Ad Hoc Committee, and the MSGE
                         Group.

                  c.     Voting: Class 12 is either (i) Unimpaired and Holders of Class 12 Intercompany
                         Interests are conclusively presumed to have accepted the Plan pursuant to section
                         1126(f) of the Bankruptcy Code or (ii) Impaired and Holders of Class 12
                         Intercompany Interests are deemed to have rejected the Plan pursuant to section
                         1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 12
                         Intercompany Interests are not entitled to vote to accept or reject the Plan.

         13.      Class 13 — Subordinated Claims

                  a.     Classification: Class 13 consists of all Subordinated Claims.

                  b.     Treatment: Subordinated Claims shall be discharged, cancelled, and extinguished
                         on the Effective Date. Each Holder of Subordinated Claims shall receive no
                         recovery or distribution on account of such Subordinated Claims.

                  c.     Voting: Class 13 is Impaired and Holders of Class 13 Subordinated Claims are
                         deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
                         Code. Therefore, Holders of Class 13 Subordinated Claims are not entitled to vote
                         to accept or reject the Plan.




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          14.      Class 14 — Equity Interests

                   d.       Classification: Class 14 consists of all Equity Interests.

                   e.       Treatment: Holders of Equity Interests shall receive no distribution on account of
                            their Equity Interests. On the Effective Date, all Equity Interests will be canceled
                            and extinguished and will be of no further force or effect.

                   f.       Voting: Class 14 is Impaired and Holders of Class 14 Equity Interests are deemed
                            to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
                            Therefore, Holders of Class 14 Equity Interests are not entitled to vote to accept or
                            reject the Plan.

 C.       Acceptance or Rejection of the Plan

          1.       Presumed Acceptance of Plan

         Claims in Classes 1 and 2(a) are Unimpaired under the Plan and their Holders are conclusively
 presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders
 of Claims and Interests in Classes 1 and 2(a) are not entitled to vote on the Plan and the votes of such
                                 4
 Holders shall not be solicited.

          2.       Voting Classes

          Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(g), 7, 8(a)-(d), 9(a)-(h), and 10 are Impaired under the Plan
 and the Holders of Allowed Claims in all such Classes are entitled to vote to accept or reject the Plan,
                                                              5
 including by acting through a Voting Representative. For purposes of determining acceptance and
 rejection of the Plan, each such Class (including each Class identified by a number and letter) will be
 regarded as a separate voting Class and votes will be tabulated on a Debtor-by-Debtor basis.

          An Impaired Class of Claims shall have accepted this Plan if (a) the Holders, including Holders
 acting through a Voting Representative, of at least two-thirds (2/3) in amount of Claims actually voting in
 such Class have voted to accept this Plan and (b) the Holders, including Holders acting through a Voting
 Representative, of more than one-half (1/2) in number of Claims actually voting in such Class have voted
 to accept this Plan. Holders of Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(g), 7, 8(a)-(d), 9(a)-(h), and 10 (or,
 if applicable, the Voting Representatives of such Holders) shall receive ballots containing detailed voting
 instructions. For the avoidance of doubt, pursuant to and except as otherwise provided in the Disclosure
 Statement Order, each Claim in (x) Classes 8(a)-(d) and 9(a)-(h) and (y) any other Class entitled to vote to
 accept or reject the Plan that is not Allowed pursuant to the Plan and, in each case, is wholly contingent,
 unliquidated, or disputed (based on the face of such Proof of Claim or as determined upon the review of the
 Debtors), in each case, shall be accorded one (1) vote and valued at one dollar ($1.00) for voting purposes
 only, and not for purposes of Allowance or distribution. Based on the foregoing sentence, Classes 8(a)-(d)
 and 9(a)-(h) shall be deemed to have accepted this Plan if the Holders, including Holders acting through a



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      The Plan provides for potential treatment which would render Claims in Classes 2(b), 2(c), and 3 Unimpaired, in
      which case such Claims would be conclusively presumed to accept the Plan, and Holders of such Claims would
      not be entitled to vote.
 5
      Holders of Claims in Class 2(b), Class 2(c), and Class 3 are entitled to vote, but the Plan provides for potential
      treatment which would render these Claims Unimpaired, in which case such Claims would be conclusively
      presumed to accept the Plan, and any votes by Holders of such Claims will be moot and disregarded.

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 Voting Representative, of at least two-thirds (2/3) in number of Claims actually voting in such Class have
 voted to accept the Plan.

         3.       Deemed Rejection of the Plan

          Claims and Interests in Classes 9(i), 9(j), 13, and 14 are Impaired under the Plan and their Holders
 shall receive no distributions under the Plan on account of their Claims or Interests (as applicable) and are
 deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders
 of Claims and Interests in Classes 9(i), 9(j),13, and 14 are not entitled to vote on the Plan and the votes of
 such Holders shall not be solicited.

         4.       Presumed Acceptance of the Plan or Deemed Rejection of the Plan

         Claims and Interests in Classes 11 and 12 are either (a) Unimpaired and are, therefore, conclusively
 presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
 and shall receive no distributions under the Plan and are, therefore, deemed to have rejected the Plan
 pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in Classes
 11 and 12 are not entitled to vote on the Plan and votes of such Holders shall not be solicited.

 D.      Confirmation Pursuant to Section 1129(a)(10) of the Bankruptcy Code

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
 acceptance of the Plan by an Impaired Class of Claims. The Debtors shall seek Confirmation pursuant to
 section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The
 Debtors reserve the right to modify the Plan in accordance with Article XI of the Plan to the extent, if any,
 that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by
 modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or
 Interests Unimpaired to the extent permitted by the Bankruptcy Code and Bankruptcy Rules.

 E.      Subordinated Claims

          The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
 distributions and treatments under the Plan, shall take into account and conform to the relative priority and
 rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
 subordination rights relating thereto, whether arising under general principles of equitable subordination,
 section 510 of the Bankruptcy Code, or otherwise; provided that, notwithstanding the foregoing, such
 Allowed Claims or Interests and their respective treatments set forth herein shall not be subject to setoff,
 demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery asserted
 by any Person. Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided herein,
 the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance with
 any contractual, legal, or equitable subordination rights relating thereto.

 F.      Special Provision Governing Unimpaired Claims

         Except as otherwise provided herein, nothing under the Plan shall affect or limit the Debtors’ or
 the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
 Claims, including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
 recoupments against, any such Unimpaired Claims.

 G.      Vacant and Abstaining Classes

        Any Class of Claims or Interests that is not occupied as of the commencement of the Confirmation
 Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under

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 Bankruptcy Rule 3018 shall be deemed eliminated from the Plan for purposes of voting to accept or reject
 the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant to
 section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the
 commencement of the Confirmation Hearing by an Allowed Claim or a Claim temporarily Allowed under
 Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept the Plan pursuant to
 section 1129(a)(8) of the Bankruptcy Code.

 H.      Intercompany Interests and Intercompany Claims

          To the extent Intercompany Interests and Intercompany Claims are Reinstated under the Plan,
 distributions on account of such Intercompany Interests and Intercompany Claims are not being received
 by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany
 Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain the
 Debtors’ (and their Affiliate-subsidiaries) corporate structure, for the ultimate benefit of the Holders of New
 Mallinckrodt Ordinary Shares, to preserve ordinary course intercompany operations, and in exchange for
 the Debtors’ and Reorganized Debtors’ agreement under the Plan to make certain distributions to the
 Holders of Allowed Claims.

 I.      New Credit Facilities

          For the avoidance of doubt and notwithstanding anything to the contrary herein, to the extent
 incurred prior to the Effective Date, the New Credit Facilities shall survive the Effective Date and shall not
 be entitled to treatment within any Class set forth herein.

                                                  Article IV.

                           MEANS FOR IMPLEMENTATION OF THE PLAN

 A.      General Settlement of Claims and Interests

          In consideration for the classification, distributions, releases, and other benefits provided under the
 Plan, on the Effective Date, the provisions of the Plan shall constitute a set of integrated, good-faith
 compromises and settlements of all Claims, Interests, Causes of Action and controversies resolved pursuant
 to the Plan. The Plan shall be deemed a motion by the Debtors to approve such compromises and
 settlements (including but not limited to the UCC Settlement and the OCC Settlement) pursuant to
 Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code, and the entry of the Confirmation Order
 shall constitute the Bankruptcy Court’s approval of such compromises and settlements under Bankruptcy
 Rule 9019 and section 1123 of the Bankruptcy Code, as well as a finding by the Bankruptcy Court that such
 integrated compromises or settlements are in the best interests of the Debtors, their Estates and Holders of
 Claims and Interests, and are fair, equitable and within the range of reasonableness. Subject to Article VI,
 distributions made to Holders of Allowed Claims and Allowed Interests in any Class are intended to be and
 shall be final and indefeasible and shall not be subject to avoidance, turnover, or recovery by any other
 Person.

 B.      Restructuring Transactions

         On or prior to the Effective Date or as soon as reasonably practicable thereafter, the Reorganized
 Debtors shall, consistent with the terms of the Restructuring Support Agreement and subject to the
 applicable consent and approval rights thereunder, take all actions as may be necessary or appropriate to
 effect any transaction described in, approved by, contemplated by or necessary to effectuate the
 Restructuring Transactions (including any transaction described in, approved by, contemplated by, or
 necessary to effectuate the Plan), and as set forth in the Restructuring Transactions Memorandum,


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 including: (a) the creation of NewCo and/or any NewCo Subsidiaries that may, at the Debtors’ or
 Reorganized Debtors’ option in consultation with the Supporting Parties, acquire all or substantially all the
 assets of one or more of the Debtors; (b) the execution and delivery of appropriate agreements or other
 documents of sale, merger, consolidation, or reorganization containing terms that are consistent with the
 terms of the Plan and that satisfy the requirements of applicable law; (c) the execution and delivery of the
 Transfer Agreement and any other appropriate instruments of transfer, assignment, assumption, or
 delegation of any property, right, liability, duty, or obligation on terms consistent with the terms of the Plan;
 (d) the filing of appropriate certificates of incorporation, merger, migration, consolidation, or other
 organizational documents with the appropriate governmental authorities pursuant to applicable law; and
 (e) all other actions that the Reorganized Debtors determine are necessary or appropriate.

          The Restructuring Transactions shall not (a) adversely affect the recoveries under the Plan of
 (i) holders of Guaranteed Unsecured Notes Claims without the consent of the Required Supporting
 Unsecured Noteholders or (ii) the holders of Opioid Claims without the consent of the Governmental
 Plaintiff Ad Hoc Committee and the MSGE Group, or (b) materially adversely affect the rights or recoveries
 under the Plan of the holders of First Lien Term Loan Claims without the consent of the Required
 Supporting Term Lenders.

          The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and section 363
 of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
 effect any transaction described in, approved by, contemplated by, or necessary to effectuate Restructuring
 Transactions (including any transaction described in, approved by, contemplated by, or necessary to
 effectuate the Plan).

 C.      Corporate Existence

         Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective
 Date as a separate corporate Entity, limited liability company, partnership, or other form, as the case may
 be, with all the powers of a corporation, limited liability company, partnership, or other form, as the case
 may be, pursuant to the applicable law in the jurisdiction in which each Debtor is incorporated or formed
 and pursuant to the respective memorandum and articles of association, certificate of incorporation and
 bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent such
 memorandum and articles of association, certificate of incorporation and bylaws (or other formation
 documents) are amended by the Plan, by the Debtors, or otherwise, and to the extent such documents are
 amended, such documents are deemed to be amended pursuant to the Plan and require no further action or
 approval (other than any requisite filings required under applicable state, provincial, or federal law).

 D.      Vesting of Assets in the Reorganized Debtors

          Except as otherwise provided in the Plan or any agreement, instrument, or other document
 incorporated herein, including the Restructuring Transactions Memorandum, on the Effective Date, all
 property of each Debtor’s Estate, including (a) all Causes of Action other than (i) the Assigned Third-Party
 Claims, and (ii) the Assigned Insurance Rights, (b) Excluded Insurance Policies, and (c) any property
 acquired by any of the Debtors pursuant to the Plan, in each case, shall vest in each respective Reorganized
 Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective
 Date, except as otherwise provided in the Plan and the Opioid Operating Injunction, each Reorganized
 Debtor may operate its business and may use, acquire, encumber, or dispose of property and compromise
 or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, including for the avoidance
 of doubt any restrictions on the use, acquisition, sale, lease, or disposal of property under section 363 of the
 Bankruptcy Code.



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        Reorganized Mallinckrodt shall not, and neither shall any of its other subsidiaries, other than the
 Reorganized VI-Specific Debtors, be involved in the sale or distribution of opioids classified as DEA
                                    6
 Schedule II–IV drugs in the future.

 E.         Indemnification Provisions in Organizational Documents

           As of the Effective Date, each Reorganized Debtor’s memorandum and articles of association,
 bylaws, and other New Governance Documents shall, to the fullest extent permitted by applicable law,
 provide for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and
 advancement of fees and expenses to, current and former managers, directors, officers, equity holders,
 members, employees, accountants, investment bankers, attorneys, other professionals, or agents of the
 Debtors and such current and former managers’, directors’, officers’, equity holders’, members’,
 employees’, accountants’, investment bankers’, attorneys’, other professionals’ and agents’ respective
 Affiliates to the same extent as set forth in the Indemnification Provisions, against any claims or causes of
 action whether direct or derivative, liquidated or unliquidated, fixed, or contingent, disputed or undisputed,
 matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted. None of the
 Reorganized Debtors shall amend and/or restate its memorandum and articles of association, certificate of
 incorporation, bylaws, or similar organizational document after the Effective Date to terminate or adversely
 affect, in relation to conduct occurring prior to the Effective Date, (1) any of the Indemnification Provisions
 or (2) the rights of such current and former managers, directors, officers, equity holders, members,
 employees, or agents of the Debtors and such current and former managers’, directors’, officers’, equity
 holders’, members’, employees’, and agents’ respective Affiliates referred to in the immediately preceding
 sentence.

 F.         Cancellation of Notes, Instruments, Certificates, Agreements, and Equity Interests

              Except as otherwise provided for in the Plan and/or, as the case may be, the Scheme of
     Arrangement, on the later of the Effective Date and the date on which the relevant distributions are made
     pursuant to Article VI and without further notice to or order of the Bankruptcy Court, act or action under
     applicable law, regulation, order, or rule or any requirement of further action, vote or other approval or
     authorization by any Person or Entity: (1) (a) the obligations of the Debtors under the First Lien Credit
     Agreement, the Second Lien Notes Indenture, the Guaranteed Unsecured Notes Indentures, the 2013
     Notes Indenture, the 1992 Ludlow Debentures Indenture, and the 1993 Ludlow Debentures Indenture,
     the Guaranteed Unsecured Notes, the 4.75% Senior Notes due 2023, the 8.00% Debentures due March
     2023, the 9.5% Debentures due May 2022, and any other note, bond, indenture, or other instrument or
     document directly or indirectly evidencing or creating any indebtedness of the Debtors and (b) any
     certificate, equity security, share, purchase right, option, warrant, or other instrument or document
     directly or indirectly evidencing or creating an ownership interest in the Debtors shall be cancelled solely
     as to the Debtors and their Affiliates, and the Reorganized Debtors and their Affiliates shall not have any
     continuing obligations thereunder; and (2) the obligations of the Debtors and their Affiliates pursuant,
     relating or pertaining to any agreements, indentures, certificates of designation, bylaws or certificate or
     articles of incorporation or similar documents governing the shares, certificates, notes, bonds, indentures,
     purchase rights, options, or other instruments or documents evidencing or creating any indebtedness or
     obligation of or ownership interest in the Debtors shall be released, terminated, extinguished, and
     discharged; except that the foregoing shall not affect any Intercompany Interests elected to be Reinstated
     in accordance with the Plan; provided, that the First Lien Credit Agreement, Second Lien Notes
     Indenture, Guaranteed Unsecured Notes Indentures, 4.75% Unsecured Notes Indenture and the Legacy

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       This paragraph is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and
       in the event of any inconsistency between this section and the Voluntary Injunction and the Opioid Operating
       Injunction, the Voluntary Injunction and the Opioid Operating Injunction, as applicable, will govern.

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  Unsecured Notes Indentures and each agreement or other document related thereto, as applicable, will
  continue in effect for the limited purpose of allowing Holders of First Lien Credit Agreement Claims,
  Holders of Second Lien Notes Claims, Holders of Guaranteed Unsecured Notes Claims, Holders of
  4.75% Unsecured Notes Claims, and Holders of Legacy Unsecured Notes Claims thereunder,
  respectively, to receive, and allowing and preserving the rights of the First Lien Agent, the Second Lien
  Notes Indenture Trustee, the Guaranteed Unsecured Notes Indenture Trustee, the 4.75% Unsecured
  Notes Indenture Trustee, the Legacy Unsecured Notes Indenture Trustee or other applicable Distribution
  Agents thereunder to make, or cause to be made the distributions under or in connection with this Plan
  to the applicable Holders; provided, further, that, upon completion of the distribution with respect to a
  specific First Lien Credit Agreement Claim, Second Lien Notes Claim, or, in the case of the Guaranteed
  Unsecured Notes Claims, pursuant to Article VI.D.4 in respect of the distributions on the specific
  Allowed Guaranteed Unsecured Notes Claims, the First Lien Credit Agreement, the Second Lien Notes
  Indenture, or the Guaranteed Unsecured Notes Indenture, in connection thereto and any and all
  documents, notes, securities and instruments issued in connection with such First Lien Credit Agreement
  Claim, such Second Lien Notes Claim, or such Guaranteed Unsecured Notes Claim, as applicable, shall
  terminate completely without further notice or action and be deemed surrendered; provided, further, that
  provisions relating to the charging lien and indemnification obligations of the holders of Second Lien
  Notes shall survive the Second Lien Notes Indenture; provided, further that the First Lien Credit
  Agreement shall continue in effect for the purpose of permitting the First Lien Agent to assert any right
  to indemnification, contribution, or other claim it may have under the First Lien Credit Agreement except
  against the Debtors, the Reorganized Debtors, and their respective subsidiaries; provided, further, that
  the Guaranteed Unsecured Notes Indentures, the 4.75% Unsecured Notes Indenture, and the Legacy
  Unsecured Notes Indentures and all documents, notes securities and instruments issued in connection
  therewith shall continue in effect for the limited purpose of allowing and preserving the rights, privileges,
  benefits, indemnities, and protections of the Guaranteed Unsecured Notes Indenture Trustee, the 4.75%
  Unsecured Notes Indenture, and the Legacy Unsecured Notes Indenture Trustee (each acting in any
  capacity, including as a Distribution Agent) thereunder, including, without limitation, permitting the
  Guaranteed Unsecured Notes Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, and the
  Legacy Unsecured Notes Indenture Trustee to exercise any lien granted to it under the applicable
  Guaranteed Unsecured Notes Indenture, the 4.75% Unsecured Notes Indenture, or Legacy Unsecured
  Notes Indenture against such distributions for payment of any fees and expenses of the Guaranteed
  Unsecured Notes Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, or the Legacy
  Unsecured Notes Indenture Trustee, including any unpaid portion of the Indenture Trustee Fees or any
  unpaid fees and expenses of the 4.75% Unsecured Notes Indenture Trustee or the Legacy Unsecured
  Notes Indenture Trustee; provided, further, no provisions of the First Lien Credit Agreement, Second
  Lien Notes Indenture, Guaranteed Unsecured Notes Indentures, 4.75% Unsecured Notes Indenture, or
  the Legacy Unsecured Notes Indentures that impose liabilities on the Debtors shall survive. For the
  avoidance of doubt, nothing contained in this Plan or the Confirmation Order shall in any way limit or
  affect the standing of the First Lien Agent, the Second Lien Notes Indenture Trustee, the Second Lien
  Notes Collateral Agent, the Guaranteed Unsecured Notes Indenture Trustee, the 4.75% Unsecured Notes
  Indenture Trustee, or the Legacy Unsecured Notes Indenture Trustee to appear and be heard in the
  Chapter 11 Cases or any other proceeding in which they are or may become party on and after the
  Effective Date, to enforce any provisions of this Plan or otherwise. For the avoidance of doubt and
  notwithstanding anything to the contrary herein, to the extent incurred prior to the Effective Date, the
  New Credit Facilities shall survive the Effective Date and shall not be terminated in accordance herewith.

 G.      Sources for Plan Distributions and Transfers of Funds Among Debtors

         The Debtors shall fund Cash distributions under the Plan with Cash on hand, including Cash from
 operations, and the proceeds of the New Term Loan Facility. Cash payments to be made pursuant to the
 Plan will be made by the Reorganized Debtors in accordance with Article VI. Subject to any applicable


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 limitations set forth in any post-Effective Date agreement (including the New Governance Documents), the
 Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine to
 be necessary or appropriate to enable the Reorganized Debtors to satisfy their obligations under the Plan.
 Except as set forth herein, any changes in intercompany account balances resulting from such transfers will
 be accounted for and settled in accordance with the Debtors’ historical intercompany account settlement
 practices and will not violate the terms of the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations
 set forth in any post-Effective Date agreement (including the New Governance Documents, the New
 Takeback Term Loans Documentation, the New Second Lien Notes Documentation, and the Takeback
 Second Lien Notes Documentation), shall have the right and authority without further order of the
 Bankruptcy Court to raise additional capital and obtain additional financing in accordance with, and subject
 to, applicable law.

 H.      New Credit Facilities, New Takeback Term Loans, Takeback Second Lien Notes, Cram-Down
         First Lien Notes, and New Second Lien Notes

                        1.      The New Credit Facilities and Approval of the New Term Loan
                  Documentation and New AR Revolving Facility Documentation

           To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
 shall be deemed to constitute authorization and approval by the Bankruptcy Court (a) of the New Credit
 Facilities, (b) of the New Term Loan Documentation and New AR Revolving Facility Documentation
 (including all transactions contemplated thereby, and all actions to be taken, undertakings to be made and
 obligations to be incurred by the Reorganized Debtors in connection therewith, including the payment of
 all fees, indemnities and expenses provided for therein), and (c) subject to the occurrence of the Effective
 Date, for the applicable Reorganized Debtors to enter into and perform their obligations under the New
 Term Loan Documentation and New AR Revolving Facility Documentation and such other documents as
 may be reasonably required or appropriate. For the avoidance of doubt, if the New Takeback Term Loans
 are issued pursuant to the Plan, the incurrence of (x) the New Term Loan Facility shall utilize the baskets
 for Revolver Replacement Term Loans (as defined in the Supporting Term Lenders Joinder Agreement)
 and may use other baskets (solely to the extent available) and (y) the New AR Revolving Facility shall
 utilize the baskets for Qualified Receivables Facilities (as defined in the Supporting Term Lenders Joinder
 Agreement) and may use other baskets (solely to the extent available), in each case, set forth in and subject
 to the negative covenants limiting the incurrence of indebtedness and liens under the New Takeback Term
 Loan Documentation.

          On the Effective Date, the New Term Loan Documentation and New AR Revolving Facility
 Documentation shall constitute legal, valid, binding, and authorized obligations of the Reorganized
 Debtors, enforceable in accordance with their terms. The financial accommodations to be extended
 pursuant to the New Term Loan Documentation and New AR Revolving Facility Documentation are being
 extended, and shall be deemed to have been extended, in good faith, for legitimate business purposes, are
 reasonable, shall not be subject to avoidance, recharacterization, or subordination (including equitable
 subordination) for any purposes whatsoever, and shall not constitute preferential transfers, fraudulent
 conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable non-
 bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted under the New
 Term Loan Documentation and New AR Revolving Facility Documentation (1) shall be legal, binding, and
 enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
 New Term Loan Documentation and New AR Revolving Facility Documentation (and with the priority set
 forth therein), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall not be subject
 to avoidance, recharacterization, or subordination (including equitable subordination) for any purposes
 whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other voidable

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 transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and
 the Entities granting such Liens and security interests are authorized to make all filings and recordings, and
 to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
 interests under the provisions of the applicable state, provincial, federal, or other law (whether domestic or
 foreign) that would be applicable in the absence of the Plan and the Confirmation Order (it being understood
 that perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such
 filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all
 other filings and recordings that otherwise would be necessary under applicable law to give notice of such
 Liens and security interests to third parties.

         For the avoidance of doubt, subject to the entry of an order of the Bankruptcy Court approving such
 incurrence, either or both of the New Credit Facilities may be incurred by the Debtors as debtor-in-
 possession financing prior to the Effective Date. To the extent incurred by the Debtors prior to the Effective
 Date, such New Credit Facilities shall survive the occurrence of the Effective Date in accordance with the
 terms of this Plan.

                        2.      New Takeback Term Loans and Approval of New Takeback Term Loans
                  Documentation

          To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
 shall be deemed to constitute approval by the Bankruptcy Court of the New Takeback Term Loans and the
 New Takeback Term Loans Documentation (including all transactions contemplated thereby, and all
 actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
 connection therewith, including the incurrence of Liens securing the New Takeback Term Loans and the
 payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
 of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
 obligations under the New Takeback Term Loans Documentation and such other documents as may be
 reasonably required or appropriate.

          On the Effective Date, the New Takeback Term Loans Documentation shall constitute legal, valid,
 binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms.
 The financial accommodations to be extended pursuant to the New Takeback Term Loans Documentation
 are being extended, and shall be deemed to have been extended, and all related payments made in
 connection therewith shall have been made, in each case, in good faith, for legitimate business purposes,
 are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
 (including equitable subordination) for any purposes whatsoever, and shall not constitute preferential
 transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other
 applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted
 under the New Takeback Term Loans Documentation (1) shall be legal, binding, and enforceable Liens on,
 and security interests in, the collateral granted in accordance with the terms of the New Takeback Term
 Loans Documentation, shall be pari passu in priority to any Liens and security interests securing the First
 Lien Notes or the Cram-Down First Lien Notes (as applicable) and shall rank senior in priority to any Liens
 and security interests securing the Takeback Second Lien Notes and the New Second Lien Notes, (2) shall
 be deemed automatically perfected on the Effective Date, and (3) shall not be subject to avoidance,
 recovery, turnover, recharacterization, or subordination (including equitable subordination) for any
 purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other
 voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized
 Debtors and the Entities granting such Liens and security interests are authorized to make all filings and
 recordings, and to obtain all governmental approvals and consents necessary to establish and perfect such
 Liens and security interests under the provisions of the applicable state, provincial, federal, or other law
 (whether domestic or foreign) that would be applicable in the absence of the Plan and the Confirmation
 Order (it being understood that perfection shall occur automatically by virtue of the entry of the

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 Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required), and
 will thereafter cooperate to make all other filings and recordings that otherwise would be necessary under
 applicable law to give notice of such Liens and security interests to third parties.

                         3.    Takeback Second Lien Notes and Approval of Takeback Second Lien
                  Notes Documentation

          To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
 shall be deemed to constitute approval by the Bankruptcy Court of the Takeback Second Lien Notes and
 the Takeback Second Lien Notes Documentation (including all transactions contemplated thereby, and all
 actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
 connection therewith, including the incurrence of Liens securing the Takeback Second Lien Notes and the
 payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
 of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
 obligations under the Takeback Second Lien Notes Documentation and such other documents as may be
 reasonably required or appropriate.

           On the Effective Date, the Takeback Second Lien Notes Documentation shall constitute legal,
 valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
 terms. The financial accommodations to be extended pursuant to the Takeback Second Lien Notes
 Documentation are being extended, and shall be deemed to have been extended, and all related payments
 made in connection therewith shall have been made, in each case, in good faith, for legitimate business
 purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
 subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
 preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
 any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
 be granted under the Takeback Second Lien Notes Documentation (1) shall be legal, binding, and
 enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
 Takeback Second Lien Notes Documentation, shall be pari passu in priority to any Liens and security
 interests securing the New Second Lien Notes, and shall be junior in priority to any Liens and security
 interests securing the New Takeback Term Loans and the First Lien Notes or the Cram-Down First Lien
 Notes (as applicable), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall not
 be subject to avoidance, recovery, turnover, recharacterization, or subordination (including equitable
 subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
 conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
 The Reorganized Debtors and the Entities granting such Liens and security interests are authorized to make
 all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
 perfect such Liens and security interests under the provisions of the applicable state, provincial, federal, or
 other law (whether domestic or foreign) that would be applicable in the absence of the Plan and the
 Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of
 the Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required),
 and will thereafter cooperate to make all other filings and recordings that otherwise would be necessary
 under applicable law to give notice of such Liens and security interests to third parties.

                         4.    Cram-Down First Lien Notes and Approval of Cram-Down First Lien
                  Notes Documentation

          To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
 shall be deemed to constitute approval by the Bankruptcy Court of the Cram-Down First Lien Notes and
 the Cram-Down First Lien Notes Documentation (including all transactions contemplated thereby, and all
 actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
 connection therewith, including the incurrence of Liens securing the Cram-Down First Lien Notes and the

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 payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
 of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
 obligations under the Cram-Down First Lien Notes Documentation and such other documents as may be
 reasonably required or appropriate.

          On the Effective Date, the Cram-Down First Lien Notes Documentation shall constitute legal,
 valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
 terms. The financial accommodations to be extended pursuant to the Cram-Down First Lien Notes
 Documentation are being extended, and shall be deemed to have been extended, and all related payments
 made in connection therewith shall have been made, in each case, in good faith, for legitimate business
 purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
 subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
 preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
 any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
 be granted under the Cram-Down First Lien Notes Documentation (1) shall be legal, binding, and
 enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
 Cram-Down First Lien Notes Documentation, shall be pari passu in priority to any Liens and security
 interests securing the New Takeback Term Loans, and shall rank senior in priority to any Liens and security
 interests securing the Takeback Second Lien Notes and the New Second Lien Notes, (2) shall be deemed
 automatically perfected on the Effective Date, and (3) shall not be subject to avoidance, recovery, turnover,
 recharacterization, or subordination (including equitable subordination) for any purposes whatsoever and
 shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
 Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Entities
 granting such Liens and security interests are authorized to make all filings and recordings, and to obtain
 all governmental approvals and consents necessary to establish and perfect such Liens and security interests
 under the provisions of the applicable state, provincial, federal, or other law (whether domestic or foreign)
 that would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
 perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such filings,
 recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
 filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens
 and security interests to third parties.

                        5.      New Second Lien Notes and Approval of New Second Lien Notes
                  Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
 shall be deemed to constitute approval by the Bankruptcy Court of the New Second Lien Notes and the
 New Second Lien Notes Documentation (including all transactions contemplated thereby, and all actions
 to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
 connection therewith, including the incurrence of Liens securing the New Second Lien Notes and the
 payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
 of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
 obligations under the New Second Lien Notes Documentation and such other documents as may be
 reasonably required or appropriate.

         On the Effective Date, the New Second Lien Notes Documentation shall constitute legal, valid,
 binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms.
 The financial accommodations to be extended pursuant to the New Second Lien Notes Documentation are
 being extended, and shall be deemed to have been extended, and all related payments made in connection
 therewith shall have been made, in each case, in good faith, for legitimate business purposes, are reasonable,
 shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including
 equitable subordination) for any purposes whatsoever, and shall not constitute preferential transfers,

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 fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable
 non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted under the
 New Second Lien Notes Documentation (1) shall be legal, binding, and enforceable Liens on, and security
 interests in, the collateral granted in accordance with the terms of the New Second Lien Notes
 Documentation, shall be pari passu in priority to any Liens and security interests securing the Takeback
 Second Lien Notes, and shall rank junior in priority to any Liens and security interests securing the New
 Takeback Term Loans and the First Lien Notes or the Cram-Down First Lien Notes (as applicable), (2) shall
 be deemed automatically perfected on the Effective Date, and (3) shall not be subject to avoidance,
 recovery, turnover, recharacterization, or subordination (including equitable subordination) for any
 purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other
 voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized
 Debtors and the Entities granting such Liens and security interests are authorized to make all filings and
 recordings, and to obtain all governmental approvals and consents necessary to establish and perfect such
 Liens and security interests under the provisions of the applicable state, provincial, federal, or other law
 (whether domestic or foreign) that would be applicable in the absence of the Plan and the Confirmation
 Order (it being understood that perfection shall occur automatically by virtue of the entry of the
 Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required), and
 will thereafter cooperate to make all other filings and recordings that otherwise would be necessary under
 applicable law to give notice of such Liens and security interests to third parties.

 I.      Reorganized Debtors’ Ownership

         1.       New Mallinckrodt Ordinary Shares and New Opioid Warrants

         On the Effective Date, Reorganized Mallinckrodt shall (a) issue or reserve for issuance all of the
 New Mallinckrodt Ordinary Shares (including all New Mallinckrodt Ordinary Shares issuable upon
 exercise of the New Opioid Warrants as of the Effective Date, without regard to any limitations on the
 exercise of the New Opioid Warrants) issuable in accordance with the terms of the Plan and, where
 applicable, the Scheme of Arrangement and as set forth in the Restructuring Transactions Memorandum
 and (b) enter into the New Opioid Warrant Agreement and issue all of the New Opioid Warrants to the
 Opioid MDT II in accordance with the terms of the Plan. The issuance of the New Mallinckrodt Ordinary
 Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid
 Warrants as of the Effective Date, without regard to any limitations on the exercise of the New Opioid
 Warrants) and any New Opioid Warrants by Reorganized Mallinckrodt pursuant to the Plan is authorized
 without the need for further corporate or other action or any consent or approval of any national securities
 exchange upon which the New Mallinckrodt Ordinary Shares shall be listed on or immediately following
 the Effective Date. All of the New Mallinckrodt Ordinary Shares (including, when issued, any New
 Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date,
 without regard to any limitations on the exercise of the New Opioid Warrants) issued or issuable pursuant
 to the Plan shall be duly authorized, validly issued, fully paid, and non-assessable. The New Opioid
 Warrants and the New Opioid Warrant Agreement shall be valid and binding obligations of Reorganized
 Mallinckrodt, enforceable in accordance with their respective terms.

         2.       Registration Rights Agreement

         On the Effective Date, Reorganized Mallinckrodt and certain Holders of the New Mallinckrodt
 Ordinary Shares (including the New Mallinckrodt Ordinary Shares issuable upon the exercise of the New
 Opioid Warrants) shall enter into the Registration Rights Agreement in substantially the form included in
 the Plan Supplement. The Registration Rights Agreement shall be deemed to be valid, binding, and
 enforceable in accordance with its terms.




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         3.       Certain Debtors Subject to Dissolution

         As to any Debtors identified as being subject to this Article IV.I.3 in the Restructuring Transactions
 Memorandum, the Debtors shall take such steps as are necessary or advisable to provide, as of the Effective
 Date, (a) for a new equity interest holder or holders (either as to each such Debtor individually or as to all
 such Debtors together) (i) to receive and hold all new equity interests in such Debtors and (ii) to manage
 the dissolution of such Debtors after consummation of all distributions to the Holders of Claims against
 such Debtors contemplated by the Plan and (b) for any necessary or advisable changes to the organizational
 documents of such Debtors in furtherance of their contemplated dissolution.

 J.      Exemption from Registration Requirements

          The offering, issuance, and distribution of the Cram-Down First Lien Notes, the Takeback Second
 Lien Notes and the New Second Lien Notes in exchange for Claims pursuant to Article III of the Plan and,
 where applicable, in accordance with the terms of the Scheme of Arrangement and the Confirmation Order,
 shall be exempt from, among other things, the registration requirements of Section 5 of the Securities Act
 pursuant to section 4(a)(2) of the Securities Act. Accordingly, the Cram-Down First Lien Notes, the
 Takeback Second Lien Notes, the New Second Lien Notes will be subject to resale restrictions and may be
 resold, exchanged, assigned or otherwise transferred only pursuant to registration, or an applicable
 exemption from registration, under the Securities Act and other applicable law.

          The offering, issuance, and distribution of any other Securities, including the New Mallinckrodt
 Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon the exercise of the New
 Opioid Warrants) and the New Opioid Warrants in exchange for Claims pursuant to Article III of the Plan
 and the Confirmation Order and, where applicable, in accordance with the terms of the Scheme of
 Arrangement and the Confirmation Order shall be exempt from, among other things, the registration
 requirements of Section 5 of the Securities Act pursuant to section 1145 of the Bankruptcy Code. Any and
 all such New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable
 upon exercise of the New Opioid Warrants) and New Opioid Warrants so issued under the Plan and, where
 applicable, the Scheme of Arrangement, will be freely tradable under the Securities Act by the recipients
 thereof, subject to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition
 of an underwriter in Section 2(a)(11) of the Securities Act, and compliance with any applicable state or
 foreign securities laws, if any, and any rules and regulations of the SEC, if any, applicable at the time of
 any future transfer of such Securities or instruments; (2) the restrictions, if any, on the transferability of
 such Securities and instruments; and (3) any other applicable regulatory approval.

         The Reorganized Debtors need not provide any further evidence other than the Plan, the
 Confirmation Order, the Scheme of Arrangement, or the Irish Confirmation Order with respect to the
 treatment of the New Mallinckrodt Ordinary Shares or New Opioid Warrants under applicable securities
 laws.

          Notwithstanding anything to the contrary in the Plan, no Person or Entity (including, for the
 avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any
 transaction contemplated by the Plan, including, for the avoidance of doubt, whether the Takeback Second
 Lien Notes, the New Second Lien Notes, the Cram-Down First Lien Notes (if any), the New Mallinckrodt
 Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of the New
 Opioid Warrants), and the New Opioid Warrants are exempt from registration and/or eligible for DTC
 book-entry delivery, settlement, and depository services. All such Persons and Entities including DTC
 shall be required to accept and conclusively rely upon the Plan, the Confirmation Order, the Scheme of
 Arrangement, or the Irish Confirmation Order in lieu of a legal opinion regarding whether the Takeback
 Second Lien Notes, the New Second Lien Notes, the New Mallinckrodt Ordinary Shares (including any
 New Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid Warrants), and the New


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 Opioid Warrants are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and
 depository services.

 K.      Organizational Documents

         Subject to Articles IV.E and IV.F of the Plan, the Reorganized Debtors shall enter into such
 agreements and amend their corporate governance documents to the extent necessary to implement the
 terms and provisions of the Plan. Without limiting the generality of the foregoing, as of the Effective Date,
 each of the Reorganized Debtors shall be governed by the New Governance Documents applicable to it.
 From and after the Effective Date, the organizational documents of each of the Reorganized Debtors will
 comply with section 1123(a)(6) of the Bankruptcy Code, as applicable. On or immediately before the
 Effective Date, each Reorganized Debtor will file its New Governance Documents with the applicable
 Secretary of State and/or other applicable authorities in its jurisdiction of incorporation or formation in
 accordance with applicable laws of its jurisdiction of incorporation or formation, to the extent required for
 such New Governance Documents to become effective.

 L.      Exemption from Certain Transfer Taxes and Recording Fees

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer from a
 Debtor to a Reorganized Debtor or to any Entity pursuant to, in contemplation of, or in connection with the
 Plan or pursuant to: (1) the issuance, distribution, transfer, or exchange of any debt, securities, or other
 interest in the Debtors or the Reorganized Debtors; (2) the creation, modification, consolidation, or
 recording of any mortgage, deed of trust, or other security interest, or the securing of additional
 indebtedness by such or other means; (3) the making, assignment, or recording of any lease or sublease; or
 (4) the making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of,
 or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
 transfer executed in connection with any transaction arising out of, contemplated by, or in any way related
 to the Plan, shall not be subject to any U.S. federal, state, or local document recording tax, stamp tax,
 conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,
 Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax
 or governmental assessment, and the appropriate U.S. state or local governmental officials or agents shall
 forego the collection of any such tax or governmental assessment and accept for filing and recordation any
 of the foregoing instruments or other documents without the payment of any such tax or governmental
 assessment.

 M.      Directors and Officers of the Reorganized Debtors

         1.       The Reorganized Board

          Prior to the Effective Date, the Debtors will undertake any necessary or advisable steps to have the
 Reorganized Board in place immediately prior to the Effective Date. The occurrence of the Effective Date
 will serve as ratification of the appointment of the Reorganized Board.

          The Reorganized Board will initially consist of at least seven (7) members, which shall be
 comprised of the Chief Executive Officer of the Reorganized Debtors, and six (6) other directors, which
 shall be designated by the Required Supporting Unsecured Noteholders and approved by the then existing
 board of directors, or if the then existing board of directors does not so approve, the Reorganized Board
 will be deemed duly appointed pursuant to the Plan; provided, that, the members of the Reorganized Board,
 other than the Reorganized Debtors’ Chief Executive Officer, shall be independent under applicable listing
 standards and shall be independent of the Supporting Unsecured Noteholders, unless the Governmental
 Plaintiff Ad Hoc Committee, the MSGE Group, and the Debtors otherwise consent. Pursuant to section
 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose in advance of Confirmation, solely to the


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 extent such Persons are known and determined, the identity and affiliations of any Person proposed to serve
 on the Reorganized Board. The occurrence of the Effective Date shall have no effect on the composition
 of the board of directors or managers of each of the subsidiary Debtors.

         2.       Senior Management

          The existing officers of the Debtors as of the Effective Date shall remain in their current capacities
 as officers of the Reorganized Debtors, subject to the ordinary rights and powers of the Reorganized Board
 to remove or replace them in accordance with the New Governance Documents and any applicable
 employment agreements that are assumed pursuant to the Plan.

         3.       Management Incentive Plan

       On the Effective Date, equity grants under the Management Incentive Plan shall be reserved for
 management, key employees, and directors of the Reorganized Debtors.

         4.       Disinterested Managers

          Following the Effective Date, the Disinterested Managers shall retain authority solely with respect
 to matters related to Professional Fee Claim requests by Professionals acting at their authority and direction
 in accordance with the terms of the Plan. The Disinterested Managers, in such capacity, shall not have any
 of their respective privileged and confidential documents, communications or information transferred (or
 deemed transferred) to the Reorganized Debtors.

 N.      Directors and Officers Insurance Policies

         On the Effective Date the Reorganized Debtors shall be deemed to have assumed all of the Debtors’
 D&O Liability Insurance Policies (including any “tail policy” and all agreements, documents, or
 instruments related thereto) in effect prior to the Effective Date pursuant to sections 105 and 365(a) of the
 Bankruptcy Code, without the need for any further notice to or action, order, or approval of the Bankruptcy
 Court. Confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity obligations
 assumed by the foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity
 obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtors under
 the Plan as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the
 Reorganized Debtors shall retain the ability to supplement such D&O Liability Insurance Policies as the
 Debtors or Reorganized Debtors, as applicable, may deem necessary and in consultation with the Required
 Supporting Unsecured Noteholders. For the avoidance of doubt, entry of the Confirmation Order will
 constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each of
 the unexpired D&O Liability Insurance Policies.

          In addition, on or after the Effective Date, none of the Reorganized Debtors shall terminate or
 otherwise reduce the coverage under any D&O Liability Insurance Policies (including any “tail policy” and
 all agreements, documents, or instruments related thereto) in effect on or prior to the Effective Date, with
 respect to conduct occurring prior thereto, and all current and former directors, officers, and managers of
 the Debtors who served in such capacity at any time prior to the Effective Date shall be entitled to the full
 benefits of any such policies for the full term of such policies regardless of whether such current and former
 directors, officers, and managers remain in such positions after the Effective Date, all in accordance with
 and subject in all respects to the terms and conditions of the D&O Liability Insurance Policies, which shall
 not be altered.




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 O.      Preservation of Rights of Action

          In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases set forth in
 this section and in Article IX below, all Causes of Action other than the Assigned Third-Party Claims, the
 Assigned Insurance Rights, and the Share Repurchase Claims that a Debtor may hold against any Entity
 shall vest in the applicable Reorganized Debtor on the Effective Date. Thereafter, the Reorganized Debtors
 shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
 abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action other
 than the Assigned Third-Party Claims, the Assigned Insurance Rights, and the Share Repurchase Claims,
 whether arising before or after the Petition Date, and to decline to do any of the foregoing without the
 consent or approval of any third party or further notice to or action, order, or approval of the Bankruptcy
 Court. No Entity may rely on the absence of a specific reference in the Plan, the Plan Supplement, or
 the Disclosure Statement to any specific Cause of Action as any indication that the Debtors, the
 Reorganized Debtors, or the Opioid MDT II will not pursue any and all available Causes of Action.
 The Debtors, the Reorganized Debtors, and the Opioid MDT II expressly reserve all rights to
 prosecute any and all Causes of Action against any Entity, except as otherwise expressly provided in
 the Plan, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
 issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to any
 Cause of Action upon, after, or as a consequence of the Confirmation or the occurrence of the Effective
 Date. Notwithstanding the foregoing, (a) any and all Causes of Action belonging to the Estates against any
 Released Co-Defendant or their Co-Defendant Related Parties (other than any Estate Surviving Pre-
 Effective Date Claim) are not Assigned Third Party-Claims and are released under the Plan and (b) any
 Estate Surviving Pre-Effective Date Claims are not Assigned Third Party-Claims, are not released, and shall
 belong to Reorganized Mallinckrodt.

         Notwithstanding any provision in the Plan or any order entered in these Chapter 11 Cases, as of
 and after the Effective Date, the Debtors and Reorganized Debtors forever waive, relinquish, and release
 any and all Causes of Action the Debtors and their Estates had, have, or may have (1) against any Released
 Party, or (2) that arise under section 547 of the Bankruptcy Code (and analogous non-bankruptcy law)
 against any Holder of a Trade Claim on account of such Trade Claims.

 P.      Corporate Action

          1.      Upon the Effective Date, all actions contemplated by the Plan and the Scheme of
 Arrangement shall be deemed authorized, approved, and, to the extent taken prior to the Effective Date,
 ratified without any requirement for further action by Holders of Claims or Interests, directors, managers,
 or officers of the Debtors, the Reorganized Debtors, or any other Entity, including: (1) assumption and
 rejection (as applicable) of Executory Contracts and Unexpired Leases; (2) selection of the directors,
 managers, and officers for the Reorganized Debtors; (3) the execution of the New Governance Documents,
 the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the New Opioid Warrant Agreement,
 the Federal/State Acthar Settlement Agreements, the New Term Loan Documentation, the New AR
 Revolving Facility Documentation, the Takeback Second Lien Notes Documentation, the New Second Lien
 Notes Documentation, the Management Incentive Plan, the Opioid Operating Injunction, the Registration
 Rights Agreement and, if applicable, the New Takeback Term Loans Documentation, and the Cram-Down
 First Lien Notes Documentation; (4) the issuance and delivery of the New Mallinckrodt Ordinary Shares,
 Takeback Second Lien Notes, New Second Lien Notes, New Opioid Warrants, and, if applicable, the New
 Takeback Term Loans and the Cram-Down First Lien Notes; (5) implementation of the Restructuring
 Transactions, (6) the Opioid MDT II Cooperation Agreement and the GUC Trust Cooperation Agreement,
 and (7) all other acts or actions contemplated, or reasonably necessary or appropriate to promptly
 consummate the transactions contemplated by the Plan (whether to occur before, on, or after the Effective
 Date). All matters provided for in the Plan involving the company structure of the Debtors, and any
 company action required by the Debtors in connection therewith, shall be deemed to have occurred on, and

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 shall be in effect as of, the Effective Date, without any requirement of further action by the security holders,
 directors, managers, authorized persons, or officers of the Debtors.

          2.       Prior to, on and after the Effective Date, the appropriate officers, directors, managers, or
 authorized persons of the Debtors, Reorganized Mallinckrodt, or any direct or indirect subsidiaries of
 Reorganized Mallinckrodt (including any president, vice-president, chief executive officer, treasurer,
 general counsel, secretary, or chief financial officer thereof) shall be authorized and directed to issue,
 execute, and deliver the agreements, documents, securities, memoranda and articles of association,
 certificates of incorporation, certificates of formation, bylaws, operating agreements, other organization
 documents, and instruments contemplated by the Plan (or necessary or desirable to effect the transactions
 contemplated by the Plan) in the name of and on behalf of the applicable Debtors or applicable Reorganized
 Debtors, including the (1) New Governance Documents, (2) Opioid MDT II Documents and Opioid
 Creditor Trust Documents, (3) New Opioid Warrant Agreement, (4) Takeback Second Lien Notes
 Documentation, (5) New Term Loan Documentation, (6) New AR Revolving Facility Documentation, (7)
 New Takeback Term Loans Documentation, (8) Cram-Down First Lien Notes Documentation, if
 applicable, (9) New Second Lien Notes Documentation, (10) the Opioid MDT II Cooperation Agreement
 and the GUC Trust Cooperation Agreement, and (11) any and all other agreements, documents, securities,
 and instruments relating to or contemplated by the foregoing. Prior to or on the Effective Date, each of the
 Debtors is authorized, in its sole discretion, to change its name or corporate form and to take such other
 action as required to effectuate a change of name or corporate form in the jurisdiction of incorporation of
 the applicable Debtor or Reorganized Debtor. To the extent the Debtors change their names or corporate
 form prior to the closing of the Chapter 11 Cases, the Debtors shall change the case captions accordingly.

 Q.      Effectuating Documents; Further Transactions

          Prior to, on, and after the Effective Date, the Debtors and Reorganized Debtors and the directors,
 managers, officers, authorized persons, and members of the boards of directors or managers and directors
 thereof, are authorized to and may issue, execute, deliver, file, or record such contracts, securities, notes,
 instruments, certificates, releases, and other agreements or documents and take such actions as may be
 necessary or appropriate to effectuate, implement, and further evidence the terms and provisions of the
 Plan, the New Governance Documents, the Opioid MDT II Documents, the Opioid Creditor Trust
 Documents, the New Opioid Warrant Agreement, the Federal/State Acthar Settlement Agreements, the
 Opioid MDT II Cooperation Agreement, the GUC Trust Cooperation Agreement and any Securities issued
 pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for any
 approvals, authorizations, actions, or consents except for those expressly required pursuant to the Plan or
 the Restructuring Support Agreement.

 R.      Listing of New Mallinckrodt Ordinary Shares

         The Debtors’ board of directors shall use commercially reasonable efforts to list the New
 Mallinckrodt Ordinary Shares for trading on the NASDAQ Capital Market, the NASDAQ Global Market,
 or the New York Stock Exchange on the Effective Date. If no such listing has occurred as of the Effective
 Date, following the Effective Date and subject to the terms and conditions of the New Governance
 Documents, the Reorganized Board will direct the Reorganized Debtors to list the New Mallinckrodt
 Ordinary Shares for trading on the NASDAQ Capital Market, the NASDAQ Global Market, or the New
 York Stock Exchange as soon as reasonably practicable after the Effective Date.

 S.      Payment of Fees and Expenses of the Supporting Parties and Indenture Trustee Fees

         Notwithstanding anything to the contrary contained in the Restructuring Expenses Order, on the
 Effective Date, the Reorganized Debtors shall pay the Noteholder Consent Fee and the Term Loan Exit
 Payment pursuant to the terms of the Restructuring Support Agreement.


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          On the Effective Date with respect to invoices delivered prior to the Effective Date in accordance
 with the procedures in the following sentence (the “Invoiced Restructuring Expenses”) or as soon as
 reasonably practicable thereafter (with respect to all other Restructuring Expenses other than the Invoiced
 Restructuring Expenses), the Reorganized Debtors shall pay in Cash the Restructuring Expenses. All
 Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective
 Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before the
 anticipated Effective Date; provided, however, that such estimates shall not be considered an admission by
 any party or limitation with respect to such Restructuring Expenses. In addition, the Debtors and the
 Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when due and
 payable in the ordinary course, Restructuring Expenses and Post Effective Date Implementation Expenses,
 as applicable, related to implementation, consummation, and defense of the Plan, whether incurred before,
 on, or after the Effective Date. Notwithstanding anything to the contrary in the Plan, the Restructuring
 Expenses shall not be subject to the Administrative Claims Bar Date. To the extent any person entitled to
 reimbursement of Restructuring Expenses or Post Effective Date Implementation Expenses is holding a
 retainer, such person shall be entitled to continue to hold such retainer until payment in full in Cash by the
 Reorganized Debtors of such person’s Restructuring Expenses and Post Effective Date Implementation
 Expenses; provided that such retainer shall be applied to pay for such Restructuring Expenses unless such
 person elects, in its sole discretion, to keep a portion of such retainer solely to the extent needed to cover
 Restructuring Expenses in excess of any estimates provided in accordance with this paragraph and any
 reasonably expected Post Effective Date Implementation Expenses, and following the payment of
 Restructuring Expenses and Post Effective Date Implementation Expenses (if any), on reasonable request
 of the Debtors, the professionals shall return the remainder of the retainer to the Debtors.

         On the Effective Date or as soon as reasonably practicable thereafter and upon the presentment of
 invoices in customary form (which may be redacted to preserve any confidential or privileged information),
 the Reorganized Debtors shall pay in Cash the Indenture Trustee Fees (whether accrued prepetition or
 postpetition, whether before or after the Effective Date of this Plan and to the extent not otherwise paid
 during the Chapter 11 Cases), without the need for application by any party to the Bankruptcy Court, and
 without notice and a hearing pursuant to section 1129(a)(4) of the Bankruptcy Code or otherwise. From
 and after the Effective Date, the Reorganized Debtors will pay any Indenture Trustee Fees in full in Cash
 without further court approval.

 T.      Creation of the Opioid MDT II

          On or prior to the Effective Date, the Debtors shall take all necessary steps to establish the Opioid
 MDT II in accordance with the Plan and the Opioid MDT II Documents. As of the Effective Date, the
 Opioid MDT II Documents shall be executed by the Debtors and the Opioid MDT II Trustee(s), and the
 Opioid MDT II shall be created. The Opioid MDT II is intended to be a “qualified settlement fund” within
 the meaning of the Treasury Regulations issued under section 468B of the Internal Revenue Code. The
 purpose of the Opioid MDT II shall be to, among other things: (1) resolve all asserted Opioid Claims
 (including Opioid Demands) channeled to the Opioid MDT II in accordance with the Plan, Opioid MDT II
 Documents, and the Confirmation Order; (2) preserve, hold, collect, manage, maximize, and liquidate the
 assets of the Opioid MDT II for use in resolving Opioid Claims (including Opioid Demands) channeled to
 the Opioid MDT II and funding the Opioid Creditor Trusts; (3) enforce, pursue, prosecute, compromise,
 and/or settle the Assigned Third-Party Claims and Assigned Insurance Rights; (4) pay all Trust Expenses
 as provided, and defined, in the Opioid MDT II Documents (for which the Reorganized Debtors and the
 Released Parties shall have no responsibility or liability); (5) pay any and all administration and operating
 expenses of the Opioid MDT II, including the fees and expenses of any professionals retained by the Opioid
 MDT II; and (6) qualify at all times as a qualified settlement fund.




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 U.      Appointment and Obligations of Opioid MDT II Trustee(s)

         1.       Appointment of the Opioid MDT II Trustee(s)

         The appointment of the initial Opioid MDT II Trustee(s) will be approved in the Confirmation
 Order, and effective as of the Effective Date, in accordance with the Opioid MDT II Documents, the
 individual(s) selected as the Opioid MDT II Trustee(s) shall be appointed to serve as the Opioid MDT II
 Trustee(s) for the Opioid MDT II.

          There will be three initial Opioid MDT II Trustee(s), which shall be selected by the Governmental
 Plaintiff Ad Hoc Committee, the MSGE Group, and the Official Committee of Opioid-Related Claimants
 in consultation with the Debtors and the Future Claimants’ Representative; provided, that if the
 Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the Official Committee of Opioid-
 Related Claimants cannot agree on the identity of the three initial Opioid MDT II Trustees, (i) one of the
 initial Opioid MDT II Trustees shall be selected by the Official Committee of Opioid-Related Claimants,
 and (ii) the remaining two of the initial Opioid MDT II Trustees shall be selected by the Governmental
 Plaintiff Ad Hoc Committee and the MSGE Group, in all cases in consultation with the Debtors. The
 identity of the initial Opioid MDT II Trustee(s) shall be disclosed in an amendment to the Plan Supplement
 filed prior to or concurrently with entry of the Confirmation Order.

         2.       Obligations of the Opioid MDT II Trustee(s)

         The Opioid MDT II Trustees shall take into account the interests of, and owe fiduciary duties to,
 each of the Opioid Creditor Trusts (including the Private Opioid Creditor Trusts and the Public Opioid
 Creditor Trusts) in making all decisions on behalf of the Opioid MDT II. In furtherance thereof:

                  a.      to the extent there are any disputes raised by any Opioid Creditor Trust regarding
                          the operation of the Opioid MDT II or the actions of the Opioid MDT II Trustees,
                          (A) any Opioid Creditor Trustee shall have the right to seek resolution by the
                          Bankruptcy Court of such a dispute, including seeking to enjoin any disputed
                          action by the Opioid MDT II, and all Opioid MDT II Trustees and Opioid Creditor
                          Trustees shall have the right to be heard with regard to any such dispute, including
                          by filing objections, declarations, statements in support or other pleadings
                          (including with supporting evidence) or providing witness testimony at any
                          hearing and (B) the Bankruptcy Court shall have exclusive jurisdiction to hear and
                          resolve any such disputes, and shall be authorized to order appropriate relief
                          (subject to the provisions of this Article IV.U.2 and make a determination in an
                          expedited manner, and in all events, shall make such a decision within thirty (30)
                          days from the request for relief;

                  b.      upon the payment in full in Cash of a Private Opioid Creditor Trust’s respective
                          distribution, the Opioid MDT II shall have no further fiduciary duties to such
                          Private Opioid Creditor Trust, and the Opioid Creditor Trustees of such Private
                          Opioid Creditor Trust shall have no further rights to commence or participate in
                          any action relating to the operations of the Opioid MDT II or the actions of the
                          Opioid MDT II Trustees;

                        c. Opioid MDT II Trustees shall (A) provide reasonable reporting to each of the
                           Opioid Creditor Trusts regarding the Opioid MDT II Trustees’ activities at least
                           every four (4) months (both cumulatively and in the period just ended), any
                           insurance proceedings, assets (including the value thereof), expenditures,
                           distributions and forward-looking projections (subject to appropriate limitations to

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                          be agreed by the Debtors, the Governmental Plaintiff Ad Hoc Committee, the
                          MSGE Group, and the Official Committee of Opioid-Related Claimants) and (B)
                          make themselves reasonably available (in addition to holding at least one (1) call
                          every four (4) months for the Opioid Creditor Trustees) to answer questions of
                          Opioid Creditor Trustees relating to the Opioid MDT II’s activities;

                  d.      the Opioid MDT II Trustees shall be obligated to comply with the terms of the
                          Plan, including this Article IV.U.2, and Opioid MDT II Documents; and

                        e. in the event of any inconsistency between the terms of this Article IV.U.2 and any
                           other provision of this Plan or Opioid MDT II Documents, the terms of this Article
                           IV.U.2 shall govern unless the Opioid MDT II Trustees and the Opioid Creditor
                           Trustees for each of the Opioid Creditor Trusts mutually agree.

 V.      Settlements of Opioid Claims

         1.       Non-Precedential Effect for Holders of Opioid Claims

          This Plan, the Plan Supplement, and the Confirmation Order constitute a good faith full and final
 comprehensive compromise and settlement of Opioid Claims and controversies based upon the unique
 circumstances of these Chapter 11 Cases (such as the unique facts and circumstances relating to these
 Debtors as compared to other defendants in the general opioid litigations, and the need for an accelerated
 resolution without litigation) such that (i) none of the foregoing documents, nor any materials used in
 furtherance of Confirmation (including, but not limited to, the Disclosure Statement, and any notes related
 to, and drafts of, such documents and materials), may be offered into evidence, deemed an admission, used
 as precedent, or used by any party or Person in any context whatsoever beyond the purposes of this Plan,
 in any other litigation or proceeding except as necessary, and as admissible in such context, to enforce their
 terms and to evidence the terms of the Plan before the Bankruptcy Court or any other court of competent
 jurisdiction, and (ii) any obligation by any party, in furtherance of such compromise and settlement, to not
 exercise rights that might be otherwise applicable to such party shall be understood to be an obligation
 solely in connection with this specific compromise and settlement and to be inapplicable in the absence of
 such compromise and settlement. This Plan, the Plan Supplement, and the Confirmation Order will be
 binding as to the matters and issues described therein, but will not be binding with respect to similar matters
 or issues that might arise in any other litigation or proceeding involving Opioid Claims in which none of
 the Debtors, the Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts is a party; provided
 that such litigation or proceeding is not to enforce or evidence the terms of the Plan, the Plan Supplement,
 or the Confirmation Order. Any Opioid Claimants’ support of, or position or action taken in connection
 with, this Plan, the Plan Supplement, and the Confirmation Order may differ from his position or testimony
 in any other litigation or proceeding except in connection with these Chapter 11 Cases. Further, the
 treatment of Opioid Claims as set forth in this Plan is not intended to serve as an example for, or represent
 the parties’ respective positions or views concerning any other chapter 11 cases relating to opioid products,
 nor shall it be used as precedent by any Entity or party in any other chapter 11 cases related to opioid
 products.

         2.       Transferability of Opioid Claim Distribution Rights

          Any right of a Holder of an Opioid Claim to receive a distribution or other payment from the Opioid
 MDT II or the Opioid Creditor Trusts on account of an Opioid Claim shall not be evidenced by any
 certificate, security, receipt or in any other form or manner whatsoever, except on the books and records of
 the Debtors, Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts, as applicable. Further,
 any right of a Holder of an Opioid Claim to receive a distribution or other payment from the Debtors,
 Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts on account of an Opioid Claim


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 shall be nontransferable and nonassignable except by will, intestate, succession or operation of law or as
 otherwise provided in the Plan or any of the Opioid Creditor Trust Documents. Any rights of Holders of
 Opioid Claims to receive a Distribution or other payment from the Debtors, Reorganized Debtors, the
 Opioid MDT II, or the Opioid Creditor Trusts on account of Opioid Claims shall not constitute “securities”
 and shall not be registered pursuant to the Securities Act. If it is determined that such rights constitute
 “securities,” the exemption provisions of section 1145(a)(1) of the Bankruptcy Code would be satisfied and
 such securities would be exempt from registration.

 W.      Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT II

         1.       Transfer of Books and Records to the Opioid MDT II

           On the Effective Date or as soon thereafter as is reasonably practicable, the Reorganized Debtors
 shall transfer and assign, or cause to be transferred and assigned, to the Opioid MDT II copies of all books
 and records necessary for, and for the sole purpose of enabling and to the extent necessary to enable, the
 defense of Opioid Claims (including Opioid Demands) in accordance with the Opioid MDT II Cooperation
 Agreement, including, for the avoidance of doubt, both privileged and non-privileged documents; provided,
 that, after the transfer of such books and records the Debtors or the Reorganized Debtors may destroy copies
 of such books and records in accordance with their record management policies. The transfer of any
 privileged books and records provided to the Opioid MDT II necessary for the defense of Opioid Claims
 (including Opioid Demands) shall not result in the destruction or waiver of any applicable privileges
 pertaining to such books and records. Subject to the terms of the Opioid MDT II Cooperation Agreement,
 no documents or communications subject to a privilege shall be publicly disclosed by the Opioid MDT II
 or communicated to any person not entitled to receive such information or in a manner that would diminish
 the protected status of such information, unless such disclosure or communication is reasonably necessary
 to defend the Opioid Claims (including Opioid Demands) as more fully set forth in the Opioid MDT II
 Cooperation Agreement. Further, pursuant to the Plan and the Confirmation Order, none of the Debtors,
 the Reorganized Debtors, any of the Debtors’ or the Reorganized Debtors’ Affiliates or the Disinterested
 Managers shall be liable for violating any confidentiality or privacy protections as a result of transferring
 the books and records to the Opioid MDT II in accordance with the Opioid MDT II Cooperation Agreement,
 and the Opioid MDT II, upon receipt of the books and records, shall take appropriate steps to comply with
 any such applicable protections.

         2.       Funding the Opioid MDT II

                  a.      Opioid MDT II Funding Amount

         The Opioid MDT II shall be funded solely by the Opioid MDT II Consideration. On the Effective
 Date, the obligations to provide the Opioid MDT II Consideration shall constitute legal, valid, binding, and
 authorized obligations of the applicable Reorganized Debtors, enforceable in accordance with the terms
 hereof. The financial accommodations to be extended in connection with the Opioid MDT II Consideration
 are being extended, and shall be deemed to have been extended, in good faith, for legitimate business
 purposes, are reasonable, shall not be subject to avoidance, recharacterization, or subordination (including
 equitable subordination) for any purposes whatsoever, and shall not constitute preferential transfers,
 fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable
 non-bankruptcy law.

                  b.      Payments to the Opioid MDT II and to the Public Schools’ Special Education
                          Initiative

        On the Effective Date, the Debtors and/or the Reorganized Debtors will make the Initial Opioid
 MDT II Payment, and thereafter, the Reorganized Debtors or Reorganized Mallinckrodt will make each of


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 the Opioid Deferred Cash Payments subject to the Prepayment Option; provided after any sale of
 (i) Mallinckrodt Enterprises Holdings, Inc. and its subsidiaries (including, for the avoidance of doubt, its
 successors and assigns) or (ii) a material portion of their assets or businesses (including as a result of a
 merger, equity sale, or asset sale), subject to compliance with the Debtors’ covenants under the agreements
 governing their funded indebtedness (as may be modified from time to time), 50% of the “net proceeds” of
 such sale (after, for the avoidance of doubt, compliance with then-existing covenants) shall be paid to the
 Opioid MDT II; and the amount of such net proceeds actually conveyed to the Opioid MDT II will be
 deemed a ratable repayment against the remaining Opioid Deferred Cash Payments that the Opioid MDT
 II is entitled to receive. For the avoidance of doubt, the Debtors will not be under any obligation to
 undertake any such sale on any particular timeframe. The Debtors intend that payments to the Opioid MDT
 II (whenever made, and from whatever source) will constitute “restitution . . . for damage or harm” within
 the meaning of Section 162(f) of the Internal Revenue Code, and will be so characterized for U.S. federal
 income tax purposes to the extent such payments are made to or at the direction of a government or
 governmental entity, and such payments are hereby, based on the origin of the liability and the nature and
 purpose of such payments, so identified in accordance with Section 162(f)(2)(A)(ii) of the Internal Revenue
 Code. For the avoidance of doubt, the foregoing sentence is intended to apply to the tax characterization
 of payments to the Opioid MDT II on account of Opioid Claims, and such tax characterization shall not be
 construed to be dispositive for any non-tax purpose. Nor shall such tax characterization be construed to
 mean that Debtors’ payments satisfy the full extent of the liability associated with Opioid Claims, the
 satisfaction of which remains a valuable right assigned to the Opioid MDT II, nor that the remaining liability
 associated with Opioid Claims seeks restitution as a form of relief.

          In addition, the Debtors and the Public Schools’ Special Education Initiative intend that the Public
 Schools’ Special Education Initiative Contribution will constitute “restitution . . . for damage or harm”
 within the meaning of Section 162(f) of the Internal Revenue Code, and will be so characterized for U.S.
 federal income tax purposes to the extent such payments are made to or at the direction of a government or
 governmental entity, and such payments are hereby, based on the origin of the liability and the nature and
 purpose of such payments, so identified in accordance with Section 162(f)(2)(A)(ii) of the Internal Revenue
 Code. For the avoidance of doubt, the foregoing sentence is intended to apply to the tax characterization of
 the Public Schools’ Special Education Initiative Contribution, and such tax characterization shall not be
 construed to be dispositive for any non-tax purpose.

          Each of the Opioid MDT II, NOAT II, and the Public Schools’ Special Education Initiative, on the
 one hand, and the Reorganized Debtors, on the other, shall reasonably cooperate in good faith with each
 other and their respective representatives with respect to the reporting required pursuant to Section 6050X
 of the Internal Revenue Code regarding the payments or transfers of property required under the Plan, with
 the goal of eliminating redundancies and complying with their reporting requirements, if any, in an efficient
 manner, including, if permitted under applicable law, appointing a single appropriate official to file a single
 information return in accordance with Treasury Regulation Sections 1.6050X-1(b)(3) and 1.6050X-
 1(f)(1)(ii)(B). Each of the Opioid MDT II, NOAT II, and the Public Schools’ Special Education Initiative,
 as applicable, shall, no later than thirty (30) days prior to the date on which each such information return,
 if any, is required to be filed, provide to the Reorganized Debtors a draft of any such information return it
 has determined that it is required to file with the IRS with respect to payments or transfer of property to it
 under the Plan and, prior to filing, shall consider in good faith any and all comments timely received from
 the Reorganized Debtors with respect thereto. If, after consultation with its tax advisors, the Trustees or
 other authorized persons of the Opioid MDT II, NOAT II or the Public Schools' Special Education Initiative
 reasonably determine in good faith that any such comments should not be reflected in such filing, the parties
 shall use reasonable best efforts to negotiate in good faith so as to reach a mutually agreeable resolution. If
 the parties are unable to reach a mutually agreeable resolution, the matter shall be resolved as directed by
 the Bankruptcy Court.


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          In addition, each of the Opioid MDT II and the Public Schools’ Special Education Initiative shall
 use reasonable best efforts to provide to the Reorganized Debtors, no later than fifteen (15) days following
 the end of each calendar quarter, an estimate of the aggregate payments to any attorneys’ fee funds
 established pursuant to Article IV.X.9.

                  c.        New Opioid Warrants

          On the Effective Date, Reorganized Mallinckrodt shall issue, and the Debtors shall cause to be
 transferred, the New Opioid Warrants to the Opioid MDT II or to a newly formed limited liability company
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 formed and wholly owned by the Opioid MDT II.

                  d.        Assigned Third-Party Claims, Share Repurchase Claims, and Assigned Insurance
                            Rights

          As of the Effective Date, the Debtors and/or the Reorganized Debtors shall be deemed to have
 assigned the Assigned Third-Party Claims, the Share Repurchase Claims, and the Assigned Insurance
 Rights to the Opioid MDT II; provided, that the exercise of remedies (including rights of setoff and/or
 recoupment) by non-Debtor third parties against the Debtors or Reorganized Debtors (but not the Opioid
 MDT II) on account of any Assigned Third-Party Claims shall be enjoined and barred. Subject to the
 foregoing, nothing contained in the Plan, the Plan Supplement, or the Confirmation Order shall operate to
 require any Opioid Insurer to pay under any Opioid Insurance Policy the liability of any Person that was
 not an insured prior to the Petition Date..

          The Reorganized Debtors shall transfer and assign, or cause to be transferred and assigned, to the
 Opioid MDT II copies of books and records necessary for, and for the sole purpose of enabling and to the
 extent necessary to enable, the prosecution of the Assigned Third-Party Claims, the Share Repurchase
 Claims, and the Assigned Insurance Rights in accordance with the Opioid MDT II Cooperation Agreement,
 including, for the avoidance of doubt, both privileged and non-privileged documents; provided, that, after
 the transfer of such books and records the Debtors or the Reorganized Debtors may destroy copies of such
 books and records in accordance with their record management policies. Such transfer shall not result in
 the destruction or waiver of any applicable privileges pertaining to such books and records. Subject to the
 terms of the Opioid MDT II Cooperation Agreement, no documents or communications subject to a
 privilege shall be publicly disclosed by the Opioid MDT II or communicated to any person not entitled to
 receive such information or in a manner that would diminish the protected status of such information, unless
 such disclosure or communication is reasonably necessary to preserve, secure, prosecute, or obtain the
 benefit of the Assigned Third-Party Claims, the Share Repurchase Claims, and Assigned Insurance Rights
 as more fully set forth in the Opioid MDT II Cooperation Agreement.

         The Opioid MDT II shall be authorized to conduct Rule 2004 examinations, to the fullest extent
 permitted thereunder, to investigate the Assigned Third-Party Claims, the Share Repurchase Claims, and
 the Assigned Insurance Rights, without the requirement of filing a motion for such authorization; provided,
 however, that no such Rule 2004 examinations shall be taken of the Debtors, the Reorganized Debtors,
 Medtronic plc (and/or its subsidiaries and affiliates, including Covidien Limited), or any of their respective
 predecessors, successors, assigns and each of their respective then-current or former employees, officers,
 7
     The Debtors and the Supporting Parties are discussing the original issuance of the New Opioid Warrants to a
     newly formed limited liability company (“LLC)” formed by and initially owned by Opioid MDT II. At emergence,
     Reorganized Debtor will issue the warrants to LLC directly. Following the issuance of the warrants to LLC,
     Opioid MDT II will distribute substantially all of the equity interests in LLC to the Creditor Trusts, retaining the
     portion allocable to the Opioid MDT II disputed claims reserve and any other portion allocable to Opioid MDT
     II beneficiaries other than the Creditor Trusts. A further transfer of LLC equity is expected with respect to TAFT
     II and the TAFT II beneficiaries.

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 directors or Representatives without further order of the Bankruptcy Court (if the Chapter 11 Cases remain
 open) after notice and an opportunity to object and be heard. Notwithstanding the foregoing, nothing herein
 shall interfere with the obligations of the Debtors, the Reorganized Debtors, or any of their respective then-
 current or former employees, officers, directors or Representatives to cooperate with the Opioid MDT II as
 set forth herein and in the Opioid MDT II Cooperation Agreement. For the avoidance of doubt, in the
 context of an actual pending litigation or contested matter, the rules of discovery applicable to such
 litigation or contested matter will control.

          In implementing the assignment of the Assigned Insurance Rights, the Debtors or the Reorganized
 Debtors, on the one hand, and the Governmental Plaintiff Ad Hoc Committee and the MSGE Group or the
 Opioid MDT II, on the other hand, shall cooperate and negotiate in good faith concerning (x) treatment of
 unsatisfied self-insured retentions under the applicable Insurance Contracts, which, to the extent they
 remain to be paid as of the Effective Date, shall be satisfied to the extent and in the manner required by
 applicable law, with the objective of minimizing adverse consequences to Mallinckrodt, Reorganized
 Mallinckrodt, and the Opioid MDT II (it being understood that the foregoing obligation shall not require
 the Debtors or Reorganized Debtors to satisfy all or any portion of any such self-insured retentions with
 respect to any Opioid Insurance Policies) and (y) any actions by the Debtors, Reorganized Debtors, or the
 Opioid MDT II to pursue or preserve the Insurance Contracts relating to the Assigned Insurance Rights.

         3.       Assigned Third-Party Claims and Assigned Insurance Rights Cooperation

         During the pendency of the Chapter 11 Cases, the Debtors shall use reasonable best efforts to
 cooperate with counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group
 in connection with their investigation, preservation, pursuit, and securing of the Assigned Third-Party
 Claims and Assigned Insurance Rights, including by providing non-privileged information (including,
 without limitation, data, documents, emails, and access to individuals with information), at the reasonable
 request of counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group.

          The Debtors shall use reasonable best efforts to provide all available, non-privileged information
 relating to the Assigned Third-Party Claims and Assigned Insurance Rights to counsel to the Governmental
 Plaintiff Ad Hoc Committee and to counsel to the MSGE Group during the Debtors’ bankruptcy cases;
 provided, however, that such information shall be provided prior to entry of the Confirmation Order.

          On and after the Effective Date, the Reorganized Debtors shall use reasonable best efforts to
 cooperate with the Opioid MDT II in connection with the Opioid MDT II’s investigation, preservation,
 pursuit, and securing of the Assigned Third-Party Claims and the Assigned Insurance Rights. The terms
 and conditions of such cooperation shall be set forth in the Opioid MDT II Cooperation Agreement and
 included in the Confirmation Order. The Opioid MDT II shall reimburse the Reorganized Debtors for their
 documented and reasonable out-of-pocket costs and expenses incurred in connection with such reasonable
 cooperation from and after the Effective Date.

         Any request by the Opioid MDT II, the Governmental Plaintiff Ad Hoc Committee, or the MSGE
 Group for cooperation by the Debtors and Reorganized Debtors shall be on reasonable advance notice, and
 provided during normal business hours and otherwise in a manner that does not disrupt commercial
 operations.

         4.       Share Repurchase Claims

          On and after the Effective Date, the Opioid MDT II shall have the exclusive right, authority, and
 discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
 withdraw, or litigate to judgment any Share Repurchase Claim, and to decline to do any of the foregoing


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 without the consent or approval of any third party or further notice to or action, order, or approval of the
 Bankruptcy Court; provided that the settlement, monetization, or disposition of the Share Repurchase
 Claims may not treat the holders of interests in such Share Repurchase Claims inconsistently without such
 holders’ consent or, if applicable, without offering such holders the right to participate in such settlement,
 monetization, or disposition).

         5.       Share Repurchase Claims Cooperation

         During the pendency of the Chapter 11 Cases, the Debtors shall use reasonable best efforts to
 cooperate with counsel to the Governmental Plaintiff Ad Hoc Committee, counsel to the MSGE Group, and
 counsel to the Official Committee of Opioid-Related Claimants in connection with their investigation,
 preservation, pursuit, and securing of the Share Repurchase Claims, including by providing non-privileged
 information (including, without limitation, data, documents, emails, and access to individuals with
 information), at the reasonable request of counsel to the Governmental Plaintiff Ad Hoc Committee,
 counsel to the MSGE Group, and counsel to the Official Committee of Opioid-Related Claimants.

          The Debtors shall use reasonable best efforts to provide all available, non-privileged information
 relating to the Share Repurchase Claims to counsel to the Governmental Plaintiff Ad Hoc Committee,
 counsel to the MSGE Group, and counsel to the Official Committee of Opioid-Related Claimants during
 the Debtors’ bankruptcy cases; provided, however, that such information shall be provided prior to entry of
 the Confirmation Order.

          On and after the Effective Date, the Reorganized Debtors shall use reasonable best efforts to
 cooperate with the Opioid MDT II in connection with the Opioid MDT II’s investigation, preservation,
 pursuit, and securing of the Share Repurchase Claims. The terms and conditions of such cooperation shall
 be set forth in the Opioid MDT II Cooperation Agreement and included in the Confirmation Order. The
 Opioid MDT II shall reimburse the Reorganized Debtors for their documented and reasonable out-of-pocket
 costs and expenses incurred in connection with such reasonable cooperation from and after the Effective
 Date. The Opioid MDT II shall reasonably consult with the General Unsecured Claims Trustee, at the
 reasonable request of the General Unsecured Claims Trustee, generally regarding the Opioid MDT II’s
 pursuit of the Share Repurchase Claims.

         Any request by the Opioid MDT II, the Governmental Plaintiff Ad Hoc Committee, the MSGE
 Group, or the Official Committee of Opioid-Related Claimants for cooperation by the Debtors and
 Reorganized Debtors shall be on reasonable advance notice, and provided during normal business hours
 and otherwise in a manner that does not disrupt commercial operations.

         6.       Vesting of the Opioid MDT II Consideration in the Opioid MDT II

          On the Effective Date or on the date which an Opioid Deferred Cash Payment is actually made, as
 applicable, pursuant to the Plan and in accordance with the Opioid MDT II Documents, the Opioid MDT
 II Consideration shall be transferred or issued to and vest in the Opioid MDT II free and clear of all Claims,
 Interests, Liens, other encumbrances and liabilities of any kind (other than the Opioid Claims (including
 Opioid Demands)). The Opioid MDT II shall have no liability for, and the Opioid MDT II Consideration
 shall vest in the Opioid MDT II free and clear of, any pre-petition and post-petition Claims, Causes of
 Action or liabilities of any kind, in each case that have been or could have been asserted against the Debtors,
 their Estates or their property (including, but not limited to, Claims based on successor liability) based on
 any acts or omissions prior to the Effective Date, except for the Opioid Claims (including the Opioid
 Demands). From and after the Effective Date, all proceeds of the Opioid MDT II Consideration, including
 without limitation, amounts paid by Insurers under the Assigned Insurance Rights, shall be paid to the
 Opioid MDT II to be applied in accordance with the Opioid MDT II Documents.


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         7.       Assumption of Certain Liability and Responsibility by the Opioid MDT II

           In consideration for the property transferred to the Opioid MDT II pursuant to Article IV.W.2 and
 in furtherance of the purposes of the Opioid MDT II and the Plan, the Opioid MDT II shall assume all
 liability and responsibility, financial and otherwise, for all Opioid Claims (including Opioid Demands) not
 otherwise channeled to an Opioid Creditor Trust or the Ratepayer Account, including U.S. Government
 Opioid Claims, and Other Opioid Claims, and the Debtors, the Reorganized Debtors, and the Protected
 Parties shall have no liability or responsibility, financial or otherwise, therefor. The Opioid MDT II’s
 liability for such assumed Opioid Claims shall be limited to the FHCA Opioid Claim Share and the
 aggregate amount of Other Opioid Claimant Pro Rata Shares. Except as otherwise provided in the Plan and
 the Opioid MDT II Documents, the Opioid MDT II shall have all defenses, cross-claims, offsets, and
 recoupments, as well as rights of indemnification, contribution, subrogation, and similar rights, regarding
 such Opioid Claims (including Opioid Demands) that the Debtors or the Reorganized Debtors has or would
 have had under applicable law.

         8.       Institution of Maintenance of Legal and Other Proceedings

          As of the date upon which the Opioid MDT II is established, the Opioid MDT II shall be
 empowered, and have the sole authority, to initiate, prosecute, defend and resolve all legal actions and other
 proceedings related to any asset, liability or responsibility of the Opioid MDT II, including in respect of the
 Assigned Third-Party Claims and Assigned Insurance Rights. The Opioid MDT II shall be empowered,
 and have the sole authority, to initiate, prosecute, defend and resolve all such actions in the name of the
 Debtors or their Estates, in each case if deemed necessary or appropriate by the Opioid MDT II Trustee(s).
 The Opioid MDT II shall be responsible for the payment of all damages, awards, judgments, settlements,
 expenses, costs, fees and other charges incurred subsequent to the date upon which the Opioid MDT II is
 established arising from, or associated with, any legal action or other proceeding brought pursuant to the
 foregoing.

         9.       Insurance “Neutrality”

         Nothing in the Plan, the Plan Supplement, or the Confirmation Order shall alter, supplement,
 change, decrease or modify the terms (including conditions, limitations and/or exclusions) of the Opioid
 Insurance Policies; provided that, notwithstanding anything in the foregoing to the contrary, the
 enforceability and applicability of the terms (including conditions, limitations and/or exclusions) of the
 Opioid Insurance Policies and thus the rights or obligations of any Insurer, the Debtors, and the applicable
 post-Effective Date Entities, including the Opioid MDT II, arising out of or under any Opioid Insurance
 Policy, whether before or after the Effective Date, are subject to the Bankruptcy Code and applicable law
 (including any actions or obligations of the Debtors thereunder), the terms of the Plan, the Plan Supplement,
 the Confirmation Order (including the findings contained therein or issued in conjunction therewith) and,
 to the extent the Insurers have or had adequate notice from any source, any other ruling made or order
 entered by the Bankruptcy Court.

 X.      Opioid Creditor Trusts and Settlements of Opioid Claims

         1.       Establishment and Purpose of the Opioid Creditor Trusts

 The Confirmation Order shall endorse and direct the establishment of the Opioid Creditor Trusts on or prior
 to the Effective Date in accordance with the terms of the respective Opioid Creditor Trust Documents. The
 Opioid Creditor Trusts shall be independent from the Holders of Claims against the Debtors. The Opioid
 Creditor Trusts shall be established for the purposes described in this Plan and any other purposes more
 fully described in the Opioid Creditor Trust Documents. Each Opioid Creditor Trust shall, as applicable



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 and in each case, in accordance with the Plan, the Confirmation Order and the applicable Opioid Creditor
 Trust Documents:

                  a.      hold, manage and invest all funds and other assets received by such Opioid
                          Creditor Trust from the Opioid MDT II, in each case, for the benefit of the
                          beneficiaries of such Opioid Creditor Trust;

                  b.      hold and maintain required reserves for such Opioid Creditor Trust in accordance
                          with the applicable Opioid Creditor Trust Documents;

                  c.      administer, process, and resolve Opioid Claims channeled to such Opioid Creditor
                          Trust, in each case as provided in the applicable Opioid Creditor Trust Documents,
                          as set forth in Article IV.Y herein; and

                  d.      pay all applicable Opioid Creditor Trust Operating Expenses.

         2.       Appointment and Role of the Opioid Creditor Trustees

 In furtherance of and consistent with the purposes of the Opioid Creditor Trusts and the Plan, the Opioid
 Creditor Trustees shall have the power and authority to perform all functions on behalf of the respective
 Opioid Creditor Trusts. The Opioid Creditor Trustees shall undertake all administrative responsibilities as
 are provided in the Plan and the applicable Opioid Creditor Trust Documents. The Opioid Creditor Trustees
 shall be responsible for all decisions and duties with respect to the respective Opioid Creditor Trusts. In all
 circumstances, each Opioid Creditor Trustee shall be independent and disinterested and shall act in the best
 interests of the beneficiaries of such Opioid Creditor Trust, in furtherance of the purpose of such Opioid
 Creditor Trust and in accordance with this Plan and the applicable Opioid Creditor Trust Documents. In
 accordance with the Opioid Creditor Trust Documents, each Opioid Creditor Trustee shall serve in such
 capacity through the earlier of (x) the date that the applicable Opioid Creditor Trust is dissolved in
 accordance with the applicable Opioid Creditor Trust Documents and (y) the date such Opioid Creditor
 Trustee resigns, is terminated or is otherwise unable to serve for any reason.

 The NOAT II Trustee(s) shall be selected by the Governmental Plaintiff Ad Hoc Committee and the MSGE
 Group, in consultation with the Debtors. The TAFT II Trustee(s) will be selected by the Tribal Leadership
 Committee designated by the MDL Court in the MDL and also identified in the Amended Verified Statement
 of the Tribal Leadership Committee Pursuant to Bankruptcy Rule 2019 [Docket No. 1339], in consultation
 with the Debtors. The Opioid Creditor Trustees will be selected for (i) the Third-Party Payor Trust by the
 Third-Party Payor Group, (ii) the PI Trust by the Ad Hoc Group of Personal Injury Victims and the Future
 Claimants’ Representative, (iii) the Hospital Trust by the Ad Hoc Group of Hospitals, (iv) the NAS
 Monitoring Trust by the NAS Committee, and (v) the Emergency Room Physicians Trust by the Emergency
 Room Physicians Group, in each case, in consultation with the Debtors. The identity of the initial Opioid
 Creditor Trustees shall be disclosed in the Plan Supplement.

         3.       Abatement Distributions

 Each Abatement Trust shall, in accordance with the Plan, the Confirmation Order and the applicable
 Abatement Trust Documents, make Abatement Distributions to Authorized Recipients for Approved Uses.

         4.       Abatement Trust Monitoring and Reporting Obligations

 Each Abatement Trust shall (i) monitor the use of funds received by Abatement Distribution recipients in
 accordance with Authorized Abatement Purposes and (ii) prepare and deliver to the Opioid MDT II for
 publication annual reports on the disbursement and use of Abatement Distributions from such Abatement
 Trust and the compliance by Abatement Distribution recipients with the Authorized Abatement Purposes

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 set forth in the applicable Abatement Trust Documents. In addition, NOAT II shall prepare or direct the
 preparation of annual audited financial reports of NOAT II to be filed with the Bankruptcy Court, delivered
 to the States and published on a publicly available website.

         5.       Assumption of Obligations and Liabilities

 In consideration for the property transferred to the Opioid Creditor Trusts pursuant to Articles IV.W.2 and
 IV.X.7 and in furtherance of the purposes of the Opioid MDT II, Opioid Creditor Trusts, and the Plan, each
 Opioid Creditor Trust and the Ratepayer Account shall assume all liability and responsibility, financial and
 otherwise, for any Opioid Claims (including Opioid Demands) channelled to each Opioid Creditor Trust
 and the Ratepayer Account, respectively, other than any U.S. Government Opioid Claims, and Other Opioid
 Claims, and the Debtors, the Reorganized Debtors, and the Released Parties shall have no liability or
 responsibility, financial or otherwise, therefor. Except as otherwise provided in the Plan, the Opioid MDT
 II Documents, and the Opioid Creditor Trust Documents, the Opioid Creditor Trusts and the Ratepayer
 Account shall have all defenses, cross-claims, offsets, and recoupments, as well as rights of indemnification,
 contribution, subrogation, and similar rights, regarding such Opioid Claims (including Opioid Demands)
 that the Debtors or the Reorganized Debtors has or would have had under applicable law.

         6.       Institution and Maintenance of Legal and Other Proceedings

 As of the date upon which the Opioid Creditor Trusts are established, the Opioid Creditor Trusts shall be
 empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
 asset, liability or responsibility of the Opioid Creditor Trusts. Such legal actions and other proceedings
 shall be limited solely to those required for the purposes of satisfying the responsibilities of the applicable
 Opioid Creditor Trust. The Opioid Creditor Trusts shall be empowered to initiate, prosecute, defend and
 resolve all such actions in the name of the Debtors or their Estates, in each case if deemed necessary or
 appropriate by the applicable Opioid Creditor Trustee. The Opioid Creditor Trusts shall be responsible for
 the payment of all damages, awards, judgments, settlements, expenses, costs, fees and other charges
 incurred subsequent to the date upon which the Opioid Creditor Trusts are established arising from, or
 associated with, any legal action or other proceeding brought pursuant to the foregoing.

 To the extent that the Opioid MDT II discovers, through its pursuit of the Assigned Insurance Rights,
 Insurance Contracts that are not included on the Schedule of Opioid Insurance Policies or the Schedule of
 Excluded Insurance Policies, (i) the Opioid MDT II will provide notice of such discovery to the
 Reorganized Debtors as soon as reasonably practicable following such discovery and (ii) the Opioid MDT
 II and the Reorganized Debtors will work in good faith to agree whether such Insurance Contract is an
 Opioid Insurance Policy or an Excluded Insurance Policy. The Reorganized Debtors, the Opioid MDT II,
 and the Insurers reserve their rights to pursue relief in any appropriate forum in the event the Reorganized
 Debtors and the Opioid MDT II are unable to reach an agreement whether such Insurance Contract is an
 Opioid Insurance Policy or an Excluded Insurance Policy.

         7.       Opioid MDT II Distributions

 The Opioid MDT II shall make the Opioid MDT II Initial Distribution on the Opioid MDT II Initial
 Distribution Date and shall make the Opioid MDT II Subsequent Distributions on any Opioid MDT
 Subsequent Distribution Date. The Opioid MDT II shall fund the Opioid Attorneys’ Fees Fund with the
 Opioid Attorneys’ Fees Fund Share, out of the Public Opioid Creditor Share. The Opioid MDT II shall
 also establish and fund the Opioid MDT II Operating Reserve and the Opioid MDT II Third-Party Payor
 Reserve.




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         8.       Private Claimants’ Attorneys’ Fees.

          A.      Common Benefit Fund Assessments. On the Effective Date, a Common Benefit Escrow
 shall be established and funded by assessments of 5% of each Distribution made by the Private Opioid
 Creditor Trusts and the Ratepayer Account. Such assessments will be paid by each Private Opioid Creditor
 Trust and the Ratepayer Account in respect of the distributions made by each Private Opioid Creditor Trust
 and the Ratepayer Account to the Common Benefit Escrow and then, upon its establishment, directly to the
 Common Benefit Fund established by the MDL Court, on periodic schedules for each Private Opioid
 Creditor Trust and the Ratepayer Account acceptable to such creditors and the MDL Plaintiffs’ Executive
 Committee, or as otherwise ordered by the MDL Court. The amounts in the Common Benefit Escrow shall
 be held in escrow until an order is entered by the MDL Court establishing a Common Benefit Fund, at
 which time the amounts held by the Common Benefit Escrow and all subsequent assessments of 5% of each
 Distribution made by the Private Opioid Creditor Trusts and the Ratepayer Account shall be transferred to
 and distributed in accordance with the order of the MDL Court establishing the Common Benefit Fund. To
 the extent a Hospital Opioid Claimant, a Third-Party Payor Opioid Claimant, a Ratepayer Opioid Claimant,
 a NAS Monitoring Opioid Claimant, a PI/NAS Opioid Claimant (or any ad hoc group consisting of
 Claimants of any of the foregoing) has retained counsel through an contingency fee arrangement, any
 contingency fees owed to such contingency counsel payable from Distributions under the Plan shall be
 reduced by the full amount payable under this Article IV.X.8. However, the applicable Claimant and its
 counsel, in their sole discretion, may agree that an amount up to but not exceeding 40% of the amount
 payable under this Article IV.X.8 may be applied to the reimbursement of actual costs and expenses
 incurred by such Claimant’s counsel, in which case such agreed cost-reimbursement amount shall not
 reduce the contingency fee amounts payable to such counsel. For the avoidance of doubt, if the Debtors,
 the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group agree to any reduced or less
 restrictive terms concerning the 5% Common Benefit Fund assessment (or its implementation) provided
 under any portion of this Article IV.X.8 for any of the Private Opioid Creditor Trusts and the Ratepayer
 Account, then such modifications shall apply to each of the groups, mutatis mutandis.

         B.       Hospitals Attorneys’ Fees and Costs. On the Effective Date, the Hospital Attorney Fee
 Fund shall be established for the payment of attorneys’ fees and costs of the Ad Hoc Group of Hospitals
 with respect to Hospital Opioid Claims. The Hospital Attorney Fee Fund shall be funded with (i) 20% of
 each distribution made by the Hospital Trust to Hospital Opioid Claimants that have not retained (or are
 not part of an ad hoc group that has retained) separate counsel through an individual contingency fee
 arrangement less (ii) the amount of such Distributions payable to the Common Benefit Escrow and the
 Common Benefit Fund under Article IV.Y.7(A). The Hospital Attorney Fee Fund shall be administered by
 the Hospital Trust on terms acceptable to the Ad Hoc Group of Hospitals.

          C.      NAS Monitoring Attorneys’ Fees and Costs. On the Effective Date, the NAS Monitoring
 Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs of the NAS Committee
 with respect to NAS Monitoring Opioid Claimants. The NAS Monitoring Attorney Fee Fund shall be
 funded with (i) 20% of each distribution made to the NAS Monitoring Trust less (ii) the amount of such
 Distributions payable to the Common Benefit Escrow and the Common Benefit Fund under Article
 IV.X.8.A. Reasonable expert costs incurred by the NAS Committee in the formation of the abatement plan
 for the NAS Monitoring Trust shall also be paid by the NAS Monitoring Trust, and, for the avoidance of
 doubt, (x) there shall be no amounts payable to the Common Benefit Escrow or the Common Benefit Fund
 on account of such cost reimbursements and (y) the 20% limitation on attorneys’ fees shall not apply to the
 foregoing reasonable expert costs. The NAS Monitoring Attorney Fee Fund shall be administered by the
 NAS Monitoring Trust on terms acceptable to the NAS Committee. Except as expressly set forth in this
 Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract between
 any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc group’s)
 counsel.


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         D.      Ratepayer Attorneys’ Fees and Costs. On the Effective Date, the Ratepayer Attorney Fee
 Fund shall be established for the payment of attorneys’ fees and costs of the Ratepayer Mediation
 Participants. The Ratepayer Attorney Fee Fund shall be funded with (i) 20% of each distribution made by
 the Ratepayer Account less (ii) the amount of such Distributions payable to the Common Benefit Escrow
 and the Common Benefit Fund under Article IV.X.8.A. The Ratepayer Attorney Fee Fund shall be
 administered by the Ratepayer Account as set forth in this Article IV.X.8. Except as expressly set forth in
 this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract
 between any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc
 group’s) counsel.

           E.     Emergency Room Physicians Attorneys’ Fees and Costs. On the Effective Date, the
 Emergency Room Physicians Attorney Fee Fund shall be established for the payment of attorneys’ fees and
 costs of the Emergency Room Physicians Opioid Claimants. The Emergency Room Physicians Attorney
 Fee Fund shall be funded with (i) 20% of each distribution made by the Emergency Room Physicians Trust
 less (ii) the amount of such Distributions payable to the Common Benefit Escrow and the Common Benefit
 Fund under Article IV.X.8.A. The Emergency Room Physicians Attorney Fee Fund shall be administered
 by the Emergency Room Physicians Trust as set forth in this Article IV.X.8. Except as expressly set forth
 in this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract
 between any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc
 group’s) counsel.

         F.       PI Claimant Costs and Expenses. The Opioid Creditor Trustee of the PI Trust shall pay or
 reimburse, as applicable, the compensation, costs and fees of professionals that represented or advised the
 Ad Hoc Group of Personal Injury Victims and the NAS Committee in connection with the Chapter 11
 Cases, as and to the extent provided in the PI Trust Documents. Such compensation, costs and fees paid or
 reimbursed, as applicable, by the PI Trust shall be deducted from distributions from the PI Trust Holders
 of Allowed PI Opioid Claims and Allowed NAS PI Opioid Claims, in each case pursuant to the PI Trust
 Documents. Nothing in this Article IV.X.8 shall impair or otherwise affect any fee contract that is not a
 contingency fee contract between the Ad Hoc Group of Personal Injury Victims and its professionals, or
 between the NAS Committee and its professionals.

          G.      No Impairment of Contingency Fee Contracts; No Further Assessment. Except as
 expressly set forth in this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any
 contingency fee contract between any Holder of a Claim (or any ad hoc group of Holders of Claims) and
 such Holder’s (or ad hoc group’s) counsel. In this regard, the payment of the assessments described in this
 Article IV.X.8 shall be the only payment that such Holders (or their counsel) shall ever have to make to the
 Common Benefit Fund with respect to amounts distributed under this Plan, and shall not be subject to any
 further or other common benefit or similar assessments with respect to amounts distributed pursuant to the
 Plan or payments to attorneys in respect thereof.

         9.       Public Opioid Claimants’ Attorneys’ Fees

         A.       Opioid Attorneys’ Fee Fund. On the Effective Date, the Opioid Attorneys’ Fee Fund shall
 be established, and thereafter funded pursuant to Article IV.X.7 for payment of costs and expenses
 (including attorneys’ fees) as further set forth in this Article IV.X.9.

          B.      Municipal and Tribe Opioid Attorneys’ Fee Fund. On the Effective Date, the Municipal
 and Tribe Opioid Attorneys’ Fee Fund shall be established for the payment of costs and expenses (including
 attorneys’ fees) of Holders of Municipal Opioid Claims and Tribe Opioid Claims (including any ad hoc
 group consisting of any of the foregoing), other than any amounts paid to counsel to the Governmental
 Plaintiff Ad Hoc Committee and the MSGE Group in accordance with the Plan and the Restructuring
 Support Agreement. The Municipal and Tribe Opioid Attorneys’ Fee Fund shall be funded in an aggregate

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 amount not to exceed $110 million from periodic distributions of 5.5% of each distribution on account of
 the Public Opioid Creditor Share. Payments from the Municipal and Tribe Opioid Attorneys’ Fee Fund
 shall be the exclusive means of payment from the Public Opioid Creditor Trusts for costs and expenses
 (including attorneys’ fees) of any Holder of a Municipal Opioid Claim or Tribe Opioid Claim (or any ad
 hoc group consisting of any of the foregoing) or any attorney therefor, other than amounts paid in
 accordance with the order of the MDL Court establishing the Common Benefit Fund. Except as otherwise
 agreed to in writing by the MSGE Group and the MDL Plaintiffs’ Executive Committee, the PEC/MSGE
 Mallinckrodt Fee Allocation Agreement shall be and remain fully enforceable, and shall apply to the
 Municipal and Tribe Opioid Attorneys’ Fee Fund. All modifications of the Municipal and Tribe Opioid
 Attorneys’ Fee Fund that directly impact reimbursement of costs and expenses of Holders of Tribe Opioid
 Claims shall be reasonably acceptable to the Tribal Leadership Committee.

         C.       State Costs and Expenses. On the Effective Date, the State Opioid Attorneys’ Fee Fund
 shall be established for the payment of costs and expenses (including attorneys’ fees) of the States
 (including any ad hoc group thereof), other than amounts other than any amounts paid to counsel to the
 Governmental Plaintiff Ad Hoc Committee in accordance with the Plan and the Restructuring Support
 Agreement. The State Opioid Attorneys’ Fee Fund shall be funded in an aggregate amount not to exceed
 $90 million from periodic distributions of 4.5% of each distribution on account of the Public Opioid
 Creditor Share. Payments from the State Opioid Attorneys’ Fee Fund shall be the exclusive means of
 payment from the Public Opioid Creditor Trusts for costs and expenses (including attorneys’ fees) of any
 State (or any ad hoc group thereof) or any attorney therefor, other than amounts paid in accordance with
 the order of the MDL Court establishing the Common Benefit Fund.

         10.      U.S. Government-Opioid Claimant Medical Expense Claim Settlement

         The U.S. Government-Opioid Claimant Medical Expense Claim Settlement is as follows:

         (a)      Notwithstanding Article IX.E of the Plan, as of the Effective Date, for good and valuable
                  consideration, the adequacy of which is hereby confirmed, the Opioid Creditor Trusts, each
                  Holder of an Opioid Claim and, in respect of each of the Opioid Creditor Trusts and each
                  Holder of an Opioid Claim, its respective agents, representatives, heirs, successors and
                  assigns, in their respective capacities as such, shall, without any further action by the
                  Bankruptcy Court, be conclusively, absolutely, unconditionally, irrevocably, fully, finally,
                  forever and permanently released by each Holder of a U.S. Government-Opioid Claimant
                  Medical Expense Claim of all U.S. Government-Opioid Claimant Medical Expense Claims
                  and all claims and Causes of Action based on or relating to, or in any manner arising from,
                  in whole or in part, the U.S. Government-Opioid Claimant Medical Expense Claim
                  Settlement (other than a claim or Cause of Action to enforce the U.S. Government-Opioid
                  Claimant Medical Expense Claim Settlement, including, but not limited to, the release set
                  forth in Article IV.X.10.b of the Plan) that each Holder of a U.S. Government-Opioid
                  Claimant Medical Expense Claim has asserted or could assert on its own behalf or on behalf
                  of another Person or party, notwithstanding section 1542 of the California Civil Code or
                  any law of any jurisdiction that is similar, comparable or equivalent thereto (which shall
                  conclusively be deemed waived), against the Opioid Creditor Trusts, a Holder of an Opioid
                  Claim, Distributions to Holders of Opioid Claims pursuant to the Opioid Creditor Trust
                  Documents or under the Plan and, in respect of each of the Opioid Creditor Trusts, and
                  each Holder of an Opioid Claim, its respective agents, representatives, heirs, successors
                  and assigns, in their respective capacities as such; provided, however, that, if a Holder of
                  an Opioid Claim commences a legal action against a Holder of a U.S. Government-Opioid
                  Claimant Medical Expense Claim challenging all or any portion of the U.S. Government-
                  Opioid Claimant Medical Expense Claim Settlement, then, from and after the


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                  commencement of such legal action, the U.S. Government-Opioid Claimant Medical
                  Expense Claim Release shall be void ab initio solely with respect to such Holder of an
                  Opioid Claim, and the heirs, successors and assigns of such Holder of an Opioid Claim, in
                  their capacities as such, and not with respect to any other Person or party, including, but
                  not limited to, the Opioid Creditor Trusts, counsel to such Holder of an Opioid Claim and,
                  in respect of each of the Opioid Creditor Trusts and such counsel, its respective agents,
                  representatives, heirs, successors and assigns, in their respective capacities as such;
                  provided further that no such legal action against a Holder of a U.S. Government-Opioid
                  Claimant Medical Expense Claim shall impair or reduce the amount that the United States
                  shall receive pursuant to Article IV.X.10.b. Nothing in this Article IV.X.10.a creates any
                  rights of a Holder of an Opioid Claim to sue the United States or any of its agencies,
                  including a Holder of a U.S. Government-Opioid Claimant Medical Expense Claim, and
                  the United States and its agencies reserve all rights and defenses in that regard; and nothing
                  in this paragraph is or shall be deemed a waiver of any applicable sovereign immunity with
                  respect to any legal action against the United States or any of its agencies challenging all
                  or any portion of the U.S. Government-Opioid Claimant Medical Expense Claim, brought
                  by a Holder of an Opioid Claim or the heirs, successors or assigns of such Holder of an
                  Opioid Claim, in their capacities as such.

         (b)      As of the Effective Date, for good and valuable consideration, the adequacy of which is
                  hereby confirmed, each Holder of a U.S. Government-Opioid Claimant Medical Expense
                  Claim shall, without any further action by the Bankruptcy Court, be conclusively,
                  absolutely, unconditionally, irrevocably, fully, finally, forever and permanently released
                  by the Opioid Creditor Trusts, and their agents, representatives, successors and assigns, in
                  their respective capacities as such, of all claims and Causes of Action based on or relating
                  to, or in any manner arising from, in whole or in part, the release of the U.S. Government-
                  Opioid Claimant Medical Expense Claims (other than a claim or Cause of Action to enforce
                  the terms of the Plan, including, but not limited to, any release of the U.S. Government-
                  Opioid Claimant Medical Expense Claims) that the Opioid Creditor Trusts have asserted
                  or could assert on their own behalf or on behalf of another Person or party notwithstanding
                  section 1542 of the California Civil Code or any law of any jurisdiction that is similar,
                  comparable or equivalent thereto (which shall conclusively be deemed waived), against a
                  Holder of a U.S. Government-Opioid Claimant Medical Expense Claim and, in respect of
                  each Holder of a U.S. Government-Opioid Claimant Medical Expense Claim, its respective
                  agents, representatives, successors and assigns, in their respective capacities as such.

         (c)      The United States Department of Defense, Defense Health Agency (in respect of the
                  TRICARE Program) submits to the jurisdiction of the Bankruptcy Court for purposes of
                  the U.S. Government-Opioid Claimant Medical Expense Claim Settlement, including, but
                  not limited to, the U.S. Government-Opioid Claimant Medical Expense Claim Releases.

         (d)      The United States Department of Health and Human Services, on its own behalf and on
                  behalf of its component agencies, which are the Centers for Medicare & Medicaid Services
                  and the Indian Health Service on behalf of its federally-operated programs; the United
                  States Department of Defense, Defense Health Agency (in respect of the TRICARE
                  Program); and the United States Department of Veterans Affairs submit to the exclusive
                  jurisdiction of the Bankruptcy Court for purposes of any proceeding in respect of the
                  interpretation or enforcement of the Plan including, but not limited to, the release of the
                  U.S. Government-Opioid Claimant Medical Expense Claims.



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         (e)      For avoidance of doubt and notwithstanding any other provision of the Plan, the U.S.
                  Government-Opioid Claimant Medical Expense Claim Settlement is not and shall not be
                  deemed a release of the private Claims held by Medicare Advantage Plans, Medicaid
                  Managed Care Organizations, or private carriers of medical and prescription drug
                  coverage, including under The Federal Employees Health Benefits Act (“FEHBA”) of
                  1959 (5 U.S.C. 8901 et seq.); nor shall the U.S. Government-Opioid Claimant Medical
                  Expense Claim Settlement apply to any claims brought by programs operated by tribes or
                  tribal organizations under the Indian Self-Determination and Education Assistance Act, 25
                  U.S.C. §§ 5301–5423, or programs operated by urban Indian organizations that have a
                  grant or contract with the Indian Health Service under the Indian Health Care Improvement
                  Act, 25 U.S.C. §§ 1601–1685.

 Y.      Administration of Opioid Claims

          All Opioid Claims will be administered, processed, and resolved pursuant to the applicable Opioid
 MDT II Documents or Opioid Creditor Trust Documents. The Opioid MDT II Trustee(s) and Opioid
 Creditor Trustee(s), as applicable, shall determine the eligibility, amount and Allowance of the applicable
 Opioid Claims in accordance with the applicable Opioid MDT II Documents or Opioid Creditor Trust
 Documents. The determination by the applicable Opioid MDT II Trustee(s) or Opioid Creditor Trustee(s)
 of the eligibility, amount and Allowance of each Opioid Claim (except for any Other Opioid Claims) shall
 be final and binding, and shall not be subject to any challenge or review of any kind, by any court or other
 Person, except as set forth herein and in the Opioid MDT II Documents and Opioid Creditor Trust
 Documents. Distributions in respect of Allowed Opioid Claims shall be made by the applicable Opioid
 MDT II Trustee(s) or Opioid Creditor Trustee(s), in accordance with the trust distribution procedures and
 other provisions of the applicable Opioid MDT II Documents or Opioid Creditor Trust Documents, from
 the applicable Opioid MDT II or Opioid Creditor Trust. Distributions from the Opioid MDT II, Opioid
 Creditor Trusts, and the Ratepayer Account shall be the sole source of recovery for Holders of Allowed
 Opioid Claims, and no Holder of an Opioid Claim shall have any other or further recourse to the Opioid
 Creditor Trusts, the Opioid MDT II, the Debtors or their Estates, the Reorganized Debtors, NewCo, any
 NewCo Subsidiaries, or the Released Parties. Holders of disallowed Opioid Claims shall have no recourse
 to the Opioid Creditor Trusts, the Ratepayer Account, the Opioid MDT II, the Debtors or their Estates, the
 Reorganized Debtors, NewCo, any NewCo Subsidiaries, or the Released Parties in respect of such
 disallowed Claims.

         1.       Administration of Other Opioid Claims

         On the Effective Date or as soon as reasonably practicable thereafter, the Opioid MDT II
 Administrator will (i) file the notice of the Other Opioid Claims Bar Date with the Bankruptcy Court and
 (ii) publish the notice of the Other Opioid Claims Bar Date, the form of which shall be reasonably
 acceptable to the Reorganized Debtors. The notice shall be served on all known Other Opioid Claimants
 who were served with ballots for Class 9(h) or submitted ballots for Class 9(h). Any Other Opioid Claim
 for which no timely proof of claim form is submitted shall be deemed disallowed, subject to Bankruptcy
 Rule 9006.

          All Other Opioid Claims shall be Disputed Claims under the Plan. Only Other Opioid Claims that
 become Allowed Claims pursuant to the procedures contained in Article IV.Y.2 herein shall be entitled to
 receive distributions on account of their respective Other Opioid Claimant Pro Rata Share. For the
 avoidance of doubt, Other Opioid Claims, whether Allowed or disallowed, shall not be entitled to any
 distributions from any Abatement Trust or other Opioid Creditor Trust.




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         After Other Opioid Claims are Allowed and in the course of making any Opioid MDT II Subsequent
 Distribution, the Opioid MDT II Administrator will calculate the Other Opioid Claimant Pro Rata Share
 for the Allowed Other Opioid Claims, and shall make distributions to Holders of Allowed Other Opioid
 Claims accordingly.

          The Opioid MDT II Administrator may, in its discretion, elect to implement procedures for the
 establishment and release of a reserve for Other Opioid Claims that may be allowed in the future. Subject
 to definitive guidance from the IRS or a court of competent jurisdiction to the contrary, the Opioid MDT II
 shall treat any such reserve as a “disputed ownership fund” governed by Treasury Regulation section
 1.468B-9 and to the extent permitted by applicable law, report consistently with the foregoing for state and
 local income tax purposes. All parties (including, to the extent applicable, the Opioid MDT II and Holders
 of Other Opioid Claims) shall be required to report for tax purposes consistently with the foregoing.

         2.       Objections to Other Opioid Claims

          The Opioid MDT II Administrator shall be entitled to object to Other Opioid Claims. Any
 objections to Other Opioid Claims shall be served and filed on or before the later of (i) two-hundred and
 seventy (270) days after the Other Opioid Claims Bar Date and (ii) such later date as may be fixed by the
 Bankruptcy Court (as the same may be extended by the Bankruptcy Court for cause shown); any Disputed
 Other Opioid Claim to which no objection is served and filed within such time shall become an Allowed
 Other Opioid Claim after the expiration of such time. The Opioid MDT II Administrator shall be entitled
 to use omnibus objections in compliance with Local Rule 3007-1 and may seek Bankruptcy Court approval
 to establish additional objection or estimation procedures as the Opioid MDT II Administrator believes
 appropriate. Other Opioid Claims shall be Allowed or disallowed in accordance with the Bankruptcy Code,
 and any objection to, or other dispute regarding, the Allowance of an Other Opioid Claim shall (absent
 consensual resolution) be determined by the Bankruptcy Court. Notwithstanding anything to the contrary
 contained in the Plan, any disallowance of any Other Opioid Claim pursuant to any objection filed under
 this section of the Plan or otherwise shall be subject to reconsideration upon the filing, at any time, of a
 motion by the holder of such Claim under section 502(j) of the Bankruptcy Code.

         3.       Resolution of Disputed Other Opioid Claims

        On and after the Effective Date the Opioid MDT II Administrator shall have the authority to
 compromise, settle, otherwise resolve, or withdraw any objections to Disputed Other Opioid Claims and to
 compromise, settle, or otherwise resolve any Disputed Other Opioid Claims without approval of the
 Bankruptcy Court.

         4.       Disallowance of Other Opioid Claims

          Any Other Opioid Claims held by an Entity from which property is recoverable under sections 542,
 543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f),
 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall
 be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Other Opioid
 Claims may not receive any distributions on account of such Other Opioid Claims until such time as such
 Causes of Action against that Entity have been settled or a Final Order with respect thereto has been entered
 and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
 Reorganized Debtors.

         5.       Estimation of Other Opioid Claims

        The Opioid MDT II Administrator may at any time request that the Bankruptcy Court estimate any
 Other Opioid Claims pursuant to section 502(c) of the Bankruptcy Code for any reason or purpose,


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 regardless of whether the Opioid MDT II Administrator has previously objected to such Other Opioid Claim
 or whether the Bankruptcy Court has ruled on any such objection; provided, however, any estimation of
 any Other Opioid Claim shall be subject to reconsideration upon the filing, at any time, of a motion by the
 holder of such Claim under section 502(j) of the Bankruptcy Code. The Bankruptcy Court shall retain
 jurisdiction to estimate any Other Opioid Claim at any time during litigation concerning any objection to
 any Other Opioid Claim, including, during the pendency of any appeal relating to any such objection. If
 the Bankruptcy Court estimates any Other Opioid Claim, that estimated amount shall constitute the
 maximum limitation on such Other Opioid Claim (unless such Other Opioid Claim is subsequently Allowed
 in a greater amount pursuant to section 502(j) of the Bankruptcy Code), and the Opioid MDT II
 Administrator may pursue supplementary proceedings to object to the ultimate allowance of such Other
 Opioid Claim. All of the aforementioned objection, estimation and resolution procedures are cumulative
 and not exclusive of one another. Other Opioid Claims may be estimated and subsequently compromised,
 settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

 Z.      Authority of the Debtors

         Effective on the Confirmation Date, the Debtors shall be empowered and authorized to take or
 cause to be taken, prior to the Effective Date, all actions necessary or appropriate to achieve the Effective
 Date and enable the Reorganized Debtors to implement effectively the provisions of the Plan, the
 Confirmation Order, the Scheme of Arrangement, the Irish Confirmation Order, the Restructuring
 Transactions, the Opioid MDT II Documents, and the Opioid Creditor Trust Documents.

 AA.     Industry-Wide Document Disclosure Program

          The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall participate in an
 industry-wide document disclosure program by disclosing publicly a subset of its litigation documents,
 subject to scope and protocols described below.

         1.       Documents Subject to Public Disclosure

          The following documents shall be produced by the VI-Specific Debtors and/or the Reorganized
 VI-Specific Debtors to the Minnesota State Attorney General, on behalf of the Settling States, and are
 subject to public disclosure in perpetuity as part of an industry-wide document disclosure program, except
 for the redactions authorized by Article IV.AA.2:

         (a)      All documents, indices, and privilege logs the VI-Specific Debtors produced to any of the
                  Settling States prior to the Petition Date, including in litigation and in response to
                  investigative demands or other formal or informal requests related to opioids.

         (b)      All documents, indices, and privilege logs the VI-Specific Debtors produced in the Opioid
                  Multi-District Litigation (In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804 (N.D.
                  Ohio)) and the New York litigation (In re Opioid Litigation, 400000/2017 (Suffolk
                  County)) prior to the Petition Date.

         (c)      All documents, indices, and privilege logs the VI-Specific Debtors have produced in other
                  litigation related to opioids, excluding patent litigation.

         (d)      All filings, motions, orders, court transcripts, deposition transcripts, and exhibits in the
                  possession, custody, or control of the VI-Specific Debtors and/or Reorganized VI-Specific
                  Debtors from litigation related to opioids, excluding patent litigation.

        All documents produced under this provision shall be provided in electronic format with all related
 metadata. The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors and the Minnesota State

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 Attorney General, on behalf of the Settling States, will work cooperatively to develop technical
 specifications for the productions.

         2.       Information That May Be Redacted

         The following categories of information are exempt from public disclosure:

         (a)      Information subject to trade secret protection. A “trade secret” is information, including a
                  formula, pattern, compilation, program, device, method, technique or process, that (i)
                  derives independent economic value, actual or potential, from not being generally known
                  to the public or to other persons who can obtain economic value from its disclosure and
                  use; and (ii) is the subject of efforts that are reasonable under the circumstances to maintain
                  its secrecy. Even if the information falls within the definition, “trade secret” does not
                  include information reflecting sales or promotional strategies, tactics, targeting, or data, or
                  internal communications related to sales or promotion.

         (b)      Confidential personal information. “Confidential personal information” means individual
                  Social Security or tax identification numbers, personal financial account numbers, passport
                  numbers, driver license numbers, home addresses, home telephone numbers, personal
                  email addresses, and other personally identifiable information protected by law from
                  disclosure. “Confidential personal information” does not include the names of the VI-
                  Specific Debtors’ and/or the Reorganized VI-Specific Debtors’ officers, directors,
                  employees, agents, or attorneys.

         (c)      Information that is inappropriate for public disclosure because it is subject to personal
                  privacy interests recognized by law (e.g., HIPAA), or contractual rights of third parties that
                  the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors may not abrogate.

         (d)      Information regarding the VI-Specific Debtors’ and/or the Reorganized VI-Specific
                  Debtors’ employees’ personal matters unrelated to the VI-Specific Debtors and/or the
                  Reorganized VI-Specific Debtors, including emails produced by the VI-Specific Debtors’
                  custodians discussing vacation or sick leave, family, or other personal matters.

         3.       Redaction of Documents Containing Protected Information

          Whenever a document contains information subject to a claim of exemption pursuant to
 Article IV.AA.2, the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce the
 document in redacted form. Such redactions shall indicate that trade secret and/or private information, as
 appropriate, has been redacted. Redactions shall be limited to the minimum redactions possible to protect
 the legally recognized individual privacy interests and trade secrets identified above.

          The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce to the
 Minnesota State Attorney General, on behalf of the Settling States, a log noting each document redacted.
 The log shall also provide fields stating the basis for redacting the document, with sufficient detail to allow
 an assessment of the merits of the assertion. The log is subject to public disclosure in perpetuity. The log
 shall be produced simultaneously with the production of documents required by Article IV.AA.7.

          In addition to the redacted documents, the VI-Specific Debtors and/or the Reorganized VI-Specific
 Debtors shall, upon any Settling State’s request, also produce all documents identified in Article IV.AA.1
 in unredacted form to such Settling State at the same time. The redacted documents produced by the VI-
 Specific Debtors and/or the Reorganized VI-Specific Debtors may be publicly disclosed in accordance with
 Article IV.AA.6. The unredacted documents produced by the VI-Specific Debtors and/or the Reorganized
 VI-Specific Debtors to a Settling State shall be available only to such Settling State unless the VI-Specific

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 Debtors’ and/or the Reorganized VI-Specific Debtors’ claim of exemption under Article IV.AA.2 is
 successfully challenged in accordance with Article IV.AA.4 or the trade secret designation expires in
 accordance with Article IV.AA.5.

         4.       Challenges to Redaction

         Anyone, including members of the public and the press, may challenge the appropriateness of
 redactions by providing notice to the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors. If
 the challenge is not resolved by agreement, it must be resolved in the first instance by a third party jointly
 appointed by the Minnesota State Attorney General, on behalf of the Settling States, and the VI-Specific
 Debtors and/or the Reorganized VI-Specific Debtors to resolve such challenges. The decision of the third
 party may be appealed to a court with enforcement authority over the Opioid Operating Injunction. If not
 so appealed, the third party’s decision is final. In connection with such challenge, a Settling State may
 provide copies of relevant unredacted documents to the parties or the decisionmaker, subject to appropriate
 confidentiality and/or in camera review protections, as determined by the decisionmaker.

         5.       Review of Trade Secret Redactions

         Ten years after the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors complete the
 production of documents in accordance with this Article IV.AA, the Reorganized VI-Specific Debtors shall
 review all trade secret assertions made in accordance with Article IV.AA.2 and all non-manufacturing trade
 secret designations shall expire. The newly unredacted documents may then be publicly disclosed by the
 Minnesota State Attorney General, on behalf of the Settling States, in accordance with Article IV.AA.6.
 The Reorganized VI-Specific Debtors shall produce to the Minnesota State Attorney General, on behalf of
 the Settling States, an updated redaction log justifying its designations of the remaining trade secret
 redactions as manufacturing trade secrets.

         6.       Public Disclosure through a Document Repository

          The Minnesota State Attorney General, on behalf of the Settling States, may publicly disclose all
 documents covered by this Article IV.AA through a public repository maintained by a governmental, non-
 profit, or academic institution. The Minnesota State Attorney General, on behalf of the Settling States, may
 specify the terms of any such repository’s use of those documents, including allowing the repository to
 index and make searchable all documents subject to public disclosure, including the metadata associated
 with those documents. When providing the documents covered by this Article IV.AA to a public repository,
 no Settling State shall include or attach within the document set any characterization of the content of the
 documents. For the avoidance of doubt, nothing in this paragraph shall prohibit any Settling State from
 publicly discussing the documents covered by this Article IV.AA.

         7.       Timeline for Production

         The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce all documents
 required by Article IV.AA.1 within nine months from the Petition Date.

         8.       Costs

         The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall be responsible for their
 allocable share of all reasonable costs and expenses associated with the public disclosure and storage of the
 VI-Specific Debtors’ and/or the Reorganized VI-Specific Debtors’ documents through any public
 repository.




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 BB.       Monitor

           1.       Appointment and Term

          The Confirmation Order will provide for the appointment of the Monitor for a term of five years
 from the Petition Date. If, at the conclusion of the Monitor’s five-year term, the Settling States determine
 in good faith and in consultation with the Monitor that the Reorganized VI-Specific Debtors have failed to
 achieve and maintain substantial compliance with the substantive provisions of the Opioid Operating
 Injunction, the Monitor’s engagement shall be extended for an additional term of up to two years, subject
 to the right of the Reorganized VI-Specific Debtors to commence legal proceedings for the purpose of
 challenging the decision of the Settling States and to seek preliminary and permanent injunctive relief with
 respect thereto.

           2.       Identity

         The Monitor for the full term shall be the Chapter 11 Monitor in place as of the Effective Date
 unless justifiable cause exists and the Monitor Agreement shall remain in full force and effect upon the
 Effective Date, unless amended or superseded by further order of the Bankruptcy Court, which order may
 be the Confirmation Order. For purposes of this paragraph, justifiable cause exists if the Monitor resigns
 or a court finds that the Monitor: (a) develops a conflict of interest that would undermine public confidence
 in the objectivity of his or her work; (b) has unreasonably failed to fulfill his or her material obligations
 under the Opioid Operating Injunction or pursuant to his or her work plan, (c) has engaged in any act of
 dishonesty, misappropriation, embezzlement, intentional fraud, or similar conduct; or (d) has engaged in an
 intentional act of bias or prejudice in favor or against either party. Justifiable cause shall not include the
 Reorganized VI-Specific Debtors’ or the Settling States’ disagreements with the decisions of the Monitor,
 unless there is a clear pattern in the Monitor’s decisions that demonstrates that the Monitor has not been
 acting as an independent third party in rendering decisions.

          If a new Monitor must be appointed during the term, the Reorganized VI-Specific Debtors and the
 Settling States shall exchange pools of recommended candidates within 30 days of the Monitor’s departure.
 The pools shall each contain the names of three individuals, groups of individuals or firms and shall be
 based in part on experience with internal investigations or the investigative process (which may include
 prior monitorship or oversight experience) and expertise in the pharmaceutical industry, relevant regulatory
 regimes, and internal controls and compliance systems.

          After receiving the pools of Monitor candidates, the Reorganized VI-Specific Debtors and the
 Settling States shall have the right to meet with the candidates and conduct appropriate interviews of the
 personnel who are expected to work on the project. The Reorganized VI-Specific Debtors and the Settling
 States may veto any of the candidates, and must do so in writing within 30 days of receiving the pool of
 candidates. If all three candidates within a pool are rejected by either the Reorganized VI-Specific Debtors
 or the Settling States, the party who rejected the three candidates may direct the other party to provide up
 to three additional qualified candidates within 15 days of receipt of said notice.

          If the Reorganized VI-Specific Debtors or the Settling States do not object to a proposed candidate,
 the Reorganized VI-Specific Debtors or the Settling States shall so notify the other in writing within 30
 days of receiving the pool of candidates. If more than one candidate remains, the Settling States shall select
 the Monitor from the remaining candidates.


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       This section is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and for
       any inconsistency between this section and the Voluntary Injunction and the Opioid Operating Injunction, the
       Voluntary Injunction and the Opioid Operating Injunction, as applicable, will govern.

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         3.       Duties and Reporting

          The Monitor shall be responsible for ensuring that the Reorganized VI-Specific Debtors (and any
 successors during the Monitor’s term to the Reorganized VI-Specific Debtors’ business operations relating
 to the manufacture and sale of opioid product(s) in the United States and its territories) are in compliance
 with the Opioid Operating Injunction. The Reorganized VI-Specific Debtors and their professionals and
 representatives shall cooperate and reasonably respond to requests by the Monitor in the performance of its
 responsibilities, including reasonable requests for access to relevant books and records of the Reorganized
 VI-Specific Debtors. Subject to any legally recognized privilege and as reasonably necessary to perform
 his or her duties, the Monitor shall have full and complete access to the Reorganized VI-Specific Debtors’
 personnel, books, records, and facilities, and to any other relevant information, as the Monitor may request.
 The Reorganized VI-Specific Debtors shall develop such information as the Monitor may request and shall
 fully, completely and promptly cooperate with the Monitor.

         The manner in which the Monitor will carry out his or her responsibilities, the general scope of
 information that the Monitor will seek to review in fulfilling his or her duties and, where applicable, the
 methodologies to be utilized shall be consistent with the work plan used by the Chapter 11 Monitor as of
 the Effective Date (the “Work Plan”). The Reorganized VI-Specific Debtors, the Settling States, and the
 Monitor may jointly agree to revisions to the Work Plan.

         The Monitor shall file a report with the Settling States regarding compliance by the Reorganized
 VI-Specific Debtors with the terms of the Opioid Operating Injunction every 90 days after the Effective
 Date (the “Monitor Reports”). The Reorganized VI-Specific Debtors and the Settling States may jointly
 agree to decrease the frequency of Monitor Reports to every 180 days. To the extent permissible by state
 public record laws, these reports (in whole or in part) may be filed subject to restriction from public
 disclosure. The content of Monitor Reports shall be set forth in the Work Plan.

         Prior to issuing a Monitor Report, the Monitor shall confer with Reorganized VI-Specific Debtors
 and the Settling States, either jointly or separately (in the discretion of the Monitor), regarding his or her
 preliminary findings and the reasons for those findings. The Reorganized VI-Specific Debtors shall have
 the right to submit written comments to the Monitor, which shall be appended to the final version of the
 Monitor Report.

         4.       Relief and Cure

         In furtherance of the responsibilities of the Monitor, the Monitor shall be authorized to seek relief
 from the Bankruptcy Court, to the extent necessary to carry out its obligations hereunder.

         In the event a Monitor Report identifies a potential violation of the Opioid Operating Injunction,
 the Reorganized VI-Specific Debtors shall have the right to cure any potential violation within 30 days.

         5.       Professionals and Costs

         The Monitor shall have the authority to employ, upon written consent from the Reorganized VI-
 Specific Debtors, such consent not to be unreasonably withheld, delayed or conditioned, such consultants,
 accountants, attorneys, and other representatives and assistants as are reasonably necessary to carry out the
 Monitor’s responsibilities. Requests to employ such individuals will be decided upon no later than ten (10)
 days from their receipt.

         All compensation, costs and fees of the Monitor and any professionals retained by the Monitor shall
 be paid by the Reorganized VI-Specific Debtors.




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         6.       Liability

         The Monitor shall serve without bond or other security. The Monitor shall have no obligation,
 responsibility, or liability for the operations of the Reorganized VI-Specific Debtors.

 CC.     Trade Claimant Agreements

          As to any Trade Claimant that agrees by so indicating on its Ballot to maintain with the Debtors
 Favorable Trade Terms, the Plan shall constitute (i) if applicable, an amendment to such Trade Claimant’s
 assumed or assumed and assigned Executory Contract between any Debtor and such Trade Claimant,
 instituting the foregoing trade terms in such Executory Contract, or (ii) otherwise, a contractual agreement
 by such Trade Claimant to maintain such trade terms for at least twelve (12) months after the Effective
 Date.

 DD.     Federal/State Acthar Settlement

         As of the Effective Date, the Federal/State Acthar Settlement Agreements shall be executed by
 Parent, Mallinckrodt ARD LLC, the U.S. Government, and the States. On the Effective Date or as soon as
 reasonably practicable thereafter, the Debtors and/or the Reorganized Debtors will make the Initial
 Federal/State Acthar Settlement Payment, and thereafter, the Reorganized Debtors will make each of the
 Federal/State Acthar Deferred Cash Payments; provided, that except as otherwise expressly set forth in any
 of the Federal/State Acthar Settlement Agreements executed by any State, the Initial Federal/State Acthar
 Settlement Payment and Federal/State Acthar Deferred Cash Payments shall bear interest accruing at an
 annual rate of 0.6255%, running from September 21, 2020, in eight installments.

 EE.     Retainers of Ordinary Course Professionals

         Upon the Effective Date, each Ordinary Course Professional may apply its retainer, if any, against
 any outstanding prepetition balances owed by the Debtors to such Ordinary Course Professional.

 FF.     No Substantive Consolidation

         This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative purposes
 only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised upon the
 substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in this
 Plan.

 GG.     No Claims Under First Lien Notes/Second Lien Notes Intercreditor Agreement

          As the holders of First Lien Notes Claims shall have received recovery in full pursuant to the terms
 of this Plan, the holders of First Lien Notes shall not have any claims (including, without limitation, for
 turnover of payments) against the holders of Second Lien Notes (or the Second Lien Indenture Trustee or
 the Second Lien Collateral Agent) under the existing Intercreditor Agreement in any way arising from,
 relating to or as a result of the Debtors’ restructuring (including, without limitation, of the First Lien Notes
 and Second Lien Notes), the Plan (including, without limitation, the treatment of the existing First Lien
 Notes Claims or Second Lien Notes Claims under the Plan or the making of distributions to the holders of
 the existing First Lien Notes Claims or Second Lien Notes Claims in accordance with the Plan), the
 distribution of property by the Debtors under the Plan, any related document or any order of the Bankruptcy
 Court, or any other transaction, agreement, event, omission or other occurrence taking place on or before
 the Effective Date related or relating to any of the foregoing, including without limitation the payment of
 any reasonable and documented out-of-pocket fees or expenses of the advisors to the Ad Hoc Second Lien
 Notes Group or the payment of the Second Lien Notes Indenture Trustee Fees, which payments shall be



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 final and not subject to disgorgement, turnover, recovery, avoidance, recharacterization or any other similar
 claim.

           Prior to Effective Date, the Debtors shall not agree to any settlement with holders of the First Lien
 Notes Claims as to the treatment of such First Lien Notes Claims under this Plan that does not provide for
 a full release from any and all claims (including, without limitation, for turnover of payments) held by such
 settling holders of such First Lien Notes Claims against the holders of the Second Liens Notes Claims
 pursuant to the applicable Intercreditor Agreement.

 HH.     General Unsecured Claims Trust

         1.       Creation of General Unsecured Claims Trust

          On or prior to the Effective Date, the Debtors shall take all necessary steps to establish the General
 Unsecured Claims Trust in accordance with the Plan and the General Unsecured Claims Trust Documents.
 As of the Effective Date, the General Unsecured Claims Trust Documents shall be executed by the Debtors
 and the General Unsecured Claims Trustee, as applicable, and the General Unsecured Claims Trust shall
 be created. The General Unsecured Claims Trust will satisfy any applicable requirements to constitute a
 “qualified settlement fund” within the meaning of the Treasury Regulations issued under section 468B of
 the Internal Revenue Code, and otherwise the establishment of the General Unsecured Claims Trust and
 implementation of the UCC Settlement shall be implemented with an objective of maximizing tax
 efficiency to the Debtors and the Reorganized Debtors, including with respect to the availability, location,
 and timing of tax deductions, and to the Holders of General Unsecured Claims and Trade Claims to be
 assumed by the General Unsecured Claims Trust. The purpose of the General Unsecured Claims Trust
 shall be to, among other things: (1) resolve all Claims assumed thereby in accordance with the Plan, the
 General Unsecured Claims Trust Documents, and the Confirmation Order (but not, for the avoidance of
 doubt, (a) the Share Repurchase Claims, which will be liquidated by the Opioid MDT II or (b) any Claims
 to the extent and for so long as they are asserted as any other classification or status of Claims except
 General Unsecured Claims and Trade Claims assumed by the General Unsecured Claims Trust under
 Article IV.HH.7 of the Plan); (2) preserve, hold, collect, manage, maximize, and liquidate the assets of the
 General Unsecured Claims Trust for use in resolving Claims assumed thereby; (3) enforce, pursue,
 prosecute, compromise, and/or settle the GUC Assigned Preference Claims and the GUC Assigned
 Sucampo Avoidance Claims; (4) pay all GUC Trust Expenses as provided in the General Unsecured Claims
 Trust Documents (for which the Estates, the Reorganized Debtors, and the Released Parties shall have no
 responsibility or liability); (5) pay any and all administration and operating expenses of the General
 Unsecured Claims Trust, including the fees and expenses of any professionals retained by the General
 Unsecured Claims Trust; and (6) qualify at all times as a qualified settlement fund.

         2.       Appointment General Unsecured Claims Trustee(s)

         The appointment of the initial General Unsecured Claims Trustee will be approved in the
 Confirmation Order, and effective as of the Effective Date, in accordance with the General Unsecured
 Claims Trust Documents, the individual(s) selected as the General Unsecured Claims Trustee(s) shall be
 appointed to serve as the General Unsecured Claims Trustee(s) for the General Unsecured Claims Trust.

         3.       Transferability of General Unsecured Claim Trust Distribution Rights

         Any right of a Holder of any Claim to receive a distribution or other payment from the General
 Unsecured Claims Trust shall not be evidenced by any certificate, security, receipt or in any other form or
 manner whatsoever, except on the books and records of the Debtors, Reorganized Debtors, or the General
 Unsecured Claims Trust, as applicable. Further, any right of a Holder of any Claim to receive a distribution
 or other payment from the General Unsecured Claims Trust shall be nontransferable and nonassignable


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 except by will, intestate, succession, or operation of law or as otherwise provided in the Plan or any of the
 General Unsecured Claims Trust Documents. Any rights to receive a Distribution or other payment from
 the General Unsecured Claims Trust shall not constitute “securities” and shall not be registered pursuant to
 the Securities Act. If it is determined that such rights constitute “securities,” the exemption provisions of
 section 1145(a)(1) of the Bankruptcy Code would be satisfied and such securities would be exempt from
 registration.

         4.       Funding the General Unsecured Claims Trust

          The General Unsecured Claims Trust shall be funded solely by the General Unsecured Claims Trust
 Consideration. On the Effective Date, the obligations to provide the General Unsecured Claims Trust
 Consideration shall constitute legal, valid, binding, and authorized obligations of the applicable
 Reorganized Debtors, enforceable in accordance with the terms hereof. The financial accommodations to
 be extended in connection with the General Unsecured Claims Trust Consideration are being extended, and
 shall be deemed to have been extended, in good faith, for legitimate business purposes, are reasonable, shall
 not be subject to avoidance, recharacterization, or subordination (including equitable subordination) for any
 purposes whatsoever, and shall not constitute preferential transfers, fraudulent conveyances, or other
 voidable transfers under the Bankruptcy Code or any other applicable non-bankruptcy law. Other than the
 obligation to provide the General Unsecured Claims Trust Consideration to the General Unsecured Claims
 Trust, the Debtors, the Reorganized Debtors, and the Estates shall have no obligation to make any payment
 on account of any General Unsecured Claim or Trade Claim assumed by the General Unsecured Claims
 Trust.

          The Reorganized Debtors shall market the StrataGraft priority review voucher at a time to be
 determined by the Reorganized Debtors’ board of directors. The Reorganized Debtors shall have sole
 discretion and control over the marketing and sale of the Stratagraft priority review voucher but shall
 provide the General Unsecured Claims Trustee with timely updates regarding all aspects of the marketing
 of the StrataGraft priority review voucher, and the General Unsecured Claims Trustee shall be entitled to
 reasonable consultation rights in respect of such marketing.

         5.       GUC Assigned Preference Claims and GUC Assigned Sucampo Avoidance Claims

         As of the Effective Date, the Debtors and/or the Reorganized Debtors shall be deemed to have
 assigned the GUC Assigned Preference Claims and the GUC Assigned Sucampo Avoidance Claims to the
 General Unsecured Claims Trust; provided, that the exercise of remedies (including rights of setoff and/or
 recoupment) by non-Debtor third parties against the Debtors or Reorganized Debtors (but not the General
 Unsecured Claims Trust) on account of any GUC Assigned Preference Claims or GUC Assigned Sucampo
 Avoidance Claims shall be enjoined and barred. In addition, the General Unsecured Claims Trust may
 obtain other consideration from third parties post-emergence, including but not limited to claims assigned
 by creditors, subject to the reasonable consent right of the Debtors or Reorganized Debtors, and the
 Reorganized Debtors shall use reasonable best efforts to cooperate with the General Unsecured Claims
 Trust in connection with such other third-party consideration on the same terms as set forth in this Article
 IV.HH.

         On and after the Effective Date, the Reorganized Debtors shall use reasonable best efforts to
 cooperate with the General Unsecured Claims Trust in connection with the General Unsecured Claims
 Trust’s investigation, preservation, pursuit, and securing of the GUC Assigned Sucampo Avoidance
 Claims, including by providing non-privileged information (including, without limitation, data, documents,
 emails, and access to individuals with information) related to the GUC Assigned Sucampo Avoidance
 Claims, at the reasonable request of the General Unsecured Claims Trust. The General Unsecured Claims
 Trust shall reimburse the Reorganized Debtors for their documented and reasonable out-of-pocket costs
 and expenses incurred in connection with such reasonable cooperation from and after the Effective Date.

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 Any request by the General Unsecured Claims Trust for cooperation by the Reorganized Debtors shall be
 on reasonable advance notice, and provided during normal business hours and otherwise in a manner that
 does not disrupt commercial operations.

        6.        Vesting of the General Unsecured Claims Trust Consideration in the General Unsecured
 Claims Trust

         On the Effective Date, pursuant to the Plan and in accordance with the General Unsecured Claims
 Trust Documents, the General Unsecured Claims Trust Consideration shall be transferred or issued to and
 vest in the General Unsecured Claims Trust free and clear of all Claims, Interests, Liens, other
 encumbrances and liabilities of any kind (other than the Claims assumed by the General Unsecured Claims
 Trust). The General Unsecured Claims Trust shall have no liability for, and the General Unsecured Claims
 Trust Consideration shall vest in the General Unsecured Claims Trust free and clear of, any pre-petition
 and post-petition Claims, Causes of Action or liabilities of any kind, in each case that have been or could
 have been asserted against the Debtors, their Estates or their property (including, but not limited to, Claims
 based on successor liability) based on any acts or omissions prior to the Effective Date, except for the
 Claims assumed by the General Unsecured Claims Trust. From and after the Effective Date, all proceeds
 of the General Unsecured Claims Trust Consideration shall be paid to the General Unsecured Claims Trust
 to be applied in accordance with the General Unsecured Claims Trust Documents. For the avoidance of
 doubt, the Asbestos Cost Sharing Agreement shall be excluded from the General Unsecured Claims Trust
 and remain with the Reorganized Debtors.

         7.       Assumption of Certain Liability and Responsibility by the General Unsecured Claims Trust

          In consideration for the property transferred to the General Unsecured Claims Trust and in
 furtherance of the purposes of the General Unsecured Claims Trust and the Plan, the General Unsecured
 Claims Trust shall assume all liability and responsibility, financial and otherwise, for (a) all General
 Unsecured Claims and (b) any Trade Claim, the Holder of which votes to reject the Plan or does not agree
 to maintain Favorable Trade Terms in accordance with the requirements set forth in the Disclosure
 Statement Order. The Debtors, the Reorganized Debtors, and the Released Parties shall have no liability
 or responsibility, financial or otherwise, for any such Claims assumed by the General Unsecured Claims
 Trust. Except as otherwise provided in the Plan and the General Unsecured Claims Trust Documents, the
 General Unsecured Claims Trust shall have all defenses, cross-claims, offsets, and recoupments, as well as
 rights of indemnification, contribution, subrogation, and similar rights, regarding such assumed Claims that
 the Debtors or the Reorganized Debtors has or would have had under applicable law.

        8.     Administration of General Unsecured Claims and Trade Claims Assumed by the General
 Unsecured Claims Trust

         All Claims assumed by the General Unsecured Claims Trust will be administered, liquidated and
 discharged pursuant to the applicable General Unsecured Claims Trust Documents. Distributions in respect
 of Allowed Claims assumed by the General Unsecured Claims Trust shall be made by the General
 Unsecured Claims Trustee(s), in accordance with the General Unsecured Claims Trust Documents from the
 General Unsecured Claims Trust. Distributions from the General Unsecured Claims Trust shall be the sole
 source of recovery for Holders of Allowed Claims assumed by the General Unsecured Claims Trust
 pursuant to the Plan, and no Holder of any such Claim shall have any other or further recourse to the General
 Unsecured Claims Trust, the Debtors or their Estates, the Reorganized Debtors, NewCo, any NewCo
 Subsidiaries, or the Released Parties. Holders of disallowed Claims shall have no recourse to the General
 Unsecured Claims Trust, the Debtors or their Estates, the Reorganized Debtors, NewCo, any NewCo
 Subsidiaries, or the Released Parties in respect of such disallowed Claims.



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         Other than as described below, only the General Unsecured Claims Trustee shall be entitled to
 object to the General Unsecured Claims and Trade Claims assumed by the General Unsecured Claims
 Trust. Any objections to such Claims shall be served and filed by the General Unsecured Claims Trustee
 on or before the later of (a) two-hundred and seventy (270) days after the Effective Date and (b) such later
 date as may be fixed by the Bankruptcy Court (as the same may be extended by the Bankruptcy Court for
 cause shown). The General Unsecured Claims Trustee shall be entitled to use omnibus objections in
 compliance with Local Rule 3007-1, in addition to any procedures set forth in the General Unsecured
 Claims Trust Documents, and may seek Bankruptcy Court approval to establish additional objection,
 estimation, or other claims reconciliation procedures as the General Unsecured Claims Trustee believes
 appropriate.

          Notwithstanding anything to the contrary in the foregoing paragraph: (x) any settlement that results
 in allowance of any Acthar Claims shall require the consent of the Debtors (such consent not to be
 unreasonably withheld, conditioned, or delayed) and shall not include any direct or indirect admission of
 fault or liability as to the Debtors, the Reorganized Debtors, or any Released Party and shall not include
 any terms that allow for, establish, or tend to establish any legal or factual predicate for postpetition or post-
 Effective Date claims, liabilities, or obligations, including as to any form of legal or equitable relief, against
 the Debtors, the Reorganized Debtors, or any Released Party; (y) if, after the Effective Date, the merits of
 any Acthar Claim are to be the subject of litigation (as opposed to being settled or resolved without
 litigation), the Reorganized Debtors shall have the right to control the defense of any such Acthar Claim,
 as well as any settlement thereof (with the reasonable consent and at the expense of the General Unsecured
 Claims Trust); and (z) (i) all administrative, secured, and priority claims, including any General Unsecured
 Claim or Trade Claim assumed by the General Unsecured Claims Trust a portion of which is asserted to be
 an administrative, secured, or priority claim and (ii) any General Unsecured Claim or Trade Claim assumed
 by the General Unsecured Claims Trust that seeks injunctive relief shall be resolved by the Debtors in
 accordance with the terms, provisions, and procedures of the Plan, provided, however, that if such General
 Unsecured Claim or Trade Claim assumed by the General Unsecured Claims Trust is later determined not
 to be an administrative, secured, or priority claim, or any request for injunctive relief therein has been
 dismissed, such Claim shall be resolved by the General Unsecured Claims Trust in accordance with the
 terms, provisions, and procedures of the General Unsecured Claims Trust Documents and shall be
 controlled by the General Unsecured Claims Trustee(s), with the reasonable consent of the Debtors’
 provided, that the Debtors or the Reorganized Debtors shall not seek to allow a General Unsecured Claim
 that has been reclassified in accordance with clause (z).

         9.      Institution of Maintenance of Legal and Other Proceedings by General Unsecured Claims
 Trust; Cooperation

          As of the date upon which the General Unsecured Claims Trust is established, the General
 Unsecured Claims Trust shall be empowered to initiate, prosecute, defend and resolve all legal actions and
 other proceedings related to any asset, liability, or responsibility of the General Unsecured Claims Trust,
 including in respect of the GUC Assigned Preference Claims and the GUC Assigned Sucampo Avoidance
 Claims. The General Unsecured Claims Trust shall be empowered to initiate, prosecute, defend and resolve
 all such actions in the name of the Debtors or their Estates, in each case if deemed necessary or appropriate
 by the General Unsecured Claims Trust Trustee(s). The General Unsecured Claims Trust shall be
 responsible for the payment of all damages, awards, judgments, settlements, expenses, costs, fees, and other
 charges incurred subsequent to the date upon which the General Unsecured Claims Trust is established
 arising from, or associated with, any legal action or other proceeding brought pursuant to the foregoing.

         The General Unsecured Claims Trust shall be authorized to conduct examinations under
 Bankruptcy Rule 2004, to the fullest extent permitted thereunder, to investigate the GUC Assigned
 Preference Claims and GUC Assigned Sucampo Avoidance Claims, without the requirement of filing a


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 motion for such authorization; provided, however, that no such examinations shall be taken of the Debtors,
 the Reorganized Debtors, any Released Party, or any of their respective then-current employees, officers,
 directors, representatives, or agents, without further order of the Bankruptcy Court after notice and an
 opportunity to object and be heard.

         Before and after the Effective Date, the Debtors or the Reorganized Debtors (as applicable) shall
 provide reasonable cooperation to the Official Committee of Unsecured Creditors or the General Unsecured
 Claims Trust (as applicable) in connection with the investigation and preservation of the GUC Assigned
 Preference Claims and GUC Assigned Sucampo Avoidance Claims, including by providing information
 (including, without limitation, documents, emails, and access to individuals with information), at the
 reasonable request of professionals retained by the Official Committee of Unsecured Creditors or the
 General Unsecured Claims Trust on the terms set forth in the GUC Trust Cooperation Agreement.

          Any attorney-client privilege, work-product privilege, or other privilege or immunity attaching to
 any documents or communications (whether written or oral) associated with the GUC Assigned Preference
 Claims and GUC Assigned Sucampo Avoidance Claims shall be transferred to the General Unsecured
 Claims Trust and shall vest in the General Unsecured Claims Trust, and the Debtors or the Reorganized
 Debtors, as the case may be, and the General Unsecured Claims Trust shall take all necessary actions to
 effectuate the transfer of such privileges; provided, that (a) such privileges shall be transferred to the General
 Unsecured Claims Trust for the sole purpose of enabling, and to the extent necessary to enable, the General
 Unsecured Claims Trust to investigate and/or pursue such GUC Assigned Preference Claims and GUC
 Assigned Sucampo Avoidance Claims and (b) subject to the terms of the GUC Trust Cooperation
 Agreement, no documents or communications subject to a privilege shall be publicly disclosed by the
 General Unsecured Claims Trust or communicated to any person not entitled to receive such information or
 in a manner that would diminish the protected status of such information, unless such disclosure or
 communication is reasonably necessary to preserve, secure, prosecute, or obtain the benefit of the GUC
 Assigned Preference Claims and GUC Assigned Sucampo Avoidance Claims as more fully set forth in the
 GUC Trust Cooperation Agreement; provided, further, that the Confirmation Order shall provide that the
 General Unsecured Claim Trusts’ receipt of transferred privileges shall be without waiver in recognition of
 the joint and/or successorship interest in prosecuting claims on behalf of the Estates.

 II.     Asbestos Trust

         1.       Creation of Asbestos Trust

           On or prior to the Effective Date, the Debtors shall take all necessary steps to establish the Asbestos
 Trust in accordance with the Plan and the Asbestos Trust Documents. As of the Effective Date, the Asbestos
 Trust Documents shall be executed by the Debtors and the Asbestos Trustee, as applicable, and the Asbestos
 Trust shall be created. The Asbestos Trust will satisfy any applicable requirements to constitute a “qualified
 settlement fund” within the meaning of the Treasury Regulations issued under section 468B of the Internal
 Revenue Code, and otherwise the establishment of the Asbestos Trust shall be implemented with an
 objective of maximizing tax efficiency to the Debtors and the Reorganized Debtors, including with respect
 to the availability, location, and timing of tax deductions, and to the Holders of Asbestos Claims. The
 purpose of the Asbestos Trust shall be to, among other things: (1) resolve all Asbestos Claims assumed
 thereby in accordance with the Plan, the Asbestos Trust Documents, and the Confirmation Order;
 (2) preserve, hold, collect, manage, and maximize the assets of the Asbestos Trust for use in resolving
 Asbestos Claims; (3) pay all Asbestos Trust Expenses as provided in the Asbestos Trust Documents (for
 which the Estates, the Reorganized Debtors, and the Released Parties shall have no responsibility or
 liability); (4) pay any and all administration and operating expenses of the Asbestos Trust, including the
 fees and expenses of any professionals retained by the Asbestos Trust; and (5) qualify at all times as a
 qualified settlement fund.


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         2.       Appointment Asbestos Trustee(s)

          The appointment of the initial Asbestos Trustee will be approved in the Confirmation Order, and
 effective as of the Effective Date, in accordance with the Asbestos Trust Documents, the individual(s)
 selected as the Asbestos Trustee(s) shall be appointed to serve as the Asbestos Trustee(s) for the Asbestos
 Trust.

         3.       Transferability of Asbestos Trust Distribution Rights

         Any right of a Holder of any Asbestos Claim to receive a distribution or other payment from the
 Asbestos Trust shall not be evidenced by any certificate, security, receipt or in any other form or manner
 whatsoever, except on the books and records of the Debtors, Reorganized Debtors, or the Asbestos Trust,
 as applicable. Further, any right of a Holder of any Asbestos Claim to receive a distribution or other
 payment from the Asbestos Trust shall be nontransferable and nonassignable except by will, intestate,
 succession, or operation of law. Any rights to receive a Distribution or other payment from the Asbestos
 Trust shall not constitute “securities” and shall not be registered pursuant to the Securities Act. If it is
 determined that such rights constitute “securities,” the exemption provisions of section 1145(a)(1) of the
 Bankruptcy Code would be satisfied and such securities would be exempt from registration.

         4.       Funding the Asbestos Trust

         The Asbestos Trust shall be funded solely by the Asbestos Trust Consideration, which shall be
 funded by the General Unsecured Claims Trust. On the Effective Date, the obligations of the General
 Unsecured Claims Trust to provide the Asbestos Trust Consideration shall constitute legal, valid, binding,
 and authorized obligations, enforceable in accordance with the terms hereof. Other than the obligation to
 provide the General Unsecured Claims Trust Consideration to the General Unsecured Claims Trust, the
 Debtors, the Reorganized Debtors, and the Estates shall have no obligation to make any payment on account
 of any Asbestos Claim or any payment to the Asbestos Claims Trust.

         5.       Vesting of the Asbestos Trust Consideration in the Asbestos Trust

          On the Effective Date, pursuant to the Plan and in accordance with the Asbestos Trust Documents,
 the initial payment of the Asbestos Trust Consideration shall be transferred or issued to and vest in the
 Asbestos Trust free and clear of all Claims, Interests, Liens, other encumbrances and liabilities of any kind
 (other than the Asbestos Claims). The Asbestos Trust shall have no liability for, and the Asbestos Trust
 Consideration shall vest in the Asbestos Trust free and clear of, any pre-petition and post-petition Claims,
 Causes of Action or liabilities of any kind, in each case that have been or could have been asserted against
 the Debtors, their Estates or their property (including, but not limited to, Claims based on successor liability)
 based on any acts or omissions prior to the Effective Date, except for the Asbestos Claims. From and after
 the Effective Date, all Asbestos Trust Consideration paid to the Asbestos Trust shall be applied in
 accordance with the Asbestos Trust Documents. For the avoidance of doubt, the Asbestos Cost Sharing
 Agreement and the Asbestos Insurance Policies shall be excluded from the Asbestos Trust and shall be
 assumed by the Reorganized Debtors and/or assigned to the Opioid MDT II, as the case may be, including
 but not limited to in accordance with the definition and treatment of Opioid Insurance Policies and Excluded
 Insurance Policies herein.

         6.       Assumption of Certain Liability and Responsibility by the Asbestos Claims Trust

         In consideration for the property transferred to the Asbestos Trust and in furtherance of the purposes
 of the Asbestos Trust and the Plan, the Asbestos Trust shall assume all liability and responsibility, financial
 and otherwise, for all Asbestos Claims (but not, for the avoidance of doubt, Asbestos Late Claims, which


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 shall be assumed by the General Unsecured Claims Trust). The Debtors, the Reorganized Debtors, and the
 Released Parties shall have no liability or responsibility, financial or otherwise, for any such Claims
 assumed by the Asbestos Trust. Except as otherwise provided in the Plan and the Asbestos Trust
 Documents, the Asbestos Trust shall have all defenses, cross-claims, offsets, and recoupments, as well as
 rights of indemnification, contribution, subrogation, and similar rights, regarding such assumed Asbestos
 Claims that the Debtors or the Reorganized Debtors has or would have had under applicable law.

         7.       Administration of Asbestos Claims and by the Asbestos Trust

          All Asbestos Claims will be administered, liquidated, and discharged pursuant to the applicable
 Asbestos Trust Documents. Distributions in respect of Allowed Asbestos Claims shall be made by the
 Asbestos Trustee(s), in accordance with the Asbestos Trust Documents from the Asbestos Trust.
 Distributions from the Asbestos Trust shall be the sole source of recovery for Holders of Allowed Asbestos
 Claims, and no Holder of any such Claim shall have any other or further recourse to the Asbestos Trust, the
 Debtors or their Estates, the Reorganized Debtors, NewCo, any NewCo Subsidiaries, or the Released
 Parties. Holders of disallowed Asbestos Claims shall have no recourse to the Asbestos Trust, the Debtors
 or their Estates, the Reorganized Debtors, NewCo, any NewCo Subsidiaries, or the Released Parties in
 respect of such disallowed Asbestos Claims.

         Only the Asbestos Trustee shall be entitled to object to the Asbestos Claims, and, for the avoidance
 of doubt, only the General Unsecured Claims Trustee is entitled to object to the Asbestos Late Claims in
 the manner set forth in Article IV.HH.8 herein.

          For the avoidance of doubt, the defense of any new litigations or claims concerning asbestos
 commenced against the Reorganized Debtors after the Effective Date will be the responsibility of the
 Reorganized Debtors, provided that the foregoing should not be construed as a waiver of any defense the
 Reorganized Debtors may have thereto, including that any liability in such litigations or claims are
 discharged pursuant to the Plan and the Confirmation Order. If any such new litigations or claims result in
 the filing of Proofs of Claim in the Bankruptcy Court, such Proofs of Claim shall be Asbestos Late Claims,
 and not Asbestos Claims.

 JJ.     Other Terms of Settlement With Official Committee of Unsecured Creditors

          On the Effective Date or as soon as reasonably practicable thereafter and upon presentment of
 invoices in customary form (which may be redacted to preserve any confidential or privileged information),
 the Reorganized Debtors shall pay in Cash all reasonable, documented, out-of-pocket fees, expenses, and
 disbursements incurred by the 4.75% Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
 Indenture Trustee (including reasonable and documented professional fees, expenses, and disbursements)
 whether prior to or after the Petition Date, but on or prior to the Effective Date in connection with the
 consummation of the Plan and occurrence of the Effective Date, without the need for application by any
 party to the Bankruptcy Court, and without notice and a hearing pursuant to section 1129(a)(4) of the
 Bankruptcy Code or otherwise. For the avoidance of doubt, the reasonable, documented, out-of-pocket
 fees, expenses and disbursements of the 4.75% Unsecured Notes Indenture Trustee and the Legacy
 Unsecured Notes Indenture Trustee incurred for Additional GUC Trust Distributions made to Holders of
 Allowed 4.75% Unsecured Notes Claims and Holders of Allowed Legacy Unsecured Notes Claims shall
 be satisfied by exercise of any lien in favor of the 4.75% Unsecured Notes Indenture Trustee and the Legacy
 Unsecured Notes Indenture Trustee, as applicable.




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                                                 Article V.

                    TREATMENT OF EXECUTORY CONTRACTS
       AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES

 A.      Assumption of Executory Contracts and Unexpired Leases

         On the Effective Date, except as otherwise provided in the Plan, each of the Executory Contracts
 and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an order of
 the Bankruptcy Court will be deemed assumed as of the Effective Date pursuant to sections 365 and 1123
 of the Bankruptcy Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected
 Executory Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court on the
 Plan Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected, (2) that is the
 subject of a separate motion or notice to reject pending as of the Effective Date, or (3) that previously
 expired or terminated pursuant to its own terms (disregarding any terms the effect of which is invalidated
 by the Bankruptcy Code).

         Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
 assumption of the Restructuring Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
 Code and effective on the occurrence of the Effective Date. The Restructuring Support Agreement shall be
 binding and enforceable against the parties to the Restructuring Support Agreement in accordance with its
 terms. For the avoidance of doubt, the assumption of the Restructuring Support Agreement herein shall not
 otherwise modify, alter, amend, or supersede any of the terms or conditions of the Restructuring Support
 Agreement including, without limitation, any termination events or provisions thereunder.

          Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
 assumptions of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
 Bankruptcy Code and effective on the occurrence of the Effective Date. Each Executory Contract and
 Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a third
 party on or prior to the Effective Date, shall re-vest in and be fully enforceable by the applicable
 Reorganized Debtor in accordance with its terms, except as such terms may have been modified by order
 of the Bankruptcy Court. To the maximum extent permitted by law, to the extent any provision in any
 Executory Contract or Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports to
 restrict or prevent, or is breached or deemed breached by, the assumption of such Executory Contract or
 Unexpired Lease or the execution of any other Restructuring Transaction (including any “change of
 control” provision), then such provision shall be deemed modified such that the transactions contemplated
 by the Plan shall not entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired
 Lease or to exercise any other default-related rights with respect thereto. For the avoidance of doubt,
 consummation of the Restructuring Transactions shall not be deemed an assignment of any Executory
 Contract or Unexpired Lease of the Debtors, notwithstanding any change in name, organizational form, or
 jurisdiction of organization of any Debtor in connection with the occurrence of the Effective Date.

          Notwithstanding anything to the contrary in the Plan (except for the Consent Rights of Supporting
 Parties in Article I.C), the Debtors or Reorganized Debtors, as applicable, reserve the right to amend or
 supplement the Rejected Executory Contract/Unexpired Lease List in their discretion prior to the
 Confirmation Date (or such later date as may be permitted by Article V.B or Article V.E below), provided
 that the Debtors shall give prompt notice of any such amendment or supplement to any affected counterparty
 and such counterparty shall have no less than seven (7) days to object thereto on any grounds.




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 B.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
 pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment
 of the Cure Cost in Cash on the Effective Date or as soon as reasonably practicable, subject to the limitation
 described below, or on such other terms as the parties to such Executory Contract or Unexpired Lease may
 otherwise agree. No later than the Plan Supplement Filing Date, to the extent not previously Filed with the
 Bankruptcy Court and served on affected counterparties, the Debtors shall provide notices of the proposed
 assumption and proposed Cure Costs to be sent to applicable counterparties, together with procedures for
 objecting thereto and for resolution of disputes by the Bankruptcy Court. Any objection by a contract or
 lease counterparty to a proposed assumption or related Cure Cost must be Filed, served, and actually
 received by the Debtors by the date on which objections to confirmation are due (or such other date as may
 be provided in the applicable assumption notice).

          Any counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
 proposed assumption or Cure Cost will be deemed to have assented to such assumption and Cure Cost.
 Any timely objection to a proposed assumption or Cure Cost will be scheduled to be heard by the
 Bankruptcy Court at the Reorganized Debtors’ first scheduled omnibus hearing after the date that is ten
 (10) days after the date on which such objection is Filed. In the event of a dispute regarding (1) the amount
 of any Cure Cost, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate assurance
 of future performance” within the meaning of section 365(b) of the Bankruptcy Code under any Executory
 Contract or the Unexpired Lease, and/or (3) any other matter pertaining to assumption and/or assignment,
 then such dispute shall be resolved by a Final Order; provided that the Debtors or Reorganized Debtors
 may settle any such dispute and shall pay any agreed upon Cure Cost without any further notice to any
 party or any action, order, or approval of the Bankruptcy Court; provided, further, that notwithstanding
 anything to the contrary herein (except for the Consent Rights of Supporting Parties in Article I.C), the
 Reorganized Debtors reserve the right to reject any Executory Contract or Unexpired Lease previously
 designated for assumption within forty five (45) days after the entry of a Final Order resolving an objection
 to the assumption or to the proposed Cure Cost.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
 result in the full satisfaction and cure of any Claims and defaults, whether monetary or nonmonetary,
 including defaults of provisions restricting the change in control or ownership interest composition or other
 bankruptcy-related defaults, under any assumed Executory Contract or Unexpired Lease arising at any time
 prior to the effective date of assumption. Notwithstanding the foregoing, the Debtors and the Reorganized
 Debtors, as applicable, will continue to honor all postpetition and post-Effective Date obligations under any
 assumed Executory Contracts and Unexpired Leases in accordance with their terms, regardless of whether
 such obligations are listed as a Cure Cost, and whether such obligations accrued prior to or after the
 Effective Date, and neither the payment of Cure Costs nor entry of the Confirmation Order shall be deemed
 to release the Debtors or the Reorganized Debtors, as applicable, from such obligations.

 C.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, and except as otherwise provided in this
 section of or otherwise in the Plan, any Proofs of Claim asserting Claims arising from the rejection of the
 Executory Contracts and Unexpired Leases pursuant to the Plan or otherwise must be filed with the Notice
 and Claims Agent within thirty (30) days of the effective date of the rejection of the applicable Executory
 Contract or Unexpired Lease (which shall be the Effective Date unless otherwise provided in an order of
 the Bankruptcy Court providing for the rejection of an Executory Contract or Unexpired Lease). Any
 Proofs of Claim arising from the rejection of the Executory Contracts and Unexpired Leases that are
 not timely filed shall be automatically disallowed without further order of the Bankruptcy Court. All
 Allowed Claims arising from the rejection of the Executory Contracts and Unexpired Leases shall constitute

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 General Unsecured Claims and shall be treated in accordance with Article III.B of the Plan; provided,
 however, as set forth in Article V.G. of this Plan, any Claims arising out of the rejection of an Executory
 Contract that are Co-Defendant Claims shall be either Other Opioid Claims or No Recovery Opioid Claims,
 and shall be treated in accordance with the Plan, and the deadline for the filing of Proofs of Claim arising
 out of the rejection of an Executory Contract or Unexpired Lease set forth in this Article V.C. shall not
 apply with respect to any Co-Defendant Claim.

 D.      Contracts and Leases Entered into After the Petition Date

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
 Contracts and Unexpired Leases assumed by any Debtor, will be performed by such Debtor or Reorganized
 Debtor, as applicable, liable thereunder in the ordinary course of business. Accordingly, such contracts and
 leases (including any Executory Contracts and Unexpired Leases assumed or assumed and assigned
 pursuant to section 365 of the Bankruptcy Code) will survive and remain unaffected by entry of the
 Confirmation Order.

 E.      Reservation of Rights

          Neither anything contained in the Plan nor the Debtors’ delivery of a notice of proposed assumption
 and proposed Cure Cost to any contract and lease counterparties shall constitute an admission by the
 Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or that any
 Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease
 is or was executory or unexpired at the time of assumption, the Debtors or Reorganized Debtors, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to alter their
 treatment of such contract or lease. If there is a dispute regarding a Debtor’s or Reorganized Debtor’s
 liability under an assumed Executory Contract or Unexpired Lease, the Reorganized Debtors shall be
 authorized to move to have such dispute heard by the Bankruptcy Court pursuant to Article X.C of the Plan.

 F.      Indemnification Provisions and Reimbursement Obligations

          On and as of the Effective Date, and except as prohibited by applicable law and subject to the
 limitations set forth herein, the Indemnification Provisions will be assumed and irrevocable and will survive
 the effectiveness of the Plan, and the New Governance Documents will provide to the fullest extent
 provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability
 of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current and former
 directors, officers, equity holders, managers, members, employees, accountants, investment bankers,
 attorneys, other professionals, agents of the Debtors, and such current and former directors’, officers’,
 equity holders’, managers’, members’ and employees’ respective Affiliates (each of the foregoing solely in
 their capacity as such) at least to the same extent as the Indemnification Provisions, against any Claims or
 Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or contingent, disputed or
 undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, and,
 notwithstanding anything in the Plan to the contrary, none of the Reorganized Debtors will amend and/or
 restate the New Governance Documents before or after the Effective Date to terminate or adversely affect
 any of the Indemnification Provisions.
 G.      Co-Defendant Contracts

         Except as otherwise provided in the Plan or agreed by any counterparty and the Debtors (with the
 consent (not to be unreasonably withheld, conditioned or delayed) of the Governmental Plaintiff Ad Hoc
 Committee and the MSGE Group, and after consultation with the Official Committee of Unsecured
 Creditors), the assumption of any contract or lease under the Plan, the non-Debtor counterparty to which is
 a Released Co-Defendant, shall (a) release any Causes of Action on account of any and all terms or
 provisions of such contract or lease solely to the extent such terms or provisions create an obligation of any

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 party thereto (or any assignee thereof), or give rise to a right in favor of any non-Debtor under any Opioid
 Insurance Policy or any other insurance policy of any Protected Party, for the indemnification or
 reimbursement of any Person for costs, losses, damages, fees, expenses or any other amounts whatsoever
 relating to or arising from any actual or potential opioid-related litigation or dispute, whether accrued or
 unaccrued, asserted or unasserted, existing or hereinafter arising, based on or relating to, or in any manner
 arising from, in whole or in part, Opioid-Related Activities or other conduct occurring prior to the Effective
 Date; and (b) constitute (i) a release by each party of each other counterparty (and any assignee thereof or
 successor thereto), including a mutual release between (x) each non-Debtor counterparty to the contract and
 its Co-Defendant Related Parties and (y) the Debtor counterparty to the contract and the Protected Parties,
 (ii) a release by each non-Debtor party of all Insurers, in the case of (i) and (ii), from any and all Causes of
 Action and other rights of recovery arising under or relating to such indemnification and reimbursement
 rights to the extent relating to any conduct occurring prior to the Effective Date, and (iii) an agreement by
 each non-Debtor counterparty to the contract and its Co-Defendant Related Parties to release any and all
 Co-Defendant Claims held by such parties against any Protected Parties. On the Effective Date, all Co-
 Defendant Claims arising under or related to any such assumed or assumed and assigned contract or lease,
 the non-Debtor counterparty to which is a Released Co-Defendant, shall be released and discharged with
 no consideration on account thereof, and all Proofs of Claim in respect thereof shall be deemed expunged,
 without further notice, or action, order or approval of the Bankruptcy Court or any other Person. To the
 extent that any court of competent jurisdiction later determines that the releases granted by any Released
 Co-Defendant or its Co-Defendant Related Parties hereunder are unenforceable, such Person shall not be
 considered a Released Co-Defendant or Co-Defendant Related Party and shall not be Released Parties for
 any purpose under this Plan. Any and all Claims and Causes of Action against such Co-Defendant and its
 Co-Defendant Related Parties shall be Assigned Third-Party Claims, in such event.

          Except as otherwise provided in the Plan or agreed by any counterparty and the Debtors (with the
 consent (not to be unreasonably withheld, conditioned or delayed) of the Governmental Plaintiff Ad Hoc
 Committee and the MSGE Group, and after consultation with the Official Committee of Unsecured
 Creditors), if the Debtors assume any contract or lease under the Plan and the non-Debtor counterparty to
 such contract or lease is a Co-Defendant other than a Released Co-Defendant, (i) such Co-Defendant’s Co-
 Defendant Claims shall not be channeled to the Opioid MDT II or the Opioid Creditor Trusts and (ii) the
 Debtors’ Claims and Causes of Action against such Co-Defendant shall be Retained Causes of Action and
 vest in the Reorganized Debtors and, for the avoidance of doubt, will not be Assigned Third-Party Claims
 or otherwise assigned to the Opioid MDT II.

           Except as otherwise provided in the Plan or agreed by any counterparty and the Debtors (with the
 consent (not to be unreasonably withheld, conditioned or delayed) of the Governmental Plaintiff Ad Hoc
 Committee and the MSGE Group, and after consultation with the Official Committee of Unsecured
 Creditors), if the Debtors reject any contract or lease under the Plan and the non-Debtor counterparty to
 such contract or lease is a Co-Defendant other than a Released Co-Defendant, (i) such Co-Defendant’s
 Opioid Claims shall be channeled to the Opioid MDT II as either No-Recovery Opioid Claims or Other
 Opioid Claims, unless such Opioid Claims are correctly classified in another class of Opioid Claims, and
 (ii) all Claims and Causes of Action against such Co-Defendant that would otherwise be considered
 Assigned Third-Party Claims shall be Assigned Third-Party Claims.

         For the avoidance of doubt, unless otherwise agreed by the counterparty to any assumed or assumed
 and assigned contract or lease, the foregoing shall not release or otherwise modify any term or provision of
 such contract or lease to the extent of any indemnification or reimbursement rights (i) accruing after the
 Effective Date for conduct occurring after the Effective Date, (ii) for any amounts, if any, due to a Co-
 Defendant as a result of the New York Opioid Stewardship Act (2018 N.Y. Sess. Laws, ch. 57, pt. NN 7
 (codified at N.Y. Pub. Health Law § 3323 and N.Y. State Fin. Law § 97-aaaaa)) or (iii) for any Co-
 Defendant Surviving Pre-Effective Date Claim. Notwithstanding the release, satisfaction, expungement


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 and extinguishment of Co-Defendant Claims, a Co-Defendant retains its Co-Defendant Defensive Rights,
 which includes the ability to recover from Persons that are not Protected Parties or from any insurance
 policies that are not Opioid Insurance Policies or other insurance policies of Protected Parties. The
 counterparty to such contract or lease and all other applicable Persons shall be bound by the terms set forth
 in this Article V.G.

 H.      Employee Compensation and Benefits

         1.       Compensation and Benefits Programs

          Subject to the provisions of the Plan, all Compensation and Benefits Programs (other than awards
 of stock options, restricted stock, restricted stock units, and other equity awards) shall be treated as
 Executory Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions
 of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due under any
 Compensation and Benefits Program shall be considered satisfied by the applicable agreement and/or
 program and agreement to assume and cure in the ordinary course as provided in the Plan. All collective
 bargaining agreements to which any Debtor is a party, and all Compensation and Benefits Programs which
 are maintained pursuant to such collective bargaining agreements or to which contributions are made or
 benefits provided pursuant to a current or past collective bargaining agreement, will be deemed assumed
 on the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code and the
 Reorganized Debtors reserve all of their rights under such agreements. For the avoidance of doubt, the
 Debtors and Reorganized Debtors, as applicable, shall honor all their obligations under section 1114 of the
 Bankruptcy Code.

          None of the Restructuring, the Restructuring Transactions, or any assumption of Compensation and
 Benefits Programs pursuant to the terms herein shall be deemed to trigger any applicable change of control,
 vesting, termination, acceleration or similar provisions therein. No counterparty shall have rights under a
 Compensation and Benefits Program assumed pursuant to the Plan other than those applicable immediately
 prior to such assumption.

         2.       Workers’ Compensation Programs

          As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
 Reorganized Debtors shall continue to honor their obligations under: (a) all applicable state workers’
 compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims filed by the
 Debtors’ current or former employees on account of workers’ compensation shall be deemed withdrawn
 automatically and without any further notice to or action, order, or approval of the Bankruptcy Court based
 upon the treatment provided for herein; provided that nothing in the Plan shall limit, diminish, or otherwise
 alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable
 non-bankruptcy law with respect to the Workers’ Compensation Contracts; provided, further, that nothing
 herein shall be deemed to impose any obligations on the Debtors in addition to what is provided for under
 applicable non-bankruptcy law and/or the Workers’ Compensation Contracts.

                                                 Article VI.

                            PROVISIONS GOVERNING DISTRIBUTIONS

 A.      Distribution on Account of Claims Other than Opioid Claims Allowed as of the Effective Date

          Except as otherwise provided in the Plan or a Final Order, or as agreed to by the relevant parties,
 distributions under the Plan on account of Claims other than Opioid Claims Allowed on or before the
 Effective Date shall be made on the Initial Distribution Date; provided that (1) Allowed Administrative


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 Claims with respect to liabilities incurred by the Debtors in the ordinary course of business shall be paid or
 performed in the ordinary course of business in accordance with the terms and conditions of any controlling
 agreements, course of dealing, course of business or industry practice, (2) Allowed Priority Tax Claims
 shall be satisfied in accordance with Article II.B herein, (3) Allowed Other Priority Claims shall be satisfied
 in accordance with Article II.C herein, and (4) Allowed General Unsecured Claims and Allowed Trade
 Claims that would not come due in the ordinary course of the Debtors’ business until after the Initial
 Distribution Date shall be paid by the Reorganized Debtors in the ordinary course of business; provided,
 further, that all Initial Distribution Date distributions are subject to the Disputed General Unsecured Claims
 Reserve in accordance with Article VII.H of the Plan. For the avoidance of doubt, the Debtors’ obligation
 to make any distributions on account of General Unsecured Claims and Trade Claims assumed by the
 General Unsecured Claims Trust will be satisfied by the transfer of the General Unsecured Claims Trust
 Consideration to the General Unsecured Claims Trust.

 B.      Distributions on Account of Claims Other than Opioid Claims Allowed After the Effective Date

         1.       Payments and Distributions on Disputed Claims

          Except as otherwise provided in the Plan, a Final Order, or as agreed to by the relevant parties,
 distributions on account of Disputed Claims other than Opioid Claims that become Allowed after the
 Effective Date shall be made on the next Periodic Distribution Date that is at least thirty (30) days after the
 Disputed Claim becomes an Allowed Claim; provided that (a) Disputed Administrative Claims with respect
 to liabilities incurred by the Debtors in the ordinary course of business that become Allowed after the
 Effective Date shall be paid or performed in the ordinary course of business in accordance with the terms
 and conditions of any controlling agreements, course of dealing, course of business, or industry practice,
 (b) Disputed Priority Tax Claims that become Allowed Priority Tax Claims after the Effective date shall be
 treated as Allowed Priority Tax Claims in accordance with Article II.B of the Plan, and (c) Disputed Other
 Priority Claims that become Allowed Other Priority Claims after the Effective Date shall be treated as
 Allowed Other Priority Claims in accordance with Article II.C of the Plan.

         2.       Special Rules for Distributions to Holders of Disputed Claims

         Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by the
 relevant parties no partial payments and no partial distributions shall be made with respect to a Disputed
 Claim until all such disputes in connection with such Disputed Claim have been resolved by settlement or
 Final Order.

 C.      Timing and Calculation of Amounts to Be Distributed

          Except as otherwise provided herein, on the Initial Distribution Date each Holder of an Allowed
 Claim other than an Opioid Claim shall receive the full amount of the distributions that the Plan provides
 for Allowed Claims in the applicable Class. If and to the extent that any Disputed Claims exist, distributions
 on account of such Disputed Claims shall be made pursuant to Article VI.B and Article VII of the Plan.
 Except as otherwise provided in the Plan, Holders of Claims shall not be entitled to interest, dividends, or
 accruals on the distributions provided for in the Plan, regardless of whether such distributions are delivered
 on or at any time after the Effective Date.

 D.      Delivery of Distributions

         1.       Record Date for Distributions

         For purposes of making distributions on the Initial Distribution Date only, the Distribution Agent
 shall be authorized and entitled to recognize only those Holders of Claims other than Opioid Claims

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 reflected in the Debtors’ books and records as of the close of business on the Confirmation Date; provided,
 however, that such record date will not apply to any distributions related to the First Lien Notes, Second
 Lien Notes, or Guaranteed Unsecured Notes maintained through DTC, and the record date for Holders of
 Allowed First Lien Term Loan Claims shall be the Effective Date. Subject to the foregoing sentence, if a
 Claim other than an Opioid Claim is transferred (a) twenty-one (21) or more days before the Confirmation
 Date and reasonably satisfactory documentation evidencing such transfer is Filed with the Bankruptcy
 Court before the Confirmation Date, the Distribution Agent shall make the applicable distributions to the
 applicable transferee, or (b) twenty (20) or fewer days before the Confirmation Date, the Distribution Agent
 shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant
 transfer form is Filed with the Bankruptcy Court before the Confirmation Date and contains an
 unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

         2.       Delivery of Distributions in General

          Except as otherwise provided in the Plan, the Distribution Agent shall make distributions to Holders
 of Allowed Claims other than Opioid Claims at the address for each such Holder as indicated in the Debtors’
 records as of the date of any such distribution, including the address set forth in any Proof of Claim Filed
 by that Holder or, with respect to Holders of Allowed First Lien Term Loan Claims, the address recorded
 as of the Effective Date in the register maintained by the First Lien Agent, as applicable; provided that the
 manner of such distributions shall be determined at the discretion of the Reorganized Debtors.

         3.       Distributions by Distribution Agents

          The Debtors and the Reorganized Debtors, as applicable, shall have the authority to enter into
 agreements with one or more Distribution Agents to facilitate the distributions required hereunder. Except
 in the case of the Guaranteed Unsecured Notes Indenture Trustee, the 4.75% Unsecured Notes Indenture
 Trustee, and the Legacy Unsecured Notes Indenture Trustee, each serving as a Distribution Agent, to the
 extent the Debtors and the Reorganized Debtors, as applicable, determine to utilize a Distribution Agent to
 facilitate the distributions under the Plan to Holders of Allowed Claims other than Opioid Claims,
 Guaranteed Unsecured Notes Claims, 4.75% Unsecured Notes Claims, and Legacy Unsecured Notes
 Claims, any such Distribution Agent would first be required to: (a) affirm its obligation to facilitate the
 prompt distribution of any documents; (b) affirm its obligation to facilitate the prompt distribution of any
 recoveries or distributions required under the Plan; and (c) waive any right or ability to setoff, deduct from
 or assert any lien or encumbrance against the distributions required under the Plan to be distributed by such
 Distribution Agent; provided, that no Distribution Agent (including the Guaranteed Unsecured Notes
 Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, and the Legacy Unsecured Notes
 Indenture Trustee) will be required to give any bond or surety or other security for the performance of its
 duties unless otherwise ordered by the Bankruptcy Court.

         Distributions on account of the Allowed First Lien Term Loan Claims will be made to the First
 Lien Agent or the New Takeback Term Loan Agent, as applicable, and the First Lien Agent or the New
 Takeback Term Loan Agent (as applicable) will be, and will act as, the Distribution Agent with respect to
 the Allowed First Lien Term Loan Claims in accordance with the terms and conditions of this Plan and the
 applicable debt documents. Distributions on account of the Allowed Second Lien Notes Claims will be
 made to or at the direction of the Second Lien Notes Indenture Trustee, and the Second Lien Notes Indenture
 Trustee will be, and will act as, the Distribution Agent with respect to the Allowed Second Lien Notes
 Claims in accordance with the terms and conditions of this Plan and the Second Lien Notes Indenture.

        The Debtors or the Reorganized Debtors, as applicable, shall pay to the Distribution Agents all
 reasonable and documented fees and expenses of the Distribution Agents without the need for any
 approvals, authorizations, actions, or consents. The Distribution Agents (other than the Guaranteed
 Unsecured Notes Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, and the Legacy

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 Unsecured Notes Indenture Trustee) shall submit detailed invoices to the Debtors or the Reorganized
 Debtors, as applicable, for all fees and expenses for which the Distribution Agent seeks reimbursement and
 the Debtors or the Reorganized Debtors, as applicable, shall promptly pay those amounts that they, in their
 sole discretion, deem reasonable, and shall object in writing to those fees and expenses, if any, that the
 Debtors or the Reorganized Debtors, as applicable, deem to be unreasonable. In the event that the Debtors
 or the Reorganized Debtors, as applicable, object to all or any portion of the amounts requested to be
 reimbursed in a Distribution Agent’s invoice, the Debtors or the Reorganized Debtors, as applicable, and
 such Distribution Agent shall endeavor, in good faith, to reach mutual agreement on the amount of the
 appropriate payment of such disputed fees and/or expenses. In the event that the Debtors or the Reorganized
 Debtors, as applicable, and a Distribution Agent are unable to resolve any differences regarding disputed
 fees or expenses, either party shall be authorized to move to have such dispute heard by the Bankruptcy
 Court.

         4.       Distributions to Holders of Second Lien Notes Claims, Guaranteed Unsecured Notes
                  Claims, 4.75% Notes Claims, and Legacy Unsecured Notes Claims

           The distributions of Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares to be
 made under this Plan to Holders of Guaranteed Unsecured Notes Claims shall be deemed made by the
 Debtors or Reorganized Debtors, as applicable, to the Guaranteed Unsecured Notes Indenture Trustee
 which shall transmit (or cause to be transmitted) such distributions to such Holders as set forth below.
 Notwithstanding anything to the contrary in this Plan, the Guaranteed Unsecured Notes Indenture Trustee,
 in its capacity as Distribution Agent, may transfer or facilitate the transfer of such distributions through the
 facilities of DTC in exchange for the relevant Guaranteed Unsecured Notes. If it is necessary to adopt
 alternate, additional or supplemental distribution procedures for any reason including because such
 distributions cannot be made through the facilities of DTC, to otherwise effectuate the distributions under
 this Plan, the Debtors or Reorganized Debtors, as applicable, shall implement the Alternate/Supplemental
 Distribution Process. The Debtors or Reorganized Debtors (as applicable) shall use their best efforts to
 make the Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares to be distributed to Holders
 of the Guaranteed Unsecured Notes eligible for distribution through the facilities of DTC.

         Distributions on account of the Guaranteed Unsecured Notes Claims, the 4.75% Unsecured Notes
 Claims, and the Legacy Unsecured Notes Claims will be made to or at the direction of the Guaranteed
 Unsecured Notes Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, or Legacy Unsecured
 Notes Indenture Trustee, as applicable. As soon as practicable, each of the Guaranteed Unsecured Notes
 Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, or Legacy Unsecured Notes Indenture
 Trustee shall arrange to deliver such distributions to or on behalf of such Holders in accordance with the
 Plan and the applicable debt documents, subject to the rights of the Guaranteed Unsecured Notes Indenture
 Trustee, the 4.75% Unsecured Notes Indenture Trustee, or Legacy Unsecured Notes Indenture Trustee to
 exercise any charging lien granted under the Guaranteed Unsecured Notes Indenture, the 4.75% Unsecured
 Notes Indenture, or Legacy Unsecured Notes Indenture, as applicable. None of the Guaranteed Unsecured
 Notes Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, or Legacy Unsecured Notes
 Indenture Trustee shall incur any liability whatsoever on account of making any distributions in accordance
 with the Plan, whether such distributions are made by it, or by the Distribution Agent at its reasonable
 direction and whether made on or after the Effective Date.

          The obligations of the Guaranteed Unsecured Notes Indenture Trustee under or in connection with
 this Plan, the Guaranteed Unsecured Notes Indentures, the Guaranteed Unsecured Notes, and any related
 notes, stock, instruments, certificates, agreements, side letters, fee letters, and other documents, shall be
 discharged and deemed fully satisfied upon the Effective Date. On and after the Effective Date, the
 Guaranteed Unsecured Notes Indenture Trustee, in its capacity as trustee, shall be appointed and act as a
 Distribution Agent with respect to the applicable Guaranteed Unsecured Notes Claims to facilitate the


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 distributions provided for in this Plan to the applicable Holders of Allowed Guaranteed Unsecured Notes
 Claims. The obligations of the Guaranteed Unsecured Notes Indenture Trustee, in its capacity as
 Distribution Agent, under or in connection with this Plan shall be discharged and deemed fully satisfied (as
 applicable) upon either: (i) DTC’s receipt of the distributions with respect to the Allowed Guaranteed
 Unsecured Notes Claims; or (ii) if the Alternate/Supplemental Distribution Process is utilized, upon the
 earlier of the completion of the Guaranteed Unsecured Notes Indenture Trustee’s role in such process or in
 accordance with the terms of the Alternate/Supplemental Distribution Process and, in either case, the
 Guaranteed Unsecured Notes Indenture Trustee shall not, in any capacity, have liability to any person for
 having made, or facilitating the making of, the distributions through the foregoing items (i) and (ii). The
 Guaranteed Unsecured Notes Indenture Trustee, as a Distribution Agent under this Plan, will be entitled to
 recognize and deal with for all purposes the Holders of the Guaranteed Unsecured Notes to the extent
 necessary to facilitate the distributions with respect to Allowed Guaranteed Unsecured Notes Claims to
 such Holders. Regardless of in which capacity it is acting, the Guaranteed Unsecured Notes Indenture
 Trustee in any capacity shall not be responsible for, and may conclusively rely on, the
 Alternate/Supplemental Distribution Process.

          The distributions to be made under this Plan to Holders of Second Lien Notes Claims shall be
 deemed completed when made to or at the direction of the Second Lien Notes Indentures Trustee, which
 shall be deemed to be the Holder of all Second Lien Notes Claims for purposes of distributions to be made
 hereunder, and the Second Lien Notes Indenture Trustee shall hold or direct such distributions for the
 benefit of the Holders of Second Lien Notes Claims. The Second Lien Notes Indenture Trustee may transfer
 or direct the transfer of such distributions directly through the facilities of DTC (whether by means of book-
 entry exchange, free delivery or otherwise) and will be entitled to recognize and deal for all purposes under
 the Plan with Holders of the Second Lien Notes Claims, to the extent consistent with the customary practices
 of DTC. If the Second Lien Notes Indenture Trustee is unable to make, or consents to the Reorganized
 Debtors making, such distributions, the Reorganized Debtors, with the Second Lien Notes Indenture
 Trustee’s cooperation, shall make such distributions to the extent practicable to do so. The Second Lien
 Notes Indenture Trustee shall have no duties or responsibilities relating to any form of distribution that is
 not DTC eligible and the Debtors or the Reorganized Debtors, as applicable, shall seek the cooperation of
 DTC so that any distribution on account of a Second Lien Notes Claim that is held in the name of, or by a
 nominee of, DTC, shall be made through the facilities of DTC on the Effective Date or as soon as practicable
 thereafter. Regardless of whether distributions to Holders of Second Lien Notes Claims are made by the
 Second Lien Notes Indenture Trustee, or at the reasonable direction of the Second Lien Notes Indenture
 Trustee, the Second Lien Notes Indenture Trustee’s charging lien shall attach to such distributions in the
 same manner as if such distributions were made through the Second Lien Notes Indenture Trustee. The
 Second Lien Notes Indenture Trustee shall not incur any liability whatsoever on account of any distributions
 under the Plan except for gross negligence or willful misconduct.

         Notwithstanding any policies, practices or procedures of DTC or any other applicable clearing
 system, DTC and all other applicable clearing systems shall cooperate with and take all actions reasonably
 requested by the Notice and Claims Agent, the Guaranteed Unsecured Notes Indenture Trustee, the 4.75%
 Unsecured Notes Indenture Trustee, the Legacy Unsecured Notes Indenture Trustee, and the Second Lien
 Notes Indenture Trustee to facilitate distributions to Holders of Allowed Guaranteed Unsecured Notes
 Claims, Allowed 4.75% Unsecured Notes Claims, Allowed Legacy Unsecured Notes Claims, and Allowed
 Second Lien Notes Claims, including without requiring that such distributions be characterized as
 repayments of principal or interest. No Distribution Agent, including the Guaranteed Unsecured Notes
 Indenture Trustee, the 4.75% Unsecured Notes Indenture Trustee, the Legacy Unsecured Notes Indenture
 Trustee, and the Second Lien Notes Indenture Trustee in any capacity, shall be required to provide
 indemnification or other security to DTC in connection with any distributions to Holders of Allowed
 Guaranteed Unsecured Notes Claims, Allowed 4.75% Unsecured Notes Claims, Allowed Legacy
 Unsecured Notes Claims, or Allowed Second Lien Notes Claims through the facilities of DTC.


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         5.       Minimum Distributions

          Notwithstanding anything herein to the contrary, other than on account of Unimpaired Claims, the
 Reorganized Debtors and the Distribution Agents shall not be required to make distributions or payments
 of less than $100 (whether Cash or otherwise) and shall not be required to make partial distributions or
 payments of fractions of dollars or distributions of fractions of a New Mallinckrodt Ordinary Share.
 Whenever any payment or distribution of a fraction of a dollar or a fraction of a New Mallinckrodt Ordinary
 Share would otherwise be called for, the actual payment or distribution will reflect a rounding down of such
 fraction to the nearest whole dollar or nearest whole New Mallinckrodt Ordinary Share.

         6.       Undeliverable Distributions

                  a.      Holding of Certain Undeliverable Distributions

          Undeliverable distributions shall remain in the possession of the Reorganized Debtors, subject to
 Article VI.D.5.b of the Plan, until such time as any such distributions become deliverable or are otherwise
 disposed of in accordance with applicable nonbankruptcy law. Undeliverable distributions shall not be
 entitled to any additional interest, dividends, or other accruals of any kind on account of their distribution
 being undeliverable. Nothing contained herein shall require the Reorganized Debtors to attempt to locate
 any Holder of an Allowed Claim.

                  b.      Failure to Present Checks

          Checks issued by the Reorganized Debtors (or their Distribution Agent) on account of Allowed
 Claims shall be null and void if not negotiated within 90 days after the issuance of such check. Requests
 for reissuance of any check shall be made directly to the Distribution Agent by the Holder of the relevant
 Allowed Claim with respect to which such check originally was issued.

 E.      Compliance with Tax Requirements/Allocations

          In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with
 all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
 distributions pursuant hereto shall be subject to such withholding and reporting requirements.
 Notwithstanding any provision in the Plan to the contrary (except for the Consent Rights of Supporting
 Parties in Article I.C), the Reorganized Debtors and the Distribution Agent shall be authorized to take all
 actions necessary or appropriate to comply with such withholding and reporting requirements, including
 liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay
 applicable withholding taxes, including requiring as a condition to the receipt of a distribution, that the
 Holders of an Allowed Claim complete an IRS Form W-8 or W-9, as applicable. The Reorganized Debtors
 reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
 garnishments, alimony, child support and other spousal awards, Liens, and encumbrances.

 F.      Applicability of Insurance Contracts Other than Opioid Insurance Policies

         Notwithstanding anything to the contrary in the Plan, the Plan Supplement, the Disclosure
 Statement or the Confirmation Order (including, without limitation, any provision that purports to be
 preemptory or supervening, confers Bankruptcy Court jurisdiction, or requires a party to opt out of any
 releases):

         (a)       on and after the Effective Date, all Insurance Contracts that are not the Opioid Insurance
 Policies (i) are found to be and shall be treated as, Executory Contracts under the Plan and shall be assumed
 pursuant to sections 105 and 365 of the Bankruptcy Code by the applicable Debtor, and/or (ii) shall vest in


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 the Reorganized Debtors and ride through and continue in full force and effect in accordance with their
 respective terms in either case such that the Reorganized Debtors shall become and remain jointly and
 severally liable in full for, and shall satisfy, any premiums, deductibles, self-insured retentions and/or any
 other amounts or obligations arising in any way out of the receipt of payment from an Insurer in respect of
 the Insurance Contracts that are not the Opioid Insurance Policies and as to which no Proof of Claim,
 Administrative Claim or Cure Cost claim need be filed; and

          (b)      solely with respect to Insurance Contracts that are not Opioid Insurance Policies, the
 automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set forth in the Plan, if and to
 the extent applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit
 (i) claimants with valid workers’ compensation claims or direct action claims against Insurers under
 applicable non-bankruptcy law to proceed with their claims; (ii) Insurers to administer, handle, defend,
 settle and/or pay, in the ordinary course of business and without further order of this Bankruptcy Court, (A)
 workers’ compensation claims, (B) claims where a claimant asserts a direct claim against an Insurer under
 applicable non-bankruptcy law, or an order has been entered by this Bankruptcy Court granting a claimant
 relief from the automatic stay or the injunctions set forth in the Plan to proceed with its claim, and (C) all
 costs in relation to each of the foregoing; and (iii) the Insurers to collect from any or all of the collateral or
 security provided by or on behalf of the Debtors (or the Reorganized Debtors) at any time and to hold the
 proceeds thereof as security for the obligations of the Debtors (or the Reorganized Debtors) and/or apply
 such proceeds to the obligations of the Debtors (or the Reorganized Debtors) under the applicable Insurance
 Contracts, in such order as the applicable Insurer may determine.

         Nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that
 the Debtors or any Entity may hold against any other Entity, including Insurers under any Insurance
 Contracts other than Opioid Insurance Policies, nor shall anything contained herein constitute or be deemed
 a waiver by such Insurers of any rights or defenses, including coverage defenses, held by such Insurers
 under the Insurance Contracts other than Opioid Insurance Policies and/or applicable non-bankruptcy law.
 For the avoidance of doubt, this Article VI.F shall not apply to Opioid Insurance Policies and Opioid
 Claims.

 G.      Distributions on Account of Opioid Claims

          Notwithstanding anything to the contrary herein, Articles VI.A through VI.F (except as set forth in
 the last sentence of Article VI.E) shall not apply to any Opioid Claims, and all distributions to Holders of
 Opioid Claims (including Opioid Demands) shall be made by and from the Opioid MDT II and the Opioid
 Creditor Trusts in accordance with and resolved pursuant to the Opioid MDT II Documents and Opioid
 Creditor Trust Documents, as applicable.

 H.      Allocation of Distributions Between Principal and Interest

          Except with respect to the 2024 First Lien Term Loan Claims and the 2025 First Lien Term Loan
 Claims and as otherwise required by law (as reasonably determined by the Reorganized Debtors),
 distributions with respect to an Allowed Claim shall be allocated first to the principal portion of such
 Allowed Claim (as determined for United States federal income tax purposes) and, thereafter, to the
 remaining portion of such Allowed Claim, if any.

 I.      Postpetition Interest on Claims

          Notwithstanding anything else in this Plan or the Confirmation Order, postpetition interest shall
 accrue and be paid on the First Lien Revolving Credit Facility Claims, the First Lien Term Loan Claims,
 the First Lien Notes Claims, and the Second Lien Notes Claims as set forth in the Plan. Unless otherwise
 specifically provided for in this Plan (including the preceding sentence and Article II.B.2 of the Plan), the


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 Confirmation Order, the Cash Collateral Order, or Final Order of the Bankruptcy Court, or required by
 applicable bankruptcy law (including, without limitation, as required pursuant to section 506(b) or section
 511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any other Claims and no
 Holder of any other Claims shall be entitled to interest accruing on or after the Petition Date on any Claim.

                                                 Article VII.

                          PROCEDURES FOR RESOLVING CONTINGENT,
                            UNLIQUIDATED, AND DISPUTED CLAIMS

 A.      Allowance and Disallowance of Claims Other than Opioid Claims

          After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
 shall have and shall retain any and all available rights and defenses that the Debtors had with respect to any
 Claim other than Opioid Claims and any other Claims Allowed under this Plan (including the First Lien
 Term Loan Claims), including the right to assert any objection to Claims based on the limitations imposed
 by section 502 of the Bankruptcy Code. The Debtors and the Reorganized Debtors may, but are not required
 to, contest the amount and validity of any Disputed Claim other than Opioid Claims or contingent or
 unliquidated Claim other than Opioid Claims in the ordinary course of business in the manner and venue
 in which such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases had not
 been commenced. For the avoidance of doubt, this section of the Plan is subject to the provisions regarding
 resolution of General Unsecured Claims and Trade Claims assumed by the General Unsecured Claims
 Trust.

 B.      Prosecution of Objections to Claims other than Opioid Claims

          After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective
 Date, the Reorganized Debtors shall have the authority to File objections to Claims (other than Claims that
 are Allowed under this Plan or Opioid Claims) and settle, compromise, withdraw, or litigate to judgment
 objections to any and all such Claims, regardless of whether such Claims are in an Unimpaired Class or
 otherwise; provided, however, this provision shall not apply to Professional Fee Claims, which may be
 objected to by any party-in-interest in these Chapter 11 Cases. From and after the Effective Date, the
 Reorganized Debtors may settle or compromise any Disputed Claim other than Opioid Claims without any
 further notice to or action, order, or approval of the Bankruptcy Court. The Reorganized Debtors shall have
 the sole authority to administer and adjust the Claims Register and their respective books and records to
 reflect any such settlements or compromises without any further notice to or action, order, or approval of
 the Bankruptcy Court. For the avoidance of doubt, this section of the Plan is subject to the provisions
 regarding resolution of General Unsecured Claims and Trade Claims assumed by the General Unsecured
 Claims Trust. The General Unsecured Claims Trustee shall be required to notify the Reorganized Debtors
 simultaneously with the Notice and Claims Agent of any adjustments to be made to the Claims Register.

 C.      Estimation of Claims and Interests other than Opioid Claims

          Before or after the Effective Date, the Debtors or Reorganized Debtors, as applicable, may (but are
 not required to) at any time request that the Bankruptcy Court estimate any Disputed Claim other than any
 Opioid Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any
 reason, regardless of whether any party previously has objected to such Claim or whether the Bankruptcy
 Court has ruled on any such objection; and the Bankruptcy Court shall retain jurisdiction to estimate any
 such Claim or Interest, including during the litigation of any objection to any Claim or during the appeal
 relating to such objection; provided that if the Bankruptcy Court resolves the Allowed amount of a Claim,
 the Debtors and Reorganized Debtors, as applicable, shall not be permitted to seek an estimation of such
 Claim. Notwithstanding any provision otherwise in the Plan, a Claim that has been expunged from the


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 Claims Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be
 deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event
 that the Bankruptcy Court estimates any contingent or unliquidated Claim, that estimated amount shall
 constitute a maximum limitation on such Claim for all purposes under the Plan (including for purposes of
 distributions), and the relevant Reorganized Debtor may elect to pursue any supplemental proceedings to
 object to any ultimate distribution on such Claim subject to applicable law. For the avoidance of doubt,
 this section of the Plan is subject to the provisions regarding resolution of General Unsecured Claims and
 Trade Claims assumed by the General Unsecured Claims Trust.

 D.      No Distributions Pending Allowance

        If any portion of a Claim other than an Opioid Claim is Disputed, no payment or distribution
 provided hereunder shall be made on account of such Claim unless and until such Claim becomes an
 Allowed Claim.

 E.      Time to File Objections to Administrative Claims

         Any objections to Administrative Claims shall be Filed on or before the Administrative Claims
 Objection Deadline, subject to any extensions thereof approved by the Bankruptcy Court.

 F.      Procedures Regarding Opioid Claims

         Notwithstanding anything to the contrary herein, Articles VII.A through VII.E shall not apply to
 any Opioid Claims, and all procedures for resolving contingent, unliquidated, and disputed Opioid Claims
 (including Opioid Demands) shall be governed by the Opioid MDT II Documents and Opioid Creditor
 Trust Documents, as applicable.

 G.      No Filing of Proofs of Claim for Opioid Claims or VI Opioid Claims

          Except as otherwise provided in the Plan, Holders of Opioid Claims or VI Opioid Claims shall not
 be required to File a Proof of Claim or a request for payment of an Administrative Claim on account of
 such Holder’s Opioid Claims or VI Opioid Claims, and no such Holders should File such a Proof of Claim
 or such request for payment; provided, however, that a Holder of an Opioid Claim or VI Opioid Claim that
 wishes to assert Claims against the Debtors that are not Opioid Claims or VI Opioid Claims must File a
 Proof of Claim or a request for payment of an Administrative Claim with respect to such Claims which are
 not Opioid Claims or VI Opioid Claims on or before the applicable Claims Bar Date. The Opioid MDT II
 and Opioid Creditor Trusts will make distributions on account of Opioid Claims in accordance with and
 resolved pursuant to the Opioid MDT II Documents and Opioid Creditor Trust Documents, as applicable.
 Within sixty (60) days after the Effective Date, the Reorganized Debtors shall File a report identifying all
 Proofs of Claim that are reasonably determined by the Debtors, in consultation with the Governmental
 Plaintiff Ad Hoc Committee, the MSGE Group, the Future Claimants’ Representative, and the Opioid MDT
 II Trustee(s), to be on account of any Opioid Claim, and upon the Filing of such report and notice to the
 Holders of such Proofs of Claim who shall have 14 days to object to such determination, all identified
 Proofs of Claim shall be deemed withdrawn and removed from the applicable claims register; provided that
 Proofs of Claim on account of Opioid Claims filed after the Effective Date shall automatically be deemed
 withdrawn and expunged; provided, further, that upon a motion and hearing with notice to the
 Governmental Plaintiff Ad Hoc Committee, the MSGE Group, the Future Claimants’ Representative, the
 Opioid MDT II Trustee(s), and, solely in the case of clause (b) below, the Holders of affected Proofs of
 Claim, the Debtors (a) may seek an extension to the deadline to File such report from the Bankruptcy Court
 and (b) may seek determination by the Bankruptcy Court that any Proof of Claim is on account of any
 Opioid Claim.



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 H.      Distributions After Allowance

          To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
 shall be made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As soon
 as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
 Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the Holder of such Claim
 the distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date, without
 any postpetition interest to be paid on account of such Claim. For the avoidance of doubt, this section of
 the Plan does not apply to General Unsecured Claims or Trade Claims assumed by the General Unsecured
 Claims Trust. The Debtors will retain the Trade Claim Cash Pool Unallocated Amount once all Allowed
 Trade Claims are satisfied in full.

 I.      Disallowance of Certain First Lien Credit Agreement Claims, First Lien Notes Claims, and
         Second Lien Notes Claims.

           Notwithstanding anything to the contrary in the Plan (except for the Consent Rights of Supporting
 Parties in Article I.C), the following Claims shall be disallowed on the Effective Date except as otherwise
 ordered by a Final Order of the Bankruptcy Court before the Effective Date: (a) any First Lien Credit
 Agreement Claims (i) for default rate interest under Section 2.13(c) of the First Lien Credit Agreement in
 excess of the non-default rate applicable under Sections 2.13(a) or (b) of the First Lien Credit Agreement,
 or (ii) for interest based on the asserted conversion of any “Eurocurrency Borrowing” to an “ABR
 Borrowing” (each as defined in the First Lien Credit Agreement) under Section 2.07(e) of the First Lien
 Credit Agreement, to the extent such interest exceeds the interest payable on such borrowing as a
 Eurocurrency Borrowing; provided that, notwithstanding the foregoing, the Allowed First Lien Revolving
 Credit Facility Claims and the Allowed First Lien Term Loan Claims shall include the applicable amount
 of First Lien Revolving Credit Facility Accrued and Unpaid Interest and First Lien Term Loans Accrued
 and Unpaid Interest, respectively, and such First Lien Revolving Credit Facility Accrued and Unpaid
 Interest and First Lien Term Loans Accrued and Unpaid Interest shall not be subject to disallowance;
 provided further that notwithstanding anything to the contrary in the Plan, the Cash Collateral Order or the
 First Lien Credit Agreement, all adequate protection payments made by the Debtors pursuant to the Cash
 Collateral Order during the Chapter 11 Cases to the First Lien Revolving Lenders, the First Lien Term
 Lenders and their respective agents and professionals shall be retained by the First Lien Revolving Lenders,
 the First Lien Term Lenders and such agents and professionals, as applicable, and not recharacterized as
 principal payments (other than payments of principal made on or prior to April 23, 2021 and First Lien
 Term Loan Principal Payments) or otherwise subject to disgorgement, recovery, or avoidance by any party
 under any legal or equitable theory regardless of whether such payments arguably exceed the Allowed
 amount of the First Lien Revolving Credit Facility Claims or the First Lien Term Loan Claims, as applicable
 (b) any First Lien Notes Claims (i) for any principal premium in excess of the principal amount of such
 Claims outstanding immediately before the Petition Date, including for any “Applicable Premium” (as
 defined in the First Lien Notes Indenture) or optional redemption premium, (ii) for any “Additional
 Amounts” (as defined in the First Lien Notes Indenture), or (iii) for default rate interest under Section 2.11
 of the First Lien Notes Indenture; (c) any Second Lien Notes Claims (i) for any principal premium in excess
 of the principal amount of such Claims outstanding immediately before the Petition Date, including for any
 “Applicable Premium” (as defined in the Second Lien Notes Indenture) or optional redemption premium,
 (ii) for any “Additional Amounts” (as defined in the Second Lien Notes Indenture), or (iii) for default rate
 interest under Section 2.11 of the Second Lien Notes Indenture; and (d) any Claims for payment of any
 amounts payable pursuant to the Cash Collateral Order arising after the Effective Date. The Debtors will
 file an objection to such Claims consistent with the foregoing in advance of the Confirmation Hearing, and
 the Bankruptcy Court’s determination of such objection shall be set forth in the Confirmation Order.




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                                                 Article VIII.

                        CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

 A.      Conditions Precedent to the Effective Date

         The following are conditions precedent to the Effective Date that must be satisfied or waived:

        1.      The Restructuring Support Agreement shall remain in full force and effect and shall not
 have been terminated, and the parties thereto shall be in compliance therewith.

          2.      The Bankruptcy Court or another court of competent jurisdiction shall have entered the
 Confirmation Order in form and substance consistent with the Restructuring Support Agreement, such order
 shall be a Final Order, and to the extent such order was not entered by the District Court, the District Court
 shall have affirmed the Confirmation Order.

         3.      The Bankruptcy Court or another court of competent jurisdiction shall have entered the
 Opioid Operating Injunction Order, such order shall be a Final Order, and to the extent such order was not
 entered by the District Court, the District Court shall have affirmed the Opioid Operating Injunction Order.

         4. All documents and agreements necessary to implement the Plan (including the Definitive
 Documents, the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the New Opioid Warrant
 Agreement, the Federal/State Acthar Settlement Agreements, and any documents contained in the Plan
 Supplement) shall have been documented in compliance with the Restructuring Support Agreement (to the
 extent applicable), Article I.D (to the extent applicable), or Article I.E (to the extent applicable), executed
 and tendered for delivery. All conditions precedent to the effectiveness of such documents and agreements
 shall have been satisfied or waived pursuant to the terms thereof (which may occur substantially
 concurrently with the occurrence of the Effective Date).

         5.      All actions, documents, certificates, and agreements necessary to implement the Plan
 (including the Definitive Documents and any other documents contained in the Plan Supplement) shall have
 been effected or executed and delivered to the required parties and, to the extent required, filed with the
 applicable Governmental Units in accordance with applicable laws.

         6.       All authorizations, consents, regulatory approvals, rulings, or documents that are necessary
 to implement and effectuate the Plan and the transactions contemplated herein shall have been obtained,
 and there shall have been no determination by the Debtors, including by the Disinterested Managers, to not
 grant any of the releases to Released Parties set forth in Article IX of the Plan.

          7.      All conditions precedent to the consummation of the Opioid Settlement (as defined in the
 Restructuring Support Agreement) and related transactions, including establishment of the Opioid MDT II
 and Opioid Creditor Trusts and authorization for payment of the Opioid MDT II Consideration, have been
 satisfied or waived by the party or parties entitled to waive them.

         8.      The final version of the Plan, Plan Supplement, the Opioid MDT II Documents, Opioid
 Creditor Trust Documents, and all of the schedules, documents, and exhibits contained therein, and all other
 schedules, documents, supplements, and exhibits to the Plan, shall be consistent with the Restructuring
 Support Agreement.

          9.     The Bankruptcy Court shall have confirmed that the Bankruptcy Code authorizes the
 transfer and vesting of the Opioid MDT II Consideration, notwithstanding any terms of any Insurance
 Contracts related to the Assigned Insurance Rights or provisions of non-bankruptcy law that any Insurer
 may otherwise argue prohibits such transfer and vesting.


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         10.     The Canadian Court shall have issued an order recognizing the Confirmation Order in the
 Recognition Proceedings and giving full force and effect to the Confirmation Order in Canada and such
 recognition order shall have become a Final Order.

        11.      The High Court of Ireland shall have made the Irish Confirmation Order and the Scheme
 of Arrangement shall have become effective in accordance with its terms (or shall become effective
 concurrently with effectiveness of the Plan).

         12.      The Irish Takeover Panel shall have either: (a) confirmed that an obligation to make a
 mandatory general offer for the shares of Parent pursuant to Rule 9 of the Irish Takeover Rules will not be
 triggered by the implementation of the Scheme of Arrangement and the Plan; or (b) otherwise waived the
 obligation on the part of any Person to make such an offer.

          13.    Any civil or criminal claims asserted by or on behalf of the Department of Justice (other
 than those resolved pursuant to the Federal/State Acthar Settlement) have been resolved on terms
 reasonably acceptable to the Debtors, the Required Supporting Unsecured Noteholders the Governmental
 Plaintiff Ad Hoc Committee, and the MSGE Group.

         14.     The Debtors shall have paid in full all professional fees and expenses of the Retained
 Professionals (including the Retained Professionals of the Disinterested Managers) that require the
 Bankruptcy Court’s approval or amounts sufficient to pay such fees and expenses after the Effective Date
 shall have been placed in a Professional Fee Escrow Account pending the Bankruptcy Court’s approval of
 such fees and expenses.

        15.     The Professional Fee Escrow Account shall have been established and funded in Cash in
 accordance with Article II.A.2.

           16.    The Debtors shall have paid the Restructuring Expenses including the Transaction Fees, in
 full, in Cash.

          17.     The Debtors shall have paid (A) the Noteholder Consent Fee, (B) the outstanding invoices
 on account of any Indenture Trustee Fees delivered to the Debtors (or their counsel) at least two (2) business
 days before the Effective Date, and (C) the Term Loan Exit Payment (and (i) the First Lien Agent shall
 have received such Term Loan Exit Payment on behalf of the First Lien Term Lenders and shall have
 distributed such Term Loan Exit Payment to the First Lien Term Lenders or (ii) the Term Loan Exit
 Payment shall have otherwise been distributed to the First Lien Term Lenders by means approved by the
 Ad Hoc First Lien Term Lender Group), and the foregoing payments shall not be subject to setoff, demand,
 recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery asserted by any
 Person.

         18.      The Cash Collateral Order shall have remained in full force and effect.

         19.    The restructuring to be implemented on the Effective Date shall be consistent with the Plan,
 the Scheme of Arrangement, and the Restructuring Support Agreement.

          20.      An appropriate order or orders shall (a) approve the Debtors’ assumption, pursuant to
 section 365 of the Bankruptcy Code, of that certain Wholesale Product Purchase Agreement by and
 between Mallinckrodt ARD LLC and Priority Healthcare Distribution, Inc. (d/b/a CuraScripts SD Specialty
 Distribution), relating to the wholesale purchase and distribution of Acthar Gel, as requested by the Debtors’
 ESI Contract Assumption Motion, (b) contain findings of fact and conclusions of law that such agreement
 does not constitute an agreement in restraint of trade in violation of section 1 of the Sherman Act, 15 U.S.C.
 § 1 or the unlawful maintenance of monopoly power in violation of section 2 of the Sherman Act, 15 U.S.C.
 § 2, and (c) contain findings of fact and conclusions of law that no marketing conduct in connection with

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 Acthar Gel undertaken by the Debtors after the Petition Date, evidence of which was adduced in the
 Bankruptcy Court in connection with the resolution of any Administrative Claims before or in connection
 with the Confirmation Hearing, gives rise to valid Claims (including under section 503(b) of the Bankruptcy
 Code) for violations of the Racketeer Influenced and Corrupt Organizations Act, state consumer fraud laws,
 common law fraud, negligent and intentional misrepresentation, conspiracy to defraud, aiding and abetting
 fraud, and unjust enrichment.

         21.      The Debtors shall have reached settlement agreements with all holders of Co-Defendant
 Claims (other than the Released Co-Defendants) that objected to Article V.G of the Plan, which agreements
 (i) may be documented by adding such holders of Co-Defendant Claims to the list of Released Co-
 Defendants in the Plan, including after Confirmation, or as separate documents, and (ii) shall be in form
 and substance reasonably acceptable to the parties to the Restructuring Support Agreement, the Official
 Committee of Opioid-Related Claimants, and the Future Claimants’ Representative; subject to the
 foregoing, for the avoidance of doubt, adding a holder of Co-Defendant Claims to the list of Released Co-
 Defendants in the Plan, without a separate agreement, is sufficient to satisfy this condition.

         22.   The restructuring to be implemented on the Effective Date shall be reasonably consistent
 with the OCC Settlement.

         23.   The restructuring to be implemented on the Effective Date shall be reasonably consistent
 with the UCC Settlement.

 B.      Waiver of Conditions by Supporting Parties, the Official Committee of Opioid-Related Claimants,
         the Future Claimants’ Representative, the Official Committee of Unsecured Creditors, and the Ad
         Hoc Second Lien Notes Group

           Subject to and without limiting or expanding the respective rights of each party to the Restructuring
 Support Agreement, the Debtors, the Required Supporting Unsecured Noteholders, the Governmental
 Plaintiff Ad Hoc Group, and the MSGE Group may collectively waive any of the conditions to the Effective
 Date set forth in Article VIII.A at any time, without any notice to parties in interest and without any further
 notice to or action, order, or approval of the Bankruptcy Court, and without any formal action; provided
 that (a) the conditions set forth in Article VIII.A.14 and VIII.A.15 may be waived by only the Debtors with
 the consent of the affected Retained Professionals; (b) the waiver of Article VIII.A.4 (with respect to the
 New Takeback Term Loan Documentation and other documents to which the Supporting Term Lenders
 have consent rights under the Restructuring Support Agreement), Article VIII.A.16 (with respect to the
 Restructuring Expenses payable to the advisors of the Ad Hoc First Lien Term Lender Group), and Article
 VIII.A.17(C) shall require the consent of the Required Supporting Term Lenders, (c) the waiver of the
 condition set forth in Article VIII.A.17(B) shall also require the consent of the Guaranteed Unsecured Notes
 Indenture Trustee; (d) the waiver of any conditions set forth in Definitive Documents for which the Official
 Committee of Opioid-Related Claimants and the Future Claimants’ Representative have a consent right to
 the extent set forth in Article I.C of the Plan, shall require the consent of the Official Committee of Opioid-
 Related Claimants and the Future Claimants’ Representative, and the waiver of any items set forth in the
 Plan which are not documents, which require the consent of the Future Claimants’ Representative, shall
 require the consent of the Future Claimants’ Representative for any waiver thereof, and the waiver of any
 items set forth in the Plan which are not documents, which require the consent of the Official Committee
 of Opioid-Related Claimants, shall require the consent of the Official Committee of Opioid-Related
 Claimants for any waiver thereof, including, without limitation, items 4 and 22 in Article VIII.A; (e) the
 waiver of any conditions set forth in Definitive Documents for which the Official Committee of Unsecured
 Creditors has a consent right to the extent set forth in Article I.C of the Plan, shall require the consent of
 the Official Committee of Unsecured Creditors; and (f) the waiver of any conditions set forth in Definitive
 Documents for which the Ad Hoc Second Lien Notes Group has a consent right to the extent set forth in
 Article I.F of the Plan, shall require the consent of the Ad Hoc Second Lien Notes Group.

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 C.      Effect of Non-Occurrence of Conditions to the Effective Date

         If the Effective Date does not occur on or before the termination of the Restructuring Support
 Agreement, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
 embodied in the Plan, assumption of Executory Contracts or Unexpired Leases effected under the Plan, and
 any document or agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing
 contained in the Plan, the Confirmation Order, or the Disclosure Statement shall: (a) constitute a waiver or
 release of any Claims, Interests, or Causes of Action; (b) prejudice in any manner the rights of the Debtors
 or any other Entity; or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort by
 the Debtors or any other Entity.

 D.      Substantial Consummation

          “Substantial consummation” of the Plan, as defined in section 1102(2) of the Bankruptcy Code,
 shall be deemed to occur on the Effective Date.

                                                   Article IX.

                        RELEASE, INJUNCTION, AND RELATED PROVISIONS

 A.      Discharge of Claims, Opioid Demands, and Interests; Compromise and Settlement of Claims,
         Opioid Demands, and Interests.

          Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and
 except as otherwise specifically provided in the Plan, the distributions, rights, and treatment that are
 provided in the Plan shall be in full and final satisfaction, settlement, release, and discharge, effective as of
 the Effective Date, of all Claims, Opioid Claims, Opioid Demands, and Interests of any nature whatsoever,
 whether known or unknown, against, liabilities of, demands against, Liens on, obligations of, or rights
 against the Debtors, the Reorganized Debtors, or any of their assets or properties, regardless of whether any
 property shall have been distributed or retained pursuant to the Plan on account of such Claims, Opioid
 Claims, Opioid Demands, or Interests, including demands, liabilities, and Causes of Action that arose before
 the Effective Date, any contingent or non-contingent liability on account of representations or warranties
 issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
 502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim is Filed or deemed Filed
 pursuant to section 501 of the Bankruptcy Code; (2) a Claim, Opioid Claim, Opioid Demand, or Interest is
 Allowed; or (3) the Holder of such Claim, Opioid Claim, Opioid Demand, or Interest has accepted the Plan.
 For the avoidance of doubt, the Claims against the Debtors, the Reorganized Debtors, and any of their assets
 and properties discharged pursuant to the Plan shall include (y) any Claims to the extent based on any
 assertion that the Wholesale Product Purchase Agreement (as in effect immediately prior to the Effective
 Date and including any prior versions of such agreement) between Mallinckrodt ARD LLC and Priority
 Healthcare Distribution, Inc., and/or the Debtors’ (or any predecessor’s) pre-Effective Date performance
 thereunder consistent with its terms, constitute an anticompetitive agreement or other anticompetitive
 conduct under applicable law, and (z) any Claims based on pre-Effective Date sales of Acthar Gel to the
 extent based on any assertion that the Debtors’ (or any predecessor’s) acquisition by license and
 maintenance of any rights to Synacthen Depot and related assets constitute anticompetitive conduct under
 applicable law. Except as otherwise provided herein, any default by the Debtors with respect to any Claim,
 Opioid Claim, or Interest that existed immediately prior to or on account of the filing of the Chapter 11
 Cases shall be deemed cured on the Effective Date. The Confirmation Order shall be a judicial
 determination of the discharge of all Claims, Opioid Demands, and Interests subject to the Effective Date
 occurring, except as otherwise expressly provided in the Plan. For the avoidance of doubt, nothing in this
 Article IX.A shall affect the rights of Holders of Claims and Interests to seek to enforce the Plan, including
 the distributions to which Holders of Allowed Claims and Interests may be entitled to under the Plan.

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          In consideration for the distributions and other benefits provided pursuant to the Plan, the
 provisions of the Plan shall constitute a good faith compromise of all Claims, Opioid Demands, Interests
 and controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim or
 Interest may have with respect to any Allowed Claim or Interest, or any distribution to be made on account
 of such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
 Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Opioid Demands,
 Interests and controversies, as well as a finding by the Bankruptcy Court that such compromises or
 settlements are in the best interests of the Debtors, their Estates, and Holders of Claims and Interests and
 are fair, equitable, and reasonable. The Co-Defendant Defensive Rights shall not be waived, released,
 altered, impaired, or discharged and all Co-Defendant Defensive Rights are preserved, as provided in
 Article IX.N of the Plan.

 B.      Releases by the Debtors

          Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of
 the Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
 which is hereby confirmed, including, without limitation, the service of the Released Parties before
 and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring
 Support Agreement) and the restructuring, and except as otherwise explicitly provided in the Plan
 or in the Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
 unconditionally, irrevocably and forever released and discharged, to the maximum extent permitted
 by law, as such law may be extended subsequent to the Effective Date, by the Debtors and the Estates
 from any and all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands,
 debts, rights, Causes of Action, liens, remedies, losses, contributions, indemnities, costs, liabilities,
 attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or assertable on
 behalf of the Debtors or their Estates, whether liquidated or unliquidated, fixed or contingent,
 matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued
 or unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding in tort or
 contract, whether arising under federal or state statutory or common law, or any other applicable
 international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or
 otherwise, that the Debtors or their Estates would have been legally entitled to assert in their own
 right (whether individually or collectively) or on behalf of the Holder of any Claim or Equity Interest
 or other person, based on or relating to, or in any manner arising from, in whole or in part, the
 Debtors (including the management, ownership, or operation thereof and as such Entities existed
 prior to or after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts
 (including the Chapter 11 Cases), the purchase, sale, or rescission of the purchase or sale of any
 security or indebtedness of the debtors, the subject matter of, or the transactions or events giving rise
 to, any Claim or Equity Interest that is treated in the Plan, litigation claims arising from historical
 intercompany transactions between or among a Debtor and another Debtor, the business or
 contractual arrangements between any Debtor and any Released Party (including the exercise of any
 common law or contractual rights of setoff or recoupment by any Released Party at any time on or
 prior to the Effective Date), the restructuring of any Claim or Equity Interest before or during the
 Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation, dissemination,
 filing, or implementation of, prior to the Effective Date, the Definitive Documents, the Opioid MDT
 II, Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor Trust Documents,
 the “agreement in principle for global opioid settlement and associated debt refinancing activities”
 announced by the Parent on February 25, 2020 and all matters and potential transactions described
 therein, the Restructuring Support Agreement (including any amendments and/or joinders thereto)
 and related prepetition and postpetition transactions, the Disclosure Statement, the Plan, the Plan
 Supplement, any Restructuring Transaction, any agreement, instrument, release, and other
 documents (including providing any legal opinion requested by any Entity regarding any transaction,


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 contract, instrument, document, or other agreement contemplated by the Plan or the reliance by any
 Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered
 into prior to the Effective Date in connection with the creation of the Opioid MDT II, the Opioid
 Creditor Trusts, the “agreement in principle for global opioid settlement and associated debt
 refinancing activities” announced by the Parent on February 25, 2020, the Restructuring Support
 Agreement and related prepetition transactions, the Disclosure Statement, the Plan, the Plan
 Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of confirmation
 (including the solicitation of votes on the Plan), the pursuit of consummation, the administration and
 implementation of the Plan, including the issuance or distribution of Securities pursuant to the Plan,
 or the distribution of property under the Plan or any other related agreement, or upon the business
 or contractual arrangements between any Debtor and any Released Party, and any other act or
 omission, transaction, agreement, event, or other occurrence or circumstance taking place on or
 before the Effective Date related or relating to any of the foregoing; provided, however, that the
 Debtors do not release, and the Opioid MDT II shall retain, all Assigned Third-Party Claims and
 Assigned Insurance Rights; provided, further, that the Debtors do not release Claims or Causes of
 Action against Released Co-Defendants that (i) are commercial in nature, and (ii) are unrelated to
 the Chapter 11 Cases or the subject matter of a Pending Opioid Action; provided, further, that the
 Debtors do not release, Claims or Causes of Action arising out of, or related to, any act or omission
 of a Released Party that is determined by Final Order of the Bankruptcy Court or any other court
 of competent jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct.
 The foregoing release will be effective as of the Effective Date without further notice to or order of
 the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
 consent, authorization or approval of any person and the Confirmation Order shall permanently
 enjoin the commencement or prosecution by any person, whether directly, derivatively or otherwise,
 of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or
 liabilities released pursuant to this Debtor Release. Notwithstanding anything to the contrary in the
 foregoing, (x) the releases by the Debtors set forth above do not release any post-Effective Date
 obligations of any party or Entity under the Plan, any restructuring, any document, instrument, or
 agreement (including those set forth in the Plan Supplement) executed to implement the Plan, or any
 Claims which are reinstated pursuant to the Plan, and (y) with respect to the Released Co-
 Defendants, nothing in this Article IX.B shall release any Estate Surviving Pre-Effective Date Claim.
 The foregoing release will be effective as of the Effective Date without further notice to or order of
 the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
 consent, authorization, or approval of any person, and the Confirmation Order shall permanently
 enjoin the commencement or prosecution by any person, whether directly, derivatively, or otherwise,
 of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or
 liabilities released pursuant to the foregoing release.

        The Reorganized Debtors, the Opioid MDT II, and the Opioid Creditor Trusts shall be
 bound, to the same extent the Debtors are bound, by the releases set forth in Article IX.B of the Plan.
 For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act or
 omission of a Released Party prior to the Effective Date that is determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
 gross negligence, or willful misconduct, including findings after the Effective Date, are not released
 pursuant to Article IX.B of the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
 to Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article IX.B of the Plan, which
 includes by reference each of the related provisions and definitions contained herein, and further
 shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for the good and
 valuable consideration provided by the Released Parties; (b) a good faith settlement and compromise

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 of the Claims released by the Debtor Release; (c) in the best interests of the Debtors, their Estates
 and all Holders of Claims and Equity Interests; (d) fair, equitable and reasonable; (e) given and made
 after due notice and opportunity for hearing; and (f) a bar to any Entity or person asserting any
 Claim or Cause of Action released by Article IX.B of the Plan.

 C.      Releases by Non-Debtor Releasing Parties Other Than Opioid Claimants

         Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of
 the Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
 which is hereby confirmed, including, without limitation, the service of the Released Parties before
 and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring
 Support Agreement) and restructuring, and except as otherwise explicitly provided in the Plan or in
 the Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
 unconditionally, irrevocably and forever released and discharged, to the maximum extent permitted
 by law, as such law may be extended subsequent to the Effective Date, except as otherwise explicitly
 provided herein, by the Non-Debtor Releasing Parties, in each case, from any and all Claims,
 counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights, Causes of
 Action, liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees and
 expenses whatsoever, including any derivative claims, asserted or assertable on behalf of the Debtors
 or their Estates, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
 known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing
 or hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether arising
 under federal or state statutory or common law, or any other applicable international, foreign, or
 domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that such
 Holders or their Estates, Affiliates, heirs, executors, administrators, successors, assigns, managers,
 accountants, attorneys, representatives, consultants, agents, and any other persons or parties
 claiming under or through them would have been legally entitled to assert in their own right (whether
 individually or collectively) or on behalf of the Holder of any Claim or Equity Interest or other
 person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
 (including the management, ownership, or operation thereof and as such entities existed prior to or
 after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts (including
 the Chapter 11 Cases), the purchase, sale, or rescission of the purchase or sale of any Security or
 indebtedness of the Debtors, the subject matter of, or the transactions or events giving rise to, any
 Claim or Equity Interest that is treated in the Plan, litigation claims arising from historical
 intercompany transactions between or among a Debtor and another Debtor, the business or
 contractual arrangements or interactions between any Debtor and any Released Party (including the
 exercise of any common law or contractual rights of setoff or recoupment by any Released Party at
 any time on or prior to the Effective Date), the restructuring of any Claim or Equity Interest before
 or during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation,
 dissemination, filing, or implementation of, prior to the Effective Date, the Definitive Documents, the
 Opioid MDT II, the Opioid MDT II Documents, the Opioid Creditor Trust, the Opioid Creditor
 Trust Documents, the “agreement in principle for global opioid settlement and associated debt
 refinancing activities” announced by the Parent on February 25, 2020 and all matters and potential
 transactions described therein, the Restructuring Support Agreement (including any amendments
 and/or joinders thereto) and related prepetition and postpetition transactions, the Disclosure
 Statement, the Plan, the Plan Supplement, any Restructuring Transaction, any agreement,
 instrument, release, and other documents (including providing any legal opinion requested by any
 Entity regarding any transaction, contract, instrument, document, or other agreement contemplated
 by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
 such legal opinion) created or entered into prior to the Effective Date in connection with the creation
 of the Opioid MDT II, the Opioid Creditor Trusts, the prepetition documents, the “agreement in

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 principle for global opioid settlement and associated debt refinancing activities” announced by the
 Parent on February 25, 2020, the Restructuring Support Agreement (including any amendments
 and/or joinders thereto) and related prepetition transactions, the Disclosure Statement, the Plan, the
 Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of
 confirmation (including the solicitation of votes on the Plan), the pursuit of consummation, the
 administration and implementation of the Plan, including the issuance or distribution of Securities
 pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,
 or upon the business or contractual arrangements between any Debtor and any Released Party, and
 any other act or omission, transaction, agreement, event, or other occurrence or circumstance taking
 place on or before the Effective Date related or relating to any of the foregoing, other than Claims or
 Causes of Action arising out of, or related to, any act or omission of a Released Party that is
 determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction to
 have constituted actual fraud, gross negligence or willful misconduct. For the avoidance of doubt,
 Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party prior
 to the Effective Date that is determined by Final Order of the Bankruptcy Court or any other court
 of competent jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct,
 including findings after the Effective Date, are not released pursuant to Article IX.C of the Plan.
 Notwithstanding anything to the contrary in the foregoing, the releases by the Non-Debtor Releasing
 Parties set forth above do not release any post-Effective Date obligations of any party or Entity under
 the Plan, any restructuring, any document, instrument, or agreement (including those set forth in the
 Plan Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to
 the Plan. The foregoing release will be effective as of the Effective Date without further notice to or
 order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
 vote, consent, authorization, or approval of any person, and the Confirmation Order shall
 permanently enjoin the commencement or prosecution by any person, whether directly, derivatively,
 or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes
 of Action, or liabilities released pursuant to the foregoing release. Notwithstanding anything herein
 to the contrary, Released Co-Defendants shall not be Released Parties for purposes of this
 Article IX.C. As a matter of clarification, the claims released by the Released Co-Defendants
 pursuant to Article IX.C shall not include any counterclaims, cross claims or other claims not directly
 arising from Mallinckrodt’s restructuring or these chapter 11 cases that the Released Co-Defendants
 may have against any Released Party in connection with any Pending Opioid Action or future action
 similar thereto, including any pending or future Opioid Action involving Mallinckrodt.

          Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order
 shall (x) release, discharge, or preclude the enforcement of any criminal liability of a Released Party
 to a Governmental Unit arising out of, or relating to, any act or omission of a Released Party prior
 to the Effective Date that is determined by Final Order of the Bankruptcy Court or any other court
 of competent jurisdiction to have constituted a criminal act; (y) release or discharge a consultant or
 expert having been retained to provide strategic advice for sales and marketing of opioid products
 who has received a civil investigative demand or other subpoena related to sales and marketing of
 opioid products from any state attorney general on or after January 1, 2019 through the Petition
 Date; or (z) preclude the Governmental Units that are plaintiffs in Connecticut et al., v. Sandoz, Inc.
 et al., Case No. 2:20-cv-03539 (E.D. Pa.) from seeking injunctive relief in such pending action
 governing future conduct of the Debtors or the Reorganized Debtors, as applicable, that would not
 otherwise be discharged under the Bankruptcy Code. It is further understood and agreed that,
 pursuant to clause (z), the Governmental Units are not precluded from introducing or relying on
 facts or evidence occurring during the time period prior to the Confirmation Date in support of the
 request for future injunctive relief and the Debtors’ and Reorganized Debtors’ rights to object on
 any evidentiary grounds are reserved thereto.


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         Notwithstanding any language to the contrary contained in the Disclosure Statement, Plan or
 Confirmation Order, no provision shall (i) preclude the SEC from enforcing its police or regulatory
 powers; or, (ii) enjoin, limit, impair or delay the SEC from commencing or continuing any claims,
 causes of action, proceeding or investigations against any non-Debtor person or non-Debtor entity in
 any forum.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
 to Bankruptcy Rule 9019, of the releases by the Non-Debtor Releasing Parties set forth in
 Article IX.C of the Plan, which includes by reference each of the related provisions and definitions
 contained herein, and further shall constitute the Bankruptcy Court’s finding that such release is:
 (a) given in exchange for the good and valuable consideration provided by the Released Parties; (b)
 a good faith settlement and compromise of the Claims released by Article IX.C of the Plan; (c) in the
 best interests of the Debtors, their Estates and all Holders of Claims and Equity Interests; (d) fair,
 equitable and reasonable; (e) given and made after due notice and opportunity for hearing; (f) a bar
 to any Entity or person asserting any Claim or Cause of Action released by Article IX.C of the Plan;
 (g) consensual; and (h) essential to the confirmation of the Plan.

 D.      Releases by Holders of Opioid Claims

          Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b)
 of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the
 Effective Date, for good and valuable consideration, the adequacy of which is hereby confirmed,
 including, without limitation, the service of the Protected Parties before and during the Chapter 11
 Cases to facilitate the Opioid Settlement (as defined in the Restructuring Support Agreement) and
 restructuring, each Opioid Claimant (in its capacity as such) is deemed to have released and
 discharged, to the maximum extent permitted by law, as such law may be extended subsequent to the
 Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all Claims
 (including Opioid Claims and Opioid Demands), counterclaims, disputes, obligations, suits,
 judgments, damages, demands, debts, rights, Causes of Action, liens, remedies, losses, contributions,
 indemnities, costs, liabilities, or attorneys’ fees and expenses whatsoever, including any derivative
 claims asserted, or assertable on behalf of the Debtors, or their Estates, whether liquidated or
 unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
 unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether in
 law or equity, whether sounding in tort or contract, whether arising under federal or state statutory
 or common law, or any other applicable international, foreign, or domestic law, rule, statute,
 regulation, treaty, right, duty, requirement or otherwise, that such entity would have been legally
 entitled to assert in their own right (whether individually or collectively) or on behalf of any other
 person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
 (including the management, ownership, or operation thereof and as such Entities existed prior to or
 after the Petition Date), their Estates, the Opioid Claims (including Opioid Demands), the Debtors’
 in- or out-of-court restructuring efforts (including the Chapter 11 Cases), intercompany transactions
 between or among a Debtor and another Debtor, the restructuring of any Claim or Equity Interest
 before or during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation,
 preparation, dissemination, filing, or implementation of, prior to the Effective Date, the Opioid MDT
 II, the Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor Trust Documents,
 the “agreement in principle for global opioid settlement and associated debt refinancing activities”
 announced by the Parent on February 25, 2020 and all matters and potential transactions described
 therein, the Restructuring Support Agreement (including any amendments and/or joinders thereto)
 and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, any
 Restructuring Transaction, or any contract, instrument, release, or other agreement or document
 (including providing any legal opinion requested by any Entity regarding any transaction, contract,

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 instrument, document, or other agreement contemplated by the Plan or the reliance by any Protected
 Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into
 prior to the Effective Date in connection with the creation of the Opioid MDT II, the Opioid Creditor
 Trusts, the “agreement in principle for global opioid settlement and associated debt refinancing
 activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
 (including any amendments and/or joinders thereto) and related prepetition transactions, the
 Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter
 11 Cases, the pursuit of confirmation (including the solicitation of votes on the Plan), the pursuit of
 consummation, the administration and implementation of the Plan, including the issuance or
 distribution of securities pursuant to the Plan, or the distribution of property under the Plan or any
 other related agreement, or upon the business or contractual arrangements between any Debtor and
 any Protected Party, or upon any other act or omission, transaction, agreement, event, or other
 occurrence or circumstance taking place on or before the Effective Date related or relating to any of
 the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases by the Opioid
 Claimants set forth above (a) do not release any post-Effective Date obligations of any party or Entity
 under the Plan, any post-Effective Date transaction contemplated by the restructuring, or any
 document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
 implement the Plan, or any claims or causes of actions against any co-defendant of the Debtors (other
 than any Protected Party) in any opioid-related litigation and (b) with respect to Co-Defendants and
 their Co-Defendant Related Parties, do not affect or alter (x) any treatment expressly set forth in
 Article III or Article V.G. of the Plan, (y) the preservation of Co-Defendant Defensive Rights as set
 forth in the Plan, including, without limitation, in Article IX.N of the Plan, or (z) any related
 substantive language set forth in the defined terms applicable to the foregoing clauses (x) or (y), as
 set forth in Article I of the Plan. The foregoing release will be effective as of the Effective Date without
 further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
 order, or rule or the vote, consent, authorization, or approval of any person, and the Confirmation
 Order shall permanently enjoin the commencement or prosecution by any person, whether directly,
 derivatively, or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts,
 rights, Causes of Action, or liabilities released pursuant to the foregoing release by Opioid Claimants.
 Notwithstanding anything herein to the contrary, Released Co-Defendants shall not be Protected
 Parties under the Plan.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
 to Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by reference each of
 the related provisions and definitions contained herein, and, further, shall constitute the Bankruptcy
 Court’s finding that this release is: (1) essential to the confirmation of the Plan; (2) given in exchange
 for the good and valuable consideration provided by the Protected Parties; (3) a good-faith settlement
 and compromise of the Claims released by Article IX.D of the Plan; (4) in the best interests of the
 Debtors, their Estates, and all Opioid Claimants; (5) fair, equitable, and reasonable; (6) given and
 made after due notice and opportunity for hearing; and (7) a bar to any Opioid Claimant asserting
 any Claim or Cause of Action released pursuant to Article IX.D of the Plan.

         For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act
 or omission of a Protected Party prior to the Effective Date that is determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
 gross negligence, or willful misconduct, including findings after the Effective Date, are not released
 pursuant to article IX.D of the Plan. Notwithstanding anything to the contrary in the foregoing, the
 releases by the Opioid Claimants set forth above do not release any post-Effective Date obligations
 of any party or Entity under the Plan, any restructuring, any document, instrument, or agreement
 (including those set forth in the Plan Supplement) executed to implement the Plan, or any Claims
 which are reinstated pursuant to the Plan.

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 Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order shall
 (x) release, discharge, or preclude the enforcement of any liability of a Protected Party to a
 Governmental Unit arising out of, or relating to, any act or omission of a Protected Party prior to the
 Effective Date that is determined by Final Order of the Bankruptcy Court or any other court of
 competent jurisdiction to have constituted a criminal act perpetrated by the applicable Protected
 Party; or (y) release or discharge a consultant or expert having been retained to provide strategic
 advice for sales and marketing of opioid products who has received a civil investigative demand or
 other subpoena related to sales and marketing of opioid products from any state attorney general on
 or after January 1, 2019 through the Petition Date.

 E.      Release of Opioid Claimants

          Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of
 the Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
 which is hereby confirmed, and except as otherwise explicitly provided in the Plan or in the
 Confirmation Order, the Holders of Opioid Claims and Released Co-Defendants and each of their
 Co-Defendant Related Parties, in each case solely in their respective capacities as such, shall be
 deemed conclusively, absolutely, unconditionally, irrevocably, fully, finally, forever and permanently
 released and discharged, to the maximum extent permitted by law, as such law may be extended
 subsequent to the Effective Date, by the Protected Parties from any and all Claims, counterclaims,
 disputes, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, liens,
 remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees and expenses
 whatsoever, including any derivative claims, asserted or assertable on behalf of the Debtors or their
 Estates, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
 unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or
 hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether arising
 under federal or state statutory or common law, or any other applicable international, foreign, or
 domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that the
 Protected Parties are, were, would have been, or will be legally entitled to assert in their own right
 (whether individually or collectively) or on behalf of the Holder of any Claim or Equity Interest or
 other person, notwithstanding section 1542 of the California Civil Code or any law of any jurisdiction
 that is similar, comparable or equivalent thereto (which shall conclusively be deemed waived) based
 on or relating to, or in any manner arising from, in whole or in part, the Debtors (including the
 management, ownership, or operation thereof and as such Entities existed prior to or after the
 Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts (including the
 Chapter 11 Cases), the subject matter of, or the transactions or events giving rise to, any Claim or
 Equity Interest that is treated in the Plan, the restructuring of any Claim or Equity Interest before
 or during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation,
 dissemination, filing, or implementation of, prior to the Effective Date, the Definitive Documents, the
 Opioid MDT II, the Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor
 Trust Documents, the “agreement in principle for global opioid settlement and associated debt
 refinancing activities” announced by the Parent on February 25, 2020 and all matters and potential
 transactions described therein, the Restructuring Support Agreement (including any amendments
 and/or joinders thereto) and related prepetition and postpetition transactions, the Disclosure
 Statement, the Plan, the Plan Supplement, any Restructuring Transaction, any agreement,
 instrument, release, and other documents created or entered into prior to the Effective Date in
 connection with the creation of the Opioid MDT II, the Opioid Creditor Trusts, the “agreement in
 principle for global opioid settlement and associated debt refinancing activities” announced by the
 Parent on February 25, 2020, the Restructuring Support Agreement (including any amendments
 and/or joinders thereto) and related prepetition transactions, the Disclosure Statement, the Plan, the
 Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of

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 confirmation (including the solicitation of votes on the Plan), the pursuit of consummation, the
 administration and implementation of the Plan, or the distribution of property under the Plan or any
 other related agreement, Pending Opioid Actions, the development, production, manufacture,
 licensing, labeling, marketing, advertising, promotion, distribution or sale of opioid-related products,
 any past use or misuse of any opioid sold by the Debtors or any of its affiliates, and any other act or
 omission, transaction, agreement, event, or other occurrence or circumstance taking place on or
 before the Effective Date related or relating to any of the foregoing; provided, however, that the
 Debtors do not release, and the Opioid MDT II shall retain, all Assigned Third-Party Claims,
 Assigned Insurance Rights, and Share Repurchase Claims; provided, further, that the Protected
 Parties do not release, Claims or Causes of Action arising out of, or related to, any act or omission of
 a Holder of an Opioid Claim, Released Co-Defendant, or Co-Defendant Related Party that is
 determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction to
 have constituted actual fraud, gross negligence, or willful misconduct; provided, further, that nothing
 in this Article IX.E shall (a) release any Cause of Action the Protected Parties are entitled to assert
 that is both (i) contractual or commercial in nature and (ii) unrelated to the subject matter of Pending
 Opioid Actions, (b) release any Cause of Action the Debtors are entitled to assert, to the extent such
 Cause of Action is necessary for the administration and resolution of a Claim against a Debtor solely
 in accordance with the Plan, provided, however, that the forgoing clause (b) shall not apply to any
 Holder of a Co-Defendant Claim solely with respect to such Co-Defendant Claim, (c) release any
 claim or right of the Debtors or the Reorganized Debtors arising in the ordinary course of the
 Debtors’ or Reorganized Debtors’ business, including, without limitation, any such claim with
 respect to taxes, (d) be construed to impair in any way the Effective Date or post-Effective Date rights
 and obligations of any Person under the Plan, the Definitive Documents, the Confirmation Order or
 the Restructuring Transactions, or (e) with respect to the Released Co-Defendants and their Co-
 Defendant Related Parties, nothing in this Article IX.E shall release any Estate Surviving Pre-
 Effective Date Claim. The foregoing release will be effective as of the Effective Date without further
 notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or
 rule or the vote, consent, authorization or approval of any person and the Confirmation Order shall
 permanently enjoin the commencement or prosecution by any person, whether directly, derivatively
 or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes
 of Action, or liabilities released pursuant to this release of Holders of Opioid Claims and Released
 Co-Defendants and each of their Co-Defendant Related Parties, solely in their capacity as such, by
 the Protected Parties. Notwithstanding anything to the contrary in the foregoing, the releases by the
 Protected Parties set forth above do not release any post-Effective Date obligations of any party or
 Entity under the Plan, any restructuring, any document, instrument, or agreement (including those
 set forth in the Plan Supplement) executed to implement the Plan, or any Claims which are reinstated
 pursuant to the Plan. For the avoidance doubt, the releases by the Protected Parties set forth in this
 Section IX.E shall not release any Holder of Opioid Claims from any specific Claim, counterclaim,
 dispute, obligation, suit, judgment, damage, demand, debt, right, Cause of Action, lien, remedy, loss,
 contribution, indemnity, cost, liability, attorneys’ fee or expense if such Holder of Opioid Claims, in
 its capacity other than as a Holder of Opioid Claims, has not released the applicable Protected Party
 from Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights,
 Causes of Action, liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees
 and expenses arising from a common nucleus of operative facts.

        The Reorganized Debtors, the Opioid MDT II, and the Opioid Creditor Trusts shall be
 bound, to the same extent the Debtors are bound, by the releases set forth in Article IX.E of the Plan.

        Notwithstanding any language to the contrary contained in the Disclosure Statement, Plan or
 Confirmation Order, no provision shall (i) preclude the SEC from enforcing its police or regulatory
 powers; or, (ii) enjoin, limit, impair or delay the SEC from commencing or continuing any claims,

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 causes of action, proceeding or investigations against any non-Debtor person or non- Debtor entity
 in any forum.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
 to Bankruptcy Rule 9019, of the releases by the Protected Parties set forth in Article IX.E of the Plan,
 which includes by reference each of the related provisions and definitions contained herein, and
 further shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for the
 good and valuable consideration provided by the Holders of Opioid Claims; (b) a good faith
 settlement and compromise of the Claims against the Holders of Opioid Claims released by the
 Protected Parties; (c) in the best interests of the Debtors, their Estates and all Holders of Claims and
 Equity Interests; (d) fair, equitable and reasonable; (e) given and made after due notice and
 opportunity for hearing; (f) a bar to any Entity or person asserting any Claim or Cause of Action
 released by Article IX.E of the Plan; and (g) essential to the confirmation of the Plan.

 F.      Exculpation

         Effective as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties
 shall neither have nor incur any liability to any person for any Claims or Causes of Action arising on
 or after the Petition Date and prior to or on the Effective Date for any act taken or omitted to be
 taken in connection with, related to, or arising out of, the Chapter 11 Cases, formulating, negotiating,
 preparing, disseminating, implementing, filing, administering, confirming or effecting the
 confirmation or consummation of the Plan, the Disclosure Statement, the Opioid Settlement (as
 defined in the Restructuring Support Agreement), the Opioid MDT II Documents, the Opioid
 Creditor Trust Documents, the “agreement in principle for global opioid settlement and associated
 debt refinancing activities” announced by the Parent on February 25, 2020, the Restructuring
 Support Agreement (including any amendments and/or joinders thereto), or any contract,
 instrument, release or other agreement or document created or entered into in connection with any
 of the foregoing, or any other postpetition act taken or omitted to be taken in connection with or in
 contemplation of the restructuring of the Debtors, the Disclosure Statement or confirmation or
 consummation of the Plan, the Opioid Settlement (as defined in the Restructuring Support
 Agreement), the Opioid MDT II Documents, or the Opioid Creditor Trust Documents, including the
 issuance of Securities pursuant to the Plan, or the distribution of property under the Plan or any
 other related agreement; provided, however, that the foregoing provisions of this exculpation shall not
 operate to waive or release: (a) any Causes of Action arising from actual fraud, gross negligence, or
 willful misconduct of such applicable Exculpated Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction; and/or (b) the rights of any person
 or Entity to enforce the Plan and the contracts, instruments, releases, indentures, and other
 agreements and documents delivered under or in connection with the Plan or assumed pursuant to
 the Plan or Final Order of the Bankruptcy Court; provided, further, that each Exculpated Party shall
 be entitled to rely upon the advice of counsel concerning its respective duties pursuant to, or in
 connection with, the above referenced documents, actions or inactions.

         The Exculpated Parties have, and upon consummation of the Plan shall be deemed to have,
 participated in good faith and in compliance with the applicable laws with regard to the solicitation
 of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on account
 of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
 regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
 made pursuant to the Plan.




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         The foregoing exculpation shall be effective as of the Effective Date without further notice to
 or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
 the vote, consent, authorization, or approval of any person or Entity.

 G.      Permanent Injunction

         Except as otherwise expressly provided in the Confirmation Order or Plan, from and after
 the Effective Date all persons are, to the fullest extent provided under section 524 and other
 applicable provisions of the Bankruptcy Code, permanently enjoined from: (a) commencing or
 continuing, in any manner or in any place, any suit, action or other proceeding of any kind;
 (b) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award,
 decree, or order; (c) creating, perfecting, or enforcing any encumbrance of any kind; (d) asserting
 any right of setoff, or subrogation of any kind; and (e) commencing or continuing in any manner any
 action or other proceeding of any kind, in each case on account of or with respect to any Claim,
 demand, liability, obligation, debt, right, Cause of Action, Equity Interest or remedy released or to
 be released, exculpated or to be exculpated, settled or to be settled, or discharged or to be discharged
 pursuant to the Plan or the Confirmation Order against any person so released, discharged or
 exculpated (or the property or estate of any person so released, discharged or exculpated). All
 injunctions or stays provided in the Chapter 11 Cases under section 105 or section 362 of the
 Bankruptcy Code, or otherwise, and in existence on the confirmation date, shall remain in full force
 until the Effective Date. Article IX.G of the Plan shall not apply to Opioid Claims, which shall be
 subject to Article IX.H of the Plan.

 H.      Opioid Permanent Channeling Injunction

         TERMS. Pursuant to section 105(a) of the Bankruptcy Code, from and after the Effective
 Date, the sole recourse of any Opioid Claimant on account of its Opioid Claims (including Opioid
 Demands) based upon or arising from the Debtors’ pre-Effective Date conduct or activities shall be
 to the Opioid MDT II or the Opioid Creditor Trusts, as applicable, pursuant to this Article IX.H of
 the Plan and the Opioid MDT II Documents or the Opioid Creditor Trust Documents, as applicable,
 and such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claims
 (including Opioid Demands) against any Protected Party or any property or interest in property of
 any Protected Party. On and after the Effective Date, all Opioid Claimants, including Future Opioid
 PI Claimants, shall be permanently and forever stayed, restrained, barred, and enjoined from taking
 any of the following actions for the purpose of, directly or indirectly or derivatively collecting,
 recovering, or receiving payment of, on, or with respect to any Opioid Claim (including Opioid
 Demand) based upon or arising from the Debtors’ pre-Effective Date conduct or activities other than
 from the Opioid MDT II or the Opioid Creditor Trusts pursuant to the Opioid MDT II Documents
 or the Opioid Creditor Trust Documents, as applicable:

         x    Commencing, conducting, or continuing in any manner, directly, indirectly or
              derivatively, any suit, action, or other proceeding of any kind (including a judicial,
              arbitration, administrative, or other proceeding) in any forum in any jurisdiction around
              the world against or affecting any Protected Party or any property or interests in
              property of any Protected Party;

         x    Enforcing, levying, attaching (including any prejudgment attachment), collecting, or
              otherwise recovering by any means or in any manner, whether directly or indirectly, any
              judgment, award, decree, or other order against any Protected Party or any property or
              interests in property of any Protected Party;



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         x    Creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
              encumbrance against any Protected Party or any property or interests in property of any
              Protected Party;

         x    Setting off, seeking reimbursement of, contribution from, or subrogation against, or
              otherwise recouping in any manner, directly or indirectly, any amount against any
              liability owed to any Protected Party or any property or interests in property of any
              Protected Party; or

         x    Proceeding in any manner in any place with regard to any matter that is within the scope
              of the matters designated by the Plan to be subject to resolution by the Opioid MDT II or
              the Opioid Creditor Trusts, as applicable, except in conformity and compliance with the
              applicable Opioid MDT II Documents and Opioid Creditor Trust Documents.

         RESERVATIONS. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the
 rights of Opioid Claimants to assert Opioid Claims (including Opioid Demands) against the Opioid
 MDT II or the Opioid Creditor Trusts, as applicable, solely in accordance with the Plan, the Opioid
 MDT II Documents, and the Opioid Creditor Trust Documents, as applicable; and (b) the rights of
 Entities to assert any Claim, debt, obligation, or liability for payment of Trust Expenses against the
 Opioid MDT II.

       MODIFICATIONS. There can be no modification, dissolution, or terminations of this Opioid
 Permanent Channeling Injunction, which shall be a permanent injunction.

         NON-LIMITATION OF CHANNELING INJUNCTION. Nothing in the Plan, the Opioid
 MDT II Documents, or the Opioid Creditor Trust Documents shall be construed in any way to limit
 the scope, enforceability, or effectiveness of the Opioid Permanent Channeling Injunction issued in
 connection with the Plan.

         BANKRUPTCY RULE 3016 COMPLIANCE. The Debtors’ compliance with the requirements
 of Bankruptcy Rule 3016 shall not constitute an admission that the Plan provides for an injunction
 against conduct not otherwise enjoined under the Bankruptcy Code.

 I.      Opioid Insurer Injunction.

         TERMS. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence of
         the Effective Date, all Persons that have held or asserted, that hold or assert or that may in
         the future hold or assert any Claim based on, arising under or attributable to an Opioid
         Insurance Policy shall be, and hereby are, permanently stayed, restrained and enjoined from
         taking any action for the purpose of directly or indirectly collecting, recovering or receiving
         payment or recovery on account of any such Claim based on, arising under or attributable to
         an Opioid Insurance Policy from or against any Opioid Insurer, including:

                  a.     commencing, conducting or continuing, in any manner any action or other
                         proceeding of any kind (including an arbitration or other form of alternate
                         dispute resolution) against any Opioid Insurer, or against the property of any
                         Opioid Insurer, on account of any such Claim based on, arising under or
                         attributable to an Opioid Insurance Policy;

                  b.     enforcing, attaching, levying, collecting or otherwise recovering, by any
                         manner or means, any judgment, award, decree or other order against any


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                        Opioid Insurer, or against the property of any Opioid Insurer, on account of
                        any such Claim based on, arising under or attributable to an Opioid
                        Insurance Policy;

                  c.    creating, perfecting or enforcing in any manner any Lien of any kind against
                        any Opioid Insurer, or against the property of any Opioid Insurer, on account
                        of any such Claim based on, arising under or attributable to an Opioid
                        Insurance Policy;

                  d.    asserting or accomplishing any setoff, right of subrogation, indemnity,
                        contribution or recoupment of any kind, whether directly or indirectly,
                        against any obligation due to any Opioid Insurer, or against the property of
                        any Opioid Insurer, on account of any such Claim based on, arising under or
                        attributable to an Opioid Insurance Policy; and

                  e.    taking any act, in any manner, in any place whatsoever, that does not conform
                        to, or comply with, the provisions of the Plan applicable to any such Claim
                        based on, arising under or attributable to an Opioid Insurance Policy.

          2. RESERVATIONS. The provisions of this Opioid Insurer Injunction do not apply to the
 Opioid MDT II and shall not preclude the Opioid MDT II from pursuing any Claim based on, arising
 under, or attributable to an Opioid Insurance Policy (including the Assigned Insurance Rights) or
 any other Claim that may exist under any Opioid Insurance Policy against any Opioid Insurer, nor
 shall it enjoin the Opioid MDT II from prosecuting any action based on, arising from, or attributable
 to any Opioid Insurance Policy or from asserting any claim, debt, obligation, cause of action, or
 liability for payment against a Opioid Insurer based on, arising from, or attributable to any Opioid
 Insurance Policy (including the Assigned Insurance Rights). The provisions of this Opioid Insurer
 Injunction are not issued for the benefit of any Opioid Insurer, and no such insurer is a third-party
 beneficiary of this Opioid Insurer Injunction. For the avoidance of doubt, with respect to a Person
 that purports to be insured under any Opioid Insurance Policy, the Opioid Insurer Injunction shall
 enjoin only derivative claims and rights. Nothing in this Plan shall determine whether any Claim or
 right under any Opioid Insurance Policy is either derivative or direct, or otherwise would be
 disallowed or subordinated under the Bankruptcy Code, which determination shall be made, as
 necessary, to the extent such Claim or right is not otherwise released under this Plan, in accordance
 with applicable law.

         3. MODIFICATIONS. To the extent the Opioid MDT II Trustees determine that some or all
 of the proceeds under the Opioid Insurance Policies are substantially unrecoverable by the Opioid
 MDT II, the Opioid MDT II shall have the sole and exclusive authority, upon written notice to any
 affected Opioid Insurer, to terminate, reduce, or limit the scope of this Opioid Insurer Injunction
 with respect to any Opioid Insurer, provided that any termination, reduction, or limitation of the
 Opioid Insurer Injunction (i) shall apply equally to all Classes of Opioid Claims, and (ii) shall comply
 with any procedures set forth in the Opioid MDT II Documents.

         4. NON-LIMITATION OF INSURER INJUNCTION. Except as set forth in paragraph 2 and
 3 of this Article, nothing in the Plan, the Opioid MDT II Documents or the Opioid Creditor Trust




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 Documents shall be construed in any way to limit the scope, enforceability or effectiveness of the
 Opioid Insurer Injunction issued in connection with the Plan.

 J.      Settling Opioid Insurer Injunction.

         1. Terms. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence
 of the Effective Date, all Persons that have held or asserted, that hold or assert or that may in the
 future hold or assert any Claim based on, arising under or attributable to an Opioid Insurance Policy
 shall be, and hereby are, permanently stayed, restrained and enjoined from taking any action for the
 purpose of directly or indirectly collecting, recovering or receiving payment or recovery on account
 of any such Claim based on, arising under or attributable to an Opioid Insurance Policy from or
 against any Settling Opioid Insurer, solely to the extent that such Settling Opioid Insurer has been
 released from such Claim under such Opioid Insurance Policy pursuant to an Opioid Insurance
 Settlement, including:

                  a.    commencing, conducting or continuing, in any manner any action or other
                        proceeding of any kind (including an arbitration or other form of alternate
                        dispute resolution) against any such Settling Opioid Insurer, or against the
                        property of such Settling Opioid Insurer, on account of such Claim based on,
                        arising under or attributable to such Opioid Insurance Policy;

                  b.    enforcing, attaching, levying, collecting or otherwise recovering, by any
                        manner or means, any judgment, award, decree or other order against any
                        such Settling Opioid Insurer, or against the property of such Settling Opioid
                        Insurer, on account of such Claim based on, arising under or attributable to
                        such Opioid Insurance Policy;

                  c.    creating, perfecting or enforcing in any manner any Lien of any kind against
                        any such Settling Opioid Insurer, or against the property of such Settling
                        Opioid Insurer, on account of such Claim based on, arising under or
                        attributable to such Opioid Insurance Policy;

                  d.    asserting or accomplishing any setoff, right of subrogation, indemnity,
                        contribution or recoupment of any kind, whether directly or indirectly,
                        against any obligation due to any such Settling Opioid Insurer, or against the
                        property of such Settling Opioid Insurer, on account of such Claim based on,
                        arising under or attributable to such Opioid Insurance Policy; and

                  e.    taking any act, in any manner, in any place whatsoever, that does not conform
                        to, or comply with, the provisions of the Plan applicable to such Claim based
                        on, arising under or attributable to such Opioid Insurance Policy.

          2. REDUCTION OF INSURANCE JUDGMENTS. Any right, Claim, or cause of action that
 an insurance company may have been entitled to assert against any Settling Opioid Insurer but for
 the Settling Opioid Insurer Injunction, if any such right, Claim, or cause of action exists under
 applicable non-bankruptcy law, shall become a right, Claim, or cause of action solely as a setoff claim
 against the Opioid MDT II and not against or in the name of the Settling Opioid Insurer in question.
 Any such right, Claim, or cause of action to which an insurance company may be entitled shall be
 solely in the form of a setoff against any recovery of the Opioid MDT II from that insurance company,
 and under no circumstances shall that insurance company receive an affirmative recovery of funds
 from the Opioid MDT II or any Settling Opioid Insurer for such right, Claim, or cause of action. In
 determining the amount of any setoff, the Opioid MDT II may assert any legal or equitable rights the


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 Settling Opioid Insurer would have had with respect to any right, Claim, or cause of action. Any
 Opioid Insurance Settlement for which Court approval is sought shall be sent out on notice pursuant
 to Bankruptcy Rule 9019.

         3. MODIFICATIONS. There can be no modification, dissolution or termination of the
 Settling Insurer Injunction, which shall be a permanent injunction.

         4. NON-LIMITATION OF SETTLING INSURER INJUNCTION. Nothing in the Plan, the
 Opioid MDT II Documents or the Opioid Creditor Trust Documents shall be construed in any way
 to limit the scope, enforceability or effectiveness of the Settling Insurer Injunction issued in
 connection with the Plan.

 K.      Opioid Operating Injunction

         From and after the date on which the Opioid Operating Injunction Order is entered by the
 Bankruptcy Court or another court of competent jurisdiction, the VI-Specific Debtors and/or Reorganized
 VI-Specific Debtors, as applicable, and any successors to the VI-Specific Debtors’ and/or Reorganized VI-
 Specific Debtors’ business operations relating to the manufacture and sale of opioid product(s) in the United
 States and its territories shall abide by the Opioid Operating Injunction as set forth in the Plan Supplement.

          The VI-Specific Debtors and Reorganized VI-Specific Debtors, as applicable, consent to the entry
 of a final judgment or consent order upon the Effective Date imposing all of the provisions of the Opioid
 Operating Injunction in the state court in each of the Settling States (as defined in the Opioid Operating
 Injunction). After the Effective Date, the Opioid Operating Injunction will be enforceable in the state court
 in each of the Settling States (as defined in the Opioid Operating Injunction). The VI-Specific Debtors and
 Reorganized VI-Specific Debtors agree that seeking entry or enforcement of such a final judgment or
 consent order will not violate any other injunctions or stays that it will seek, or that may otherwise apply,
 in connection with its Chapter 11 Cases or Confirmation.

 L.      Setoffs and Recoupment

          Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
 (including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
 be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and the
 distributions to be made pursuant to the Plan on account of such Allowed Claim, any Claims, rights, and
 Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against the
 Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
 otherwise compromised, settled, or assigned on or prior to the Effective Date (whether pursuant to the Plan,
 a Final Order or otherwise); provided that neither the failure to effect such a setoff or recoupment nor the
 allowance of any Claim pursuant to the Plan shall constitute a waiver or release by such Reorganized Debtor
 or the Opioid MDT II of any such Claims, rights, and Causes of Action; provided, further, that the exercise
 of rights of setoff and/or recoupment by non-Debtor third parties against the Debtors or Reorganized
 Debtors on account of any Assigned Third-Party Claims shall be enjoined and barred, to the extent
 permitted by applicable law.

 M.      Access to Opioid Insurance Policies

          Notwithstanding anything herein to the contrary, the Debtors shall not be released from
 liability for any Claim (other than any Co-Defendant Claim) that is or may be covered by any Opioid
 Insurance Policy; provided that recovery for any such Claim, including by way of settlement or
 judgment, shall be limited to the available proceeds of such Opioid Insurance Policy (and any extra-
 contractual liability of the Opioid Insurer with respect to any Opioid Insurance Policy) and shall be


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 asserted pursuant to procedures set forth in the Opioid MDT II Documents, and no Person or party
 shall execute, garnish or otherwise attempt to collect any such recovery from any assets other than
 the available proceeds of the Opioid Insurance Policy. The Debtors shall be released automatically
 from a Claim described in this paragraph upon the earlier of (x) the abandonment of such Claim and
 (y) such a release being given as part of a settlement or resolution of such Claim, and shall be released
 automatically from all Claims described in this paragraph upon the exhaustion of the available
 proceeds of the relevant Opioid Insurance Policy (notwithstanding the nonoccurrence of either event
 described in the foregoing clauses (x) and (y)).

 N.      Co-Defendant Defensive Rights

           Except as provided in the Opioid Insurer Injunction, the Settling Opioid Insurer Injunction or this
 Article IX.N, notwithstanding anything to the contrary in this Article IX or in the Plan as it currently exists
 or as it might be further amended, the Confirmation Order or any order entered in connection with the Plan
 (or the Plan as amended) (or any such order, as amended, modified or supplemented), or any supplement
 to the Plan (or the Plan as further amended), nothing contained in the Plan or any of the foregoing documents
 or orders (including without limitation, the classification, treatment, allowance, disallowance, release, bar,
 injunction, Opioid Permanent Channeling Injunction or any other provision of the Plan or the Plan as
 amended with respect to, impacting, affecting, modifying, limiting, subordinating, impairing, in any
 respect, a Co-Defendant Claim), will release, bar, enjoin, impair, alter, modify, amend, limit, prohibit,
 restrict, reduce, improve or enhance any Co-Defendant Defensive Rights of any Holder of a Co-Defendant
 Claim as such rights exist or might in the future exist under applicable non-bankruptcy law. Nothing in the
 Plan, any of the Definitive Documents or in the Confirmation Order shall preclude, operate to or have the
 effect of, impairing any Holder of a Co-Defendant Claim from asserting in any proceeding any and all Co-
 Defendant Defensive Rights that it has or may have under applicable law. Nothing in the Plan, any of the
 Definitive Documents or the Confirmation Order shall be deemed to waive any Co-Defendant Defensive
 Rights, and nothing in the Chapter 11 Cases, the Plan, any of the Definitive Documents or the Confirmation
 Order may be used as evidence of any determination regarding any Co-Defendant Defensive Rights, and
 under no circumstances shall any Person be permitted to assert issue preclusion or claim preclusion, waiver,
 estoppel, or consent in response to the assertion of any Co-Defendant Defensive Rights. This Article IX.N
 shall be included in the Confirmation Order. Co-Defendant Defensive Rights (i) may be used to offset,
 set-off, recoup, allocate or apportion fault, liability, or damages, or seek judgment reduction or otherwise
 to defend against any Cause of Action or Claim brought by any Person against the Holder of any Co-
 Defendant Claim based in whole or in part on Opioid-Related Activities; and (ii) shall in no case be used
 to seek any affirmative monetary recovery from any Protected Party or any Asset of any Protected Party
 (including from any Opioid Insurance Policy or any other insurance policy of a Protected Party) on account
 of any Claim or Cause of Action released pursuant to Article IX.D, and shall in no case be used to seek an
 affirmative recovery from the Opioid MDT II or any Asset of the Opioid MDT II or any Opioid Creditor
 Trust or any Asset of any Opioid Creditor Trust. Any verdicts in any litigation shall not be binding on the
 Opioid MDT II, the Opioid Creditor Trusts, or the Ratepayer Account if the Opioid MDT II, the Opioid
 Creditor Trusts, or the Ratepayer Account do not participate in such litigation (and the Opioid MDT II, the
 Opioid Creditor Trusts, and the Ratepayer Account are not required to participate in such litigation).

                                                   Article X.

                                    RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date,
 except to the extent set forth herein or under applicable federal law, the Bankruptcy Court shall retain
 exclusive jurisdiction over all matters arising out of, or related to, the Chapter 11 Cases and the Plan
 pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:


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          A.      except as provided in the Opioid MDT II Documents or Opioid Creditor Trust Documents
 with respect to Opioid Claims, allow, disallow, determine, liquidate, classify, estimate, or establish the
 priority, secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
 request for payment of any Administrative Claim and the resolution of any and all objections to the secured
 or unsecured status, priority, amount, or allowance of Claims or Interests;

         B.      decide and resolve all matters related to the granting and denying, in whole or in part, any
 applications for allowance of compensation or reimbursement of expenses to Retained Professionals
 authorized pursuant to the Bankruptcy Code or the Plan;

         C.      resolve any matters related to: (1) the assumption, assumption and assignment, or rejection
 of any Executory Contract or Unexpired Lease to which a Debtor is party with respect to which a Debtor
 may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs arising therefrom,
 including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any potential contractual
 obligation under any Executory Contract or Unexpired Lease that is assumed; and (3) any dispute regarding
 whether a contract or lease is or was executory or expired;

         D.       except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
 with respect to Opioid Claims, ensure that distributions to Holders of Allowed Claims are accomplished
 pursuant to the provisions of the Plan and the Confirmation Order;

         E.       adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
 matters, and any other matters, and grant or deny any applications involving a Debtor that may be pending
 on the Effective Date;

         F.       adjudicate, decide, or resolve any and all matters related to Causes of Action;

         G.       adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
 Code;

          H.     except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
 with respect to Opioid Claims, resolve any cases, controversies, suits, or disputes that may arise in
 connection with any Claims, including claim objections, allowance, disallowance, estimation, and
 distribution;

         I.      enter and implement such orders as may be necessary or appropriate to execute, implement,
 or consummate the provisions of the Plan, the Confirmation Order, and all contracts, instruments, releases,
 and other agreements or documents created in connection with the Plan, the Confirmation Order, or the
 Disclosure Statement, including the Restructuring Support Agreement;

         J.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
 1146(a) of the Bankruptcy Code;

         K.       resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
 connection with the interpretation or enforcement of the Plan, the Confirmation Order, or any contract,
 instrument, release or other agreement or document that is entered into or delivered pursuant to the Plan or
 the Confirmation Order, or any Entity’s rights arising from or obligations incurred in connection with the
 Plan or the Confirmation Order;




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         L.     issue injunctions, enter and implement other orders or take such other actions as may be
 necessary or appropriate to restrain interference by any Entity with enforcement of the Plan or the
 Confirmation Order;

         M.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
 releases, injunctions, and other provisions contained in the Plan and enter such orders as may be necessary
 or appropriate to implement such releases, injunctions, and other provisions;

          N.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
 repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
 or Interest for amounts not timely repaid;

         O.       enter and implement such orders as are necessary or appropriate if the Confirmation Order
 is for any reason modified, stayed, reversed, revoked, or vacated;

         P.      determine any other matters that may arise in connection with or relate to the Plan, the
 Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other
 agreement or document created in connection with the Plan, the Confirmation Order, or the Disclosure
 Statement;

         Q.       enter an order or final decree concluding or closing the Chapter 11 Cases;

         R.       except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
 with respect to Opioid Claims, adjudicate any and all disputes arising from or relating to distributions under
 the Plan;

         S.      consider any modification of the Plan, to cure any defect or omission, or to reconcile any
 inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         T.       determine requests for payment of Claims and Interests entitled to priority pursuant to
 section 507 of the Bankruptcy Code;

          U.     hear and determine disputes arising in connection with the interpretation, implementation,
 or enforcement of the Plan, or the Confirmation Order, including disputes arising under agreements,
 documents, or instruments executed in connection with the Plan and disputes regarding or arising out of the
 trade terms enforceable between the Reorganized Debtors and any Holder of a Class 7 Trade Claim;

         V.      hear and determine matters concerning state, local, and federal taxes in accordance with
 sections 346, 505, and 1146 of the Bankruptcy Code;

         W.      hear and determine all disputes involving the existence, nature, or scope of the Debtors’
 discharge, including without limitation (1) any dispute relating to any liability arising out of the termination
 of employment or the termination of any employee or retiree benefit program, regardless of whether such
 termination occurred prior to or after the Effective Date and (2) any dispute relating to the discharge of any
 Claim in Classes 6(a)-6(g), including without limitation Acthar Claims, Asbestos Claims, and
 Environmental Claims;

         X.     hear and determine disputes arising in connection with the interpretation, implementation,
 or enforcement of the releases, injunctions, and exculpations provided under Article IX of the Plan;




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         Y.      resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
 Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11 Cases, any
 Claims Bar Date established in the Chapter 11 Cases, or any deadline for responding or objection to a Cure
 Cost, in each case, for the purpose of determining whether a Claim or Interest is discharged hereunder or
 for any other purpose;

         Z.       enforce all orders previously entered by the Bankruptcy Court; and

        AA.     hear any other matter not inconsistent with the Bankruptcy Code, the Plan, or the
 Confirmation Order;

 provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes concerning
 documents contained in the Plan Supplement or other Definitive Documents that have a jurisdictional,
 forum selection, or dispute resolution clause that refers disputes to a different court and any disputes
 concerning documents contained in the Plan Supplement that contain such clauses shall be governed in
 accordance with the provisions of such documents; provided, further, that the Bankruptcy Court shall not
 retain jurisdiction over any agreement with the United States that has a jurisdictional, forum selection, or
 dispute resolution clause or administrative remedies clause that refers disputes to a different court or
 administrative process.

          Additionally, the Bankruptcy Court will retain jurisdiction to adjudicate, decide, or resolve issues
 raised by the Monitor, but such jurisdiction will not be exclusive and the Monitor shall retain the right to
 seek relief in all other courts.

          If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
 otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
 including the matters set forth in this Article X, the provisions of this Article X shall have no effect on and
 shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
 jurisdiction with respect to such matter.

         Unless otherwise specifically provided herein or in a prior order of the Bankruptcy Court, the
 Bankruptcy Court shall have exclusive jurisdiction to hear and determine disputes concerning Claims
 against or Interests in the Debtors that arose prior to the Effective Date, including, without limitation, any
 Claims based in whole or in part on any conduct of the Debtors occurring on or before the Effective Date.

                                                  Article XI.

                  MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

 A.      Modification of Plan

          Subject to the terms of the Restructuring Support Agreement and the limitations contained in the
 Plan, the Debtors or Reorganized Debtors reserve the right to, in accordance with the Bankruptcy Code, the
 Bankruptcy Rules, and the Restructuring Support Agreement: (1) amend or modify the Plan prior to the
 entry of the Confirmation Order, including amendments or modifications to satisfy section 1129(b) of the
 Bankruptcy Code; (2) amend or modify the Plan after the entry of the Confirmation Order in accordance
 with section 1127(b) of the Bankruptcy Code and the Restructuring Support Agreement upon order of the
 Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in the Plan in such
 manner as may be necessary to carry out the purpose and intent of the Plan upon order of the Bankruptcy
 Court.




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 B.      Effect of Confirmation on Modifications

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since
 the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
 additional disclosure or re-solicitation under Bankruptcy Rule 3019.

 C.      Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

          Subject to the conditions to the Effective Date, the Debtors reserve the right, subject to the terms
 of the Restructuring Support Agreement, to revoke or withdraw the Plan prior to the entry of the
 Confirmation Order and to File subsequent Plans of reorganization. If the Debtors revoke or withdraw the
 Plan, or if entry of the Confirmation Order or the Effective Date does not occur, or if the Restructuring
 Support Agreement terminates in accordance with its terms prior to the Effective Date, then: (1) the Plan
 shall be null and void in all respects; (2) any settlement or compromise embodied in the Plan, assumption
 or rejection of executory contracts or leases effected by the Plan, and any document or agreement executed
 pursuant hereto shall be deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a
 waiver or release of any claims by or against, or any Equity Interests in, such Debtor or any other Entity;
 (b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an admission of
 any sort by the Debtors or any other Entity; provided, that any Restructuring Expenses that have been paid
 as of the date of revocation or withdrawal of the Plan shall remain paid and shall not be subject to
 disgorgement or repayment without further order of the Bankruptcy Court.

                                                  Article XII.

                                     MISCELLANEOUS PROVISIONS

 A.      Immediate Binding Effect

          Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence of
 the Effective Date, the terms of the Plan and the documents and instruments contained in the Plan
 Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors, the
 Reorganized Debtors, and any and all Holders of Claims and Interests (irrespective of whether Holders of
 such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to or are subject
 to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
 acquiring property under the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
 Leases, and notwithstanding whether or not such Person or Entity (i) will receive or retain any property, or
 interest in property, under this Plan, (ii) has filed a Proof of Claim in the Chapter 11 Cases or (iii) failed to
 vote to accept or reject this Plan, affirmatively voted to reject this Plan, or is conclusively presumed to
 reject this Plan. The Confirmation Order shall contain a waiver of any stay of enforcement otherwise
 applicable, including pursuant to Bankruptcy Rule 3020(e) and 7062.

 B.      Additional Documents

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements
 and other documents as may be necessary or appropriate to effectuate and further evidence the terms and
 conditions of the Plan. The Debtors or Reorganized Debtors, as applicable, and all Holders of Claims
 receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare,
 execute, and deliver any agreements or documents and take any other actions as may be necessary or
 advisable to effectuate the provisions and intent of the Plan or the Confirmation Order.




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 C.      Payment of Statutory Fees

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy
 Court at a hearing pursuant to section 1128 of the Bankruptcy Code or as agreed to by the United States
 Trustee and the Reorganized Debtors, shall be paid for each quarter (including any fraction thereof) until
 the Chapter 11 Cases are converted, dismissed or closed, whichever occurs first.

 D.      Reservation of Rights

         The Plan shall have no force or effect unless and until the Bankruptcy Court enters the Confirmation
 Order. None of the filing of the Plan, any statement or provision contained in the Plan, or the taking of any
 action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or
 shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of
 Claims or Interests prior to the Effective Date.

         By consenting to the treatment provided by this Plan or otherwise supporting the Plan, no State or
 Tribe shall be construed to have waived any claim or defense of sovereign immunity that it may have in
 any other action or proceeding, including any action or proceeding occurring after the Effective Date.

 E.      Successors and Assigns

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding
 on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
 director, agent, representative, attorney, beneficiaries or guardian, if any, of each Entity.

 F.      No Successor Liability

          Except as otherwise expressly provided in this Plan and the Confirmation Order, each of the
 Reorganized Debtors, NewCo, the NewCo Subsidiaries, the Opioid MDT II, and the Opioid Creditor Trusts
 (a) is not, and shall not be deemed to assume, agree to perform, pay or otherwise have any responsibilities
 for any liabilities or obligations of the Debtors or any other Person relating to or arising out of the operations
 or the assets of the Debtors on or prior to the Effective Date, (b) is not, and shall not be, a successor to the
 Debtors by reason of any theory of law or equity or responsible for the knowledge or conduct of any Debtor
 prior to the Effective Date and (c) shall not have any successor or transferee liability of any kind or
 character.

 G.      Service of Documents

         After the Effective Date, any pleading, notice, or other document required by the Plan to be served
 on or delivered to the Reorganized Debtors shall also be served on:




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  Wilmington, Delaware 19801                            Attn: Richard H. Wyron
  Attn: James L. Patton, Jr. and Jaime Luton
  Chapman

          After the Effective Date, the Reorganized Debtors have authority to send a notice to Entities that,
 to continue to receive documents pursuant to Bankruptcy Rule 2002, they must File a renewed request to
 receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized
 to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who
 have Filed such renewed requests.

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 H.      Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect
 in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
 Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays contained in
 the Plan or the Confirmation Order) shall remain in full force and effect until the Effective Date. All
 injunctions or stays contained in the Plan or the Confirmation Order shall remain in full force and effect in
 accordance with their terms.

 I.      Entire Agreement

         On the Effective Date, the Plan and the Plan Supplement supersede all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on
 such subjects, all of which have become merged and integrated into the Plan.

 J.      Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
 Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving
 effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
 implementation of the Plan, the Plan Supplement, and any agreements, documents, instruments, or contracts
 executed or entered into in connection with the Plan (except as otherwise set forth in those agreements, in
 which case the governing law of such agreement shall control), and corporate governance matters; provided
 that corporate governance matters relating to Debtors or Reorganized Debtors, as applicable, not
 incorporated in New York shall be governed by the laws of the jurisdiction of incorporation of the
 applicable Debtor or Reorganized Debtor, as applicable.

 K.      Exhibits

          All exhibits and documents included in the Plan Supplement are incorporated into and are a part of
 the Plan as if set forth in full in the Plan. Except as otherwise provided in the Plan, such exhibits and
 documents included in the Plan Supplement shall initially be Filed with the Bankruptcy Court on or before
 the Plan Supplement Filing Date. After the exhibits and documents are Filed, copies of such exhibits and
 documents shall have been available upon written request to the Debtors’ counsel at the address above or
 by downloading such exhibits and documents from the Debtors’ restructuring website at
 http://restructuring.primeclerk.com/Mallinckrodt     or    the    Bankruptcy     Court’s    website      at
 www.deb.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of the Plan,
 unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
 shall control.

 L.      Nonseverability of Plan Provisions upon Confirmation

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
 invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
 or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
 purpose of the term or provision held to be invalid, void or unenforceable, and such term or provision shall
 then be applicable as altered or interpreted; provided that, any such alteration or interpretation shall be
 acceptable to the Debtors, the Required Supporting Unsecured Noteholders, the Supporting Governmental
 Opioid Claimants, and the Required Supporting Term Lenders. Notwithstanding any such holding,
 alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in full force
 and effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or
 interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that each
 term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,

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 is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified
 without the consent of the Debtors; and (3) nonseverable and mutually dependent.

 M.      Closing of Chapter 11 Cases

         The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
 with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
 the Bankruptcy Court to close the Chapter 11 Cases.

 N.      Conflicts

         To the extent that any provision of the Disclosure Statement, or any order entered prior to
 Confirmation (for avoidance of doubt, not including the Confirmation Order) referenced in the Plan (or any
 exhibits, appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way
 inconsistent with any provision of the Plan, the Plan shall govern and control. To the extent that any
 provision of the Plan conflicts with or is in any way inconsistent with any provision of the Confirmation
 Order, the Confirmation Order shall govern and control. Notwithstanding the foregoing, this section is
 subject to the terms of any of the Federal/State Acthar Settlement Agreements executed by any State,
 including, without limitation, paragraph 33 thereof.

 O.      Section 1125(e) Good Faith Compliance

          The Debtors, the Reorganized Debtors, the Supporting Parties, and each of their respective current
 and former officers, directors, members (including ex officio members), managers, employees, partners,
 advisors, attorneys, professionals, accountants, investment bankers, investment advisors, actuaries,
 Affiliates, financial advisors, consultants, agents, and other representatives of each of the foregoing Entities
 (whether current or former, in each case in his, her or its capacity as such), shall be deemed to have acted
 in “good faith” under section 1125(e) of the Bankruptcy Code.

 P.      Dissolution of Committees

         On the Effective Date, the Official Committee of Unsecured Creditors and the Official Committee
 of Opioid-Related Claimants shall be dissolved and the members of each of the Official Committee of
 Unsecured Creditors and the Official Committee of Opioid-Related Claimants and each of their legal,
 consulting, financial, and/or other professional advisors shall be deemed released of all their duties,
 responsibilities, and obligations in connection with the Chapter 11 Cases and its implementation; provided,
 however, that following the Effective Date, the Official Committee of Unsecured Creditors and the Official
 Committee of Opioid-Related Claimants shall continue in existence and have standing and a right to be
 heard for the following limited purposes: (a) applications, and any relief related thereto, for compensation
 by Professional Persons and requests for allowance of fees and/or expenses under section 503(b) of the
 Bankruptcy Code, and (b) any appeals of, or related to, (x) the Confirmation Order or (y) other appeal to
 which the Official Committee of Unsecured Creditors or the Official Committee of Opioid-Related
 Claimants is a party.

          Upon dissolution of the Official Committee of Unsecured Creditors, the General Unsecured Claims
 Trust and the Asbestos Trust shall jointly succeed to, and exclusively hold, the attorney-client privilege and
 any other privilege held by the Official Committee of Unsecured Creditors and shall enjoy the work product
 protections that were applicable or available to the Official Committee of Unsecured Creditors before
 its dissolution. After the Effective Date, neither the General Unsecured Claims Trust nor the Asbestos
 Trust can independently waive the attorney-client privilege or any other privilege. For any privilege to be
 waived, the respective trust must first obtain advance written consent from the other trust which jointly
 holds said privilege and/or from any other party, including the Reorganized Debtors, as applicable, that
 may share in the applicable privilege.

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 Q.      Special Provisions for United States

 (a)     As to the United States, notwithstanding anything contained in the Plan, Plan Supplement, or
         Confirmation Order to the contrary (except Article III.B.8.d. of this Plan contemplating the
         release of U.S. Government Payor Statutory Rights) including but not limited to Articles V and
         X, nothing in the Plan, Plan Supplement or Confirmation Order shall:

         (i)      limit or be intended to or be construed to bar the United States from, subsequent to the
                  Confirmation Order, pursuing any police or regulatory action or any criminal action;

         (ii)     discharge, release, exculpate, impair or otherwise preclude: (A) any liability to the
                  United States that is not a “claim” within the meaning of section 101(5) of the
                  Bankruptcy Code; (B) any Claim of the United States arising on or after the Effective
                  Date; (C) any liability of the Debtors under police or regulatory statutes or regulations
                  to the United States as the owner, lessor, lessee or operator of property that such Entity
                  owns, operates or leases after the Effective Date; or (D) any liability to the United
                  States, including but not limited to any liabilities arising under the IRC, the
                  environmental laws, the criminal laws, the civil laws or common law, of any Person,
                  including any Released Parties, Protected Parties or any Exculpated Parties, in each
                  case, other than the Debtors; provided, however, that the foregoing shall not (x) limit
                  the scope of discharge granted to the Debtors under sections 524 and 1141 of the
                  Bankruptcy Code, (y) diminish the scope of any exculpation to which any Person is
                  entitled under section 1125(e) of the Bankruptcy Code, or (z) change the treatment of
                  the U.S. Government’s Opioid Claims pursuant to Article III.B.8.d. of this Plan;

         (iii)    enjoin or otherwise bar the United States from asserting or enforcing, outside the
                  Bankruptcy Court, any liability described in the preceding clause (ii); provided,
                  however, that the non-bankruptcy rights and defenses of all Persons with respect to (A)–
                  (D) in clause (ii) are likewise fully preserved;

         (iv)     affect any valid right of setoff or recoupment of the United States against any of the
                  Debtors; provided, however, that the rights and defenses of the Debtors with respect
                  thereto are fully preserved (other than any rights or defenses based on language in the
                  Plan or the Confirmation Order that may extinguish or limit setoff or recoupment
                  rights);

         (v)      divest any court, commission or tribunal of jurisdiction to determine whether any
                  liabilities asserted by the United States are discharged or otherwise barred by this
                  Confirmation Order, the Plan or the Bankruptcy Code; provided, however, that the
                  Bankruptcy Court shall retain jurisdiction as set forth in and pursuant to the terms of
                  the Plan to the extent permitted by law;

         (vi)     be deemed to (a) determine or settle the tax liability of any Person, including but not
                  limited to the Debtors, (b) have determined the federal tax treatment of any item,
                  distribution or Entity, including the federal tax consequences of the Plan or
                  Confirmation Order, or (c) expressly expand or diminish the jurisdiction of the
                  Bankruptcy Court to make determinations as to federal tax liability and federal tax
                  treatment under the Bankruptcy Code and 28 U.S.C. §§ 157, 1334;

         (vii)    authorize the assumption, assignment, sale or other transfer to any non-Debtor third
                  party of any federal (a) grants, (b) grant funds, (c) contracts, (d) licenses, (e) permits,
                  (f) registrations, (g) property, including but not limited to, inventory, intellectual


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                  property, data and patents, (h) leases, (i) agreements or other interests of the U.S.
                  Government (collectively, the “Federal Interests”), without compliance with all terms
                  of the Federal Interests and with all applicable non-bankruptcy law; or

         (viii)   be interpreted to set cure amounts related to any Federal Interests or to require the U.S.
                  Government to novate, approve or otherwise consent to the assumption, assignment,
                  sale or other transfer of any Federal Interests.

 (b)     Notwithstanding anything to the contrary herein, nothing in the Plan, Plan Supplement, the
         Confirmation Order, or any other document filed in connection with the Plan shall release
         claims held by the United States of America against any non-Debtor Parties or Entities,
         including non-Debtor Protected Parties and non-Debtor Released Parties; provided that, for the
         avoidance of doubt, nothing in the Plan, Confirmation Order, or any other document filed in
         connection with the Plan shall limit the releases of the U.S. Government Payor Statutory Rights
         or the treatment of the U.S. Government Opioid Claims contemplated by Article III.B.8.d of
         this Plan; provided further that this subparagraph (b) shall not modify the rights under the
         Federal/State Acthar Settlement Agreement with the U.S. Government and such Federal/State
         Acthar Settlement Agreement with the U.S. Government shall govern. Notwithstanding
         anything to the contrary herein, nothing in the Plan, the Confirmation Order, the Plan
         Supplement or any other document filed in connection with the Plan shall bind the United States
         in any application of statutory, or associated regulatory, authority grounded in Title 19 of the
         Social Security Act, 42 U.S.C. § 1396-1 et seq. (the “Medicaid Program”) or in section 1115
         of Title 11 of the Social Security Act. The United States is neither enjoined nor in any way
         prejudiced in seeking recovery, from all parties other than the Debtors, of any funds owed to
         the United States under the Medicaid Program.

 (c)     Without limiting the foregoing but for the avoidance of doubt, the United States reserves, and
         the Plan, Plan Supplement, or Confirmation Order are without prejudice to, any and all rights
         or Causes of Action the United States has or may have against any surety under any bond, and
         nothing shall release, discharge, or exculpate any surety from its obligations or liabilities
         pursuant to non-bankruptcy law, including any obligation or liability of any surety of the
         Debtors or Reorganized Debtors with respect to any bond.




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         Respectfully submitted, as of the date first set forth above,

                                             Mallinckrodt plc
                                             (on behalf of itself and all other Debtors)

                                             By:       /s/ Stephen A. Welch
                                             Name:     Stephen A. Welch
                                             Title:    Chief Transformation Officer




                                            [Signature Page to Plan]
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                                            Annex A
                                                                                             1
     Prepayment Cost of Opioid Deferred Cash Payments at Various Months After Effective Date

                                  Months after              Prepayment Cost of Opioid
                                 Effective Date              Deferred Cash Payments
                                 (end of month)
                                        0                            $716,889,259
                                        1                            $725,128,582
                                        2                            $733,440,227
                                        3                            $741,824,347
                                        4                            $750,281,031
                                        5                            $758,810,295
                                        6                            $767,412,072
                                        7                            $776,086,190
                                        8                            $784,832,363
                                        9                            $793,650,162
                                       10                            $802,538,992
                                       11                            $811,498,058
                                                                                 2
                                       12                            $820,526,326
                                       13                            $627,859,737
                                       14                            $635,254,954
                                       15                            $642,711,782
                                       16                            $650,229,925
                                       17                            $657,808,961
                                                                                 3
                                       18                            $665,448,320




 1
     Amounts shown in this Annex A show the prepayment cost at the end of each of the 18 months after the Effective Date. To
     the extent a prepayment occurs other than at the end of the month, the prepayment cost shall be calculated as of such
     prepayment date pursuant to the formula set forth in the Plan. For the purposes of the Prepayment Option, months shall be
     calculated starting from the Effective Date, not calendar months.
 2
     Month twelve includes $200,000,000 payment due at such time.
 3
     Prepayment right may be exercised on or prior to eighteen months after the Effective Date.



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                                      Exhibit 1

                        Cram-Down First Lien Notes Term Sheet




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                                      Exhibit 2

                        Takeback Second Lien Notes Term Sheet




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                        Takeback Second Lien Notes Summary Terms

  Amount                            •   $375 million
  Notes                             •   Senior Secured Second Lien Notes
  Issuers                           •   Mallinckrodt International Finance S.A. and
                                        Mallinckrodt CB LLC
  Obligors                          •   Same as the obligors on the Deferred Cash Payments,
                                        provided that any obligations on account of the
                                        Takeback Second Lien Notes shall (i) be guaranteed
                                        by the same entities that guarantee the First Lien
                                        Notes and (ii) comply with the terms of the
                                        Debtors’ existing funded indebtedness
  Coupon                            •   Payable in cash at 10.00%
  Maturity                          •   Seven (7) years following the Plan Effective Date
  Collateral/Priority               •   Pari passu with the second lien security interests as
                                        with existing Second Lien Notes
  Put                               •   Puttable to the issuer at 101% of par upon a change of
                                        control
  Equity Claw                       •   Company may redeem up to 40% of Takeback Second
                                        Lien Notes at a redemption price of 110% of par with
                                        the proceeds of an equity offering
  Call Protections                  •   Non-callable for 4 years
                                    •   105 call in year 5
                                    •   102.5 in year 6
                                    •   Par thereafter
  Affirmative and Negative          •   To generally match the 2020 First Lien Notes
  Covenants                             Indenture, as adjusted to reflect new Takeback Second
                                        Lien Notes structure
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                                        Exhibit 3

                        Federal/State Acthar Settlement Term Sheet




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    DOJ Settlement Terms re: Boston (Medicaid Rebates) and EDPA False Claims Act
                              Matters, and related issues

    •   Resolved Matters. Mallinckrodt and the United States (including CMS, DOJ ), the
        applicable states, and qui tam relators agree to fully and finally resolve the Acthar-related
        government litigations disclosed in Mallinckrodt’s Form 10-K for 2019, including United
        States of America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D.
        Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt ARD, LLC (D.
        Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters (such
        matters, collectively, the “Resolved Matters”) on the terms set forth in this Schedule, which
        will be memorialized in a definitive DOJ Settlement Agreement, and settlement
        agreements with the States, and incorporated into the Plan.

    •   Settlement Payments. In full and final satisfaction of all claims at issue in the “Resolved
        Matters”, Mallinckrodt shall make cash payments to the US and State governments totaling
        $260 million in the aggregate in accordance with the following schedule, with deferred
        payments bearing interest at a variable rate equal to the nominal interest rate on special
        issues of government securities to the Social Security trust funds, measured as of each
        payment date and accruing from September 21, 2020:

                             Payment Date                          Payment Amount

            Plan Effective Date                                       $15,000,000

            First Anniversary of Plan Effective Date                  $15,000,000

            Second Anniversary of Plan Effective Date                 $20,000,000

            Third Anniversary of Plan Effective Date                  $20,000,000

            Fourth Anniversary of Plan Effective Date                 $32,500,000

            Fifth Anniversary of Plan Effective Date                  $32,500,000

            Sixth Anniversary of Plan Effective Date                  $62,500,000

            Seventh Anniversary of Plan Effective Date                $62,500,000


    •   Releases. Effective as of the date on which the Settlement Agreement is fully executed,
        Mallinckrodt, on the one hand, and DOJ and the States, on the other hand, will have
        exchanged mutual releases, as specified in the Settlement Agreements relating to the
        Resolved Matters.

    •   CMS/DOJ/State Settlement Agreement; Additional Terms and Conditions. Without
        limiting or affecting in any way the rights of the Supporting Parties under the RSA, the
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       DOJ Settlement Agreement shall contain such additional terms, conditions,
       representations, warranties, covenants and termination events to which Mallinckrodt, on
       the one hand, and DOJ on the other hand, may agree. Without limiting or affecting in any
       way the rights of the Supporting Parties under the RSA, the State Settlement Agreements
       shall contain such additional terms, conditions, representations, warranties, covenants and
       termination events to which Mallinckrodt, on the one hand, and the States, on the other
       hand, may agree.




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                                     Exhibit 4

                          New Second Lien Notes Term Sheet




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                        Settlement Second Lien Notes Summary Terms

  Amount                             x   $322,868,000 (i.e., current outstanding principal
                                         amount of existing Second Lien Notes)
  Notes                              x   Senior Secured Second Lien Notes
  Issuers                            x   Mallinckrodt International Finance S.A. and
                                         Mallinckrodt CB LLC (i.e., same issuers as the
                                         existing Second Lien Notes)
  Obligors                           x   Same as the obligors on the existing Second Lien
                                         Notes, provided that all obligors under the New Term
                                         Loan Facility, New Takeback Term Loan Facility (as
                                         applicable), First Lien Notes and Takeback Second
                                         Lien Notes shall be Obligors hereunder
  Coupon                             x   Payable in cash at 10.00% (i.e., current interest rate of
                                         existing Second Lien Notes)
  Maturity                           x   April 15, 2025 (i.e., current maturity of existing
                                         Second Lien Notes)
  Collateral/Priority                x   Liens on the same collateral as secures the existing
                                         Second Lien Notes that will rank pari passu with the
                                         second lien security interests that will secure the
                                         Takeback Second Lien Notes, provided that any and
                                         all collateral securing the First Lien Notes and
                                         Takeback Second Lien Notes shall also secure the
                                         Second Lien Notes
  Put                                x   Puttable to the Issuers at 101% of par upon a change
                                         of control
  Equity Claw                        x   On or prior to April 15, 2022, Issuers may redeem up
                                         to 40% of Settlement Second Lien Notes at a
                                         redemption price of 110% of par with the proceeds of
                                         an equity offering (i.e., same terms as under existing
                                         Second Lien Notes)
  Call Protections                   x   Same as under existing Second Lien Notes
  Affirmative and Negative           x   To generally match the existing First Lien Notes
  Covenants                              Indenture, as adjusted to reflect Settlement Second
                                         Lien Notes structure and transactions contemplated by
                                         the Plan (i.e., covenants substantially equivalent to the
                                         covenants under the Takeback Second Lien Notes
                                         Indenture)




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  Other                      Subject to such matters as the Debtors, the settling holders of
                             Second Lien Notes and the Second Lien Notes Trustee have
                             separately agreed:

                                x   Debtors will pay the reasonable and documented out-
                                    of-pocket fees and expenses of counsel and financial
                                    advisors, as applicable, to Deerfield and the trustee
                                    and collateral agent for existing Second Lien Notes
                                    through the effective date of the Plan under the Plan
                                    pursuant to Bankruptcy Rule 9019 and/or Bankruptcy
                                    Code sections [1123, 1129(a)(4), and/or 506] and/or
                                    applicable reimbursement agreements. Such
                                    payments shall be final and not subject to
                                    disgorgement, turnover, re-characterization or other
                                    similar claim.

                                x   Debtors will not settle disputes regarding the
                                    treatment of the existing First Lien Notes unless such
                                    settlement provides for a full release of the holders of
                                    the existing Second Lien Notes (as well as the trustee
                                    and collateral agent for the existing Second Lien
                                    Notes) from any and all claims (including, without
                                    limitation, for turnover of payments) by the settling
                                    holders of the existing First Lien Notes under the
                                    existing intercreditor agreement.

                                x   The Debtors shall use reasonable best efforts to cause
                                    the Plan and the related Confirmation Order to
                                    provide that treatment of First Lien Note claims under
                                    the Plan constitutes recovery of all amounts to which
                                    First Lien Noteholders are entitled and therefore, that
                                    First Lien Noteholders have no claims (including,
                                    without limitation, for turnover of payments) against
                                    the holders of the existing Second Lien Notes (or the
                                    trustee or the collateral agent for the existing Second
                                    Lien Notes) under the existing intercreditor agreement
                                    in any way arising from, relating to or as a result of
                                    the Debtors’ restructuring (including, without
                                    limitation, of the First Lien Notes and Second Lien
                                    Notes), the Plan (including, without limitation, the
                                    treatment of the existing First Lien Notes or Second
                                    Lien Notes under the Plan or the making of
                                    distributions to the holders of the existing First Lien
                                    Notes or Second Lien Notes in accordance with the
                                    Plan), the distribution of property by the Debtors
                                    under the Plan, any related document or any order of


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                                         the Bankruptcy Court, or any other transaction,
                                         agreement, event, omission or other occurrence taking
                                         place on or before the Effective Date related or
                                         relating to any of the foregoing (collectively, the
                                         “Relevant Matters”).1

                                     x   The Second Lien Indenture shall be terminated and
                                         extinguished on the Effective Date; provided that the
                                         termination and cancellation of the Second Lien
                                         Indenture shall be subject to Article IV.F of the Plan
                                         (as it may be amended, supplemented or otherwise
                                         modified from time to time), and all provisions
                                         thereof relating to cancellation of the Second Lien
                                         Indenture, including, without limitation, provisions
                                         relating to indemnification by holders, distributions to
                                         holders, and the charging lien, shall be no less
                                         favorable to the Second Lien Indenture Trustee and
                                         holders of Second Lien Notes than the provisions
                                         thereof relating to cancellation of the Guaranteed
                                         Unsecured Notes Indentures or Legacy Unsecured
                                         Notes Indentures.

                                     x   Debtors shall provide notice to holders of Second Lien
                                         Notes of the amended Plan reflecting this settlement,
                                         in accordance with the Bankruptcy Code.




 1
  The Guaranteed Unsecured Notes Ad Hoc Group takes no position on the interpretation of the
 existing intercreditor agreement.


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                                    Exhibit 5

                              Released Co-Defendants




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                                         Exhibit 5

                               List of Released Co-Defendants

          x   AmerisourceBergen Drug Corporation

          x   Cardinal Health, Inc.

          x   CVS Pharmacy, Inc. / Caremark LLC

          x   Endo International plc

          x   Express Scripts, Inc.

          x   Henry Schein, Inc.

          x   Johnson & Johnson

          x   McKesson Corporation

          x   Mylan Inc.

          x   Teva Pharmaceutical USA, Inc.

          x   Walgreen Co.
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                                    Exhibit 6

                                  UCC Appendix




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 Exhibit 6 – Appendix
 Allocation of Recoveries to Holders of Class 6 Claims and Certain Class 7 Claims

 Executive Summary

 This appendix is intended to describe the methodology by which recoveries per the UCC
 Settlement are allocated to each sub-class of Allowed Class 6 Claims and Allowed Class 7
 Claims that are assumed by the General Unsecured Claims Trust1 (collectively, the “Relevant
 Claims”) under the Plan as determined by the UCC. The UCC’s Class 6 allocation of recoveries
 is an integral component of the UCC Settlement that materially increased the pool of
 consideration available to Holders of Relevant Claims. That consideration consists of
 (a) $135 million in cash on the Effective Date (the “Initial Cash Payment”) plus (b) additional
 non-cash consideration to be monetized for which value is currently undetermined (the “Other
 GUC Settlement Consideration,” and together with the Initial Cash Payment, the “General
 Unsecured Claims Trust Consideration”), including certain litigation claims and the right to
 share in any future proceeds of certain priority review vouchers and other contingent value
 rights.2 To resolve issues set forth in the UCC’s Supplemental Objection to the Disclosure
 Statement [Docket No. 2852], the allocation represents a compromise of the UCC’s objections to
 the distributions set forth in the June 8, 2021 version of the Plan [Docket No. 2916].

 The allocation of recoveries to Holders of Relevant Claims is the product of a multi-step
 calculation process:

          1. UCC Waterfall: The UCC’s professionals constructed a creditor recovery model (the
             “UCC Waterfall”) which valued assets and claims at, and estimated recoveries to
             creditors of, each Debtor entity and non-Debtor affiliate in accordance with the
             absolute priority rule and based on certain assumptions. Key assumptions underlying
             the UCC Waterfall are described below.3

          2. Allocation Step 1: The UCC’s professionals calculated the potential recoveries to
             each sub-class of Holders of Relevant Claims at various estimates of General
             Unsecured Claims Trust Consideration by multiplying estimated General Unsecured


 1
   These Class 7 Claims assumed by the General Unsecured Claims Trust will consist of Claims initially classified as
 Class 7 Claims under the Plan that are ineligible for treatment as Class 7 Claims due to the applicable Holder having
 (i) voted to reject the Plan and/or (ii) declined to agree to Favorable Trade Terms.
 2
   The UCC professionals believe that a range of $180 to $220 million is a reasonable estimate of aggregate General
 Unsecured Claims Trust Consideration based upon information available at the time the UCC Settlement was
 reached and includes assumptions about future events.

 3
   While the estimated aggregate recoveries to Holders of Class 6 Claims per the UCC Waterfall (“UCC Waterfall
 Recoveries”) were used in the UCC’s mediation with the Debtors to inform the negotiation of the UCC Settlement,
 the UCC Waterfall Recoveries do not mirror recoveries to Holders of Class 6 Claims per the UCC Settlement. Such
 aggregate recoveries instead reflect a consensual, good faith, resolution and settlement of various controversies
 between the Debtors and the UCC as well as potential intercreditor controversies between and among the Class 6
 sub-classes.
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                Claims Trust Consideration by each Class 6 sub-class’s estimated recovery amount as
                determined by the UCC Waterfall as a percentage of UCC Waterfall Recoveries.

            3. Allocation Step 2: The UCC allocation (the “Allocation”) for distributing potential
               recoveries among Holders of Relevant Claims reasonably adjusts the calculations in
               Allocation Step 1 for timing and amounts of recoveries consistent with the overall
               GUC Settlement and as further described herein. The Allocation includes both (i)
               initial, fixed cash distributions or reserves4 (the “Initial Fixed Distributions”), and
               (ii) additional distributions from proceeds to be realized from Other GUC Settlement
               Consideration (the “Additional Distributions”). The General Unsecured Claims
               Trust Consideration is comprised of the Initial Fixed Distributions and the Additional
               Distributions.

 Actual results presented herein may be materially different than the estimated results
 illustrated in Tables 1, 2, 4, 5, 6, 7 and 8 as the UCC Waterfall inputs will be adjusted to
 account for the reconciliation of claims, the monetization of Other GUC Settlement
 Consideration, and the incurrence of GUC Trust Expenses.5

 UCC Waterfall

 The UCC Waterfall6 reflects hypothetical recoveries that would be received by each of the
 following Class 6 sub-classes on a Debtor-by-Debtor basis: (i) Class 6(a) – Acthar Claims; (ii)
 Class 6(b) – Generics Price Fixing Claims; (iii) Class 6(c) – Asbestos Claims; (iv) Class 6(d) –
 Legacy Unsecured Notes Claims; (v) Class 6(e) – Environmental Claims and Class 6(f) – Other
 General Unsecured Claims;7 and (vi) Class 6(g) – 4.75% Unsecured Notes Claims. See Plan at
 Art. III.B.6. The UCC has informed the Debtors that the UCC Waterfall is premised upon the
 following assumptions, among many others, to estimate recoveries to creditors:8

                x    Total enterprise value of $5.7 billion, calculated as the average of the midpoints
                     of the different valuations asserted by the Debtors9 and the UCC.


 4
  The Initial Fixed Distributions equal the Initial Cash Payment less $10 million to be held in reserve for
 administration expenses of the General Unsecured Claims Trust.
 5
     It is currently expected (and assumed for purposes of this Allocation) that GUC Trust Expenses are $10 million.
 6
  For the avoidance of doubt, the UCC Waterfall and the allocation methodology described herein is solely the work
 product of the UCC professionals.
 7
  For the purposes of the UCC Waterfall and Allocation, Classes 6(e) and 6(f) are illustrated as a single group of
 creditors at each Debtor entity (as applicable). Distributions to individual claimants with Allowed Claims in Class
 6(e), Class 6(f), and Class 7 that are assumed by the General Unsecured Claims Trust will be calculated pro rata on
 an entity-by-entity basis, as further described below.
 8
     The following is not intended to be an exhaustive list of the assumptions underlying the UCC Waterfall.
 9
   To maintain consistency between the valuations asserted by the Debtors and the UCC, the Debtors’ valuation was
 reduced by the UCC professionals to account for the estimated value of CARES Act tax refund receivables.



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              x   The allocation of total enterprise value, and other assets not included in total
                  enterprise value (such as cash on hand), on an entity-by-entity basis.

              x   Treatment of funded debt claims upon consideration of underlying credit
                  documents, and allocation of such claims on an entity-by-entity basis.

              x   A good faith estimation of claims, including contingent claims, on an entity-by-
                  entity basis.10

              x   The satisfaction of unsecured claims, after full satisfaction of all secured claims,
                  on an entity-by-entity basis.

              x   Exclusion of CMS and opioid settlements (i.e., the settlements are not given
                  effect).

 Table 1 below illustrates estimated recoveries to Holders of Class 6 Claims per the UCC
 Waterfall:

 Table 1
  Sub-class                                                                            Est. Share of Aggregate
                                                                                        Class 6 Entitlements
  6(a) – Acthar Claims                                                                          29.0%
  6(b) – Generics Price Fixing Claims                                                            6.0%
  6(c) – Asbestos Claims                                                                         1.9%
  6(d) – Legacy Unsecured Notes Claims                                                           5.4%
  6(e) – Environmental Claims and 6(f) – Other General Unsecured Claims                         29.2%
  6(g) – 4.75% Unsecured Notes Claims                                                            28.5%
    Total                                                                                       100.0%


 Allocation Step 1

 Applying the estimated recoveries in the table above, the UCC professionals calculated the first
 step in the allocation process using various estimates of General Unsecured Claims Trust
 Consideration less GUC Trust Expenses (“Net Consideration”), as illustrated in Table 2 below:

 Table 2




 10
   The estimation of claims in the UCC Waterfall in no way implies or concedes the validity, amount or priority of
 such claims.




                                                         3
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                                                  Est. Share of Aggregate Class 6                @ Net
                                                           Entitlements                      Consideration ($
                                                                                                millions)
  Sub-class                                 @ Net Consideration           @ Net             125     200     300
                                             28211 (per Table 1)     Consideration =
                                                                           30012
  6(a) – Acthar Claims                             29.0%                  29.1%             36.2    58.0    87.3
  6(b) – Generics Price Fixing Claims               6.0%                   6.0%              7.5    11.9    17.9
  6(c) – Asbestos Claims                            1.9%                   1.9%              2.4     3.8     5.8
  6(d) – Legacy Unsecured Notes Claims              5.4%                   5.1%             6.8     10.9    15.3
  6(e) – Environmental Claims and 6(f) –           29.2%                  29.3%             36.5    58.4    87.9
  Other General Unsecured Claims
  6(g) – 4.75% Unsecured Notes Claims              28.5%                   28.6%            35.6    57.0    85.8
      Total                                        100.0%                 100.0%           125.0   200.0   300.0

 The percentages set forth for each sub-class in the applicable column under the heading “Est. Share
 of Aggregate Class 6 Entitlements” are referred to herein as the “Class 6 Entitlements”.

 Allocation Step 2

 The UCC adjusted the allocation of recovery amounts for each Class 6 sub-class under
 Allocation Step 1 (the “Recovery Adjustments”) to fairly, reasonably, and equitably account for
 various settlements embodied in the UCC Settlement that compromise a myriad of (i) disputes
 between the Debtors and Holders of Class 6 Claims and (ii) actual and potential intercreditor
 controversies between and among the Class 6 sub-classes. Among other factors, the UCC
 considered the extent to which:

              x   General Unsecured Claims Trust Consideration will exceed the Initial Cash
                  Payment.

              x   Claims in each sub-class are contingent, unliquidated and/or disputed.

              x   Contingent, unliquidated claims in certain sub-classes face the risk of complete or
                  partial disallowance.

 Allocation Step 1, coupled with the Recovery Adjustments, yield the Initial Fixed Distributions
 and the Additional Distributions described below.

 Initial Fixed Distributions: Table 3 below illustrates the Initial Fixed Distributions:

 Table 3

 11
    Once Net Consideration exceeds approximately $282 million, pursuant to the UCC Waterfall, the Legacy
 Unsecured Notes’ Class 6 Entitlement, when multiplied by Net Consideration, would provide a recovery in excess
 of the Legacy Unsecured Notes Claims. As a result, the excess would be reallocated among the other sub-classes.
 12
   At $300 million of Net Consideration, approximately $1.0 million available to Legacy Unsecured Notes in excess
 of the Legacy Unsecured Notes Claims is reallocated among the other sub-classes.


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  Sub-class                                                                  Initial Fixed Distributions
                                                                                     ($ millions)
  6(a) – Acthar Claims                                                                    7.5
  6(b) – Generics Price Fixing Claims                                                     8.0
  6(c) – Asbestos Claims                                                                 18.0
  6(d) – Legacy Unsecured Notes Claims                                                   10.9
  6(e) – Environmental Claims and 6(f) – Other General Unsecured Claims                  23.6
  6(g) – 4.75% Unsecured Notes Claims                                                    57.0
    Total                                                                               125.0

 The Initial Fixed Distributions will be paid to Holders of Generics Price Fixing Claims, Asbestos
 Claims, Legacy Unsecured Notes Claims, and 4.75% Unsecured Notes Claims. While the Initial
 Fixed Distributions for Holders of Acthar Claims and Environmental Claims / Other General
 Unsecured Claims are initially being held in reserve, such amounts shall be paid as long as the
 reconciled amounts of Acthar Claims and Environmental Claims / Other General Unsecured
 Claims equal or exceed $7.5 million and $23.6 million, respectively.

 Additional Distributions: The Additional Distributions to Holders of Class 6 Claims shall be
 made to the following sub-classes (the “Entitled Sub-Classes”): (i) Acthar Claims (Class 6(a));
 (ii) Legacy Unsecured Notes Claims (Class 6(d)); (iii) Environmental Claims (Class 6(e)); (iv)
 Other General Unsecured Claims (Class 6(f)); and (v) 4.75% Unsecured Notes Claims (Class
 6(g)), and are summarized as follows:

              x   Holders of 4.75% Unsecured Notes Claims would be entitled to Additional
                  Distributions when their Class 6 Entitlement (subject to UCC Waterfall
                  adjustments) multiplied by Net Consideration exceeds their Initial Fixed
                  Distribution of $57.0 million.

              x   Holders of Legacy Unsecured Notes Claims would be entitled to Additional
                  Distributions when their Class 6 Entitlement (subject to UCC Waterfall
                  adjustments) multiplied by Net Consideration exceeds their Initial Fixed
                  Distribution of $10.9 million.

              x   Holders of Acthar Claims would be entitled to Additional Distributions when
                  their Class 6 Entitlement (subject to UCC Waterfall adjustments) multiplied by
                  Net Consideration exceeds their Initial Fixed Distribution of $7.5 million.

              x   Holders of Environmental Claims / Other General Unsecured Claims would be
                  entitled to Additional Distributions when their Class 6 Entitlement (subject to
                  UCC Waterfall adjustments) multiplied by Net Consideration exceeds their Initial
                  Fixed Distribution of $23.6 million.

              x   Holders of Asbestos Claims and Generics Price-Fixing Claims are not entitled to
                  Additional Distributions and will instead receive only their pro rata share of their
                  respective Initial Fixed Distributions.



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 Specifically, Additional Distributions are calculated as follows for any Entitled Sub-Class:
 (i)(A)(I) the Class 6 Entitlement for that Entitled Sub-Class divided by (II) the sum of the Class 6
 Entitlements for all Entitled Sub-Classes (at the applicable amount of Net Consideration),
 multiplied by (B) the aggregate Net Consideration less Initial Fixed Distributions made to all
 non-Entitled Sub-Classes (at the applicable amount of Net Consideration) less (ii) the Initial
 Fixed Distribution (and all prior Additional Distributions) made to that Entitled Sub-Class.

         Example: Assuming Net Consideration of $200 million, Acthar Claims would be entitled
         to Additional Distributions of approximately $45.4 million calculated as follows:
         (i)(A)(I) 29.0% [Table 2] divided by (II) 58.2% (i.e., 29.0% + 29.2%) [Table 2]
         multiplied by (B) $106.1 million ($200 million [Table 2] less $93.9 million ($8.0 million
         + $18.0 million + 10.9 million + 57.0 million) [Table 3]) less (ii) $7.5 million [Table 3].

 Estimated recoveries to each sub-class based on the Allocation (i.e., Initial Fixed Distributions
 plus cumulative Additional Distributions) at various estimates of Net Consideration are
 illustrated within Table 4 below:

 Table 4
                               Estimated Recoveries per Allocation ($ millions)
                                                                           @ Net Consideration ($ millions)
  Sub-class                                                                125     150     200     250     300
  6(a) – Acthar Claims                                                     7.5     28.0    52.9    70.5    86.6
  6(b) – Generics Price Fixing Claims                                      8.0     8.0     8.0     8.0     8.0
  6(c) – Asbestos Claims                                                  18.0    18.0    18.0    18.0    18.0
  6(d) – Legacy Unsecured Notes Claims                                    10.9    10.9     10.9   13.2    15.2
  6(e) – Environmental Claims and 6(f) – Other General Unsecured Claims    23.6    28.2    53.3    71.0    87.2
  6(g) – 4.75% Unsecured Notes Claims                                     57.0    57.0     57.0   69.3    85.1
    Total                                                                 125.0   150.0   200.0   250.0   300.0

 Additional Distributions are subject to material change as the UCC Waterfall inputs will be
 adjusted to account for the reconciliation of claims, the monetization of Other GUC Settlement
 Consideration, and the incurrence of GUC Trust Expenses. Thus, actual recoveries to Holders of
 Class 6 Claims within the Entitled Sub-Classes may be materially different than the estimated
 recoveries illustrated in Table 4 above.

 Allocation to Holders of Class 6(e) Claims, Class 6(f) Claims, and Class 7 Claims Assumed
 by the General Unsecured Claims Trust

 Distributions to individual claimants with Allowed Claims in Class 6(e), Class 6(f), and Class 7
 that are assumed by the General Unsecured Claims Trust (collectively, the “Other Claims”) will
 be calculated pro rata on an entity-by-entity basis, pursuant to the UCC Waterfall and Allocation.
 Estimated recovery percentages to Other Claims on an entity-by-entity basis are illustrated in
 Table 5 below at various estimates of Net Consideration.

 Table 5


                                                       6
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                                    Estimated Recoveries to Other Claims (%)
                                                                      @ Net Consideration ($ millions)
  Entity                                                      125        150         200        250          300
  Mallinckrodt APAP LLC                                       28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Holdings GmbH                                  28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Pharmaceuticals Limited                        28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Quincy Sarl                                    28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Pharmaceuticals Ireland Limited                28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Lux IP Sarl                                    28.7%      34.2%       64.6%      86.2%       100.0%
  MEH, Inc.                                                   28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Hospital Products Inc.                         28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Manufacturing LLC                              28.7%      34.2%       64.6%      86.2%       100.0%
  Stratatech Corporation                                      28.7%      34.2%       64.6%      86.2%       100.0%
  Therakos, Inc.                                              28.7%      34.2%       64.6%      86.2%       100.0%
  ST Shared Services LLC                                      28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt Group Sarl                                     28.7%      34.2%       64.6%      86.2%       100.0%
  Mallinckrodt International Finance SA                       16.6%      19.8%       37.5%      50.0%         77.4%
  INO Therapeutics LLC                                         8.3%       9.9%       18.8%      25.0%        38.8%
  Mallinckrodt US Holdings LLC                                 7.1%       8.5%       16.1%      21.5%        33.2%
  Mallinckrodt Veterinary, Inc.                                1.8%       2.2%        4.1%       5.5%          8.5%
  Mallinckrodt ARD LLC                                         1.4%       1.7%        3.2%       4.3%          6.7%
  SpecGx LLC                                                   1.1%       1.3%        2.4%       3.2%          4.9%
  Mallinckrodt Canada ULC                                      0.6%       0.8%        1.5%       1.9%          3.0%
  Mallinckrodt LLC                                             0.2%       0.3%        0.5%       0.7%          1.1%
  Mallinckrodt plc                                             0.2%       0.3%        0.5%       0.7%          1.0%
  Ocera Therapeutics, Inc.                                     0.0%       0.0%        0.0%       0.0%          0.0%


 Table 5 is based upon estimates of potential claims and may not include a recovery percentage at
 every Debtor entity where Holders of Other Claims may have such claims Allowed. The
 absence of a particular Debtor entity from Table 5 does not indicate that a Holder of an Other
 Claim at such an entity will not receive a recovery. Rather, a Holder of an Other Claim at an
 absent Debtor entity will receive the recovery that it is entitled to pursuant to the Allocation.

 Impact of Sensitizing Acthar Claims

 As the Acthar Claims will be reconciled after the Effective Date,13 Tables 6, 7 and 8 below
 illustrate the impact that sensitizing Acthar Claims within the UCC Waterfall would have on
 estimated recoveries to Holders of Class 6 Claims, assuming Net Consideration of $125 million,
 $200 million, and $300 million.


 13
   Solely for the purpose of calculating the Allocation, and given their separate treatment under the UCC Settlement,
 the amounts of the Asbestos Claims and the Generics Price Fixing Claims have been fixed. Reconciliation of the
 Asbestos Claims and Generics Price Fixing Claims for pro rata distribution purposes will occur through separate
 processes as detailed in the UCC Settlement.


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 Table 6
                  Estimated Recoveries per Allocation ($ millions) @ Net Consideration = 125
                                                               Estimated Acthar Claims ($ millions)
  Sub-class                                  0     500         1,000   1,500   2,000   2,500   3,000   3,500   4,000
  6(a) – Acthar Claims                      0.0     7.5          7.5     7.5     7.5     7.5     7.5     7.5     7.5
  6(b) – Generics Price Fixing Claims       8.0     8.0          8.0     8.0     8.0     8.0     8.0     8.0     8.0
  6(c) – Asbestos Claims                   18.0    18.0         18.0    18.0    18.0    18.0    18.0    18.0    18.0
  6(d) – Legacy Unsecured Notes Claims     10.9    10.9         10.9    10.9    10.9    10.9    10.9    10.9   10.9
  6(e) – Environmental Claims and 6(f) –   31.1    23.6         23.6   23.6    23.6    23.6    23.6    23.6    23.6
  Other General Unsecured Claims
  6(g) – 4.75% Unsecured Notes Claims       57.0    57.0        57.0    57.0    57.0    57.0    57.0    57.0    57.0
    Total                                  125.0   125.0       125.0   125.0   125.0   125.0   125.0   125.0   125.0

 Table 7
                  Estimated Recoveries per Allocation ($ millions) @ Net Consideration = 200
                                                               Estimated Acthar Claims ($ millions)
  Sub-class                                  0     500         1,000   1,500   2,000   2,500   3,000   3,500   4,000
  6(a) – Acthar Claims                      0.0    36.9         48.8    53.5    56.5    58.6    60.2    61.6    62.7

  6(b) – Generics Price Fixing Claims       8.0     8.0          8.0    8.0     8.0     8.0     8.0     8.0     8.0
  6(c) – Asbestos Claims                   18.0    18.0         18.0   18.0    18.0    18.0    18.0    18.0    18.0
  6(d) – Legacy Unsecured Notes Claims     14.8    11.7         10.9   10.9    10.9    10.9    10.9    10.9    10.9
  6(e) – Environmental Claims and 6(f)     80.1    63.3         57.4   52.6    49.7    47.5    45.9    44.6    43.5
  – Other General Unsecured Claims
  6(g) – 4.75% Unsecured Notes Claims       79.1   62.1         57.0    57.0    57.0    57.0   57.0    57.0    57.0
    Total                                  200.0   200.        200.0   200.0   200.0   200.0   200.0   200.0   200.0


 Table 8
                  Estimated Recoveries per Allocation ($ millions) @ Net Consideration = 300
                                                               Estimated Acthar Claims ($ millions)
  Sub-class                                  0     500         1,000   1,500   2,000   2,500   3,000   3,500   4,000
  6(a) – Acthar Claims                      0.0    58.8         77.8    88.0    94.7    99.6   103.6   106.9   109.8
  6(b) – Generics Price Fixing Claims       8.0     8.0         8.0     8.0     8.0     8.0     8.0     8.0     8.0
  6(c) – Asbestos Claims                    18.0    18.0        18.0   18.0    18.0    18.0    18.0    18.0    18.0
  6(d) – Legacy Unsecured Notes Claims      15.3    15.3        15.3   15.2    15.1    15.0    14.7    14.4    14.2
  6(e) – Environmental Claims and 6(f) –   130.2   100.9        91.5   86.5    83.2    80.8    78.9    77.4    76.1
  Other General Unsecured Claims
  6(g) – 4.75% Unsecured Notes Claims      128.5    99.0       89.4     84.4    81.0    78.6   76.8    75.2    73.9
    Total                                  300.0   300.0       300.0   300.0   300.0   300.0   300.0   300.0   300.0




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                                           Exhibit 7

                        PEC/MSGE Mallinckrodt Fee Allocation Agreement




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                                  EXHIBIT B

                           Opioid Operating Injunction
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                          MALLINCKRODT INJUNCTIVE RELIEF
                                   TERM SHEET

                                         I. DEFINITIONS

 A.      “Bankruptcy Court” shall mean the United States Bankruptcy Court for the District of
         Delaware.

 B.      “Cancer-Related Pain Care” shall mean care that provides relief from pain resulting from
         a patient’s active cancer or cancer treatment, as distinguished from treatment provided
         during remission.

 C.      “CDC Guideline Recommendations” shall mean the 12 enumerated Recommendations
         published by the U.S. Centers for Disease Control and Prevention (CDC) for the
         prescribing of opioid pain medication for patients 18 and older in primary care settings as
         part of its 2016 Guideline for Prescribing Opioids for Chronic Pain (CDC Guidelines), as
         updated or amended by the CDC.

 D.      “Chapter 11 Cases” means the proceedings to be commenced by Mallinckrodt
         Enterprises LLC, Mallinckrodt LLC, and SpecGX LLC and certain of their affiliates
         under chapter 11 of the United States Bankruptcy Code.

 E.      “Chapter 11 Plan” shall mean the plan of reorganization under chapter 11 of the United
         States Bankruptcy Code that includes Mallinckrodt Enterprises LLC, Mallinckrodt LLC
         and SpecGx LLC.

 F.      “Confirmation Order” shall mean the order of the Bankruptcy Court (or other court of
         competent jurisdiction) confirming the Chapter 11 Plan.

 G.      “Downstream Customer Data” shall mean transaction information that Mallinckrodt
         collects relating to its direct customers’ sales to downstream customers, including but not
         limited to chargeback data tied to Mallinckrodt providing certain discounts, “867 data,”
         and IQVIA data.

 H.      “Effective Date” shall mean the date on which the Chapter 11 Plan goes effective.

 I.      “End-of-Life Care” shall mean care for persons with a terminal illness or at high risk for
         dying in the near future in hospice care, hospitals, long-term care settings, or at home.

 J.      “Health Care Provider” shall mean any U.S.-based physician or other health care
         practitioner who is licensed to provide health care services or to prescribe pharmaceutical
         products and any medical facility, practice, hospital, clinic or pharmacy.

 K.      “In-Kind Support” shall mean payment or assistance in the form of goods, commodities,
         services, or anything else of value.




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 L.      “Lobby” and “Lobbying” shall have the same meaning as “lobbying activities” and
         “lobbying contacts” under the federal lobbying disclosure act, 2 U.S.C. § 1602 et seq.,
         and any analogous state or local provisions governing the person or entity being lobbied
         in that particular state or locality. As used in this document, “Lobby” and “Lobbying”
         include Lobbying directly or indirectly, through grantees or Third Parties.

 M.      “Mallinckrodt” shall mean Mallinckrodt Enterprises LLC, Mallinckrodt LLC, and
         SpecGX LLC, and each of their current and former subsidiaries, predecessors,
         successors, joint ventures, divisions and assigns. It shall also mean officers, directors,
         independent contractors, consultants, agents, employees, partners, and principals,
         provided that they are acting within the scope of their engagement or employment.

 N.      “Mallinckrodt’s Opioid Business” shall mean Mallinckrodt’s business operations relating
         to the manufacture and sale of Opioid Product(s) in the United States and its territories.

 O.      “OCC” shall mean the Official Committee of Opioid Related Claimants, appointed in the
         Debtors’ Chapter 11 Cases.

 P.      “Opioid(s)” shall mean all naturally occurring, synthetic, or semisynthetic substances that
         interact with opioid receptors and act like opium.

 Q.      “Opioid Product(s)” shall mean all current and future medications containing Opioids
         approved by the U.S. Food & Drug Administration (FDA) and listed by the DEA as
         Schedule II, III, or IV drugs pursuant to the federal Controlled Substances Act, including
         but not limited to codeine, fentanyl, hydrocodone, hydromorphone, meperidine,
         morphine, oxycodone, oxymorphone, tapentadol, and tramadol. The term “Opioid
         Products(s)” shall not include medications with a FDA-approved label that lists only the
         treatment of opioid abuse, addiction, dependence and/or overdose as their “indications
         and usage”; methadone 5 and 10 mg tablets, to the extent they are sold to addiction
         treatment facilities; or raw materials, active pharmaceutical ingredients and/or immediate
         precursors used in the manufacture or study of Opioids or Opioid Products, but only
         when such materials, active pharmaceutical ingredients and/or immediate precursors are
         sold or marketed exclusively to DEA registrants or sold outside the United States or its
         territories.

 R.      “OUD” shall mean opioid use disorder defined in the Diagnostic and Statistical Manual
         of Mental Disorders, Fifth Edition (DSM–5), as updated or amended.

 S.      “Petition Date” shall mean the date on which the Chapter 11 Cases are commenced.

 T.      “Promote,” “Promoting,” and “Promotion” shall mean dissemination of information or
         other practices intended or that could be reasonably anticipated to increase sales,
         prescriptions, the utilization of prescription products, or that attempt to influence
         prescribing practices or formulary decisions in the United States.




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 U.      “Qualified Researcher” shall mean any researcher holding a faculty appointment or
         research position at an institution of higher education, a research organization, a nonprofit
         organization, or a government agency.

 V.      “Settling State” means any State that becomes a party to a restructuring support
         agreement with respect to the Chapter 11 Plan or otherwise votes to accept the Chapter
         11 Plan.

 W.      “Suspicious Order” shall have the same meaning as provided by the Controlled
         Substances Act, 21 U.S.C. §§ 801-904, and the regulations promulgated thereunder and
         analogous state laws and regulations.

 X.      “Third Party” shall mean any person or entity other than Mallinckrodt or a government
         entity.

 Y.      “Treatment of Pain” shall mean the provision of therapeutic modalities to alleviate or
         reduce pain.

 Z.      “Unbranded Information” shall mean any information that does not identify one or more
         specific products.
                                II. SCOPE AND ENFORCEMENT

 A.      All of the provisions of this Agreement shall apply both while Mallinckrodt is in
         bankruptcy and after Mallinckrodt emerges from bankruptcy, and they shall apply to the
         operation of Mallinckrodt’s Opioid Business by any subsequent purchaser (regardless of
         whether Mallinckrodt is sold through the bankruptcy process or after bankruptcy, and
         regardless whether the purchaser buys all or just a portion of Mallinckrodt’s Opioid
         Business). For the avoidance of doubt, nothing in this Agreement applies to the operation
         of a subsequent purchaser(s)’ pre-existing opioid business.

 B.      The provisions of this Agreement will not apply to Mallinckrodt’s parent or its parent’s
         subsidiaries, other than those subsidiaries included in the above definition of
         Mallinckrodt, so long as Mallinckrodt’s parent agrees in a legally binding manner that
         neither it, nor any of its other subsidiaries, will be involved in the sale or distribution of
         opioids classified as DEA Schedule II–IV drugs in the future.

 C.      In connection with its Chapter 11 Cases, Mallinckrodt consents to the entry of a final
         judgment or consent order upon the Effective Date imposing all of the provisions of this
         Agreement in state court in each of the Settling States. During the pendency of the
         Chapter 11 Cases, this Agreement is enforceable in the Bankruptcy Court. After the
         Effective Date, this Agreement is enforceable in state court in each of the Settling States.
         Mallinckrodt agrees that seeking entry or enforcement of such a final judgment or
         consent order will not violate any other injunctions or stays that it will seek, or that may
         otherwise apply, in connection with its Chapter 11 Cases or the confirmation of its
         Chapter 11 Plan.


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 D.      The provisions of this Agreement that apply to the OCC shall no longer apply upon the
         effectiveness of a Chapter 11 Plan.

 E.      Term

         1.       Unless addressed in Section II.E.2–3, each provision of this Agreement shall
                  apply for 8 years from the Petition Date.

         2.       The provisions of Section III.A (“Ban on Promotion”), Section III.B (“No
                  Financial Reward or Discipline Based on Volume of Opioid Sales”), Section III.F
                  (“Ban on Prescription Savings Program”), Section III.G (“Monitoring and
                  Reporting of Direct and Downstream Customers”), Section III.H (“General
                  Provisions”), Section III.I (“Compliance with All Laws and Regulations Relating
                  to the Sale Promotion and Distribution of Any Opioid Product”), and Section V
                  (“Public Access to Documents”) shall not be subject to any term.

         3.       The provisions of Section VI (“Independent Monitor”) shall apply for five years
                  from the Petition Date. If, at the conclusion of the Monitor’s five-year term, the
                  Settling States determine in good faith and in consultation with the Monitor that
                  justifiable cause exists, the Monitor’s engagement shall be extended for an
                  additional term of up to two years, subject to the right of Mallinckrodt to
                  commence legal proceedings for the purpose of challenging the decision of the
                  Settling States and to seek preliminary and permanent injunctive relief with
                  respect thereto. For purposes of this paragraph “justifiable cause” means a failure
                  by Mallinckrodt to achieve and maintain substantial compliance with the
                  substantive provisions of this Agreement.

 F.      Notice and Cure

         1.       For the purposes of resolving disputes with respect to compliance with this
                  Agreement, should any State Attorney General have reason to believe that
                  Mallinckrodt has violated a provision of this Agreement subsequent to the
                  Petition Date, then such Attorney General shall notify Mallinckrodt in writing of
                  the specific objection, identify with particularity the provisions of this Agreement
                  that the practice appears to violate, and give Mallinckrodt 30 days to respond to
                  the notification. Promptly after Mallinckrodt’s receipt of any such written notice,
                  Mallinckrodt shall provide such written notice to the OCC for informational
                  purposes only pursuant to the confidentiality provisions of the by-laws between
                  Mallinckrodt and the OCC.

         2.       Upon receipt of written notice from such State Attorney General, Mallinckrodt
                  shall provide a written response to the Settling States and to the OCC for
                  informational purposes only pursuant to the confidentiality provisions of the by-
                  laws between Mallinckrodt and the OCC, containing either a statement explaining
                  why Mallinckrodt believes it is in compliance with this Agreement or a detailed
                  explanation of how the alleged violation occurred and a statement explaining how
                  and when Mallinckrodt intends to remedy or has remedied the alleged violation.
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         3.       Such State Attorney General may not take any action concerning the alleged
                  violation of this Agreement during the 30-day response period. Nothing shall
                  prevent such State Attorney General from agreeing in writing to provide
                  Mallinckrodt with additional time beyond the 30 days to respond to the notice and
                  Mallinckrodt shall promptly provide notice of any such additional response time
                  to the OCC for informational purposes only pursuant to the confidentiality
                  provisions of the by-laws between Mallinckrodt and the OCC. However, such
                  State Attorney General may take any action, including, but not limited to legal
                  action to enforce compliance with the consent judgment specified by Section II.C,
                  without delay if such State Attorney General believes that, because of the specific
                  practice, a threat to the health or safety of the public requires immediate action.

         4.       Such State Attorney General may bring an action against Mallinckrodt to enforce
                  the terms of the consent judgment specified by Section II.C, but only after
                  providing Mallinckrodt an opportunity to respond to the notification as described
                  above or within any other period as agreed to by Mallinckrodt and such State
                  Attorney General.

         5.       Nothing in this Agreement shall be interpreted to limit any State Attorney
                  General’s Civil Investigative Demand (“CID”) or investigative subpoena
                  authority, to the extent such authority exists under applicable state law, and
                  Mallinckrodt agrees to comply with a CID or investigative subpoena issued
                  pursuant to such authority.

         6.       Nothing herein shall be construed to exonerate any failure to comply with any
                  provision of this Agreement after the Petition Date, or to compromise the
                  authority of any State Attorney General to take action for any failure to comply
                  with this Agreement.

         7.       Nothing herein shall compromise the OCC’s right to enforce its specific
                  information rights and consultation rights set forth in this Agreement in the
                  Bankruptcy Court during the pendency of the Chapter 11 Cases.

                                    III. INJUNCTIVE RELIEF

 A.      Ban on Promotion

         1.       Mallinckrodt shall not engage in the Promotion of Opioids or Opioid Products,
                  including but not limited to, by:

                  a.     Employing or contracting with sales representatives or other persons to
                         Promote Opioids or Opioid Products to Health Care Providers or patients
                         or to persons that influence or determine the Opioid Products included in
                         formularies;


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                  b.     Using speakers, key opinion leaders, thought leaders, lecturers, and/or
                         speaking events for Promotion of Opioids or Opioid Products;

                  c.     Sponsoring, or otherwise providing financial support or In-Kind Support
                         to medical education programs relating to Opioids or Opioid Products;

                  d.     Creating, sponsoring, operating, controlling, or otherwise providing
                         financial support or In-Kind Support to any website, network, and/or
                         social or other media account for the Promotion of Opioids or Opioid
                         Products;

                  e.     Creating, sponsoring, distributing, or otherwise providing financial
                         support or In-Kind Support for materials Promoting Opioids or Opioid
                         Products, including but not limited to brochures, newsletters, pamphlets,
                         journals, books, and guides;

                  f.     Creating, sponsoring, or otherwise providing financial support or In-Kind
                         Support for advertisements that Promote Opioids or Opioid Products,
                         including but not limited to internet advertisements or similar content, and
                         providing hyperlinks or otherwise directing internet traffic to
                         advertisements; and

                  g.     Engaging in Internet search engine optimization or other techniques
                         designed to Promote Opioids or Opioid Products by improving rankings or
                         making content appear among the top results in an Internet search or
                         otherwise be more visible or more accessible to the public on the Internet.

         2.       Notwithstanding Section III.A.1, III.A.5, and III.C, Mallinckrodt may:

                  a.     Maintain a corporate website;

                  b.     Maintain a website for any Opioid Product that contains principally the
                         following content: the FDA-approved package insert, medication guide,
                         and labeling, and a statement directing patients or caregivers to speak with
                         a licensed Health Care Provider;

                  c.     Provide information or support the provision of information as expressly
                         required by law or any state or federal government agency with
                         jurisdiction in the state where the information is provided;

                  d.     Provide the following by mail, electronic mail, on or through
                         Mallinckrodt’s corporate or product websites or through other electronic
                         or digital methods: FDA-approved package insert, medication guide,
                         approved labeling for Opioid Products or other prescribing information for
                         Opioid Products that are published by a state or federal government
                         agency with jurisdiction in the state where the information is provided;

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                  e.    Provide scientific and/or medical information in response to an unsolicited
                        request by a Health Care Provider consistent with the standards set forth in
                        the FDA’s Draft Guidance for Industry, Responding to Unsolicited
                        Requests for Off-Label Information About Prescription Drugs and
                        Medical Devices (Dec. 2011, as updated or amended by the FDA) and
                        Guidance for Industry, Good Reprint Practices for the Distribution of
                        Medical Journal Articles and Medical or Scientific Reference Publications
                        on Unapproved New Uses of Approved Drugs and Approved or Cleared
                        Medical Devices (Jan. 2009, as updated or amended by the FDA);

                  f.    Provide a response to any unsolicited question or request from a patient or
                        caregiver, directing the patient or caregiver to the FDA-approved labeling
                        or to speak with a licensed Health Care Provider without describing the
                        safety or effectiveness of Opioids or any Opioid Product or naming any
                        specific provider or healthcare institution; or directing the patient or
                        caregiver to speak with their insurance carrier regarding coverage of an
                        Opioid Product;

                  g.    Provide Health Care Economic Information, as defined at 21 U.S.C.
                        § 352(a), to a payor, formulary committee, or other similar entity with
                        knowledge and expertise in the area of health care economic analysis
                        consistent with standards set forth in the FDA’s Draft Questions and
                        Answers Guidance for Industry and Review Staff, Drug and Device
                        Manufacturer Communications With Payors, Formulary Committees, and
                        Similar Entities (Jan. 2018), as updated or amended by the FDA;

                  h.    Provide information, through a product catalog or similar means, related to
                        an Opioid or Opioid Product, including, without limitation, pricing
                        information, weight, color, shape, packaging size, type, reference listed
                        drug, National Drug Code label, and such other descriptive information
                        (including information set forth in a standard Healthcare Distribution
                        Alliance Form or technical data sheet and the FDA approval letter)
                        sufficient to identify the products available, to place an order for a
                        product, and to allow the product to be loaded into a customer’s inventory
                        and ordering system or a third party pricing compendia;

                  i.    Sponsor or provide financial support or In-Kind Support for an accredited
                        or approved continuing medical education program required by either an
                        FDA-approved Risk Evaluation and Mitigation Strategy (REMS) program
                        or other federal or state law or regulation applicable in the state where the
                        program is provided through an independent Third Party, which shall be
                        responsible for the continuing medical education program’s content
                        without the participation of Mallinckrodt;

                  j.    Provide Unbranded Information in connection with managing pain in End-
                        of-Life Care and/or Cancer-Related Pain Care relating to: the use of

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                         Opioids for managing such pain, as long as the Unbranded Information
                         identifies Mallinckrodt as the source of the information;

                  k.     Promote medications with a FDA-approved label that lists only the
                         treatment of opioid abuse, addiction, dependence and/or overdose as their
                         “indications and usage” or methadone 5 and 10 mg tablets, to the extent
                         they are sold to addiction treatment facilities;

                  l.     Promote raw materials, active pharmaceutical ingredients and/or
                         immediate precursors used in the manufacture or study of Opioids or
                         Opioid Products, but only when such raw materials, active pharmaceutical
                         ingredients and/or immediate precursors are sold or marketed exclusively
                         to DEA registrants or sold outside the United States or its territories; And,
                         notwithstanding this exception, Mallinckrodt will not promote raw
                         materials, active pharmaceutical ingredients and/or immediate precursors
                         to Healthcare Providers or patients; and

                  m.     Provide rebates, discounts, and other customary pricing adjustments to
                         DEA-registered customers and contracting intermediaries, such as Buying
                         Groups, Group Purchasing Organizations, and Pharmacy Benefit
                         Managers, except as prohibited by Section III.F.

         3.       Mallinckrodt shall not engage in the following specific Promotional activity
                  relating to any products for the treatment of Opioid-induced side effects (for the
                  avoidance of doubt, “Opioid-induced side effects” does not include addiction to
                  Opioids or Opioid Products):

                  a.     Employing or contracting with sales representatives or other persons to
                         Promote products for the treatment of Opioid-induced side effects to
                         Health Care Providers or patients;

                  b.     Using speakers, key opinion leaders, thought leaders, lecturers, and/or
                         speaking events for Promotion of products for the treatment of Opioid-
                         induced side effects;

                  c.     Sponsoring, or otherwise providing financial support or In-Kind Support
                         to medical education programs relating to products for the treatment of
                         Opioid-induced side effects;

                  d.     Creating, sponsoring, or otherwise providing financial support or In-Kind
                         Support for advertisements that Promote products for the treatment of
                         Opioid-induced side effects, including but not limited to internet
                         advertisements or similar content, and providing hyperlinks or otherwise
                         directing internet traffic to advertisements; and

                  e.     Engaging in any other Promotion of products for the treatment of Opioid-
                         induced side effects in a manner that encourages the utilization of Opioids
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                         or Opioid Products or normalizes the use of Opioids or Opioid Products
                         for chronic pain.

         4.       Notwithstanding Section III.A.3 directly above, Mallinckrodt may engage in other
                  Promotional activity for products that may be used for the treatment of Opioid-
                  induced side effects but also have non-Opioid related indications, so long as such
                  Promotion does not explicitly or implicitly associate the product with Opioids or
                  Opioid Products, except for linking to the FDA label associated with that product.

         5.       Treatment of Pain

                  a.     Mallinckrodt shall not, either through Mallinckrodt or through Third
                         Parties, engage in Promotion of the Treatment of Pain in a manner that
                         directly or indirectly encourages the utilization of Opioids or Opioid
                         Products.

                  b.     Mallinckrodt shall not, either through Mallinckrodt or through Third
                         Parties, Promote the concept that pain is undertreated in a manner that
                         directly or indirectly encourages the utilization of Opioids or Opioid
                         Products.

                  c.     Mallinckrodt shall not disseminate Unbranded Information, including
                         Unbranded Information about a medical condition or disease state, that
                         contains links to branded information about Opioid Products or generates
                         leads for sales of Opioid Products.

         6.       To the extent that Mallinckrodt engages in conduct permitted by Sections III.A.2
                  and A.4 above, Mallinckrodt shall do so in a manner that is:

                  a.     Consistent with the CDC Guideline Recommendations, as applicable; and

                  b.     Truthful, non-misleading, accurate, non-deceptive, and does not omit any
                         relevant information.

 B.     No Financial Reward or Discipline Based on Volume of Opioid Sales

         1.       Mallinckrodt shall not provide financial incentives to its sales and marketing
                  employees or discipline its sales and marketing employees based upon sales
                  volume or sales quotas for Opioid Products. Notwithstanding the foregoing, this
                  provision does not prohibit financial incentives (e.g., customary raises or bonuses)
                  based on the performance of the overall company or Mallinckrodt’s generics
                  business, as measured by EBITDA, revenue, cash flow or other similar financial
                  metrics.

         2.       Mallinckrodt shall not offer or pay any remuneration (including any kickback,
                  bribe, or rebate) directly or indirectly, to or from any person in return for the
                  prescribing or use of an Opioid Product. For the avoidance of doubt, this shall not
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                  prohibit the provision of rebates and/or chargebacks to the extent permitted by
                  Section III.A.2.m.

         3.       Mallinckrodt’s compensation policies and procedures shall be designed to ensure
                  compliance with this Agreement and other legal requirements.

 C.      Ban on Funding/Grants to Third Parties

         1.       Mallinckrodt shall not directly or indirectly provide financial support or In-Kind
                  Support to any Third Party that Promotes or is for education about Opioids,
                  Opioid Products, the Treatment of Pain, or products intended to treat Opioid-
                  related side effects, including educational programs or websites that Promote
                  Opioids, Opioids Products, or products intended to treat Opioid-related side
                  effects but excluding financial support otherwise allowed by this Agreement or
                  required by a federal or state agency.

         2.       Mallinckrodt shall not create, sponsor, provide financial support or In-Kind
                  Support to, operate, or control any medical society or patient advocacy group
                  relating to any Opioids, Opioid Products, the Treatment of Pain, or products
                  intended to treat Opioid-related side effects.

         3.       Mallinckrodt shall not provide links to any Third Party website or materials or
                  otherwise distribute materials created by a Third Party relating to any Opioids,
                  Opioid Products, the Treatment of Pain, or products intended to treat Opioid-
                  related side effects.

         4.       Mallinckrodt shall not use, assist, or employ any Third Party to engage in any
                  activity that Mallinckrodt itself would be prohibited from engaging in pursuant to
                  this Agreement.

         5.       Mallinckrodt shall not enter into any contract or agreement with any person or
                  entity or otherwise attempt to influence any person or entity in such a manner that
                  has the purpose or foreseeable effect of limiting the dissemination of information
                  regarding the risks and side effects of using Opioids.

         6.       Mallinckrodt shall not compensate or support Health Care Providers, other than
                  Mallinckrodt employees, or organizations to advocate for formulary access or
                  treatment guideline changes that would have the effect of increasing access to any
                  Opioid Product by third-party payers, i.e., any entity, other than an individual, that
                  pays or reimburses for the dispensing of prescription medicines, including but not
                  limited to managed care organizations and pharmacy benefit managers. Nothing
                  in this provision affects the limitations on Mallinckrodt employees set forth in
                  Section III.A. Notwithstanding anything to the contrary in this Agreement, this
                  provision does not prohibit the payment of customary rebates or other pricing
                  concessions to third party payors, including state Medicaid programs, as part of an
                  overall pricing agreement, except as prohibited by Section III.F.

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         7.       No director, officer, or management-level employee of Mallinckrodt may serve as
                  a director, board member, employee, agent, or officer of any entity, other than
                  Mallinckrodt plc or a wholly owned subsidiary thereof, that not incidentally
                  engages in Promotion relating to Opioids, Opioid Products, the Treatment of Pain,
                  or products intended to treat Opioid-related side effects. Any director, officer, or
                  management-level employee of Mallinckrodt that serves as a director, board
                  member, employee, agent or officer of any entity shall recuse himself or herself
                  from any decisions in that capacity that are related to the Promotion of Opioids,
                  Opioid Products, the Treatment of Pain, or products intended to treat Opioid-
                  related side effects.

         8.       Mallinckrodt shall play no role in appointing persons to the board, or hiring
                  persons to the staff, of any entity that not incidentally engages in Promotion
                  relating to any Opioids, Opioid Products, the Treatment of Pain, or products
                  intended to treat Opioid-related side effects.

         9.       The prohibitions in Section III.C shall not apply to engagement with Third Parties
                  based on activities related to (1) medications with a FDA-approved label that lists
                  only the treatment of opioid abuse, addiction, dependence and/or overdose as their
                  “indications and usage” or methadone 5 and 10 mg tablets, to the extent they are
                  sold to addiction treatment facilities; (2) raw materials, active pharmaceutical
                  ingredients and/or immediate precursors used in the manufacture or study of
                  Opioids or Opioid Products, but only when such materials, active pharmaceutical
                  ingredients and/or immediate precursors are sold or marketed exclusively to DEA
                  registrants or sold outside the United States or its territories; or (3) education
                  warning about drug abuse or promoting prevention or treatment of drug misuse.

         10.      Mallinckrodt will be in compliance with Sections III.C.2 and III.C.3 with respect
                  to support of an individual Third Party to the extent that the Independent Monitor
                  or the Settling States determines that such support does not increase the risk of the
                  inappropriate use of Opioids and that Mallinckrodt has not acted for the purpose
                  of increasing the use of Opioids.

 D.      Lobbying Restrictions

         1.       Mallinckrodt shall not Lobby for the enactment of any provision of any federal,
                  state, or local legislation or promulgation of any provision of any rule or
                  regulation that:

                  a.     encourages or requires Health Care Providers to prescribe Opioid Products
                         or sanctions Health Care Providers for failing to prescribe Opioids or
                         failing to treat pain with Opioids;

                  b.     would have the effect of limiting access to any non-Opioid alternative pain
                         treatments; or


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                  c.     pertains to the classification of any Opioid or Opioid Product as a
                         scheduled drug under the Controlled Substances Act.

         2.       Mallinckrodt shall not Lobby against the enactment of any provision of any
                  federal, state or local legislation or promulgation of any provision of any rule or
                  regulation that supports:

                  a.     The use of non-pharmacologic therapy and/or non-Opioid pharmacologic
                         therapy to treat chronic pain over or instead of Opioid use, including but
                         not limited to third party payment or reimbursement for such therapies;

                  b.     The use and/or prescription of immediate release Opioids instead of
                         extended release Opioids when Opioid use is initiated, including but not
                         limited to third party reimbursement or payment for such prescriptions;

                  c.     The prescribing of the lowest effective dose of an Opioid, including but
                         not limited to third party reimbursement or payment for such prescription;

                  d.     The limitation of initial prescriptions of Opioids to treat acute pain;

                  e.     The prescribing and other means of distribution of naloxone to minimize
                         the risk of overdose, including but not limited to third party
                         reimbursement or payment for naloxone;

                  f.     The use of urine testing before starting Opioid use and annual urine testing
                         when Opioids are prescribed, including but not limited to third party
                         reimbursement or payment for such testing;

                  g.     Evidence-based treatment (such as using medication-assisted treatment
                         with buprenorphine or methadone in combination with behavioral
                         therapies) for OUD, including but not limited to third party reimbursement
                         or payment for such treatment; or

                  h.     The implementation or use of Opioid drug disposal systems.

         3.       Mallinckrodt shall not Lobby against the enactment of any provision of any
                  federal, state or local legislation or promulgation of any provision of any rule or
                  regulation creating or expanding the operation or use of PDMPs, including but not
                  limited to provisions requiring Health Care Providers to review PDMPs when
                  Opioid use is initiated and with every prescription thereafter. For the avoidance of
                  doubt, Mallinckrodt may Lobby in support of a particular PDMP proposal.

         4.       Notwithstanding the foregoing restrictions in Sections III.D.1–3, III.A, and III.C,
                  the following conduct is not restricted:

                  a.     Lobbying against the enactment of any provision of any state, federal,
                         municipal, or county taxes, fees, assessments, or other payments;
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                  b.     Challenging the enforcement of, or suing for declaratory or injunctive
                         relief with respect to legislation, rules or regulations referred to in Section
                         III.D.1;

                  c.     Communications made by Mallinckrodt in response to a statute, rule,
                         regulation, or order requiring such communication;

                  d.     Communications by a Mallinckrodt representative appearing before a
                         federal or state legislative or administrative body, committee, or
                         subcommittee as a result of a mandatory order or subpoena commanding
                         that person to testify;

                  e.     Responding, in a manner consistent with this Agreement, to an unsolicited
                         request for the input on the passage of legislation or the promulgation of
                         any rule or regulation when such request is submitted in writing
                         specifically to Mallinckrodt from a government entity directly involved in
                         the passage of that legislation or promulgation of that rule or regulation;

                  f.     Communicating with a federal or state agency in response to a Federal
                         Register or similar notice or an unsolicited federal or state legislative
                         committee request for public comment on proposed legislation; and

                  g.     Responding to requests from the DEA, the FDA, or any other Federal or
                         state agency and/or participating in FDA or other agency panels at the
                         request of the agency.

                  h.     Participate in meetings and other proceedings before the FDA, FDA
                         advisory committee or other FDA committee in connection with the
                         approval, modification of approval, or oversight of its own products.

         5.       Mallinckrodt shall require all of its officers, employees, and agents engaged in
                  Lobbying to certify in writing or by appropriate electronic means to Mallinckrodt
                  that they are aware of and will fully comply with the provisions of this Agreement
                  with respect to Lobbying on behalf of Mallinckrodt.

 E.      Ban on Certain High Dose Opioids

         1.       Mallinckrodt shall not commence manufacturing, promoting, or distributing any
                  Opioid Product that exceeds 30 milligrams of oxycodone per pill.

 F.      Ban on Prescription Savings Programs

         1.       Mallinckrodt shall not directly or indirectly offer any discounts, coupons, rebates,
                  or other methods which have the effect of reducing or eliminating a patient’s co-
                  payments or the cost of prescriptions (e.g., free trial prescriptions) for any Opioid
                  Product.

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         2.       Mallinckrodt shall not directly or indirectly provide financial support to any Third
                  Party that offers coupons, discounts, rebates or other methods which have the
                  effect of reducing or eliminating a patient’s co-payments or the cost of
                  prescriptions (e.g., free trial prescriptions) for any Opioid Product.

         3.       Mallinckrodt shall not directly or indirectly assist patients, Health Care Providers,
                  or pharmacies regarding the claims and/or prior authorization process required for
                  third-party payers to approve claims involving any Opioid Product.

 G.      Monitoring and Reporting of Direct and Downstream Customers

         1.       Mallinckrodt shall operate an effective monitoring and reporting system in
                  compliance with 21 C.F.R. § 1301.71(a), 21 C.F.R. §1301.74(b), 21 U.S.C. §
                  823(d) and Section 3292 of the SUPPORT for Patients and Communities Act, that
                  shall include processes and procedures that:

                  a.      Utilize all reasonably available transaction information to identify a
                          Suspicious Order of an Opioid Product by a direct customer;

                  b.      Utilize all reasonably available Downstream Customer Data to identify
                          whether a downstream customer poses a material risk of diversion of an
                          Opioid Product;

                  c.      Utilize all information Mallinckrodt receives that bears upon a direct
                          customer’s or a downstream customer’s diversion activity or potential for
                          diversion activity, including reports by Mallinckrodt’s employees,
                          customers, Health Care Providers, law enforcement, state, tribal, or federal
                          agencies, or the media; and

                  d.      Upon request (unless otherwise required by law), report to any requesting
                          State Attorney General or State controlled substances regulatory agency
                          any direct customer or downstream customer in such requesting State
                          Attorney General’s or agency’s State identified as part of the monitoring
                          required by (a)-(c), above, and any customer relationship in such State
                          terminated by Mallinckrodt relating to diversion or potential for diversion.
                          These reports shall include the following information, to the extent known
                          to Mallinckrodt:

                         i.      The identity of the downstream registrant and the direct
                                 customer(s) identified by Mallinckrodt engaged in the controlled
                                 substance transaction(s), to include each registrant’s name,
                                 address, business type, and DEA registration number;

                        ii.      The dates of reported distribution of controlled substances by
                                 direct customers to the downstream registrant during the relevant
                                 time period;

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                        iii.     The drug name, drug family or NDC and dosage amounts
                                 reportedly distributed;

                        iv.      The transaction or order number of the reported distribution; and

                         v.      A brief narrative providing a description of the circumstances
                                 leading to Mallinckrodt’s conclusion that there is a risk of
                                 diversion.

         2.       Mallinckrodt shall not provide to any direct customer an Opioid Product to fill an
                  order identified as a Suspicious Order unless Mallinckrodt’s DEA Compliance
                  Department investigates and finds that the order is not suspicious. Where
                  Mallinckrodt has investigated a potentially Suspicious Order and determined that
                  the order is not suspicious, Mallinckrodt must document the bases for its
                  determination, and provide such documentation to the Monitor, any State
                  Attorney General, or State controlled substances regulatory agency, upon request.

         3.       Upon request, Mallinckrodt shall provide full cooperation and assistance to any
                  federal, state or local law enforcement investigations of potential diversion or
                  suspicious circumstances involving Opioid Products, including criminal law
                  enforcement agencies, drug control agencies, professional licensing boards, and
                  Attorney General’s offices.

         4.       Mallinckrodt agrees that it will refrain from providing an Opioid Product directly
                  to a retail pharmacy location or Health Care Provider. Nothing in this provision,
                  however, prevents Mallinckrodt from (i) acting as a distributor of medications
                  relating to (x) the treatment of opioid use disorders; (y) the treatment of opioid
                  abuse, addiction, dependence, or overdose, including medication-assisted
                  treatment for opioid addiction; and (z) rescue medications for opioid overdose; or
                  (ii) providing an Opioid Product directly to a mail order pharmacy, distribution
                  center serving a chain pharmacy, or pharmacy provider that exclusively serves
                  long-term care or hospice providers and their patients.

 H.      General Terms

         1.       To the extent that any provision in this Agreement conflicts with federal or
                  relevant state law or regulation, the requirements of the law or regulation will
                  prevail. To the extent that any provision in the Agreement is in conflict with
                  federal or relevant state law such that Mallinckrodt cannot comply with both the
                  statute or regulation and a provision of this Agreement, Mallinckrodt may comply
                  with such statute or regulation. Mallinckrodt will provide advance written notice
                  to the affected State Attorney(s) Generals of the statute or regulation that
                  Mallinckrodt intends to comply under this paragraph, and the provision of this
                  Agreement that is in conflict with the statute or regulation. In the event any State
                  Attorney General disagrees with Mallinckrodt’s interpretation of the conflict, such
                  State Attorney General reserves the right to pursue any remedy or sanction that
                  may be available regarding compliance with this Agreement.
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         2.       Mallinckrodt shall not make any written or oral statement about Opioids or any
                  Opioid Product that is unfair, false, misleading, deceptive or unconscionable. For
                  purposes of this paragraph, “Opioid Product” shall also include medications with
                  a FDA-approved label that lists only the treatment of opioid abuse, addiction,
                  dependence and/or overdose as their “indications and usage” as well as
                  methadone 5 and 10 mg tablets.

         3.       Mallinckrodt shall not represent that Opioids or any Opioid Product(s) have
                  approvals, characteristics, uses, benefits, or qualities that they do not have. For
                  purposes of this paragraph, “Opioid Product” shall also include medications with
                  a FDA-approved label that lists only the treatment of opioid abuse, addiction,
                  dependence and/or overdose as their “indications and usage” as well as
                  methadone 5 and 10 mg tablets.

         4.       For the avoidance of doubt, nothing in this Agreement is intended to or shall be
                  construed to prohibit Mallinckrodt in any way whatsoever from taking legal or
                  factual positions with regard to its Opioid Product(s) in defense of litigation or
                  other legal proceedings or investigations.

         5.       Upon the request of any State Attorney General or the OCC, Mallinckrodt shall
                  provide the requesting State Attorney General, or the OCC for informational
                  purposes only pursuant to the confidentiality provisions of the by-laws between
                  Mallinckrodt and the OCC, with copies of the following, within 30 days of the
                  request:

                  a.     Any litigation or civil or criminal law enforcement subpoenas or Civil
                         Investigative Demands relating to Mallinckrodt’s Opioid Product(s); and

                  b.     Warning or untitled letters issued by the FDA regarding Mallinckrodt’s
                         Opioid Product(s) and all correspondence between Mallinckrodt and the
                         FDA related to such letters.

 I.      Compliance with All Laws and Regulations Relating to the Sale, Promotion, and
         Distribution of Any Opioid Product

         1.       Mallinckrodt shall comply with all laws and regulations that relate to the sale,
                  promotion, distribution, and disposal of any Opioid Product including but not
                  limited to:

                  a.     State controlled substances acts, including all guidance issued by
                         applicable state regulator(s), and related regulations;

                  b.     The Federal Controlled Substance Act, including all guidances issued by
                         the DEA;

                  c.     The Federal Food, Drug and Cosmetic act, or any regulation promulgated
                         thereunder;
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                  d.     FDA Guidances;

                  e.     State consumer protection and unfair trade practices acts; and

                  f.     State laws and regulations related to opioid prescribing, distribution and
                         disposal.

 J.      Compliance Deadlines

         1.       As of the Petition Date, Mallinckrodt must be in full compliance with the
                  provisions included in this Agreement with the exception of the provisions in
                  Section V (“Public Access to Mallinckrodt Documents”).

 K.      Training

         1.       Mallinckrodt shall provide regular training, at least once per year, to relevant
                  employees on their obligations imposed by this Agreement.

                                IV. CLINICAL DATA TRANSPARENCY

 A.      Data to Be Shared

         1.       Mallinckrodt shall share the following clinical data through a third-party data
                  archive that conforms to the requirements defined below to increase the
                  transparency of its clinical research.

                  a.     Mallinckrodt shall make available all previously disclosed data and/or
                         information regarding Mallinckrodt Opioid Products;

                  b.     Mallinckrodt shall make available all previously unreleased data regarding
                         Mallinckrodt Opioid Products, for both approved and unapproved
                         indications, including:

                         i.       Full analyzable data set(s) (including individual participant-level
                                  data de-identified by an independent biostatistician);

                         ii.      The clinical study report(s) redacted for commercial or personal
                                  identifying information;

                         iii.     The full protocol(s) (including the initial version, final version, and
                                  all amendments); and

                         iv.      Full statistical analysis plan(s) (including all amendments and
                                  documentation for additional work processes) and analytic code.

                  c.     Mallinckrodt shall make available the above information for all studies for
                         any new Mallinckrodt Opioid Product or new indications that are
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                         approved within 30 days after regulatory approval or 18 months after
                         study completion, whichever occurs later.

 B.      Third-Party Data Archive
         1.       Mallinckrodt shall share the above information via a third-party data archive that
                  makes clinical data available to Qualified Researchers with a bona fide scientific
                  research proposal.

         2.       The data archive shall have a panel of reviewers with independent review
                  authority to determine whether the researchers are qualified, whether a research
                  application seeks data for bona fide scientific research, and whether a research
                  proposal is complete.

         3.       The panel may exclude research proposals with a commercial interest.

 C.      Non Interference

         1.       Mallinckrodt shall not interfere with decisions made by the staff or reviewers
                  associated with the third-party data archive.

 D.      Data Use Agreement

         1.       Any data sharing agreement with a Qualified Researcher who receives shared data
                  via the third-party data archive shall contain contact information for
                  Mallinckrodt’s pharmacovigilance staff. Every agreement shall require the lead
                  qualified researcher to inform Mallinckrodt’s pharmacovigilance staff within 24
                  hours of any determination that research findings could detrimentally impact the
                  risk-benefit assessment regarding the product. The lead Qualified Researcher
                  may also inform regulatory authorities of the safety signal impacting the risk-
                  benefit assessment. Mallinckrodt’s pharmacovigilance staff shall take all
                  necessary and appropriate steps upon receipt of such safety information, including
                  but not limited to notifying regulatory authorities or the public.

 E.      Cost

         1.       Mallinckrodt shall bear all costs for making data and/or information available.

                  V. PUBLIC ACCESS TO MALLINCKRODT DOCUMENTS

 A.      Documents Subject to Public Disclosure

         1.       The following documents shall be produced by Mallinckrodt to each Settling
                  State and are subject to public disclosure in perpetuity as part of an industry-wide
                  document disclosure program, except for the redactions authorized by Section
                  V.B:


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                  a.     All documents, indices, and privilege logs Mallinckrodt produced to any
                         of the Settling States prior to the Petition Date, including in litigation and
                         in response to investigative demands or other formal or informal requests
                         related to opioids.

                  b.     All documents, indices, and privilege logs Mallinckrodt produced in the
                         Opioid Multi-District Litigation (In re Nat’l Prescription Opiate Litig.,
                         No. 1:17-MD-2804 (N.D. Ohio)) and the New York litigation (In re
                         Opioid Litigation, 400000/2017 (Suffolk County)) prior to the Petition
                         Date.

                  c.     All documents, indices, and privilege logs Mallinckrodt has produced in
                         other litigation related to opioids, excluding patent litigation.

                  d.     All filings, motions, orders, court transcripts, deposition transcripts, and
                         exhibits in the possession, custody, or control of Mallinckrodt from
                         litigation related to opioids, excluding patent litigation.

         2.       All documents produced under this provision shall be provided in electronic
                  format with all related metadata. Mallinckrodt and the Settling States will work
                  cooperatively to develop technical specifications for the productions.

 B.      Information That May Be Redacted

         1.       The following categories of information are exempt from public disclosure:

                  a.     Information subject to trade secret protection. A “trade secret” is
                         information, including a formula, pattern, compilation, program, device,
                         method, technique or process, that (a) derives independent economic
                         value, actual or potential, from not being generally known to the public or
                         to other persons who can obtain economic value from its disclosure and
                         use; and (b) is the subject of efforts that are reasonable under the
                         circumstances to maintain its secrecy. Even if the information falls within
                         the definition, “trade secret” does not include information reflecting sales
                         or promotional strategies, tactics, targeting, or data, or internal
                         communications related to sales or promotion.

                  b.     Confidential personal information. “Confidential personal information”
                         means individual Social Security or tax identification numbers, personal
                         financial account numbers, passport numbers, driver license numbers,
                         home addresses, home telephone numbers, personal email addresses, and
                         other personally identifiable information protected by law from disclosure.
                         “Confidential personal information” does not include the names of
                         Mallinckrodt’s officers, directors, employees, agents, or attorneys.



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                  c.     Information that is inappropriate for public disclosure because it is subject
                         to personal privacy interests recognized by law (e.g., HIPAA), or
                         contractual rights of third parties that Mallinckrodt may not abrogate.

                  d.     Information regarding Mallinckrodt employees’ personal matters unrelated
                         to Mallinckrodt, including emails produced by Mallinckrodt custodians
                         discussing vacation or sick leave, family, or other personal matters.

 C.      Redaction of Documents Containing Protected Information

         1.       Whenever a document contains information subject to a claim of exemption
                  pursuant to Section V.B, Mallinckrodt shall produce the document in redacted
                  form. Such redactions shall indicate that trade secret and/or private information,
                  as appropriate, has been redacted. Redactions shall be limited to the minimum
                  redactions possible to protect the legally recognized individual privacy interests
                  and trade secrets identified above.

         2.       Mallinckrodt shall produce to each Settling State a log noting each document
                  redacted. The log shall also provide fields stating the basis for redacting the
                  document, with sufficient detail to allow an assessment of the merits of the
                  assertion. The log is subject to public disclosure in perpetuity. The log shall be
                  produced simultaneously with the production of documents required by Section
                  V.F.

         3.       In addition to the redacted documents, Mallinckrodt shall, upon any Settling
                  State’s request, also produce all documents identified in Section V.A above in
                  unredacted form to such Settling State at the same time. The redacted documents
                  produced by Mallinckrodt may be publicly disclosed in accordance with Section
                  V.E below. The unredacted documents produced by Mallinckrodt to a Settling
                  State shall be available only to such State unless Mallinckrodt’s claim of
                  exemption under Section V.B is successfully challenged in accordance with
                  Section V.C.4 or the trade secret designation expires in accordance with Section
                  V.D.

         4.       Anyone, including members of the public and the press, may challenge the
                  appropriateness of redactions by providing notice to Mallinckrodt. If the
                  challenge is not resolved by agreement, it must be resolved in the first instance by
                  a third party jointly appointed by the Settling States and Mallinckrodt to resolve
                  such challenges. The decision of the third party may be appealed to a court with
                  enforcement authority over this Agreement. If not so appealed, the third party’s
                  decision is final. In connection with such challenge, a Settling State may provide
                  copies of relevant unredacted documents to the parties or the decisionmaker,
                  subject to appropriate confidentiality and/or in camera review protections, as
                  determined by the decisionmaker.



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 D.      Review of Trade Secret Redactions

         1.       Ten years after Mallinckrodt completes the production of its documents in
                  accordance with Section V, Mallinckrodt shall review all trade secret assertions
                  made in accordance with Section V.B.1 and all non-manufacturing trade secret
                  designations shall expire. The newly unredacted documents may then be publicly
                  disclosed by a Settling State in accordance with Section V.E. Mallinckrodt shall
                  produce to each Settling State an updated redaction log justifying its designations
                  of the remaining trade secret redactions as manufacturing trade secrets.

 E.      Public Disclosure through a Document Repository

         1.       Each Settling State may publicly disclose all documents covered by Section V
                  through a public repository maintained by a governmental, non-profit, or
                  academic institution. Each Settling State may specify the terms of any such
                  repository’s use of those documents, including allowing the repository to index
                  and make searchable all documents subject to public disclosure, including the
                  metadata associated with those documents. When providing the documents
                  covered by Section V to a public repository, no Settling State shall include or
                  attach within the document set any characterization of the content of the
                  documents. For the avoidance of doubt, nothing in this paragraph shall prohibit
                  any Settling State from publicly discussing the documents covered by Section V.

 F.      Timeline for Production

         1.       Mallinckrodt shall produce all documents required by Section V.A within nine
                  months from the Petition Date.

 G.      Costs

         1.       Mallinckrodt shall be responsible for its allocable share of all reasonable costs and
                  expenses associated with the public disclosure and storage of Mallinckrodt’s
                  documents through any public repository.

 H.      Suspension

         1.       Mallinckrodt’s obligation in Section V shall be suspended on the nine-month
                  anniversary of the Petition Date, unless and until two corporate defendants in
                  opioid-related litigation other than Mallinckrodt have agreed or been ordered to
                  publicly disclose opioid-related documents. For the avoidance of doubt, Insys
                  Therapeutics, Inc. shall constitute one of the two necessary defendants based on
                  the “Liquidating Trustee Disclosure Requirement” provisions of the Second
                  Amended Joint Chapter 11 Plan of Liquidation confirmed by the United States
                  Bankruptcy Court for the District of Delaware on January 16, 2020.



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                                 VI. INDEPENDENT MONITOR

 A.       Appointment of Monitor

         1.       Mallinckrodt agrees that it will retain an outside, independent individual (the
                  “Monitor”) to evaluate and monitor Mallinckrodt’s compliance with this
                  Agreement.

         2.       Experience with internal investigations or the investigative process (which may
                  include prior monitorship or oversight experience) and expertise in the
                  pharmaceutical industry, relevant regulatory regimes, and internal controls and
                  compliance systems may be considered in selecting the Monitor.

         3.       Within 30 days of the Petition Date, Mallinckrodt and the Settling States shall
                  exchange pools of recommended candidates based in part on the above
                  qualification and considerations to serve as the Monitor. The pools shall each
                  contain the names of three individuals, groups of individuals or firms. A copy of
                  each pool of candidates shall be shared with the OCC when such pools are
                  exchanged between Mallinckrodt and the Settling States. The OCC may make
                  suggestions for each side to consider.

         4.       After receiving the pools of Monitor candidates, Mallinckrodt and the Settling
                  States shall have the right to meet with the candidates and conduct appropriate
                  interviews of the personnel who are expected to work on the project, provided,
                  that the OCC may participate as an observer at any such interviews with the
                  consent of the Settling States and Mallinckrodt. Mallinckrodt and the Settling
                  States may veto any of the candidates, and must do so in writing (with a copy to
                  the OCC for informational purposes only pursuant to the confidentiality
                  provisions of the by-laws between Mallinckrodt and the OCC) within 30 days of
                  receiving the pool of candidates. If all three candidates within a pool are rejected
                  by either Mallinckrodt or the Settling States, the party who rejected the three
                  candidates may direct the other party to provide up to three additional qualified
                  candidates within 15 days of receipt of said notice (and shall provide a copy of
                  such direction to the OCC for informational purposes only pursuant to the
                  confidentiality provisions of the by-laws between Mallinckrodt and the OCC).
                  Notice of such additional qualified candidates shall be given to the OCC for
                  informational purposes only pursuant to the confidentiality provisions of the by-
                  laws between Mallinckrodt and the OCC upon the names of such candidates being
                  given to the other party.

         5.       If Mallinckrodt or the Settling States do not object to a proposed candidate,
                  Mallinckrodt or the Settling States shall so notify the other in writing (with a copy
                  to the OCC for informational purposes only pursuant to the confidentiality
                  provisions of the by-laws between Mallinckrodt and the OCC) within 30 days of
                  receiving the pool of candidates. If more than one candidate remains, the Settling
                  States shall select the Monitor from the remaining candidates. Mallinckrodt and
                  the Governmental Ad Hoc Committee (as such term is defined in the restructuring
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                  support agreement) shall jointly seek the Bankruptcy Court’s approval of the
                  selected Monitor candidate.

         6.       Unless justifiable cause exists, the Monitor appointed by the Bankruptcy Court
                  shall continue to serve after the Effective Date. For purposes of this paragraph,
                  justifiable cause exists if the Monitor resigns or a court finds that the Monitor: (a)
                  develops a conflict of interest that would undermine public confidence in the
                  objectivity of his or her work; (b) has unreasonably failed to fulfill his or her
                  material obligations under this Agreement or pursuant to the Work Plan (as
                  defined in Section VI.B3), (c) has engaged in any act of dishonesty,
                  misappropriation, embezzlement, intentional fraud, or similar conduct; or (d) has
                  engaged in an intentional act of bias or prejudice in favor or against either party.
                  Justifiable cause shall not include Mallinckrodt’s or the Settling States’
                  disagreements with the decisions of the Monitor pursuant to this Agreement,
                  unless there is a clear pattern in the Monitor’s decisions that demonstrates that the
                  Monitor has not been acting as an independent third party in rendering decisions.

         7.       If a new Monitor must be appointed, Mallinckrodt and the Settling States and the
                  OCC shall follow the procedures and timeline set out above in subparagraphs 3-5.
                  Court approval shall not be sought if Mallinckrodt is no longer under the
                  Bankruptcy Court’s jurisdiction..

 B.       Monitor’s Responsibilities

         1.       Between the Petition Date and the Effective Date, the Monitor’s duties shall be as
                  follows:

                  a.     The Monitor shall perform its duties according to the terms of this
                         Agreement and shall be vested all rights and powers reasonably necessary
                         to carry out such powers, duties, and responsibilities enumerated herein.

                  b.     The Monitor shall work with all diligence perform his or her duties in a
                         manner that does not unreasonably disrupt the operation of Mallinckrodt’s
                         business to confirm and oversee compliance with this Agreement.

                  c.     The Monitor shall review and provide reports as outlined below.

                  d.     Subject to any legally recognized privilege and as reasonably necessary to
                         perform his or her duties hereunder, the Monitor shall have full and
                         complete access to Mallinckrodt’s personnel, books, records, and
                         facilities, and to any other relevant information, as the Monitor may
                         request. Mallinckrodt shall develop such information as the Monitor may
                         request and shall fully, completely and promptly cooperate with the
                         Monitor. The Monitor may raise with the Bankruptcy Court any issues
                         relating to any failure of or delay in such cooperation for an expedited
                         resolution by the Bankruptcy Court.

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                  e.    The Monitor shall serve, without bond or other security, at the cost and
                        expense of Mallinckrodt, with the Monitor’s fees subject to final approval
                        by the Bankruptcy Court. The Monitor shall have the authority to employ,
                        upon written consent from Mallinckrodt, such consent not to be
                        unreasonably withheld, delayed or conditioned, and upon Court approval,
                        at the cost and expense of the Debtors’ estates, such consultants,
                        accountants, attorneys, and other representatives and assistants as are
                        reasonably necessary to carry out the Monitor’s responsibilities. Requests
                        to employ such individuals should be directed to Mallinckrodt’s General
                        Counsel, and will be decided upon no later than ten (10) days from their
                        receipt. The Monitor will work in good faith with Mallinckrodt to ensure
                        such approved consultants will follow Mallinckrodt’s policies and
                        procedures with respect to any payments remitted directly by
                        Mallinckrodt.

                  f.    The Monitor shall have no obligation, responsibility, or liability for the
                        operations of Mallinckrodt.

                  g.    The Monitor shall sign onto any Protective Order entered by the
                        Bankruptcy Court, and any confidentiality agreement consistent with any
                        Protective Order as deemed necessary by the parties, and each of the
                        Monitor’s consultants, accountants, attorneys and other representatives
                        and assistants shall also sign onto any Protective Order entered by the
                        Court, and any confidentiality agreement consistent with any Protective
                        Order as deemed necessary by the parties; provided, however, that nothing
                        shall restrict the Monitor from providing any information to the Court and
                        the parties consistent with the terms of any Protective Order.

                  h.    The Monitor shall promptly seek an order from the Bankruptcy Court
                        requiring compliance or such other remedies as may be appropriate under
                        the circumstances should Mallinckrodt not comply with this Agreement.

                  i.    The Monitor shall make a good faith effort to leverage Mallinckrodt’s
                        existing compliance mechanisms when reviewing Mallinckrodt’s
                        compliance with this Agreement.

                  j.    The Monitor shall make a good faith effort to perform his or her duties in
                        a manner that does not unreasonably disrupt Mallinckrodt’s business
                        operations. In this regard, Mallinckrodt shall designate senior officials
                        within the Office of the General Counsel to serve as the primary points of
                        contact for the Monitor in order to facilitate the Monitor’s access to
                        documents, materials, or staff necessary to review Mallinckrodt’s
                        compliance with this Agreement. The Monitor shall communicate any
                        request for documents, materials, or access to staff to the designated
                        contacts, unless otherwise instructed. For the avoidance of doubt, nothing
                        in this paragraph shall be interpreted to prohibit the Monitor from
                        speaking with a current or former employee of Mallinckrodt.
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         2.       Reporting:

                  a.     Within 45 days of the Petition Date, Mallinckrodt shall file a report with
                         the Bankruptcy Court regarding its compliance with the terms of this
                         Agreement (the “Mallinckrodt Compliance Report”). To the extent
                         permissible by law, this report (in whole or in part) may be filed under
                         seal or subject to such other confidentiality restrictions contained in a
                         Protective Order.

                  b.     The Monitor must file a report with the Bankruptcy Court regarding
                         compliance by Mallinckrodt with the terms of this Agreement no later
                         than 45 days after the Work Plan (as defined in Section VI.B.3) is
                         finalized, and then additional reports every 90 days thereafter (the
                         “Monitor Reports”). The Court may, in response to such reports, provide
                         further direction to the Monitor as it deems appropriate. To the extent
                         permissible by law, these reports (in whole or in part) may be filed under
                         seal or subject to such other confidentiality restrictions contained in a
                         Protective Order. The content of Monitor Reports shall be set forth in the
                         Work Plan. The frequency of Monitor Reports may decrease to every 180
                         days after the Effective Date.

                  c.     Prior to issuing any Monitor Report, the Monitor shall confer with
                         Mallinckrodt, the Settling States, and the OCC, either jointly or separately
                         (in the discretion of the Monitor), regarding its preliminary findings and
                         the reasons for those findings. Mallinckrodt shall have the right to submit
                         written comments to the Monitor, which shall be appended to the final
                         version of the Monitor Report.

                  d.     In the event the Monitor Report identifies a potential violation of this
                         Agreement, Mallinckrodt shall have the right to cure any potential
                         violation within 30 days.

         3.       Work Plan: The manner in which the Monitor will carry out his or her
                  compliance responsibilities under this Agreement, the general scope of
                  information that the Monitor will seek to review in fulfilling his or her duties and,
                  where applicable, the methodologies to be utilized shall be set forth in a work
                  plan (the “Work Plan”). Within 30 days after the Monitor’s appointment by the
                  Bankruptcy Court, the Settling States and Mallinckrodt, upon consultation with
                  the OCC, shall agree with the Monitor on the Work Plan. If the Monitor, the
                  Settling States, and Mallinckrodt (upon consultation with the OCC) fail to reach
                  agreement on the Work Plan within the designated time frame, the Monitor,
                  Settling States, and Mallinckrodt will submit any disputed issues to the
                  Bankruptcy Court for resolution.

         4.       Post-Emergence: Before the Effective Date, the parties will work in good faith
                  to establish procedures for resolving disputes (including disputes over the Work
                  Plan) and overseeing the Monitor’s obligations after Bankruptcy Court approval
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                  of the Plan, and to make any other adjustments the parties agree to be reasonably
                  necessary. The parties expect and agree that the principal obligations and
                  conditions imposed by Section VI.B will otherwise remain in effect. After the
                  Effective Date, all reasonable and necessary fees and costs of the Monitor shall be
                  paid by Mallinckrodt.




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                                  EXHIBIT C

                               Confirmation Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             x
     In re:                                                  :       Chapter 11
                                                             :
     MALLINCKRODT PLC, et al.,1                              :       Case No. 20-12522 (JTD)
                                                             :
                              Debtors.                       :       (Jointly Administered)
                                                             :
                                                             :       Ref. Docket No. 6378 & 6510
                                                             X

                  NOTICE OF ENTRY OF ORDER CONFIRMING THE
               FOURTH AMENDED JOINT PLAN OF REORGANIZATION
          (WITH TECHNICAL MODIFICATIONS) OF MALLINCKRODT PLC AND
       ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

 PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.     Confirmation of the Plan. On February [ z ], 2021, the United States Bankruptcy
 Court for the District of Delaware (the “Bankruptcy Court”)2 entered an order (the
 “Confirmation Order”) confirming the Fourth Amended Joint Plan of Reorganization (With
 Technical Modifications) of Mallinckrodt Plc and Its Debtor Affiliates Under Chapter 11 of the
 Bankruptcy Code [Docket No. 6510] (as modified or amended, the “Plan”), in the Chapter 11
 Cases of the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”).
 Unless otherwise defined in this Notice, capitalized terms and phrases used herein have the
 meanings given to them in the Plan and the Confirmation Order. This Notice is intended solely to
 provide notice of the entry of the Confirmation Order and it does not, and shall not be construed
 to, limit, modify or interpret any of the provisions of the Confirmation Order. The following
 paragraphs identify some of the provisions of the Confirmation Order for the convenience of
 creditors; however, creditors should refer to the full text of the Confirmation Order and should not
 rely upon the summary provided below.

              2.    Bar Dates.




 1
       A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
       and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
       McDonnell Blvd., Hazelwood, Missouri 63042.
 2
       Unless otherwise specified, capitalized terms and phrases used herein have the meanings assigned to them in the
       Plan or Disclosure Statement, as applicable.
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               a.      Professional Fee Claims. All final requests for payment of Professional
 Fee Claims for services rendered and reimbursement of expenses incurred prior to the Effective
 Date must be Filed no later than 45 days after the Effective Date.

                 The Retained Professionals shall deliver to the Debtors a reasonable and good-faith
 estimate of their unpaid fees and expenses incurred in rendering services to the Debtors before and
 as of the Effective Date projected to be outstanding as of the anticipated Effective Date, and shall
 deliver such estimate no later than five Business Days prior to the anticipated Effective Date. For
 the avoidance of doubt, no such estimate shall be considered or deemed an admission or limitation
 with respect to the amount of the fees and expenses that are the subject of a Retained Professional’s
 final request for payment of Professional Fee Claims Filed with the Bankruptcy Court, and such
 Retained Professionals are not bound to any extent by the estimates. If a Retained Professional
 does not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses
 of such Retained Professional. The total aggregate amount so estimated to be outstanding as of
 the anticipated Effective Date shall be utilized by the Debtors to determine the amount to be funded
 to the Professional Fee Escrow Account; provided that the Reorganized Debtors shall use Cash on
 hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications
 are Filed after the Effective Date in excess of the amount held in the Professional Fee Escrow
 Account based on such estimates.

                For the avoidance of doubt, all Restructuring Expenses and Post Effective Date
 Implementation Expenses shall be paid in accordance with Article IV.S of the Plan, and the terms
 under Article II.A.2 of the Plan shall not apply to the parties entitled to receive the Restructuring
 Expenses. The Reorganized Debtors shall pay the Post Effective Date Implementation Expenses
 that they incur on or after the Effective Date in the ordinary course of business and without
 application or notice to, or order of, the Bankruptcy Court.

                  b.     Administrative Claims. All requests for payment of an Administrative
 Claim (other than any Administrative Claim subject to the Initial Administrative Claims Bar Date,
 VI Opioid Claims, Cure Costs, Professional Fee Claims, the Disinterested Managers Fees and
 Expenses, Restructuring Expenses, Administrative Claims held by a Debtor or Non-Debtor
 Affiliate against a Debtor, Indenture Trustee Fees (to the extent they would be Administrative
 Claims) or United States Trustee quarterly fees payable pursuant to Article II.C of the Plan) that
 accrued on or before the Effective Date that were not otherwise accrued in the ordinary course of
 business must be Filed with the Bankruptcy Court and served on the Debtors no later than the
 earlier of (a) the bar date established for any such Administrative Claims by separate order of the
 Bankruptcy Court and (b) the date that is the 60th day after the Effective Date (the
 “Administrative Claims Bar Date”).

                If a Holder of an Administrative Claim (excluding, for the avoidance of doubt, VI
 Opioid Claims, Cure Costs, Professional Fee Claims, Restructuring Expenses, Indenture Trustee
 Fees (to the extent they would be Administrative Claims) or United States Trustee quarterly fees
 payable pursuant to Article II.C of the Plan) is required to, but does not, File and serve a request
 for payment of such Administrative Claim by the Administrative Claims Bar Date, such
 Administrative Claim shall be considered Allowed only if and to the extent that no objection to
 the allowance thereof has been interposed within three months following the subsequent filing and
 service of such request or as otherwise set by the Bankruptcy Court or such an objection is so

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 interposed and the Claim has been Allowed by a Final Order; provided that any Claim Filed after
 entry of a decree closing the Debtors’ Chapter 11 Cases shall not be Allowed unless the Holder of
 such Claim obtains an order of the Bankruptcy Court allowing such Claim. For the avoidance of
 doubt, Administrative Claims that were subject to the Initial Administrative Claims Bar Date,
 proof of which was not timely submitted in accordance with the Initial Administrative Claims Bar
 Date Order, shall be disallowed.

                 c.     Rejection Damages Claims. Unless otherwise provided by a Bankruptcy
 Court order, and except as otherwise provided in section V.C of the Plan or otherwise in the Plan,
 any Proofs of Claim asserting Claims arising from the rejection of the Executory Contracts and
 Unexpired Leases pursuant to the Plan or otherwise must be filed with the Notice and Claims
 Agent within thirty (30) days of the effective date of the rejection of the applicable Executory
 Contract or Unexpired Lease (which shall be the Effective Date unless otherwise provided in an
 order of the Bankruptcy Court providing for the rejection of an Executory Contract or Unexpired
 Lease). Any Proofs of Claim arising from the rejection of the Executory Contracts and
 Unexpired Leases that are not timely filed shall be automatically disallowed without further
 order of the Bankruptcy Court. All Allowed Claims arising from the rejection of the Executory
 Contracts and Unexpired Leases shall constitute General Unsecured Claims and shall be treated in
 accordance with Article III.B of the Plan; provided, however, as set forth in Article V.G. of the
 Plan, any Claims arising out of the rejection of an Executory Contract that are Co-Defendant
 Claims shall be either Other Opioid Claims or No Recovery Opioid Claims, and shall be treated in
 accordance with the Plan, and the deadline for the filing of Proofs of Claim arising out of the
 rejection of an Executory Contract or Unexpired Lease set forth in Article V.C. of the Plan shall
 not apply with respect to any Co-Defendant Claim.

         3.     Releases and Injunctions. Article IX of the plan contains important release,
 exculpation, and injunction provisions. You should review these provisions carefully.
 Further, specifically with respect to the Opioid Permanent Channeling Injunction (as
 defined in the Plan), the Plan channels all Opioid Claims to various opioid trusts for payment
 and forever prohibits all opioid claimants from asserting any Opioid Claim against or
 seeking any money on account of any Opioid Claim from the Debtors, their officers and
 directors and certain other parties specified in the Plan as “Protected Parties” regardless of
 whether such claimants vote on the Plan or assert claims against an opioid trust at a later
 date. Information about the releases, exculpation, and injunction provisions (including the
 Opioid Permanent Channeling Injunction) under the Plan can be found
 https://www.restructuring.primeclerk.com/Mallinckrodt.

        4.      Trusts. Pursuant to the terms of the Plan and the Confirmation Order,
 multiple “Trusts” (i.e., the Opioid MDT II, the “Private Opioid Creditor Trusts”, which
 include the Third-Party Payor Trust, the PI Trust, the NAS Monitoring Trust, the
 Emergency Room Physicians Trust, and the Hospital Trust, the “Public Opioid Creditor
 Trusts”, which include the NOAT II and the TAFT II, the General Unsecured Claims Trust,
 and the Asbestos Trust) will be created and funded pursuant the terms of the Plan, the
 Confirmation Order, and the applicable trust documents. The funds in the opioid-related
 trusts will be used for “Approved Uses” (as defined in the Plan) (i.e., abatement purposes)
 and to compensate Holders of Opioid Claims (as defined in the Plan), while the funds in the
 General Unsecured Claims Trust and Asbestos Trust will be used to compensate Holders of

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 General Unsecured Claims and Asbestos Claims, respectively (and in each case, as defined
 in the Plan). Information about the various trusts established under the Plan can be found
 https://www.restructuring.primeclerk.com/Mallinckrodt                               and/or
 https://cases.primeclerk.com/MallinckrodtOpioidClaimantInfo/.

        4.     Bankruptcy Court Address. For purposes of Filing requests for payment of
 Administrative Claims and applications for allowance of Professional Fee Claims, the address of
 the Bankruptcy Court is 824 North Market Street, 5th Floor, Wilmington, Delaware 19801.

         5.       Executory Contracts, Unexpired Leases. On the Effective Date, except as
 otherwise provided in the Plan, each of the Executory Contracts and Unexpired Leases not
 previously rejected, assumed, or assumed and assigned pursuant to an order of the Bankruptcy
 Court will be deemed assumed as of the Effective Date pursuant to sections 365 and 1123 of the
 Bankruptcy Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected
 Executory Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court
 on the Plan Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected,
 (2) that is the subject of a separate motion or notice to reject pending as of the Effective Date, or
 (3) that previously expired or terminated pursuant to its own terms (disregarding any terms the
 effect of which is invalidated by the Bankruptcy Code).

         6.     Copies of Confirmation Order. Copies of the Confirmation Order, the Plan, or
 any pleadings filed in these Chapter 11 Cases may be obtained by (a) visiting the Debtors’
 restructuring website at: https://www.restructuring.primeclerk.com/Mallinckrodt; (b) sending an
 email to mallinckrodtinfo@primeclerk.com or writing to Mallinckrodt plc Ballot Processing, c/o
 Prime Clerk LLC One Grand Central Place, 60 East 42nd Street, Suite 1440, New York, NY
 10165; and/or (c) calling the Debtors’ restructuring hotline at 877-467-1570 (Toll-Free)
 (US/Canada); 347-817-4093 (International). The Confirmation Order and the Plan may also be
 examined by any party in interest during normal business hours at the Office of the Clerk of the
 Court, United States Bankruptcy Court, 824 Market Street, 5th Floor, Wilmington, Delaware
 19801. You may also obtain copies of the Confirmation Order or of any pleadings filed in these
 Chapter 11 Cases for a fee at: http://www.deb.uscourts.gov.




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  Dated: [ z ], 2022

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